EXHIBIT D
           EASTERN SHORE OF MARYLAND

                          Contract for


MANAGEMENT AND OPERATION OF REGIONAL TRANSIT
           ADVERTISING PROGRAM


                          Contractor
                    Vector Media Transit, LLC
                    1615 York Road, Suite 204
                      Lutherville, MD 21093
                       443-275-1770 x 317
                    msheely@veotormedia.com


                             Clients
     Tri-County Council for the Lower Eastern Shore of Maryland
                      Shore Transit Division
                       31901 Ti'i-County Way
                       Salisbmy, MD 21804
                       Office phone: 4101341-8980

                 Queen Anne's County/County Ride
                         312 Safety Ddve
                      Centreville, MD 21617
                       Phone: 410.758.2357
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                         1m111sh@qao.org
Regional Transit Advertising Contract Services Agreement
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          EASTERN SHORB OF MARYLAND REGIONAL TRANSIT CONTRACT

                            CONTRACT SERVICES AGREEMENT

        THIS CONTRACT SERVICES AGREEMENT (herein "Agreement"), is tnade and
entered into this    1st day of December          ,2019, by and between the Client, TCC-Shore
Transit and Queen Alllle's County/County Ride, and Contractor, Vector Media Transit, LLC. The
parties hereto agree as follows:

        1.0     SERVICES OF CONTRACTOR

1. I fu;Qpe of Services. In compliance with all ter111s a11d conditions of this Agreement, the
Contractor, Vector Media, shall provide those se!'vioes specified in the "Scope of Services" and
incorporated herein by this reference, which services may be referred to herein as the "services"
or "work" hereunder. As a material inducement to the Client entering into this Agreement,
Contractor represents and warrnnts that Contractor is a provider of first class work and services
m1d Contractor is experienced in performing the work and services contemplated herein and, in
light of sucl1 status and expe!'ienoe, Contrnctor covenants that it shall follow the highest
professional standards in performing the work and services required he1·eunder and that all
materials will be of good qimlity, fit for·the purpose Intended. For purposes of this Agreement,
the phrase ''highest professional standards" shall mean those standards of practice recognized by .
one or more fast-class firms performing similar work under similar circumstances.

1.2 Contractor's Proposal. The Scope of Service shall include the Contrnctor's proposal or bid
which shall be incorporated herein by this reference as though fully set forth herein. In the event
of any inconsistency between the te1ms of suoh proposal and this Agreement, the terms of this
Agreement shall goverh.

1.3      Compliance with Law. AU services rendered heretmder shall be pl'ovided in accordance
with all ol'dlnances, resolntions, statutes, rules, and !'egulatio11s of the Client and any Fede!'al, State
01• local governmental agency having jul'isdiction in effect at the time service is rendered.

1.4     Licenses. Permits, Fees and Assessments. Contractoi· shall obtain at its sole cost mid
expense such licenses, permits and approvals as may be required by law fo1• the performance of
the services required by this Ag1•een1e11t. Contractor shall have the sole obligation to pay for any
fees, assessments and taxes, plus applicable penalties and interest, which may be imposed by law
and arise from or are necessary for t!1e Contractor's performance of the services rnquired by this
Agi•eement, and shall indemnify, defoncl and hold hal'.tnless the Client against any such fees,
assessments, taxes penalties 01· interest levied, assessed or imposed against the Client hereul'\der.

1.5      Familiarity ytjth Wol'k. By executing this Contl'act, Contractor wa.t·rantll that Contrnctor
(a) has thoroughly investigated and considered the scope of services to be performed, (b) has
carefully considered how the services should be performed, and (c) fully understands the faclllties,
difficulties and l'estrlctions attending performance of the services w1de1· this Agreement. If the
services involve work upon any site, Contractot' warrnnts that Contractor has or will investigate
the site and is or will be fully acquainted with the oonditions there existing, prior to commencement
of services hereunder, Should the Contractor discover any latent or unknown conditions, which
will matel'ially affect the performance of the services hereunder, Contractor shall immediately
                                                                                                          3
inform the Client of such fact and shall not proceed except at Contractor's risk until written
instructions are received from the Contract Officer.

1.6    Care of Work, The Contractor shall adopt reasonable methods during the life of the
Ag1·eement to furnish continuous protection to the work, and the equipment, materials, papers,
documents, pl1111s, studies and/or other components thereof to p1·event losses or damages, and shall
be responsible for all such damages, to persons 01· property, until acceptance of the work by Client,
except such losses or damages as may be caused by the Client's sole negligence.

1,7     Fm· ther Responsibilities of Pa1·ties. Both parties agree to use reasonable care and diligence
to perfo1m their respective obligations under this Agreement. Both paI1ies agree to act in good
faith to executo all i11st111me11ts, pl'epare all documents and !alee all actions as may be reasonably
necessruy to carry out the purposes of this Ag1·ee111ent. Unless hereafter specified, neither patiy
shall be responsible for the service of the other.

1, B Additional Service§. The Client shall have the l'ight at any time dudng the pel'formance of
the services, without invalidating this Agreement, to order extl'a work beyond that specified in the
Scope of Services or make ch!lllges by altering, adding to or deducting from said work. No such
extra work may be u11de1'1:11ke11 unless a written order is first given by the Contract Officer to the
Contmctor, incorporating therein any adjustment in (i) the Contract Sum, and/or (ii) the time to
perform this Agreement.

1.9    Special Requirements. Additional tel'!ns and conditions of this Agreement, if ruiy, which
are made a part hereof are set forth in the "Special Requirements" attached hereto as Exhibit "B"
and incorporated hernln by this reference. In the event of a conflict between the provisions of
Exhibit "B" and any other provisions ofthls Agreement, the provisions of Exhibit "B" shall govern.

          2.0    COMPENSATION

2.1       .Quar!lllteed Minimum Amrnal Payment:        $30,000

2.2      Peroentage l'wment: Vectot' Media will provide a 1·evenue share of SS% of all net media
collectio11s.

The offer is based on an annual guarantee of $30,000 paid out it1 12 equal installments of$2,500
per montl1 beginning 011 the 15th day of the month.

There will be an annual accounting to determine 1·evem1es due based on tlie greater amount of the
ammal guarantee and the aunual revenue collected by the contractor.

The payment schedule is contingent on tl1e agt"eed upon size and proximity for the advertising
space.

      •   Full wraps:
      •   Full side adve1tiseme11ts,
      •   King displays
      •   Queen displays
      •   Halfsldes
      •   Headliners
      •   Full backs
                                                                                                     4
2.3     Transition of co11trncts: UJlOll the expiration ortern1inatlon of this Agl'eetneJ1t,
Contractor agrees to assign to TCC.Shore Transit or to its successor advertising oontrnotor, all
advertising contracts on TCC-Shore Transit and Queen Anne's County/County Rlde vehicles
and such contracts shall the1·eupo1t become the property of the Tri-County Council 01· Queen
Anne's County. For a period of 12 months following the expiry or termination of this
Agreement, the client 01· its assigns agree to pay Contractor 20% of the gross advertisittg
space revenue from such contracts that extend beyond the expiry or termination of the
Agreement, plus all unamortized production charges of such advertish1g contracts.

2.4     Posting Fees: Vector Media will be allowed to charge market value pasting fees f01' any
advertising that has bee11 donated to any non-oommercial entities.

2.5      Contract Su111: For the services rendered purnuant to this Agreement, the Cantracto1• shall
be oompe11sated in accordance with the agreed to percentage of sales, 45% of Net Media
Collections. The method of compensation may include: (i) a lump sum payment upon completion,
(ii) payment in acco1·dance with the percentage of completion of the services, (ill) payment for
time and materials based upon the Contractor's l'ates as specified in the Schedule of Compensation,
but !lat exceeding the Contract Sum or (iv) such other methods as may be specified in the Schedule
of Compensatioll. Compensation may include reimbursemellt for actual and ·necessary
expenditures for reproduction costs, telephone expense, transportation expense approved by the
Contract Office!' in advance, and no other expenses and only if specified in the Schedule of
Compensation. The Contrnct Sum shall include the attendance of Contractor at all project
meetings reasonably deemed necessal'y by the client; Contractor shall not be entitled to any
additional oompe11satlon for attending said meetings. Contractor hereby acknowledges that it
accepts the l'isk that the services to be provided pursuai1t to the Scope of Services may be more
costly 01· time consunting than Contractor anticipates, that Contractor shall not be e11tltled to
additional compensation therefore, rutd the provisions of Section 1. 8 shall not be applicable for
such services.

2.6     Method of Payment. The monthly payment In accot·dance with Section 2.2 will be sent to
the Td·County Council Finance Office. The Tri-County Council Finance Office will determine
the allocation of the 1·evenue in accordance of the separate MOU between the Client for this
contract.


       3.0     PERFORMANCE SCHEDULE

3.1    Time of Essence. Time is of the essence in the performat1ce of this Agreement.

3.2    Schedule of Performance. Contractor shall c01mnence tl1e services pursuant to this
Agreement upon receipt of a written notice to proceed and shall perform all services within the
time period(s) established ht the RFP.

3.3      Force Ma!eure. The agreed to time period(s) for performance of the services rendered
pursuant to this Agreement shall be extended because of any delays due to unforeseeable causes
beyond the control and without the fault or negligence of the Contractor, including, but not
restricted to, acts of God or of the public enemy, unusually severe weather, fires, earthquakes,

                                                                                                   5
floods, epidemics, quarantine restrictions, riots, strikes, freight embargoes, wars, litigation, and/or
acts of any governmental agency, including the client, if the Contractor shall within ten (10) days
of the cmmnencement of such delay notify the Contract Officer in writing of the causes of the
delay. The Contract Officer shall ascertain the foots and the extent of delay, and extend the time
for performing the services for the period of the enforced delay when and if in the judgment of the
Contract Officer such delay is justified. [11110 event shall Contractor be entitled to recover damages
agalnst the client for any delay in the performance of this Agreement, however caused, Contracto1's
sole remedy being extension of the Agreement pursuant to this Section.

3.4     Te!'ln. Unless eru·lier terminated in accordru1ce with Section 7.8 of this Agreement, this
Agreement shall continue in full force and effect until completion of the services but not exceeding
five (5) years from the date.

       4.0     COORDINATION OF WORK

4.!    Representative of Contractor. The following principal(s) of Contractor are hereby
designated as being the prinoipal(s) and representative(s) of Contractor authorized to act in its
behalf with respect to the woJ'lc specified herein and make all decisions in co1mection therewith:
Mark Sheely, 443-275-1770 ext 317 or msheely@vectormedia.com
Dylan Stedman, 443-275-1770 ext 329 or clstedman@vectormedia.com

It is expressly understood that the experience, knowledge, capability and reputation of the
foregoing prlticipal(s) were a substantial inducement for the Client to enter into this Ag1·eement,
Therefore, the foregoing principal(s) shall he !'esponsible during U1e te11n of this Agreerue11t for
directing all activities of Contractor and devotittg sufficient time to personally supervise the
services hereunder. For purposes of this Agreement, the fo1·egoing principal(s) may not be
l'eplaced nor may thefr responsibll!ties be substantially reduced by Conh'actor witliout the express
written approval of the Client

4.2     ~Jlntract Officer. The Contract Officer shall be such person as may be designated by the
Client, It shall be the Contractor's responsibility to assure that the Contract Officer is kept iufo1med
oft11e pmgress of'the performance oft!ie se!'Vices and the Contractor shall refer any decisions that
must be made by the client to the Contract Office1'. Unless otherwise specified herein, any appl'oval
of Client required h~reunder shall mean U1e approval of the Contract Officer. The Contract Officer
shall have authority to sign all documents 011 behalf of the Client required hereunder to carry out
the terms of this Agreement

4.3       Prohibition Against Subcontracting 01• Assignment. The experience, knowledge, capability
and l'eputation of Contractor, its principals and employees were a substantial inducement for the
cl!e11t to enter into this Agreement. Thel'efore, Contractor shall not contract with any other entity
to perform in whole OJ' in part the services required hel'eunder without the express written approval
of the client. In addition, neither this Agreement 1101· any interest he1·ein may be transferred,
assigned, conveyed, hypothecated 01· encumbered voluntarily or by operation of law, whether for
the benefit of creditorn or otherwise, without the pl'ior written approval of the client. Trruisfers
restricted hereunder shall include the b:ru1sfer to any person or group of persons acting in concert
of more than twenty five percent (25%) of the present ownership and/or control of Contractor,
taking all transfers into account on a cumulative basis. In the event of any such unapproved
transfer, including any bankmptcy proceeding, this Agl'eement shall be void. No approved transfer
shall release the Contractor or any surety of Contractol' of any liability he1·eunde1· without the
express consent of the Client.
                                                                                                    6
4.4     XndeP-endent Contracto1'. Neither the Client nor any of its employees shall have any control
over the manner, mode or means by which Contrnctor, its agents or employees, perform the
services required herein, except as otherwise set forth herein. The Client shall have no voice in
the selection, discharge, supervision 01• control of Contractor's employees, servants, representatives
or agents, or in fixing their numbe1·, compensation or houl's of service. Contractor shall perform
all services required herein as an independent contJ:actor of the client and shall remah1 at all times
as to the client a wholly independent contractor with only such obligations as ai·e consistent with
that role. Contractor shall not at any time or in any manner represent that it or any of its agents ot'
employees ate agents or employees of the client. The Client shall not in any way or for any purpose
become or be deemed to be a partner of Contractor in its business or otherwise or a joint venture
or a member of any joint enterprise with Contractor.

        5.0    INSURANCE, INDEMNIFICATION AND BONDS

5.1    Insurance.      The Contractor shall procure and maintain, at its sole cost and expense, in a
form and content satisfactory to the Client, during the entire term of this Agreement including any
extension thereof, the policies of insm·ance as set forth in Attachment I, attached hereto and
inco1porated by reference.

All of 1he above policies of insurance t·equfred in Attachment 1 shall be pri1rnny insurance. The
insure!' shall waive all rights of subrogation and contribution it may have against the client, Its
officers, employees mid agents, and their respective insurers. In the event any of said policies of
insurance are cmlceled, the Contractot' shall, prior to the cancellation date, submit new evidence
of Insurance in conformance with this Section 5.1 to the Contract Officer. No work 01· services
unclet' this Agreement shall commence until the Contractor has provided the client with Certificates
of Insurance, endorsements 01· appropt'iate insurance binders evidencing the above insurance
covemge's and said Certificates oflnsurance, endorsements, or binders me approved by the CHent.

The Contmctot' agrees that the provisions of this Section 5.1 shall not be construed as limiting in
any way the extent to which the Contractot' may be held responsible fo1· the payment of damages
to any persons 01· property resulting from the Contractor's activities Ol' the activities of any person
01· person for which the Contractor is othetwise responsible.

In the event the Contractor subcontracts any portion of the work in compliance with Section 4.3
of this Agreement the contract between the Contractor and such subcontractor shall require the
subcontractor to maintain the same polices of insurance that the Contractor is required to maintain
ptu'suant to this Section.

5.2      Indemnification. Contractor agl'ees to indemnlfy tlte client, its officers, ageuts and
employees against, and will hold and save them and each of th5m harmless from, any and all
actions, suits, claims, daniages to pe1·sons or property, losses, costs, penalties, obligatio11s, errors,
omissions or liabilities, (herein "claims or liabilities") that may be asserted or claimed by any
person, firm or entity arising out of or in oonnectio11 with the performm1ce of the work, operations
or activities of Contrnctor, its agents, employees, subcont1·acto1·s, or invitees, provided for herein,
Ol' arising from the acts or omissions of Contractor hereunder, 01· arising from Contract01's
petfo!'lnance of or failurn to pe1fo1m any tem1, pt·ovision, covenant or condition of this Agreeme11t,
but excluding such claims or liabilities adsing from the sole negligence 01· willful misconduct of
the Client, its officers, agents or employees, who are directly responsible to the County, and in
connection therewith:
                                                                                                       7
(a)      Contrncto1· will defend any action or actions filed in connection with any of said olahns or
liabilities and will pay all costs and expe11ses, h1cluding legal costs and attomeys' fees incurred in
connection therewith;

(b)   Contractor will promptly pay any judgment rendered against the client, its officers, agents
or employees resulting from any of the above claims or liabilities subject to Contractor's
indemnification obligation ; and

(c)    In the event the client, its officers, agents or employees are made a party to any action or
proceeding filed or prosecuted against Contractor arising from the above claims 01· llabilities
subject to Contractor's indemnification obligation, Contractor shall pay to the Client, its office1·s,
agents 01· employees, any and all costs and expenses incurred by the Client, its officers, agents or
employees in such action or proceeding, including but not limited to, legal costs and attorneys'
fees.

5.3     Perfoimance Bone!. No pe1formance bond is required at this time.

        6.0    REPORTS AND RECORDS

6.1     Repmts. Cont1·aotor shall periodically prepa1·e and submit to tl1e Contl'act Officer such
rnports concerning the performance of the services required by tl1is Agreement as the Contract
Officer shall requil'e. Contractor hereby acknowledges that the Client is greatly concel'l\ed about
U1e cost of work and services to be performed pursuant to thls Agreement. For this reasoll,
Contractor agrees that if Contractor becomes aware of any facts, circmnstanoes, techniques, or
events that may or will materiaily increase or decrease the cost of the work or services
0011templated herein or, if Contractor is providing design servicoo, the cost of the project being
designec;I, Contractor shall promptly notify the Contract Officer of said fact, cil'cumstance,
technique or event and the .estimated increased or decreased cost 1·elated thereto and, if Co11tr~ctor
is providing design services, the estimated increased or decreased cost estimate for the project
beillg designed.

6.2     Records. Contractor shall keep, and require subcontractors to keep, such books and records
as shall be necoosai·y to perform the services required by this Agreement and e1iable the Contract
Officer to evaluate the performance of such S()!'Vices. The Contract Officer shall have full and free
access to such books and records at all times during normal business hours of the Client, including
the right to inspect, copy, audit and make 1·ecords and transcripts from such records. Such records
shall be maintained fo1· a period of three (3) yeat•s following completion of the services hereunder,
and the Client shall have access to such records in the event any audit is required.

6,3     Ownership of Documents. All drawings, speolfications, reports, records, documents and
othe1• materials p1•epared by Contractor, its employees, subcontractors and agents in the
peiformance of this Agreement shall be the prope11y of the client and shall be delivered to Client
upon request of the Contract Officer or upon the terminatio11 of this Agreement, and Contractor
shall have no claim for further employment 01· additional con1pensatlon as a result of tl1e exercise
by the client of its full rights of ownership of the documents and materials heremtder. Conti~1ctol'
may retain copies of such docU!11ents for its' own use. Contractor shall haw an umestrlcted right
to use the concepts embodied therein. All subcontrnctors shall provide for assignment to the client
of any documents or mate!'ials prepared by them, and in the event Contrnctor fails to secure such
assigmnent, Conti·actor shall indemnify the client for all damages resulting U1erefrom.
                                                                                                     B
6.4      Release of Documents. The drawings, specifications, reports, records, documents and
other materials prepared by Contractor in the pe1format1ce of services under this Agreement shall
1101 be released publicly without the prior wl'itten approval of the Contrnct Officer.

       7.0     ENFORCEMENT OF AGREEMENT

7.1      Marvlaud Law. This Agl'eement shall be oonstrned and interpreted both as to validity and
to perfonnance of the parties in accordance with the laws of the State of Maryland. Legal actions
conceming any dispute, claim or matter arising out of or in relation to tltls Agreement shall be
instituted in the Circuit Court of Wicomico County, State of Maryland, or any 0U1er appropriate
court in suoh county, and Contractor covenants and agrees to submit to U1e pe1·sonal jurisdiction
of such coul't in the event of such action.

7.2    Disputes. Pending resolution of a claim, the Conb:acto1· shall proceed diligently with the
performance of the Contract in accordance with the Client's decision. Unless a lesser period is
provided by applicable statute, regulation, or the Contract, the Contractor must file a written notice
of claim with the Client within thirty (30) days after the basls fo1· the claim is know11 01· should
have been known, whichevel' is eal'lier. ·

TI1e only parties to any proceeding to determine a dispute shall be the Contractor and the owner,
unless the Contractor and owner otherwise agree to allow additional parties.

Unless othe1wise agreed, the Con!t•actor shall early on the work and maintain its progt-ess during
any dispute proceedings as if no dispute had occurred, and the owner shall continue to make
payments to the Con!t·actol' in accordance with the contract documents fot• items not subject to
the dispute.

Nilthilig herein shall limit the Client's right to terminate this Agreement witl1out cause pul'suant
to Section 7.8.

7.3      Retention ofFm1ds. Vector Media hereby authorizes the Client to deduct from any amount
payable to Contractor (whether or not al'ising out of this Agreeme11t) (i) any amounts the payment
of which may be in dispute horeunder or which are necessary to compensate the Client for any
losses, costs, liabilities, or damages suffe!'ed by the Client, and (ii) all amounts for whlch the Client
may be liable to third parties, by reason of Contractor's acts or omissions in pelforml11g 01· faili11g
to perform Contractor's obligation tmde1· U1is Agreement. In the event that any olaim is made by a
thil'd party, the amou11t or validity of which is disputed by Contraotor, or any Indebtedness shall
exist which sha11 appear to be the basis fol' a olaim of lien, the client may withhold flam any
payment due, without liability for interest because of such withholding, an amount sufficient to
cover such claim. The failure of the Client to exercise such right to deduct or to withhold shall
not, however, affect the obligations of the Contractor to insm-e, indemnify, and protect the client
as elsewhern provided herein.

7.4    Waiver. No delay or omission in the exercise ofmty right or remedy by a non·defoulting
party on any default sha11 impair such right or remedy or be construed as a waive!'. A party's
consent to or approval of any act by the other party requiring the party's consent or approval shall
not be deemed to waive or render unnecessary the other party's consent to or approval of any
subsequet1t act. Any waiver by either party of any default must be in writing and shall not be a
waiver of any other default oonceming the same or anY, other provision of this Agreement.
                                                                                                  9
7,5     Eights and Remedies are Cumulative. Ex:cept with respect to rights and remedies expressly
declared to be exclusive in this Agreement, the rights and remedies of the pa1·ties are cumulative
and the exercise by either party of one or mol'e of such rights or remedies shall not preclude the
exercise by it, at the same or different times, of any other rights or remedies for the same default
01• any other default by the other pmty.


7.6     Legal Action. Except with l'eSpect to disputes that are subject to Section 7.2 of this
Agreement, either party may take such legal action, in law or in equity, to recover damages for
m1y nmtel'ial default in a party's failut·e to pet·form this A~reement, to compel specific performance
of this Agreement, to obtain declaratory or Injunctive relief in the event of a party's failme to
perform this Ag1•ee111ent, or lei obtain any othel' remedy consistent with the purposes of this Section.

7, 7 Termination Pl'ioi· to Expiration of Term. This Section shall govern any termination of this
Agreement except as specifically provided in the followh1g Section for termination for cause. The
client reserves the right to terminate this Agreeme11t at any time, with or without cai1se, upon thirty
(30) days' written notice to Contractor, except that where termination is due to the fault of the
Contrnctor, the period of notice may be such shorter time as may be determined by the Contract
Officer. Upon receipt of any notice of termination, Contractor shall immediately cease all services
hereunder except such as may be specifically approved by the Contract Officer. The Contractor
shall be entitled to comp~.nsation fat· all services rendered prio1· to the effective date of the notice
of termination and for any services authorized by the Co11tmct Officer tl1ereafter in accordance
with tl1e Schedule of Compensation or such as may be approved by the Co11tract Officer, except
as provided hi Section 7,3. In the event of termination without cause pursuant to this Section, the
County need not provide the Contractol' with the opportunity to oure pursuant to Section 7.3.

7.8      Termination for Default of Contractor. If termination is due to the failure of Vector Media
to fulfill its obligations under this Agreement, the Client may take over the.work i;1nd pr0 :iecute the
same to completion by contract 01· .otherwise, and 'the Contractor shall be liable to tlie exte1it that
the total cost for completion of the services required hereunder exceeds the compensation herein
stipulated (provided that the client shall use reasonable efforts to mitigate such damages), and the
client may withhold m1y payments to the Contractol' for the pu1•pose of set-off or partial payment
of the amounts owed the client as previously stated.

7.9     Termination for Non-appropriation. If the Client 01· othel' funding sot11'0e fails to
appropriate funds or if funds are not otherwise made available for continued performance for any
fiscal period or part thereof of this Agreement, this Agt·eement shall be ca11oelled automatioally as
of the beghming of the fiscal year 01· part thereof for which funds were not appropl'iated or
otherwise made available; provided, however, that this will not affect either the Client's rights 01·
the Contractor's rights tuider ®Y termination clause in this Agreement. The effect of termination
of the Agreement hereunder will be to discharge both the Cm1tractor at\d the client from future
performance of the Contract, but not from their rights and obligations existing at the time of
termination. The Contmctor shall be reimbursed for the reasonable value of any 11011-recurdng
costs incurrnd but not amortized in the price of the Agreement. The Client shall make a good faith
effort to notify the Contractor as soon as it has knowledge that fm1ds may not be available for the
continuation of this Agreement for each succeeding fiscal period or pmt thereof beyond the first
fiscal year,

        8.0     CLIENT, COUNTY AND FEDERAL REQUIREMENTS

                                                                                                      10
8.1    Non-liability of Officers and Em12loyees. No officer 01· employee of the Client and their
sponsoring county shall be personatly liable to the Contractor, or any successor in interest, In the
event of any default or breach by the Client 01· for any amount, which may become due to the
Contractor or to its successor, or for breach of any obligation of the tenns of this Agreement.

8.2     Conflict oflnter~. Ne officer or employee of the client shall have any financial interest,
ditect or indirect, in this Agreement nor shall any such officer 01· employee participate in any
decision relating to the Agreement which effects his financial interest or the financial interest of
any corporation, partn1;1rahip or association in which he is, directly or indil'ectly, internsted, in
violation of any State statute or regulation. The Contractor warrants that it has not paid or given
and will riot pay or give any third party any money 01· other consideratio1t for obtaining this
Agreement.

8.3    Covenant Against Disodminatio11. Contractor covenants that, by and for itself, its heirs,
executors, assigns, and all persons claiming under or tiuough them, that there shall be no
discdmination agaiust or segregation of, any person or group of persons 011 accoll!lt of race, color,
creed, religion, sex, mal'ital status, national origin, or ancestry in the performance of this
Ag!'eement. Contractor shall take affirmative action to insurn that applicants are employed and
that employees are treated during employment without regard to their race, co!Ol', creed, religion,
sex, matital status, national origin, or ancestry.

8,4    Federal Transit Administration Proourement Clauses. Vector Media must complete the
required foderat procurelJ.lent clauses and comply with the requirements in these documents.



        9.0    MISCELLANEOUS PROVISIONS

9.1     Notice. Any notice, demand, 1-equest; document, consent, approval, or communication
either party desires 01· is required to give to the other party or any otlte1· person shall be ht writing
and either served personally sent by prepaid, first-class mail, sent by facsimile or sent by email as
follows:

                                (a)    In the case of the Client, to:
                                       TCC-Shore Transit
                                       bbellacicco@tcclesmd.org
                                       31901 Tri-County Way
                                       Sa!isbUl'y, MD 21804
                                       Office phone: 410/341-8980



                                (b)     In the case of the Contractol', to:
                                        Vector Media
                                        msheely@vectormedla.com
                                        1615 York Road, Suite 204
                                        Lutherville, MD 21093



                                                                                                      11
Either party may change its address by notifying the other party of the change of address in writing.
Notice shall be deemed conununicated at the time personally delivered or in seventy-two (72)
hours from the time of mailing if mailed as provided in this Section.

9.2     Interpretation. The terms of this Agreement shall be construed it1 accordance with the
meaning of the language used and shall not be construed for or against either party by reason of
the authorship of this Agreement or any other rnle of constrnction which might otherwise apply.

9.3     Integration; Amendment. It is understood that there are no oral agreements between the
parties hereto affecting this Agreement and this Agreement supersedes and cm1cels any and all
previous negotiations, arrnngements, agreements and understandings, if any, between the parties,
and none shall be used to interpret this Agreement. This Agreement may be amended at any time
by the mutual consent of the parties by an instrument in writing.

9.4      Severability. In the event that any one or more of the phrases, sentences, clauses,
paragraphs, or sections contained in this Agreement shall be declared invalid or unenforceable by
a valid judgment or decree of a colll't of competentjmisdiction, such itwalidity or unenforceability
shall not affect any of the remaining phrases, sentences, clauses, paragraphs, or sections of this
Agreement which are hereby declared as severable and shall be interpreted to cany out the inte11t
of the parties hereunder unless the invalid provision is so material that its invalidity deprives either
party of the basic benefit of their bargain or renders this Agreement meaningless.

9.5     Corporate Authority. The persons executing this Agreement on behalfofthe parties hereto
warrant that (i) such party is duly organized and existing, (ii) they are duly authorized to execute
and deliver this Agreement on behalf of said party, (iii) by so executing this Agreement, such party
is formally bound to the provisions of this Agreement, and (iv) the entering into this Agreement
does not violate any provision of any other Agreement to which said party is bound.




      fN WITNESS WHEREOF, the pm'ties have executed and entered into this Agreement as of the date
      first written above .
  . -- - ATTEST:                                Tri-County Council for the Lower Eastern Shore
                                                Shore Transit Division
                                                3 l90l 1i'i-County Way



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                                                          Exe/i~it-ector
                                                     Grego1y Padgham,
  ~~-----·
       AITEST;                                       Queen Anne County/County Ride
                                                     312 Safety Drive

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By:'~-/--<;."-=l==F~~=="'-­
Signatrn e
(nolltl'ized)

Name:_.Q.'.Mt> __'?ll.vi'-'-'G'-_
                                f.. _ _ __
Title:   CJDO



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County of~~_}ss
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appeared C)\()..J S\\ vt.'f 1 W 0
personally known lo me (or proved to me on
the basis of satisfocto1y evidence) to be the
pe1~011(s) whose uame(s) is/at'6 subscribed· to
the within instrnment and acknowledged to
me that he/she/they executed the same in
his/!tm·/theit' authorized capacily(ies), and
that by his/her/tl1ei1• siguature(s) on the
instmment the pet·son(s), or the entity upon
belmlfofwhich the person(s) acted, executed
the instrument.
WITNESS my hand and official seal.

Notary      /---~-~,) \._,_;:f.c~
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                                                                       13
                                    GENERAL CONDITIONS


Shore Transit is the contracting agency on behalf of Shore Transit, a division of the Tri-County
Council for the Lower Eastern Shore of Maryland and Queen Anne's County (QAC)/County Ride
(referl'ed to hereafter as the client).

All legal agreements will be executed between Vector Media and Shore Transit as the contracting
agent for the coalition, Additional information 01• cladfication of any of the instl'Uctious or
inforn1atio11 contained hel'ein may be obtained from Shore Transit. All official conespondence in
regard to the specifications shall be directed to and will be issued by Shore Transit.

    1. DISPUTES:

Pending resolution of a claim, the Contractor shall proceed diligently with the pel'formance of the
Contract in accordance with the Client's decision. Unless a lesser period is provided by applicable ·
statute, regulation, or the Contract, the Contractor must file a writte11 notice of claim with the Cliet1t
within thirty (30) days after the basis fOI' the claim ls !mown or should have been known, whichever
is earlier.

   2. GOVERNING LAW:

This Ag1·eement shall be governed by and construed in accordance with the laws of the State of
Marylm1d without regm·d to any choice of law pdnciples that would dictate the laws of any other
jurisdiction. The parties agree that the exclusive venue for any and all actions !'elated hel'eto shall
be the appropriate federal or state com•t located within the State of Maryland.

The laws of Maryland shall govern tlie resolution of any issue arising in col!11ection with the
contract, including, but not limited to, all questions on the validity of the contract, the oapaclty of
the parties to enter therein, any modification or amendmeL1t thereto, and the tights and 'ob!igntions
of the parties hereunder.

Vector Media must be registered to do business in, and 11\ust be in goocl standing in, the State of
Maryland.

    3. COMPLIANCE WITH LAWS:

Vector Media hereby represents and warrants that it:

       • ls quulified to do business in the State of Maryland and that it will take such action as,
         from time to time hereafter, may be uecessruy to 1·emah1 so q1mlified.
       • Is not in al'l'ears with respect to the payment of any mo11[es due a11cl owing the region,
         01· any agency thereof, including, but not limited to, the payment of taxes and employee
         benefits, and that it shall not become so in airears during the term of the contract.
       • Shall comply with all federal, state, and local laws, ordinances, and legally enforceable
         rules and regulations applicable to its activities and obligations under the contract and
         shall sign all applicable federally required clauses. (see attachment 11)
       • Shall procure, at its expense, all licenses, permits, insurance, and govemmcntal
         approvals, if any, necessary to the perforillance of its obligations under the contract

                                                                                                      14
       • Agrees that the facts and mattel's set forth hereafter in the contract and made a part
         hereof are true and correct.

In addition to any other remedy available to the client, breach of any of the paragmphs of this
clause shall, at the election of the client, bCJ grounds for termi11atio11. Failure of the client to
terminate the contract shall not be considered or constrned as a waiver of such breach nor as a
waiver of any rights or remedies granted or available to the client.


   4. AVAILABILITY OF FUNDS: The conll'actual obligation of the Client and agencies
      thereof under this co1ttmct is conthtgent upon the availability of appropriated funds from
      which payment for this contract can be made.

   5. NON-ASSIGNMENT OF CONTRACT: Vector Media shall not assign the contract, or
      any portion thereof, except upon the written approval of the attorney fo1· the Client.




                                                                                                15
                       TRANSl'.l' VEHICLE ADVERTISING

                                  SPECIFICATIONS

  PURPOSE:

  1.1   Shore Transit and Queen Aime's CountyfCounty Ride has solicited p1·oposals from
        qualified Marketing(Adve1tising firms to market, sell, produce, place and maintain
        advertising panels and wraps on buses of the Region's 60 plus transit vehicles. The
        successful firm will have the exclusive rights to the advertising space speoified
        herein. The objective of this conti·act ls to obtain effective marketing and
        advertising services that will produce the maximum revenue possible fo1· the client.

  1.2 Vector Media will act as the exclusive agent for the client for the sale of advertising
      on and in the Region's fixed l'Oute and shuttle buses and demand response
      specialized vehicles. Vector Media will be responsible fo1· the sale, production,
      placemt:int, maintenance and removal of display sign advertising in coordination
      with the clients. In return, the Contractor will pay the Client a percentage of its
      gt·oss revenue generated from the safo of advertisements. Shore Transit operating on
      behalf of the Region reserves the right to reject any adve1'tising that it dete1'!11ines to
      be controversial, offensive, objectionable or in poor taste.

2 BACKGROUND:

  Tile following agencies comprise the region and provide public transportation
  services and vehicles for th~ purposes of this contract:

  Shore Transit


  Shore Transit, a division of the Tri-County Counctl fol' the Lowe!' Eastern Shore of
  Maryland, is the public transit agency for the Maryland lower eastern shore counties of
  Somerset, Wicomico and Wol'cester. Shore Transit offers public transportation via fixed
  route and origin-to-destination sel'vices. The Shore Tt1111sit staff meets regularly with the
  Shore Transit Advisory Board to discuss issues relating to the efficient and effective
  opei·atlng of the transit agency. The Advisory Board is composed of representatives from
  public agencies, private businesses, education, and consumer advocates.

  Sbo1-e Tra11sit i·eported ridership in FY2019 of 312,443 passengers, moved over
  1,987,012 miles.

  Shore Tl'ansit operates fixed bus routes connecting major business, education and service
  centers in the region plus on demand transportation for special programs such as health
  department patients to medical appointments, senior citizens moved to support programs,
  veterans and others. Shore Transit operates a fleet of 43 buses. The business is supported
  by a staff of ninety. The service rolls out a peak of 35 buses a day Monday to Friday.
  Additionally, Shore Transit is the agent for Grnyhound Bus Lines supporti11g their buses
  and passengers from the Shore Transit facility in Salisbury,

                                                                                               16
  The Shore Tl'ansit schedule can be found online at:
  http://www.shorett•ansit.org/StopsSc!ieclules/Schedules.aspx

  Queen Anne's County (QAC) I County Ride

  Queen Anne's County (QAC)/ County Ride is the Locally Owned Transit System for
  Quee11 Anne's County. It is operated under QAC' s Area Agency on Aging. County Ride
  offers two services, two Deviated-Fixed Routes and Demand Response (Curb to Cuxb)
  service for those unable to access public l'OUtes, Both services are open to the public,
  anyone can l'ide.

  County Ride operates fifteen (15) buses and four (4) mini-vans. The major service a;·ea is
  in county but County Ride also operates outside of Queen Anne's County.

  Route 1 offet's se1·vice fl:om Stevensville, MD to Easton, MD via the Route 50 Co11·idol'
  and through the town of Easton. Almost, the entire route is spent on route 50 allowing
  exposure to the busiest road tlu·ough QAC and Talbot Counties. Two buses will tt·avel 011
  this route fot· a total ofappl'Oximately twelve (12) holll's a clay, beginning August 26,
  2013, increasing the operating holll's of1l1is l'OUte from ten (10) to twelve (12) hout•s.
  Route 2 operates from Centreville, MD to Stevensville, MD. Two buses travel on this
  route with sixteen (16) hours of exposure on Route 50, Route 301, tlu·ough the
  Queenstown outlets, and on Route 18 tlU'ough Grasonville and Chester, MD in major
  business and shopping areas.

  County Ride tl'aveled 218,776 miles in FY2013 with 37% of those miles driven on ou1·
  two Devlated"Fixed Routes. County Ride provides demand services to ou1· three Senior
  Centers located in Grasonville, Kent Island, and Sudlersville, MD. Similal'ly, we take
  clients into Chestettown, MD daily, Baston and A1mapolis three times a week.

  C0Ut1ty Ride will be requesting fonds to begin a route from Centreville, MD to
  Annapolis, MD beginning in FY2015 (July, 2014). This ro11te w\11 offer service from
  Centt·eville, through Grasonville, Kent Island, and ending in downtown Annapolis and
  the Annapolis Mall. The majority of this service area will be on Route 50 from
  Centrevllle, MD to Annapolis, MD.

  For more information, visit the County Ride website:
  http://www.qac.org/default,WJpx?pagelc!=42l&t0111plate=3&PageLevel=2&toplevel=34&
  cid=61


3 CONTRACT PERIOD:

  The ccmtract period shall be for 60 months after approval and proper execution of the
  contract documents exercisable at the sole discretion of the client. The successfol
  Contractor will be notified no late!' than sixty (60) clays prior to the end of the contract term
  if the contract is to be renewed,

  Vector Media shall provide the client a tho1·ough and comprehensive advertising
  program, which will achieve the sale of advertising space 011 and In the Client's Transit
  buses.
                                                                                                17
  No more than 20% of the adve1tisements posted in a month shall relate to alcoholio
  products. This amount shall be determined by Vector Media using the total number of
  hours advertisements are displayed in a month.

  At tl1e Client's request, up to 5% of &l1 buses provided for under this contract may be
  without advertising of any kind. The Client, with Vector Media's recommendation, shall
  determine which buses will be free of paid advel'l:ising. These buses may be used to
  display Public Service Announcements (PSA's). Vector Media 01· the Client may prepare
  aitd i11stall PSA advertisements for the client at no charge after coordination.

  At least three (3) business days prior to the time of posting any adve1tising, a copy 01·
  reasonable facsimile thereof shall be fumished by Vector Media to the client. The Client
  shall have the right to require the contractor to 1·efuse any advertisement, which the
  1~gio11 deems in its best interest. Altematively, if the oopy or 1·easonable facsimile ls not
  reviewed within this thneframe, the copy will be considered apprnved by the Client.
  However, the Client reserves the right to remove any offensive adve1tising at any time.

  Vector Media shall be responsible for the content of material to be contracted fo1· display
  on or in tlie buses. All advertisers shall be required to submit photocopies or mock.ups of
  their ads to Vector Media prior to posting. If it is deemed objectionable, Vector Media
  will chm1ge the copy material or graphics so that it is not objectionable. ·

   Vector Media shall refuse potentially objectionable advertising of a compromise cannot
   be reached to render the advertising acceptable, Vector Media also has the right to have
   the following by·line added to mty advertisement: "This is a paid advertisement."

   Vector Media shall follow minimum standards in the approval of submitted advertising
   that will be displayed in the buses, ·
                   The udve1tisfog shall not be:
                       • Misleading or deceptive
                       • Sextmlly explicit, obscene, or harmful to minors
                       • Favotably depicting violence, illegal activity, and/or anti.social
                           behavior
                       • Political advertisements wlll not be accepted

  The Client shall be provided with a copy of all proposed advertisements for review m1d
  approval prior to contractor installation. Such review places no liability whatsoever on the
  Client for any grmnnmtical, spelling or other errors that may be overlooked or produced
  on the advettlsement. If such errors !ll'e discovered after installation of the advertisement,
  Vector Media shall correct tl1e en'Or at their solo expense.

 The Client, in its sole discretion, will not guarai1tee Vector Media that specific
 ad'/ertisements will be displayed solely in designated areas of the sel'Vice area. This means
 that advertisers may not be guaranteed that their adve1tising will be restricted to only
 certain, specific areas.

4 Opernting Requirements:


                                                                                              18
      4.1 Access to any and/or all client transit vehicles will be provided only at times
          consistent with vehicle operating needs for the client and its operator. Transit
          offices will be closed on holidays and weekends put transit services may operate on
          these days depending on the published schedule and published service advisories.

      4.2 Availability of vehicles for ad placemet1t must be coordinated with Client Transit
          Operations.

      4.3 The Client will consider an adjustment in the co11tract for recognizing out of se1'Vice
          vehicles that result and impact on advertising revenues.

      4.4 The Client, wot•king with its operator, will pl'Ovide a reasonable work area free of
          charge to Vector Media for the handling and installation of advertising signs,
          Vector Medfa wlll be responsible for keeping the work area neat and clean.

       4.5 TI1e Client advocates the selling of space for illustrated or "wrapped" vehicles as
           part of the advertising program. fa addition, Vector Media will provide proposed
           written guide[ines to the client for any promotional usage of U1e illustl'Rted/wrapped
           V\lhicles, Vector Media will present said guidelines, including term of sale, to
           prospective advertisers.

       4.6 Vector Media must pay all expenses that affect the sale of the advettisements such
           as; designing, pl'Oducing, delivering, installing, replacing, removing and 1·estorntion
           of the vehicle to its ol'iglnal condition. Vector Media will not permit the
           advertisement to remain on a bus beyond the term of the contract between the
           Advertiser and Vecto1· Media, and therefore Vecto1· Medin will be required to
           remove any a11d a[l evidence of the expired advertisement within thhty (30) days of
           the date of expiration, If the removal of any advertisement, such as, but not limited
           to, vinyl adhesive applications, cause the smfoce of Uie vehicle to be defaced, paint
           to delaminate ol' other damages to occur to their vehicle that are not subsequently
           covered, Vect01· Media will perform such repairs or paint to restore the vehicle to its
           original condltion.

5      Trade for Medin Advertisers:

            The client will agree, on a case by case basis, to accept trades of adve1tising space
            for print/electronic media time, provided that such a trade is approved in wl'iting by
            the cllent prior to its talcing effect.

    6 lllnstrated1Wrap1ied Buses:
            A provision for the sale of illustrated/wmpped adve1tising on btJses including
            methods of application, cost implications, mai11tenance costs to prepare and repaint
            vehicles and anticipated reve11ue generated. Any proposed advertising tlmt will
            project into 01· cover any portions of windows shall receive prior approval fro111 the
            Opernting Agency. The Contractor must submit for Operating Agency approval a
            sam.ple ad copy of any proposed bus w1·aps ten (10) days prior to applying the wrap
            to the bus.

    7 Recordkeepiug nud Required Information:
                                                                                                 19
          Veotor Media shall maintain records as required herein i11 a form satisfactory to the
          Client. The monthly repm't shall set forth i·evenues earned each month within
          fifteen (15) days after the end of the month. Monthly i·evenue information must
          include, but not be limited to, the following:

                       •   List of advertisii1g clients.
                       •   Gt·oss sales for the month.
                       •   Contract expiration dates.
                       •   Bus 1mmber where advertising signs are posted.
                       •   Monthly reconciliation reports: The client reserves 1he l'ight to
                           audit Vector Media's books and other records in order to determine
                           compliance with the Contract and all applicable standards and
                           regulatio11s.

8 Transltlou Requirements:

    In order to insure an ol'derly trnnsfer of cm·1·ent advertising clients, Vector Media will be
    obligated to accept current advertish1g agreements established by the Client foi·
    advertising in effect in November 2019.

     Ill the event Vectm· Media is replaced by another contractor, whether at the end of the
    contract tem1 or as a result of temtlnatio11 of the contract for cause 01· convenience of the
    client, Vector Media will be required to coopernte fully, to the satisfaction of the client,
    with the transition of the incoming Contmctor.

9    Pay1neuts To The Client:

     The clfont must receive payments by the I 5'11 of the month for all advertising applied the
     previous month. Payments will be sent to:

          Tl'i-County Council for the Lower Eastern Shore of Maryland
          Finance Department
          31901 Tri-County Way, Suitll 201
          Salisbury, Maryland 21804

          Electronic trnnsfers can be coordinated with Stacy Purnell at 410-341-8980 X2203.

    Compensation P11yment

          Vector Media shall clearly report tho 'Minimum Monthly Payment Guamnteed' to
          the client each month and also the 'Percentage of GROSS Sales' (Advertising
          Sales) to be paid with the monthly report. The amount to be paid to the client IS
          NOT a combination of the Minimum Payment Guaranteed and Percentage of
          GROSS Sales; it will always be the proposed percentage of gross advertising sales.
          The 'Minimum Payment Guaranteed' is intended to provide an incentive for Vector
          Media to execute their duties aggressively, and to ensure the client receives an
          assured minimum amount each month. The Client will be pald either the


                                                                                                20
'Minimum Monthly Payment Guaranteed' or the "Proposed Pel'Celltage of Gross
Sales'', whichever is higher.

BILLING AND PAYMENT: Illvoices and payment for any services not covered
by this agreement and agreed to in advance shall be submitted monthly by the 101h
of the month for all services perfoi'lJled <luting the preceding month to:

Tri-County Council for the Lower Easbm1 Shore of Maryland
Finance Department
31901 Trl-CountyWay,Suite201
Salisbury, Maryland 21804

Each invoice shall include the following infotmation:

         Federal Employer ldentification Number (FEIN)
         Contractor's name, address and Co11tract name a11d m1mber (if any)
         Name of advertising clients
         Date and length of tiine of each ad placed
         Compensation perce11tage and amount




                                                                               21
                                 ATTACHMENT 1

                                     Insumnce

  The Contrnotor shall purchase and maintain, during the entire term of the contract,
  including any renewals thereof, the following policies of insural1ce acceptable to Shore
  Transit:

  Auto Liability insurance with minimum limits of:

       $1,000,000 Combined Single Limit or
       $1,000,000 each Person;
       $1,000,000 each Accident and
       $1,000,000 property damage.

  General Liability insurance with minimum limits of:

       $1,000,000 per occurrence;
       $2,000,000 General Aggregate;
       $2,000,000 Prod/CO Aggregate;
       $1,000,000 Personal/Adve1iising lnjmy;
       $ 50,000 Fire Damage Legal Liability and
       $ 5,000 Medical Expense.
General Liability insueance must cover:

       Premises/Operations;
       Products/Completed Operations;
       Contractual Liability;
       Independent Contractors;
       Broad Fol'in Property Damage and
       PersonaVAdve1tising Injury.

       The General Liability insurance policy must include clients as Addit~onal
       Insured nncl must include a Wniver of Subrogation, Do not use abbrevintions or
       change these words in any way.

      If General Liability policy has a Self-Insured Retention or Deductible greater than
      $1,000 you will be required to submit audited financial statements for review.

 P!'ofessional Liability/E11·ors & Omissions coverage with mi11h11um limits of:

      $1,000,000 pe1· Occurrence and
      $2,000,000 Aggregate.

      Pmfessional Liability must indicate if it provides Occm:rence or Claims Made
      coverage.


                                                                                       22
     If Professional Liability covernge ls written on a Claims Made form, coverage must
     be maintained for a minimum of 3 years after completion of contract or "tail"
     coverage must be purchased.

     If Professional Liability policy has a Self-Insured Retention or Deductible greater
     than $25,000 you will be 1·equired to submit audited financial statements for review.

Workers' Compensation coverage with minimum statutoiy limits,

     Out of state employers must show evidence of coverage in Maryland by listing
     Maryland as a covered state and not rely on "other states" coverage. On a Standat'd
     Workers' Compensation policy this is typically established in Section 3A of the
     Declarations Page. A copy of the Deolal'ations Page showing evidence of coverage
     must be provided.

     Workers' Col!lpensation policy must include a Waiver of Subrogation in favor of
     Shore Transit ofSalisbmy, MD.

Employers Liability coverage with minimum limits of:

     $100,000 per Accident;
     $100,000 per Elllployee and
     $500,000 per Policy,

     Employers Liability policy must include a Waiver of Subrogation in favor of Shore
     Transit of Salisbury, MD.

 Certificates issued on the ACCORD 25 (with revision date pl'ior to 05/2010) or any
'Certificate that includes the following phrnses in the Cancellation wording tm1st have
these phrases stl·uck from the Certificates:

     "endeavor to" and
     'but failure to mail such notice shall impose t10 obligation or liability of any kind
     upon the complllly, its uge11ts or representatives".

CERTIFICATE HOLDER must be:

       Shore Trallsit
       31901 Tri-County Way
       Salisbury, MD 21804

       Queen Anne's County/County Ride
       312 Safety Drive
       Centrevtlle, MD 21617


If any primary policy's limits foll short of the requirements, be sure to include on the
certificate any excess poHoies that would extend t11ese limits.

All of the above insurance coverage's must be written by a carrier with a minimum A.M.
                                                                                     23
Best rating of A.. or better AND a financial size classification of VI or higher. All policies
of insurance shall be underwritten by companies licensed to do business in the State of
Maryland and all certificates must include a11 authorized signature. Axry deductibles or
self· insured retentions should be noted 011 the certificate,

If applicable, the Contractor shall assure that all subcontractors petfonning services in
accordance with this solicitation carry identical insurance coverage as required by the
contract, either individually ot• as an Additional Insured on the policies of the Contractor.
Exceptions may be made only with the approval of the client. Contractor shall indemnify
the client for any uninsured losses relating to contractual services involving
subcontractors, including workers' compensation claims.

The Contl'actor shall not commence work under the contract until evidence of all required
coverage is received by the client. All certificates must include ai1 authodzed signature
and provide for at least 30 days notice of cancellation. Further, the Contractor shall i;ot
reduce or cancel or change any of the reqLiired coverage's without thirty (30) days notice
of such change to the client.

The Contractor will not hold the client liable for any injuries to the employees, se1·vants,
agents, subcontractors or assignees of the contract arising out of or during the course of
services relating to this agreement.

The providing of any insurance required herdn does not relieve the Contractor of any of
the responsibilities or obligations assumed by the Contractor in the contract awai'ded or
for which the Contractor may be liable by law or otherwise.

Failure to provide and continue in force sucl1 h1surance as required above shall be
deemed a material breach of the contract and shall operate as an immediate termination
tht'reof.




                                                                                               24
                                            AT'l'ACHMENT2
                                    MBE UTlLIZATION AIIFJDA VIT

 Title: Transit Vehicle Advertising

 Nnme of Contractor: _ _~--~----------------------
 Please respond to the following questions:     Check One
                                            Yes           fu
 I.      Certified Minority Business Enterprise?

         a.   Certified by: State of Maryland?

         b.   Fedeml 8-A Reglstmtion?

         c,   Frederick County Local Govel'llment?
         d.   Other (please list) _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __


         Principle Owner's Minority Class (please check):
         African Amedcan _ __             Asian American _ __               Hispmilc American - - ·

         Native An1e1foan                 Women                             Other (please list)


 2.      lfthe response to Question l Is no, have Minority Business Enterprises provided services, or
         supplied auy items associated with yom response to this Request for Proposals?



· NOTE: lfthe response to Question 2 is yes, please include a list (see page MBBUA-2) of all MBB
  subcontrnotors, names and addt·esses, the nalme of the se1vices or supplies being ful'llished, percentage of
  the overall contract amount and complete the remaindet• of this forn1. If the response to Question 2 ls no,
  please provide signnlure and title nt bottom of form.


 Total Proposal $_ _ _ __

 Total Minority Business Enterprise BId/Proposal $

 Percent of Total Minority Business Enterprise Contrnct $___,_____




 Signature                                                          Title




                                                                                                            25
                              Cover Page
           LOCALLY OPERATED
         TRANSIT SYSTEM (LOTS)
                             Program Manual


                             Your Name Here
                              Your Title Here
                       Maryland Transit Administration

                                  April 2017
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Maryland Transit Administration
Office of Local Transit Support
6 St. Paul Street
Baltimore MD 21202
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1          INTRODUCTION

  This chapter introduces the manual, its intended use and structure, the
  Maryland Transit Administration (MTA) funding programs for the Locally
  Operated Transit Systems (LOTS), and the requirements of the funding
  programs. This chapter is organized under the following major sections:

   x    Scope of this Manual
   x    The Federal and State Funding Program Requirements
   x    How to Use the Manual
   x    The LOTS Funding Programs
   x    Other MTA-Administered Funding Programs which the LOTS May Be
        Eligible to Receive
   x    Related Maryland Transit Grant Guidance Documents
   x    Compliance Monitoring




SCOPE OF THIS MANUAL

This manual was developed to provide comprehensive guidance on Federal and State
rules and regulations pertaining to Maryland’s LOTS. Maryland’s LOTS include
systems that operate public transportation and receive funding under one or more of the
following programs administered by the MTA’s Office of Local Transit Support (OLTS):

    x    Federal Section 5307 – Urbanized Area Formula Program
    x    Federal Section 5311 – Formula Grants for Rural Areas
    x    Federal Section 5311(f) – Intercity Bus Program
    x    Federal Section 5303/5304 – Planning and Technical Assistance Funds
    x    Federal Section 5339 – Bus and Bus Facilities Formula Program
    x    State Large Urban Program
    x    State Transit Operating and Capital Matching Funds
    x    State Americans with Disabilities Act (ADA) Funding Program
    x    Statewide Special Transportation Assistance Program (SSTAP)

Each of these programs is described later in this chapter, and the manual addresses the
requirements for these programs.




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1    INTRODUCTION


THE FEDERAL AND STATE FUNDING PROGRAM REQUIREMENTS

If your system is receiving funds from any of the LOTS programs, you have agreed to
comply with a host of Federal and State regulations and requirements. MTA is
responsible for ensuring that your system complies with the Federal and State
requirements. The assurances and certifications that you sign with your annual grant
application and grant agreement confirm your commitment to meeting these
requirements. Appendix A describes what each certification and assurance means.

These requirements are not always easy to understand. Further, it is not always
obvious what you need to do to comply with them. The manual was developed to
provide comprehensive overall guidance on the full complement of Federal and State
requirements that pertain to public transit services. Each chapter ends with specific
guidance on what Federal and State program requirements each LOTS will be required
to meet.

Many excellent resources have already been developed for transit managers on many
of the Federal requirements, and it is not the intent of this manual to duplicate these
resources. For topics where existing resources provide thorough guidance, reference is
made to the existing resource(s) and only summary information is provided in this
manual. A Web address and/or contact information to find each additional resource
cited is provided at the end of each chapter.

While the LOTS are responsible for following the requirements in this manual, it is
important to note that you are responsible for complying with all Federal requirements
that pertain to your funding programs, not only those that are detailed in this manual.
Finally, if you contract for services, your contractors are subject to certain
requirements, and you are responsible for ensuring their compliance with these
requirements.

Federal requirements with which the LOTS must comply are summarized along with
their corresponding chapters and are listed in Table 1-1. Note that these categories of
requirements are based on categories that the FTA uses for oversight of its grantees.




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Table 1-1: FTA REQUIREMENTS AND WHERE THEY ARE ADDRESSED IN THE
MANUAL

                                                                         Relevant LOTS Manual
              FTA Oversight Review Area
                                                                                 Section(s)
 Americans with Disabilities Act (ADA)                             Chapters 12, 13
 Asset Management                                                  Chapters 2, 7, 10
 Buy America                                                       Chapter 4
 Charter Bus                                                       Chapters 2, 9
 Debarment and Suspension                                          Chapter 4
 Disadvantaged Business Enterprise                                 Chapters 4, 13
 Drug-Free Workplace/Drug and Alcohol Testing                      Chapter 8
 Equal Employment Opportunity                                      Chapters 8, 13
 Financial Capacity                                                Chapter 3
 Half-Fare                                                         Chapter 5
 ITS Architecture                                                  Chapter 2
 Legal Capacity                                                    Chapter 1
 Lobbying                                                          Chapter 1
 Maintenance                                                       Chapters 7, 10
 National Transit Database Reporting                               Chapter 3
 Planning/Program of Projects                                      Chapter 2
 Procurement                                                       Chapter 4
 Public Comment on Fare and Service Changes                        Chapters 2, 5, 14
 Safety                                                            Chapters 7, 8, 9, 10, 11, 13
 Security                                                          Chapter 11
 Satisfactory Continuing Control                                   Chapters 4, 7, 9, 10, 11
 School Bus                                                        Chapters 2, 9
                                                                   Entire manual, especially Chapters
 Technical Capacity
                                                                   2, 3, 4, 9, 10
 Title VI                                                          Chapters 2, 13, 14


HOW TO USE THIS MANUAL

If you are an experienced LOTS manager, this manual is intended to serve as a
reference as questions arise. If you are new to public transportation management in
Maryland, you should read each chapter to obtain a comprehensive overview of the
functions of a rural or small urban public transportation organization. If you contract for
services, many of the State and Federal requirements apply to your subcontractors, and
you are responsible for ensuring their compliance with the requirements, so you may
wish to share a copy of this manual with them as well.

While this manual explains the requirements, it is not intended to provide a complete
explanation of how to meet all the requirements. Many excellent resources have been

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1    INTRODUCTION


developed to assist rural and small urban transportation managers in managing
systems to meet Federal requirements. Many of these resources are cited throughout
the manual.

While the LOTS are responsible for following the requirements outlined in this manual, it
is important to note that you are responsible for complying with all Federal requirements
that pertain to your funding programs, not only those which are detailed in this manual.
It is also important to note that the Federal and State requirements change frequently.
You will be informed of these changes as they occur, and you will be required to change
your existing policies and procedures to meet the new and/or revised Federal and State
requirements.

The manual is organized by function rather than by program, and includes the following
functions:

    x    Planning and Applying for LOTS Grants (Chapter 2)
    x    Financial Management (Chapter 3)
    x    Procurement and Contracting (Chapter 4)
    x    Fares and Fare Changes (Chapter 5)
    x    Marketing and Community Relations (Chapter 6)
    x    Facilities Development (Chapter 7)
    x    Human Resources (Chapter 8)
    x    Operations Management (Chapter 9)
    x    Vehicle Management and Maintenance (Chapter 10)
    x    Safety, Security, and Risk Management (Chapter 11)
    x    ADA Compliance (Chapter 12)
    x    Non-discrimination (Chapter 13)
    x    Public Outreach (Chapter 14)
    x    Intercity Bus Program Requirements (Chapter 15)

Many of these functions have close relationships to each other. In cases where an item
could be considered to belong to more than one function (for example, driver training is
a key element of human resources, operations management, risk management, and
safety), we have discussed that item in depth under one function, and made reference
to that chapter in the other appropriate functions.

Requirements that are limited to subrecipients of a specific grant are noted as such;
however, the bulk of the manual is intended to apply to all LOTS. Recordkeeping and
reporting requirements are addressed under each functional area.

Forms, templates, and checklists referenced in each chapter are attached at the end of
that chapter, with additional information provided in a series of LOTS Manual
appendices.

If you have any questions on any LOTS requirements, and the answer cannot be found
in this manual or in the additional resources referenced in each chapter, contact your
MTA Regional Planner. MTA contact information is provided in Appendix B.

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Another helpful resource to have on hand is the list of transit-related acronyms at the
beginning of the glossary provided in Appendix C.


THE LOTS FUNDING PROGRAMS

The transportation grant programs administered by the MTA offer operating, capital and
technical assistance for the LOTS as well as other eligible recipients. These programs,
supporting both public transit and specialized transportation services, utilize a
combination of Federal and State funds and generally require a match from the local
community. Most of the LOTS systems are funded through a variety of Federal and
State programs. Some combine all their funds to create an overall transit budget.
Others attempt to create separate services funded under the different programs
(requiring internal cost allocations).

Table 1-2 summarizes the LOTS funding programs.

Table 1-2: MARYLAND LOTS GRANT PROGRAMS as of FY 2018

Program                                   Type of                  Eligible Applicants
                                          Assistance
Federal Section 5307 –                    Capital and              LOTS operating in small urban areas as
Urbanized Area Formula                    Operating                defined by the FTA (population 50,000-
Program                                                            200,000) - counties, municipalities, and
                                                                   public agencies
Federal Section 5311 –                    Capital and              LOTS operating in rural areas as defined
Formula Grants for Rural                  Operating                by the FTA (population under 50,000) -
Areas                                                              counties, municipalities, and public
                                                                   agencies, as well as non-profits, public
                                                                   corporations, boards, and commissions
                                                                   established under State law
Federal Section 5311(f) –                 Capital and              private intercity bus providers, private
Intercity Bus Program (ICB)               Operating                non-profit agencies, local public transit
                                                                   providers, and public bodies
Federal Section 5303/5304 Planning                                 jurisdictions currently operating or
– Planning and Technical                                           anticipating initiating public transportation
Assistance Funds                                                   service
Federal Section 5339 – Bus Capital                                 LOTS that operate fixed route services -
and Bus Facilities Formula                                         counties, municipalities, and public
Program                                                            agencies
State Large Urban Program Capital and                              City of Annapolis, Anne Arundel County,
                           Operating                               Cecil County, Howard County,
                                                                   Montgomery County, Prince George's
                                                                   County, Queen Anne’s County
State Transit Operating and               Per Federal              Per Federal program
Capital Matching Funds                    program



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Program                                   Type of                  Eligible Applicants
                                          Assistance
State Americans with                      Operating                LOTS that operate ADA complementary
Disabilities Act (ADA)                                             paratransit (one applicant per county)
Program
Statewide Special                         Capital and              Each County and City of Baltimore (may
Transportation Assistance                 Operating                be a Transportation or an Aging
Program (SSTAP)                                                    program)


Public Transportation Programs (PTP)

    x    Section 5303/5304 Planning Assistance – This program provides Federal and
         State funding for technical assistance projects. Each LOTS is eligible for
         Transportation Development Plan (TDP) funding under this program on a five-
         year cycle. A minimum ten percent local match is typically required.

    x    Section 5307 Capital and Operating Assistance – Federal (and State
         matching when State finances allow) funding for small urban areas of the State
         (areas with population 50,000 to 200,000). Funds can be used to subsidize
         operating, capital, or administrative costs. For operating and administrative
         expenses, the FTA will fund up to 50 percent with the other 50 percent being
         funded locally (sometimes with State support). For capital expenses, the FTA
         will fund up to 80 percent, with a minimum 20 percent State and local match
         required.

         These funds are allocated by the FTA to the small urban areas. The allocations
         are published annually in the Federal Register. The State provides some of the
         non-Federal share and MTA staff are responsible for the administration of these
         grant funds. The systems apply annually for funds to be used for operating or
         capital. Many of these systems also receive Section 5311 funds for the rural
         portions of their service area.

    x    Section 5311 Capital and Operating Assistance – Federal (and State
         matching when State finances allow) funding for Rural Public Transportation (in
         areas less than 50,000 population). Funds can be used for operating, capital, or
         administrative costs. Local match is a minimum of 25 percent of net operating
         expenses and minimum ten percent for capital expenses. The State allocates
         Section 5311 funds to eligible jurisdictions through the annual application
         process.

    x    Section 5339 Capital Assistance – This program provides Federal (and State
         matching, if available) capital assistance for public transit projects. This program
         funds most larger capital projects, such as facilities design and construction, as
         well as many vehicle purchases. A minimum ten percent local match is required.




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    x    Large Urban Capital and Operating Assistance – State funds for operating
         and capital assistance in large urban areas. In FY 2018, eligibility for these funds
         is limited to the City of Annapolis, Anne Arundel County, Cecil County, Howard
         County, Montgomery County, Prince George's County, and Queen Anne’s
         County.

Section 5311(f) Intercity Bus Program

    x    This program is different from other LOTS programs in that it is applied for
         through a separate application process, applicants can include private for-profit
         intercity bus program operators, and the service emphasis for this program is
         very specific and focused on intercity connectivity rather than local mobility.
         Historically, the program emphasis consists of the following:
         o Operating assistance for routes that connect rural areas to the regional or
           national system of intercity bus service;
         o Operating assistance for existing intercity bus routes at risk of being
           discontinued;
         o Operating assistance for new intercity bus routes, particularly if applicant can
           demonstrate high need for intercity bus service;
         o Capital assistance for the purchase of replacement or expansion vehicles for
           use on Section 5311(f) funded rural intercity services;
         o Capital assistance for the improvement of intermodal and public facilities and
           shelters, vehicle accessibility retrofits, or other advanced technology that
           directly support the intercity bus services;
         o Marketing.

Intercity Bus grantees are subject to most, but not all, FTA requirements for other
Section 5311 program subrecipients. The program requirements for Section 5311(f) are
summarized in Chapter 15 of this manual.

LOTS Specialized Transportation Programs

    x    Americans with Disabilities Act Funding – Public transit systems that operate
         fixed routes are eligible to apply for State ADA funding, as these are the only
         systems required by law to provide complementary paratransit service to
         individuals with disabilities (see Chapter 12 for a description of ADA
         requirements). The State ADA funding program requires a minimum ten percent
         local match and can only be used for operating expenses. It is important to
         recognize that revisions to fixed-route service affect complementary paratransit
         requirements, and may affect a local system’s eligibility to receive State ADA
         funding. In some cases, this funding has been used to leverage additional 5307
         grant funds.

    x    Statewide Special Transportation Assistance Program – SSTAP is a State-
         funded program to provide general purpose transportation to elderly individuals
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         and individuals with disabilities. These funds are annually apportioned to the
         counties and Baltimore City based on a formula (60 percent equally among the
         jurisdictions and 40 percent based on combined population of elderly individuals
         and individuals with disabilities). Funds can be used for operating and capital
         with a local share required – minimum 25 percent for the net operating deficit and
         five percent for capital projects. Each County and the City of Baltimore is eligible
         to apply for the SSTAP funds.


RELATED MARYLAND TRANSIT GRANT GUIDANCE DOCUMENTS

MTA publishes other plans, manuals, and guidance materials with which the LOTS
should be familiar and refer to in addition to the LOTS Manual. These include:

Annual Transportation Plan (ATP)

The annual grant applications for the public transportation programs (PTP) and SSTAP
are consolidated into a single application in Maryland, called the ATP. LOTS are
responsible for reviewing the application instructions and program requirements
contained within each year’s updated ATP package. The completed application forms,
certifications and assurances become part of the grant agreement with MTA.

Maryland Intercity Bus Program, Federal Transit Administration, 49 U.S.C. 5311(f),
Program Overview and Application Package

MTA solicits applications for the Section 5311(f) Intercity Bus Program on a biennial
basis.

Maryland State Management Plan for Section 5311

MTA details the State’s Section 5311 program management policies and describes the
State’s compliance with FTA requirements through the State Management Plan. This
document is updated periodically.

Maryland State Management Plan for Section 5339

MTA details the State’s Section 5339 program management policies and describes the
State’s compliance with FTA requirements through the State Management Plan. This
document is updated periodically.


COMPLIANCE MONITORING

Annual Transportation Plan

The annual grant applications for the PTP and SSTAP are consolidated into a single
application in Maryland, called the ATP. In completing and submitting the ATP, the


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LOTS provide MTA with important documentation used in oversight of compliance with
Federal and State requirements, including:

    x    authorizing resolution,
    x    annual certifications and assurances,
    x    Title VI and EEO plan status,
    x    asset inventory and replacement plan,
    x    vehicle utilization chart,
    x    IT infrastructure submittal requirements for funding for technology projects,
    x    safety/security minimum spending requirements,
    x    designation of EEO, DBE and Title VI contacts, and
    x    other documents to address new or emphasized FTA requirements.

Triennial Reviews (for Section 5307 Recipients Only)

A Federally-required compliance review, called the Triennial Review, is conducted by
the MTA or the MTA’s consultant on all Section 5307 recipients every three years. As
part of this review, the LOTS must provide documentation of compliance with all FTA
requirements, and may be asked to provide supplemental information.

LOTS Compliance Reviews

LOTS compliance reviews are conducted by the MTA or the MTA’s consultant on all
Section 5311 and Section 5339 recipients. Like the Section 5307 Triennial Reviews,
LOTS reviews ensure that local grantees are following the Federal and State rules and
are conducted every three years.

Other Compliance Reviews

Periodic reviews of compliance with FTA Drug and Alcohol testing program
requirements, maintenance programs, Title VI, EEO, and other FTA requirements are
conducted for the LOTS by the MTA or the MTA’s consultant. These reviews are an
opportunity to receive technical assistance in how to meet Federal and State
requirements.

Other Compliance Activities

    x    MTA Site Visits – MTA staff conduct periodic site visits of all LOTS, and may
         perform spot-checks of compliance with Federal and State requirements. It is
         MTA’s intention to do site visits quarterly as outlined in the State Management
         Plan.

    x    “Mystery Rider” Reviews – MTA staff periodically and randomly conduct ride
         checks on LOTS public transit services. The purpose of “mystery rider” ride
         checks is to review a grantee’s adherence to ADA requirements and
         recommended “best practice” operating procedures.


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    x    Drug and Alcohol Annual and Quarterly Reporting – LOTS are required to
         submit Drug and Alcohol testing reports, both quarterly to the MTA and annually
         directly to the FTA.

    x    2 CFR Part 200 Audits – LOTS are required to submit annual copies of their 2
         CFR Part 200-compliant audit for MTA and FTA review (formerly known as the A-
         122 or A-133 audit) (more on this subject in Chapter 3).

    x    Payment Requests and Concurrence Letters – The MTA uses the material
         submitted by the LOTS as part of the payment request and concurrence to
         purchase processes to monitor compliance with FTA Buy America and
         procurement requirements (detailed in Chapter 4 of this manual), among others.

    Monitoring Subrecipients, Third-Party Contractors, and/or Lessees

    LOTS are responsible for ensuring compliance with FTA and MTA requirements by
    other entities that play a role in LOTS programs. These entities can include other
    governmental agencies, consultants, contractors, subcontractors, and lessees
    working under approved third-party contracts or interagency agreements. The LOTS
    must have staff with knowledge of FTA and MTA requirements, and mechanisms in
    place for monitoring, such as a letter of agreement, contract, or lease supplemented
    by periodic meetings, inspections, or required reports.

    For example, if the grantee leases FTA funded vehicles to a contract operator, the
    grantee must inspect the vehicles and the vehicle records periodically to ensure
    compliance with maintenance, charter, and school bus requirements. The grantee
    should have procedures to monitor that all FTA funded property is used in transit
    service. Transit service must be provided in compliance with ADA regulations.
    Procedures should be in place to collect data required for State and Federal reports
    and provide for drug and alcohol testing, if required.

    Legal Capacity

    Your organization must be eligible and authorized under State and local laws to
    request, receive, and dispense FTA funds and administer FTA-funded projects. Your
    organization’s Authorizing Resolution must identify the individuals authorized to act
    on its behalf. To meet this requirement, an authorized person should have signed
    the Annual Certifications and Assurances and you should have attached an Opinion
    of Counsel (signed by your attorney) affirming your legal authority. The annual
    assurances must also include an updated authorizing resolution.

    In addition, you are required to certify that your agency does not use Federal funds
    to lobby and, if using non-Federal funds to lobby, has filled out the proper disclosure
    forms (Standard Form LLL). The Lobbying certification for your organization is
    required as part of the annual assurances. Note that you must also obtain this
    certification for any third-party contract over $100,000.



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2          PLANNING AND APPLYING FOR LOTS GRANTS



  Transit planning required of the LOTS systems includes a 5-year Transportation
  Development Plan (TDP), ongoing participation in local and regional transportation
  planning, planning in preparation for each annual grant application, and planning for
  specific service changes. This chapter discusses the planning requirements of the
  LOTS programs, including:

       x    Ongoing and Long-Term Planning,
       x    Annual Planning and Application Requirements,
       x    Asset Management Planning,
       x    Planning for Specific Service Changes,
       x    Amending a Grant Agreement, and
       x    Planning Requirements for ITS Projects.

  Note: This chapter references civil rights and public notice requirements that are
  detailed in Chapters 13 and 14, respectively, so you may wish to have these chapters
  on hand as you review this chapter.



  Warning: Many acronyms are introduced in this chapter! For your reference, there is a
  list of transit-related acronyms at the beginning of the glossary attached as Appendix C.



ONGOING AND LONG-TERM PLANNING

Transportation Development Plans (TDPs)

Each LOTS in Maryland must have a TDP that is updated every five years. This is a local
plan that must be endorsed (i.e., approved or adopted) by local elected officials. Proof of
the local officials’ endorsement must be submitted to MTA at the conclusion of the
development of each update.

Generally, the MTA initiates the TDP update process and contracts with a consulting firm
to develop these plans; the local subrecipient provides a ten percent local match. Federal
technical assistance funds the remaining 90 percent of the project cost. The consulting
firm works with the local system, the local planning department, the local transportation
advisory committee, and MTA to ensure that the plan is coordinated with other local and
State plans and is feasible given the MTA-administered funding for which the LOTS is
eligible.

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2    PLANNING AND APPLYING FOR LOTS FUNDING


The TDP should identify the public and specialized transportation needs of the service
area, analyze the performance of currently operated transit services, explore alternatives
for improving services, and recommend an implementation plan that includes a five-year
budget and capital replacement plan. The MTA bases its program budgeting and grant
application evaluation in large part on the recommendations of each LOTS’ TDP. For
example, all capital requests and increases in operating funds must be justified through
the TDP or other planning process. Therefore, it is essential that local TDPs are updated
every five years and that they reflect the projected needs, growth, and resources of the
community on a five-year horizon. The TDP budget is also needed to meet FTA’s
requirement to have a multi-year financial plan.

Eligibility for technical assistance funds to cover the cost of preparing the TDP is on a
five-year cycle for each LOTS; allocations for planning funds for eligible LOTS are
announced in each year’s grant application package. The LOTS must apply for these
funds as part of the Annual Transportation Plan (ATP), described later in this chapter 

Local Coordinated Human Service Transportation Planning

FTA’s Section 5310 - Enhanced Mobility of Seniors and Individuals with Disabilities
Program requires that projects be derived from a locally developed, public transit-human
services transportation plan. FTA expects public transit systems funded under both the
Section 5307 and Section 5311 programs to participate in the local planning process for
coordinated public transit-human service transportation in those areas applying for funds
under Section 5310.

Each of the five MTA regions has developed and continues to update coordinated public
transit-human service transportation plans that 1) identify the transportation needs of
individuals with disabilities, older adults, and individuals with low incomes, 2) provide
strategies for meeting those local needs, and 3) identify potential projects that correspond
to each strategy. These plans were most recently updated in 2015. The LOTS actively
participated in the updates, and Section 5307 and 5311 subrecipients should continue to
participate in the coordinated planning process when future updates are undertaken.

In some areas, LOTS that receive Section 5307 or Section 5311 funding may also be
providers of human service transportation services and may be eligible for funding under
Section 5310. There are opportunities for all LOTS to support coordinated human service
transportation, such as coordinated maintenance, dispatching, training, contracting for
operations, or transporting human service customers under special fare arrangements.

Ongoing Participation in Local and Regional Transportation Planning

All LOTS systems should be at the table when local and regional transportation plans are
developed to ensure that local transit is included among an area’s planned projects. The
LOTS should keep their city and county transportation planners and Councils of
Governments informed of transit issues, plans, and funding needs.




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2    PLANNING AND APPLYING FOR LOTS FUNDING


         Metropolitan Transportation Planning

         The LOTS that are within a metropolitan area must have an agreement in place
         with the Metropolitan Planning Organization (MPO) that defines how each party
         participates in the metropolitan planning process. This agreement should be up-
         to-date with the most recent Federal transportation funding authorizing act. MPOs
         in Federally-designated Transportation Management Areas (large urbanized areas
         with populations over 200,000) are required to include transit officials on their
         policy board.

         County Master Plans

         LOTS are encouraged to seek opportunities to provide input during the
         development and review of county master plans or comprehensive plans.

         The Maryland Economic Growth, Resource Protection, and Planning Act of 1992
         was enacted to organize and direct comprehensive planning, regulating, and
         funding by county and municipal governments in advance of a specific economic
         growth and resource protection policy. Comprehensive plans develop and
         promote policies supporting sustainable communities, neighborhood conservation,
         land preservation, natural resource protection, growth development, and
         transportation systems. As a result, they need to give particular thought to
         neighboring local jurisdictions and other levels of government (State and Federal).
         The intent is that plans that are developed with input from local and State agencies
         can create supportive linkages between local land use policy and State programs
         for technical assistance, funding, and regulatory permits.

         LOTS should play an active role in the development and review of county master
         plans to ensure transit inclusion within the transportation systems section.
         Comprehensive plans must provide integration between land use planning and
         transportation planning. Comprehensive plans should strive for land use patterns
         that can be efficiently served by alternative transportation modes. Plans need to
         be developed with full consideration of their impacts on the transportation system.
         The transportation systems need to be planned by considering how they change
         market dynamics for land development in a community.

         The transportation objective of most plans stipulates the safe and efficient
         movement of people, with particular attention to pedestrian travel and other
         alternatives to the automobile. Specifically, LOTS need to address the following
         basic tenets:

              x    Is transit addressed within the plan? (At a minimum, the plan should
                   address the notion that transit is an important public service, even if it is not
                   applicable to the proposed plan – for example, a new/modified area is
                   situated outside of the current transit service area).

              x    Is the transit section compatible with the most recent TDP?


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2    PLANNING AND APPLYING FOR LOTS FUNDING


              x    Does the plan address both local (county/town) and regional
                   opportunities?

         The Maryland Department of Planning (MDP) is the lead agency for the State
         concerning the review of local comprehensive plans. The MDP provides
         assistance to local governments in updating planning and zoning codes, evaluates
         land-use policies, creates urban design solutions, assesses development potential
         and environmental constraints, and assists in the implementation of sound
         planning policies.

         To ensure that plans are consistent with public policy, the MDP circulates the plans
         to the appropriate departments within the State. The Maryland Department of
         Transportation (MDOT) is the lead agency concerning the transportation
         component of all comprehensive plans. Subsequently, plans are forwarded to the
         MTA via the appropriate Regional Planner within the Office of Local Transit
         Support (OLTS) to review the transit section.

Advisory Committee

Although not required for LOTS funding, the MTA strongly recommends that each LOTS
have an ongoing advisory committee to serve in an advisory capacity for planning service
and policy changes. An advisory committee is required during the preparation of your
TDP. This committee should include representatives of human service agencies,
municipal and county government, private transportation providers, the business
community, current customers, and the community at large, including individuals with
disabilities. The committee membership also should be representative of the diversity in
your community, including minorities and low-income members. The committee can play
an important role in fostering coordination among specialized transportation providers
(very important in MTA’s discretionary funding criteria) and can assist the LOTS system
by playing an advocacy role in the community. Meetings should be open to the public
and minutes should be taken of all committee meetings.


ANNUAL PLANNING AND APPLICATION REQUIREMENTS

This section of the chapter addresses development of the ATPs, and their inclusion in
regional and State planning programs.

Inclusion in the Transportation Improvement Program (TIP)

Where local projects exist or are being proposed within the MPO’s current planning/study
area boundaries (which may include areas that are currently non-urbanized, but are
expected to become urbanized within the next 20 years), the local projects must be
included in the MPO’s TIP. Local transit systems need to be involved in the annual
development of the TIP and need to plan for several years in advance, as the TIP has a
six-year planning horizon, and because amending the TIP involves a formal process. The
MTA takes care of submitting a Program of Projects (POP) for TIPs, incorporating LOTS
projects applied for in the local ATP.

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Inclusion in the Statewide Transportation Improvement Program (STIP)

In addition to its annual POPs, the State must also submit a three-year STIP for Federal
transportation funds. LOTS can assist the MTA in planning for adequate funding for local
transit by realistically projecting capital replacement needs for the next five years in each
ATP, as well as updating your system’s TDP every five years with a feasible and well-
developed capital and operations plan.

Annual Transportation Plan (ATP)

The annual grant applications for SSTAP and the Public Transportation Program (PTP)
grants are consolidated into a single application in Maryland. (Note that Section 5311(f)
Intercity Bus funding is applied for through a separate application process, which is
described in Chapter 15.) This application is called the ATP, and provides each LOTS
with a local POP. In order to receive State funding from the MTA, as well as FTA funding
administered by the MTA, each local subrecipient must submit a completed ATP to the
MTA by the application deadline.

The Application Process

The application packages are usually available in late autumn and due a few months later.
The ATP is due in two installments, with certain components due earlier than the rest of
the package, to provide MTA with information it needs to develop its grant application to
the FTA. (The MTA uses the information in your ATP to develop its own POP for Federal
and State funds.) Once each LOTS ATP is approved by the MTA, MTA forwards local
requests for funding to the FTA for approval, which is why there is a delay between MTA
approval and execution of subrecipient grant agreements. SSTAP and ADA grants are
not contingent upon FTA approval because these programs are State-funded.

In developing your ATP, it is important to keep in mind that:

    1. The ATP must be submitted to the MTA, via MTA’s electronic ProjectWise system,
       by the application deadline to ensure inclusion of requested projects in the TIP and
       STIP developed by the MTA, so that the MTA in turn can apply for Federal funds.
       Failure to submit a complete ATP by this date is likely to jeopardize Federal funding
       for your agency.

    2. Public and private sector notice must be made at least 30 days prior to local board
       approval of the ATP. Thus, the agency’s POP, budget, and financing information
       must be developed in time to include this information in the published notice.

    3. If you are applying for SSTAP funds, you must submit the SSTAP portion of your
       ATP to your local Area Agency on Aging for approval and notify the municipalities
       in your county at least 30 days before submitting your ATP to local elected officials
       for approval. (Notification to the municipalities should ideally be completed earlier,
       since you will need to address their needs early in the planning process.)



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    4. Requests for additional operating funding and/or vehicles should be consistent with
       the system’s current five-year TDP, or adequate justification must be presented in
       the ATP.

Preparation of this document requires a number of tasks, including development of:

    x    Service Performance Summary for all services in your transportation system,
    x    Vehicle inventory, asset management plan, and utilization plan for all fleet vehicles,
    x    Inventory and asset management plan for facilities, equipment, and other fixed
         assets,
    x    Operating budgets for each grant source,
    x    Capital project plans projecting five-year needs for vehicles and equipment, as well
         as design, engineering, and construction costs for facilities projects,
    x    Descriptive information and documentation on your program and proposed
         projects, addressing topics that include project coordination, justification for each
         capital project, documentation of your training program, etc.,
    x    Opportunity for a public hearing with public notice with at least a three-week
         window in which to request a hearing, published at least 30 days in advance of
         submitting the ATP for local approval (more information is detailed below as well
         as in Chapter 14),
    x    Private enterprise involvement description with a 30-day notice provided in
         advance of local plan approval, and
    x    Certifications and assurances. Appendix A provides a brief description of what
         these mean.

An original and copies (the exact number specified in the application instructions) of the
completed application must be submitted.

         Coordination

         The subrecipient is required by the FTA to ensure that the POP (as requested in
         the ATP) provides for coordination of Federally assisted public transportation
         services with transportation services supported by other Federal sources. An
         assurance of compliance with this requirement is included in the Annual List of
         Certifications and Assurances, and a description of local coordination efforts is an
         important element of the ATP.

         For Section 5307 grantees, the POP must be developed in consultation with
         interested parties, including private transportation providers and human services
         organizations or transit operators representing the employment-related
         transportation needs of welfare recipients and low-income individuals.

         As noted earlier in this chapter, the Section 5310 program requires that projects
         must be derived from a locally developed, public transit-human services

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         transportation plan. Public transit systems funded under both the Section 5307
         and Section 5311 programs are expected to participate in the local planning
         process for coordinated public transit-human service transportation.

         Coordination may occur at many levels, from simple information sharing to total
         consolidation of services. The MTA actively works toward transportation
         coordination at the local, regional, and State levels, and chairs the State
         Coordinating Committee for Human Services Transportation.            Technical
         assistance is available from your MTA Regional Planner, and, during the TDP
         development process, from the MTA’s consultant.

         Private Enterprise Involvement

         Private sector notification is required as part of developing the ATP. The FTA
         requires subrecipients to develop the POP in consultation with interested parties,
         including private transportation providers. Private providers should be involved
         throughout the development of the ATP. At a minimum, private operators must be
         notified in writing of the proposed ATP, postmarked at least 30 days before the
         plan is submitted to local elected officials for their approval, and any comments
         received from private operators must be addressed by the LOTS in the ATP. Each
         LOTS should also include private transportation provider representation on their
         advisory committee.

         Municipality Notification

         SSTAP applicants must provide written notification to each municipality in the
         county of the availability of SSTAP funds, and consider the needs of these
         municipalities in the planning for the use of these funds. A municipality is a political
         unit, such as a city, town, or village, incorporated for local self-government. At a
         minimum, this notification must be made 30 days in advance of submitting the
         application. However, the needs of the municipalities should be addressed early in
         the planning process, and LOTS are encouraged to involve municipalities on their
         local advisory committees.

         Data Universal Numbering System (DUNS)

         One of the pieces of information that must be provided as part of the ATP (and
         required for all grantees by FTA) is a DUNS number. This is a nine-digit number
         that is established and assigned by Dun and Bradstreet, Inc. (D&B) to uniquely
         identify business entities. If you are not sure if you have a DUNS number, you can
         find out by calling D&B at 800-700-2733. If you do not have a DUNS number you
         may obtain one from D&B by telephone (currently at 866-705-5711) or the Internet
         (currently at http://fedgov.dnb.com/webform).




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         Registration with the System for Awards Management (SAM)

         All LOTS must be registered with the System for Award Management (SAM), and
         must include the SAM-issued “Cage Code” as part of the applicant’s contact
         information required in the ATP.
         Public Notice for the POP

         Each jurisdiction that requests operating and capital assistance from MTA must
         hold a public hearing or have an opportunity for a public hearing (which must be
         conducted if requested) about their ATP/POP. The purpose of this requirement is
         to provide citizens a forum to present their views on the projects proposed.

         The two alternative approaches are outlined in Table 2-1, and detailed in the
         narrative that follows as well as in the four-page checklist attached at the end of
         this chapter (Attachment 2.A). Before beginning this process, you must prepare
         the proposed POP and budget so that it is available for public review at the onset
         of the public comment period. If the proposed POP changes substantially as a
         result of the public input process, you must also inform the public and publish the
         final POP.

         Table 2-1: Timeline of Public Notice for ATP/POP

                Timeline                      Public Hearing                            Opportunity for a
               (minimum)                   (simplest approach)                           Public Hearing
                                                                                     (alternative approach)
          At least 30 days             Publish notice as described                Publish notice as described
          prior to the public          below.                                     below.
          hearing
                                       Include date of the scheduled              Include proposed date of the
                                       hearing.                                   hearing and instructions for
                                                                                  requesting a hearing.
          Throughout public            Make available for public                  Make available for public
          comment period –             inspection the proposed                    inspection the proposed
          minimum 30 days.             program and budget in detail.              program and budget in detail.

                                       Accept comments on the                     Accept comments on the
                                       proposed program and the                   proposed program and the
                                       performance of the                         performance of the
                                       subrecipient.                              subrecipient.
          For a period of at           (Not applicable.)                          Accept requests for public
          least 3 weeks long,                                                     hearing.
          in advance of the
          hearing
          Prior to submitting          Conduct public hearing.                    If requested, conduct public
          ATP to MTA                                                              hearing.
          With submittal of            Provide documentation of the               Provide documentation of the
          ATP to MTA                   public notice, public hearing,             public notice, public hearing (if
                                       and comments received.                     requested), and comments
                                                                                  received.


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         Note: There are also public notice requirements for LOTS service changes;
         however, the requirements described in this subsection apply only to the POP for
         the ATP. Public notice requirements are also discussed in more detail in Chapter
         14.

         In brief, the minimum timeline for the public notice process for the ATP can be
         summarized as follows:

                   1. Develop application.

                   2. Day 1: Notify public that material regarding application is available for
                      the public to review as well as details on any public meeting/hearing.

                   3. Day 1 – Day 21: Accept requests for public hearing (if applicable).

                   4. Day 1 – Day 30: Accept written comments.

                   5. Day 30: Hold public meeting/hearing if required.

                   6. Day 30 or later: Document comments and submit ATP to MTA.

         Public Notice about the Public Hearing (or Opportunity) on the POP

         A notice must be published in a newspaper of general circulation announcing the
         public hearing (or the opportunity for a hearing with a proposed date as well as the
         process to request a public hearing) at the end of the 30-day period. If the
         community has a large minority of non-English speaking persons, the notice should
         also be published in a non-English publication as detailed in Chapter 13.

         The subrecipient must inform the public of the capital, operating, and planning
         projects proposed to be undertaken. The public announcement that summarizes
         the POP also needs to indicate where citizens can examine the proposed program
         and budget in detail and submit comments on the proposed program and the
         performance of the subrecipient. You must consider comments and views
         received from the public in preparing the final POP. As noted above, if the POP is
         revised as a result of the public input process, it must be made available to the
         public.

         The notice must include the following:

              x    Name of applicant.
              x    Area to be served.
              x    Proposed POP - description of the proposed services and projects for which
                   funding will be requested.
              x    Budget and financing information. Notice must identify specific dollar
                   amounts of State and/or Federal funds for each project and clearly state
                   that these funds are being applied for from the MTA and the FTA.
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              x    An itemized list of all current capital requests.
              x    Where the detailed POP and budget are available for review.
              x    Time, date, and place for the public hearing.
              x    Procedures for submitting written public comment.
              x    Procedures for requesting special accessibility accommodations at the
                   public hearing as well as accessible formats of any written information
                   provided at the meeting.
              x    If you are publishing an opportunity for a hearing upon request, instructions
                   to request a hearing.

         A certified copy of this notice received from the newspaper must be submitted as
         part of the ATP.

         All private operators in the service area must also be mailed a separate notification
         of the public hearing.

         Conducting the Public Hearing

         The public hearing must be held at a place and time generally convenient for
         individuals affected by the project. The facility should be located on a public transit
         route and should be held at a time that is served by public transit (and ADA
         complementary paratransit) so that customers are able to get to and from the
         hearing using your transportation services.

         Meeting locations and materials must be accessible to individuals with disabilities,
         including sight and hearing impairments. This means that a sign language
         interpreter must be provided upon request by a deaf individual, and any printed
         materials to be distributed must be prepared in appropriate accessible formats
         (such as large print, audiotape, and/or braille) if requested by an individual who is
         blind or has low vision. The published announcement should specify that
         individuals requiring special accommodations indicate this at the time they request
         the hearing (within the three-week window). The meeting must be held in a facility
         that is accessible to individuals who use wheelchairs.

         Provisions must be made at the hearing for submission of written statements,
         exhibits, and oral statements.

         Publishing the Final POP

         You must consider comments and views received from the public in preparing the
         final POP. If the proposed POP is revised as a result of the public input process,
         the public must be notified that a final version is available. If the notification about
         the proposed POP included a statement that the proposed program will be the final
         program unless amended, and the proposed POP is not amended, the notice of
         the proposed POP also satisfies the requirements regarding publishing the final
         POP.
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         Documentation

         A certified copy of the public notice publication, public hearing minutes, a list of
         attendees, and copies of written statements submitted during the 30-day period
         must be documented and submitted as part of the ATP. Whether or not a hearing
         is held, the applicant must attach copies of any written statements received and
         describe how public comments were addressed.

Applying for Other MTA Funding Programs

Those MTA funding programs that are not considered LOTS-specific funding (and
therefore are not included in the ATP package) have their own application and
public/private consultation processes. These programs include Section 5310, Section
5311(f) (Intercity Bus), State Coordinating and Technical Assistance (SCATA),
Rideshare, and Senior Rides. For more information on applying for any of these
programs, contact the Office of Local Transit Support.


ASSET MANAGEMENT PLANNING

General Requirements

In July 2016, the FTA issued its final rule on Transit Asset Management, 49 CFR Part
625, a set of Federal regulations that requires FTA-funded transit providers to collect and
use asset inventory and condition data, set state of good repair (SGR) performance
targets, develop strategies to prioritize investments, and prepare a plan to meet those
targets. This rule, made effective October 1, 2016, applies to all recipients and
subrecipients under 49 U.S.C. Chapter 53 who own, operate, or manage public
transportation assets used to provide public transportation.

The Asset Management Plan (AMP) is a strategic and systematic approach of procuring,
operating, inspecting, maintaining, rehabilitating, and replacing transit capital assets to
manage their performance, risks, and costs over their life cycles, for the purpose of
providing safe, cost-effective, and reliable public transportation.

(Note that Transit Asset Management is referred to by the FTA as TAM, but in this manual,
we will refer to the plan as AMP).




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For the FTA TAM requirements, Figure 2-1: Asset Categories and Classes
National Transit Database (NTD)
asset categories include vehicles,       NTD Asset
                                                        MTA/LOTS
                                                                         MTA/LOTS
facilities, equipment, and elements                        Asset
                                         Categories                    Asset Classes
                                                        Categories
of infrastructure (applicable to Tier I
agencies only) used for providing
                                                                        Accessible Car
public transportation.           MTA       Vehicles
categorizes its LOTS assets by: (Revenue Vehicles)
vehicles, systems, stations, and                                       Accessible Van
facilities. Asset categories, asset
classes, and their alignment to both
                                                          Vehicles
MTA and Federal reporting                            (Revenue and Non- Heavy Duty Bus
requirements are illustrated in           Equipment      Revenue)
Figure 2-1.                             (Non-Revenue
                                           Vehicles)
                                                                                  Systems         Medium Duty Bus
Under the final rule, transit
providers are grouped into one of
two tiers:                                                                                         Light Duty Bus

    x    Tier    I    providers   are
         recipients that own, operate,                                            Stations
                                                                                                   Administrative
                                                                                                     Building
         or manage:
                                                         Facilities
              o One hundred and one                                                                Maintenance
                (101)     or     more                       Facilities
                                                                                                    Building
                vehicles in revenue
                service during peak                                                              Administrative and
                                                                                                   Maintenance
                regular        service                                                               Building
                across all fixed-route
                modes or in any one non-fixed route mode; or
              o Rail transit.
    x    Tier II providers are recipients that own, operate, or manage:
              o One hundred (100) or fewer vehicles in revenue service during peak regular
                service across all non-rail fixed-route modes or in any one non-fixed-route
                mode (includes MTA 5310 subrecipients); or
              o A subrecipient under the 5311 Rural Area Formula Program; or
              o Any American Indian tribe.

Every LOTS receiving Federal funds must:

    x    Identify an Accountable Executive1 for their agency.



1
 An Accountable Executive is a single, identifiable person who has ultimate responsibility for carrying out the
safety management system of a public transportation agency; responsibility for carrying out transit asset
management practices; and control or direction over the human and capital resources needed to develop and
maintain both the agency’s public transportation agency safety plan, in accordance with 49 U.S.C. 5329(d), and the
agency’s Asset Management Plan in accordance with 49 U.S.C. 5326.

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    x    Establish annual performance targets. Tier I agencies will establish annual
         SGR performance targets by asset class for their agency. Tier II agencies will
         share a single group SGR target annually for applicable asset classes.
    x    Coordinate these performance targets with the State and MPOs.
    x    Develop its own AMP or participate in a group AMP. Tier I agencies are
         responsible for developing and updating their own AMPs. Tier II agencies will
         either share the development and update of a group AMP under MTA, or opt-out
         of a group AMP and develop a AMP on their own.
    x    Report asset inventories, condition, and performance through the NTD. Tier
         I agencies are responsible for submitting required asset management reports
         directly to NTD. For Tier II agencies, MTA will submit required asset
         management reports to NTD on behalf of the group.

Transit Asset Management Performance Measures and Targets

Transit Asset Management performance measures are set by FTA/NTD asset category
where the SGR performance is measured against a “Useful Life Benchmark”2 or “ULB.”
(Note that ULB is not the same as “useful life” as used in FTA Grant Programs; rather, it
is defined as the expected lifecycle or acceptable period of use in service for an asset
given Maryland’s unique operating environment.)

SGR performance targets are presented as the percent threshold at which the agency’s
assets are able to safely operate at a full level of service – meaning the percent of assets
tolerated at or above the ULB. Tier I LOTS must set their own annual SGR performance
targets for each asset class for which they have direct capital responsibility3. Tier II LOTS
must set shared group annual performance targets by asset class and be approved by
each identified Accountable Executive.

To support development of appropriate performance targets, MTA has adopted the ULBs
for its Tier II Group AMP participants as shown in Table 2-2. These ULBs are also
suggested for Tier I agencies.




2
  ULB is defined as the expected lifecycle or the acceptable period of use in service for a particular transit provider’s
operating environment. It takes into account a provider’s unique operating environment (e.g., geography, service
frequency, passenger loads, etc.). ULBs based on actual LOTS disposition data.
3
  You have direct capital responsibility if you own the asset, you jointly own the asset with another entity, or you are
responsible for replacing, overhauling, refurbishing, or conducting major repairs on that asset, or the costs of those
activities are itemized as a capital line item in your budget. (source: Frequently Asked Question No. 4 on
https://www.transit.dot.gov/TAM/gettingstarted/htmlFAQs)

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Table 2-2: MTA ULBs for Tier II Group AMP Participants

                                NTD
       NTD Asset              Perform-       MTA/LOTS Asset Class                         FTA ULB
       Category                ance                                                       (by Age)
                              Measure
    Revenue                   Age      Accessible Car                                    8 Years
    Vehicles                           Accessible Van                                    8 Years
                                       Bus Heavy Duty                                    14 Years
                                              Bus Medium Size Heavy Duty (<30ft)         14 Years
                                              Bus Medium Duty                            14 Years
                                              Bus Light Duty                             10 Years
    Equipment (Non-           Age             Non-Revenue Vehicle                        14 Years
    Revenue                                   Support Car/Truck                          8 Years
    Vehicles)                                 Support Van                                8 Years
    Facilities                TERM            Administrative Building                    TERM
                              Rating          Maintenance Building                       Score of 3*
                                              Admin and Maint Building
                                              Bus Transfer Facility
                                              Bus Storage
*Term rating of 3 is for the overall facility. Please refer to the condition assessment section for how to
calculate the overall facility condition rating.

MTA uses a decision-support tool called the Transit Economic Requirements Model
(TERM) Lite, customized for Maryland, to estimate LOTS’ assets’ conditions. Based on
age and useful life, condition is estimated using a 1-5 rating scale as depicted in Table 2-
3. While TERM Lite can be used to estimate the condition of all asset classes, FTA
requires that transit agencies perform a physical condition assessment of their facilities
for the purposes of performance measurement as described in the condition assessment
section below.

Table 2-3: Condition Rating Scale

      Condition Ratings                           Description
      Excellent    5    No visible defects, new or near new condition, may still be
                        under warranty if applicable
      Good         4    Good condition, but no longer new, may have some slightly
                        defective or deteriorated component(s), but is overall
                        functional
      Adequate     3    Moderately deteriorated or defective components; but has
                        not exceeded useful life
      Marginal     2    Defective or deteriorated component(s) in need of
                        replacement; exceeded useful life
      Poor         1    Critically damaged component(s) or in need of immediate
                        repair; well past useful life




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AMP

AMPs establish the objectives for an asset or group of assets as it relates to delivering
public transportation service. Well-established AMPs set out the whole life plan for asset
maintenance, overhaul, and renewal strategies by specifying the capital asset inventory,
condition assessments, decision support, and investment prioritization. A AMP is a living,
single source of information that continues to evolve to improve delivery of services.

As presented in the FTA AMP Final Rule, Subpart C, required components for Tier I and
Tier II AMPs include:
   1. An inventory of capital assets,
   2. A condition assessment of inventoried assets,
   3. Decision support tools (or processes), and
   4. A prioritization of investments needed to maintain assets in a state of good repair.

In addition to the above, under the Final Rule, Tier I AMPs must also include:

    5.   A AMP and SGR Policy,
    6.   A AMP implementation strategy,
    7.   Key activities the provider will engage in over the plan horizon,
    8.   A list of resources needed to implement the plan, including personnel, and
    9.   An outline of how the plan and related business practices will be monitored,
         updated, and evaluated to ensure continual improvement of its AMP practices.

Capital Asset Inventory

The capital asset inventory includes all assets used in the provision of public
transportation with or without Federal funds including:

    x    All revenue vehicles,
    x    Equipment (non-revenue vehicles, all IT-related equipment regardless of unit
         value, and other equipment integral to the public transportation system or network
         valued over $15,000 per MTA policy),
    x    Equipment (other equipment valued over $15,000 per MTA policy), and
    x    Facilities.

For Tier I agencies, guideway infrastructure, if applicable, must also be included.

Each year, as part of the ATP application, in Form 6/6A/6B, the LOTS submit asset
inventory updates. MTA requires four core pieces of data per asset record:

    x    Type of transit asset,
    x    The asset’s in-service date,
    x    Original procurement or delivery cost of the asset, and
    x    The asset’s useful life and ULB (provided by MTA).




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Condition Assessment

A condition assessment is also required of the assets for which a provider has direct
capital responsibility and is valued at $15,0004 or more. Table 2-7 summarizes the assets
required for inclusion in the capital asset inventory, condition assessment, NTD report,
and performance targets.

The condition assessment must provide a level of detail sufficient to monitor and predict
performance and prioritize investments in the assets:
          x   For revenue vehicles & equipment (non-revenue vehicles), the condition
              assessment is based on the asset’s age, mileage, and supplemented with
              physical condition data.
          x   For facilities, the overall facility condition rating is based on the TERM scale (1-
              5, where 5 = excellent and 1 = poor, as previously presented in Table 2-3) and
              must involve a physical condition assessment of facility components with focus
              on safety-critical components utilizing the alternative weighting aggregation
              approach following the FTA Facility Condition Assessment Guidebook. This
              section will be expanded in the next update of the LOTS Manual as AMP and
              Safety Management Processes are further developed.

Facilities must be physically inspected at least once every four years. One-fourth of all
facility condition assessments must be reported in NTD for RY2018, another one-fourth
reported for RY2019, and the last two fourths reported for RY2020 and RY2021.

Overall facility condition ratings are based on the following component ratings:

      x   Substructure,
      x   Shell,
      x   Interiors,
      x   Conveyance,
      x   Plumbing,
      x   HVAC,
      x   Fire Protection,
      x   Electrical,
      x   Equipment (Administrative/Maintenance Facilities Only),
      x   Fare Collection (Passenger/Parking Facilities Only), and
      x   Site.

    Examples of subcomponents to be assessed under each facility component listed above
    can be found in Table 2-5.




4
  FTA requires equipment that is not considered as non-revenue vehicles and valued at $50,000 or more to be
included in the provider’s capital asset inventory and a condition assessment is required for those equipment assets
which the provider has direct capital responsibility for. MTA/LOTS, however, has adopted a $15,000 threshold.

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 Table 2-5: Facility Components and Subcomponents

         Minimum                                                  Subcomponents
           Facility
        Components
      Substructure                x    Foundations: Walls, columns, pilings, and other structural
                                       components
                                  x    Basement: Materials, insulation, slab, and floor
                                       underpinnings
      Shell                       x    Superstructure / structural frame: Columns, pillars, and walls
                                  x    Roof: Roof surface, gutters, eaves, skylights, and chimney
                                       surrounds
                                  x    Exterior: Windows, doors, and all finishes (paint, masonry)
                                  x    Shell appurtenances: Balconies, fire escapes, gutters, and
                                       downspouts
      Interiors                   x    Partitions: Walls, interior doors, and fittings such as signage
                                  x    Stairs: Interior stairs and landings
                                  x    Finishes: Materials used on walls, floors, and ceilings
      Conveyance                  x    Elevators, escalators, and lifts
      Plumbing                    x    Fixtures, water distribution, sanitary waste, and rain water
                                       drainage
      HVAC                        x    Energy supply
                                  x    Heating and cooling generation and distribution systems
                                  x    Testing, balancing, controls, and instrumentation
                                  x    Chimneys and vents
      Fire Protection             x    Sprinklers, standpipes, hydrants, and other fire protection
                                       specialties
      Electrical                  x    Electrical service and distribution
                                  x    Lighting and branch wiring (interior and exterior)
                                  x    Communications and security
                                  x    Other electrical system-related pieces such as lightning
                                       protection, generators, and emergency lighting
      Equipment                   x    Equipment related to the function of the facility, including
      (Administrative                  maintenance or vehicle service equipment
      and Maintenance             x    For clarity, includes only items valued above $10,000 and
      Facilities)                      related to facility function
      Fare Collection             x    Turnstiles, ticket machines, and any other major equipment
      (Passenger and                   requiring capital request for replacement
      Parking Facilities)
      Site                        x    Roadways/driveways and associated signage, markings, and
                                       equipment
                                  x    Parking lots/pedestrian areas and associated signage,
                                       markings, and equipment
                                  x    Site development such as fences, walls, and miscellaneous
                                       structures
                                  x    Landscaping and irrigation
                                  x    Site utilities


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Decision-Support

As part of the group AMP development and updates, MTA will also provide a description
of the analytical processes or decision-support tools used to estimate and prioritize capital
investment needs over time. TERM Lite, as customized for Maryland, is MTA’s decision-
support tool. MTA runs TERM Lite on behalf of LOTS. TERM Lite analysis estimates
asset condition, prioritizes asset replacement needs over time, and determines the SGR
backlog for the LOTS.

Prioritization of Investments

As required by the Federal final rule on TAM, a ranked project-based prioritization of
investments over the AMP horizon period must be provided. Prioritization of investments
is only required for those that the agency has direct capital responsibility for and should
consider all funding sources reasonably expected in each fiscal year over the AMP
horizon period. Additionally, SGR projects that pose a safety risk if not prioritized must be
given due consideration (please refer to Chapter 11 for more detail on risk and risk
management) as should ADA compliance requirements (under 49 CFR 37.161 and
37.163 concerning maintenance of accessible features – see Chapter 12 – and 49 CFR
37.43 concerning alteration of transportation facilities – see Chapter 7).

MTA has a two-tiered investment prioritization process:

    x    In the first tier of prioritization, utilizing individual analysis of inventory and condition
         data and TERM Lite analysis outputs, the LOTS are responsible for providing
         prioritized and ranked project-based investment requests to MTA through the ATP
         process.

    x    In the second tier, supported by group TERM Lite analysis outputs, MTA then
         prioritizes all investment requests from the LOTS to develop a statewide priority
         list of investments.

AMP Development and Reporting

Transit providers have until October 1, 2018 to complete initial AMPs. AMPs must cover
a horizon period of four years and be updated in their entirety at least once every four
years. MTA requires annual updates to LOTS inventory and condition assessments,
coinciding with the ATP process.

MTA facilitates development of the group AMP for Tier II LOTS, and will provide an AMP
outline for the Tier I LOTS to use. The group AMP will include the following federally
required elements at a minimum: (1) asset inventory, (2) condition assessment, (3)
decision-support processes and tools, and (4) prioritization of investments. Tier II LOTS
will primarily be responsible for providing to MTA the inventory and condition assessment
inputs for the development of the group AMP. MTA has historically already collected most
of the now-Federally-required information through forms in the ATP required from each
LOTS. Beginning in 2017, the LOTS are required to submit enhanced asset inventories,
in advance of the ATP submission. Advanced submission of inventories is not just to the

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benefit of the Tier II group but to the LOTS at an individual agency level to understand
current performance (via inventory analysis, physical condition assessments, and TERM
Lite analysis) and provides a basis for all LOTS to develop and update their AMPs and
annual performance targets. Table 2-7 summarizes the TAM Reporting Requirements
for the LOTS.

Table 2-7. Summary of MTA Required TAM Reporting

                                                                          NTD
                                                       AM Plan
                                                             AM Plan   Inventory  SGR
                       Assets                         Inventory
                                                             Condition    and    Targets
                                                           Assessment Condition
                                                                       Submittal
                                                REVENUE VEHICLES
      Owned                                          9          9          9        9
      Direct Capital Responsibility                         9                     9   9    9
      3rd Party Owned (Direct Capital      9         9         9                           9
      Responsibility)
      3rd Party Owned (NO Direct           9                  9*
      Capital Responsibility)
                             FACILITIES & RELATED EQUIPMENT
      Owned                                9         9         9                           9
      Direct Capital Responsibility        9         9         9                           9
        rd
      3 Party Owned (Direct Capital        9         9         9                           9
      Responsibility)
      3rd Party Owned (NO Direct           9                  9**
      Capital Responsibility)
                    NON-REVENUE VEHICLES & IT-RELATED EQUIPMENT
      Owned                                9         9         9                           9
      Direct Capital Responsibility        9         9         9                           9
        rd
      3 Party Owned
                   OTHER EQUIPMENT: >$15,000 IN ACQUISITION VALUE
      Owned                                9         9
      Direct Capital Responsibility        9         9
        rd
      3 Party Owned
                       EQUIPMENT: <$15,000 IN ACQUISITION VALUE
      Integral to the Transit System***    9         9
      All Others
    *Representative Vehicles
    **Only Passenger Facilities
    ***As determined by the LOTS



PLANNING FOR SPECIFIC SERVICE CHANGES

Any proposed changes of service also require certain planning activities, even if they have
been incorporated in the five-year TDP. The MTA strongly recommends that the LOTS
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agency consult with their local advisory committee in developing service changes. MTA
service planning staff/regional planners are also available for technical consultation in
evaluating current services, assessing alternatives, and developing an implementation
strategy.

MTA Notification

The MTA must be notified in advance of all proposed fare and service changes.
Proposed fare and service changes may be submitted to the MTA concurrently with the
public notice process.

Public Comment and Notice Regarding Service and Fare Changes

         Public Comment Process for Fare Changes and Major Service Reductions

         The subrecipient must have a locally developed process to solicit and consider
         public comment before changing fare or carrying out a major reduction of
         transportation. This should include a written policy that describes the public
         comment process for fare increases or changes (including changes to the fare
         structure or media) and major service reductions. The process needs to define
         both soliciting and considering comments from the public, as well as define what
         constitutes a “major service reduction.” Often, this is defined as a numerical
         standard, such as a change that impacts 25 percent of service hours of a route.
         Minor service changes do not require a public comment process.

         The policy should provide an opportunity for a public hearing or public meeting for
         any fare change or major service reduction and should describe how such
         meetings will be conducted and how the results will be considered in the process
         of changing fares and service. A public meeting or hearing is not mandatory;
         however, an opportunity for a public meeting or hearing in order to solicit comment
         must be given. The public notice process described earlier in this section for the
         ATP, with a 30-day advanced notice, provides guidelines for an opportunity for a
         public hearing.

         Related civil rights and public outreach requirements are detailed in Chapters 13
         and 14.

         An example of a public notice written policy, as well as a checklist of steps in the
         public notice process, are attached at the end of Chapter 14.

         Public Notice for All Service and Fare Changes

         Public transit providers must notify customers and MTA in writing at least 30 days
         in advance of changing service (including changes in routes, schedules, service
         times, and bus stop locations) or fares. You are also strongly encouraged to
         contact your Regional Planner at the earliest possible stage of the planning
         process.


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         The purpose of this notice is to provide customers and MTA information about
         changes that are definitely going to happen. As such, this notification period can
         coincide with the public comment period required in advance of the public meeting
         or hearing required for fare increases. However, once the final decision is made
         to change fares or services, you should notify the public a reasonable amount of
         time in advance (and the timeline for this notification period should be included in
         your written policy/procedures).

         For additional information on public outreach, including a checklist of steps in the
         public notice process, see Chapter 14.

         Timeline

         In brief, the timeline for the public consultation and notice process can be
         summarized as follows:

              1. Develop proposal of specific changes to be implemented.

              2. Day 1: Notify the public that material regarding changes is available for the
                 public to review as well as details on any public meeting/hearing.

              3. Day 1 – Day 21: Accept requests for public hearing (if applicable).

              4. Day 1 – Day 30: Accept written comments.

              5. Day 30: Hold public meeting/hearing if required.

              6. Day 30: Announce results of public consultation process including, but not
                 limited to, final decisions and implementation schedule.

              7. Day 31 (or later): Implement changes.

ADA Implications of Fixed-Route Changes

It is important to keep in mind that expanding your fixed-route services, in terms of
geographic area served or days and hours of service, may result in a need for additional
ADA paratransit services to provide complementary coverage. The increased cost to
provide ADA paratransit must also be factored into the cost to implement the fixed-route
service expansion.     See Chapter 12 for more information on ADA paratransit
requirements.

Changes to ADA Paratransit Services

Any changes made to ADA paratransit services, policies, or plans should be made in
consultation with individuals with disabilities. See Chapter 12 for more information on
ADA paratransit requirements and Chapter 14 for more information on accessible public
consultation.


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Title VI of the Civil Rights Act of 1964

Title VI of the Civil Rights Act of 1964 prohibits discrimination on the basis of race, color,
or national origin in programs and activities receiving Federal financial assistance.
Specifically, 42 U.S.C §§ 2000d - 2000d-7 provides that "No person in the United States
shall, on the ground of race, color, or national origin, be excluded from participation in, be
denied the benefits of, or be subjected to discrimination under any program or activity
receiving Federal financial assistance." Title VI requires that transit systems plan and
operate services in a non-discriminatory manner.

The Title VI requirements include public notice requirements as well as requirements for
ensuring meaningful access to services for Limited English Proficiency (LEP) persons
through both public information and participation, and environmental justice.

Transit providers offer services for many low-income and minority populations who have
no other way to get to work, shopping, child care, medical appointments, recreation, or
other destinations. Transit agencies support Title VI and environmental justice principles
when they:

    x    Ensure that new investments and changes in transit facilities, services,
         maintenance, and vehicle replacement deliver equitable levels of service and
         benefits to minority and low-income populations.
    x    Avoid, minimize, or mitigate disproportionately high and adverse effects on
         minority and low-income populations.
    x    Enhance public involvement activities to identify and address the needs of minority
         and low-income populations in making transportation decisions, including those
         with LEP.

LOTS must avoid activities such as:

    x    Assigning new or “better condition” vehicles to non-disadvantaged areas.

    x    Disproportionately providing service to non-disadvantaged populations.

All LOTS need to take some actions in order to ensure compliance with Title VI. All
systems need a written Title VI Policy and Program, although the level of detail,
submission requirements, and reporting requirements are lower for systems operating in
areas with populations less than 200,000. LOTS that provide service to geographic areas
with 200,000 people or greater are required to submit a formal Title VI program to MTA
and FTA for review as well as provide periodic updates and additional reporting to the
FTA (through MTA) as part of their Title VI program.

For more information, see Chapter 13 as well as FTA Circular 4702.1B, “Title VI
Requirements and Guidelines for Federal Transit Administration Recipients,”
(https://www.transit.dot.gov/regulations-and-guidance/fta-circulars/title-vi-requirements-
and-guidelines-federal-transit).


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AMENDMENTS TO THE GRANT AGREEMENT

Once a grant has been approved and executed, MTA approval is required to make
changes to the project. To apply for approval for mid-year changes in a project, LOTS
must submit a Request for Funds (Form AE-1, attached at the end of this chapter as
Attachment 2.B) to the MTA. This form may also be used for emergency requests for
additional capital and operating funds outside of the grant cycle. Such requests will be
considered for special urgent situations, such as loss of vehicles or facilities as a result
of natural disasters.


PLANNING REQUIREMENTS PERTAINING TO ITS PROJECTS

ITS projects are subject to special planning requirements.

Conformance with National and Regional ITS Architecture

ITS projects funded by FTA must conform to the National ITS Architecture, as well as to
USDOT-adopted ITS Standards. ITS projects and programs are also required to be a
part of a locally approved Regional ITS Architecture. The ITS Architecture Policy provides
flexibility to local areas in determining what agencies or organizations take the lead in
developing the regional ITS architecture. The policy requires that the regional ITS
Architecture must be part of the local planning process and be consistent with and be
reflected in the STIP and the TIP of the region’s MPO.

In addition, the LOTS must establish a process for the systems engineering analysis of
ITS projects (described later in this chapter).

         What are the ITS Standards?

         To date, the U.S. DOT has not adopted any ITS standards of its own. Updated
         information on the U.S. DOT ITS Standards Program can be found at
         http://www.standards.its.dot.gov/.

         FTA encourages the appropriate use of standards that have been developed via
         industry consensus by a standards development organization (SDO). The SDOs
         include the American Public Transportation Association (APTA); all of U.S. DOT’s
         SDOs are listed online here:
         https://www.standards.its.dot.gov/About/ProgramPartners. Among the standards
         developed by APTA include Transit Communications Interface Profiles (TCIP),
         Contactless Fare Media System (UTFS), Control and Communications Security
         (CCS), and Transit Operational Software (development is currently under way).

         What is Regional ITS Architecture?

         As noted above, FTA-funded ITS projects and programs are also required to be a
         part of a locally approved Regional ITS Architecture. The Regional ITS
         Architecture is a tool that is used in transportation planning, programming, and

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         project implementation for ITS. It is a framework for institutional agreement and
         technical integration for ITS projects and is the place to start when defining the
         basic scope of a project.

         Subrecipients of FTA funds are not likely to be the lead agency for the development
         of the Regional ITS Architecture. The lead agency may be the MPO or the State.
         However, the subrecipient needs to be an active participant in the Regional ITS
         Architecture development and maintenance if the subrecipient is implementing ITS
         projects.

         The Maryland Statewide ITS Architecture was developed in 2009 and can be found
         on the website of the ITS Maryland website at http://itsmd.org/resources/maryland-its-
         architecture/. The Maryland Statewide Architecture was developed for the State
         Highway Administration with support from the University of Maryland Center for
         Advanced Transportation Technology Laboratory and the Federal Highway
         Administration.

ITS Compliance and Conformity Review Process for the LOTS

MTA is responsible for reviewing ITS-related projects of its subrecipients and documenting
their compliance with the regional ITS architecture. All ITS projects are required to go through
the ITS Architecture Panel (IAAP) for review. The IAAP, created by the Maryland State
Highway Administration, is the oversight panel that created the Statewide ITS Architecture
and that reviews all projects that wish to conform.

MTA begins the review process as part of the grant application evaluation. To ensure ongoing
funding eligibility, all ITS projects must:

         x    Show conformity with MD Architecture.
         x    Adjust to become consistent with MD Architecture if nonconforming.
         x    Apply ITS Standards and Systems Engineering Analysis where applicable.

Projects selected for MTA funding are subject to IAAP review for conformity prior to project
initiation. Once the IAAP determines that the project conforms with Maryland ITS
Architecture, it releases notice of project conformity. Based on this notice, the MTA issues a
letter of concurrence, and then the project can be initiated. The time frame for this review
process can range from two to four months.

Systems Engineering Analysis

FTA grantees are required to follow a systems engineering analysis in implementing an ITS
project. The IAAP review process described above includes this analysis. Systems
engineering reduces the risk of schedule and cost overruns and increases the likelihood that
the implementation will meet the user’s needs. Appendix E outlines the seven-step systems
engineering analysis prescribed in FTA’s ITS Architecture Policy, as well as factors used to
assess the extent of the risk involved in the project. If a LOTS is seeking ITS funding, it will
have to follow the seven-step process and include relevant portions as part of their grant
application. If you have questions, you should contact your Regional Planner prior to
requesting an ITS project grant.

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Because of the above requirements, procurement of ITS technology funded by FTA or MTA
funding needs to:

    x    Include provisions for conformity with the National ITS Architecture,
    x    Be included as a part of a locally approved Regional ITS Architecture,
    x    Include the seven-step systems engineering analysis listed in Appendix E (at least for
         high-risk projects), and
    x    Be submitted with a complete Maryland ITS Architecture Conformity Form
         (Attachment 2.C) as part of the ATP.




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ADDITIONAL RESOURCES

State Transportation Plans

    Maryland's Consolidated Transportation Program (CTP) –
    http://www.mdot.maryland.gov/newMDOT/Planning/CTP/Index.html

    Maryland Transportation Plan –
    http://www.mdot.maryland.gov/newMDOT/Planning/Maryland_Transportation_Plan/I
    ndex.html

Local and Regional Planning Bodies

    Links to county departments of planning within Maryland –
    http://www.msa.md.gov/msa/mdmanual/01glance/html/planloc.html

                    Regional Planning Body                                          Counties in Region
       Baltimore Metropolitan Council –                                           Anne Arundel, Baltimore,
       http://baltometro.org                                                      Carroll, Harford, Howard,
                                                                                  Queen Anne's
       Metropolitan Washington Council of Governments / Charles, Frederick,
       National Capital Region Transportation Planning  Montgomery, Prince
       Board – http://www.mwcog.org/transportation/     George’s
       Mid-Shore Regional Council -                                               Caroline, Dorchester,
       http://www.midshore.org/                                                   Talbot
       Tri-County Council for Southern Maryland -                                 Calvert, Charles, St.
       http://tccsmd.org/                                                         Mary’s
       Tri-County Council for the Lower Eastern Shore of                          Somerset, Wicomico,
       Maryland - http://www.lowershore.org/                                      Worcester
       Tri-County Council for Western Maryland -                                  Allegany, Frederick,
       http://www.tccwmd.org/                                                     Garrett, Washington
       Upper Shore Regional Council -                                             Cecil, Kent, Queen Anne's
       http://www.uppershoreregionalcouncil.org/


MTA Resources

    LOTS and other local grant application packages and guidance -
    http://webbuilder.nationalrtap.org/tam/Office-of-Local-Transit-Support


Asset Management Planning

    49 CFR Part 625, “Transit Asset Management” - http://www.ecfr.gov/cgi-bin/text-
    idx?tpl=/ecfrbrowse/Title49/49cfr625_main_02.tpl
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    Asset Management Guide for Small Providers (FTA Report No. 0092) and template -
    https://www.transit.dot.gov/TAM

    FTA Facility Condition Assessment Guidebook (DRAFT as of January 2017) -
    https://www.transit.dot.gov/sites/fta.dot.gov/files/docs/Facility%20Performance%20A
    ssessment%20Guidebook.pdf

    “FTA Transit Asset Management Checklist #3” -
    https://www.transit.dot.gov/sites/fta.dot.gov/files/docs/TAM checklist 3
    RuleCompliance_1.pdf


Other FTA/USDOT Resources

    Final Rule on Statewide and Nonmetropolitan Transportation Planning and
    Metropolitan Transportation Planning (May 2016) –
    https://www.transit.dot.gov/regulations-and-guidance/transportation-planning/final-
    rule-statewide-and-nonmetropolitan

    Transportation Planning section of FTA website –
    https://www.transit.dot.gov/regulations-and-guidance/transportation-
    planning/transportation-planning

    FTA Circular 8100.1C, “Program Guidance for Metropolitan Planning and State
    Planning and Research Program Grants,” particularly Chapter II for description of the
    elements of the metropolitan planning organization activities for FTA programs -
    https://www.transit.dot.gov/regulations-and-guidance/fta-circulars/program-guidance-
    metropolitan-planning-and-state-planning-and

    FTA Circular 4702.1B, “Title VI Requirements and Guidelines for Federal Transit
    Administration Recipients” –
    https://www.transit.dot.gov/regulations-and-guidance/fta-circulars/title-vi-
    requirements-and-guidelines-federal-transit

    How to Engage Low-Literacy and Limited English Proficient Populations in
    Transportation Decision Making, prepared by PBS&J for the Federal Highway
    Administration – http://www.fhwa.dot.gov/planning/publications/low_limited/index.cfm


Transit Service Planning Resources

    Transit Cooperative Research Program (TCRP) – numerous resources –
    http://www.tcrponline.org/

    National Transit Institute (NTI)’s “Introduction to Transit Service Planning” course -
    http://www.ntionline.com/introduction-to-transit-service-planning/



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    Best Practices in Transit Service Planning, prepared by the Center for Urban
    Transportation Research at University of South Florida for the US DOT and Florida
    DOT (2009) - http://www.nctr.usf.edu/pdf/77720.pdf

    Estimating Ridership of Rural Demand-Response Transit Services for the General
    Public, prepared for the USDOT by Jeremy Mattson, North Dakota State University,
    Upper Great Plains Transportation Institute, Small Urban and Rural Transit Center -
    http://www.ugpti.org/resources/reports/details.php?id=851&program=surtc


Coordination Resources

    Maryland Coordinated Community Transportation website -
    http://www.kfhgroup.com/mdcoordinationplans.htm


    Community Transportation Association of America (CTAA) - CTAA’s website
    includes information on the numerous coordination-related programs and initiatives -
    www.ctaa.org

    National Aging and Disability Transportation Center (NADTC) offers free resources,
    including coordination resources developed under the former FTA-funded Project
    ACTION and National Center on Senior Transportation - http://www.nadtc.org/

    National Center for Mobility Management -
    http://nationalcenterformobilitymanagement.org/

    Transit Cooperative Research Program (TCRP) – numerous resources –
    http://www.tcrponline.org/




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                            CHAPTER 2: SUMMARY CHECKLIST

   Participate in local and regional transportation planning efforts on an ongoing basis.
    If you are in a metropolitan area, ensure that a current agreement is in place with the
    MPO.
   Update your TDP every five years.
   Establish an advisory committee that meets on an ongoing basis.
   Coordinate to the extent feasible with human service agency transportation services.
   Prepare a complete ATP using the application format specified by the MTA.
   At least 30 days before submitting your ATP to local elected officials for approval, you
    must:

    x    Notify private operators,
    x    Submit the SSTAP portion of your ATP to your local AAA for approval, and
    x    Publish notice of a public hearing or an opportunity for a public hearing with at least
         a 3-week window in which to request a hearing. The hearing/tentative hearing
         opportunity should be scheduled so that you have time to address significant
         issues before presenting the ATP to the elected officials for approval.
   If requested, hold the public hearing, providing accessible information or sign
    language interpretation if requested.
   Submit your ATP to the MTA by the deadline.
   Identify your Accountable Executive for Transit Asset Management Plan (AMP).
   Establish state of good repair (SGR) performance targets.
   Develop and update a AMP for vehicles, equipment, and facilities.
   Participate in the development of the local public transit-human services transportation
    plan.
   Establish written policy of public notice and comment for fare increases or major
    service reductions.
   Provide 30-day public notice of proposed fare increases or major service reductions,
    including a public hearing or public meeting or opportunity for one, and means for
    accepting comments outside of the hearing/meeting.
   Provide 30-day public notice to the public and MTA before implementing fare and
    service changes.
   Identify and address ADA implications of service changes.
   Ensure that no segment of the community protected under Title VI of the Civil Rights
    Act of 1964 is discriminated against by changes in services, facilities, or policies.

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3            FINANCIAL MANAGEMENT



    This chapter summarizes the financial management requirements for LOTS,
    including:

         x   Accounting and Recordkeeping
         x   Budget Development
         x   Cost Allocation
         x   Local Match
         x   Non-Fare Revenue Requirements
         x   Force Account Plan
         x   Reimbursement Process
         x   Reporting Requirements
         x   Budget Monitoring and Adjustments
         x   Performance Monitoring
         x   Audits
         x   Grant Closeout

    Overarching requirements for financial management for Federal grant
    recipients and subrecipients are found in the “Super Circular,” 2 CFR Part
    200, “Uniform Administrative Requirements, Cost Principles, and Audit
    Requirements for Federal Awards,” http://www.ecfr.gov/cgi-bin/text-
    idx?tpl=/ecfrbrowse/Title02/2cfr200_main_02.tpl.




ACCOUNTING AND RECORDKEEPING

Accounting Practices

Each LOTS must have accounting procedures in place that allow for accurate reporting
as well as a method for allocating shared costs to different grants (discussed later in this
chapter). If your agency is a branch of county or municipal government, it is important
to work closely with the accounting department so that you have a thorough
understanding of which expenses are or should be assigned to each account and sub-
account, and that you can trace any modifications made to match the line items used by
the MTA for LOTS budgets and reports.

The FTA recommends the Uniform System of Accounts. This system is available on the
FTA website at https://www.transit.dot.gov/ntd/uniform-system-accounts-usoa.


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3    FINANCIAL MANAGEMENT


Recordkeeping

In general, each LOTS must maintain records that support each grant for a minimum of
three years after closeout of the grant. Electronic records should be backed up.
Financial and operating data (discussed in Chapter 9, Operations Management) that
allows for completion of required reports and monitoring of potential compliance issues,
must be collected.

There is a recordkeeping obligation to keep on file supporting documents for allocated
costs such as force accounts (explained later in this chapter) and overhead. This
expressly means timesheets where appropriate.


BUDGET DEVELOPMENT

The Annual Transportation Plan (ATP) requires that a budget be developed for each
funding source. If realistically developed, your budget can be a useful tool in controlling
costs, managing grants, monitoring system performance, and forecasting funding needs
for future years. As noted later in this chapter, you should compare actual revenues
and expenses to your budget at a minimum quarterly and ideally monthly. At the end of
the year, you should compare actual line item expenses with budgeted amounts, and
use this analysis when planning your next year’s budget (discussed later in this chapter
under “Budget Monitoring and Adjustments”).

To develop a realistic budget, start with what your actual administrative and operating
costs for your total transportation program are likely to be, rather than basing your
budget on known funding sources and amounts. Of course, if projected costs exceed
available funding, you will need to scale back services, increase your local match, or
secure additional funding from other sources. To attribute costs to appropriate grants,
use a cost allocation model as described later in this chapter.

Each grantee is required to reconcile their budget once the final grants are awarded.
The expenditures must be adjusted to balance with the actual grant awards, and the
revised budget must be submitted to MTA.

Annual Transportation Expense Categories

The administrative and operating budget is submitted as part of the ATP/LOTS grant
application. MTA has developed a template for formatting your budget, known as Form
B-2 in the ATP (Attachment 3.A). This template is also used for quarterly reports as
described later in this chapter. For convenience, the electronic form includes the most
common line items used by the LOTS. You are welcome to edit line item titles to better
align with your organization’s budget. However, you must use this general template to
submit your budget with the ATP, avoid deleting or inserting additional rows or columns,
and follow the instructions that are updated in each year’s ATP package.

The ATP also includes a series of capital project budget forms, numbered C-1 through
C-9.

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Typical operating and capital expense categories, as can be found on Form B-2 and the
“C” forms, include:

         Operations

              x    Driver and dispatcher salaries and fringe benefits
              x    Fuel
              x    Vehicle insurance
              x    Vehicle depreciation (not eligible for MTA or FTA funded vehicles)
              x    Vehicle lease
              x    Vehicle license
              x    Vehicle storage facility
              x    Operations training
              x    Other

         Purchased Service Operations

         Purchased Service Operations is for expenses associated with third party
         contracting agreements between LOTS and private or public contractors
         operating transit services for LOTS.

         Maintenance*

              x    Mechanics and mechanics aides salaries and fringe benefits
              x    Maintenance contract (all outsourced)
              x    Preventive maintenance (PM) - Capital Expense*
              x    Tubes and tires
              x    Oil
              x    Materials and supplies (parts)
              x    Maintenance facility rental
              x    Equipment rental
              x    Utilities
              x    Maintenance training
              x    Other

         Administration

              x    Salaries and fringe benefits of time spent administering the transportation
                   program by the agency administrator, manager, secretary, bookkeeper,
                   and other staff
              x    Materials and supplies
              x    Telephone
              x    Office rental
              x    Utilities
              x    Office equipment rental
              x    Administrative training

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              x    Safety and security
              x    Other

         Capital*

              x    Purchase of vehicles (replacement or expansion)
              x    Refurbishment of vehicles
              x    Purchase/Leasing of equipment
              x    Facility design and construction

    *Note: Vehicle preventive maintenance can be funded as a capital expense to
    take advantage of higher Federal/State match percentage, but is reported in
    the operating budget of the ATP.

         Planning and Technical Assistance

              x    Transportation Development Plans
              x    Major facility feasibility studies
              x    Coordination activities

Disallowed Expenses

The following expenses are not eligible for FTA or State funding:

    x    Fines and penalties
    x    Bad debts
    x    Entertainment
    x    Interest (with certain exceptions)
    x    Depreciation
    x    Provision of charter services
    x    Lobbying activities
    x    Expenses paid by other funding sources


COST ALLOCATION

All LOTS must have an approved cost allocation plan (CAP plan) for allocating
transportation costs among funding programs and services. The MTA must approve
this plan. Such a plan is also required for all MTA subgrantees receiving multiple
operating grants.

LOTS that allocate administrative costs across multiple programs (i.e., transportation is
only one of your organization’s programs) must also have an approved overhead or
indirect cost rate, as described later in this section. It is important to note that cost
allocation and overhead are different (though related) concepts.



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Cost allocation is needed to fairly represent the actual cost of providing each of the
transportation services (such as fixed-route, route-deviation, and demand-response)
operated by one organization. Since most organizations have administrative and
operating expenses for functions that support all the transportation services, a
methodology is needed to divide or allocate these costs among the individual services.

As a LOTS, you probably face one or more of the following challenges:

    x    Allocating shared agency (administrative) costs to transportation. (This challenge
         is faced by multi-purpose agencies, such as departments of public works, aging,
         and community action agencies)
    x    Allocating transportation costs to various funding programs (such as Section
         5311. Section 5307, and SSTAP).
    x    Allocating transportation costs to individual routes or services.
    x    Allocating “local share” to multiple jurisdictions ( see the Local Match section later
         in this chapter).

It is important to note that the cost allocation process should generally include all costs
but may vary depending on purpose and grant rules. For example, “fully allocated
costs” include vehicle and capital costs (depreciation); however, LOTS cannot include
depreciation of Federally-funded and/or State-funded vehicles in costs charged against
Federal/State grants.

Overhead Rate for Multi-Purpose Agencies:                          Allocating   Shared   Agency
(Administrative) Costs to Transportation

Often referred to as agency “overhead” or “indirect rate,” multi-purpose agency
administrative costs are generally expressed as a percentage of direct costs
(attributable to each of the agency purposes). Overhead is used by agencies with
grants from multiple funding sources for shared administrative costs (for example,
salary of the executive director, cost of the administrative facility, agency-wide audit and
accounting, legal) to allocate these “non-direct” agency costs that are not directly
attributable to the delivery of services to the various grants or funding sources (Agency
on Aging, LOTS grants, Head Start, etc.).

If your system uses any portion of LOTS grants to fund overall agency administrative
expenses, you need to have an approved indirect rate from the cognizant Federal
agency, as well as from MTA. You may not charge indirect costs to a LOTS grant
without these letters of approval, which must be maintained on file since MTA may ask
for them at a later date. The approved CAP plan and indirect cost rate must be utilized
to develop each MTA Payment Request, and the rate and related supporting
documentation must be maintained on file for audit purposes. LOTS are required to
provide an annual cost allocation plan for any indirect cost rates utilized, and must also
obtain approval for any changes to an indirect cost rate.




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The cognizant agency is determined by calculating which Federal agency provides the
most grant funding. This agency may change from one year to the next. For some
LOTS, the cognizant agency may be the FTA, but for those LOTS that are part of
county government or a multiple-purpose human service agency, the cognizant agency
is likely to be another Federal agency. The LOTS is required to have its indirect cost
rates approved by its cognizant Federal agency annually and provide the MTA with their
indirect cost rate.

Directly Charging Costs as an Alternative to Allocation

To directly charge costs to a particular transit program or transit service, agencies must
have a mechanism in place to track actual costs for each program, service, and/or
route. Some transit systems use a combination of directly charging some costs and
allocating other costs, using an approved method such as that which is introduced
below and described in Appendix F. The method that is appropriate (and practical) for
your agency depends on whether the services/routes are distinct or divisible (so costs
can be tracked easily).

Cost Allocation Methodology

If it is not possible to directly charge costs against services or grants, costs can be
allocated based on the amount of resources needed to operate the services. To
allocate costs to various programs or services, agencies must have a mechanism in
place to track miles and hours by program, service, and route. Each LOTS should
already be tracking these as required by the MTA for reporting and performance
monitoring.

The simplest method, but not the most accurate, is to allocate all transportation costs
based on a single unit cost basis (per-hour or per-mile). In this method, the number of
hours (or miles) operated on each type of service or attributable to each grant, is
multiplied by the unit cost to calculate a total cost for the period.

The most accurate method uses a combination of miles and hours. Your inputs may be
“total” miles and hours or “revenue” miles and hours, as long as you are consistent.
Appendix F provides instructions on allocating your transportation costs using this
method.

Cost Allocation Plan Updates

As previously noted, all LOTS CAP plans must be approved by the MTA. A LOTS must
resubmit the CAP plan for MTA approval if your organization has made a change in its
accounting system, affecting the previously approved cost allocation methodology, cost
rates and/or basis of application. A LOTS will likely be required to submit their latest
approved CAP plan during any MTA Triennial Review or financial audit. If your
organization has an approved indirect cost rate and companion CAP plan, the LOTS will
be required to submit both annually or whenever changes occur affecting your existing
CAP plan and/or indirect cost rate or for any changes exceeding the previously
approved amounts by more than ten percent.

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Allocated Costs versus Budgeted Funding

Your agency may find that using the cost allocation model in Appendix F results in a
cost allocation that is different from the funding levels attributed to the specific program
(including local match). This could suggest that either this cost allocation model does
not have enough variables to accurately attribute costs to your agency’s specific
programs (in which case the three-variable cost allocation model is recommended), or
your agency’s budget is not realistic. There may be cross-subsidization among your
programs, a “no-no” unless the programs share the same eligibility criteria.

Some LOTS receive grant funds from non-MTA sources that have caps on certain types
of expenses. For example, a grant may only allow a certain percentage of overall
funding to be spent on administrative overhead. If your cost allocation method results in
a higher percentage than this cap permits, talk with your MTA Regional Planner to
determine if the amount that exceeds the cap is eligible for funding under one of your
MTA programs.


LOCAL MATCH

Many Federal and State grant programs require a local match. Most grant programs
specify a minimum local match percentage of the total cost (or deficit, in the case of
operating projects). This is usually expressed as a percentage of total project cost.
Another way to view this budget concept is that Federal and State programs will fund a
maximum percentage of the total project cost. Table 3-1 provides the typical minimum
local matching ratios for each type of capital or operating LOTS grant, and Table 3-2
provides the typical minimum local matching ratios for each type of planning and
technical assistance grant. The State and Federal funding percentages shown in this
table reflect the typical maximum percentage. In some cases, the State and Federal
share may be lower, depending on the total project costs and the availability of funding.
In such cases, in order to cover the full project cost, local funds are required to make up
a larger percentage of the total project cost or the scale/scope of the project would need
to be modified.

For MTA-administered programs, the local match must be committed before the grant
can be approved, and the percentage of local participation is spelled out in the grant
agreement. Each time the subgrantee submits a request for reimbursement from the
MTA, the local match must be paid as well, at the same percentage as in the grant
agreement; that is, the subgrantee cannot defer spending of the local share. Local
matching dollars may only be used to match one source of Federal/State funds; that is,
matching funds may only be used once.

Situations may arise where a LOTS requests additional operating funding to support a
current or proposed program. If the State concurs with the request for additional
funding, the local operator will be required to provide a local match. The local match
amount, in such mitigating circumstances, must equal, at a minimum, the original
percent for that particular grant program.


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Table 3-1: Matching Ratios for LOTS Capital and Operating Grant Programs

                                     Capital                                       Operating
 Federal/State       Maximum        Maximum        Minimum          Maximum
   Program            Federal         State         Local            Federal       Maximum        Minimum
                       Share          Share         Share             Share       State Share    Local Share
 Section 5307                                                      Up to 50% of   Up to 25% of   At least 25%
 Small Urban                                                         the net        the net       of the net
                        80%            10%            10%
 Public                                                             operating      operating      operating
 Transportation                                                       deficit        deficit         deficit
                                                                   Up to 50% of   Up to 25% of   At least 25%
 Section 5311
                                                                     the net        the net       of the net
 Rural Public           80%            10%            10%
                                                                    operating      operating      operating
 Transportation
                                                                      deficit        deficit         deficit
 Section 5339
 Discretionary          80%            10%            10%              n.a.           n.a.           n.a.
 Capital

 ADA                     n.a.           n.a.           n.a.            n.a.          90%            10%

                                                                                    Pending
 Large Urban             n.a.          90%            10%              n.a.          annual      At least 25%
                                                                                   allocation
 SSTAP
 Statewide                                                                        Up to 75% of   At least 25%
 Specialized                                                                        the net       of the net
                         n.a.          95%             5%              n.a.
 Transportation                                                                    operating      operating
 Assistance                                                                          deficit         deficit
 Program



Table 3-2: Matching Ratios for Planning and Technical Assistance Grant
Programs

                          Technical Assistance                                    Operating
 Federal/State       Maximum Maximum Minimum                        Maximum
   Program            Federal    State       Local                   Federal       Maximum        Minimum
                       Share     Share       Share                    Share       State Share    Local Share
 Section
 5303/5304
 Transportation         80%            10%            10%              n.a.          n.a.           n.a.
 Development
 Plan Funding



Source of Local Match

Sources of local match can include county and city appropriations, dedicated tax
revenues, private donations, certain unrestricted Federal funds (such as a Community
Development Block Grant, as long as the transit activities are eligible for assistance
under the Community Development Program) and net income generated from the sale
of advertising space on vehicles, shelters, and other transit facilities. Fares cannot be
counted towards the local match. Fare revenue must be deducted from the total project

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cost to determine operating deficit from which the maximum Federal and State shares
are determined.

         Contract Revenues as Local Match

         Income from contracts to provide human service transportation may be used
         either to reduce net operating project cost (i.e., treated as fares) or to provide
         operating local match, even though the original source of such funds may have
         been another Federal program. Using contract revenue to reduce net operating
         project cost increases the LOTS local operating ratio (one of the performance
         indicators the MTA uses to evaluate LOTS services, as discussed later in this
         chapter under “Performance Monitoring”), while using contract revenue as local
         match reduces the need for local match from other sources.

         It is the MTA’s policy that human service contract revenue being used as local
         match must be verified at the time grant agreements are signed. You must
         provide the MTA with a copy of your written contract or agreement prior to
         signing the MTA grant agreement. In addition, you must have the cash payment
         for contract services in hand before submitting your quarterly or monthly
         reimbursement request to MTA.

         Further, operating funds from human service agency contracts to transport
         individuals, which are paid directly to the transit provider (and not included as
         farebox revenue), are not considered local match in the year in which the
         revenues were earned (but may be used as contract revenue to offset the net
         operating deficit).

         Keep in mind that contracted rates with human service agencies must
         cover the fully allocated cost of providing the service. More information on
         determining fully allocated costs is provided earlier in this chapter.

Forms of Local Match

The local match for operating grants must be provided in cash. Local match availability
is required to draw down appropriate Federal and State funds.

Section 5311(f) subrecipients may use non-subsidized miles as match for projects that
include both feeder service and an unsubsidized segment of intercity bus service to
which the feeder service connects, as described in Chapter 15 (see page 15-7).

The local match for all capital projects and technical assistance grants must be provided
in cash and must be available before the procurement process begins.

The local match for facility projects may be provided in cash or cash equivalent (such as
land value).

If cash equivalent match is used, it should be documented by a written plan, including
supporting documentation detailing how it is calculated.

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Allocating Local Share to Multiple Jurisdictions

If your local match is provided by more than one jurisdiction, it is recommended that
your CAP plan (described earlier in this chapter) address allocation of the local match to
all participating jurisdictions to determine contributions required from local jurisdictions
to cover the “local share” of transportation costs. In general, this should allocate net
costs (costs minus operating revenues). These costs include the local share of capital
items.

Sometimes it is possible to allocate costs directly (particularly for new services or
services distinct to a particular jurisdiction). If you cannot allocate costs directly,
systems often allocate costs to jurisdictions based on relative miles or hours of service
(e.g., if 20 percent of the system’s miles are in a jurisdiction, 20 percent of the costs are
allocated to that jurisdiction).

If routes or services are assigned to specific jurisdictions, you can use one of the
methods described in the above cost allocation section. This implies some control by
jurisdictions over services operated on their behalf (elected officials may feel that they
should specify the services operated in their areas because they are paying the local
share on that service).

For LOTS that receive both Section 5307 and 5311 funding, the FTA expects
subrecipients to use Section 5311 funds only to assist the rural portion of their service
area, and to develop a reasonable basis for allocating operating costs between the two
FTA funding sources related to the service provided.


NON-FARE REVENUE REQUIREMENTS

There are many opportunities for LOTS to earn revenue from outside sources. This
section speaks to revenue received as a result of using FTA/State-funded assets or
operating funds. Typical examples include, but are not limited to:

    x    Proceeds from the sale of an asset that was originally purchased with State or
         FTA funds. This applies to the sale of all FTA/State-funded equipment
         regardless of its useful life status. This also includes proceeds if an asset is
         scrapped and insurance payments are collected.
    x    Revenue/proceeds from advertising on buses.
    x    Revenue/proceeds from advertising on bus shelters.
    x    Revenue/proceeds from advertising on printed material like schedules and fare
         media.
    x    Revenue/proceeds from joint ventures such as rent that Greyhound may pay to
         sell tickets from a building funded with FTA or State funds.
    x    Insurance proceeds from damage to FTA funded property.



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Classifications of Non-Fare Revenues

Non-fare revenue funds typically fall into one of two classifications: 1) program income
or 2) capital income.

Capital income is income a subgrantee receives for the sale or disposal of any capital
asset purchased with Federal or State funds (either whole or in part). This includes
insurance proceeds for both totaled and partially damaged equipment.

Program income means gross income received by the grantee or subgrantee directly
generated by a grant supported activity, or earned only as a result of the grant
agreement during the grant period. Program income includes income from fees for
services performed, use or rental of real or personal property acquired with grant funds,
sale of advertising and concessions, social service contract revenue, and sale of
commodities or items fabricated under a grant agreement.

Recordkeeping of Non-Fare Revenues

LOTS are required to keep records of their non-fare revenues. At a minimum, the
records should include when and how much is received for a specific activity (such as
the sale of a bus) plus an accounting of what, when, and how much of these funds are
expended on future transit related assets.

Reporting Requirement for Non-Fare Revenues

LOTS are required to submit to the MTA, on a quarterly basis (with your quarterly
payment request for operating funds), a summary of activities related to non-fare
revenue. A template and illustration of the detail needed for your quarterly submissions
is provided as Attachment 3.B. LOTS may submit an alternate format for providing this
data to the MTA for approval; however, without formal written approval from the MTA,
the Non-Fare Revenue Quarterly Reporting Form in Attachment 3.B must be used.

Use of Program Income

Program income may be used to buy down the net operating cost of services delivered
during the period in which it is earned. In this case, it would be treated the same as fare
revenue, if it is identified as a separate line item on your budget and/or payment request
form.

Program income may also be used as local match in future grants. The important
nuance here is the program income cannot be used as local match for grants which are
open during the time in which the income is earned. If you plan to use program income
as local match in future grants, you must treat it as non-fare revenue throughout the
year you earn the revenue.




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Use of Capital Income

Capital income (proceeds from the sale of transit assets) may be retained by the LOTS
under certain conditions (see discussion on “Property and Equipment Disposition” in
Chapter 10). LOTS are required to use these funds in whole or in part to reduce the
gross project cost of subsequent Federally-assisted public transportation capital
projects. This means the proceeds CANNOT be used as local match in future MTA/FTA
grants and cannot be used to offset the operating budget. This income can be used in
the year it was earned. Capital income over $5,000 must undergo further review by the
MTA.


FORCE ACCOUNT PLAN

Work performed by a LOTS’ own work force (employees) on projects funded by an FTA
capital grant (e.g., construction activities) is considered “force account” work. Labor
costs charged against a grant for general oversight and administrative activities do not
trigger the need for a force account.

If the LOTS employees are used in the execution of a capital grant project of at least
$100,000, the LOTS may be required to submit a force account plan to the MTA. The
need to develop a force account is triggered by both the amount of funds used to pay
for the labor of the LOTS employees and the total value of the grant. If the cost of force
account work is $100,000 or more, you will need to address the force account issue. If
you have a grant of $100,000 or more and do not anticipate charging $100,000 (or
more) in direct labor cost, you may be required to submit documentation affirming this
fact. If you have a grant of $100,000 or more and propose a budget for the grant
showing $100,000 or more in direct labor costs, you will be required to develop and
submit a force account for MTA approval PRIOR to any work or expenses being
charged against the grant. Note: a force account plan is not required by the FTA for
maintenance work performed by a LOTS’ employees for a capitalized PM grant.

The force account plan needs to include a cost/benefit analysis and justification for use
of the LOTS employees rather than contracting out for the service. The analysis needs
to demonstrate that it is more cost-effective to do the work in-house. The force account
plan must be updated annually during the life of the applicable grant.

A force account must contain four key elements:

    1. Clearly state the grant number and value of the grant.

    2. A line item budget showing fully loaded labor rates and other components of the
       project.

    3. A written narrative demonstrating/justifying the need to use internal work force.
       Generally, there are four conditions that may exist that warrant the use of internal
       labor forces:


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         x    Cost savings
         x    Exclusive expertise
         x    Safety and efficiency of operations
         x    Union agreements.

         Your narrative must document the validity of your rational.

    4. A written description of the specific work activities that will be conducted.

Before you begin work on developing a force account, you are encouraged to contact
your MTA Regional Planner to ensure your work will satisfy the Federal requirements.


REIMBURSEMENT PROCESS

All MTA-administered grants are issued to subgrantees on a reimbursement
basis. Costs must be incurred before payment is made. All costs charged to MTA-
assisted projects must be supported by properly executed payrolls, time records,
invoices, contracts, or vouchers evidencing in detail the nature and propriety of the
charges.

    x    Operating assistance funds will be paid by the MTA for time periods that are no
         less than one month and no greater than three months in length. This means
         your agency’s Requests for Payment must be submitted quarterly, bimonthly, or
         monthly, no more than 30 days after the billing period. See Attachment 3.C for a
         sample Operating Assistance Request for Payment. Requests for Payment will
         only be approved if submitted on time and accompanied by a completed
         Operating Budget Summary and Service Performance Summary (Forms B-2 and
         2a (including electronic version), Title VI Log, EEO Log, Charter Log, and Non-
         Fare Revenue Log, discussed in the next section).

    x    For a capital reimbursement, the LOTS must submit copies of all supporting
         documentation for purchases, including original invoices, and, for any purchase
         over $1,000, a copy of the concurrence letter that was received from the MTA
         Regional Planner. See Attachment 3.D for a sample Capital Assistance Request
         for Payment.

Once the MTA has received and approved the Request for Payment and accompanying
statements, it generally takes 30 business days for the reimbursement to be generated.


REPORTING REQUIREMENTS

Financial and Operating Data

All LOTS must submit financial and operating data to their MTA Regional Planner on a
quarterly basis using two specific forms:


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    x    Form B-2: Operating Budget Summary (Attachment 3.A)

    x    Form 2a: Service Performance Summary – Using the appropriate form for the
         type of LOTS:
            o Small Urban (Attachment 3.E.1)
            o Large Urban (Attachment 3.E.2)
            o Rural (Attachment 3.E.3)

         If you are unsure which Form 2a to use, contact your Regional Planner.

These forms must be submitted as backup documentation with each Request for
Payment, in print copy. Form 2a is required to be emailed as well. Data on all MTA
grant programs, with the exception of Section 5310, must be provided on these forms.
Note that these forms correspond to forms with the same numbers and titles in the
annual grant application (ATP). To obtain the most current forms as an Excel
spreadsheet, consult the latest ATP package in ProjectWise.

Form B-2: Operating Budget Summary

The quarterly Operating Budget Summary (Attachment 3.A) provides a detailed
breakdown of the costs and funding associated with the Request for Payment.

    x    Each column must be completed if applicable to your transit system.

    x    The totals in these columns must match the totals on the Operating Request for
         Payment (Attachment 3.C) which Form 2a (Attachment 3.E.1, .2, or .3)
         accompanies as back-up documentation.

    x    Follow the instructions in the ATP package and your grant agreement for
         completing this form.

    x    Report eligible operating expenses according to line item.

    x    Attach footnotes as needed to provide additional explanation where expenses
         may not be self-explanatory.

Ineligible expenses are expenses relating to the transportation program that are not
directly related to the daily operations of the program. Examples of ineligible expenses
include expenses of a city council in considering transit matters; charitable contributions
and donations; entertainment expenses; fines and penalties; interest expenses on
loans; and depreciation accrued on facilities or equipment purchased with Federal
and/or State grants.

Indicate all sources of local match funding.




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Form 2a: Service Performance Summary

The quarterly Service Performance Summary (Attachment 3.E.1, .2, or .3) is intended to
report basic operating information on the services provided for the quarter, and based
on these data, performance indicators are required. These performance indicators will
be calculated automatically, if you use the electronic version of the form that is provided
by the MTA. It is important to use the appropriate form for your type of LOTS (small
urban, large urban, or rural) because the range of “acceptable” performance measures
is different for each type.

         Operating Data

         Definitions for the operating data required for the Service Performance Summary
         include:

         x    Total passenger trips -Each passenger boarding, including transfer
              boardings, is counted as one passenger trip,
         x    Total service miles - Calculated as miles from driver pull-out to driver pull-in,
              including deadhead mileage—data should be available from driver trip sheets
              and/or maintenance records,
         x    Total service hours - Calculated as the time from driver pull-out to driver
              pull-in, including deadhead time—data should be available from driver trip
              sheets),
         x    Total operating costs - Including administrative and maintenance costs),
         x    Total farebox receipts - Includes all cash and electronic fares, all proceeds
              from sale of paper or electronic fare media, discounts, tokens),
         x    Other local operating revenue - Including contract revenues, fare subsidies
              from local organizations, and local government support or contributions), and
         x    Advertising revenue -Any revenue earned from displaying advertising on
              your buses or in/on your shelters.

         For Large Urban and Sections 5307 and 5311 services, report all information
         based on the service type (fixed-route, deviated fixed-route, or demand-
         response). Provide a name for each route and indicate whether the route is
         fixed-route, deviated fixed-route, or demand-response. The number of ADA
         passengers should be reported as a sum total. Count each trip, mile, hour, and
         dollar in only one program/route within the categories indicated. Performance
         measures will be calculated automatically. MTA performance standards are
         found in Attachment 3.F. An explanation of what each performance measure
         indicates is found in Appendix G. If you have any questions, contact your
         Regional Planner.

         For LOTS that receive Section 5311 funds, the MTA submits rural data into
         National Transit Database (NTD). LOTS that receive Section 5307 funds must


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         also collect and submit annual data for the urban NTD program, which is
         described later in this chapter.

         Safety data is required to be reported at the bottom of the Service Performance
         Summary form (ATP Form 2a large urban, small urban or rural Attachments
         3.E.1, .2, or .3) for the Rural NTD. Required data on safety includes the number
         of fatalities, major incidents, and injuries. For purposes of this data reporting, the
         definitions for these three data elements are:

              x    Fatalities – A death or suicide confirmed within 30 days of a reported
                   incident. Does not include deaths in or on transit property that are a result
                   of illness or other natural causes.

              x    Reportable event – A safety or security event occurring on transit
                   property or involving a transit revenue vehicle that results in one or more
                   of the following conditions:
                       o A fatality confirmed within 30 days of the incident,
                       o An injury requiring immediate medical attention away from the
                         scene for one or more persons,
                       o Property damage equal to or exceeding $25,000,
                       o An evacuation for life safety, and/or
                       o Collision involving a transit revenue vehicle that requires towing
                         away the transit vehicle or other non-transit vehicle.

              x    Injury – Any physical damage or harm to individuals as a result of an
                   incident that requires immediate medical attention away from the scene.

              Note that fatalities or reportable events, as defined above, must be reported
              to MTA as soon as possible after the occurrence.

              Rural NTD data on vehicle fleet size is reported annually as part of the ATP.

              Performance Indicators and Performance Monitoring

              As indicated above, the performance indicators are calculated on the Service
              Performance Summary form (2a – Small Urban, Large Urban, or Rural) which
              is submitted to MTA monthly, bimonthly, or quarterly. The performance
              indicators are used by the MTA in its performance monitoring program to
              meet several objectives:

                   x   To ensure that resources are being used wisely, so that services are
                       operated efficiently;

                   x   To meet reporting requirements established through Federal and State
                       mandates;

                   x   To identify how well services are being provided to transit riders; and

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                   x   To obtain accurate information about services to support actions
                       designed to improve performance.

              MTA standards for the performance indicators are provided as Attachment
              3.F. The MTA uses these standards in its review of each of the LOTS
              services. The performance indicators can also be used by the LOTS to
              review performance of the services operated under the various grant
              programs. Guidelines for interpreting the indicators as well as possible
              actions that might be considered to improve performance on the indicators
              are provided in Appendix G.

         National Transit Database Requirements

         Section 5307 recipients must submit an annual NTD report to the FTA. This
         report requires the submission of extensive financial, capital, and operations
         data. In addition, monthly reports must be submitted to the FTA by most Section
         5307 recipients on the number of unlinked passenger trips, passenger miles
         traveled, vehicle revenue miles, vehicle revenue hours, vehicles operated in
         maximum service, and regular service days for each month.

         A transit agency that operates no more than 30 vehicles in maximum service
         (across both directly operated and purchased service and demand-response as
         well as fixed-route service), and does not operate fixed guideway service, can
         apply for a Small Systems Waiver from the FTA . The Small Systems Waiver
         significantly reduces the NTD reporting requirements.

         Each year, the FTA publishes an NTD reporting manual and conducts NTD
         seminars to train local transit agencies in how to compile and report the data,
         highlighting the changes made to the previous year’s reporting requirements.

         Section 5307-funded systems that do not qualify for the Small Systems Waiver
         are required to periodically collect passenger miles data, either through a 100
         percent count if available and reliable, or through a statistically valid random
         sample.

              x    Section 5307 systems that directly operate at least 100 vehicles in areas
                   with populations of 500,000 or greater must collect passenger miles data
                   annually.

              x    Passenger miles data must be collected every three years by other
                   Section 5307 systems (i.e., those that operate fewer than 100 vehicles,
                   serve areas with populations under 500,000, or that contract for
                   operations). Most Section 5307 LOTS operate fewer than 100 vehicles
                   and therefore must collect passenger miles data every third year, with
                   2017 and 2020 as the next mandatory year.

         The FTA publishes the compiled NTD, including information on an individual
         system level, on an annual basis for public use. Timely submission of complete

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         and accurate reports are not only required for continued Section 5307 funding,
         they will ensure that your agency is accurately represented in the national
         database.

         More information about the NTD, including the most recent NTD Reporting
         Manual, data reports from previous years and information on the NTD seminars
         can be found on the FTA website at https://www.transit.dot.gov/ntd.


BUDGET MONITORING AND ADJUSTMENTS

Periodically during your budget year (at least quarterly, preferably monthly), you should
check actual expenditures against budgeted expenditures (with annual amounts pro-
rated according to the number of months into the year, and considering the number of
operating days in each month). By doing this on a frequent basis, you will identify costs
that exceed budgeted amounts early enough to prevent a financial crisis later in the
year, and ensure continuation of service levels throughout the year. If costs in one area
are higher than budgeted and cannot be reduced without cutting services (for example,
fuel and oil due to rising market prices), you may be able to reduce expenditures in
other less critical areas (such as travel to conferences) to make up the difference. If the
difference cannot be made up in this way, you will need to find additional funding
sources or may need to reduce the amount of service you provide (with corresponding
reductions in staff size). This technique should also be applied at the end of the fiscal
year. This analysis should provide a basis for developing your budget for the next year.


PERFORMANCE MONITORING

MTA Reports

The MTA compiles the information each LOTS reports on their operating and financial
reports and prepares its own reports for performance monitoring of LOTS systems,
Guidelines for interpreting the indicators as well as possible actions that might be
considered to improve performance on the indicators are provided in Appendix G. Your
MTA Regional Planner can help you interpret the performance measures for your
agency and show you how to use them to evaluate services and monitor performance
on an on-going basis.

Internal/Local Performance Monitoring

In addition to the MTA reports described above, your agency should track performance
in other areas, such as customer satisfaction, reliability, safety, and efficiency and
effectiveness of specific routes.     Resources with guidance on developing and
understanding transit-specific performance measures are provided at the end of this
chapter under Additional Resources.




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AUDITS

LOTS agencies must have an annual audit conducted by an independent auditor and
submitted to the MTA Office of Local Transit Support (OLTS). You must arrange to
have a copy of your audit report sent annually to the MTA.

All independent single audits (previously A-133 audits) need to be registered in the
Federal Audit Clearinghouse, an electronic clearinghouse operated on behalf of the
Office of Management and Budget (https://harvester.census.gov/facweb/).                The
deadline for this submission is either 30 days after receipt of the auditor’s report(s), or
nine months after the end of the LOTS fiscal year end date, whichever comes first.

Organizations that spend $750,000 or more in Federal grant awards in a single fiscal
year must conduct their annual audit in accordance with the Federal single audit
requirements under 2 CFR Part 200, “Uniform Administrative Requirements, Cost
Principles, and Audit Requirements for Federal Awards,” Subpart F—Audit
Requirements. Often referred to as the “Super Circular,” 2 CFR Part 200 superseded
former OMB Circulars A-122 and A-133 as of December 26, 2014. Subpart F—Audit
Requirements can be found online here: http://www.ecfr.gov/cgi-bin/text-
idx?SID=baf3bba1aab1f70d0c92dcef95b283bf&mc=true&node=sp2.1.200.f&rgn=div6\

In determining whether your organization meets the $750,000 threshold, Federal grant
awards from any Federal program, not just the FTA, count toward the threshold. Also,
items purchased by the State for a subrecipient (e.g., Section 5310-funded vehicles)
count towards the Federal threshold. However, the FTA does not require a Federally-
compliant audit of a subrecipient when assistance is provided solely in the form of
capital equipment procured directly by the State (although your other Federal funding
sources may require it).

The MTA will notify LOTS annually of their independent single audit submittal
requirements. If there are any audit findings, especially transit-related, the LOTS must
resolve the finding(s) within 60 days of their receipt of the audit report. The MTA will
follow-up with the LOTS to address the audit findings as part of the quarterly review
process or through a finding specific scheduled meeting if the findings warrant such a
level of review.


GRANT CLOSEOUT

Carry Over of Unexpended Funds

LOTS may not carry over unobligated funds under any of the other MTA-administered
grant programs. A grant that has been inactive for a minimum of six months is a good
candidate for closeout and subject to MTA deobligation of funds. MTA allocates all
unexpended funds to other agencies.




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Grant Closeouts

For MTA OLTS purposes, there are two grant closeout processes:

    1. When the MTA closes out the grant with the LOTS (which in the eyes of the FTA
       is the subgrantee), and

    2. When the MTA closes out the grant with the FTA.

The process outlined in this manual only speaks to the MTA-subgrantee (LOTS)
relationship. An MTA/FTA grant may contain multiple projects that result in several
different subgrantee awards. MTA/FTA grant closeout cannot occur until all projects are
completed. Thus, an MTA-LOTS grant may be closed between the OLTS and LOTS
and at the same time be considered “open” in context of the MTA-FTA relationship. The
management and close out of the MTA/FTA grants is the responsibility of MTA Capital
Programming and should not impact the OLTS’ grant closeout process with
subgrantees.

All grants should be closed out on a timely basis. The MTA will initiate closeout of
grants within 60 days after all funds are expended and/or all work activities for the
project are completed. Remember, you must keep all records related to your
operating grants for a minimum of three years after its closeout (this includes
time sheets). Closing out your grants as early as possible minimizes your document
storage needs.

Closeout Procedures for Operating Projects

Operating grants are issued for a fixed length of time, typically July 1 through June 30.
Within 60 to 90 days (depending on grant language) of the end of the grant period
(typically September 1), subrecipients must submit final payment requests and
supporting documentation. Failure to meet this deadline may result in your payment
request NOT being honored. Once a final payment request is received, the MTA will
initiate grant closeout. The MTA will send a Final Operating Budget Statement (see
Attachment 3.G) with a grant closeout letter (see Attachment 3.H). The subrecipient is
responsible for reporting any disagreements with the information on this statement
within 30 days of its issuance; otherwise, concurrence will be assumed. Once a grant
has been closed out, the MTA will not honor additional payment requests that charge
costs against that grant or line item which has been closed out.

Closeout Procedures for Capital Projects

After the capital item(s), for which the grant was awarded, are procured, and the
subrecipient has been reimbursed for the capital expense, the MTA will initiate grant
closeout. As part of their continuous and ongoing oversight of each subgrantee’s
progress in implementing grant-funded projects, the MTA Regional Planner will monitor
when a specific grant project is nearing completion. If you are in the final phases of a
project and are requesting concurrence to make a final purchase, which will complete
the project, you should state this fact in your concurrence request.

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Once your MTA Regional Planner is made aware that you are in your final phases or
have in fact already completed the project, they will initiate grant closeout. If
concurrence has not been issued on final purchases, your concurrence letter will
identify the purchase in question as the final purchase for which grant reimbursement
payments will be honored by the MTA. If the MTA Regional Planner becomes aware
that a project is nearing completion after the final concurrence letter is issued, the
Regional Planner will develop a formal letter to the grantee indicating that the MTA will
not honor further payment requests related to a specific grant and that the grant is
closed (see Attachment 3.I).

Once you have been notified that a grant is closed, the MTA will not honor additional
payment requests related to that specific project or purchase. Funds awarded to LOTS
for capital items are directly linked to the specific capital items for which the award was
made, and may not be used to purchase additional items. Once the items for which the
grant was awarded have been purchased, any remaining funds in the grant revert to the
MTA to be reallocated to other LOTS projects.




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ADDITIONAL RESOURCES

Maryland State Management Plans for the Section 5311 and Section 5339 programs -
available through MTA as well as through the TAM website - http://taminc.org/Office-of-
Local-Transit-Support

The “Super Circular,” 2 CFR Part 200, “Uniform Administrative Requirements, Cost
Principles, and Audit Requirements for Federal Awards,”- http://www.ecfr.gov/cgi-
bin/text-idx?tpl=/ecfrbrowse/Title02/2cfr200_main_02.tpl

Uniform System of Accounts - https://www.transit.dot.gov/ntd/uniform-system-
accounts-usoa

FTA Circular C 5010.1D, “Grant Management Requirements,” last updated Aug. 2012
(Note: this circular is currently being updated to incorporate changes established under
the “Super Circular”) - https://www.transit.dot.gov/regulations-and-guidance/fta-
circulars/grant-management-requirements

Comprehensive Financial Management Guidelines for Rural and Small Urban
Public Transportation Providers, prepared for the North Carolina DOT, American
Association of State Highway and Transportation Officials (AASHTO) Multi-State
Technical Assistance Project (MTAP), and U.S. DOT/FTA (September 1992).
Downloadable through the State Library of North Carolina Digital Collections -
http://digital.ncdcr.gov/cdm/ref/collection/p16062coll9/id/119548

Fundamental Financial Management Training for Rural Transit Agencies, prepared
for the National RTAP, AASHTO/MTAP, and U.S. DOT/FTA (2006) -
http://demopro.nationalrtap.org/emailResource.aspx?design=1&fileid=191

National Transit Database website - https://www.transit.dot.gov/ntd

Performance measurement and analysis resources from the Transit Cooperative
Research Program (TCRP) and other resources are available through
http://tcrponline.org

         x    TCRP Report 54: Management Toolkit for Rural and Small Urban
              Transportation Systems
         x    TCRP Report 124: Guidebook for Measuring, Assessing, and Improving
              Performance of Demand-Response Transportation
         x    TCRP Report 136: Guidebook for Rural Demand-Response Transportation:
              Measuring, Assessing, and Improving Performance
         x    TCRP Report 165: Transit Capacity and Quality of Service Manual, 3rd
              Edition

Guidance for Transit Financial Plans, Federal Transit Administration -
https://www.transit.dot.gov/funding/funding-finance-resources/guidance-transit-financial-
plans


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                             CHAPTER 3: SUMMARY CHECKLIST
   Establish sound accounting practices that allow for accurate allocation of expenses
    among grants.
   Maintain all financial records that support each grant, including allocation of costs,
    for a minimum of three years after closeout of the grant.
   Develop an annual expense-based budget and adjust based on grant awards.
   Allocate costs among grants and services using a cost allocation plan that has been
    approved by the MTA, and update the plan as required.
   Obtain approval from the cognizant Federal agency of your overhead rate before
    charging any overhead (indirect or shared administrative) costs to a grant.
   Ensure that adequate local cash match is available for all grants for which you apply.
   Keep required records on and report transactions related to non-fare revenues on a
    quarterly basis.
   Apply proceeds from sale of grant-funded transit assets toward capital expenses, but
    not as local match.
   Develop and submit a force account plan for work performed by your employees on
    projects funded by an FTA capital grant.
   Submit Requests for Payment for expenses incurred to the MTA on a monthly or
    quarterly basis within 30 days of the end of the month/quarter.
   Submit Forms 2a, B-2, Title VI, EEO Log, Charter Log, and Non-Fare Revenue Log
    to support each quarterly Request for Payment.
   Collect daily operating data needed to complete the quarterly Service Performance
    Summary (Form 2a) including rural NTD data.
   Submit annual urban NTD reports (Section 5307 recipients only).
   Monitor budget at least quarterly and adjust as needed; reconcile at the end of the
    year.
   Monitor your system’s performance including financial and operating statistics,
    customer satisfaction, reliability, and safety.
   Have an annual audit conducted by an independent auditor; submit results to the
    MTA. If you spend at least $750,000 in Federal funding in a single fiscal year, the
    audit must comply with Federal single audit requirements under 2 CFR Part 200.
   Close out grants within 60 to 90 days (depending on grant language) after all funds
    are expended and no more than three years after the original grant year.



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4          PROCUREMENT AND CONTRACTING

This chapter summarizes the State and Federal requirements pertaining to
procurement and contracting, including procurement practices and the
clauses that must be included depending upon the type of contract involved.
The chapter is divided into the following major sections:

     x    Introduction
     x    General Procurement Requirements
     x    Federal and State Competitive Procurement Practices/Methods
     x    Alternative Approaches
     x    Providing for Full and Open Competition
     x    Requirements Pertaining to Vehicle and Equipment Purchases
     x    Requirements Pertaining to Other Types of Purchases
     x    Requirements Pertaining to Revenue Contracts
     x    Disadvantaged Business Enterprise (DBE)
     x    Contracting
     x    Additional Resources
     x    Summary Checklist

It is important to emphasize that this chapter is not an all-inclusive reference
on Federal and State procurement and contracting requirements. The
Federal requirements are extensive, and FTA has prepared detailed guidance
on these requirements. LOTS are advised to review FTA Circular 4220,
“Third Party Contracting Guidance,” carefully. This circular is updated
periodically; at the time of preparing this manual, the most recent version is
C-4220.1F, issued November 1, 2008, as revised through March 13, 2013.
Additional resources include the FTA Best Practices Procurement Manual
and the National Transit Institute’s series of courses on FTA procurement
requirements. Web addresses for information on these courses, FTA
requirements, and additional references are listed at the end of this chapter.

All LOTS must consult with their MTA Regional Planner for any FTA- and/or
MTA-funded purchases exceeding $1,000 for purchases funded by capital
grants and $3,500 for purchases funded by operating grants.




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INTRODUCTION

Federal and State requirements related to purchasing, procurement, and third-party
contracting are intended to ensure that contracts that make use of Federal and State
funds:

    x    Are consistently managed following locally established procedures that ensure
         compliance with State and Federal procurement requirements,
    x    Are not awarded to fraudulent, debarred, or technically unqualified vendors,
    x    Are cost-efficient and price consistent with the current market,
    x    Provide qualified vendors a fair opportunity to obtain contracted work through full
         and open competition (without local geographic preference),
    x    Do not discriminate against businesses owned by individuals of racial or ethnic
         minorities or women (i.e., comply with DBE requirements),
    x    Make preference for materials manufactured in the U.S. (i.e., complying with Buy
         America requirements), as applicable, and
    x    Include contract clauses that require contractors to comply with applicable
         Federal and State requirements.

As part of the annual grant application process, each LOTS certifies that its
procurements and procurement system will comply with all applicable requirements
imposed by Federal laws, executive orders, or regulations and the requirements of FTA
Circular 4220.1F, “Third Party Contracting Guidance.” This circular lays out the Federal
requirements for selecting vendors to provide goods and services funded by FTA
programs and outlines requirements for third-party contracting, including inclusion of
contract clauses that address compliance with numerous pass-through requirements.

Applicants must certify that they will not discriminate on the basis of race, color, national
origin, or sex in awarding contracts and sub-agreements supported by U.S. DOT funds,
and will comply with DOT regulations, “Participation by Disadvantaged Business
Enterprises in Department of Transportation Financial Assistance Programs,” 49 CFR
Part 26. DBE requirements are nondiscrimination requirements that apply to
procurements made using Federal funds, and thus they are addressed briefly in this
chapter along with the FTA procurement requirements, and in-depth in Chapter 13 -
Nondiscrimination.


GENERAL PROCUREMENT REQUIREMENTS

MTA Concurrence

The MTA must concur with the LOTS solicitation documents prior to the initiation of the
procurement process for all items or services purchased with operating, capital and
technical assistance funds, as well as for all items purchased through small purchase,

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sealed bids, competitive proposal, competitive negotiation, or noncompetitive
negotiation. This includes approval of bid specifications for vehicles and equipment.

The MTA must also concur in writing with the recommendation for award prior to the
execution of a local contract or purchase order valued more than:

    x    $1,000 if capital grant funds are involved, or

    x    $3,500 if operating grant funds are involved.

Should you fail to seek MTA’s concurrence as described above, the MTA may not
reimburse you for your procurement or may require you to re-procure the goods
or services.

Procurement Responsibility


                          IMPORTANT: All local procurement activities are
                           the responsibility of the local LOTS recipients.

All local procurement activities are the responsibility of the local LOTS recipients.
Furthermore,

    x    The LOTS are responsible for complying with Federal, State and local
         requirements.

    x    The LOTS must have written procurement procedures and must follow their
         procedures.

Because of the scope and complexity of Federal and State procurement requirements,
all LOTS are strongly urged to consult with their Regional Planner for guidance before
engaging in any procurement activities that make use of Federal and/or State funds.
However, the responsibilities for procurement and compliance remain with the
LOTS.     MTA concurrence indicates that, to the best of MTA’s knowledge, a
procurement process is compliant with State and Federal requirements. However, final
and ultimate responsibility for ensuring a procurement is done in a manner that is FTA-
and State-compliant rests with the LOTS.

Conformance with State and Local Law

The MTA requires that each LOTS have their own written procurement procedures as
part of the organization’s general business practices. If the LOTS is part of city or
county government, these procedures have likely been established as part of local laws
or policies, and there is a purchasing department within the government. Where
Federal and/or State procurements do not apply, the LOTS must follow their locally-
established procurement requirements for any purchase they make.


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The LOTS should use their own procurement procedures that reflect applicable State
and local laws and regulations, provided that the procedures conform to FTA Circular
4220.1F. If there is no local regulation on a Federally-required aspect of procurement,
then Federal contract law principles will apply. For any Federally-funded procurement,
if there is a conflict between a local procurement law/policy and any Federal
procurement requirement, then the Federal procurement requirement will apply. The
LOTS is responsible for ensuring compliance with all Federal, State and local
procurement requirements.

Use of Local Procurement Procedures

The LOTS may use the procurement procedures of their jurisdiction as long as they
conform to the minimum standards prescribed by the FTA and MTA, which are
summarized in this chapter. In addition, the local recipient must maintain a contract
administration system that ensures all procurements funded wholly or in part with MTA
and FTA funds are done in accordance with State and Federal regulations.

The LOTS should follow the appropriate checklist of required steps involved in the
procurement process located at the end of this chapter:

    x    Checklist for Competitive (Large) Procurements for projects exceeding State or
         local small procurement threshold (Attachment 4.A), or
    x    Checklist for Small Procurements for projects below State Category I, II, or III or
         local procurement threshold (Attachment 4.B).

The current State small procurement threshold is $25,000. If the local threshold is lower
than the State, this should be indicated in the LOTS written procurement policy and the
LOTS should use the local threshold for determining when a formal competitive
procurement is needed. However, all LOTS are reminded that MTA concurrence to
award is required before the LOTS can award any purchase contract or purchase order
valued more than $1,000 for capital purchases or $3,500 for operating purchases.

Written Employee/Organizational Standards of Conduct

As part of their written procurement policies, the LOTS must maintain a written code of
standards of conduct governing the performance of their employees engaged in the
award and administration of contracts. These standards must prohibit employee conflict
of interest in the selection, award, or administration of a contract supported with FTA
assistance, the acceptance of gifts, gratuities, favors, or anything of monetary value
from contractors or subcontractors, and provide for disciplinary action for violation of
such standards. A sample of an employee code of ethics/conduct is provided as
Attachment 4.C.

As part of their written procurement policies, the LOTS are also required to have a
written code of conduct to mitigate potential organizational conflicts of interest. The
FTA expects subrecipients to evaluate potential organizational conflicts of interest as


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early in the procurement process as possible and to avoid, neutralize, or mitigate any
potential conflicts found before contract award.

An organizational conflict of interest occurs when any of the following circumstances
arise:

       x   Lack of impartiality or impaired objectivity – When the potential contractor is
           unable, or potentially unable, to provide impartial and objective assistance or
           advice to the LOTS due to other activities, relationships, contracts or
           circumstances it has with the LOTS.

       x   Unequal access to information – Where the potential contractor has an unfair
           competitive advantage through obtaining access to nonpublic information during
           the performance of an earlier contract with the LOTS.

       x   Biased ground rules – When during the conduct of an earlier procurement, the
           potential contractor has established the ground rules for a future procurement by
           developing specifications, evaluation factors, or similar documents.

LOTS would likely want to address organizational conflicts of interest as part of their
rationale for procurement (see page 4-6) rather than waiting to receive bids which could
be rejected for any of the reasons above. The FTA takes very seriously the requirement
to avoid conflicts of interest in conducting procurements and awarding FTA-funded
contracts, and any form of fraud can be prosecuted as a criminal act.

E-Commerce/Procurement Solicitation

The LOTS are required to conduct open and public solicitation of Federally/State-funded
procurements.       E-Commerce is an allowable means to conduct procurement
solicitations. If a subrecipient chooses to utilize E-Commerce, written procedures need
to be developed and in place prior to solicitation, and all requirements for full and open
competition must be met in accordance with FTA Circular 4220.1F. The MTA
encourages this method of solicitation. Other public solicitation requirements are
enumerated later in this chapter under “Large Procurements.”

The State of Maryland administers an online procurement system called eMaryland
Marketplace. MTA-funded LOTS procurements exceeding $15,000 (Category III small
procurements1 and large procurements) must be advertised through eMaryland
Marketplace as described later in this chapter. Smaller procurements (Categories I and
II) are not required to be solicited through eMaryland Marketplace, although the MTA
recommends this.




1
    Category I, II, and III small procurements are explained later in this chapter under “Small Procurements.”

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Subrecipient Self-Certification

As part of the Annual Certification/Assurances, all LOTS subrecipients must "self-
certify" that their procurement system meets FTA requirements and that the
subrecipient has the technical capacity to comply with Federal procurement
requirements. The MTA will monitor compliance with FTA and State procurement
requirements as part of the triennial and LOTS compliance reviews (described in
Chapter 3), as well as other monitoring activities. If the MTA becomes aware of
circumstances that might invalidate a subrecipient's self-certification, MTA will
investigate and recommend appropriate measures to correct whatever deficiency may
exist.

Written Record of Procurement History

The LOTS must maintain records detailing the history of each procurement, and these
should be kept in a procurement file for a minimum of three years after the FTA/ State
grant that funded the purchase is closed out. At a minimum, such records must include:

    For all procurements, regardless of value:
    x    Independent cost estimate (ICE),
    x    Rationale for method of procurement,
    x    Documentation of solicitation/outreach efforts,
    x    Documentation of price/cost analysis, and
    x    Documentation of award decision and contract/purchase order.

    For each procurement valued more than $3,500 (operating) and $1,000 (capital):
    x    Debarment certification/ System for Award Management (SAM) search,
    x    Documentation of responsibility determination,
    x    Documentation of written solicitation documents (up to $15,000 can be oral
         and/or written),
    x    Documentation of vendor’s responses to solicitation,
    x    Documentation of written solicitation amendments, addendums, or contract
         changes, and
    x    DBE goal evaluation/analysis (see Chapter 13 - should be performed for all
         procurements (micro-purchases2 or higher) but must be performed for any
         procurement over $25,000).




2
 Micro-purchase and small procurements are explained later in this chapter under “Small Procurements.” The
Federal micro-purchase threshold is currently $3,500.

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Ensuring Most Efficient and Economic Purchase – Rationale for Procurement

The LOTS procedures must provide for a review of proposed procurements to avoid the
purchase of unnecessary or duplicative items. Consideration should be given to
consolidating or breaking out procurements to obtain a more economical purchase.
Keep in mind, however, that it is prohibited to subdivide projects simply to avoid
requirements that kick in above the micro-purchase threshold.

An adequate procurement system usually restricts the authority to initiate purchases to
relatively few individuals. Also, all purchase requests typically would be reviewed
and/or approved by one person, designated as the purchasing agent for a given
department, in the case of large subrecipients, or for the entire organization, in the case
of small subrecipients. The value of a purchase may determine the procedures that the
subrecipient follows. The level of scrutiny would be expected to increase with the dollar
value of the purchase. To ensure a LOTS is reviewing a proposed procurement to
avoid unnecessary or duplicative purchases, the MTA requires submittal of a rationale
for procurement which states the need(s) for the procurement, who is authorized to
initiate and finalize/approve the procurement, and why the method of procurement was
selected. The LOTS may incorporate/submit their rationale for procurement as part of
the required Independent Cost Estimate discussed below.

Independent Cost Estimate (ICE)

A required first step in any procurement is to prepare an ICE which is:

    x    Necessary to determine the approximate cost of the project (which will determine
         whether the project will exceed the thresholds for MTA concurrence, micro-
         purchases, eMaryland Marketplace advertising, small procurements, etc.),
    x    An important step in developing a project’s specifications, and
    x    Needed to determine if the LOTS has enough resources to conduct the project.
         In fact, the MTA expects the LOTS to prepare an ICE as a basis for each grant
         request.

ICE documentation must be maintained as part of the written record for every
procurement regardless of amount. A sample ICE documentation form is provided as
Attachment 4.D. The FTA Best Practices Procurement Manual provides guidance on
how          to          prepare         and         document          an       ICE.
(https://www.transit.dot.gov/funding/procurement/best-practices-procurement-manual).

If, based on the ICE, the LOTS determines that the project falls slightly under either the
micro-purchase or small purchase limits, it is recommended that the LOTS “round up”
and follow the more rigorous procurement method, to avoid the risk of having to do a
second procurement, in case all the offers received exceed either threshold.




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Cost or Price Analysis for Every Procurement Action

The LOTS must perform a price or cost analysis in connection with every procurement
action, after receiving bids/offers but before awarding a contract or purchase. The
method and degree of analysis is dependent on the facts surrounding the procurement
situation. The LOTS must consider the following:

    x    In most procurements, a price analysis will be performed by the LOTS to
         determine the reasonableness of the proposed contract price. Where price is the
         main or sole determinant of a procurement action, the LOTS will conduct a price
         analysis of the proposals received and select the lowest cost proposal.
    x    A cost analysis is required under the following three circumstances:
         procurements which require that offerors submit detailed elements of direct and
         indirect costs; procurements where adequate price competition is lacking; and/or
         sole-source procurements.

The LOTS will be required to perform a price or cost analysis prior to award of any
procurement. Such analysis must also be performed for the entire contract, including
any options. LOTS must also conduct a price/cost analysis before exercising any
options contained in the contract. Procurement actions specifically requiring a cost or
price analysis include:

         1. Independent Cost Estimate - An ICE must be prepared as an initial step in the
            process. This includes procurements that are ultimately piggybacked onto
            another organization’s procurement.
         2. Evaluating Options - The value of options must be considered as part of the
            total award immediately prior to making the award.
         3. Evaluating Offers - A fair and reasonable price/cost analysis must be
            conducted immediately prior to making the award.
         4. Exercising Options - A fair and reasonable price/cost analysis must be
            conducted prior to exercising options.
         5. Change Orders - A fair and reasonable price/cost analysis must be conducted
            prior to making any changes to the contract.

The FTA “Pricing Guide for FTA Grantees” provides detailed guidance on conducting
price and cost analyses. This resource can be downloaded from the following page on
the FTA website at:         https://www.transit.dot.gov/funding/procurement/third-party-
procurement/pricing-guide-fta-grantees.

Awards to Responsible Contractors

For any procurement beyond a micro-purchase, and especially for large procurements,
the LOTS may make awards only to responsible contractors possessing the ability,
willingness, and integrity to perform successfully under the terms and conditions of a
proposed procurement. This responsibility determination must be made prior to

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contract award. The LOTS has a responsibility to validate that the contractor is in fact a
responsible contractor and that their responsibility determination is contained in their
procurement file. Depending on the size and terms of the procurement, the LOTS will
need to consider responsibility factors such as:

    x    Does the contractor have the technical capacity to conduct the project? Factors
         to examine include corporate experience, technical skills and staff expertise
         assigned to the project, record of past performance and quality assurance
         practices.
    x    Does the contractor have the financial capacity to conduct the project? Factors
         to examine include adequate cash flow to conduct the work on a reimbursement
         basis, financial resources to perform the contract, and financial recordkeeping
         practices that ensure that only allowable costs are charged to a grant.
    x    Does the contractor have the capacity to carry out the terms of the contract?
         Factors to examine include the contractor’s production capacity, performance
         record on prior or existing contracts of similar size and complexity, and ability to
         deliver goods or services according to the required delivery or performance
         schedules.
    x    Does the contractor have the necessary licensing or professional certification
         required to do the work (e.g., engineering or architectural)? Are they in
         compliance with tax laws and regulations?
    x    Does the contractor have a satisfactory record of integrity and business ethics?
         Are they in compliance with the public policies of the Federal government,
         including U.S. DOT Equal Opportunity Employment and Disadvantaged Business
         Enterprise requirements?
    x    Do subcontractors meet responsibility requirements? If the contractor includes
         subcontractors on the bid or proposal, the LOTS must also conduct a
         responsibility determination of the subcontractors.

Debarment, Suspension or Exclusion Determination

For every procurement, except micro-purchases, the LOTS are responsible to ensure
that none of its contractors or subcontractors are suspended, debarred, ineligible, or
voluntarily excluded from participation in Federally- or State-assisted procurements or
contracts. The LOTS must perform an “excluded party” search prior to contract award,
and documentation of conducting the “excluded party” search must be included in the
LOTS’ procurement file. LOTS must use the following sites/services to conduct their
“excluded party” search:

    x    The Government Services Administration (GSA) System for Award Management
         (SAM) database (www.sam.gov) (required for Federally-funded procurements)

    x    The Maryland State government debarment                   and    suspension      list
         (http://bpw.maryland.gov/Pages/debarments.aspx)


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Written Protest Procedures

The LOTS must have current written protest procedures in place prior to initiating
procurement activities. LOTS protest procedures must be adequate to handle and
resolve disputes relating to their procurements, and in all instances, LOTS must
disclose information regarding protests to the MTA. LOTS protest decisions must be in
writing and made by an authorized representative. A protester must exhaust all
administrative remedies with the LOTS before pursuing a protest with the MTA. The
MTA will focus on determining if the grantee followed FTA Circular 4220.1F and their
local procurement procedure in an appropriate manner.

The LOTS written protest procedures must:

    x    Be included in solicitation documents,
    x    Identify how to file a protest, including format,
    x    Include the timeframe under which protests will be accepted, reviewed and
         responded to,
    x    Identify who will evaluate and respond to the protest, and
    x    Include an appeals process.

As a cautionary note, the LOTS cannot use the State’s protest procedures specified in
COMAR. The LOTS must establish and use their own policy that, if unable to be
resolved at the local level, would next go to the court. Copies of all documentation
related to protests should be on file (e.g., disclosure to MTA, written protest decisions,
etc.).

Responsibility for Settlement of Contract Issues/Disputes

The LOTS are responsible for settling any contract issues, protests or disputes arising
from their procurements, following their own locally-adopted protest procedures. The
LOTS alone will be responsible in accordance with good administrative practice and
sound business judgment for the settlement of all contractual and administrative issues
arising out of procurements. These issues include, but are not limited to, source
evaluation, protests, disputes, and claims.

The MTA will not mediate contract disputes. The MTA will only address technical
procedural issues related to compliance with Federal and State requirements (per FTA
Circular 4220.1F and COMAR Title 21). Violations of the law will be referred to the
local, State, or Federal authority having proper jurisdiction. If the procedures followed
did not comply with Federal and State requirements, the MTA may withhold
Federal/State funds until a fully-compliant procurement is conducted.


FEDERAL AND STATE COMPETITIVE PROCUREMENT PRACTICES/METHODS

Both the FTA and the State have established certain project cost thresholds above
which certain competitive procurement practices must be used. In general, more

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expensive projects require a more formalized procurement process to ensure fair
competition and the best value, while vendors for less expensive projects may be
selected through a relatively informal basis. Table 4-1 summarizes the procurement
methods required by the FTA and State based upon the size and type of procurement,
including the dollar thresholds that trigger more formal procurements. This table
includes procurement methods applicable to Federal- and State-funded operating,
capital, planning and technical procurements. It also indicates requirements and
recommendations for DBE project goals (see Chapter 13) for each size of procurement.

It is important to note that State and Federal law prohibits artificial division of
procurements in order to qualify for the small procurement method. However, Federal
law encourages dividing larger procurements in order to provide greater opportunities
for DBEs, small and minority firms, and women’s business enterprises. Also, all LOTS
are advised that they must follow or have available all procurement requirements
previously discussed regardless of the size of their procurement.

Small Procurements

For procurements up to $25,000 (State limit), the LOTS must solicit price or rate
quotations from an adequate number of sources; the State requires at least two and
preferably three quotes. For procurements up to $15,000, the LOTS may utilize oral or
written solicitation methods. For procurements over $15,000, the LOTS must utilize
written solicitation methods. Oral and written solicitations are described as follows:

    x    Oral solicitation – An oral solicitation means the procurement officer's oral
         description of the procurement to a vendor who reasonably may be expected to
         provide the required item. This is the least formal method of soliciting prices for
         goods or services, and it may only be used for Category I and II small
         procurements, as explained below (i.e., purchases up to $15,000). Oral
         solicitations could be conducted as a verbal consultation by phone call or email,
         and the purchase must be documented by a receipt, invoice, repair order,
         packing slip, or voucher.

    x    Written solicitation - A "written solicitation" means the written description of the
         procurement that, at least three working days before responses are due, is
         posted on a bid board or published in a newspaper of general circulation or in
         eMaryland Marketplace. Written solicitations may be used for Category I and II
         small procurements (i.e., purchases up to $15,000) and must be used for
         Category III small procurements (i.e., purchases over $15,000 but less than
         $25,000).

The State categorizes small procurements as follows, each with its own procurement
guidelines:




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Table 4-1: PROCUREMENT METHODS REQUIRED FOR LOTS

  Amount of
                                             Solicitation Methods                                    DBE Project
     the                 Method                                            Basis for Award
                                                    Allowed                                            Goal **
 Procurement
                     Category I
 Up to $1,000
                     Small
 Capital and                              Oral and/or written            Judgment of the
                     Procurement                                                                    Recommended
 $3,500                                   solicitation                   procurement officer
                     ("Micro-
 Operating *
                     purchases")
 $1,001 Capital                                                          Most favorable bid
                     Category II
 and $3,501                               Oral and/or written            price or evaluated bid
                     Small                                                                          Recommended
 Operating up                             solicitation                   price, or most
                     Procurement
 to $15,000                                                              advantageous offer
                                          Written solicitation, which
                                                                         Most favorable bid
                     Category III         may be supplemented with
 $15,001 to                                                              price or evaluated bid
                     Small                oral solicitation, and which                              Recommended
 25,000                                                                  price, or most
                     Procurement          must be posted on the
                                                                         advantageous offer
                                          eMaryland Marketplace.
                                          Bids are publicly solicited
                                          and firm fixed price
                     Competitive          contract (lump sum or unit
 more than           Procurement-         price); requires complete      Lowest price
                                                                                                      Required
 $25,000             Invitation for       specifications and formal      responsible bidder
                     Bid (IFB)            solicitation. Must be
                                          posted on the eMaryland
                                          Marketplace.
                                          Proposals are publicly
                                          solicited and contract
                     Competitive          (fixed price or cost
                                                                         Technical proposal,
                     Procurement-         reimbursement). Requires
 More than                                                               price, and other
                     Request for          formal solicitation and                                     Required
 $25,000                                                                 factors as identified in
                     Proposal             methodology for technical
                                                                         the solicitation
                     (RFP)                evaluation. Must be
                                          posted on the eMaryland
                                          Marketplace.
                                          Professional services are      Price negotiation with
                     Architectural        publicly solicited, and        most qualified offeror.
                     and                  qualifications of offerors     Failing agreement on
 More than
                     Engineering          are evaluated without          an acceptable price,         Required
 $25,000
                     Services             regard to price. Must be       negotiations with the
                     (A&E)                posted on the eMaryland        next most qualified
                                          Marketplace.                   offeror.
 Only                                     May only be used when          After competition is
                                                                                                    Recommended
 permissible                              award of contract by           determined
                                                                                                      up to $25K,
 under               Sole Source          competitive means is           inadequate, single
                                                                                                     required over
 extremely rare                           infeasible and certain         source is solicited or
                                                                                                         $25K
 circumstances                            conditions are met.            offers a proposal.

*The Federal threshold for micro-purchases is lower for the following two types of projects: (1) For
acquisitions of construction subject to the Davis-Bacon Act, $2,000; (2) For acquisitions of services
subject to the Service Contract Act, $2,500. The State threshold for micro-purchases is $3,500 for
operating and $1,000 for capital purchases.

**See Chapter 13.


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    x    Category I (Micro-purchases): For capital purchases valued up to $1,000 and
         operating purchases valued up to $3,500 oral or written solicitation may be used.
         A written purchase order or contract is required if written solicitation is used. The
         LOTS is responsible for ensuring that the price is fair and reasonable, and is
         encouraged to distribute multiple purchases equitably among local qualified
         suppliers. The basis for the award should be the judgment of the LOTS
         procurement officer. Once a LOTS has identified a preferred vendor, MTA
         concurrence is required prior to the issuance of a purchase order or making the
         purchase. The LOTS are required to maintain a procurement file for all micro-
         purchases which meets the requirements previously listed (e.g., ICE Form,
         rationale for procurement, oral/written solicitation, price analysis, and contract
         receipt or purchase order documentation).

    x    Category II: For procurements more than $1,000 (capital) or $3,500 (operating)
         but not more than $15,000, oral or written solicitation may be made. A written
         purchase order or contract is required for Category II small procurements. The
         LOTS must prepare and maintain a fully documented procurement file which
         meets all requirements listed on page 4-6. The LOTS must obtain MTA written
         concurrence prior to advertising their oral or written solicitation and prior to
         making their procurement award.

    x    Category III: For procurements more than $15,000 but not more than $25,000,
         written solicitation must be made (although it may be supplemented by oral
         solicitation), and the solicitation must be posted on the eMaryland Marketplace.
         The LOTS must prepare and maintain a fully documented procurement file which
         meets all requirements listed on page 4-6. LOTS must obtain MTA written
         concurrence prior to advertising their written solicitation and prior to making their
         procurement award.

Federal Clauses and Certifications

For procurements valued more than $1,000 (capital) or $3,500 (operating) but not more
than $15,000 (i.e., all but micro-purchases), you must convey to the vendor/contractor
that the purchase is being made with State and/or FTA funds and that by fulfilling your
purchase request, the vendor/contractor is agreeing to abide by all applicable Federal
clauses and certifications. This is especially important for purchases made by means
other than a formal bidding process (typically oral solicitations between $1,000/$3,500
and $25,000). To achieve compliance in this area, the MTA requires the LOTS to:

    1. Reference the fact that State/FTA funds are being used in the purchase
       solicitation or on the purchase order and that this requires the vendor/contractor
       to acknowledge and accept the applicable FTA clauses and certifications.

    2. Go through the latest FTA checklist to determine the appropriate Federal clauses
       and certifications that apply to the LOTS’ solicitation. Attachment 4.E provides a
       checklist of which Federal clauses and certifications apply to different types of
       contracts, current at the time this manual was published). You will be required to

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         submit your completed FTA checklist to your Regional Planner prior to requesting
         concurrence to award.

    3. Physically attach the appropriate Federal clause and certification language to the
       purchase order or contract document prior to submitting it to the vendor.
       Attachment 4.F provides model FTA clause language. Do not include FTA
       clauses and certifications to the purchase document that do not apply (see step
       2). A general reference to the vendor/contractor’s acceptance of Federal clauses
       and certifications is not acceptable.

    4. LOTS may not modify their own contracts or procurements after award to include
       Federal clauses and certifications so that they may make these contracts eligible
       for Federal funding. The LOTS may modify the State’s GSA-type contracts to
       allow    awarded      vendors/contractors    to   accept   applicable   Federal
       clauses/certifications in order to make such GSA-type contracts eligible for
       Federal funding.

Large Procurements

Projects exceeding the small purchase threshold ($25,000) must be procured through
one of the methods described below (the most appropriate method is determined by the
type of project). A checklist of steps required for large procurements is provided as
Attachment 4.A.

    x    Competitive sealed bid solicitation (also known as invitation for bids or bid
         request) - Under this method of procurement, very detailed specifications are
         developed and bidders are essentially asked to provide a price estimate. This
         type of procurement is used for projects valued at $25,000 or more which can be
         very clearly defined and measured (such as a construction project, manufacture
         of equipment, or commodities such as fuel, uniforms, and vehicle parts).

    x    Competitive sealed proposal solicitation (also known as request for
         proposals) - Under this method of procurement, scopes of service and desired
         outcomes are specified, and proposers are asked to define the tasks they
         propose to conduct to achieve the desired outcomes and to indicate the cost to
         complete the proposed project. This type of procurement is used for projects
         valued at $25,000 or more for which specifications cannot be prepared that
         would permit an award based solely on price (such as the procurement of
         human, social, cultural, or educational services, and real property leases).

For these procurements, the LOTS has an obligation to conduct a solicitation to an
adequate pool of potential qualified vendors. The appropriate geographic reach of the
solicitation will vary with the type of project and the degree of specialization of the
product or technical expertise needed. For example, in soliciting bids to construct
concrete improvements at bus stops, an advertisement in the local newspaper and on
the eMaryland Marketplace may be adequate. However, soliciting bids for passenger
shelters would require a broader reach, since transit shelters are a special type of

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product that may not be available locally from an adequate number of sources. In this
case, the LOTS should at least send the bid solicitation to the major shelter
manufacturers in the nation, or consider advertising in a regional or even a national
publication (such as Passenger Transport or the classified section of CTAA’s website).
Other types of projects that would warrant a broader search include bus manufacture,
transit technology, planning studies, and transit operations and management. The
LOTS are encouraged to develop and maintain lists of potential offerors to whom bid or
proposal solicitations should be mailed in addition to classified advertising.

Under Maryland procurement regulations, counties, municipalities, and other public
entities issuing soliciting bids for which the offered amount is reasonably expected to
exceed $25,000 must publish the invitation in eMaryland Marketplace at least 20 days
before the deadline to submit offers. Invitations between $15,001 and $25,000 must be
published in eMaryland Marketplace at least three days before bids or offers are due.

Also, for each solicitation above $25,000, LOTS are required by the MTA to establish a
goal for DBE participation (discussed later in this chapter and in more depth in Chapter
13 - Non-Discrimination).

         Invitation for Bid (IFB)

         An IFB, also known as the Bid Request or Sealed Bid method, is the method of
         procurement used when price is the primary factor in selecting a contractor. An
         IFB is typically used for construction projects and other capital projects that have
         clear-cut specifications.

         Sealed bids are publicly solicited. The State requires that sealed bids be publicly
         solicited a minimum of 20 days in advance (30 days is preferred) on the
         eMaryland Marketplace.

         The responsible bidder with the lowest price is awarded a fixed-price contract.
         At least ten days in advance of submitting the proposed contract award to the
         MTA for concurrence, notification must be made to bidders of an intent to award
         a contract contingent upon MTA approval. Upon approval by the MTA, the LOTS
         then enters into a firm, fixed-price contract with the successful bidder.

         Request for Proposal (RFP)

         An RFP, also referred to as the Competitive Proposal method, is the method of
         procurement used when factors other than price are important in the selection of
         the chosen contractor. An RFP is typically used to procure management,
         operations, maintenance, planning, software, and other consulting services, and
         is the State’s preferred method for the procurement of human, social, cultural, or
         educational services, and real property leases.          This is not an MTA
         recommended method for rolling stock purchases, and the LOTS will be
         required, as part of its rationale for procurement, to submit justification why an
         RFP process is being used to procure rolling stock.

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         As with IFBs, the State requires that proposals be publicly advertised a minimum
         of 20 days in advance (30 days is preferred). LOTS RFP solicitations must be
         advertised so to ensure an adequate number of vendors can respond. From a
         LOTS perspective, this means that RFPs will be advertised on a regional or
         statewide basis. At least ten days in advance of submitting the proposed
         contract award to the MTA for concurrence, notification must be made to
         proposers of an intent to award a contract contingent upon MTA approval. Upon
         approval by the MTA, the LOTS then enters into a firm, fixed-price contract with
         the successful proposer.

         In determining which proposal is most advantageous, the LOTS may award (if
         consistent with State law) to the proposer whose proposals offer the greatest
         business value to the LOTS based upon an analysis of a tradeoff of qualitative
         technical factors and price/cost to derive which proposal represents the “best
         value” to the procuring agency. "Best value" is a selection process in which
         proposals contain both price and qualitative components, and award is based
         upon a combination of price and qualitative considerations.          Qualitative
         considerations may include such factors as: technical design, technical
         approach, quality of proposed personnel, delivery time frames, quality of
         business proposal, and/or management plan. The award selection is based
         upon consideration of a combination of technical and price factors to determine
         (or derive) the offer deemed most advantageous and of the greatest value to the
         procuring agency. If the subrecipient elects to use the best value selection
         method as the basis for award, however, the solicitation must contain language
         which establishes that an award will be made on a “best value” basis, and the
         LOTS must enumerate the criteria or evaluation factors that will be used in the
         selection process and indicate the relative importance that each factor has
         towards the award decision.

         Additional Procurement Methods Specific to Facilities Development

         x    Architectural and Engineering Services (A&E) – This Federally-defined
              method is used only for the procurement of services that require performance
              by a registered or licensed architect or engineer, such as services that are
              directly connected to planning, NEPA documentation, design, construction,
              alteration, or repair of real property.

              Under this method, professional services are publicly solicited, and
              qualifications of offerors are evaluated without regard to price. Once the most
              qualified offeror is identified, the subrecipient engages in price negotiations
              with that offeror. Failing agreement on an acceptable price, negotiations with
              the next most qualified offeror are conducted until a contract award can be
              made to the most qualified offeror with an acceptable price.

         x    Design-Bid-Build – The FTA allows subrecipients to procure design-bid-build
              services through means of sealed bidding or competitive negotiations. The
              design-bid-build procurement method requires separate contracts for design

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              services and for construction. This approach commissions an architect or
              engineer to prepare drawings and specifications under a design services
              contract, and separately contracts for at-risk construction, by engaging the
              services of a contractor through sealed bidding or competitive negotiations.
              For design services, A&E qualifications-based procurement procedures are
              used, while the actual construction, alteration, or repairs of real property are
              competitively procured.

         x    Design-Build – The design-build procurement method consists of contracting
              for design (A&E) and construction with a single contract award to a single
              contractor, consortium, joint venture, team, or partnership that will be
              responsible for both the project‘s design and construction.

         Prior to issuing a design-build solicitation for a project that involves State funding,
         the LOTS is required to prepare a written determination justifying the use of the
         design-build method. Guidance on how to structure justification may be found in
         the criteria outlined in COMAR Title 21:
         http://www.dsd.state.md.us/comar/getfile.aspx?file=21.05.11.02.htm

         Because both design and construction are included in a single procurement, the
         LOTS should use the procurement method appropriate for the services having
         the greatest cost, even though other necessary services would not typically be
         procured by that method. For example, if construction would be the predominant
         cost, an IFB would be used, whereas if design services would be the
         predominant cost, A&E qualifications-based procurement procedures would be
         used.

         Procurement by Negotiated Award after Unsatisfactory Competitive Sealed
         Bidding

         Under State procurement regulations, a negotiated award may be made if, after
         bids have been opened, all bids are rejected consistent with compliant
         procedures (for reasons that include costs exceeding available funds or
         determination that all prices are unreasonable and any delay resulting from a
         resolicitation under revised specifications or quantities under competitive sealed
         bidding would be fiscally disadvantageous or would not otherwise be in the best
         interest of the LOTS).

         Important note: This procurement strategy is probably the most challenging
         procurement process to justify and document. Only under extremely rare
         conditions will the MTA approve this process.

         Noncompetitive Negotiation (Sole Source)

         While not as challenging as a negotiated award, this is also an extremely difficult
         and challenging procurement process that will be hard to justify.


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         If a procurement is not feasible under any of the above procedures, the LOTS
         may negotiate with a single source if the item is only available from a single
         vendor, the urgency for the item will not permit a delay characteristic of
         competitive solicitation, or after solicitation of a number of sources, competition is
         determined to be inadequate. Noncompetitive negotiation is also referred to as
         “sole source” procurement.

         This type of procurement may be used if the item to be purchased is an
         associated capital maintenance item that is procured directly from the original
         manufacturer or supplier of the item to be replaced. The subrecipient must first
         certify in writing to the MTA that such manufacturer or supplier is the only source
         for such item, and that the price of such item is no higher than the price paid for
         such item by like customers. A cost analysis is required for all sole source
         procurements, and it is the LOTS responsibility to prove that there is truly only
         one vendor qualified to conduct the project. If more than one vendor can provide
         the same product, or a compatible product, it is not considered a sole source and
         must be competitively awarded.

         Receipt of Single Offers

         A competitive procurement (following IFB or RFP procedures) that receives only
         a single bid or proposal would not necessarily be considered a sole source
         procurement. However, the LOTS has the responsibility to document that they
         followed their established, compliant procurement process, including, importantly,
         adequate public notice and outreach. Further, the LOTS must conduct a cost
         estimate before awarding the contract to ensure that the cost is fair and
         reasonable.

         Again, this is an extremely rare circumstance, and the LOTS will be required to
         obtain documentation from non-bidders indicating their rationale for not
         participating (obtained, for example, through a formal written letter to non-
         bidders, follow up with a phone call or email).


ALTERNATIVE APPROACHES

Intergovernmental Procurement Agreements

The LOTS are encouraged to utilize available State and local intergovernmental
agreements for procurement or use of common goods and services. When obtaining
goods or services in this manner, subrecipients must ensure all Federal requirements,
required clauses, and certifications (including Buy America) are properly followed and
included, whether in the master intergovernmental contract or in the subrecipient's
purchase document.

Subrecipients are also encouraged to jointly procure goods and services with other
subrecipients. When obtaining goods or services in this manner, subrecipients must

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ensure all Federal requirements, required clauses, and certifications are properly
followed and included in the resulting joint solicitation and contract documents.

To ensure that a joint procurement is conducted in a Federally-compliant manner, the
LOTS must:

    1. Create a complete procurement file that fully documents the procurement and
       which agency will administer the contract. All participating LOTS must document
       their binding commitment to the procurement.
    2. Validate that the contract was awarded consistently with local policies, allowing
       for full and open competition.
    3. Issue a separate purchase order for items being purchased with FTA funds and
       attach Federal clauses, terms and conditions to the purchase order before
       presenting it to the vendor (see Attachments 4.E and 4.F). The purchase order
       should specifically reference that the purchase was made with FTA terms, and
       the attached terms and conditions apply.
    4. Obtain MTA review and concurrence if the purchase order exceeds $1,000 for
       capital grant-funded projects or $3,500 for operating grant-funded projects.

Pass-through Agreements with Public Agencies

If the LOTS is a public entity (part of city or county government), agreements that pass-
through grant funds to other divisions within the same public entity are not considered
third-party contracts. Examples of pass-through subrecipients include a county motor
pool providing maintenance to a county department of transportation, and a county
department of transportation operating transit services under contract to a county
department of aging. Because the initial grant agreement is executed with the county
commissioners (rather than the department director), the county government is
considered the subrecipient. It is important to note that each division under this
arrangement is subject to the same requirements as the original subrecipient, including
following Federal and State procurement requirements should they enter into a third-
party contract.

Pass-through agreements that involve multiple entities (e.g. county to county, county to
city, etc.), which are often encouraged from a coordination standpoint, will be reviewed
by the MTA on a case-by-case basis as to the applicability of third-party contracting
requirements.

Options

The LOTS may include options as part of contracts. Any options to be included must be
defined as conditions of time (as in multi-year contracts), quantity (as in number of units
to be procured) and/or as additional desired services or equipment (as in radios for bus
procurements). Any and all options requested must be included in the original project
specifications and evaluated as part of the bid or proposal. The number, type and cost


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of any options must be included in the ICE, and all options bid, including the cost of all
options bid, must be considered when determining the award and the total project cost.

To exercise an option outside of the original contract award, it must be in accordance
with the terms and conditions of the original contract awarded, and must be determined
to be economically advantageous. Another price/cost analysis will be required prior to
exercising any future options to ensure that the costs are still reasonable at the time the
option is exercised. The MTA’s concurrence is required prior to exercising the
future option.

Federally-funded contracts for rolling stock or replacement parts for rolling stock may
not exceed five years, including option extension periods. All other types of contracts
should be based on sound business judgment and the LOTS’ local procurement
practices.

Assignment of Contractual Rights

Subrecipients may assign contractual rights to purchase goods and services to other
LOTS if the original contract contains appropriate assignability provisions, though the
FTA does not encourage this practice. The LOTS who obtain these contractual rights
(commonly known as “piggybacking”) may exercise them after first determining the
contract price remains fair and reasonable.

Piggybacking

“Piggybacking” is an assignment of existing contract rights to purchase supplies,
equipment, or services. Piggybacking is permissible when the solicitation document
and resultant contract contain an assignability clause. This is a clause that provides for
the assignment of all or a portion of the specified deliverables as originally advertised,
competed, and evaluated. For example, in procuring new buses, a LOTS may include a
clause that allows the assignment of purchasing rights of a portion of the vehicles
contracted for by another organization.

If these rights are assigned to another organization, the other organization is limited to
purchasing only those items specified in the original procurement. Changes may only
be made through a contract change order, as authorized through a changes clause in
the contract. A “cardinal change” which would go beyond the original scope is not
permitted. In procuring vehicles, the FTA considers substitution of major end items or
vehicle type (e.g., changing from standard floor to low floor) to be cardinal changes. On
the other hand, changes to seating, fabrics and colors, exterior paint schemes, signage,
floor covering, and other similar changes are permissible.

For piggybacking to be permissible, the original procurement and the contract award
must specify a maximum total number of items to be purchased under the contract.
Assigning a portion of the purchasing rights does not result in the purchase of a greater
total number of items than was specified in the original contract. Further, if the supplies
were solicited, competed and awarded using an indefinite-delivery-indefinite-quantity

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(IDIQ) contract, then both the solicitation and contract award must contain both a
minimum and maximum quantity that represent the reasonably foreseeable needs of the
party(s) to the solicitation and contract. If two or more parties jointly solicit and award
an IDIQ contract, then there must be a total minimum and maximum.

The organization using assigned contract rights is responsible for ensuring the
contractor’s compliance with FTA’s Buy America requirements and execution of all the
required pre-award and post-delivery Buy America review certifications.

The previous edition of the FTA Best Practices Procurement Manual included a
worksheet for use in determining whether piggybacking onto another organization’s
contract might be permissible. The worksheet is provided as Attachment 4.G. If a
LOTS desires to use a piggyback procurement, the LOTS must complete and submit
their ICE form, a rationale for procurement explaining why the piggyback is desirable
and usable, and the worksheet. This material must be submitted to your Regional
Planner. If approved, it is to be maintained in the LOTS procurement file for any goods
or services a LOTS purchases using MTA or FTA funds through the organization’s
piggyback contract.

The MTA requires the following submissions from the LOTS when reviewing a request
to use MTA and/or FTA funding to make a non-rolling stock purchase through a
piggybacking arrangement:

    x    The original bid and all addendums,
    x    The original bidding process,
    x    A letter stating permission to piggyback (including the quantity, when
         appropriate),
    x    A list of bidders,
    x    The process for award selection, and
    x    Verification that there were or were not bid protests.

Submittal requirements are significantly greater for rolling stock piggybacks. The LOTS
must confer with their Regional planners for such procurements.

Tag-ons

The use of “tag-ons” is prohibited and applies to the original buyer (contract holder) as
well as to others who may be seeking to purchase off the contract. A "tag-on" is defined
as the addition of work (supplies, equipment, or services) that is beyond the scope of
the original contract that amounts to a cardinal change as generally interpreted in
Federal practice by the various boards of contract appeals.

Tag-on vs. Piggyback Example

Company A awards a contract for 100 buses. Company B wants to buy ten buses
through Company A’s contract.


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    x    If those ten buses are added on to Company A’s original contract of 100, for a
         total of 110 buses, this is called a tag-on. The FTA prohibits this practice.

    x    If those ten buses are included within Company A’s original contract of 100, so
         that the total number of buses purchased under this contract is still 100, this is
         called piggybacking. This practice is permitted by the FTA; however, it means
         that Company A can now only purchase 90 vehicles for themselves under this
         contract.

Restrictions on Time and Materials Type Contracts

Under no circumstances should a LOTS enter a “time and materials” type of contract
without prior MTA approval. These types of contracts may only be allowed after a
determination that no other type of contract is suitable, and if the contract specifies a
ceiling price that the contractor shall not exceed except at its own risk.


PROVIDING FOR FULL AND OPEN COMPETITION

The LOTS procurements must provide for full and open competition for all
procurements.      Subrecipients must conduct procurement transactions in a manner
providing full and open competition, following the appropriate process described in the
next section. Subrecipients are prohibited from restricting competition in Federally-
supported procurement transactions. Some situations that restrict competition include,
but are not limited to: unreasonable qualification requirements, unnecessary experience
requirements, excessive bonding, noncompetitive pricing practices between firms,
noncompetitive awards to firms on retainer, organizational conflicts of interest, “brand
name” only specifications, or any arbitrary action in the procurement process.

Prohibition Against Geographic Preferences

The LOTS must conduct procurements in a manner that prohibits the use of statutorily
or administratively imposed in-State or local geographical preferences in the evaluation
of bids or proposals, except in those cases where applicable Federal statutes expressly
mandate or encourage geographic preference. This does not preempt State licensing
laws. However, geographic location may be a selection criterion in procurements for
architectural and engineering (A&E) services provided its application leaves an
appropriate number of qualified firms, given the nature and size of the project, to
compete for the contract.

Written Procurement Selection Procedures

The LOTS must have written selection procedures for procurement transactions. These
procedures must ensure that all solicitations incorporate a clear and accurate
description of the material, product, or services being procured as well as identify all
requirements that the offerors must fulfill and all other factors to be used in evaluating
bids or proposals. Descriptions must not contain features that unduly restrict

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competition. Detailed product specifications should be avoided. “Brand name or equal”
descriptions should be avoided unless it is impractical or uneconomical to make a clear
and accurate description of the technical requirements.

Prequalification Criteria

If a LOTS requires prospective bidders to prequalify, it must ensure that all lists of
prequalified individuals, firms, or products that are used in acquiring goods and services
are current and include enough sources to ensure maximum full and open competition.
Also, LOTS shall not preclude potential bidders from qualifying during the solicitation
period (from the issuance of the solicitation to its closing date).

Specifying “Brand-Name-or-Equivalent” and “Approved Equals”

In procuring some items, such as electronic systems, you may not be able to specify a
component in terms of design or performance and still ensure that your lowest
responsive and responsible bidder will offer you a satisfactory product. If it is
impractical or uneconomical to make a clear and accurate description of the technical
requirements, it may be appropriate to specify in your procurement solicitation only a
particular brand name and/or to allow the substitution of equal items for a brand name
item. In this case, a brand name or equal description may be used in your procurement
as a way to define the performance or other salient characteristics of a procurement.
However, it is important to note that this is not the FTA or MTA preferred approach.

Whenever brand names are used, the LOTS must clarify that the brand name is used
merely as a specification and not as a statement of a preference for a specific product
by including a phrase such as "or equal," "or approved equal," or "similar in design,
construction and performance" with the brand name.

When specifying a brand-name-or-equivalent, the specific features of the named brand
that must be met by offerors must be clearly stated. The brand-name-or-equal
description should set forth the salient physical, functional, or other
characteristics that an equal product must have to meet your needs. If the LOTS
must specify a brand name, the LOTS must first certify in writing to the MTA/FTA that
such manufacturer or supplier is the only source for such item and that the price of such
item is no higher than the price paid for such item by like customers. This certification
can be supplied as part of your ICE form or as early as possible in the procurement
process but no later than the LOTS’ specification development process.

You may want to include in your solicitation documents a list of items or services that
have been approved by the procuring agency as equal to the brand name item originally
specified. In this case, the items on the “approved equal” list must have the salient
characteristics or qualities that are essential to ensure that the item can be used as
intended.




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Approved Equal Approval Process

As part of its bid or RFP solicitation development process, the LOTS must have a
process in place to review and rule on any requests for substitutions. You will use this
process to determine that the offered product is equal in all salient characteristics to the
brand name product referenced. Within the period specified in the bid solicitation, the
request for approved equals and response must be granted within the time specified in
the solicitation. Failure to comply will result in a non-responsive bid that will not be
acceptable for award. The solicitation documents must specify:

    x    The deadline (time and date) for submitting request,
    x    To whom and where to file,
    x    Format for requesting approval of equal brands, and
    x    The LOTS’ timeline and format for response.

You should approve requests for substitution whenever you determine that the offered
product is equal in all material respects to the products referenced. You will typically
inform potential bidders of your determination by identifying the specific products that
the contractor is to furnish, including any brand name, make or model number, and
descriptive material. You must issue any approved determination to all potential bidders
by addendum (or such other notification processes as required by your procurement
procedures).

It is the LOTS responsibility to disseminate information about approved equal requests
and the disposition of those requests in a manner that is timely enough to allow other
bidders to adjust their bids prior to the bid submittal deadline.

Use of Liquidated Damages In Contracts

The LOTS are allowed to use liquidated damage clauses in their contracts when there is
a reasonable expectation of damages (defined as increased costs on the project
involved) from late completion of the project or similar circumstances where the extent
or amount of such damages would be difficult or impossible to determine. Liquidated
damages may not be punitive. They may not be used to impose a penalty or limit or
restrict competition, or used in situations where delayed performance will not adversely
affect the LOTS. The rate and measurement of liquidated damages must be specified
in the solicitation and contract documents. The procurement file must include a record
of the calculation and rationale for the amount and type of liquidated damage clauses
assessed. Any liquidated damages collected must be credited back to the LOTS transit
project account involved.




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REQUIREMENTS PERTAINING TO VEHICLE AND EQUIPMENT PURCHASES

State or Local Vehicle Procurements

The MTA conducts centralized vehicle procurements and intends to procure vans, small
buses, and medium-sized buses on behalf of the grantees. However, if the MTA does
not have an active contract, vehicle procurement will be considered on a case-by-case
basis. The MTA can also procure larger buses for the LOTS; however, as MTA
procurement may entail additional time delays, most LOTS prefer to procure larger
buses themselves.

State or Local Equipment Procurements

All equipment that is not installed on vehicles, including maintenance equipment and
computer hardware and software, must be procured locally. Equipment to be installed
on vehicles after delivery from the factory (for example, mobile radios) must be procured
locally.

The LOTS may add optional equipment (for example, wheelchair lifts, registering
fareboxes, electronic display boards, passenger counting equipment, and securement
devices) to their rolling stock procurement, but the optional equipment must be factory-
installed and must be part of the vehicle specifications subject to all procurement
requirements discussed in this chapter. Factory-installed optional equipment must be
included in the vehicle procurement solicitation, must be evaluated as part of technical
and price/cost analysis, and must be part of the total contract award for the LOTS to be
able to exercise any option in the contract.

    x    If a LOTS chooses to participate in the MTA’s central procurement and opts for
         standard factory-installed options, this equipment would be procured as part of
         the MTA vehicle procurement. Specialized equipment is not always available
         through the MTA procurement; the LOTS is limited to the standard equipment
         options that are outlined in the annual grant application.
    x    Similarly, if a LOTS procures vehicles locally, factory-installed equipment would
         generally be included in the vehicle procurement as an option, and funding would
         generally be included as part of the LOTS’ grant award. When available, the
         LOTS are encouraged to purchase equipment to be installed in a vehicle by
         exercising available options.

    x    If a LOTS does not include either factory-installed equipment in its procurement
         specifications or as part of its grant award, it may not procure this equipment as
         part of its rolling stock procurement. Funding for this equipment must be applied
         for separately from the vehicle in the annual grant application, and, unless it is to
         be factory-installed, the equipment must be procured by the LOTS under a
         separate procurement process from the vehicle.




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General Rolling Stock Delivery Timeline

As a rule of thumb, LOTS’ large vehicle procurements (which are a local responsibility)
typically take at least 18 months to complete (from MTA concurrence with the
solicitation document until vehicles can be put into service). The LOTS should be
aware that development of rolling stock IFB or RFP solicitation documents usually takes
an additional 4 to 6 months from submittal of the LOTS’ ICE form. Therefore, the total
bid/RFP time process for large vehicle procurements, from start of specification writing
to vehicle delivery, is likely to be 24 months. The total time of the process to procure
medium-size vehicles will take from 16 to 24 months depending on the MTA or the
LOTS procurement processes and staff experience. Small MTA-procured vehicles
typically take 12 to 16 months for the same vehicle procurement process.

Contract Term Limitation

The LOTS may not enter into any contract for rolling stock, or replacement parts for
rolling stock with a period of performance exceeding five years inclusive of time period
options. All other types of contracts (including supply, service, leases of real property,
revenue, and construction) should be based on sound business judgment and your local
procurement requirements. FTA regulations do not prescribe contract limits. The LOTS
are expected to be judicious in establishing and extending contract terms no longer than
minimally necessary to accomplish the purpose of the contract. Additional factors to be
considered include competition, pricing, fairness, and public perception. Once a
contract has been awarded, an extension of the contract term length that amounts to an
out of scope change will require a sole source justification.

Bus Model Testing Requirements

New model buses and modified vans and existing models with significant changes must
be tested at the FTA-sponsored test facility originally in Altoona, Pennsylvania, and
pass the test, before they are eligible to be purchased with Federal funds. New models
using alternative fuels must also be tested. The LOTS must receive a copy of the
passing test report on the bus model before the final acceptance of the first vehicle.
The LOTS are responsible for getting and reviewing a copy of the entire report, not just
the executive summary, and the LOTS must now certify that the bus models submitted
to Altoona received a passing score.

LOTS should get a copy of the Altoona testing report as early as possible in the vehicle
procurement. Testing reports can be obtained online at http://www.altoonabustest.com/
or by contacting the Altoona Bus Research and Testing Center, 2237 Old Route 220
North, Duncansville, PA 16635, Phone: 814-695-3404, Fax: 814-695-4069. Information
in the reports may be useful to subrecipients when they are writing bid specifications.




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This requirement does not apply to unmodified mass-produced vans, including vans
with raised roofs, wheelchair lifts, or ramps that are installed in strict conformance with
the original equipment manufacturer guidelines.3

Buy America

Important note: Buy America applies to other projects beyond rolling stock, including
but not limited to building construction.

Procurements are subject to Buy America provisions for FTA-funded purchases over
$150,000 (regardless of whether they involve capital, operating, or planning funds)
involving steel, iron, and manufactured products (except for microcomputer equipment
including software and small purchases). The $150,000 threshold is based on the value
of the procurement, not the price of the item. For example, a purchase of four vehicles
that totals $160,000, even though each vehicle costs $40,000, must follow the Buy
America procedures.

The requirements apply to subcontractors, regardless of the size of their contract, if the
prime contract is more than $150,000. The requirements apply when a subrecipient
uses an intergovernmental agreement or otherwise jointly purchases manufactured
products. Subrecipients are required to pass the requirements down to management or
service contractors when the contractor is making FTA funded procurements on the
subrecipient’s behalf.

Pre-Award and Post-Delivery Audits

The LOTS that procure FTA-funded passenger vehicles, other than sedans or
unmodified vans, must conduct pre-award audits of manufacturers selected to furnish
vehicles purchased under the procurement contract. The purpose of the pre-award
audit is to ensure that the manufacturer intends to, and is capable of, complying with
Buy America requirements (described above), applicable Federal Motor Vehicle Safety
Standards, and the LOTS Purchaser’s Specifications (which include these
requirements). LOTS will be required to complete a pre-award Buy America, FMVSS,
and Purchaser’s Specifications Certification for each audit requirement.



3
 As defined on the FTA website (https://www.transit.dot.gov/research-innovation/interpretations-
definitions, as accessed March 2017): “Unmodified mass-produced van means a van that is mass-
produced, complete and fully assembled as provided by an OEM. This shall include vans with raised
roofs, and/or wheelchair lifts, or ramps that are installed by the OEM, or by a party other than the OEM
provided that the installation of these components is completed in strict conformance with the OEM
modification guidelines.

FTA wishes to clarify that this exemption historically assumed that unmodified mass-produced vans would
only be offered in the 4-year, 100,000-mile service life category. Unmodified mass-produced vans are
categorically exempted from testing by the Bus Testing Regulation only in the 4-year, 100,000-mile
service life category; unmodified mass-produced vans offered in the 5-year, 150,000-mile (or higher)
service life category are subject to testing.”

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During manufacture, the LOTS must monitor the manufacturing processes for
compliance with these requirements, and following vehicle delivery, a post-delivery
audit must be conducted by the LOTS. LOTS will be required to again certify that a
post-delivery audit was conducted to ensure that Buy America, FMVSS and Purchaser’s
Specifications requirements were met.

Depending on the Federal funding program, procurements of more than ten (or 20)
vehicles require an in-plant inspection to determine compliance. This inspection is the
responsibility of the LOTS unless they are purchasing through the MTA statewide bid.
The MTA conducts inspections for procurements of vehicles of all sizes, and may be
able to assist the LOTS in this process upon request. If you would like MTA assistance
in this process, you need to advise the MTA when requesting funding for the vehicle(s).
For more information, see FTA’s Conducting Pre-Award and Post-Delivery Audits for
Bus Procurements (https://www.transit.dot.gov/regulations-and-guidance/buy-america/
conducting-pre-award-and-post-delivery-audits-bus-procurements) and 49 CFR Part
663 (Pre-Award and Post-Delivery Audits of Rolling Stock Purchases).

         Pre-Award Review (Before Contract Award)

         As part of any applicable rolling stock procurement, the FTA sub-grantee/LOTS
         needs to obtain certification from bidders that demonstrate intent to comply with
         Buy America requirements. The LOTS needs to include a clause citing the Buy
         America requirement in its IFB or RFP. A Buy America certification should also
         be included. There are different certifications required for procurements of rolling
         stock and procurements of other steel, iron, or manufactured products. The
         specific text for each is contained in 49 CFR Part 661, specifically §661.6 –
         “Certification requirements for procurement of steel or manufactured products”
         and §661.12 – “Certification requirement for procurement of buses, other rolling
         stock and associated equipment.”

         For vehicles, the pre-award review, which is conducted before the order is
         placed, includes the following certifications:

              x    Buy America parts,
              x    Buy America assembly,
              x    Federal Motor Vehicle Safety Standards, and
              x    Purchaser’s specifications.

         The FTA grantee/LOTS is then required to review the vendor’s Buy America and
         other submissions, verify that the vendor’s bid appears to comply with the Buy
         America and other requirements, and sign a certification to this effect before
         awarding the contract. This certification becomes part of the procurement
         documentation that the LOTS is required to submit to MTA for concurrence with
         the award.




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         If the contractor certifies that it does not comply with the Buy America
         requirements, then the LOTS would need to request, receive, and retain a waiver
         from the MTA/FTA before FTA funding could be used in the procurement.

         Post-Delivery Review Requirements

         After the vehicle has been manufactured, and before payment is made, the FTA
         grantee/LOTS is required to:

              x    Obtain documentation from the manufacturer of actual component content
                   and review actual component content to ensure that the vehicle meets the
                   minimum Buy America domestic content requirement:
                   o 60 percent for Federal FY 2017 grants and earlier grants,
                   o 65 percent in Federal FY 2018 and 2019, and
                   o 70 percent in Federal FY 2020 and beyond.

              x    Check that the final assembly location is in the United States and the
                   manufacturer's final assembly activities meet certain requirements.

              x    Have an on-site inspector for all rail car procurements and bus
                   procurements of:
                   o More than ten vehicles in large urbanized areas (population over
                     200,000).
                   o More than 20 vehicles in rural and small urbanized areas (population
                     200,000 or fewer).

         The inspector must verify that the actual manufacturing processes are consistent
         with the information provided by the manufacturer prior to the contract award. If
         the on-site inspector requirement is triggered, all vehicles ordered under the
         contract are subject to on-site inspection which must include a report providing
         accurate records of all vehicle construction activities documenting how the
         construction and operational characteristics of the vehicles met the contract
         specifications. If the contract provides for delivery of multiple options over
         different time intervals (such as ordering ten buses each year for five years), the
         LOTS must provide a post-delivery audit with on-site inspection for each order.

         If the manufacturer has met the requirements and manufactured the vehicle
         consistently with the information provided by the manufacturer prior to the
         contract award, the FTA grantee/LOTS signs a Post-Delivery Buy America
         Certification that the domestic content, final assembly location and final assembly
         activities requirements are met. This certification must be submitted to the MTA
         along with the Request for Payment for the vehicle (as described in Chapter 3).




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         The post-delivery reviews below must be conducted for each vehicle order before
         acceptance of the title to any vehicle is made or any vehicle in the order is placed
         in revenue service:

              x    Buy America parts and assembly,
              x    Purchaser's specifications (that is, do the vehicles meet the contract
                   specifications),
              x    Federal Motor Vehicle Safety Standards, and
              x    LOTS/procuring agency’s vehicle inspection and road test documentation
                   for each vehicle delivered.

         If the contractor did not comply with the Buy America requirements, then the
         LOTS would need to request, receive, and retain a waiver from the FTA to
         receive reimbursement for the purchase.

         More information about complying with Buy America requirements can be found
         on the FTA website at https://www.transit.dot.gov/regulations-and-guidance/buy-
         america/buy-america.


DBE Certification by Transit Vehicle Manufacturers

Vehicle procurements are subject to special DBE requirements and can be found later
in this chapter, as well as in Chapter 13.


REQUIREMENTS PERTAINING TO OTHER TYPES OF PURCHASES

Facilities Development

There are numerous Federal and State requirements pertaining to facilities
development that are discussed in Chapter 7. Buy America requirements, described
under “Requirements Pertaining to Vehicle and Equipment Purchases,” also apply to
construction projects over $150,000. Additionally, there are two requirements that apply
to all Federal-funded construction contracts valued more than $2,000:

    x    Copeland “Anti-Kickback” Act - All Federally-funded construction contracts
         over $2,000 must include a provision for compliance with the Copeland ‘‘Anti-
         Kickback’’ Act (18 U.S.C. 874), as supplemented by the Department of Labor
         regulations (29 CFR Part 3, ‘‘Contractors and Subcontractors on Public Building
         or Public Work Financed in Whole or in Part by Loans or Grants from the United
         States’’). This Act prohibits subrecipients and contractors from inducing any
         individual employed in the construction, completion, or repair of public work to
         give up any part of the compensation to which he is otherwise entitled and



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         requires reporting of all suspected or reported violations to the Federal awarding
         agency.

    x    Davis-Bacon Act - The Davis-Bacon Act is a Federal law that provides wage
         protection for non-government construction workers. It requires the payment of
         prevailing wages and fringe benefits to laborers and mechanics engaged in
         Federally-funded construction projects valued at more than $2,000. All covered
         contracts must contain a wage determination issued by the Secretary of Labor
         per Department of Labor regulations (29 CFR Part 1, “Procedures for
         Predetermination of Wage Rates”). Prevailing wages vary for rural and
         metropolitan areas. Overtime pay (time and a half) is required when a work
         week exceeds 40 hours. Existing wage rates for all areas of the State are
         available through the MTA.

If your plans include a Federally-funded facilities development project, be sure to review
all of the requirements summarized in Chapter 7, and consult with your Regional
Planner to determine the requirements that apply to your specific project.

Materials and Supplies

Purchases of materials and supplies that make use of Federal or State funds are
subject to standard procurement requirements.      To the extent practicable and
economically feasible, the LOTS using Federal funding must provide a competitive
preference for products and services that conserve natural resources, protect the
environment, and are energy efficient. Preference for recycled products is required
under 2 CFR Part 200, § 200.322.

Service Contracts

Service contracts and purchases that make use of Federal or State funds are subject to
standard procurement requirements. This includes administrative services (legal,
accounting, and insurance) as well as vehicle operations and maintenance.

Technology

Technology purchases, including computers, software, communications technology, and
Intelligent Transportation Systems (ITS) projects are subject to the standard
procurement requirements for any purchase involving the FTA or State funding.

ITS projects funded by the FTA and MTA are subject to planning requirements and
standards, including conformance with ITS National and Regional Architecture, which
are discussed in Chapter 2. These requirements and ITS architecture review approval
must be met before the LOTS may procure and acquire any ITS system or products.




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REQUIREMENTS PERTAINING TO REVENUE CONTRACTS

What is a Revenue Contract?

Revenue contracts are those third party contracts whose primary purpose is to either
generate revenues in connection with a transit-related activity, or to create business
opportunities utilizing an FTA-funded asset. The objective of revenue contracts is to
lower the LOTS program costs, and thereby reduce both the Federal and local financial
contribution. Creative ways of generating these revenues are encouraged by the FTA.
Examples of LOTS revenue contracts include leasing the right to sell advertising space
on vehicles, or bus shelters or leasing space within a transit facility to a concessions
vendor or a ticket agent for a private bus company.

Third party contracts with a primary purpose to procure supplies or services are not
revenue contracts. Royalties received as a by-product of a development or supply
contract, e.g. software, would not be considered a revenue contract. Disposal of
property would be another example that would not be considered a revenue contract.

Requirement for Competitive Procurement

The FTA allows subrecipients broad latitude in determining the extent and type of
competition appropriate for a revenue contract. Nevertheless, to ensure fair and equal
access to FTA assisted property and to maximize revenue derived from such property, if
there are several potential competitors for a limited opportunity (such as the right to
lease advertising space on the side of a bus), then the LOTS must use a competitive
process, such as an RFP or IFB, to permit interested parties an equal chance to obtain
that limited opportunity. The LOTS are advised to use the checklist provided,
Attachment 4.H, to determine when to use a competitive procurement for revenue
producing contracts. The LOTS may not enter into a revenue producing contract
without first contacting their Regional Planner.

Unsolicited proposals may come forth when companies see an opportunity to use the
transit system to enhance their business interest. It may appear from such proposals
that no other company could offer the same product or service. However, this does not
justify a sole source contract. If the idea or activity is of interest to you, the concept
should be evaluated on its own merit and revenue producing potential. If the decision is
to implement it, then a competitive process should be used to select the contractor,
unless you determine that the proposed concept itself is proprietary.

If, however, one party seeks access to a public transportation asset, and the recipient is
willing and able to provide contracts or licenses to other parties similarly situated, then
competition would not be necessary because the opportunity to obtain contracts or
licenses is open to all similar parties.

To help clarify when sale of advertising space requires competitive procurement, two
examples are provided.


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         Applicability of Procurement Requirements for LOTS that Directly Lease
         Advertising Space (as Compared to Contracting with an Advertising
         Company to Lease this Space)

         The requirement for a competitive procurement process always applies when a
         LOTS seeks to contract out the right to lease space to a single contractor, who
         then leases advertising space on their vehicles to multiple companies (see Figure
         4-1).




         Some LOTS operate their own in-house program to directly lease advertising
         space on their vehicles to multiple companies (see Figure 4-2). Under this
         scenario, there is no specific requirement for due diligence in terms of finding
         “competition” among prospective advertisers.




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         However, if an organization approaches a LOTS with an unsolicited offer to
         purchase an advertising space on the side of a bus, the LOTS has an obligation
         to do an ICE to validate that the $1,000 is a fair and equitable price for the ad
         space.

         Further, in the unlikely event any one advertiser seeks to pay the LOTS more
         than $25,000, the LOTS should seek guidance from the MTA before entering into
         the contract.

         Finally, the LOTS should include any expenses and “contracting opportunities” in
         their annual calculations when determining if they need to set an overall agency
         DBE goal and set a project-specific DBE goal for any contract where revenue is
         expected to exceed $25,000. If the revenue is expected to exceed $50,000,
         MTA must approve the goal.

Requirement for DBE Participation in Revenue Producing Contracts

DBEs should have the maximum opportunity to participate in both revenue contracts
and subcontracts that use any Federal funds. The grantee is responsible for taking all
necessary and reasonable steps to ensure that DBEs have maximum opportunity to
compete for revenue contracts since these contracts are considered business
opportunities.

The LOTS should include any expenses and contracting opportunities, including the full
estimated value of revenue contracts, in their annual calculations when determining if

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they need to set an overall agency DBE goal. If revenues are projected to be over
$25,000, a project-specific DBE goal must be set. If revenues are projected to be over
$50,000, then the goal must be sent to the MTA Procurement Review Group (PRG) for
review and approval (see page 4-39 and Chapter 13).

Independent Cost Estimate

The LOTS are required to prepare an ICE, including estimating total revenues to be
derived from the contract.

FTA Requirement Flow-Down

Generally, if Federal funds (not assets) are not used to generate revenues, then there
are no requirements to include Federal clauses and certifications in the revenue
contract itself. If Federal funds will be used in the contract (i.e., payments will be made
to the contractor), the procurement must include FTA clauses.

Financial Management of Revenue Contracts

Proceeds from revenue contracts must be applied back to the operating budget as
operating revenue. Proceeds from revenue contracts may not be used as local match
on operating grants in the year they were earned, or for capital items.

The LOTS are also required to follow all non-fare revenue accounting and reporting
requirements found in Chapter 3 under “Non-Fare Revenue Requirements.”

Additional FTA Guidance on Revenue Contracts

FTA Third Party Procurement FAQs on Revenue Contracts
https://www.transit.dot.gov/funding/procurement/third-party-procurement/revenue-
contracts

FTA Best Practices Procurement and Lessons Learned Manual (page 40)
https://www.transit.dot.gov/funding/procurement/best-practices-procurement-manual


DISADVANTAGED BUSINESS ENTERPRISE

DBE requirements for Maryland LOTS, while summarized in the following paragraphs,
are provided in detail in Chapter 13.

The DBE requirements are designed to ensure that businesses owned and controlled
by socially and economically disadvantaged individuals, including Minority Business
Enterprises (MBEs) and Women’s Business Enterprises (WBEs), are given fair
opportunity to participate in Federally-funded contracts.




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Project-Specific Goals for All Procurements over $25,000

The MTA requires that all LOTS establish individual DBE project goals for procurements
over $25,000, and this goal must be approved by the MTA Office of Equal Opportunity
Compliance Programs. A DBE project goal is the percentage of participation in a single
contract for which your organization aspires to work with DBE contractors. All third-
party contracts over $25,000 must also include provisions for DBE participation in
subcontracts. When a DBE participates in a contract, only the value of the work
performed by the DBE is counted toward DBE goals. A contract clause must require
prime contractors to pay subcontractors for satisfactory performance of their contracts
no later than 30 days from receipt of each payment you make to the prime contractor.
For procurements of $50,000 or more, DBE project goals must be approved by the MTA
Office of Equal Opportunity Compliance Programs as well as the MTA Procurement
Review Group (PRG). The PRG only meets infrequently so the LOTS must schedule
their DBE program goal review well in advance with their Regional Planner.

The LOTS may use the State’s list of DBE-certified firms. For procurements using State
funds, the LOTS should use the MTA DBE goal and process for soliciting DBE
participants during the procurement process.

MTA review and approval of project-specific DBE goals is included in the concurrence
process for all procurements over $50,000.

DBE Certification by Transit Vehicle Manufacturers

The LOTS must require that each Transit Vehicle Manufacturer (TVM), as a condition of
being authorized to bid on their transit vehicle procurements funded by the FTA, certify
that it has complied with the DBE requirements of 49 CFR 26.49. This requirement must
be included in the LOTS’ bid/RFP specification documents.

Only those TVMs listed on the FTA's DBE-compliant certified list of TVMs are eligible to
bid. The LOTS must require each TVM, as a condition of being authorized to bid or
propose on FTA-assisted transit vehicle procurements, to certify that it has complied
with DBE requirements.

Further, FTA subrecipients are required to submit to the FTA, within 30 days of making
an award, the name of the successful bidder and the total dollar value of the contract.
Because the MTA is responsible for these reports on behalf of the LOTS, the LOTS
must provide this information to the MTA in writing within 30 days of their contract
award.

More information is available at https://www.transit.dot.gov/regulations-and-
guidance/civil-rights-ada/transit-vehicle-manufacturers-tvms as well as in Chapter 13.




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Formal DBE Program for LOTS Meeting FTA Threshold

Under Federal regulations, if you receive $250,000 or more in FTA planning, capital (not
counting transit vehicle purchases), and/or operating assistance in a State fiscal year,
you must have an approved DBE program. The requirement includes:

    x    Establishment of an overall DBE goal for annual contract participation by
         disadvantaged businesses (the percentage of participation in contracts for which
         your organization aspires to work with DBE contractors during the course of the
         full year).

    x    Development and maintenance of a directory of DBE-certified firms to be notified
         when competitive procurements are advertised. In the listing for each firm, you
         must include the firm’s address, phone number, and the types of work the firm
         has been certified to perform as a DBE. You must revise your directory at least
         annually and make updated information available to contractors and the public on
         request. The LOTS may use the MTA DBE directory rather than creating their
         own individual directories.

More information on DBE requirements is available in Chapter 13 as well as at
https://www.transit.dot.gov/regulations-and-guidance/civil-rights-ada/disadvantaged-
business-enterprise.


CONTRACT MANAGEMENT

Contract Administration System

Each LOTS must maintain a contract administration system that ensures that
contractors perform in accordance with the terms, conditions, and specifications of their
contracts or purchase orders.

Contract Documentation

Any LOTS procurement utilizing Federal or State funds requires a paper trail, as
described earlier in this chapter under “Written Record of Procurement History.” At the
minimum, there must be a purchase order, a receipt, or a written contract. Each LOTS
purchase order or written contract must reference Federally-required contract clauses
and attach a copy of those clauses to the purchase order or contract.

Clauses Your Contracts Must Include

Attachment 4.E outlines Federally-required contract clauses and notes under what kinds
of contracts they apply. Attachment 4.F provides model contract clauses for Federal
requirements.



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The National Rural Transit Assistance Program’s web-based ProcurementPRO
application (http://www.nationalrtap.org/Web-Apps/ProcurementPRO) is another source
of model FTA clauses.

Third-Party Contract Responsibilities Regarding Compliance with Federal and
State Requirements

Most of the Federal and State requirements regarding the use of LOTS grant funds that
apply to the primary recipient of LOTS grants (your organization) also apply to your
third-party contractors, subcontractors, and/or lessees. This includes requirements
such as drug and alcohol testing for safety-sensitive positions, possession of a valid
CDL by mechanics that test-drive vehicles calling for CDLs, and meeting all ADA
service requirements.

The Federal and State requirements that pertain to those grants funding your contract
with the third party should be clearly spelled out in the contract, and you are responsible
for ensuring that your contractor complies with them. As described in Chapter 3, you
must also monitor Federally-funded procurements of the private contractor’s
procurement process to ensure Federal requirements are met. Subcontractors to the
contractor must also sign a series of certifications and assurances and forward them to
the LOTS.

Service Contracts

Service contracts must comply with FTA Circular 4220.1F and State procurement
regulations, including DBE goal-getting.

         When is Contracting for Service Recommended?

         Contracting is recommended when it is economically advantageous and/or when
         the LOTS does not possess the expertise, staff resources, equipment resources,
         or facilities to perform the service. Management, operation of service, vehicle
         maintenance, drug and alcohol testing, planning studies, facilities design and
         engineering, and graphic design services are typical functions that a rural or
         small urban transit system may find advantageous to outsource. Should a LOTS
         engage in contracting of services, it must develop written procedures for contract
         administration, train and assign staff in contract administration responsibilities,
         evaluate contractor performance, and document how contractor charges and
         payments are managed and recorded.

         The FAST Act provides for clarification and encouragement of capital leasing
         arrangements in lieu of purchases, and encourages the capital leasing of zero
         emission vehicle components, particularly power sources. FTA Circular 5010.1E
         includes     this     clarification   on    pages     IV-30      through   IV-33
         (https://www.transit.dot.gov/regulations-and-guidance/fta-circulars/award-
         management-requirements-circular-50101e).


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         Many excellent resources have been developed to assist public agencies in
         contracting for transit service operations and maintenance. A number of these
         resources, including examples of actual contracts, are listed at the end of this
         chapter.

         Rate Structures for Operations Contracts

         Contracts for service operations can be built on a variety of rate structures.
         These include:

              x    Per hour
              x    Per vehicle mile
              x    Per passenger mile (demand-responsive services only)
              x    Per passenger trip
              x    No shows
              x    Fares collected by the contractor

         Your rate structure should address whether “deadhead” or non-revenue hours or
         miles are included, and if so, whether they are charged at a different rate than
         revenue service. Penalties for poor service delivery (such as late service and
         missed trips) should also be built into the rate structure. Your rate and payment
         structure must be managed and documented.

         Capital Cost of Contracting

         Service contracts funded by Section 5307 or Section 5311 that include vehicle
         maintenance and/or vehicle lease functions are at least partially eligible for
         reimbursement as a capital expense (thereby requiring a lower local match). The
         FTA has established standards for the capital percentage of various types of
         contracts, detailed in Table 4-2. A subrecipient may request that a higher
         percentage of their contract be considered capital; justification is required.




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         Table 4-2: Capital Cost of Contracting for Federally-Funded Projects

                                                                                         Then the
                                                                                       percent of the
                                  If the transit          And the
                                                                          And the        contract
             Type of                service is          vehicles are
                                                                        vehicles are     which is
             Contract             operated by           maintained
                                                                       owned by the:    eligible for
                                       the:               by the:
                                                                                          capital
                                                                                        funding is:
         Service Only              Contractor           Subrecipient    Subrecipient        0%

         Service/Lease             Contractor           Subrecipient    Contractor         10%
         Service/
                                   Contractor             Contractor    Subrecipient       40%
         Maintenance
         Service/Lease/
         Maintenance               Contractor             Contractor    Contractor         50%
         ("Turnkey")
         Lease Only               Subrecipient          Subrecipient    Contractor         100%
         Maintenance
                                  Subrecipient            Contractor    Subrecipient       100%
         Only
         Maintenance/
                                  Subrecipient            Contractor    Contractor         100%
         Lease

         Quality Control Safeguards

         Your contract should include quality control safeguards to ensure satisfactory
         performance of the contractor, with penalties if performance standards are not
         met. For example, incidents where the contractor exceeds an allowed window of
         lateness (such as more than 15 minutes late for a pickup), or a scheduled trip is
         not delivered, a fee should be deducted from the contractor’s invoice.

         The LOTS may not use liquidated damages as a substitute for other contract
         performance measures.       The LOTS are required to maintain a contract
         administration system to ensure that they and their contractors comply with the
         terms, conditions and specifications of their contracts and purchase orders.
         LOTS are encouraged to use other methods to incentivize or enforce contractor
         performance rather than liquidated damages.

         For service operations contracts, it is important to establish customer complaint
         reporting and resolutions procedures. For example, you may want customers to
         direct their complaints initially to the contractor, and if they are not resolved to the
         customer’s satisfaction by the contractor, the customer should then contact your
         agency. On the other hand, you may want customers to contact you directly so
         that you have a better indication of the kinds of problems your customers are


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         experiencing. However, this approach is likely to involve more staff time in your
         agency.

         If the contractor collects fares, you will need to require adequate cash handling
         procedures and documentation to ensure that all fares collected are credited to
         your program.

         On-Going Contract Management

         Your contract must require documentation of costs incurred and/or services
         performed to support invoices. The FTA will not fund payments to a contractor
         prior to the incidence of costs by the contractor without prior concurrence. When
         progress payments are made, the LOTS must obtain title to property for which
         the progress payments are made. Contractors providing service should submit
         reports to you with their quarterly or monthly invoices that include the following
         data as a minimum:

              x    Passenger trips provided (with any trip purpose or passenger type
                   breakdowns needed to complete your operating statements for the MTA)
              x    No-shows
              x    Cancellations
              x    Revenue vehicle miles
              x    Revenue vehicle hours
              x    Fares or tickets collected by type
              x    Any other units built into the rate structure
              x    Service disruptions
              x    Vehicle breakdowns
              x    Accidents/incidents
              x    Passenger complaints
              x    Any other data required for your reporting and monitoring needs
              x    Complaints (by type, particularly for civil rights complaints)

         The data above will be necessary for the LOTS to complete required NTD
         reports, Title VI analysis and other reports as documented throughout this
         manual.




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ADDITIONAL RESOURCES

Federal Regulations and Resources

FTA Circular C 4220.1F, Third Party Contracting Requirements -
https://www.transit.dot.gov/regulations-and-guidance/fta-circulars/third-party-
contracting-guidance

FTA Best Practices Procurement and Lessons Learned Manual -
https://www.transit.dot.gov/funding/procurement/best-practices-procurement-manual

FTA Online Tools and Resources for Procurement -
https://www.transit.dot.gov/funding/procurement/online-tools-resources

FTA Frequently Asked Questions: Third Party Procurement -
https://www.transit.dot.gov/funding/procurement/third-party-procurement/third-party-
procurement-faqs

FTA Procurement Self-Assessment Guide -
https://www.transit.dot.gov/funding/procurement-system-self-assessment-guide

FTA Buy America Webpage -
https://www.transit.dot.gov/regulations-and-guidance/buy-america/buy-america

FTA DBE Webpage -
https://www.transit.dot.gov/regulations-and-guidance/civil-rights-ada/disadvantaged-
business-enterprise

National Transit Institute (NTI) Procurement for Small and Medium Transit Systems – 2-
day overview course -
http://www.ntionline.com/procurement-for-small-and-medium-transit-systems/

NTI Orientation to Transit Procurement – 4-day foundation course                            -
http://www.ntionline.com/procurement-series-i-orientation-to-transit-procurement/

NTI Bus Procurement Workshop -
http://www.ntionline.com/bus-procurement-workshop-2/

49 CFR Part 26--Participation by Disadvantaged Business Enterprises (DBE) in
Department of Transportation Financial Assistance Programs -
http://www.ecfr.gov/cgi-bin/text-idx?tpl=/ecfrbrowse/Title49/49cfr26_main_02.tpl

49 CFR Part 661--Buy America Requirements -
http://www.ecfr.gov/cgi-bin/text-idx?tpl=/ecfrbrowse/Title49/49cfr661_main_02.tpl

49 CFR Part 663--Pre-Award and Post-Delivery Audits of Rolling Stock Purchases -
http://www.ecfr.gov/cgi-bin/text-idx?tpl=/ecfrbrowse/Title49/49cfr663_main_02.tpl

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49 CFR Part 665--Bus Testing -
http://www.ecfr.gov/cgi-bin/text-idx?tpl=/ecfrbrowse/Title49/49cfr665_main_02.tpl

FTA Third Party Procurement FAQs on Revenue Contracts -
https://www.transit.dot.gov/funding/procurement/third-party-procurement/revenue-
contracts

National RTAP ProcurementPRO application -
http://www.nationalrtap.org/Web-Apps/ProcurementPRO

National RTAP “How to Buy a Vehicle” Training Module (2010) -
http://demopro.nationalrtap.org/emailResource.aspx?design=1&fileid=262

National RTAP MAP-21 Updates (2013) for the “How to Buy a Vehicle” Module -
http://demopro.nationalrtap.org/emailResource.aspx?design=1&fileid=885

APTA Standard Bus Procurement Guidelines (2013) – sample RFP -
http://www.apta.com/resources/reportsandpublications/Documents/APTA%20Bus%20P
rocurement%20Guidelines%20(June%202013).docx

APTA Sample contract outline for Invitation for Bid – Materials -
http://www.apta.com/about/governance/committees/procure/Documents/materials_ifb.p
df

APTA Sample contract outline for Invitation for Bid/Request for Proposal – Services -
http://www.apta.com/about/governance/committees/procure/Documents/services_ifbrfp.
pdf

APTA Sample outline for Request for Proposal – Bus Purchase -
http://www.apta.com/about/governance/committees/procure/Documents/rfp_bus_contra
ct_outline.pdf

APTA In-Plant Inspection for Bus Procurements Recommended Practice (2011) -
http://www.apta.com/resources/standards/Documents/APTA-BTS-II-RP-001-11.pdf

CTAA/National RTAP Vehicle Procurement Technical Assistance Brief (2001) –
http://web1.ctaa.org/webmodules/webarticles/articlefiles/rtap_vehicleproc.pdf


State Regulations

Code of Maryland Regulations (COMAR) Title 21, State Procurement Regulations -
http://www.dsd.state.md.us/comar/subtitle_chapters/21_Chapters.aspx




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Resources from Other State Transit Programs

Arizona Section 5311 Capital Procurement Handbook -
https://www.azdot.gov/docs/default-
source/planning/capitalprocurementhandbook.pdf?sfvrsn=2

Iowa Model Protest Procedure -
http://www.iowadot.gov/transit/joint_participation/020088.pdf

Wisconsin Procurement Manual for the Acquisition of Goods and Services Under
Federal Transit Administration Grant Programs -
http://wisconsindot.gov/Documents/doing-bus/local-gov/astnce-
pgms/transit/procurement.pdf

Wisconsin Invitation for Bid (IFB) Procurement Toolkit -
http://wisconsindot.gov/Documents/doing-bus/local-gov/astnce-
pgms/transit/procurement/ifb.pdf

Wisconsin Request for Proposals (RFP) Procurement Toolkit -
http://wisconsindot.gov/Documents/doing-bus/local-gov/astnce-
pgms/transit/procurement/rfp.pdf




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                             CHAPTER 4: SUMMARY CHECKLIST

   Develop and follow your own written procurement procedures that comply with
    Federal and State requirements.
   Obtain MTA approval for all grant-funded operating expenditures exceeding $3,500
    and all capital expenditures exceeding $1,000.
   Obtain MTA concurrence on all competitive procurement solicitations and awards.
   Determine most appropriate procurement method for your project based upon the
    dollar amount, the nature of the project, and Federal and State accepted practices.
   Take advantage of MTA expertise in developing your bid package/RFP.
   Take into consideration that large vehicles typically take at least 18 months to
    procure, once MTA has approved the bid request.
   Vehicle procurements only: comply with Federal Bus Model Testing requirements.
   Vehicle procurements only: comply with Pre- and Post-delivery Audit requirements.
   Procurements for steel, iron, and manufactured products (including those used in
    construction) over $150,000 only: comply with Buy America requirements.
   Facilities development procurements:                           comply   with   facilities   development
    requirements outlined in Chapter 7.
   Include contract options if appropriate.
   Follow competitive procurement practices for awarding revenue contracts exceeding
    small purchase threshold.
   Establish individual DBE project goals for all procurements over $25,000 and obtain
    MTA approval for those $50,000 or more. (See Chapter 13.)
   Establish an approved DBE program (required for all Maryland LOTS; Federally
    required if you receive $250,000 or more in FTA planning, capital, and/or operating
    assistance in a Federal Fiscal Year). (See Chapter 13.)
   Include required Federal and State clauses in your contracts.
   Ensure that operating and maintenance subcontractors also comply with applicable
    Federal and State requirements including drug and alcohol testing, CDL, and ADA
    compliance.
   For operations contracts, select the most appropriate rate structure for the type of
    service to be provided. Be sure to address details such as deadhead miles, no-
    shows, fare collection, on-time performance, penalties for poor performance, and
    customer complaint resolution in your contract.
   Require documentation to support contractor requests for payment. Submit
    requests for payment to the MTA only for costs that have already been incurred.

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  This chapter summarizes fare requirements and options, and public
  notification requirements for implementing a fare change. The following
  topics are addressed:

        x    Determining Fare Structures and Prices
        x    Special Fare Requirements
        x    Fare Media Options
        x    Requirements Associated with Changing Your Fares (Public Comment
             Period, Public Notice, and Nondiscrimination)
        x    Secure Fare Collection and Cash Handling Procedures



All LOTS are required to establish a written fare policy, offer reduced fares on fixed-
route services for seniors and individuals with disabilities, provide opportunity for public
comment as part of planning any fare increases, and provide public notice in advance of
fare changes. All LOTS must have written procedures for obtaining comments in a
public forum prior to fare changes. In addition, all LOTS are expected to follow sound
cash handling procedures for fares to minimize risk of theft and accurately account for
fare revenue.

DETERMINING FARE STRUCTURES AND PRICES

The MTA recommends considering the following fare policy evaluation factors in
determining fare policies and structures.

    x       Equity - This factor suggests that fares should be related to the costs of
            providing public transportation to patrons. This includes charging more for longer
            trips and during peak periods. To achieve broader social goals, discounts could
            be provided to transit dependent groups.

    x       Administrative Ease - Resources associated with collecting and processing
            fares should not be burdensome. The processes for collecting, counting,
            recording, and depositing revenue should be well managed and deter fraud and
            theft.

    x       Patron Comprehension - The fare structure should be easy for people to
            understand. This makes it easier to ride transit and reduces conflicts between
            patrons and drivers about the proper fare.


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    x    Fiscal Integrity - Because public transportation is not able to cover operating
         and capital costs with fares alone, public subsidies are needed. However, fares
         should generate sufficient revenue to assure adequate funding.

    x    Ridership - Fare levels should encourage ridership.

    x    Compatibility - Fare collection equipment should allow coordination and
         integration between transit agencies.

    x    Policy Support - Public transportation is one of several key factors that influence
         the quality of life of Maryland residents. This suggests that fare policies that
         support broader social and economic issues be established.

There are several ways to approach fare structures and setting prices, introduced
below.

Fare Structures

To briefly summarize, variables that may be incorporated into your fare structure
include:

    x    Travel distance – Examples include basing fares on:
          Actual travel distance – Charges could be based upon actual mileage or
           ranges of miles traveled.
          Geographic zones – Under this method, your agency defines service zones
           within your service area and determines fares based upon the number of
           zones crossed.

    x    Service quality – This could include such factors as:
          Speed of service, with higher fares generally charged for express service and
           lower fares charged for “local” service in which travel generally takes longer.
          Whether service is tailored to individual travel needs (demand-response) or
           the individual must adapt to the available service (fixed-route).
          Response time. For example, ADA paratransit service is required to offer
           next-day service, while the SSTAP service may require 48 hours advanced
           notice. With service quality as a factor, you may wish to charge a higher fare
           for a shorter response time (as long as the fare is within ADA paratransit fare
           limits, described later in this chapter).

    x    Time period of travel – Higher fares could be charged for trips during “peak”
         hours—when demand is greater and/or the LOTS operates a higher frequency of
         service.



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    x    Customer characteristics – Reduced fares are often (and are sometimes
         required to be, as described below) charged for individuals within certain
         demographic groups such as older adults, individuals with disabilities, and young
         people and/or students. If the transit system also provides human service
         transportation, there may be special fare arrangements for agency clientele.

    x    Transfer fee – Depending upon how your routes are structured, it may or may
         not be appropriate to charge a fee for transfers between routes. Transferring
         enables customers to travel farther in your system and is appropriate for longer
         trips. However, if your routes are structured so that transfers are required for
         even short trips, the inconvenience of having to transfer is already a disincentive
         and should not be charged an additional premium.

    x    Percent of deficit – Your fare structure should also be designed with your
         farebox recovery ratio goal. For example, if your goal is to recover 20 percent of
         your operating costs with fare revenue, you must charge fares that, on the
         average, reflect 20 percent of the cost per trip. This approach is not as
         straightforward as it may appear, since ridership is to some extent influenced by
         fare levels, and fare increases may result in ridership decreases and lower
         farebox recovery.

The Relationship between Price and Demand

To some extent, your fare levels                       A general rule of thumb in communities where
influence your ridership.         In                   transit customers are mostly transit-dependent
general, if all other conditions are                   rather than choice riders is that for every 10
equal, charging a higher fare will                     percent of fare increase, ridership will decrease
decrease the demand, while                             by 3 percent. For example, if you increase your
lowering your fares will increase                      fare from 85 cents to $1.00, this would be a 17.6
ridership. Determining the optimum                     percent fare increase, resulting in a 5.3 percent
fare for maximizing your fare                          ridership decrease (since 17.6 percent divided
revenue is a balancing act and can                     by 10 percent is 1.76, which multiplied by 3
vary based on current market                           equals 5.28). The relationship between fare
conditions.                                            increases and ridership changes is referred to as
                                                       “fare elasticity.” For more information on fare
Additional resources that provide                      elasticities, please see TCRP Report 95,
guidance       on     determining                      Chapter 12, Transit Pricing and Fares, online at:
appropriate fare levels for your                       http://onlinepubs.trb.org/onlinepubs/tcrp/tcrp_rpt
system are provided at the end of                      _95c12.pdf
this chapter.




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SPECIAL FARE REQUIREMENTS

Half-Fare for Seniors, Individuals with Disabilities, Medicare Cardholders

Federal and State regulations require that, during off-peak periods, seniors, individuals
with disabilities, and individuals with valid Medicare cards may be charged fares no
higher than one-half of the rates generally charged other passengers on LOTS fixed-
routes or deviated fixed-routes. If the LOTS does not have defined peak-hour periods,
then the half-fare policy must apply during all hours of service. This means that if your
system’s general public base fare is $1.00, the fare charged to seniors, individuals with
disabilities, and Medicare cardholders may be no higher than 50 cents. This half-fare
requirement also applies to LOTS route deviation and commuter bus services operating
beyond peak hours, but does not apply to demand-response service.

The LOTS’ reduced fare policy must be included with the general fare policies wherever
they are published or posted, including the LOTS’ website, route and schedule
brochures, fare brochures, and other public information related to fares. This policy
must also be publicized internally to staff, and the LOTS must document how and when
they train their staff in their local fare policies in general and their half-fare policies in
particular.

Federal guidelines define seniors as individuals aged 65 and older. However, at the
discretion of the local transit system, the minimum age may be younger to qualify for
half-fare. It may be simplest to utilize the same minimum age as used for SSTAP
service eligibility (a locally-determined threshold). Consulting with your local Area
Agency on Aging and your advisory committee on this matter is strongly recommended.

LOTS may require passengers to show proof of eligibility for half-fare when they pay
their fare. LOTS may also require individuals with disabilities and seniors without valid
Medicare cards to obtain a reduced fare I.D. card to qualify for the half-fare. Requiring
some form of documentation to verify disability (such as a letter from a physician or
caseworker) reduces the possibility of non-eligible individuals fraudulently taking
advantage of the reduced fare. However, LOTS must ensure that their processes for
obtaining a half-fare identification card and/or for presenting proof of eligibility are
relatively easy to obtain and use. For example, a LOTS proof of eligibility requirements
could include a valid driver’s license, Medicare card, ADA paratransit eligibility card or
any other standard identification card.

ADA Paratransit Fares

The fare for paratransit services provided as a complement to fixed-route service as
required by the ADA (explained in Chapter 12) can be no more than twice the fixed-
route fare for an equivalent trip. This requirement does not apply to other demand-
response services (such as SSTAP). In addition, your local community may have
established a lower maximum fare that can be charged for seniors and individuals with
disabilities for community paratransit.


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ADA complementary paratransit services and fares must be extended to at least one
other individual (companion) accompanying an ADA-eligible individual. If a personal
care attendant (PCA) accompanies an ADA-eligible individual, the service must be
provided to the PCA and at least one additional companion accompanying the ADA-
eligible individual. The certified PCA of an eligible ADA paratransit customer cannot be
charged a fare on a LOTS’ complementary ADA paratransit service. However,
additional companions can be charged the same fare as the ADA-eligible individual with
whom they are traveling.

At the LOTS’ discretion (refer to Chapter 12), a deviated fixed-route service can charge
an additional fare or surcharge if the additional fare or surcharge is applied to all users
of the deviated fixed-route service.

FARE MEDIA OPTIONS

Transit providers have a wide variety of fare media options they may choose to accept,
including:

    x    Cash
    x    Tokens
    x    Individual trip/zone tickets
    x    Round-trip tickets
    x    Multi-ride tickets or punch cards
    x    Transfer slips
    x    Passes (good for unlimited rides during a certain period, such as a day, week, or
         month)
    x    Post-payment (invoicing sponsoring agencies or customers after trips have been
         provided)
    x    Electronic swipe card readers or proximity readers
    x    Electronic mobile ticketing apps on smart phones

Use of media other than cash can provide documentation for more accurate farebox
accounting. Discounted fare media can be good marketing tools for increasing
ridership.

Electronic fare media technology continues to evolve and acceptance of these
electronic methods can make it easier for customers to ride and for your organization to
account for fares and ridership. LOTS that are considering making the transition to an
electronic fare payment system (or any changes to existing electronic fare systems)
should contact their Regional Planner early in the grant funding and procurement
processes because the purchase of an electronic fare system will trigger compliance
with FTA-funded ITS architecture technology requirements (see Chapter 2).

Additional resources on fare payment options are provided at the end of this chapter.




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REQUIREMENTS ASSOCIATED WITH CHANGING YOUR FARES

Public Comment Period for Proposed Fare Changes

All LOTS must have written procedures, approved by the MTA, for obtaining comments
in a public forum prior to fare changes. The requirements for this process are detailed
in Chapters 2 and 14 (and attachments) and summarized in the following sections.

Once the LOTS has determined a proposed fare change, they must provide an
opportunity for public comment (as outlined in Chapters 2 and 14 of this manual) on the
proposed fare change. Any comments received must be addressed before the proposal
is finalized.

Public Notice for Impending Fare Changes

In addition to the public comment period on proposed fare changes, public notice must
be provided by the LOTS for all fare changes. Public notice requirements and
guidelines are detailed in Chapter 14.

MTA must be notified in advance of the planned fare change.

The fare change can go into effect 30 days from the date of the notice. Notice of the
change must be conspicuously posted in all affected passenger facilities, as well as in
vehicles operating the affected service.

As described in Chapter 14, the public notice can happen concurrently with the public
comment period, as long as the comments received do not result in a substantially
altered fare change plan.

Nondiscrimination

When planning any change in fare policy, including amount charged and method of
payment, the changes should be designed to equitably impact the entire community.
An analysis of Title VI implications must be conducted by the LOTS with each fare
change proposal and MUST be kept on file for three years. Title VI of the Civil Rights
Act of 1964 prohibits discrimination based on race, color, or national origin, and
subrecipients of Federal funding must comply with FTA Title VI requirements as detailed
in Chapter 13.


SECURE FARE COLLECTION AND CASH HANDLING PROCEDURES

LOTS’ fare collection and cash handling procedures should minimize the risk of theft by
individuals both internal and external to your agency. Fare theft not only results in lost
revenue, it also puts employees at risk of being harmed by would-be thieves. Each
LOTS is required to have written cash management procedures in place to demonstrate
that they adequately account for their fare collection and security, including cash fares

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and other fare media. The following policies and procedures are recommended for
LOTS providers that accept cash fares:

    x    Secure fareboxes should be installed in all vehicles used in passenger service for
         which cash fares are collected.

    x    Your system should have an exact change policy, so there is no need for drivers
         to ever handle cash.

    x    Farebox vaults should be pulled from the vehicles at the end of each service day
         and the cash should be stored in a secure interior place such as a safe. Cash
         from each vehicle should be kept separate to account for revenue collected on
         different routes each day. Pulling of fareboxes and securing of cash should be
         monitored. Strict key control should be maintained.

    x    Cash should always be counted by two people in a room away from public view
         and access.

    x    Cash and other fare media collected on each vehicle should be reconciled
         against driver trip sheet data for each vehicle each day. This will also provide a
         double check of the accuracy of ridership data.

    x    Deposits should be made frequently, preferably daily, and the deposited amounts
         should be reconciled with your agency’s farebox cash counts.

Demand-response systems may wish to opt for a ticket policy, wherein customers must
purchase tickets in advance by mail or in person at the agency’s administrative facilities,
and present tickets to the driver upon boarding. This eliminates the need to secure
cash on board vehicles. However, if cash fares are accepted on fixed-route service
they must also be accepted on the ADA paratransit service that complements the fixed-
route service.




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ADDITIONAL RESOURCES

Comprehensive Financial Management Guidelines for Rural and Small Urban Public
Transportation Providers, published by AASHTO (1992), downloadable through
http://digital.ncdcr.gov/cdm/ref/collection/p16062coll9/id/119548 (see Chapters 6 & 7)

APTA Standards for Contactless Fare Media Systems, downloadable through
http://www.apta.com/resources/standards/technology/Pages/default.aspx

APTA conducts an annual Fare Collection / Revenue Management / TransITech
Conference and posts previous conference presentations to its website. For example,
the 2016 presentations are posted here: http://www.apta.com/mc/revenue/previous-
conferences/2016revenue/presentations/Pages/default.aspx

TCRP resources related to fare policies and payment systems, downloadable through
http://tcrponline.org, include:

    x    TCRP Report 177, Preliminary Strategic Analysis of Next Generation Fare
         Payment Systems for Public Transportation (2015)

    x    TCRP Report 95, Traveler Response to Transportation System Changes
         Handbook, Chapter 12, “Transit Pricing and Fares,” (2004)

    x    TCRP Report 94, Fare Policies, Structures, and Technologies: Update (2003)

    x    TCRP Report 54, Management Toolkit for Rural and Small Urban Transportation
         Systems (1999) (see Part B, Chapter 7, “Managing for Affordable Transit
         Systems”)

    x    TCRP Synthesis 82, Transit Fare Arrangements for Public Employees (2010)

“Ensuring Equity        in   Service    and   Fare    Changes”       FTA    web    page,
https://www.transit.dot.gov/regulations-and-guidance/civil-rights-ada/ensuring-equity-
service-and-fare-changes

FTA Circular 4702.1B, "Title VI Requirements and Guidelines for Federal Transit
Administration Recipients," https://www.transit.dot.gov/regulations-and-guidance/fta-
circulars/title-vi-requirements-and-guidelines-federal-transit

Transit Pass Toolkit, Community Transportation Association of America in partnership
with RLS and Associates, for the National Resource Center for Human Service
Transportation Coordination and the National Consortium on the Coordination of Human
Services Transportation (2007)
http://web1.ctaa.org/webmodules/webarticles/anmviewer.asp?a=342&z=37




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                             CHAPTER 5: SUMMARY CHECKLIST

   Develop a fare structure that is based on distance, service quality, time period,
    customer characteristics, transfer patterns, and/or farebox recovery ratio goal.
   Ensure that fares do not discriminate based on race, color, or national origin.
   Charge no more than half the general public fare for seniors, individuals with
    disabilities, and Medicare cardholders during off-peak hours.
   Charge no more than twice the general public fare for equivalent ADA paratransit
    trips.
   Consider fare media options such as tokens, tickets, tickets/ passes that provide
    discounts for multiple rides, transfer slips, and electronic media such as Smart
    Cards.
   Conduct an analysis of Title VI implications with each fare change proposal.

   Provide an opportunity for public comment for all proposed fare changes.
   Provide public notice and notify the MTA of the proposed fare change at least 30
    days before the new fares take effect.
   Conspicuously post new fares on all affected facilities and vehicles operating in
    affected service.
   Establish secure fare collection and cash handling procedures.




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  This chapter provides recommendations and ideas for marketing your services
  and raising community awareness about and support for public transportation
  through effective community relations. Marketing is important not only to
  ensure the public is aware of your services (essential for subrecipients of FTA
  and MTA funding for public transit services), but also, ultimately, as a means of
  generating revenue. Strategic marketing can help increase ridership and
  therefore fare revenue. Effective community relations can help increase
  community support for funding.

  LOTS are also required to conduct specific public notice and outreach efforts
  related to planning and nondiscrimination. These requirements are mentioned
  in this chapter, and are described in detail in Chapter 14, as well as in parts of
  Chapters 2, 12, and 13.



REQUIREMENTS RELATED TO MARKETING AND COMMUNITY RELATIONS

LOTS must meet the following requirements related to marketing and community
relations.

    x    Promote the availability of public transportation services to the general public,
         including:
          Fixed-route transit services,
          Services operated for special events (to avoid possible charter service
           violations),
          “Tripper” services that primarily transport students but which are open to the
           general public (to avoid possible school bus service violations),
          How to request route deviation service, for any applicable routes,
          ADA complementary paratransit services, and
          General paratransit/demand-response services.
    x    Provide information about services in formats that are accessible to individuals
         with disabilities (see Chapters 12 and 14 for more information on this
         requirement).
    x    Include Title VI nondiscrimination policy statement on brochures, website,
         vehicles, and other informational formats (as described in Chapters 13 and 14).


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    x    Provide information about services in alternate languages as identified in the
         LOTS Language Assistance Plan (LAP) for people with limited English
         proficiency (LEP) (see Chapters 13 and 14).
    x    Notify the public about:
          Public hearings,
          Public meetings,
          Proposed service or fare changes, and
          Intent to apply for FTA/MTA funding.
         (See Chapters 2 and 14 for more information on these requirements.)

Marketing and Charter Services

Services funded by the LOTS grant programs that are administered by the MTA cannot
be used to operate charter services except under very specific exemptions (see Chapter
9), and Federally-funded vehicles and facilities cannot be used to provide charter
service except in very limited circumstances (see Chapter 11). If you provide special
services in coordination with public transit, adequately marketing the availability of
public transit is critical for demonstrating that special services are not chartered service.

Accessible Formats and Alternate Languages

Ensure the printed materials identified in your agency’s Language Assistance Plan are
available upon request in formats accessible to individuals with disabilities, as well as
alternate languages, and that target LEP populations are notified of the availability of
these formats and languages. (See Chapters 13 and 14 for more information on civil
rights requirements for accessible formats and alternate languages).

Your website must also be accessible for individuals who use screen readers (such as
people with vision disabilities). The FTA suggests that agencies review the U.S.
Department of Justice guidance, “Accessibility of State and Local Government Websites
to People with Disabilities” (https://www.ada.gov/websites2.htm). Other helpful
information may be found in the Web Content Accessibility Guidelines
(https://www.w3.org/WAI/intro/wcag.php) and in an FTA PowerPoint presentation on
creating Section 508 compliant documents on its site at: https://www.transit.dot.gov/fta-
web-policies/accessibility/508-compliance.

Ensure that deaf customers have telephone access to your agency by training all
employees who interact with the public over the telephone in using the Maryland Relay
Service. If you receive a significant number of calls from deaf individuals, equipping
your office with a TDD/TTY and training staff in its use is recommended. If you have a
separate TDD/TTY line, be sure to include this telephone number on your printed
materials.




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Keeping a written log of all requests for accessible information, TTY calls, and requests
for sign language interpretation or other special accommodations can be a useful tool
for assessing whether your agency is adequately meeting these needs.

RECOMMENDED ACTIVITIES AND MATERIALS

Recommendations for all public transit service programs are provided in the following
categories:

    x    Media Relations
    x    Brochures, Route Maps, and Schedules
    x    Telephone Information
    x    Electronic Information (including use of social media)
    x    Customer Feedback
    x    Advertising
    x    Joint Marketing Efforts
    x    Signage and Information at Bus Stops
    x    Transit Vehicle Appearance
    x    General Customer Service
    x    Community Involvement
    x    Promotional Fares
    x    Sale of Advertising Space
    x    Marketing Plan and Budget
    x    Monitoring and Evaluation

Media Relations

    x    Media Contact Person: It is a good idea to assign one or two key people to be
         the transit agency’s contact person(s) for the media, in order to build
         relationships with reporters. This will also help maintain control over the
         information that is shared with the media. Other staff should be encouraged to
         refer media inquiries to the designated individual(s). This is especially important
         in the event of a critical incident with sensitive information, such as a serious
         accident that receives media attention.

    x    Media Releases: Send news releases to local media (newspapers, radio and
         television stations, and web-based news sources) whenever the transit agency
         has a story that would create positive awareness about transit, such as new or
         improved services, grant awards, delivery of new vehicles, and human interest
         stories (such as “above and beyond the call of duty” employee service).

         To improve the chances for being published, media releases should be
         addressed to a specific individual (such as the news editor) at each news outlet,
         and include the name, telephone number, and email address of the transit
         agency’s contact individual(s) as well as the transit agency’s website address.
         Sending accompanying photos or a note that photos are available is


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         recommended; images that include people (as well as vehicles and/or facilities)
         are suggested.

         Templates for media releases are attached at the end of this chapter as
         Attachments 6.A and 6.B.

    x    Media Kits: Each LOTS should have a media kit with the following items, to give
         reporters seeking additional information:
          A fact sheet summarizing important facts, in list form, about whatever is being
           announced. (On an ongoing basis, maintaining a fact sheet of basic service
           and ridership statistics and other noteworthy facts is recommended.)
          Transit system brochures.
          Timetables.
          A print-out of the transit agency’s website homepage.
          A CD containing photos, the transit system logo, and other graphic
           information.

         You may also wish to prepare an electronic edition of your media kit for emailing
         and/or posting to your website.

    x    Public Service Announcements: Brief informational announcements about the
         availability of services and programs, upcoming service changes, and
         opportunities for public participation should be sent to broadcast and electronic
         news media on a regular basis. A template for a public service announcement is
         provided as Attachment 6.C.

Brochures, Route Maps, and Schedules

    x    Brochures: Develop easy-to-understand brochures about your services. Keep
         brochures up-to-date and stocked at community information centers including
         transit centers and rail stations, at other public locations such as government
         buildings, the Chamber of Commerce, the public library, and shopping centers,
         as well as on buses. Make electronic versions available to post online or share
         via email.

    x    Route Maps and Schedules: If you operate fixed-route or route-deviation
         service, your brochures must include a printed map of routes with clear
         information about schedules, fares, route-deviation, and flag stop policies, etc.

         Every transit route must have a timetable (stand-alone or in combination with
         other routes) with, at a minimum:

             Route alignment shown on a map,
             Route schedule information,
             Indication of intersecting transfer locations,
             Transit agency logo, telephone number, and Web address, and
             Date that the timetable goes into effect.

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         It is also recommended that LOTS develop a system map that shows the entire
         system, showing connecting service where appropriate. The map should be
         updated at least every two years. Further, you should consider producing a
         “How to Use” brochure with instructions on:

             How to ride the transit system,
             How to plan a trip,
             How to read timetables,
             Fares and how to pay them,
             Special provisions for patrons with disabilities,
             General rules of rider etiquette,
             Bicycle policies, and
             Where to get additional transit information.

         Your schedule should be published in a format that is clear and simple to
         understand. The most appropriate format will be different for each LOTS.
         Factors to be considered in choosing a format include:

          Number of routes in your system and connectivity between routes –
           Opportunities to transfer to other routes should be made apparent on the
           route map and timetables.

          Consistency of your schedule from hour-to-hour – If your routes operate
           on headways that are consistent from hour-to-hour, one way of streamlining
           your schedule is to present it in terms of minutes after the hour.

          Number of fixed stops for which customers need to know times – Do
           your customers need time points for every stop? Every mile along the route?
           At key stops and transfer points only? Keep in mind that including too many
           time points on your schedule requires more space to print, sets up heightened
           expectations for on-time service, and involves more work to update when
           schedules change. On the other hand, including too few time points means
           customers will be required to do quite a bit of guessing as to when they can
           expect service, creating an impression of service unreliability. As a rule of
           thumb, time points should be designated at intervals no shorter than five
           minutes apart and no longer than ten minutes apart.

          Degree to which your routes are fixed or flexible – For flexible routes, you
           may wish to publish fewer timepoints to allow for variations in the schedule
           due to route deviation.

          Connectivity with other regional providers – If your routes connect with
           routes of other transit providers, route maps and schedules should reflect this.
           Your fare policy should also indicate whether you accept transfers from other
           providers or share a common electronic payment system.



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          Complementary paratransit vs. other demand-response services – If
           your system operates both complementary paratransit services and other
           general demand-response services, your public information must clearly
           distinguish the differences between the two services and who is eligible to
           use each.

          Constraints in your printing budget, the size of your brochure, and the
           amount of space available for schedules – If space is constrained, you
           may be tempted to cut corners on the amount of information included in the
           schedule. However, it is generally better to allow more space, even if it
           means printing additional brochures, to provide customers with
           comprehensive, understandable information. Keep in mind that the harder
           your schedule is to use, the more time your staff will spend on the telephone
           explaining it to customers, and the more potential there is that choice
           customers are deterred from using your services.

    x    Passenger Policies and Riding Instructions: In addition to providing general
         route and schedule information in your brochures, it is a good idea to include
         information about special operating policies (such as flag stops, route deviations,
         and curb-to-curb vs. door-to-door service), as well as policies about passenger
         behaviors that are not allowed on board vehicles (such as smoking, eating, and
         disruptive behavior). Providing customers with complete written policies and
         instructions on using your services not only makes using the service more
         comprehensible, it helps protect your agency from potential perceptions of
         discrimination.

    x    Clarity of Information: Informational materials should be designed for clarity
         and “user-friendliness” for all customers. Recommendations include:
          Use illustrations and graphic elements selectively to avoid cluttering up the
           design and reducing the clarity of your information.
          Use a font and font size that is easy for most customers to read.
          Use a font color that contrasts highly with the background color.

    x    Notification of the Public’s Rights under Title VI: Brochures, websites, and
         other informational materials must include a statement of the LOTS’ policy for
         nondiscrimination on the basis of race, color, or national origin, as required under
         Title VI. Further, the notification must state that individuals have the right to file a
         complaint and provide instructions on how to file one. The details on this
         requirement are provided in Chapter 14.

    x    Availability of Translated Information for Limited English Proficiency (LEP)
         Individuals: Also required under Title VI (as described in Chapter 13), vital
         documents must be translated into other languages as identified in the LOTS’
         Language Assistance Plan.




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Telephone Information

The MTA recommends having staff available to provide information by telephone during
normal business hours at a minimum. In addition, all transit agencies should maintain a
TTY/TDD system for individuals with hearing impairments. The FTA does not specify
that a transit system must have a TTY/TDD system; however, as part of complying with
the ADA, the transit system must document how it will handle requests from hearing-
impaired individuals.

Ensure adequate availability of information by telephone by providing an after-hours
announcement indicating office hours, community locations where brochures are
stocked, your website address, and any announcements regarding operations during
inclement weather and other major service disruptions. If your telephone system and
budget allow, offer a touch-tone menu where customers can obtain service and
schedule information 24 hours a day.

For ADA complementary paratransit service trip reservation purposes, the LOTS must
be prepared to accept requests for reservations during normal business hours on a
“next-day” basis (not 24 hours in advance) on all days prior to days of service (e.g.,
weekends or holidays). Reservations for next-day service must be taken during
administrative office hours, and reservations can be accepted using staffed telephones
or mechanical means such as answering machines. The LOTS must also be prepared
to document that ADA complementary paratransit telephone calls are received and
missed calls answered in a reasonable period of time, and that ADA paratransit patrons
do not experience excessive hold times while waiting to register or get information on
trips (see Attachment 12.C for more information).

Electronic Information

    x    Website: Develop a website and keep it up-to-date. If you are a public agency,
         enlist the help of your city or county information technology department. If you
         are a private non-profit organization, many local internet service providers offer
         reduced rates for developing community service pages. Designing your website
         could be a project for an intern or a computer graphics class at a local college.
         Keep in mind, however, that a website is only helpful if it is kept up-to-date with
         accurate information. Thus, be sure you have the resources available to provide
         ongoing maintenance of your website before launching it online. It is also
         important that LOTS staff meet regularly with the IT/website developer staff to
         review any updates and ensure they are accurate and timely.

         If you provide a website, the website must include information about your route
         map(s), schedules, and fare policy, and information about ADA accessibility, as
         well as opportunities for the public to provide online feedback. Links to other
         Maryland transit websites with which your services connect are also
         recommended. Refer to Attachment 6D at the end of the chapter for website
         requirements.



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    x    Social Networking and Blogging: In addition to your official website, consider
         maintaining a blog (derived from “web blog”) and maintaining an active presence
         on social networking sites, with prominent links to each social media site from
         your official website. A well-designed and maintained blog can serve as an
         inexpensive alternative to a formal website.

         Social media such as Facebook, Twitter, YouTube, and Instagram have become
         mainstream activities for reaching a wide range of community members, and are
         critical for reaching younger members of your target market.

         When social media activities are pursued, be sure to monitor comments posted
         by readers. Reader comments can provide helpful feedback. However, they can
         sometimes result in unfavorable and critical public commentary or worse, so you
         may want to use controls such as requiring a moderator to review comments and
         approve them before they become publicly visible.

    x    Electronic Newsletter: Publish an “e-newsletter” that customers and other
         interested individuals can subscribe to online to receive announcements about
         service changes, special services, upcoming events, plans, and public
         participation activities.

    x    Real-Time Service Updates: As “real-time” information (such as current
         location of vehicles and next vehicle arrival times along routes) technology
         develops and becomes affordable, this information could be added to the
         agency’s website and made available through a smart phone app, as well as
         automatically emailed or sent as a mobile alert to subscribing customers,
         providing them with up-to-the-minute information about the status of service.

    x    Google Transit Maps: If you operate fixed-route service and have a bus stop
         inventory, consider making stop and route information available to online
         mapping services such as Google. The National Rural Transit Assistance
         Program (RTAP) has developed a General Transit Feed Specification (GTFS)
         Builder app designed for rural and small urban transit providers
         (http://nationalrtap.org/supportcenter/Builder-Apps/GTFS-Builder).

Customer Feedback

    x    Customer Surveys: Periodically survey your customers to determine what they
         like and dislike about your services and solicit suggestions they may have.
         Survey results can be a valuable planning tool, and customers will feel that your
         agency is empathic to their concerns. A good practice is to conduct customer
         satisfaction surveys at least once every three years.

         Surveys can quickly and easily be conducted through online survey apps.
         However, for planning efforts and in consideration of Title VI requirements (see
         Chapter 13), LOTS are advised not to rely solely on electronic surveys, since
         many customers and potential customers may be unable to access them or lack
         the skills to use a computer. It is important to note that LOTS that operate 50 or
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         more buses in peak service, and are in an urbanized area (UZA) of 200,000 or
         more in population, are required to conduct surveys utilizing more rigorous
         sampling techniques. This requirement is introduced in Chapter 13 of this manual
         under “Additional Requirements for LOTS in Areas with 200,000 or More
         Populations Operating at Least 50 Fixed-Route Vehicles in Peak Service,” and
         detailed in Chapter 4 of FTA Circular 4702.1B.

    x    Ongoing Customer Feedback: Solicit and monitor compliments, service
         requests, and complaints that your agency receives in an ongoing and incidental
         basis. You may wish to provide your customers with a feedback form, in print
         format as well as on your website if you have one. This type of form not only
         encourages customer response on an ongoing basis, it also provides a
         mechanism to document employee commendations. At a minimum, you must
         have a form for accepting discrimination-related complaints as required for Title
         VI, EEO and DBE (all Chapter 13) and the ADA (Chapter 12).

         A log of customer complaints and actions taken should be maintained by the
         transit agency, and every complaint should receive a written response.

         Title VI (Nondiscrimination, including EEO and DBE) complaints must be
         addressed according to the LOTS’ local Title VI complaint process (as
         summarized in Chapter 13). This process must include a formalized procedure
         for accepting, evaluating, and responding to any discrimination complaint
         received and immediately notifying to MTA.

Advertising

The following types of advertising are worth considering:

    x    Newspaper: Local community papers and those targeted to specific segments
         of the population (e.g., seniors, Spanish speakers) can be an affordable
         advertising outlet.

    x    Broadcast Media: The cost-effectiveness of purchasing advertisements in print
         or on broadcast media (radio or television) depends on where a transit system is
         located (major metropolitan area versus rural area) and the available budget.
         Frequent exposure is often more desirable than larger or longer advertisements.
         Television may reach more people than a newspaper ad, but production costs
         are typically higher.

    x    Direct Mail: While direct mail can get a targeted message to the proper
         audience, transit agencies should consider the potential costs, including costs to
         purchase printed inserts, envelopes, a mailing list, and postage. Including an
         insert in local utility bill or in a coupon mailer package may be less expensive
         options.

    x    Billboards/Posters/Signs: Billboards, on-transit advertising, and road signs can
         reach a broad general audience. Highway signs should be limited to a few words
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         and a large photo or graphic, since drivers traveling at highway speeds must
         read the message quickly. Billboard locations should be selected near large
         employment centers, major commuter corridors, and retail centers.

    x    Promotional Items: Keychains, magnets, and other small giveaway items
         imprinted with the transit agency’s logo and campaign message can raise
         awareness about transit and be distributed at meetings, special events, and
         during on-board promotions to the public, especially current and potential riders.

    x    Flyers: Transit information and news updates of interest to patrons should be
         placed on buses and in transit stations.

    x    Procurement: Remember that purchasing any form of advertisement may trigger
         procurement requirements to which the LOTS must adhere (see Chapter 4).

Marketing Message Ideas

In developing advertising campaigns and advocating for community support, LOTS may
find one or more of the following messages useful. This list was extracted from TCRP
Report 122, Understanding How to Motivate Communities to Support and Ride Public
Transportation (http://onlinepubs.trb.org/onlinepubs/tcrp/tcrp_rpt_122.pdf, pages 42-43).

Personal benefits of public transportation:
    x    Is a safe way to get around.
    x    Is convenient in bad weather.
    x    Is a dependable means of getting around.
    x    Is for people like you.
    x    Eliminates the need to find and pay for parking.
    x    Saves money in comparison to driving.
    x    Goes where you want to go.
    x    Has a direct, positive impact on your life or those of people you know.

Societal benefits of public transportation:
    x    Gives people more choice in getting around.
    x    Helps those who can’t afford a car to get around.
    x    Improves the quality of life for a community’s residents.
    x    Provides mobility to those who can’t drive, such as seniors, teens, and
         individuals with disabilities.
    x    Reduces pollution.
    x    Reduces society’s energy consumption.


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    x    Makes America more independent of foreign oil.
    x    Reduces congestion on the roads.
    x    Makes communities more attractive to businesses.
    x    Makes more people interested in living in the area.
    x    Is a good way to spend tax dollars.

Page 79 of the TCRP report also recommends the following messages about public
transportation for advocacy efforts:
    x    Has economic consequences: enhanced property/real                estate   values,
         employment opportunities, growth of communities.
    x    Has environmental benefits: reduced congestion and reduced pollution.
    x    Saves productive time by lessening traffic congestion.
    x    Makes us less dependent on foreign oil.
    x    Saves us money on gas.
    x    Enhances our quality of life: reduces personal stress and increases
         independence for non-drivers.
    x    Improves our lives and the lives of our children.

The American Public Transportation Association publishes a series of advocacy briefs
around many of these messages, found through the Resource Library, Reports and
Publications section of their website (www.apta.com).

Joint Marketing Efforts

    x    Partnerships with Other Transportation Providers: If your service area
         coincides or overlaps with the service area of a mobility manager, rideshare
         program, and/or other public transportation provider, jointly promoting each
         other’s services not only helps your organization, but also helps customers and
         potential customers who will be able to access information more easily.

    x    Partnerships with Local Businesses: LOTS may wish to pursue local
         marketing partnerships, such as sponsorships with local radio and television
         stations, providing advertising for the station on buses in exchange for broadcast
         advertisements. Remote radio station broadcasting at a special event related to
         transit, such as the opening of a new facility, is another way to raise awareness
         of transit over the air.

Signage and Information at Bus Stops

At a minimum, LOTS that operate fixed-routes should install identification signage at all
fixed stops, so that customers will know where to wait for the bus. Bus stop signs also
serve a marketing function by raising awareness about the availability of the service in

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6    MARKETING AND COMMUNITY RELATIONS


the community. Ideally, they should be attractively designed, well-maintained, and
include the telephone number to call for service information. The Maryland State
Highway Administration (SHA) and many local governments have specific design and/or
permitting requirements for posting signs. Before placing a bus stop sign, please check
with the local government and/or SHA regarding specific requirements at each sign
location. SHA sign standards related to transit stops are provided in Appendix H.

Bus stop signs should measure 18 inches wide by 24 inches high, and should display
only transit information. The top section of the sign should indicate that this is a bus
stop, the middle section should list bus information, and the bottom section should
include transit agency contact information. The reverse side of the sign should display
the words “BUS STOP.” Parking regulations should be placed on a separate sign,
consistent with local regulatory ordinances on parking.

Bus stop signs must meet ADA requirements related to character size and color
contrast, which are introduced in Chapter 7 (Facilities Development) and detailed in the
Access Board’s ADA Accessibility Guidelines.

Additionally, LOTS may wish to install schedule information and route maps if space
permits, particularly at stops with shelters and higher ridership. Whatever information is
installed should be maintained to be current and in good repair.

Transit Vehicle Appearance

Your vehicles are among the most powerful messages your transit agency presents to
the public. It is critical that vehicles should be kept clean and in good repair, not only for
the safety and comfort of your passengers and staff, but also to present your best face
to the community. Also, the LOTS must include signage on each vehicle clearly
identifying the agency’s system name and providing a unique vehicle number. Further,
a colorful and eye-catching paint scheme can draw attention to the availability of your
services. If you sell advertising space on your vehicles, bus wraps are an approach in
which advertisers can make your buses visually striking.

General Customer Service

The communication skills of your drivers, and other staff members who interact with
customers and the public (including dispatchers, schedulers, receptionists, supervisors,
and management) are extremely important when it comes to marketing. Transit
agencies should set high standards for providing customer service, and train all staff to
ensure that the entire team is working together to present the agency as customer-
friendly and service-oriented to the public. Remember, the LOTS are required to train
(and document such training) drivers and agency staff to proficiency in their ADA Drug
and Alcohol services and programs. This can usually best be accomplished with an
initial and annual refresher training cycle.




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Community Involvement

Transit agency management staff can greatly enhance the awareness and perception of
transit in the community by being actively involved in community service organizations
and the Chamber of Commerce, speaking at gatherings, and assisting in volunteer
efforts. Outreach to school children can be a means of building and educating the next
generation of transit riders.

Providing vehicles for special community events (as long as they are within the
allowable exceptions/exemptions under the FTA charter service restrictions as outlined
in Chapter 9) reinforces the message of transit services as beneficial to the community.

Promotional Fares

LOTS requirements related to fares are detailed in Chapter 5. While each LOTS must
have an established fare policy, as part of a marketing campaign a transit agency may
wish to offer temporary promotional fares to encourage additional ridership. Examples
of promotional fare usage include free or reduced fares for new service, service on
major holidays, or seasonal fares for a specific market, such as youth during the
summer. Another approach is to include a coupon in a print advertisement which a
customer can redeem for free or reduced fare.

When offering promotional fares, LOTS must be careful not to inadvertently discriminate
against demographic groups protected under the Title VI civil rights requirements (see
Chapter 13).

Sale of Advertising Space

A transit system can generate significant operating revenue through the sale of
advertising space on its vehicles (including interior car cards, exterior spaces, and bus
“wraps”), facilities (including advertising shelters, which are typically installed and
maintained at the expense of the advertising company), printed materials, and its
website, if allowable by the LOTS organization and the jurisdiction in which the facilities
are located. Transit agencies should be selective of what they allow to be advertised on
their property (for example, you may not want to allow alcohol advertisements).

LOTS are cautioned not to sell so much advertising space that their vehicles become
unrecognizable as public transit vehicles. The identity of your system as the operator
must be clearly visible to the public.

Revenues from advertising activities on vehicles, facilities and other FTA/MTA-funded
items must be used for future transit expenses and expressly cannot be used toward
the organization’s general fund. Furthermore, these revenues cannot be used toward
local match in the year they are earned.

Requirements related to procurement of revenue contracts are found in Chapter 4, and
recordkeeping and reporting of non-fare revenue are found in Chapter 3.


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Marketing Plan and Budget

    x    Public Participation Plan: While LOTS are not specifically required to have a
         marketing plan or spend money on marketing, they are required to have a Public
         Participation Plan for Title VI purposes (see Chapter 13). Many features of a
         LOTS’ Public Participation Plan would be part of the LOTS’ larger transit system
         marketing plan.

    x    Budget: It is recommended that your agency establish a marketing budget that
         is incorporated into your annual budget. You should plan to spend at least one
         percent of your annual budget on a modest marketing program. Be sure to
         include line items for printing and advertising.

    x    Plan: It is recommended that you develop a marketing plan for your agency with
         an implementation schedule that is updated each year. Include a schedule for
         sending news releases and public service announcements, purchasing
         advertising, public speaking engagements, hosting special events, and
         observance of “Dump the Pump” day, “Try Transit” week or other events that
         encourage people to try public transit, as well as updating, reprinting, and
         distributing brochures.

Monitoring and Evaluation

Evaluating marketing efforts is an important component of a marketing program. LOTS
should track responses to advertising campaigns (e.g., use of coupons, inquiries in
response to coupons, or ridership increases following specific promotions) as well as
ongoing statistics related to the number of brochures distributed, website hits, and
public requests for information. News media coverage should be monitored for tone
(favorable, neutral, or unfavorable) and frequency of articles.

Where direct correlations can be made between marketing activities and customer
response, the success of the activity should be evaluated to see what approaches work
best.




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ADDITIONAL RESOURCES

National Rural Transit Assistance Program - Marketing resources available through
their website (www.nationalrtap.org) include:

    x    “Marketing Transit” Toolkit - http://nationalrtap.org/marketingtoolkit/ - This
         comprehensive and practical toolkit includes a library of photos and graphics plus
         brochure and advertisement templates that transit agencies can use.
    x    “GTFS Builder” Web App (for Google Maps)
    x    “Website Builder” Web App
    x    101 Webinar Series: “Social Media” (2013)
    x    “Driving Your Online Presence: The Importance of Creating a Website for Your
         Transit Agency” Technical Brief (2012)
    x    “Leveraging Social Media: Spreading the Word and Enhancing Community
         Participation” Technical Brief (2011)
    x    John Martin Series: “Make Business Part of Rural Transit's Business” 5-part
         webinar series (2010)
    x    “Advocating for Your Transit System” Technical Brief (2008)

American Public Transportation Association - Numerous marketing resources
available through their website (www.apta.com) including those listed below. You may
need to be logged in as an APTA member to access some resources.

    x    National “Dump the Pump” Day Toolkit, updated annually –
         http://www.apta.com/members/memberprogramsandservices/advocacyandoutre
         achtools/dumpthepump/Pages/default.aspx

    x    AdWheel Awards competition, held annually, can provide creative inspiration –
         http://www.apta.com/members/memberprogramsandservices/awards/Pages/Past
         -AdWheels-Winners.aspx

    x    Advocacy Outreach Toolkit –
         http://www.apta.com/members/memberprogramsandservices/advocacyandoutre
         achtools/august-extension-toolkit/Pages/default.aspx

National Center for Mobility Management – Their outreach and social media web
page provides links to numerous resources –
http://nationalcenterformobilitymanagement.org/by-topic-outreach-and-social-media/

Transit Cooperative Research Program - The following TCRP documents include
marketing ideas and guidelines ( www.tcrponline.org):

    x    A Guidebook for Marketing Transit Services to Business, TCRP Report 31 (1999)


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    x    A Handbook of Proven Marketing Strategies for Public Transit, TCRP Report 50,
         (1999)
    x    Effective Use of Transit Websites, TCRP Synthesis 43 (2002)
    x    Guidebook for Change and Innovation at Rural and Small Urban Transit
         Systems, TCRP Report 70 (2001) – see “Initiatives and Innovations in Marketing”
         are pages II-109 through II-121
    x    Low Cost and Cost-Effective Marketing Techniques for Public Transit Agencies,
         TCRP Report 50 (1999)
    x    Management Toolkit for Rural and Small Urban Transportation Systems, TCRP
         Report 54, aw Transit Services (1999) – see Chapter 6: “Managing for
         Understandable and Intelligible Transit Systems”
    x    Practical Measures to Increase Transit Advertising Revenues, TCRP Report 133
         (2009)
    x    Strategies for Increasing the Effectiveness of Commuter Benefits Programs,
         TCRP Report 87 (2003)
    x    Transit Advertising Sales Agreements, TCRP Synthesis 57 (2004)
    x    Traveler Response to Transportation System Changes—Chapter 11: Transit
         Information and Promotion, TCRP Report 95 (2003)
    x    Understanding How to Motivate Communities to Support and Ride Public
         Transportation, TCRP Report 122 (2008)
    x    Use of Market Research Panels in Transit, TCRP Synthesis 105 (2013)
    x    Uses of Social Media in Public Transportation, TCRP Synthesis 99 (2012)
    x    Web-Based Survey Techniques, TCRP Synthesis 69 (2006)

In addition to the above materials published by the transit industry, LOTS managers
may wish to consult a basic marketing manual.




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                             CHAPTER 6: SUMMARY CHECKLIST
   Comply with public notice and outreach requirements outlined in Chapter 14.

   Establish one or two media contact persons within your organization to whom all
    reporter inquiries should be directed.

   Prepare a media kit to provide to reporters upon request.

   Issue media releases and public service announcements on a frequent basis.

   Develop effective brochures with clear schedule information, including route maps,
    schedules, and operating policies.

   Ensure adequate information available by telephone (in-person during office hours and
    via recording or direction to other resources after hours).

   Develop and maintain a website.

   Consider electronic information updates such as a web log, an e-newsletter and/or, if
    the technology is in place, real-time service status updates.

   Solicit customer feedback on an ongoing basis (e.g., through comment cards), as well
    as through periodic surveys.

   Advertise through local media, direct mail, signage, promotional items, and/or flyers.

   Partner with other transportation providers (including the local Rideshare program if
    available), as well as local businesses.

   Install and maintain clear and attractive bus stop and facility signage.

   Ensure vehicles are kept clean. Design attractive paint schemes for new vehicles.

   Strive for excellent customer service among all staff.

   Get involved in community groups.

   Provide vehicles for community events, but be sure to market your services as open to
    the public.

   Consider short-term promotional fares to attract new ridership.

   If appropriate for your community, consider sale of advertising space on vehicles and
    shelters as a source of operating revenue.

   Dedicate revenues from advertising toward future transit expenses.

   Include marketing in your annual budget (at least one percent of the total is
    recommended).

   Develop a marketing plan and update annually.

   Monitor and evaluate the effectiveness of your marketing program, fine-tuning as
    appropriate.

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7          FACILITIES DEVELOPMENT


  This chapter provides overall guidelines for transit facilities development,
  including bus stops, other passenger facilities, administrative, and operating
  facilities. There are many Federal Transit Administration (FTA) requirements
  related to facilities development. If you are planning to apply for funds for
  facility development, contact your MTA Regional Planner as early as possible to
  discuss your proposed project and the administrative work it will entail. The
  following topics are addressed in this chapter:

       x   General Requirements for Existing Facilities
       x   Steps Involved in Developing a New Facility
       x   Planning a New Facility
       x   Design, Engineering, and Construction
       x   Bus Stops


GENERAL REQUIREMENTS FOR EXISTING FACILITIES

Facilities Maintenance

Subrecipients must keep facilities developed with Federal and State assistance in good
condition. Each LOTS must have a facilities maintenance program in place to ensure
that facilities are kept clean and in good repair, including accessibility equipment such
as elevators and public address systems. This includes a written facility maintenance
plan with a program of inspections and preventive maintenance activities. Attachment
7.A provides a template (Word and Excel) that the LOTS can use in developing their
written facilities maintenance program. LOTS must inspect their facilities on an annual
basis to determine upkeep and maintenance needs.

Passenger facilities, including bus shelters, are highly visible to your community, and
special efforts should be made to ensure that they are kept clean, including regular
trash pick-up and graffiti removal. Broken shelter panels should be removed and
replaced as soon as possible as they create a safety hazard and may attract further
vandalism.

The MTA conducts periodic maintenance reviews of LOTS which include review of
LOTS facilities maintenance plan and inspection of the facilities. The Maintenance
Review Checklist is found at the end of this chapter as Attachment 7.B.




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7    FACILITIES DEVELOPMENT


Security

All LOTS are required to spend one percent of Federal funds annually for transit
security projects, or certify that such expenditures are not necessary. Such projects
include surveillance cameras, building security systems, and lighting. LOTS are also
encouraged to perform crime prevention reviews during the design phase of all FTA-
funded transit facilities, with particular focus on crime prevention through environmental
design techniques.

Security requirements and recommendations for the LOTS are addressed in detail in
Chapter 11.

Inventory of Real Property

An inventory of real property in which there is a Federal interest should be conducted
every year and reconciled with property records. LOTS are required to update their
inventory records annually as part of the ATP process.

Inventory records must include the following information for real property in which there
is a Federal interest:

    x    Property location/physical address
    x    Use and condition of the property
    x    Summary of conditions on the title
    x    Brief description of improvements, expansions, and retrofits
    x    Corresponding useful life for the assets
    x    Date placed in service
    x    Acquisition date
    x    Original acquisition cost
    x    Sources of funding
    x    Federal and non-Federal participation ratios
    x    Federal award identification number
    x    Appraised value and date
    x    Anticipated disposition or action proposed
    x    If disposed of, the date of disposal and sale price of the property
    x    If the property is excess, identify the reasons for having excess property

For grants awarded on or after December 26, 2014, the following information must also
be included:

    x    Parcel number
    x    Tax ID
    x    Real property ownership type(s)
    x    Size: acreage, square or linear units




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7    FACILITIES DEVELOPMENT


Incidental Use/Leasing Property

FTA-funded facilities may be used for purposes other than the provision of transit
services. Such use is known as “incidental use.” ALL incidental uses MUST be pre-
approved by the FTA through the MTA. The incidental use must be compatible with
the approved project, must not interfere with intended public transportation uses of the
project assets, and must not in any way interfere with the LOTS continuing control over
the use of the property. Examples of incidental use include: utilization of a LOTS’
Federally-funded fueling facility by other city or county agencies; use of a LOTS’
Federally-funded maintenance facility to maintain non-transportation vehicles of other
agencies; and use of a LOTS’ Federally-funded administrative building by other agency
staff to perform non-transportation work. Where appropriate, LOTS will be required to
execute formal lease agreements. Often, a LOTS would want to engage in incidental
use to generate additional program revenues. However, all income from the incidental
use must be applied to the LOTS’ transit expenses, subject to the non-fare revenue
requirements outlined in Chapter 3.

If a subrecipient leases part of an intermodal terminal developed with FTA assistance to
an intercity bus operator, the subrecipient is permitted to charge a nominal rent (e.g.,
$1.00). The intercity operations are treated as incidental use, and the intercity operator
must pay rent to the subrecipient. If the subrecipient wishes to charge more than a
nominal amount, they may do so, up to fair-market rates. The subrecipient should
select the carriers afforded below-market rents on the basis of a competitive selection
process. See Chapter 4 for requirements on procuring revenue contracts.

If you believe you have an incidental use situation or if you are interested in revenue-
generating activity (such as lease of space for concessions or another transit provider’s
ticket sales) at your facility, you must consult with your MTA Regional Planner at the
earliest possible opportunity.

Disposition of Real Property

FTA/MTA capital grant subrecipients should prepare and keep up-to-date, for all grants
awarded before December 26, 2014, an excess property utilization plan for all property
that is no longer needed to carry out the originally intended purpose. Subrecipients are
also required to notify and request approval from the MTA when the property is no
longer used for its originally approved purpose. LOTS must coordinate and receive
concurrence from MTA prior to the disposition of any property (the term property
includes real-estate as well as tangible capital items such as buildings, shelters, shop
equipment, and vehicles) purchased using Federal and State funds. In such cases
where disposition is warranted, the FTA provides potential options for property disposal
which are detailed within FTA Circular 5010.1E (in Chapter IV, Management of the
Award, online at: https://www.transit.dot.gov/regulations-and-guidance/fta-circulars/
award-management-requirements-circular-50101e). The grantee may be required to
reimburse FTA/MTA.




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Facility Replacement Planning

LOTS should plan for long-term facility replacement needs, based on the lifespan of
major elements of the facility, such as the fuel tanks, roof, HVAC system, pavement
resurfacing, etc. Developing a facilities replacement plan and anticipating these major
replacement needs will prepare the LOTS to apply for capital funding early enough to
allow for timely replacements. If funds are available, establishing a reserve account for
such replacements is also recommended.

The Transit Asset Management Plan (TAMP) described in Chapter 2 provides the basis
for a facility replacement plan for each LOTS.

PLANNING FOR A NEW FACILITY

Details on eligible facilities and functions and planning justifications needed are located
in FTA Circular 5100.1, Bus and Bus Facilities Program: Guidance and Application
Instructions. This circular can be found at https://www.transit.dot.gov/regulations-and-
guidance/fta-circulars/bus-and-bus-facilities-program-guidance-and-application.

In addition to being included in the Transportation Improvement Program (TIP) and
Statewide Transportation Improvement Program (STIP) (discussed in Chapter 2), there
must be a planning basis for every Federally-funded capital project or group of projects.

Steps Involved in Developing a New Facility

Attachment 7.C provides a checklist of steps involved in developing a new facility,
including an estimated timeline.

Federal Funding For Facilities Development

LOTS facilities developed or improved with State and/or Federal participation are
funded through Sections 5307, 5311, and 5339. These FTA programs fund two
categories of bus facilities:

    1. Those that support transit operations, such as maintenance garages and
       administrative buildings, and

    2. Those that provide passenger amenities and extend into the built environment,
       such as bus terminals, stations, shelters, park-and-ride lots, and intermodal
       facilities that include both transit and intercity bus services.

Eligible facility costs include construction, rehabilitation, design, engineering, and land
acquisition.

Anticipated Time Frame for a Major Bus Facilities Project

The FTA estimates that a major bus facility costing up to $10 million takes
approximately 21 to 36 months to plan, design, and build:

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                                      Milestone                        Time Required
              Planning Study,
              Environmental Impact Study,                          6 to 12 months
              Conceptual Design Completed
              Design and Engineering                               3 to 6 months
              Construction                                         12 to 18 months
              Total Project                                        21 to 36 months

Factors that might expedite or delay the project include availability of local share,
environmental issues, site selection and acquisition, design review process, obtaining
construction permits, construction problems, labor relations, and local politics.

Levels of Planning

The planning efforts below typically need to be conducted prior to receiving construction
or property acquisition grants from the MTA for a new or major renovation FTA-funded
facility project. These planning efforts are usually eligible for grant funding.

    x    Needs assessment – Determines the spatial capacity and functional needs for
         the facility; estimates demand for use of passenger facility.
    x    Feasibility study – Includes a staging and financing plan and may also
         incorporate the needs assessment. Provides justification for applying for Federal
         and State funding for subsequent phases of the project.
    x    Site analysis – Evaluates the appropriateness of alternative sites to select the
         most appropriate site before acquiring land on which to build.
    x    Preliminary concept design – Establishes the high-level design and major
         elements of the facility.
    x    Environmental review – Evaluates and documents how the facility and its
         construction would impact the surrounding natural and socio-economic
         environment. Environmental planning requirements are described later in this
         chapter.

Planning Needed by Project Type

The type of planning work required varies according to the type and scale of the project:

    x    Passenger shelters: A program for passenger shelters should be developed for
         the existing and/or proposed shelter network based on the LOTS’ shelter criteria.
         The LOTS should address the following shelter criteria as part of their grant
         application:

         -    Specify the dimensional size, shape and footprint of the shelters,
         -    Develop a map showing transit routes with shelter locations,
         -    Determine right-of-way ownership for proposed locations,

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         -    Determine local government permitting processes,
         -    Determine easements and property acquisition processes,
         -    Consider shelter installation and workforce requirements,
         -    Consider shelter maintenance, upkeep and cleaning,
         -    Address equitable distribution of amenities in planning shelter locations
              across the system, consistent with the LOTS system-wide service policy for
              transit amenities in its Title VI Plan (see Chapter 13), and
         -    Address ADA access and shelter compliance in determining shelter
              placement at each location.

    x    Transfer Facility or Transportation Center: The basis should be documented
         in a planning study including:
         - Determination of transit demand and other uses for the facility,
         - Evaluation of existing transfer facilities or sites to satisfy existing and future
             transit needs,
         - Evaluation and selection of sites if a new facility is warranted,
         - Preliminary concept design and cost estimate of the transit transfer facility,
         - Development of a staging and financing plan, and
         - Environmental documentation for the new facility.

    x    Park-and-Ride Facilities: The basis should be documented in a feasibility study
         including:
         - Evaluation of demand and service needs,
         - Evaluation of sites to satisfy existing and future transit needs,
         - Preliminary concept design of the park-and-ride lots,
         - Development of a staging and financing plan, and
         - Environmental documentation for the new facility.

    x    Maintenance and Administrative Facilities: The basis should be documented
         in a feasibility study including:
         - Evaluation of the condition and adequacy of the existing facility,
         - Development of site evaluation criteria,
         - Identification and evaluation of alternative sites based upon site evaluation
             and design requirements,
         - Final site selection and preliminary concept building design,
         - Environmental documentation, and
         - Development of a phasing and financing plan.

Needs Assessment: Determining How Much Space You Need

Your facility’s space needs will depend on a number of factors, including current and
future:

    x    Use of facility
    x    Vehicle fleet size, types of vehicles
    x    Number of drivers
    x    Operations supervision and support size

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    x    Administrative and management staff size
    x    Customer service functions
    x    Conference and training room needs
    x    Contracted services
    x    Employee parking needs/policies
    x    Customer parking needs (which will be higher if your facility is not located on a
         bus route)
    x    Management philosophies regarding placement of different organization
         functions. For example, should executive management be in proximity to
         operations? Should the driver’s room be located next to the dispatch office?
         Which functions do certain managers need to monitor?
    x    Long-term service plans and the resulting expected organizational growth.

The needs assessment conducted during the early stages of the project planning should
determine the general answers to these questions. The preliminary concept design
should present solutions to meeting these needs.

Environmental Planning Requirements

An important planning step is determining how a proposed project would affect traffic
(parking, access, and circulation), air quality, noise, vibration, community, parks and
recreational areas, wetlands, flood plains, soil/water conditions, water quality,
ecologically sensitive areas, endangered species, displacement of current residents and
businesses, equitability of service to minority and low income populations, and
compatibility with zoning.

         Environmental Impact Statements, Environmental Assessments, and
         Categorical Exclusions

         The National Environmental Policy Act (NEPA) requires that projects which
         substantially affect a community or its public transportation service are subject to
         preparation of an Environmental Impact Statement (EIS). The EIS considers the
         social, economic, and environmental effects of the project, as well as its
         consistency with official land use plans. Where adverse effects are likely to
         result, alternatives must be considered to avoid those effects. The requirements
         for proper preparation of an EIS are found in 23 CFR Part 771:
         http://www.ecfr.gov/cgi-bin/text-idx?tpl=/ecfrbrowse/Title23/23cfr771_main_02.tpl

         Projects which do not substantially affect a community or its public transportation
         service require only preparation of an Environmental Assessment (EA) unless
         they are considered a Categorical Exclusion under NEPA. There are two groups
         of projects that qualify as Categorical Exclusions.

              1. Activities and projects which have very limited or no environmental effects,
                 such as planning, administration, operating assistance, and transit vehicle
                 purchases.



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              2. New construction or expansion of transit terminals, storage and
                 maintenance garages, office facilities, and parking facilities that are
                 compatible with existing land uses and provide for adequate traffic access.

         Other projects may be excluded on a case-by-case basis. Your MTA Regional
         Planner should be consulted early in the planning process. MTA will determine
         the environmental review needs, if any, of your project and advise you on how to
         proceed.

         Federal Environmental Justice Requirements (All Construction Projects)

         As part of the LOTS requirements under Title VI of the Civil Rights Act of 1964
         (42 U.S.C. Section 2000d), an environmental justice (equity) analysis must be
         submitted for new construction and major rehabilitation or renovation projects.
         This includes, but is not limited to, storage and maintenance facilities, operations
         centers, etc. The Title VI equity analysis can usually be performed during the
         planning process. LOTS can integrate an environmental justice analysis into the
         NEPA documentation of construction projects if the NEPA process encompasses
         the necessary information required in the equity analysis.

         More information about the environmental justice requirements is found in
         Chapter      13    (Non-Discrimination)    and   in    FTA      circular     4702.1B
         (https://www.transit.dot.gov/regulations-and-guidance/fta-circulars/title-vi-
         requirements-and-guidelines-federal-transit)       and        circular        4703.1
         (https://www.transit.dot.gov/regulations-and-guidance/fta-circulars/environmental-
         justice-policy-guidance-federal-transit).

         Opportunity for a Public Hearing

         A Federal grant application for a capital project that requires an EIS must provide
         an adequate opportunity for a public hearing as outlined under 23 CFR Part 771,
         §771.111. The subrecipient must also consider the social, economic, and
         environmental effects of the project, and assess its consistency with official plans
         for the comprehensive development of the urban area.

         The public hearing requirements for this type of project are separate from the
         requirements for public participation in statewide and metropolitan planning
         (addressed in Chapter 2), although all capital projects financially supported by
         the FTA are also subject to statewide transportation planning requirements and,
         in metropolitan areas, to metropolitan planning requirements.

         More information about public hearing requirements is found in Chapter 14
         (Public Outreach).




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         Other Environmental Protection Requirements

         In addition to the EIS requirements, FTA-funded capital projects are subject to
         several other environmental protection laws protecting historic sites, public parks,
         and refugees. For more information, contact your MTA Regional Planner.

         Federal Approval

         In brick and mortar facility projects, direct Federal approval is often required.
         This includes approval of property appraisals, NEPA documentation, and other
         steps in the process.

Land Acquisition

If land acquisition is part of your Federally-funded facility project, Federal law requires
that you take a number of steps to ensure that the original landowner who is displaced
as a result of the purchase is assisted with relocation. These steps include informing
the affected individual of the benefits, policies, and procedures available to them
because of the displacement. These include offers of relocation payments and
assistance, and offering replacement housing and services. The subrecipient must
ensure that third party contractors comply with these requirements as well.

The Federal regulations involved are Title II and III of the Uniform Relocation Assistance
and Real Property Acquisition Policies Act of 1970, as amended (42 U.S.C. 4601) and
49 CFR parts 24, 210, and 305 and are summarized in FTA Circular 5100.1, “Bus and
Bus        Facilities  Program:       Guidance        and      Application    Instructions”
(https://www.transit.dot.gov/regulations-and-guidance/fta-circulars/bus-and-bus-
facilities-program-guidance-and-application), Chapter VII, Section 17, in the following
excerpt:

    “… certain actions … must be taken to achieve uniformity in the treatment of
    property owners and displaced individuals. Recipients in the process of planning a
    federally assisted project that will require the displacement of individuals should be
    aware of the regulatory need for relocation planning during the early stages of
    project development.

    Real property may be contributed as part of the local matching share. Credit can be
    allowed only for that portion of the property needed to carry out the scope of the
    project. Federal funds must not have been used to purchase any property proposed
    as local matching share. The contributed in-kind property must be appraised at its
    current market value and when incorporated into the project will be subject to the
    same reporting and disposition requirements required of all project property.”

As noted above, real property that was not purchased with Federal funds may be used
as part of local share. The FTA must review and concur on in-kind contributions of any
value before Federal funds are expended or the value is used as local match.



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A more in-depth description of the regulations, including the thresholds for when FTA
concurrence is required for appraisals, is found in FTA Circular 5010.1E, Chapter IV.
Management          of      the      Award,     Section       2.     Real      Property:
https://www.transit.dot.gov/regulations-and-guidance/fta-circulars/award-management-
requirements-circular-50101e. The full regulations are found in 49 CFR Part 24,
Uniform Relocation Assistance and Real Property Acquisition for Federal and Federally-
Assisted               Programs:                         http://www.ecfr.gov/cgi-bin/text-
idx?tpl=/ecfrbrowse/Title49/49cfr24_main_02.tpl

Joint Development of Shared Facilities

FTA funds may also be used for shared development of an intermodal or mixed-use
facility, with FTA support limited to those portions of the facility that are directly transit-
related. If the facility will be used for functions other than transit, you must obtain MTA
approval. Such use must be compatible with the approved purposes of the project and
not interfere with intended uses of project assets. FTA encourages subrecipients to
make incidental use of real property when it can raise additional revenues for the transit
system or, at a reasonable cost, enhance system ridership.

FTA circular 7050.1A, “FTA Guidance on Joint Development” (December 2016),
provides guidance on the use of FTA funds or FTA-funded real property for joint
development:        https://www.transit.dot.gov/funding/funding-finance-resources/joint-
development/joint-development-circular.


DESIGN, ENGINEERING, AND CONSTRUCTION

Procurement of Design, Engineering and Construction Services

Requirements pertaining to third party contracting, including contracts for architectural
and engineering services and construction, are outlined in Chapter 4, Procurement and
Contracting.

Design

         Accessibility Requirements

         All transportation facilities constructed using FTA or MTA funds, including
         administrative buildings and passenger facilities such as bus stops and shelters,
         must be made accessible to individuals with disabilities. Facilities renovations
         must also be made accessible. If the renovation is made to an area that is key to
         passenger services, the subrecipient must also create an accessible path to the
         area unless such accessibility renovations would cost more than 20 percent of
         the total cost of renovations to the key area. The ADA guidelines for facilities
         accessibility are extensive and address travel paths, maneuvering space, counter
         heights, signage, information systems, and emergency aides.



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         The ADA Standards for Transportation Facilities, the Federal standards for
         designing accessible transit facilities adopted by the U.S. DOT based on
         guidelines issued by the U.S. Access Board, are found on the Access Board
         website             at:              https://www.access-board.gov/guidelines-and-
         standards/transportation/facilities/ada-standards-for-transportation-facilities.

         Additional guidance is provided in Chapter 3 of the FTA ADA guidance circular,
         4710.1:                  https://www.transit.dot.gov/regulations-and-guidance/fta-
         circulars/americans-disabilities-act-guidance-pdf.

         The architect/engineer must provide certification that the facility is designed and
         constructed in accordance with ADA regulations.

         Art in Transit Facilities

         The FTA has in the past encouraged the incorporation of quality design and art
         into transit projects and until the passage of MAP-21 in July 2012, public art was
         an eligible capital cost as a part of planning, design, and construction activities.
         Since MAP-21, procuring sculptures or other items not integral to the facility is no
         longer an eligible expense. However, facility design, including unique shelter
         designs and functional elements such as seating or lighting, may be eligible for
         FTA funding. Inclusion of art in transit facilities presents opportunities to partner
         with other community organizations. It is strongly recommended that all public
         artworks be developed with input from the surrounding community, involving
         them in the creative process to the extent feasible.

Construction

         Project Management

         Subrecipients must have a Project Management Plan, including a Quality Plan
         for major capital projects. This plan should include timelines for all tasks,
         milestones, and quality assurance measures. For guidance on construction
         project management, refer to the following FTA resources:

              -    Project and Construction Management Guidelines (2016 update):
                   https://www.transit.dot.gov/funding/procurement/fta-project-and-
                   construction-management-guidelines-2016

              -    Construction Project Management Handbook (2016):
                   https://www.transit.dot.gov/sites/fta.dot.gov/files/docs/FTA_Construction_
                   Project_Management_Handbook_2016.pdf

         Construction Project Compliance with the Davis-Bacon and Copeland
         “Anti-Kickback” Acts

         In planning for the cost of construction, one factor to keep in mind is the
         requirement to pay prevailing wages and fringe benefits to laborers and

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         mechanics engaged in Federal construction projects valued at more than $2,000.
         This is required under the Davis-Bacon Act, a Federal law that provides wage
         protection for non-government workers. All covered contracts must contain a
         wage determination issued by the Secretary of Labor per Department of Labor
         regulations (29 CFR Part 1, “Procedures for Predetermination of Wage Rates”).
         Prevailing wages vary for rural and metropolitan areas. Overtime pay (time and
         a half) is required when a work week exceeds 40 hours. Existing wage rates for
         all areas of the State are available through the MTA.

         All Federally-funded construction contracts over $2,000 must also include a
         provision for compliance with the Copeland ‘‘Anti-Kickback’’ Act (18 U.S.C. 874),
         as supplemented by the Department of Labor regulations (29 CFR part 3,
         ‘‘Contractors and Subcontractors on Public Building or Public Work Financed in
         Whole or in Part by Loans or Grants from the United States’’). This act prohibits
         subrecipients and contractors from inducing any individual employed in the
         construction, completion, or repair of public work to give up any part of the
         compensation to which he is otherwise entitled and requires reporting of all
         suspected or reported violations to the Federal awarding agency.

BUS STOPS

Bus stops are an important element of your service. Their location and design affect
operations, safety, and the accessibility and attractiveness of your transit services. Bus
stops should be located to serve customer travel needs, minimize safety risks, and meet
minimum ADA accessibility requirements.

Location

Selecting new bus stop locations along a route should take into account the following
factors:

    x    Spacing along the route - The MTA recommends that five to ten stops per mile
         be placed in urban areas (with a typical spacing of 750 feet between stops), four
         to six stops per mile be placed in suburban areas (with a typical spacing of 1,000
         feet), and that stops be located “as needed” in rural areas.

    x    Location of major destinations along the route - Shopping, employment centers,
         apartment communities, medical facilities, etc. Permission will likely be required
         for utilization of any private property.

    x    Traffic safety - Including traffic controls at nearby intersections, traffic patterns,
         sight lines, etc.

    x    Pedestrian safety and access - Including sidewalks, curb cuts, lighting, etc..

    x    Availability of adequate right-of-way - To ensure that the feasibility of the bus
         stop meets the accessibility standards (discussed later in this chapter).


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    x    Curb clearance - Clear access of the bus to the curb or adjacent property, not
         blocked by on-street parking.

    x    Operational effectiveness issues - Including relation to the nearest intersection,
         bus turning requirements, and re-entering the travel lane.

The MTA recommends placement of bus stops as close as possible to signalized
intersections, with 250 feet recommended as a maximum distance on streets with
heavier traffic volumes and higher speeds. Bus stops can be located before crossing
the intersection (on the nearside), or after crossing an intersection (on the farside). The
decision to locate a bus stop nearside or farside of an intersection has both operational
and safety implications. In general, mid-block bus stops are discouraged as they do not
offer the protection of a signalized intersection for street crossings. In rural areas and
areas where traffic conditions are dangerous to crossing pedestrians, it may be
desirable to design the route to eliminate the need for passengers to cross streets, such
as the use of off-street stops. Off-street stops are also appropriate for destinations set
far back from the roadway, such as hospitals and shopping malls.

Accessibility

Any bus stop improvements (i.e., installation of a shelter or landing pad) must meet
ADA standards for accessibility. New bus stops must comply with ADA requirements.

In order for a bus stop to be accessible to a customer in a wheelchair, it must have a
firm, stable, level landing surface at least eight feet deep (measured from the curb
perpendicular to the street) and five feet wide (measured along the curb parallel to the
street). If a passenger shelter is installed (and shelters have their own accessibility
specifications), the shelter should not reduce this landing area. The U.S. Access Board
bus stop accessibility standards can be found at https://www.access-
board.gov/guidelines-and-standards/transportation/facilities/ada-standards-for-
transportation-facilities/chapter-8-special-rooms,-spaces,-and-elements#810
Transportation Facilities.

In addition, accessible pedestrian connections (including sidewalks and curb cuts)
between the bus stop and nearby destinations are essential for full customer access.
Although it is generally not the responsibility of LOTS to construct sidewalks, LOTS are
urged to work closely with the responsible parties to ensure that sidewalk construction
projects address the accessibility needs of transit users. This includes review of site
plans that are under development for major retail developments, employment sites,
medical facilities, and housing concentrations.

To the extent possible given existing pedestrian infrastructure, an accessible location
should be chosen for any newly established stops that do not involve construction. If
after exhausting all efforts to identify an accessible stop location, an accessible location
is not available for a new stop due to sidewalk deficiencies, a basic stop (i.e., simple
placement of pole and sign) may be established.                However, if any physical
improvements are made to the stop (such as installation of a shelter or landing pad), the
stop must be made ADA accessible.

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For stops located along municipal or State roads, LOTS should work with the jurisdiction
to ensure that an accessible landing area and sidewalk connection is included within
planned sidewalk improvements and addressed in the jurisdiction’s Transition Plan.
Under the ADA and Section 504, State and local governments with 50 or more
employees are required to perform a self-evaluation of their current services, policies,
and practices regarding ADA compliance. The public agency must develop a Transition
Plan to address compliance deficiencies (including inaccessible sidewalks). This plan
assesses the needs of individuals with disabilities, and then schedules the required
pedestrian accessibility upgrades. The Transition Plan must be updated periodically.
The Federal Highway Administration (FHWA) is the oversight agency for ADA
compliance with regards to sidewalks, and the U.S. Department of Justice has
enforcement responsibility. More information on FHWA requirements for accessible
pedestrian            facilities          can         be           found              at:
http://www.fhwa.dot.gov/civilrights/programs/ada.cfm.

The U.S. Access Board is currently in the process of developing Guidelines for
Pedestrian Facilities in the Public Right-of-Way. The proposed guidelines published in
July 2011 are considered the current recommended practice for designing and
improving sidewalks, curb ramps, and crosswalks. The proposed guidelines can be
found     at:            https://www.access-board.gov/guidelines-and-standards/streets-
sidewalks/public-rights-of-way/proposed-rights-of-way-guidelines

Keep in mind that customers who use wheelchairs are eligible for ADA paratransit
services for those bus stops in your fixed-route systems that are not accessible to them.
Therefore, establishing an inaccessible stop obligates the LOTS to provide ADA
paratransit for customers who use wheelchairs wishing to travel to or from that stop
location. In most cases, it is usually less costly and more customer-friendly to relocate
or improve a bus stop so that it is accessible than it is to provide ongoing ADA
paratransit services because of physical conditions at the bus stop. See Chapter 12 for
more information on ADA paratransit requirements.

Additional resources on designing and assessing bus stops and sidewalks are provided
at the end of this chapter.

Signage

The Maryland State Highway Administration (SHA) and many local governments have
specific design and/or permitting requirements for posting signs and placing/creating
bus stops. Before placing a bus stop sign, making roadside improvements, or publicly
announcing a stop location (printed schedules), please check with the local government
and/or SHA regarding specific requirements at each stop location. An example of a
bus stop sign design preferred by SHA is provided in Appendix H.

Bus stop signs and other public signage are a key element of your system’s presence in
the community (and hence an important component of your marketing program). When
posting new signs (either at new bus stop locations or in replacing existing signs), the
ADA mandates certain signage characteristics (including sign height, letter size, and
background contrast) that make them easier to read for individuals with low vision as

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well as for customers with normal vision. Signage that is accessible to blind customers
(such as raised lettering and braille) should be considered in communities with large
populations of individuals who are blind.

Additional MTA guidance on bus stop signage is provided in Chapter 6. Additional
resources on designing signage are provided at the end of this chapter.

Flag Stops

Some transit systems in rural areas allow “flag stops,” or stops which may be made at
any location upon request by a customer and at the discretion of the driver. If flag stops
are permitted on your routes, it is important to establish some basic policies on where
they are and are not permitted, and communicate these policies to both drivers and
customers.     For example, some systems permit flag stops only nearside of
intersections. The MTA recommends completely pulling off the roadway to make flag
stops. Some drawbacks of permitting flag stops include the challenge of clarifying
policies to passengers, potential misunderstandings between drivers and passengers,
and the added distraction to drivers in needing to scan for potential passengers
anywhere along the route. A transit service with unlimited flag stops has less control
over adhering to the published schedule. There are also potential ADA implications
when flag stops are made at inaccessible locations and individuals with disabilities are
not able to use them alongside other customers.

Bus Stops within Larger Improvement Projects

Whenever land use, sidewalk, or intersection improvements are planned in areas which
include an existing or planned bus stop, the transit system needs to be consulted in the
location and design of the stop to ensure that the project results in a safe and
accessible bus stop. Bus stop improvements and enhancements should be built into
the larger site improvement whenever feasible.

Ideally, LOTS should have a role in planning future land uses and roadway designs in
the community served by the transit system. The ability to efficiently and effectively
serve a growing community with public transit is in large part determined by the land
use patterns that emerge as a result of growth. Public transit is a critical component of
a “livable community,” but without good land use planning, transit cannot stand on its
own. Land use planning and development reviews are needed to make sure new
development is transit-friendly, including easy access by the bus as well as the
pedestrian.

Some jurisdictions and transit systems, particularly in urban areas, develop transit-
friendly or transit-oriented design guidelines or standards that are shared with
developers and land use planners to encourage incorporation of transit-friendly
elements. Several examples are listed among the additional resources at the end of
this chapter.




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ADDITIONAL RESOURCES

FTA Circulars

    x    4703.1, Environmental Justice Policy Guidance For Federal Transit
         Administration Recipients (2012) - https://www.transit.dot.gov/regulations-and-
         guidance/fta-circulars/environmental-justice-policy-guidance-federal-transit

    x    4710.1, Americans with Disabilities Act: Guidance (2015) -
         https://www.transit.dot.gov/regulations-and-guidance/fta-circulars/americans-
         disabilities-act-guidance-pdf, Chapter 3 – Transportation Facilities

    x    5010.1E, Award Management Requirements (2017) -
         https://www.transit.dot.gov/regulations-and-guidance/fta-circulars/award-
         management-requirements-circular-50101e

    x    5100.1, Bus and Bus Facilities Program: Guidance and Application Instructions
         (2015) - https://www.transit.dot.gov/regulations-and-guidance/fta-circulars/bus-
         and-bus-facilities-program-guidance-and-application

    x    7050.1A, Federal Transit Administration Guidance on Joint Development (2016) -
         https://www.transit.dot.gov/funding/funding-finance-resources/joint-
         development/joint-development-circular

ADA Standards

    x    ADA Standards for Transportation Facilities, U.S. Access Board (2006) -
         https://www.access-board.gov/guidelines-and-
         standards/transportation/facilities/ada-standards-for-transportation-facilities

    x    FHWA requirements for accessible pedestrian facilities -
         http://www.fhwa.dot.gov/civilrights/programs/ada.cfm

    x    Proposed ADA Guidelines for Pedestrian Facilities in the Public Right-of-Way,
         U.S. Access Board (2011) - https://www.access-board.gov/guidelines-and-
         standards/streets-sidewalks/public-rights-of-way/proposed-rights-of-way-
         guidelines

Construction Project Management

    x    Project and Construction Management Guidelines (2016 update) -
         https://www.transit.dot.gov/funding/procurement/fta-project-and-construction-
         management-guidelines-2016

    x    Construction Project Management Handbook (2016) -
         https://www.transit.dot.gov/sites/fta.dot.gov/files/docs/FTA_Construction_Project
         _Management_Handbook_2016.pdf

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Bus Stops and Sidewalks

    x    Improving Pathways to Transit for Persons with Disabilities, Mineta
         Transportation Institute (2016) - http://transweb.sjsu.edu/PDFs/research/1233-
         transit-access-for-persons-with-disabilities.pdf

    x    Better On-Street Bus Stops, TCRP Synthesis 117 (2015) -
         http://www.tcrponline.org/PDFDocuments/tcrp_syn_117.pdf

    x    Toolkit for the Assessment of Bus Stop Accessibility and Safety, Easter Seals
         Project ACTION (updated 2014) – http://www.nadtc.org/resources-
         publications/toolkit-for-the-assessment-of-bus-stop-accessibility-and-safety/

    x    Guidelines for the Design and Placement of Transit Stops, Washington
         Metropolitan Area Transit Authority (2009) -
         https://www.wmata.com/pdfs/planning/Bus_Stop_Guidelines_Brochure.pdf

    x    Bus Rapid Transit Stations and Stops, APTA Standards Program Recommended
         Practice (2010) - http://www.apta.com/resources/standards/Documents/APTA-
         BTS-BRT-RP-002-10.pdf

    x    Pedestrian Safety Guide for Transit Agencies, FHWA (2008) -
         http://safety.fhwa.dot.gov/ped_bike/ped_transit/ped_transguide/transit_guide.pdf

    x    Guidelines for the Location and Design of Bus Stops, TCRP Report 19 (1996) –
         www.trb.org/news/blurb_detail.asp?ID=2597

Signage Design

    x    Toolkit for the Assessment of Bus Stop Accessibility and Safety, Easter Seals
         Project ACTION (updated 2014), pages 24-26 – http://www.nadtc.org/resources-
         publications/toolkit-for-the-assessment-of-bus-stop-accessibility-and-safety/

    x    Customer Information at Bus Stops, TCRP Synthesis 17 (1996) –
         http://www.trb.org/Publications/Blurbs/153678.aspx

    x    Guidelines for Transit Facility Signing and Graphics, TCRP Report 12 (1996) -
         http://www.trb.org/Publications/Blurbs/153834.aspx

Examples of Transit-Friendly Design Guidelines

    x    Frederick County, Maryland’s Transit-Friendly Design Guidelines -
         https://www.frederickcountymd.gov/1720/Transit-Friendly-Design-Guidelines

    x    City of Seattle’s Transit-Friendly Design Guidelines -
         http://www.seattle.gov/dpd/cityplanning/vault/cs/groups/pan/@pan/documents/we
         b_informational/s048192.pdf

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    x    Accessing Transit: Design Handbook for Florida Bus Passenger Facilities -
         http://www.fdot.gov/transit/Pages/2013AccessingTransitFinal.pdf

    x    Transit Design Standards Manual: A Reference Guide, Transit Authority of River
         City - https://www.ridetarc.org/docs/default-source/resource/transit-design-
         standards-manual.pdf

Art in Transit Facilities

    x    “Best Practices for Integrating Art into Capital Projects,” APTA Recommended
         Practice (2013) -
         http://www.apta.com/resources/hottopics/sustainability/Documents/APTA%20SU
         DS-UD-RP-007-13%20Integrating%20Art%20into%20Capital%20Projects.pdf




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                             CHAPTER 7: SUMMARY CHECKLIST
   Address facilities needs in your 5-year TDP and include them in your asset
    management plan.
   Let your MTA Regional Planner know as early as possible that you are intending to
    apply for facilities development funds. Obtain his or her guidance throughout the
    development process.
   Apply for technical assistance and planning funds to conduct a needs assessment,
    feasibility study, site assessment, and environmental work (as needed) through your
    ATP.
   Prepare a feasibility study including alternative site assessment and environmental
    work as required for your particular project.
   If land acquisition is part of your project, notify affected individuals and offer
    relocation assistance as required by the Uniform Relocation Act.
   Establish a Project Management Plan for major facilities projects.
   Comply with procurement requirements outlined in Chapter 4 when contracting for
    Architectural, Engineering, and Construction services.
   Design facility to address your agency’s long-term service plans and expected
    organizational growth.
   Ensure that all new facilities and renovations meet ADA accessibility standards.
   Ensure that bus stops are placed in safe locations and to the extent possible, are
    accessible (new construction must be made accessible).
   Participate in development review process to ensure that new developments that will
    be served by transit include accessible bus stops and stop improvements.
   Ensure that new signage at passenger facilities, including bus stops, meet ADA
    signage accessibility standards for individuals with low vision. Consider installing
    tactile signs where feasible and demand exists.
   Establish facilities maintenance program to keep Federal- and State-funded facilities
    in good condition.
   Plan and budget for long-term facility replacements.
   Spend one percent of Federal funds annually for transit security projects, or certify
    that such projects are not needed.
   Conduct annual inventory of real property.
   Notify the MTA and FTA (if Federally-funded) when property is no longer needed for
    original purpose, and follow FTA/MTA disposition procedures.


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  This chapter summarizes requirements as well as MTA suggestions in a
  variety of areas that relate to managing one of the most important aspects of
  your system – your employees. Topics covered include:

       x    Personnel Policies for Employees Required to Have Commercial
            Driver’s Licenses (CDLs) and Other Drivers
       x    General Personnel Policies
       x    Requirements Related to Drug-Free Workplace and Drug and Alcohol
            Testing
       x    Collective Bargaining Protections
       x    Training
       x    Working with Volunteers

  Requirements related to Equal Employment Opportunity (EEO) and
  nondiscrimination are introduced in this chapter and described in detail in
  Chapter 13.



PERSONNEL POLICIES FOR EMPLOYEES REQUIRED TO HAVE COMMERCIAL
DRIVER’S LICENSES (CDLs) AND OTHER DRIVERS

Appendix I provides a summary of the Federal Motor Carrier Safety Administration
(FMCSA) requirements that pertain to CDL drivers and their employers, as well as other
Federal Motor Carrier Safety Regulations (FMCSRs).

Background Checks

All applicants for driving positions should be subject to background driving record and
criminal record checks. If applicable, out-of-state records should also be checked. All
available safety, accident, and if necessary, criminal records should be investigated.

If a LOTS employs drivers of commercial vehicles, under 49 CFR Part 391 Subpart C,
you must conduct background investigations of job applicants, including: checking the
driving records from the past three years; investigating the driver's safety performance
history with U.S. Department of Transportation (DOT)-regulated employers during the
preceding three years, including accidents; and checking any 49 CFR Part 382 drug
and alcohol violations.



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Even if your organization does not have commercial motor vehicles, as a best practice,
the LOTS should conduct background checks of new employees who transport
passengers. LOTS also should establish and document specific criteria for background
checks by employee type (e.g., operators, maintenance personnel, safety/security-
sensitive, and contractors) – for example, which driving violations or criminal records
would disqualify an applicant for a position at your organization?

Pre-Employment Road Test

Under 49 CFR Part 391 Subpart C, LOTS who employ drivers of commercial motor
vehicles must administer a road test as part of the application process. Even if your
organization does not operate commercial vehicles, as a best practice, LOTS should
conduct road tests of potential new employees who could transport passengers.

Pre-Employment Drug Test

Individuals applying for a LOTS safety-sensitive position must test negatively on a pre-
employment drug test. While prospective employees cannot be assigned or transferred
to a safety-sensitive job function until they have a verified negative drug test, they can
only be required to take a pre-employment drug test after they have been offered the
position (at least conditionally). Further, the U.S. DOT regulations require the LOTS to
make a good faith effort to obtain drug and alcohol testing records from previous
employers for the prior two years for all applicants seeking safety-sensitive positions.
More on these requirements are addressed later in this chapter under “Requirements
Related to Drug and Alcohol Testing.”

Commercial Driver’s License

Under Federal and State regulations, a valid CDL is required to drive a commercial
motor vehicle that is designed or used to transport 16 or more passengers, including the
driver, or that has a gross vehicle weight rating or gross vehicle weight of 26,001
pounds or more.

The Federal CDL requirements are detailed in 49 CFR Part 383. For information on
CDL requirements in Maryland, contact the Maryland Motor Vehicle Administration
(MVA) at 1-800-950-1MVA (1-800-950-1682) or 301-729-4550. Maryland CDL
information and forms are also available online at http://www.mva.maryland.gov/Driver-
Services/Apply/CDL/commercial.htm. As an employer, you are responsible for verifying
that an employee has a valid CDL before they operate a vehicle for which a CDL is
required. Additionally, any LOTS who employ drivers with CDLs are responsible for
verifying that their drivers meet minimum U.S. DOT physical qualifications before
operating a commercial motor vehicle, as regulated under 49 CFR Part 391 and briefly
summarized in the next section of this chapter.

Even if your organization is not required to conduct checks of driver CDLs prior to hiring
drivers, as a best practice, the LOTS should check to ensure that all new hires have
valid driver’s licenses (and CDLs if your organization has vehicles designed to transport
16 or more passengers including the driver).

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U.S. DOT Physical for Drivers of Commercial Vehicles

Every two years, the drivers of the following commercial vehicles must pass a physical
examination with certain requirements specified by the FMCSR in 49 CFR Part 391,
Subpart E, and incorporated into the Maryland Motor Carrier Regulations:

    x    All drivers of vehicles for which a CDL is required,
    x    All drivers of vehicles designed or used to transport nine to 15 passengers
         (including the driver) across State lines (interstate) for direct compensation, and
    x    All non-commercial drivers of commercial motor vehicles weighing 10,001
         and up to 26,000 pounds must pass the DOT physical, even if they only
         operate entirely within Maryland (intrastate service). Note that this weight range
         includes many body-on-chassis/cutaway-type vehicles designed to seat nine to
         15 passengers.

The physical qualifications are detailed in 49 CFR Part 391, Subpart E. A U.S. DOT
physical certification is issued upon passing the physical. This document must be
carried by the CDL holder, or applicable non-CDL holder, while operating a commercial
vehicle. The LOTS who employ drivers required to have CDLs are responsible for
verifying that their drivers meet the minimum physical qualifications before operating a
commercial motor vehicle and should track renewal needs for these documents and
ensure that drivers renew them on a timely basis. For more information, refer to the
FMCSA (1-800-832-5660, http://www.fmcsa.dot.gov/).

Even if your organization is not required to ensure drivers meet U.S. DOT physical
qualifications, as a best practice, the LOTS should ensure that all employees who
transport passengers have U.S. DOT physical certifications.

CDL Holders’ Reporting Requirements

Under 49 CFR Part 383, §383.31, CDL holders are required to report any traffic
violation for which they are convicted, except parking, to his/her employer within 30
days of the conviction, regardless of the nature of the violation or the type of vehicle that
was driven at the time.

If a driver's license is suspended, revoked, canceled, or if he/she is disqualified from
driving, the driver must notify his/her employer. This notification must be made by the
end of the next business day following receipt of the notice of suspension, revocation,
cancellation, lost privilege, or disqualification.

Employers may not knowingly use a driver who has more than one license or whose
license is suspended, revoked, canceled, or is disqualified from driving. Violation of this
requirement may result in civil or criminal penalties.

As a recommended best practice, LOTS are encouraged to take advantage of the
Maryland MVA license flagging system on an ongoing basis, to be alerted to any traffic
violations for which your employees may be cited. The MVA Driving Record Unit can be

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reached at http://www.mva.maryland.gov/about-mva/info/26300/26300-21T.htm, or by
calling 410-787-7758.

Fitness for Duty

Among the minimum physical qualifications for drivers established under the FMCSR,
individuals are disqualified from driving if they have a condition which is likely to cause
loss of consciousness or any loss of ability to control a commercial motor vehicle.

As a best practice, if a driver has suffered a medical incident, has been diagnosed with
a serious health condition which could cause loss of consciousness or any loss of ability
to control a vehicle, or has been off work for an extended period of time due to a health
condition, the LOTS should require documentation of a driver’s clearance for fitness for
duty from a medical professional before allowing the driver to return to work. As part of
the LOTS compliance with the U.S DOT physical medical certification for drivers, the
LOTS should also be periodically checking their drivers’ fitness for duty.

Maximum Driving Time for Drivers of Commercial Motor Vehicles

Under the FMCSA regulations (49 CFR Part 395), operators of commercial motor
vehicles are subject to limitations on their driving hours and must document their hours.
Such drivers may not be behind the wheel more than ten hours following at least eight
hours off, with additional restrictions on hours per week based on days per week. They
must also maintain a record of their duty status. For LOTS, this requirement can
potentially be met by maintaining payroll records that address the recordkeeping
requirements for driver record of duty; these recordkeeping requirements are detailed in
49 CFR Part 395, §395.8. These and other requirements are detailed in 49 CFR Part
395,     which     can      be      found    on     the    FMCSA      website    through:
https://www.fmcsa.dot.gov/regulations/title49/b/5/3?menukey=395. More information on
FMCSA       hours      of    service     requirements     can   also    be    found    at
https://www.fmcsa.dot.gov/regulations/hours-of-service.


GENERAL PERSONNEL POLICIES

Personnel Policies Manual

The MTA strongly recommends that each LOTS develop a personnel policies manual to
help maintain consistency in management. Even LOTS that are part of county or city
government are encouraged to develop a manual to address personnel policies that are
specific to the transportation department. While the LOTS are not required to have a
personnel policies manual, they must be able to demonstrate that they meet several
FTA transit employee training requirements as discussed throughout this chapter. A
personnel manual is one of several acceptable means to provide this demonstration (at
least in part). Review of the manual by legal counsel and your advisory board is
strongly recommended. These policies should be formally approved and adopted by
senior management. The manual should show the adoption dates of all policies and
subsequent amendments, and be provided to all employees upon hiring. The manual

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should also be updated periodically to incorporate changes in State and Federal laws
(as well as locally-determined changes). Proposed changes in personnel policies
should be posted for employee review and comment prior to adoption.

Job Descriptions

The MTA strongly recommends that the LOTS prepare job descriptions for all positions
in the organization and include them in the personnel policy manual. Thorough job
descriptions, detailing the typical duties and requisite knowledge, skills, and abilities,
help attract the most appropriate applicants and provide a basis for assessing how well
a job applicant’s strengths match those needed for the job. They can also help protect
your system by providing documentation of job requirements in the event that an
individual files an unfounded complaint against your system’s hiring practices. Finally,
the LOTS or their parent human resource agency is required to submit employee
classification information as part of Equal Employment Opportunity (EEO) compliance.
Having job descriptions for your bus drivers and other positions is a prerequisite to
supplying EEO job classification information.

Hiring Practices

Hiring qualified individuals is an important first step in ensuring a transit agency’s
success. To ensure the best possible method for filling a job vacancy, the MTA strongly
recommends that the LOTS develop a uniform, written hiring policy. The policy should
include details concerning whether available jobs are posted internally before opening
to outside applicants, the creation of EEO-compliant job advertisements and
applications, and appropriate interview/application questions. Special care should be
taken to clearly define a permissible interview/application question, because those
relating to race, color, religion, national origin, sex (including gender identity, sexual
orientation, and pregnancy), age, genetic information, and disability are illegal. Some
LOTS may have enhanced EEO program requirements. These requirements are
addressed in Chapter 13. Additional hiring practices for drivers and all employees
required to have a CDL (e.g., supervisors and mechanics) are described earlier in this
chapter.

Employment Conditions

To ensure that your employees fully understand the conditions of their employment, the
MTA strongly recommends that the LOTS create an employment policy and distribute
the guidelines to employees. It is helpful to clearly illustrate the varying conditions of
employment       by   grouping     them    according      to   job    classification, i.e.,
temporary/contractual, probationary, hourly, salaried, and the "status under Federal
overtime pay provisions.” While policies will vary according to the structure and size of
the LOTS, they can be used to address matters such as attendance requirements,
break periods, lunch hours, overtime compensation, inclement weather notification,
expense reimbursements, uniforms and appearance, leave policies, and disciplinary
actions. It is especially important, and required, that the LOTS make adherence to the
LOTS drug and alcohol policy a condition of employment.


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Leave Policies

Each LOTS should provide employees with a comprehensive leave policy. Detailed
leave policies help to eliminate confusion among employees about procedures for
requesting leave time and the amount of time available to them. It may be easiest to
structure your policy by job classification (i.e., contract/temporary, probationary, part-
time, hourly, and salaried). Issues such as leave for holidays, vacations, sickness, civic
duties (such as jury duty or military duty), bereavement, and maternity/paternity leave
should be addressed. Careful attention should be given to Federal guidelines such as
the      Family      and       Medical      Leave       Act     (FMLA)       of      1993
(http://www.dol.gov/whd/regs/statutes/fmla.htm) which mandates leave entitlements,
health benefits, and job restoration requirements.

Pay Plan

Each LOTS should establish a pay plan policy. A structured pay plan gives both
employers and employees a comprehensive reference guide to salary, benefits, and
compensation issues. LOTS must adhere to Federal and State guidelines concerning
minimum wage requirements and overtime compensation.

Employee Incentive Programs

For employees who excel at their work, recognition programs encourage them to
maintain high standards, and in some instances, push them to exceed these standards.
In general, recognition programs provide some definitive reward for superior
performance.

Keep in mind that a competitive incentive program by itself may not be adequate to
provide the desired results in all employees.           “Average” employees are often
unmotivated by this type of program because they feel that they are not capable of
receiving an award. Motivational programs may be of greater use for “average
employees” as they place emphasis on psychologically influencing individuals to modify
their behavior, rather than relying purely on pro-activism. Motivational programs should
be structured so that there is a reasonable opportunity to win, low level peer pressure,
no/low cost awards, team competition, and frequent cycles and feedback.

Performance Evaluations

The MTA strongly recommends that the LOTS adopt a policy and procedure for
employee performance evaluations. Evaluations are valuable to all employees as they
provide an opportunity for the assessment of an employee’s contribution to the transit
organization and her/his personal career goals. As with all the above policies, the type,
frequency, and documentation involved in a performance evaluation should reflect the
structure and size of your LOTS. It is very important to keep written documentation of
an employee performance review to protect your organization in the event of a legal
dispute.



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Disciplinary Actions

The MTA strongly recommends that the LOTS adopt policies detailing employee
misconduct and its repercussions before problems occur. Both the type and severity of
the offense should be considered when dispensing disciplinary action. One possible
policy method is to create an escalating scale of disciplinary action (also known as
progressive discipline) that can include:

    1.   A verbal warning,
    2.   A written reprimand,
    3.   Short-term suspension,
    4.   Long-term suspension,
    5.   Demotion,
    6.   Counseling, and/or
    7.   Dismissal.

This policy should be consistently followed by all managers. In order to create an
equitable policy structure, an appeals process should be open to employees. Similar to
the performance review, it is very important that you keep a written record of any
disciplinary action taken against an employee. Documentation of an employee’s past
work history can be of great significance in a legal dispute. Disciplinary actions or
consequences for positive drug and alcohol tests should be included in your disciplinary
policy as the LOTS is required to have such actions already described in its written drug
and alcohol policies.

Discrimination/Harassment

It is the responsibility of every transit organization to ensure that they are in compliance
with Federal and State requirements and guidelines concerning discrimination and
sexual harassment in the workplace. The Title VI and EEO requirements under the Civil
Rights Act of 1964 are described in Chapter 13.

Employers may not discriminate in any aspect of employment, including but not limited
to, hiring and firing, testing, recruitment, and promotion.         Employers may not
discriminate against any individual based on race, color, religion, sex, national origin,
disability, age, genetic information, or veteran status. In addition, there are numerous
steps that an organization must take to assure authorities that EEO policies are actively
practiced. Transit organizations must create and disseminate a statement of policy,
appoint an EEO officer, participate in compliance reviews, and be subject to remedial
actions in the case that EEO guidelines are not being met. The LOTS that meet the
threshold for a formal EEO program will be required to perform a statistical assessment
of employment practices to include hiring, discipline, dismissal, and promotion. The
LOTS, depending on the threshold requirements they have to meet, will also be
required to perform a utilization analysis to gather information about minority
employment in job categories and use the utilization analysis to assess the reasons for
underutilization (see Chapter 13). Employees should be made aware of the fact that the
Equal Employment Opportunity Commission (EEOC) has established a grievance
process that can be accessed at the Federal, State, and local levels.

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Sexual harassment in the form of unwanted sexual advances, requests for sexual
favors, and other verbal/physical conduct of a sexual nature violates Title VII of the Civil
Rights Act of 1964. Employers should institute a zero tolerance policy towards any form
of sexual harassment, provide training for all employees on this policy, and create a
grievance system for individuals who wish to issue complaints.

The ADA and Reasonable Accommodations

Titles I and V of the ADA prohibit employment discrimination against qualified
individuals with disabilities in the private sector, as well as in State and local
governments. Employers with 15 or more employees are required to provide
reasonable accommodation for individuals with disabilities, unless it would cause undue
hardship. A reasonable accommodation is any change in the work environment or in the
way a job is performed that enables an individual with a disability to enjoy equal
employment opportunities. All LOTS must have a policy on nondiscrimination on the
basis of disability as part of their employment policies/EEO policy, and the policy of
those with 15 or more employees should address reasonable accommodation. (See
Chapter 13,)

Grievance Procedures

All LOTS are required to establish formal complaint procedures as part of their EEO
program and post procedures in conspicuous places. Grievance procedures are an
important method for settling a multitude of conflicts in the workplace. While the format
itself is flexible, the policy should insure that all disputing parties have an equal
opportunity to voice their discontent with an expectation of confidentiality.

The EEO program requirements include formal procedures for receiving, processing
and handling complaints related to discrimination. The LOTS can address this
requirement through a complaint procedure that also addresses complaints related to
grievances other than discrimination.

As indicated in Chapter 13, the LOTS must notify the MTA immediately of any EEO
complaints and will be required to submit a quarterly EEO complaint log. Also, the
LOTS must report any EEO complaints (and the disposition of those complaints) as part
of the ATP certification and assurances, so recordkeeping of complaints is necessary.

Recordkeeping

In order to keep an organized record of an employee’s work history, it is recommended
that the LOTS create a personnel records policy. The policy should detail the types of
documents to be included in the file, the people who have access to the file, and the
process for employee viewing. Due to the personal nature of the documents (job
applications, performance evaluations, etc.), personnel files should be considered
confidential material and accessible only to those individuals stated in the policy.
Federal     regulations,   under    the    Fair    Labor    Standards      Act  (FLSA,
https://www.dol.gov/whd/flsa/), require a basic list of records that an employer must
maintain for each employee:

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         x    Full name and social security number
         x    Address, including zip code
         x    Birth date, if younger than age 19
         x    Sex and occupation
         x    Time and day of week when employee’s work week begins
         x    Hours worked each day
         x    Total hours worked each work week
         x    Basis on which wages are paid (e.g., by hour or week)
         x    Regular hourly pay rate
         x    Total daily or weekly straight-time earnings
         x    Total overtime earnings for the work week
         x    All additions to or deductions from wages
         x    Total wages paid each pay period
         x    Date of payment and the pay period covered by the payment

When employee labor hours and benefits are charged to a grant, the LOTS has an
obligation to maintain timecards/sheets supporting those charges for a period of at least
three years following grant closeout.

In addition, the MTA recommends that the following records be maintained for each
employee:

    x    Training completed, including dates, topics, instructors, proficiency evaluations,
         and certifications received as a result. This should include documentation that
         the system has provided a minimum of 60 minutes of training for all safety-
         sensitive employees on the effects and consequences of prohibited drug use.
         Note: LOTS are required to keep training records for drug and alcohol and ADA
         purposes,
    x    Copy of the employee’s current driver’s license and U.S. DOT physical
         certification card, if appropriate (with expiration dates tracked),
    x    Log of accident/incidents and determination of preventability, and
    x    Performance evaluations.

The LOTS must report EEO complaints to the MTA as part of their ATP; therefore,
recordkeeping is needed to track complaints for this annual report. Further, LOTS that
meet Federal EEO thresholds must have a formal monitoring and reporting system. For
more information, see Chapter 13.


REQUIREMENTS RELATED TO DRUG-FREE WORKPLACE AND DRUG AND
ALCOHOL TESTING




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Drug-Free Workplace

The Drug-Free Workplace Act (DFWA) of 1988 (41 U.S.C. Sections 701 et seq.) and 49
CFR part 32 mandate that all Federal grantees host a drug-free environment. Providing
a drug-free environment is in the best interest of your organization as it promotes a level
of safety and comfort within the workplace. There are several components involved in
complying with these laws:

         x    Employers must publish and disseminate a policy statement informing their
              employees that it is unlawful to manufacture, distribute, dispense, possess, or
              use a controlled substance that is prohibited in the workplace.
         x    Employers must establish a drug-free awareness program including informing
              employees of the dangers of drug abuse and available drug counseling,
              rehabilitation, and employee assistance programs.
         x    Employees must be informed as a condition of their employment that they
              must abide by the policy, including notifying their employer of a drug
              conviction within five days.
         x    Employers must notify the MTA of an employee’s drug conviction within ten
              days.
         x    Employers must impose a penalty on an employee or require participation in
              a drug abuse assistance program for convicted employees.
         x    Employers must “make an on-going, good faith effort to maintain a drug-free
              workplace by meeting the requirements of the Act.”

The preceding is merely a basic outline of the government’s requirements. For specific
regulations you should refer to the law (https://www.gpo.gov/fdsys/granule/USCODE-
2009-title41/USCODE-2009-title41-chap10-sec701/content-detail.html) as well as
informative websites listed at the end of this chapter.

Federal Drug and Alcohol Testing Regulations

There are two sets of Federal regulations related to drug and alcohol testing and
training for public transit service operators:

    x    FTA regulations (49 CFR Part 655, as amended) - Prevention of Alcohol
         Misuse and Prohibited Drug Use in Transit Operations includes required
         substance abuse programs and procedures that apply to transit agencies and
         their contractors that receive FTA public transportation funds (including Sections
         5307, 5311, and 5339). The LOTS must have an FTA drug and alcohol testing
         program in place for all safety-sensitive employees. The FTA-mandated drug
         and alcohol testing program is separate from, and in addition to, the provisions of
         the DFWA discussed above (although both can be covered in the same policy).
         It is important to note that the DFWA requirements apply to all employees while
         the testing program applies only to employees in safety-sensitive positions. All


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         covered employees who perform safety-sensitive duties must have a negative
         pre-employment drug test prior to conducting these duties.

    x    U.S. Department of Transportation regulations (49 CFR Part 40, as
         amended) - Procedures for Transportation Workplace Drug and Alcohol Testing
         Programs prescribes the testing methods that apply to testing procedures for
         DOT covered employees (not just FTA).

In addition, FMCSA regulations (49 CFR Part 382) apply to vehicle operators holding
CDLs (including Section 5310 subrecipients and SSTAP providers that do not receive
FTA funds but are operating a vehicle that is sized to require a CDL). Requirements
under the FMCSA Part 382 drug and alcohol regulations are not addressed in this
manual, but can be found online on the FMCSA website at www.fmcsa.dot.gov under
“Rules & Regulations.” While the FMCSA regulations are similar to the FTA regulations,
some differences do exist. A LOTS receiving any FTA transit funding (except 5310)
must apply the FTA rules. The FTA and FMCSA have agreed that transit agencies with
safety-sensitive employees holding CDLs are covered by the FTA drug and alcohol
regulations.

FTA Drug and Alcohol Testing Program Requirements

All LOTS receiving Section 5307, 5311, and/or 5339 funding must develop and
implement an FTA-compliant drug and alcohol testing program. FTA has developed a
drug & alcohol policy building tool: https://transit-safety.fta.dot.gov/DrugAndAlcohol/
Tools/ PolicyBuilder/CreatePolicy.aspx. We highly recommend that you use this as the
first source in building your drug and alcohol programs.

Important: The content of this chapter should not be perceived as complete guidance
on how to develop a drug and alcohol program. FTA drug and alcohol testing program
requirements are subject to change. The LOTS are responsible for keeping up with the
current requirements and must consult with their human resource agency to develop
and maintain a current FTA compliant drug and alcohol testing program. Details, up-to-
date information, and guidance on how to establish a comprehensive drug and alcohol
program are provided by the following resources:

    x    49 CFR Part 40, as amended - U.S. DOT Procedures for Transportation
         Workplace Drug and Alcohol Testing Programs - http://www.ecfr.gov/cgi-bin/text-
         idx?tpl=/ecfrbrowse/Title49/49cfr40_main_02.tpl

    x    49 CFR Part 655, as amended - Prevention of Alcohol Misuse and Prohibited
         Drug Use in Transit Operations (note that minimum random test sampling rates
         are        updated        annually)      -       http://www.ecfr.gov/cgi-bin/text-
         idx?tpl=/ecfrbrowse/Title49/49cfr655_main_02.tpl

    x    FTA’s Implementation Guidelines for Drug and Alcohol Regulations in Mass
         Transit    (latest     revision    was       published   October      2009)   -
         https://www.transit.dot.gov/oversight-policy-areas/implementation-guidelines-
         drug-and-alcohol-regulations-mass-transit-october

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    x    FTA’s Drug and Alcohol Regulation Updates, a quarterly electronic newsletter to
         which all LOTS should subscribe. Back issues are available online through the
         FTA website -https://www.transit.dot.gov/regulations-and-guidance/safety/drug-
         alcohol-regulation-update-newsletters.

This chapter presents a summary overview of the Federal requirements at the time of
the LOTS manual publication; however, the LOTS should refer to current FTA and U.S.
DOT publications for complete and most up-to-date information.

              Applicability

              All FTA-covered employers are required to be in compliance with the FTA
              regulations and DOT testing procedures. Transit operators may go beyond
              these requirements to incorporate additional features that are not mandated
              by the FTA. However, the FTA requires that operators make employees
              aware of those policies and procedures that are outside FTA requirements
              and being imposed by local authority.

              These requirements are not dependent on the size of the transit agency, the
              number of vehicles in the fleet, or the number of employees, but are slightly
              different for systems operating in rural and small urban areas.

              Two notable exclusions are:

                   x   Maintenance contractors of rural operators (Section 5311) and small
                       urban operators (Section 5307/5309/5339 grantees that serve areas
                       with populations under 200,000) are excluded.

                   x   Taxi operators are excluded when the patrons are allowed to choose
                       the taxi company that provides the service (also known as user-side
                       subsidies). However, the regulations do apply to taxi operators when
                       the transit provider has a contract with a taxi company to provide
                       service as part of the public transit service.

              Volunteers in safety-sensitive positions are subject to these requirements if
              the volunteer:

                   x   Is required to hold a CDL license to operate the vehicle, or
                   x   Receives remuneration in excess of his or her actual expenses
                       incurred while engaged in the volunteer activity.

              LOTS with operations contractors are responsible for ensuring that their
              contractors comply with these requirements.

              Safety-Sensitive Positions

              Safety-sensitive employees are those who:


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                   x   Operate a revenue service vehicle, including when not in revenue
                       service,
                   x   Operate a non-revenue service vehicle when required to be operated
                       by a holder of a CDL,
                   x   Control the dispatch or movement of a revenue service vehicle,
                   x   Maintain a revenue service vehicle or equipment used in revenue
                       service (unless the recipient receives funding under Sections 5307,
                       5311, and 5339 and serves an area of less than 200,000 in population
                       and contracts out such services), and/or
                   x   Carry a firearm for security purposes.

              Program Elements

              In brief, the FTA regulation requires the following elements:

                   x   A written policy statement on prohibited drug and alcohol use in the
                       workplace including consequences.

                   x   An employee and supervisor education and training program.

                   x   A drug and alcohol testing program for prohibited substances for
                       employees and applicants for safety sensitive positions.

                   x   Referral of employees who have violated the drug and alcohol
                       regulations to a Substance Abuse Professional.

                   x   Administrative procedures for recordkeeping, reporting, releasing
                       information, and certifying compliance.

              Each of the above program elements is briefly described below.

              Policy Statement

              Each of the LOTS must adopt a policy statement on substance abuse in the
              workplace. This policy must be formally adopted by the local governing
              board. For LOTS that are part of a county or city, this means that the city or
              county council or commissioners must adopt the policy. For LOTS that are
              part of a private-non-profit agency, the agency’s board of directors would
              formally adopt the policy. Note that only an employer can establish a policy
              for its employees. Therefore, if the LOTS contracts out their safety-sensitive
              functions, those covered employees are under the contractor’s policy
              (although the LOTS will be responsible for ensuring that their contractor’s
              drug and alcohol policy is FTA complaint, and thus, the LOTS must retain
              approval authority over the contractor’s policy).

              At a minimum, the policy statement must include:


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                   x   The identity of the individual, office, branch and/or position designated
                       by the employer to answer employee questions about the employer's
                       anti-drug use and alcohol misuse programs.
                   x   Categories of employees who are subject to the FTA program
                       provisions.
                   x   Specific information concerning the prohibited behavior and conduct.
                   x   Specific circumstances under which a covered employee will be tested
                       for prohibited drugs or alcohol misuse.
                   x   Procedures that will be used to test for the presence of illegal drugs or
                       alcohol misuse, protect the employee and the integrity of the drug and
                       alcohol testing process, safeguard the validity of the test results, and
                       ensure the test results are attributed to the correct covered employee
                       (i.e., testing procedures that are consistent with 49 CFR Part 40).
                   x   Statement of the requirement that a covered employee must submit to
                       drug and alcohol testing as a condition of employment.
                   x   Description of the behaviors and circumstances that constitutes a
                       refusal to test and a statement that refusal to test is a violation of the
                       employer's policy. Instead of listing all refusals, the policy may state
                       that refusals to test are listed in 40 CFR Part 40, as amended, or 49
                       CFR 40.161 as amended for urine collections and 49 CFR 40.261 as
                       amended for breath tests. The policy should then state that a copy of
                       49 CFR Part 40 is available upon request.
                   x   Consequences for a covered employee who has a verified positive
                       drug or a confirmed alcohol test result with an alcohol concentration of
                       0.04 or greater; or who refuses to submit to a test under this part,
                       including the mandatory requirements that the covered employee be
                       removed immediately from his or her safety-sensitive function and be
                       evaluated by a substance abuse professional, as required by 49 CFR
                       Part 40.
                   x   The consequences for a covered employee who is found to have an
                       alcohol concentration of 0.02 or greater but less than 0.04, as set forth
                       in 49 CFR Part 655.
                   x   Notification of any implementation elements of an anti-drug use or
                       alcohol misuse program that are not required by FTA.
              FTA rules are very specific in terms of who must be tested, under what
              circumstances, how the tests must be conducted, and the actions that transit
              operators must take in response to a positive test. An overview of the steps
              that the LOTS must take to comply with the FTA rules is presented below
              (see FTA guidance for a detailed description of the FTA testing
              requirements). LOTS may go beyond FTA requirements as long as
              employees are made aware of those policies and procedures that are outside
              FTA requirements and are being imposed by local authority.


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              Training

              The FTA requires an education and training program for all covered
              employees, including all safety-sensitive employees, and training for all
              supervisors and other company officers authorized to make reasonable
              suspicion determinations. The education component requires each employer
              to display and distribute informational materials about the effects of drugs and
              alcohol to every covered employee, as well as a community service hotline
              telephone number (if available) to help employees who may be experiencing
              problems with prohibited drug use or alcohol misuse.                Sources of
              informational materials and hotlines include your Employee Assistance
              Program (EAP) as well as organizations listed on pages 5-2 and 5-3 of the
              2009 edition of FTA’s Implementation Guidelines for Drug and Alcohol
              Requirements in Transit.

              Supervisors: Supervisors must be trained to recognize the physical,
              behavioral, speech, and performance indicators of probable drug use and
              alcohol misuse. At least 60 minutes of this training must be focused on drugs
              and 60 minutes focused on alcohol (thus a minimum of two hours).
              Supervisors also need to be trained in the FTA rules, the formal employer
              policy concerning drug and alcohol use, the testing procedures, and the
              procedures to follow in the event an employee refuses to be tested or tests
              positively.

              Employees: Safety-sensitive employees must receive at least 60 minutes of
              training that explains the effects and consequences of prohibited drug use on
              personal health, safety, and the work environment. The training must also
              address the signs and symptoms that may indicate substance abuse, the
              formal employer policy concerning drug and alcohol use and testing
              procedures, and the community hotline telephone number. It should also
              address the use of prescription drugs as potentially hazardous in the
              workplace. This training should be provided before drivers go on the road
              (i.e., as part of new-hire orientation training). Training of safety-sensitive
              employees in the effects and consequences of alcohol misuse is not required
              by the FTA regulation. However, information concerning the effects of alcohol
              misuse on the individual’s health, work, and personal life, as well as the signs
              and symptoms of an alcohol problem, must be included in the general
              education program.

              Timing and documentation: LOTS should be prepared to offer the required
              drug and alcohol training annually and/or as new employees enter their
              systems or transfer into safety-sensitive positions. LOTS must document their
              required training, including when the training occurred, who took the training,
              and what the employees were trained in (e.g., the curriculum).

              Service agents: LOTS are responsible for ensuring that the service agents
              who provide the testing services are appropriately educated and trained. This
              includes urine specimen collectors, breath alcohol technicians (BAT), screen

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              test technicians (STT), Medical Review Officers (MRO), and Substance
              Abuse Professionals (SAP). The 2009 FTA Implementation Guidelines for
              Drug and Alcohol Requirements in Transit provides details on the minimum
              training requirements for each type of service agent; however, this manual is
              somewhat outdated because revisions were made to the MRO requirements
              in the 2010 version of 49 CFR Part 40.

              Testing

              As part of the FTA requirements for the prevention of drug and alcohol use in
              transit operations, the FTA mandates drug testing for all individuals who
              perform safety-sensitive functions. This includes employees, transferees, and
              contractors (with exemptions for volunteers, user-side subsidy providers, and
              maintenance contactors in rural and small urban areas). There are a number
              of procedures that need to be followed in order to maintain compliance with
              FTA standards. Testing procedures are intended to protect the employee and
              the integrity of the drug and alcohol testing process, safeguard the validity of
              the test results and ensure the test results are attributed to the correct
              employee.

              Types of Tests

              At its most basic level, drug and alcohol testing must be done in the following
              circumstances:

                   1. Pre-employment (drug testing only) – For applicants for employment in
                      safety-sensitive positions as well as individuals being transferred into
                      safety-sensitive positions from non-safety-sensitive positions.
                      Operators must have received a negative pre-employment test before
                      any employee performs a safety-sensitive function (pre-employment
                      alcohol testing is not required by the FTA, but is allowable).

                   2. Reasonable suspicion – Must be based on observations concerning
                      the appearance, behavior, speech, or body odor of the safety-sensitive
                      employee.

                   3. Post-accident – Following any accident where there is loss of life
                      associated with the operation of a revenue service vehicle. Also
                      required following certain non-fatal accidents that result in bodily injury
                      that requires emergency medical transport away from the scene or
                      disabling damage to a vehicle resulting in towing the vehicle from the
                      scene (unless employee performance can be discounted completely as
                      a contributing factor). The testing must be conducted as soon as
                      possible following the accident (preferably within two hours, but no
                      later than eight for alcohol and 32 for drug testing).

                   4. Random – Using a scientifically valid random-number selection method
                      to select safety-sensitive employees to test; with tests spread

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                       reasonably throughout the year and over days and hours of operation.
                       The number of random drug and alcohol tests to be conducted each
                       year are subject to annual review by the FTA. Minimum testing rates
                       are published in the Federal Register and announced in FTA’s Drug &
                       Alcohol Regulation Updates. They are also posted on the FTA website
                       at https://www.transportation.gov/odapc/random-testing-rates. As of
                       March 2017, the FTA testing rates are 25 percent of the number of
                       safety-sensitive employees for drugs and ten percent for alcohol.

                   5. Return-to-duty – Following a verified positive drug test result, an
                      alcohol result of 0.04 or greater, a refusal to submit to a test, or any
                      other activity that violates the regulations, before the individual can
                      return to safety-sensitive employment. This is required of employers
                      that have a second-chance program.

                   6. Follow-up – For employees who are allowed to return-to-duty,
                      unannounced follow-up testing for up to 60 months. The frequency
                      and duration of the follow-up testing will be recommended by the SAP
                      with a minimum of six tests performed during the first 12 months. As
                      with return-to-duty testing, this only is required of employers that have
                      a second-chance program.

              Testing Procedures

              x    Drug Testing Procedures – Under the current DOT regulations (49 CFR
                   Part 40 updated August 8, 2016), employers are required to conduct urine
                   tests for the following types of drugs:

                       o Marijuana,
                       o Cocaine,
                       o Amphetamines [including methylenedioxymethamphetamine
                         (MDMA), also known as ecstasy)],
                       o Opioids, and
                       o Phencyclidine (PCP).

                   The Department of Health and Human Services (DHHS) establishes the
                   minimum threshold levels for each of the drugs tested under U.S. DOT
                   testing programs including the FTA; these drugs and levels were updated
                   in 2010.

                   The regulations define very specific testing procedures, including initial
                   (screening) and follow-up (confirmatory) tests. In order to conduct these
                   tests in compliance with Federal regulations, the LOTS will need to make
                   arrangements for DOT-compliant specimen collection, laboratory testing, a
                   DOT-qualified MRO, and an SAP.

              x    Alcohol Testing Procedures – Under FTA rules, employers are required
                   to conduct breath alcohol testing that consists of an initial screen test that,

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                   if not negative, is followed by a confirmatory test. Only saliva and breath
                   tests using approved devices are authorized for confirmatory alcohol tests
                   (urine and blood tests are not allowed for alcohol testing). The equipment
                   used to conduct these tests must be operated by technicians specifically
                   trained in their use. Alcohol testing sites must meet certain requirements
                   and specific testing procedures must be followed.

              Laboratories, MROs, and other service agents must file specific
              documentation and reporting procedures, including a semi-annual laboratory
              report, to employers and the U.S. DOT.

              The LOTS, as employers, are responsible for ensuring that all aspects of the
              drug and alcohol testing program comply with 49 CFR Part 40, and should
              closely monitor contractors to ensure their compliance.

              More direction on how to establish the testing procedures can be found in the
              FTA’s Implementation Guidelines for Drug and Alcohol Regulations in Mass
              Transit.

              Consequences of Testing Positive or Refusing to be Tested

              The FTA regulations require that any individual with a positive drug test or a
              breath alcohol concentration of 0.04 or greater, or who refused a test, must
              be immediately removed from their safety-sensitive position and referred to a
              SAP. The employer must provide the services of a SAP even if the employee
              is terminated.

              Before allowing the employee to resume performing a safety-sensitive
              function, the employer must ensure that the employee meets the
              requirements of 49 CFR Part 40 for returning to duty, including taking a
              return-to-duty drug and/or alcohol test and submitting to follow-up testing.

              A covered employee who is found to have an alcohol concentration of 0.02 or
              greater, but less than 0.04 may not perform safety-sensitive functions until his
              or her alcohol concentration measures less than 0.02, or before the start of
              the employee's next regularly scheduled duty period (but not less than eight
              hours following administration of the alcohol test).

              Administrative Procedures

              There are a number of procedural, administrative, and certification
              components to be followed. These are specified in 49 CFR Part 655 Subpart
              H—Administrative Requirements and explained in FTA’s Implementation
              Guidelines for Drug and Alcohol Requirements in Transit. If a LOTS utilizes
              a contractor (e.g., First Transit), you must make sure the contractor is also in
              compliance.



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              Each LOTS should have one individual designated as the Drug and Alcohol
              Program Manager (DAPM) who is responsible for administering the program.
              The DAPM is often responsible for recordkeeping, reporting, administering,
              and scheduling the random testing process, and serving as the Designated
              Employer Representative (DER). Designating a DAPM as a single point of
              contact for the program is critical.

              One important administrative function pertains to the hiring process: All DOT
              covered employers must make good faith efforts to obtain drug and alcohol
              testing records for the previous two years for all applicants seeking safety-
              sensitive positions. You must ask all applicants/transferees whether he/she
              has tested positive, or refused to test, on any U.S. DOT pre-employment drug
              or alcohol test administered by a U.S. DOT covered employer for which they
              did not get the job within the past two years. You must then require that each
              applicant or employee transfers for safety–sensitive positions complete a
              written consent that allows their previous employers to release drug and
              alcohol testing information to you. If the applicant/transferee refuses to
              provide this written consent, you must not permit him/her to perform safety-
              sensitive functions. It also requires that you submit the applicants/transferee’s
              written consent along with a request for information to each of the U.S. DOT-
              regulated employers who have employed the applicant/transferee during any
              period during the two years before the date of the employee’s application or
              transfer. The information that must be sought includes:

              x    Alcohol test results of 0.04 alcohol concentration or greater;
              x    Verified positive drug tests;
              x    Refusals to test;
              x    Other violations of FTA/DOT rules; and
              x    As appropriate, documentation of the successful completion of U.S. DOT
                   return-to-duty requirements including follow-up tests.

              If the previous employer does not have this information, this documentation
              must be sought from the employee. A form letter which provides the
              applicant’s written consent and requests the required information from the
              former employer is provided in Attachment 8.A.

              If feasible, you must obtain and review this information before the employee
              performs safety-sensitive functions. If this is not possible, you must make
              and document a good faith effort to obtain the information. If the information
              obtained from a previous employer includes any drug or alcohol test
              information that indicates a non-negative test result or violation of the
              DOT/FTA regulations, you may not allow the employee to perform safety-
              sensitive duties unless you have obtained documentation that the employee
              has complied with the return-to-duty requirements including SAP assessment,
              successful treatment, negative return-to-duty test, and follow-up tests. All
              information received and documentation of good faith efforts must be kept as
              a confidential record and maintained for a minimum of three years. Likewise,
              if you are requested to provide information regarding a previous employee
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              and the employee has provided written consent, you are required to provide
              the requested information. The information must be released in a confidential
              manner and you must maintain a written record of the information released.

              The LOTS must maintain records documenting their testing program
              consistent with the FTA requirements. Furthermore, in accordance with the
              FTA Drug and Alcohol Management Information System (MIS) Program,
              reports concerning alcohol and drug testing must be prepared annually using
              either MIS forms or MIS software. All LOTS are required to complete the
              annual online FTA MIS form by March 15 for the prior year reporting period.
              The MTA annually notifies the LOTS of when the MIS report is due as well as
              the LOTS requirement to submit their annual drug and alcohol certification
              letter. The LOTS are required to submit both the annual certification letter
              and the MIS report to the MTA Office of Human Resources by February of
              each year for the preceding year. This regulation applies to all direct
              recipients, subrecipients, and contractors of FTA funding sources
              administered by the MTA. Transit agencies are required to collect the forms
              from each of their contractors. All testing results are considered confidential
              and should be accessible only to those individuals stated in an in-house
              policy.

              The MTA also requires that the LOTS submit quarterly drug and alcohol
              reports to the MTA using the form in Attachment 8.B, which is separate from
              the MIS form.

              Additional Information on FTA Drug and Alcohol Testing Program
              Requirements

              In addition to the regulations and resources listed at the beginning of this
              chapter the FTA has published guidance resources including best practices
              manuals, a prescription and over-the-counter medications toolkit, guidelines
              for urine specimen collection, SAPs, reasonable suspicion referral for
              supervisors, and other topics. These resources are listed with links for
              downloading at the end of this chapter.

              The LOTS are reminded that marijuana remains a Federally-banned and
              tested substance for safety-sensitive employees, and safety-sensitive
              employees must be tested for marijuana use under FTA regulations
              regardless of local or State ordinances/laws allowing such use. Use of
              "medical marijuana" does not constitute a valid medical explanation under
              Federal law and will be considered a positive drug test result.

              It is important to be aware that this refers to leaf-based marijuana. Chemical
              positive tests that involve prescription use of the pill form known as Marinol
              (dronabinol) may be downgraded by MROs (i.e., a negative test result).
              Under 49 CFR Part 40, §40.137, MROs must offer the employee an
              opportunity to present a legitimate medical explanation in positive test results,
              and the employee has the burden of proof that a legitimate medical

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              explanation exists. If the MRO determines that there is a legitimate medical
              explanation, the MRO must verify the test result as negative. However, the
              MRO may have a responsibility to raise fitness-for-duty considerations with
              the employer if the test results indicate that continued performance by the
              employee of his or her safety-sensitive function is likely to pose a significant
              safety risk (see §40.327). This is at the MRO’s professional discretion.


COLLECTIVE BARGAINING PROTECTIONS

Public transit organizations that receive financial assistance from certain Federal
programs, including Sections 5307 and 5311, must comply with employee protective
arrangements. Employee protections include: “the preservation of rights, privileges,
and benefits (including continuation of pension rights and benefits) under existing
collective bargaining agreements or otherwise, the continuation of collective bargaining
rights, the protection of individual employees against a worsening of their positions
related to employment, assurances of employment to employees of acquired mass
transportation systems, assurance of priority of re-employment of employees whose
employment is ended or who are laid off, and paid training or retraining programs.” In
other words, employment conditions for employees of LOTS that receive FTA funding
cannot be reduced as a result of the FTA funding grant, and collective bargaining rights
of employees (e.g., through a labor organization or union) are protected. LOTS
receiving S.5311 funds must certify fair and equitable arrangements to protect the
interests of transit employees affected by the FTA projects by signing a special
warranty, as required under 49 U.S.C. 5333(b). This warranty is referred to as the
Special Section 5333 (b) Warranty, and was formerly called the Special Section 13 (c)
Warranty.

49 U.S.C. 5333(b) is found online at https://www.dol.gov/olms/regs/compliance/statute-
sect5333b.htm.

More information is available on the U.S. Department of Labor (DOL) website at
http://www.dol.gov/olms/regs/compliance/compltransit.htm.

Provisions of the National (Model) Agreement for Incorporation in the Special
Section 5333 (b) Warranty

The Model (or National) Agreement refers to the agreement executed in 1975 by
representatives of the American Public Transportation Association and the
Amalgamated Transit Union and Transport Workers Union of America. The agreement
was intended to serve as a ready-made employee protective arrangement for adoption
by local parties in specific operating assistance project situations. The U.S. DOT
determined that this agreement provides fair and equitable arrangements to protect the
interests of employees in general purpose operating assistance project situations and
meets the requirements of 49 U.S.C. 5333(b).




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The provisions of the National (Model) Agreement Pursuant to Section 13(c) of the
Urban Mass Transportation Act of 1964, as amended, are found on the U.S. DOL
website at http://www.dol.gov/olms/regs/compliance/agreement.htm.

The Special 5333(b) Warranty

The Special Warranty is specifically for grantees and subgrantees under the Section
5311 (Rural/) program (as well as the former Over-the-Road Bus Accessibility program,
although this was eliminated with the passage of MAP-21 in 2012). The warranty
arrangement represents the understandings of the U.S. DOL and U.S. DOT in 1979,
with respect to the protections to be applied for such grants. Originally known as the
Special 13(c) Warranty under the Urban Mass Transportation Act (UMTA), it includes
the provisions of the National Model Agreement. This warranty details labor issues
such as collective bargaining and the rights of employees who are dismissed or
displaced from their jobs. The provision stipulates that the “collective bargaining rights
of employees, including the right to arbitrate labor disputes and to maintain union
security and checkoff arrangements,” are preserved. The provision also defines the
differences between a displaced and a dismissed employee and computes the accurate
allowance for each type of individual. Furthermore, the provision sets the terms for the
allowances as well as coverage related to employment effected changes of residence.

The certification agreeing to the labor provisions in the Section 5333(b) Warranty is
signed with the certifications and assurances submitted with the LOTS annual grant
application. As part of the application, Section 5311 applicants must identify labor
organizations representing transit employees, the labor organizations representing
employees of other transit providers in the service area, and a list of those transit
providers.

The warranty language was updated in January 2011 and can be found online at
http://www.dol.gov/olms/regs/compliance/transit/07_Special_Warranty.htm.

Notice to Employees

Section 5311 recipients are required to post, in a prominent and accessible place, a
notice stating that the Recipient has received Federal assistance under the Federal
Transit Act and has agreed to comply with the provisions of Section 5333(b) of the Act.
This notice shall also specify the terms and conditions set forth in the annual
certifications and assurances for the protection of employees. A sample notice is
provided at the end of this chapter (Attachment 8.C).


TRAINING

The MTA strongly recommends that LOTS develop and implement both initial training
and continuous learning programs. A well-trained staff is an indispensable asset to any
organization as it helps to foster an effective and quality-driven work environment. One
percent of the total Federal funding each LOTS receives must be used for training.


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Driver Training

At a minimum, the following topics are recommended for new drivers before being
placed in revenue service:

    x    Traffic regulations
    x    Defensive driving
    x    Vehicle orientation for each type of vehicles used
    x    Pre- and post-trip inspections
    x    Driving maneuvers (including stopping, turning, backing, and defensive
         maneuvers)
    x    Route orientation (on-the-road training prior to operating revenue service)
    x    Fare policies and collection
    x    Customer service
    x    Passenger assistance, including use of lift and wheelchair securement (as
         required by the FTA under the ADA)
    x    Sensitivity towards individuals with disabilities (as required by the FTA under the
         ADA)
    x    Drug and alcohol awareness (as required by the FTA)
    x    Communications
    x    Recordkeeping
    x    Non-discrimination (Title VI)
    x    Other standard operating policies and procedures
    x    Emergency procedures:
         o Accidents/Incidents
         o CPR/first aid (required by some human service funding sources)
         o Bloodborne pathogens awareness/bodily fluid clean-up
         o Vehicle evacuation
         o Security incident response
         o Emergency communications

Additional training may be appropriate, depending upon your services, customers, and
driver responsibilities:

         x    Map reading skills
         x    Behavior management
         x    CDL test preparation
         x    Preventive maintenance

Training should not be limited to newly hired drivers. Veteran drivers can benefit from
periodic “refresher” training to help improve and maintain safe driving skills.
Recommended refresher training includes:

    x    Remedial training following an accident or incident at which the driver was at
         fault,
    x    Defensive driving focused on seasonal driving hazards (e.g., winter weather),
         and
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    x    Training on new policies, procedures, or Federal/State regulations.

Training can be conducted in-house or off-site and can be in coordination with another
agency. It is recommended that each LOTS develop a checklist of training topics that
documents the number of hours spent in training for each employee. The checklist
should have both the trainer and the trainee sign off verifying participation or completion
of each topic area.

Transportation Association of Maryland (TAM)

TAM hosts an annual conference that offers professional development workshops and
peer-to-peer networking opportunities. All LOTS are encouraged to attend, share their
expertise with others, be involved in the TAM organization, and enhance the excellence
of their organization in their jurisdiction as well as across Maryland. Information about
the TAM conference is available on the TAM website at http://taminc.org/.

MTA-Sponsored Training

The MTA sponsors periodic training workshops for LOTS staff of programs funded by
Section 5311. Other LOTS and Section 5310 recipients may attend these sessions on
a space-available basis. This training is often funded by Maryland’s Rural Transit
Assistance Program (RTAP).

Maryland RTAP training is usually offered in conjunction with the annual TAM
conference as well as at other times throughout the year. Also, training opportunities
offered through the RTAP programs in neighboring States may be open to Maryland
LOTS. Information about upcoming Maryland RTAP-sponsored training is distributed to
all LOTS and typically announced on the TAM website (http://taminc.org/).

MarylandTRAIN

This is an MTA-sponsored on-line training module that will help prepare the new or
veteran transit employee to perform at their maximum. The program consists of three
tracks that feature web-based training and streamlined on-site sessions:

    x    Track 1 – Core Training – Transit 101 – On-line training
    x    Track 2 – Professional Supervisor/Manager Training – On-line training and
         instructor-led training
    x    Track 3 – Train-the-Trainer – Instructor-led training

Each track must be successfully completed to be able to move to the next track. For
more information on using this program, contact your Regional Planner.

RTAP Training Scholarships

The Maryland RTAP has established a scholarship program for which staff from transit
systems across Maryland can apply to attend training sessions that require travel. For
more information, contact TAM at 866-TAM-0700.

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Annual “Roadeo”

The Maryland RTAP and TAM jointly host an annual “Roadeo” for Maryland’s transit
systems. The Roadeo tests operators’ skills in defensive driving, passenger assistance,
and conducting pre-trip inspections. Prizes include scholarships to participate in the
national community transportation Roadeo.

Additional Maryland RTAP Resources

The Maryland RTAP program has a lending library of materials available for LOTS
programs housed at the TAM offices. A list of current library materials along with a
request form is found on the TAM website at http://taminc.org/. Maryland RTAP also
funds a quarterly TAM/RTAP newsletter that provides technical assistance to the LOTS.
For more information on MTA RTAP resources, visit the TAM website or contact TAM.

National Training and Professional Development Resources

    x    National RTAP – In addition to RTAP programs within each State, there is a
         National RTAP program that is currently managed by the Neponset Valley
         Transportation Management Association. The national program supports State
         programs, develops training materials and information resources about rural
         public transportation, and provides technical assistance. Information and
         technical assistance is available through a toll-free hotline (888-589-6821) and
         online at www.nationalrtap.org.

    x    Transportation Safety Institute (TSI) – Funded by U.S. DOT, TSI offers
         intensive training courses for all transportation modes including public transit.
         Transit driver safety and train-the-trainer courses are offered for transit coach
         operations as well as paratransit. Other topics include drug and alcohol program
         training, collision prevention and investigation, and security and emergency
         management at http://www.rita.dot.gov/tsi/.

    x    National Transit Institute (NTI) – Funded by FTA, NTI offers in-depth training
         on topics as diverse as ADA paratransit, safety and security awareness, human
         resources, procurement, financial planning, coordination, planning, technology
         and more. Classes are offered throughout the U.S. as well as in “distance
         learning” formats. More information is available at www.ntionline.com.

    x    Community Transportation Association of America (CTAA) – CTAA offers
         training and professional certification in safe operations (the PASS program),
         dispatching, supervision, management, and vehicle maintenance and inspection.
         CTAA trains trainers and certifies trainers and drivers through the PASS
         program. Maryland has several certified PASS trainers who may be able to
         assist in training the drivers of other Maryland transit providers; contact TAM for
         their contact information. In addition to its year-round training offerings, CTAA
         hosts an annual conference (EXPO, typically held in July) that provides
         numerous professional development workshops, as well as smaller topic-specific


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         conferences.            More information is available on the CTAA website at
         www.ctaa.org.

    x    American Public Transportation Association (APTA) – APTA hosts numerous
         conferences that provide professional development sessions, with its annual Bus
         and Paratransit conference (typically held each May) being the most relevant for
         the Maryland LOTS. APTA also hosts smaller, more specialized professional
         development events to focus on skill building needs, and “distance learning”
         opportunities such as webinars on topics of timely interest in the public
         transportation industry. More information is available on the APTA website at
         www.apta.com.

    x    National Aging and Disability Transportation Center (NADTC) – Funded
         under a cooperative agreement with FTA, NADTC offers training and webinars
         designed to help communities create accessible transportation for older adults,
         individuals with disabilities, and caregivers, as well as numerous technical
         assistance resources through its publications clearinghouse. Information is
         available at http://www.nadtc.org/.


WORKING WITH VOLUNTEERS

Working with volunteers can be both challenging and rewarding. Before starting a
volunteer program, you should carefully assess your organization and determine the
advantages and disadvantages of volunteers.         While working with volunteers
encourages community involvement and provides additional assistance, it also requires
increased supervision and organization on the part of the LOTS. Keep in mind that
volunteers can affect the professional image of your organization in the eyes of the
community, and make sure they are selected and trained to maintain your standards of
professionalism.

It is important to note that volunteers who perform safety sensitive job functions that
require a CDL are subject to the same drug and alcohol testing regulations as paid
employees. Volunteers are exempt from the FTA drug and alcohol testing requirements
unless they are required to operate a vehicle that requires a CDL or receive
remuneration in excess of actual expenses incurred while engaged in the volunteer
activity. The FTA defines volunteers as non-employees who perform a service as a
charitable act without the expectation of receiving benefit. Such benefit may include
community service as an alternative to criminal sentence, academic credit, payment by
another agency, or remuneration in excess of their personal expenses (such as mileage
reimbursement) incurred while performing the volunteer service.

Volunteer drivers must be properly screened and licensed, and meet minimum
insurance and training requirements as paid drivers. For the driving function, volunteers
should only be used if they present no more of a liability risk than paid drivers.
Reliability may be an issue of concern with volunteers.



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If you decide to use volunteers, it is important to create specific guidelines for
volunteerism in order to foster effective relationships between volunteers and transit
organizations. Some roles that volunteers may be well suited for include outreach and
travel training.

As a best practice, it is recommended that volunteers be treated as new hires, and be
provided with new-hire orientation and basic training.




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ADDITIONAL RESOURCES

US Department of Labor Laws and Information

    x    US DOL - www.dol.gov

    x    US DOL’s technical assistance                             on   major   employment   laws     -
         http://webapps.dol.gov/elaws/

    x    US DOL’s directory of DOL regulations as they pertain to employers –
         https://www.dol.gov/general/audience/aud-employers

    x    Fair Labor Standards Act - https://www.dol.gov/whd/flsa/

    x    Family and Medical Leave Act of 1993 –
         http://www.dol.gov/whd/regs/statutes/fmla.htm

    x    Davis-Bacon Act of 1931 - Established that the Secretary of Labor could set
         wages for laborers and mechanics employed by contractors working for the
         Federal government -- https://www.dol.gov/whd/govcontracts/dbra.htm

    x    Section 5333(b) (also referred to as Section 13(c)) compliance information on the
         US DOL website -- http://www.dol.gov/olms/regs/compliance/compltransit.htm

Equal Employment Opportunity / Nondiscrimination
(see Chapter 13 for EEO requirements)

Commercial Driver Qualifications

    x    Federal Motor Carrier Safety Administration (FMCSA) - www.fmcsa.dot.gov
    x    FMCSA Medical Program - https://www.fmcsa.dot.gov/regulations/medical
    x    49 CFR Parts 300-399 - https://www.fmcsa.dot.gov/regulations/title49/b/5/3
    x    Maryland Motor Vehicle Administration CDL information -
         http://www.mva.maryland.gov/Driver-Services/Apply/CDL/commercial.htm

Driver Training Programs

    x    National RTAP START Safety Training and Rural Transit program –
         www.nationalrtap.org
    x    CTAA’s Passenger Service and Safety (PASS) Trainer and Driver Certification
         program – www.ctaa.org
    x    National Safety Council’s Defensive Driving products and courses -
         http://www.nsc.org/learn/Safety-Training/Pages/defensive-driving-driver-safety-
         training.aspx.



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Drug-Free Workplace / Drug and Alcohol Program

    x    Drug Free Workplace Act of 1988 - https://www.gpo.gov/fdsys/granule/USCODE-
         2009-title41/USCODE-2009-title41-chap10-sec701/content-detail.html
    x    FTA Office Safety and Security, Drug & Alcohol Program -
         https://www.transit.dot.gov/regulations-and-guidance/safety/drug-alcohol-
         program
    x    Drug and Alcohol Program section of the FTA website - https://transit-
         safety.fta.dot.gov/DrugAndAlcohol/default.aspx
    x    U.S. DOT Office of Drug & Alcohol Policy and Compliance -
         https://www.transportation.gov/odapc
    x    The Federal regulations under Title 49, viewable through http://www.ecfr.gov/:
              o 49 CFR Part 40 - U.S. DOT Procedures for Transportation Workplace
                Drug and Alcohol Testing Programs
              o 49 CFR Part 655 - Prevention of Alcohol Misuse and Prohibited Drug Use
                in Transit Operations
              o 49 CFR Part 382 - Controlled Substances and Alcohol Use and Testing
                under the Federal Motor Carrier Safety Administration (FMCSA)
                Regulations
    x    FTA’s     quarterly     Drug     and     Alcohol    Regulation     Updates         –
         https://www.transit.dot.gov/regulations-and-guidance/safety/drug-alcohol-
         regulation-update-newsletters
    x    FTA publications on implementing drug and alcohol regulations - https://transit-
         safety.fta.dot.gov/DrugAndAlcohol/Publications/Default.aspx
    x    Substance abuse management training tools developed under the Center for
         Urban Transportation Research (CUTR) with funding from the Florida
         Department of Transportation – http://sam.cutr.usf.edu/
    x    FTA Drug and Alcohol Management Information System (MIS) Program reports
         concerning alcohol and drug testing, which must be prepared annually using
         either        MIS          forms         or          MIS      software     -
         https://www.transportation.gov/sites/dot.dev/files/docs/ODAPC%2040%20Appen
         dix%20H.pdf

Training and Professional Development Resources

    x    TAM – http://taminc.org/
    x    APTA – www.apta.com
    x    CTAA – www.ctaa.org
    x    National RTAP - http://nationalrtap.org/
    x    NTI – www.ntionline.com
    x    Transportation Safety Institute (TSI) – http://www.rita.dot.gov/tsi/
    x    National Aging and Disability Transportation Center (NADTC) -
         http://www.nadtc.org/

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                             CHAPTER 8: SUMMARY CHECKLIST

   Develop a personnel policies manual and distribute to each employee.
   Develop job descriptions for each position and include them in the personnel
    manual.
   Establish written policies for each of the following and distribute to employees:

    x    Uniform hiring policy
    x    Employment conditions
    x    Comprehensive leave policy that addresses Federal guidelines
    x    Pay plan
    x    Performance evaluations
    x    Disciplinary actions
    x    Requirements for employees with CDLs
    x    Fitness for duty/workplace environment
    x    Drug and alcohol testing
    x    Discrimination/harassment policy
    x    Grievance procedures

   Maintain timesheets at least three years beyond grant closeout, including timesheets
    for volunteer time used as in-kind local match.
   Conduct appropriate background checks of job candidates, including good faith
    efforts to obtain drug and alcohol testing records for the previous two years for all
    applicants seeking safety-sensitive positions.
   Conduct pre-employment, post-accident, reasonable suspicion, random, return-to-
    duty, and follow-up drug and alcohol testing for all individuals in safety-sensitive
    positions. Train these employees in your policies and in the effects of using drugs
    and alcohol.
   Provide training for new employees as well as on-going and refresher training for
    existing employees. Take advantage of State and national training resources.
   Ensure that drivers of vehicles designed to carry 16 or more passengers, or nine to
    15 passengers if operated interstate, including the driver, possess a valid CDL and
    U.S. DOT physical certification. This also applies to mechanics who drive these
    vehicles.
   Ensure that drivers meet the minimum FMCSR physical qualifications (which
    disqualify any individuals with a condition which is likely to cause loss of
    consciousness or any loss of ability to control a commercial motor vehicle).
   Maintain confidential personnel records that include all records required under
    FLSA.
   Ensure that any volunteers performing safety-sensitive job functions are subject to
    drug and alcohol testing and training.

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   Comply with employee protective arrangements, including the collective bargaining
    rights.
   Ensure that employees and prospective employees are not discriminated against on
    the basis of race, color, religion, sex, national origin, disability, age, genetic
    information, or veteran status (see Chapter 13).




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9          OPERATIONS MANAGEMENT


  This chapter addresses the Federal and State requirements that pertain to
  operations – the primary function of your agency – including general operations
  requirements as well as recommendations for operating policies and
  procedures to be developed for each type of service you operate. This chapter
  is divided into the following major sections:

       x    Operating Permits and Authority Related to Commercial Vehicles
       x    Charter Service Restrictions
       x    School Bus Operations
       x    Other Operations Requirements
       x    Recommended Policies and Procedures by Service Component




OPERATING PERMITS AND AUTHORITY RELATED TO COMMERCIAL VEHICLES

LOTS which operate commercial motor vehicles may be subject to Federal and State
requirements for which other State and Federal agencies have oversight (i.e., other than
MTA or FTA). These include requirements related to driver qualifications (addressed in
Chapter 8), and employers are responsible to ensure their employees meet these
requirements.    Insurance requirements are addressed in Chapter 11.              Other
requirements apply to operating authority and vehicle inspections. The commercial
vehicle and commercial driver requirements are under the purview of the Federal Motor
Carrier Safety Administration (FMCSA), the Maryland Motor Carrier Division of the
Maryland State Highway Administration (SHA), the Maryland Public Service
Commission (PSC), and the Motor Vehicle Administration (MVA), and enforced by the
Maryland State Police, not the FTA or the MTA. Appendix I to this manual summarizes
many of these non-FTA/non-MTA requirements about which LOTS should be aware.

The content in this section attempts to provide the LOTS with helpful information
regarding these requirements to the extent that they apply to the LOTS. However, the
MTA is not responsible for ensuring LOTS compliance with these requirements, and this
content should not be presumed to be complete. The LOTS are responsible for
contacting the applicable governing agencies to clarify current requirements and for
ensuring their own compliance to those which apply to them.

Applicability

Local governments are not subject to most of these requirements, but private operators
of LOTS services may be.

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If your organization operates any of the following types of vehicles, that vehicle is
considered a commercial motor vehicle under Federal and State law:

    x    Designed or used to transport 16 or more passengers including the driver,
    x    Designed or used to transport nine to 15 passengers (including the driver) for
         compensation, or
    x    Has a gross vehicle weight rating or gross combination weight rating, or gross
         vehicle weight or gross combination weight, of 10,001 pounds or more,
         whichever is greater.

The full definition of commercial motor vehicle is found within 49 CFR part 390, §390.5.
The State of Maryland has adopted the U.S. DOT definition by reference in Code of
Maryland Administrative Regulations (COMAR) 11.21.01.04.

The extent to which certain FMCSA requirements (known as the Federal Motor Carrier
Safety Regulations or FMCSR) and Maryland Motor Carrier requirements apply may
vary, depending upon whether or not you are part of local government, whether or not
your vehicles cross State lines, and how the transportation services are funded.

Note that “for compensation” may vary depending upon how your transportation
services are funded (since even indirect compensation for transportation services by or
on behalf of a passenger may trigger applicability for some requirements). Examples of
direct compensation could include transportation fees paid by passengers to go on a
field trip, or Medicaid funding for Medicaid client trips.

For complete regulations and guidance, and to determine whether or not your
passenger vehicles are commercial motor vehicles, contact:

          If your Transportation Services
                                                                        If your Transportation Services
         Operate Entirely within the State of
                                                                               Cross State Lines
                     Maryland
     Maryland State Highway Administration
                                                                         Federal Motor Carrier Safety
            (SHA), Motor Carrier Division
                                                                           Administration (FMCSA)
           800-543-4564 or 410-582-5734
                                                                        800-832-5660 or 410-962-2889
    http://www.mdot.maryland.gov/newMDOT/
                                                                          http://www.fmcsa.dot.gov/
              Motor_Carrier/index.html

Additional resources are listed at the end of this chapter.

U.S. DOT Number for Interstate Operations (i.e., Crossing State Lines)

Note: Government agencies are not subject to this requirement, because they are
accepted under 49 CFR 390 §390.3(f)(2). However, the requirement does apply to
private operators under contract to governments.



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Under U.S. DOT / FMCSA regulations, motor carriers engaged in transporting goods or
passengers “for compensation” across State lines are required to obtain a U.S. DOT
Number (also referred to as Operating Authority) and are subject to certain vehicle
inspection requirements. Grant money may be sufficient to qualify FTA subrecipients as
“for compensation” carriers, whether or not farebox revenue is collected. LOTS that are
private organizations should contact the FMCSA if they are unsure if their transportation
services are considered “for compensation” for the purposes of complying with FMCSA
requirements.

Any small portion of a route that takes place in another State qualifies a service as
interstate, even if pick-up and drop-off points are in Maryland, although there are some
metropolitan commercial zone exceptions.

There are also specific insurance and safety requirements for interstate carriers
depending upon the size of vehicles operated, and there may be additional
requirements based on which State lines are crossed. Therefore, interstate operators
need to contact the regulatory agency in each State where service is provided.

Maryland DOT Number for Intrastate (i.e., within Maryland) Operation

Under Maryland law, private organizations that operate passenger transportation
services in Maryland must display on commercial vehicles either a U.S. DOT number or
a Maryland DOT motor carrier identification number obtained from the Maryland SHA’s
Motor Carrier Division. For this requirement, Maryland has adopted the FMCSR
definition of commercial vehicles.

For more information about this requirement, contact the SHA Motor Carrier Division
(contact information is found on page 9-2).

Public Service Commission (PSC) Permit or Operating Authority

Under COMAR Title 20: PSC, Subtitle 95: Transportation, intrastate operators of any
motor vehicle transporting passengers for hire must secure a permit from the PSC,
referred to as Operating Authority on the PSC application form. “For hire” is not defined
in the COMAR, but it is possible that some private operators of LOTS services may be
subject to PSC permit requirements if they operate on a regular schedule and fares are
charged, or if they operate as a charter/contract carrier.

In 2011, the LOTS that are units of local governments (State, county or municipal) were
exempted from the PSC permit requirement through the passage of SB 402, which
amended Article - Public Utilities in the Annotated Code of Maryland. Private
contractors operating public transportation services exclusively for the local unit of
government are also exempt from the PSC permit requirement. However, the private
contractor must get a PSC permit for any motor vehicle it does not use exclusively for
the local unit of government.




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Organizations which are required to register with the PSC are also subject to minimum
insurance requirements (depending on vehicle size) and annual PSC inspections.

For information about the PSC requirements, including whether or not your
transportation services would be considered “for hire,” contact the PSC Transportation
Division at 410-767-8000 or 800-492-0474 or visit the PSC website at
http://www.psc.state.md.us/transportation/.

Maryland Preventive Maintenance (PM) Program

Under COMAR Title 11: DOT, Subtitle 22: PM, certain commercial vehicles are subject
to the Maryland PM. This program requires that commercial vehicles be systematically
inspected, repaired, and maintained every 12 months or 25,000 miles, whichever occurs
first. This PM program also requires performing maintenance practices, keeping written
maintenance records and conducting maintenance inspections. (See Chapter 10)


CHARTER SERVICE RESTRICTIONS

As recipients of public transit funds, all LOTS sign a Charter Service Agreement. The
agreement is contained in the Certifications and Assurances that become part of your
Grant Agreement. In Charter Agreements, public transit grantees agree that the transit
system, and each subrecipient or third party contractors who use FTA-funded vehicles,
may provide charter services using equipment or facilities acquired with Federal transit
assistance only in compliance with FTA charter regulations, 49 CFR Part 604
(http://www.ecfr.gov/cgi-bin/text-idx?tpl=/ecfrbrowse/Title49/49cfr604_main_02.tpl   or
http://edocket.access.gpo.gov/2008/pdf/08-86.pdf). The purpose of the FTA Charter
Service rule is to protect private bus operators from unfair competition from transit
operators who have access to Federal and State funds for purchasing buses, and
Federal funds for their operation.

The FTA rules on charter bus service by public transit operators allow for clear
exemptions up front for some services, as well as some exceptions under particular
circumstances, as described below.

The FTAs charter service web page is https://www.transit.dot.gov/regulations-and-
guidance/access/charter-bus-service/charter-bus-service.

Important: If you choose to pursue a charter service provision within the confines of
Federal regulations, you must do the following in addition to the other procedures
outlined in this section:

    x    Notify the MTA in writing prior to entering into an agreement to provide charter
         service.
    x    Track and account for any revenue generated from charter bus activity within the
         confines of the non-fare revenue policy and form detailed in Chapter 3.
    x    Submitted charter service quarterly reports e to the MTA each quarter whether
         charter service is operated or not.

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9    OPERATIONS MANAGEMENT


What is Charter Service?

Charter service is defined in 49 CFR Part 604 as transportation provided by an FTA
recipient at the request of a third party for the exclusive use of a bus or van for a
negotiated price. The third party pays for the use of the vehicle, and it collects any fares
from the passengers. Charter service is not part of a transit provider’s regularly
scheduled services, or is offered for a limited time period. The third party determines
the origin and destination of the charter trip as well as the schedule.

Transportation provided by an FTA recipient to the public for events or functions that
occur on an irregular basis or for a limited duration is also considered a charter when a
premium fare is charged that is greater than the usual and customary fixed-route fare,
and/or the service is paid for in whole or in part by a third party.

Charter service does not include demand-response service to individuals.

Exemptions

The following types of service are exempt from the charter service rules:

    x    Transit systems transporting transit employees and government representatives
         within the service area for monitoring purposes.

    x    Emergency response and preparedness planning and operations.

    x    Recipients in non-urban areas transporting employees for training to destinations
         outside the service area.

    x    Public transit agencies receiving funds under Section 5311 (as well as Section
         5310) are exempt from the FTA charter rules for charter services that support
         “program purposes.” “Program purposes” are defined as “transportation that
         serves the needs of either human service agencies or targeted populations
         (elderly, individuals with disabilities, and/or low income individuals).” Program
         purposes do not include exclusive service for groups formed for purposes
         unrelated to the special needs of the targeted populations. If a Section 5311
         recipient wishes to provide charter service to a group or organization whose
         purpose is unrelated to the special needs of the three targeted groups, then the
         full FTA Charter Service rule applies, and the service is not exempt.

Services that fall under any of the above exemption categories are always exempt from
the Charter Service rule.

If a service is not exempt, it still might be allowable under one of the exceptions
described in the next section.




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Exceptions

In addition to the previously described exemptions, the FTA Charter Service rules allow
some charters to be operated under certain circumstances, referred to as exceptions.
These exceptions require certain procedures and documentation, as described below
for each type of exception:

    x    Government officials on government business,
    x    Qualified Human Service Organizations (QHSOs),
    x    Leasing FTA-funded equipment and drivers,
    x    When no registered charter provider responds to a notice from an FTA recipient,
    x    By agreement with all registered charter providers, and
    x    Upon FTA Administrator approval of a petition.

         Government Officials on Government Business

         A LOTS may provide up to 80 hours of charter service per year to government
         officials (Federal, State, and local) for official government business, which can
         include non-transit related purposes, if the service is within the LOTS own
         geographic service area and the LOTS does not generate revenue from the
         charter service, except as required by law.

         If more than 80 hours are requested: If a LOTS subrecipient wishes to provide
         more than 80 hours of charter service to government officials for government
         business in a year, they may petition the FTA Administrator through the MTA for
         permission to do this. The petition must contain:

         1. Date and description of the official government event and the number of
            charter service hours requested;
         2. Explanation of why registered charter providers in the geographic service
            area cannot perform the service (e.g., equipment, time constraints, or other
            extenuating circumstances), and
         3. Evidence that the LOTS has sent the request for additional hours to
            registered charter providers in its geographic service area. (See section titled
            “When No Registered Charter Provider Responds to Notice from an FTA
            Recipient” for notification requirements, on page 9-8.)

         The      petition   form     can     be    downloaded     from     this  page:
         https://www.transit.dot.gov/regulations-and-guidance/access/charter-bus-
         service/form-petition-administrator.   The completed petition form must be
         submitted to docket FTA-2007-0022 at http://www.regulations.gov through the
         MTA. The FTA Charter Service ombudsman can answer questions about the
         process by contacting ombudsman.charterservice@dot.gov.

         The FTA Administrator will review petitions that meet the requirements, seek
         additional information as necessary, and issue a written decision. If approved,
         the LOTS must retain a copy of the Administrator's approval for at least three


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         years and include it in their quarterly report posted on the charter registration
         website.

         Recordkeeping: The LOTS must maintain the following records for each charter
         trip provided to government officials for at least three years:

              x    Name, address, phone number, and email address of the government
                   organization
              x    Date and time of service
              x    Number of passengers (specifically noting the number of government
                   officials on the trip)
              x    Origin, destination, and trip length (miles and hours)
              x    Any fee collected
              x    Vehicle number for the vehicle used to provide the service
              x    A clear statement identifying that the charter service was provided under
                   the government officials on government business exception. (This can be
                   accomplished with a note to file.)

         Qualified Human Service Organizations (QHSOs)

         A LOTS may provide charter service to a QHSO for the purpose of serving
         individuals with

              x Mobility limitations related to advanced age (i.e., seniors),
              x Disabilities, or
              x Low income.

              A LOTS may only provide service to a QHSO under one of the following
              circumstances:

                       o The QHSO receives funds, directly or indirectly, from any of the 64
                         Federal programs listed in Appendix A of 49 CFR Part 604
                         (http://edocket.access.gpo.gov/2008/pdf/08-86.pdf),or

                       o The QHSO has registered on the FTA Charter Registration web site
                         (http://ftawebprod.fta.dot.gov/CharterRegistration/) at least 60 days
                         before the date of the first request for charter service (i.e., the
                         LOTS is not permitted to provide charter service to the QHSO until
                         at least 60 days have passed since the QHSO has registered on
                         the FTA site).

         Recordkeeping: The LOTS must maintain the following records for each charter
         trip provided to a QHSO for at least three years:

              x    Name, address, phone number, and email address of the QHSO
              x    Date and time of service
              x    Number of passengers

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              x    Origin, destination, and trip length (miles and hours)
              x    Any fee collected
              x    Vehicle number for the vehicle used to provide the service
              x    A clear statement identifying that the charter service was provided under
                   the QHSO exception. (This can be accomplished with a note to file.)

         Leasing FTA-funded Equipment and Drivers

         A LOTS may lease its FTA-funded equipment and drivers to registered charter
         providers for charter service only if the following four conditions exist:

         1. The private charter operator is registered on the FTA Charter Registration
            website (http://ftawebprod.fta.dot.gov/CharterRegistration/),
         2. The registered charter provider owns and operates buses or vans in a charter
            service business,
         3. The registered charter provider received a request for charter service that
            exceeds its available capacity (of either number of vehicles or number of
            accessible vehicles operated by the registered charter provider,; and
         4. The registered charter provider has exhausted all available vehicles of all
            registered charter providers in the recipient’s geographic service area (i.e.,
            the FTA subrecipient cannot lease out the vehicles if another registered
            charter provider could do so).

         Recordkeeping: The LOTS must maintain the following records for each
         instance of leasing FTA-funded vehicles or drivers to a registered charter
         provider for at least three years:

              x    Name, address, phone number, and email address of the registered
                   charter provider,
              x    Number of vehicles leased, types of vehicles leased, and vehicle
                   identification numbers,
              x    Documentation presented by the registered charter provider in support of
                   each of the above four conditions, and
              x    A clear statement identifying that the charter service was provided under
                   the vehicle/driver leasing exception. (This can be accomplished with a
                   note to the file.)

         When no registered charter provider responds to a notice from an FTA
         recipient

         If a LOTS receives a request to provide charter service that does not qualify for
         one of the preceding exemptions and exceptions, but the LOTS is still interested
         in providing the service, there is another possible exception. Under these
         circumstances, the LOTS could provide formal notice interest in providing the
         charter service, and if no registered private operator responds to the notice, the
         LOTS would be allowed to provide that service.



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         If the LOTS is not interested in providing the requested charter service, they can
         decline, and may wish to refer the requestor to the FTA Charter Registration web
         site (http://ftawebprod.fta.dot.gov/CharterRegistration/) to find a provider.

         Providing notice of interest in providing a requested charter service – To qualify
         for the preceding exception under the charter rule, the LOTS must go to the FTA
         Charter Registration website (http://ftawebprod.fta.dot.gov/CharterRegistration/),
         and identify the registered charter providers in the LOTS geographic service area
         that must be notified.

         The LOTS must then send an email to each of the identified firms providing:

              x    Customer name, address, phone number, and email address (if available),
              x    Requested date of service,
              x    Approximate number of passengers,
              x    Type of equipment requested,
              x    Trip itinerary and approximate duration, and
              x    The fare the LOTS intends to charge for the service.

         If the request for charter service was received by the LOTS by 2:00 p.m., the
         notice must be emailed to the registered charter providers by the close of
         business that day. If the request for charter service was received by the LOTS
         after 2:00 p.m., the notice must be emailed to the registered charter providers by
         the close of business the following day.

         If a LOTS receives an ‘‘undeliverable’’ notice in response to its email notice, the
         notice must be sent via fax with fax confirmation documentation.

         If no registered charter provider responds within the specified deadlines, the
         LOTS can provide the service. The response deadline is 72 hours for service to
         be provided within 30 days, or 14 calendar days for service to be provided more
         than 30 days in the future.

         If a registered charter operator responds, the LOTS cannot provide the service
         (even if the private operator does not ultimately provide the service).

         This notification process must be undertaken for each such request.

         Recordkeeping: The LOTS must maintain the following records for at least three
         years, for each charter trip provided in the event no registered charter provider
         responds to LOTS notice:

              x    Electronic copy of the e-mail notice and the list of registered charter
                   providers that were sent e-mail notices of the requested charter service
              x    Record of any undeliverable email notice and the fax sent confirmation
              x    Name, address, phone number, and email address of the group chartering
                   the trip

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              x    Date and time of service
              x    Number of passengers
              x    Origin, destination, and trip length (miles and hours)
              x    Any fee collected
              x    Vehicle number for the vehicle used to provide the service
              x    A clear statement identifying that the charter service was provided under
                   the “no registered charter provider responds to notice” exception. (This
                   can be accomplished with a note to the file.)

         By Agreement with All Registered Charter Providers

         A LOTS may provide charter service directly to a customer consistent with an
         agreement entered into with all registered charter providers in the recipient’s
         geographic service area.

         If a new charter provider registers in the geographic service area subsequent to
         the initial agreement, the LOTS may continue to provide charter service under
         the previous agreement with the other charter providers up to 90 days without an
         agreement with the newly registered charter provider.

         Any of the parties to such an agreement may cancel the agreement at any time
         after providing the LOTS a 90-day notice.

         Recordkeeping: The LOTS must maintain the following records for at least three
         years following any charter activity provided under this exception:

              x    Written agreements with all registered charter providers in their
                   geographic service area
              x    Name, address, phone number, and email address of the group chartering
                   the trip
              x    Date and time of service
              x    Number of passengers
              x    Origin, destination, and trip length (miles and hours)
              x    Any fee collected
              x    Vehicle number for the vehicle used to provide the service
              x    A clear statement identifying that the charter service was provided under
                   the “by agreement with all registered charter providers” exception. (This
                   can be accomplished with a note to the file.)

         Upon FTA Administrator Approval of a Petition

         A LOTS may petition the FTA Administrator, through the MTA, as described
         below, for an exception to the charter service regulations to provide charter
         service directly to a customer for:

              x    Events of regional or national significance – The petition must be
                   submitted to the FTA Administrator at least 90 days before the first day of

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                   the event which includes a description of how registered charter providers
                   were consulted, how registered charter providers will be utilized in
                   providing the charter service, and a certification that the recipient has
                   exhausted all of the registered charter providers in its geographic service
                   area.

                   See procedures for notifying registered charter providers described under
                   “When no registered charter provider responds to notice from an FTA
                   recipient.” On page 9-8.

              x    Hardship (only available in rural and small urban areas in cases where the
                   deadhead time of the registered charter provider exceeds total trip time
                   from pick-up to drop-off, including wait time) - The petition must describe
                   how the registered charter provider's minimum duration would create a
                   hardship on the group requesting the charter service.

              x    At the discretion of the FTA Administrator for unique and time sensitive
                   events that are in the public's interest (e.g., funerals of local, regional, or
                   national significance) - The petition must describe why the event is unique
                   or time sensitive and how providing the charter service would be in the
                   public's interest.

         Petition requirements: In addition to the requirements specific to each of the
         above types of petitions, the petition must include the following:

              x    Date and description of the event,
              x    Type of service requested and the type of equipment,
              x    Anticipated number of charter service hours needed for the event, and
              x    Anticipated number of vehicles and duration of the event.

         The petition form can be downloaded at: https://www.transit.dot.gov/regulations-
         and-guidance/access/charter-bus-service/form-petition-administrator.        The
         completed petition form must be submitted to docket FTA-2007-0022 at
         http://www.regulations.gov. The FTA Charter Service ombudsman can answer
         questions about the process by contacting ombudsman.charterservice@dot.gov.

         The FTA Administrator will review petitions that meet the requirements, seek
         additional information as necessary, and issue a written decision. If approved,
         the LOTS must retain a copy of the Administrator's approval for at least three
         years and include it in the recipient's quarterly report posted on the Charter
         registration website.

         Recordkeeping: The LOTS must maintain the following records for each charter
         trip provided under an FTA-approved petition for at least three years:

              x    Copy of the petition
              x    Copy of the Administrator's approval


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              x    Came, address, phone number, and email address of the group chartering
                   the trip
              x    Date and time of service
              x    Number of passengers
              x    Origin, destination, and trip length (miles and hours)
              x    Any fee collected
              x    Vehicle number for the vehicle used to provide the service
              x    A clear statement identifying that the charter service was provided under
                   the FTA administration petition exception. (This can be accomplished with
                   a note to the file.)

Reporting Requirements for All LOTS on Charter Service Exceptions

MTA requires all LOTS, whether they provide charter service under the exceptions
(i.e., outside the exemptions) rule or not, to provide a Quarterly Charter Report. All
LOTS providing any charter service under the exceptions rule must report all charter
service to the MTA by submitting the required report at their quarterly site visits. LOTS
that did not provide any charter services during the quarter must also submit the
quarterly report, but may do so by indicating their report of no charter service with a “0”
or “N/A.”

Complaints and Remedies

A private operator can file a complaint against a public transit operator (LOTS) for failing
to follow these regulations. The FTA/MTA has 110 days to investigate the complaint.
There is a formal complaint procedure, detailed in 49 CFR Part 604
(http://edocket.access.gpo.gov/2008/pdf/08-86.pdf). If the FTA finds a violation, it may
determine a remedy that could include withholding of funds, barring a subrecipient from
receiving future funds, or suspension/debarment. A matrix of dollar penalties per
violation, ranging from $499 to $25,000, was published as Appendix D
(http://edocket.access.gpo.gov/2008/pdf/E8-18444.pdf) to 49 CFR Part 604.

Additional Resources Related to Charter Services

The FTA has posted charter bus rule resources on its website at
https://www.transit.dot.gov/regulations-and-guidance/access/charter-bus-
service/charter-bus-service-resources. The LOTS are encouraged to read Appendix C
to 49 CFR Part 604 (http://edocket.access.gpo.gov/2008/pdf/08-86.pdf), “Charter
Service Questions and Answers.”

SCHOOL BUS OPERATIONS

As recipients of public transit funds, all LOTS sign a School Transportation Agreement.
As with the Charter Agreement, the School Transportation Agreement is contained in
the Certifications and Assurances that become part of your Grant Agreement, and the
purpose is to protect private bus operators from unfair competition from transit operators



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who have access to Federal and State funds for purchasing buses and operating transit
services.

The current FTA school bus regulations, 49 CFR Part 605, were issued in 2005
(http://www.gpo.gov/fdsys/pkg/CFR-2010-title49-vol7/pdf/CFR-2010-title49-vol7-
part605.pdf). The FTA also issued a policy statement regarding “tripper service” in
2008 (https://www.transit.dot.gov/regulations-guidance/rulemaking/E8-21601).

FTA subgrantees are prohibited from providing exclusive school bus service unless it
qualifies under specified exceptions.

One permissible use of public transportation vehicles for school bus service involves
“tripper service” – defined as regularly scheduled public transportation service that is
open to the public and designed or modified to meet the travel needs of school students
and personnel using various fare collection or subsidy systems. Buses used for tripper
service must be marked as open to the general public; signage or any other indication
that the bus may not be open to the general public is prohibited. Additionally, all stops
made on tripper service must be accessible to the public and be clearly marked as
public stops (except in the case of traditionally unmarked flag stops).

School students may be transported to school and related activities on ADA paratransit
or other demand-response service as long as the student qualifies for the service and
the service does not exclude the general public. Such service would be comparable to
allowable "tripper service" using the fixed-route system.

An FTA grantee in an urban area may provide transportation that is exclusive to
students and school personnel if private school bus operators in the urban area are
unable to provide adequate transportation at a reasonable rate, and in conformance
with applicable safety standards. However, buses, facilities, or equipment purchased
with FTA assistance cannot be used to provide this service; a grantee may use only
buses, facilities, and equipment that have been purchased exclusively with non-FTA
funds to transport students and school personnel to and from school or school-
sponsored activities.

However, in no case, can Federally-funded equipment or facilities be used for exclusive
school service. This includes transportation to or from any before- or after-school
activities, field trips, or other school-sponsored activities. However, an FTA grantee
may use buses, facilities, and equipment for the transportation of school students,
personnel and equipment for incidental charter bus operations, if one or more of the
charter bus service exceptions apply.

The FTA considers Head Start to be a social service program rather than a school
program.

Public transit agencies are not prohibited from using privately-owned school buses to
supplement the regular public transportation fleet. The FTA has stated that working
with private school bus operators to provide supplemental public transportation service


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can help communities make more efficient use of their resources, while increasing
mobility for community residents.


OTHER OPERATIONS REQUIREMENTS

Additional operating requirements and recommendations are found in other chapters of
this manual, including:

    x    Chapter 5 addresses fare collection and cash handling procedures.
    x    Chapter 8 addresses CDL requirements.
    x    Chapter 11 addresses operational safety and security.
    x    Chapter 12 addresses ADA service requirements.


RECOMMENDED POLICIES AND PROCEDURES BY SERVICE COMPONENT

Types of Services

The LOTS systems in Maryland operate a variety of service types, including:

    x    Fixed-Route Services – Operate along a prescribed path on a fixed schedule,
         serving pre-established stops.

    x    Demand-Response Services – Designed, within limits, around the travel needs of
         individual customers. “Subscription” services which are provided on a “standing
         order” basis are included in this category.

    x    Route-Deviation Service – This hybrid service provides demand-response type of
         service along a route that operates on a general fixed schedule, serving a limited
         number of pre-established stops, with flexibility to deviate off the regular route to
         pick up and discharge customers within a limited corridor.

    x    User-Side Subsidy or Taxicab Voucher Programs – Provide customers with
         subsidized vouchers that can be used to purchase regular taxi service from
         participating taxi companies. A number of jurisdictions operate this type of
         program for their SSTAP service.

    x    Special Services or Group Trips –Provide incidental trips for groups (usually
         seniors or individuals with disabilities), typically for recreational or shopping
         purposes. The LOTS operators must ensure that they are not providing service
         that the FTA would consider charter service.

Recommended items to include in LOTS operating policies are listed in the following
sections for each of the above types of services. Recommended policies and
procedures specifically related to ADA and accessibility are also provided in Chapter 12.



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Fixed-Route Services

The LOTS should establish written policies and procedures for the following fixed-route
service functions:

    x    Dispatching
         o Communications procedures (radio, cell phone, land line, fax, mobile data
            terminal, and/or other technologies)
         o Radio codes
         o Schedule of operations procedures (how and when fixed-routes operate)
         o Trip manifest (how and when drivers operate fixed-routes) and distribution
            procedures
         o Frequency with which drivers check in with dispatcher
         o Policies for adjusting service when drivers get substantially behind schedule
         o Recordkeeping procedures
         o Relationships between dispatcher, supervisor, and drivers
         o Days and hours of dispatch coverage
         o After-hours on-call coverage

    x    Driver Responsibilities
         o Checking in before starting service
         o Pre-trip inspections
         o Reporting delays
         o Types of passenger assistance that may and may not be provided
         o ADA-mandated interior announcements of key stops and transfer points en-
            route
         o ADA-mandated exterior announcements of routes at stops shared by multiple
            routes
         o ADA-mandated use of vehicle lifts/ramps
         o ADA-mandated priority seating
         o ADA-mandated accommodation of wheelchairs and their securement
         o transporting customers with behavioral issues
         o transporting customers with service animals
         o Transporting customers with portable oxygen
         o Communications with the dispatcher and other drivers
         o When, where, and for how long breaks are permitted
         o Layover locations when running ahead of schedule
         o Vehicle securement procedures during breaks
         o Fare collection and passenger counting procedures
         o Recordkeeping procedures
         o End-of-day routing
         o End-of-day vehicle fueling, inspection, cleanup, and check-out
         o Requesting or performing vehicle maintenance
         o Procedures for vehicle breakdowns
         o Accident/incident procedures
         o Emergency/security procedures

    x    Passenger Relations Policies

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         o On-board behavior
         o Fare payment procedures
         o ID needed for special fares (e.g., seniors, individuals with disabilities,
           Medicare cardholders, veterans, students, children, and agency-reimbursed)
         o Requesting use of lift/ramp and “kneeler”
         o Wheelchair securement
         o Priority seating for seniors and individuals with disabilities
         o Use of bicycle rack
         o Minimum age of unaccompanied children
         o Handling customer complaints/compliments
         o Traveling with service animals
         o Traveling with portable oxygen

    x    Operations Supervision
         o On-board evaluations
         o Field supervision
         o Retraining

    x    Ticket and Pass Sales
         o Mail order fulfillment
         o Walk-in purchases (including cash handling and receipts)
         o Electronic fare card value loading and usage

Demand-Response Services

The LOTS should establish written policies and procedures for the following demand-
response service functions. If a LOTS system provides ADA complementary paratransit
services in addition to another kind of demand-response service (such as SSTAP or
rural general public), the policies for these services are likely to be different, as ADA
complementary paratransit is required to have specific service characteristics (see
Chapter 12).

    x    Eligibility Determination
         o Age, disability, income and/or other criteria
         o Required documentation
         o Passenger data storage and confidentiality
         o Frequency of periodic eligibility renewal
         o Who attests to the applicant’s qualifications (for example, a doctor or other
             medical professional, or caseworker)
         o Who makes the eligibility determination (staff member or third party)

    x    Ticket Sales
         o Mail order fulfillment
         o Walk-in purchases (including cash handling and receipts)
         o Electronic fare card value loading and usage

    x    Reservations/Scheduling
         o Days and hours when requests will be accepted
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         o    Days and hours that service will be provided
         o    Maximum acceptable ride length
         o    Geographic area limitations
         o    Procedures for accepting reservations via answering machine
         o    Minimum and maximum advance reservation time
         o    Maximum acceptable phone hold time
         o    Standing order or subscription service limits
         o    Whether LOTS staff will call customers to confirm pick-up times the day
              before the service (call back procedures)
         o    Whether trip requests received after the advance reservation deadline will be
              accepted on a space-available basis
         o    Scheduled pick-up window (including how far in advance passengers should
              be ready for pickup)
         o    Holiday scheduling procedures
         o    Wait time limits and charges
         o    Whether return trips should be prescheduled or provided on a will-call basis
         o    Recordkeeping procedures

    x    Dispatching
         o Communications procedures (radio, cell phone, land line, fax, mobile data
            terminal and/or other technologies)
         o Radio codes
         o Trip manifests (how and when drivers will provide trips during the day) and
            distribution procedures
         o Definition of on-time performance
         o Frequency with which drivers check in with dispatcher
         o Same-day service request procedures (if accepted)
         o Cancellation procedures
         o Policies for prioritizing trips and adjusting schedules when drivers get
            substantially behind schedule
         o Recordkeeping procedures
         o Relationships between dispatcher, supervisor, and drivers
         o Days and hours of dispatch coverage
         o After-hours on-call coverage

    x    Driver Responsibilities
         o Checking in before starting service
         o Pre-trip inspections
         o Pick-up arrival time standards
         o Whether or not service is curb-to-curb or door-to-door (LOTS are strongly
            discouraged from providing door-through-door service due to the risks
            involved) and making reasonable accommodations
         o Types of passenger assistance that may and may not be provided
         o transporting customers with behavioral issues
         o Communications with the dispatcher and other drivers
         o When, where, and for how long breaks are permitted
         o Cash and/or ticket handling procedures
         o No-shows (determine, notice left for customer, documentation)

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         o    Recordkeeping procedures
         o    End-of-day vehicle fueling, inspection, cleanup, and check-out
         o    Requesting or performing vehicle maintenance
         o    Breakdowns
         o    Handling passenger illnesses
         o    Use of vehicle lift/ramp
         o    Accommodating and securing wheelchairs
         o    Transporting customers with service animals
         o    Transporting customers with portable oxygen
         o    Accident/incidents
         o    Emergency/security procedures

    x    Passenger Relations Policies
         o Confidentiality
         o On-board behavior
         o Fare payment or ticket provision at the time of boarding
         o No-shows (definition and repercussions for repeated no-shows)
         o Escorts (ADA-eligible and others)
         o Pick-up readiness responsibilities (when and where)
         o Wait time limits and charges
         o Use of lift for wheelchairs, scooters, and walkers
         o Wheelchair securement
         o Child safety seat policy
         o Handling customer complaints/compliments
         o Service animal policies

    x    Operations Supervision
         o On-board evaluations
         o Field supervision
         o Retraining

    x    Provision of Special Services
         o Out-of-county medical transportation
         o Transportation for nursing home residents
         o Agency billing

Route-Deviation Service

As described in Chapter 12, route-deviation service, also referred to as deviated fixed-
route or flex-route service, is a hybrid of fixed-route and demand-response service.

If your organization operates route-deviation service, this service should have its own
set of policies and procedures that includes elements of both of the service types
detailed above.

Route-deviation services should have policies and procedures addressing the following
issues:


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    x    Geographic limits of deviations (for example, three-quarters of a mile from the
         regular route)

    x    Days and hours of service that deviations are available

    x    Fixed stops and time points

    x    Determining deviation routing

    x    Procedure for requesting a deviation

    x    Additional fares charged (if any) per deviation

    x    Limits (if any) to the number of deviations that may be made per complete route

    x    Eligibility restrictions for route-deviation. As discussed in Chapter 12, if the deviated
         service is not available to all members of the general public (e.g., deviations are
         limited only to seniors and individuals with disabilities), the FTA regards the service
         as fixed-route and the LOTS is obligated to provide ADA complementary paratransit
         services.

    x    If the route-deviation service is designed to meet a LOTS agency’s ADA paratransit
         requirements, demonstrate how the route-deviation service addresses each of the
         ADA paratransit service characteristic requirements, as detailed in Chapter 12. This
         description should illustrate how the route-deviation service provides comparable
         service to the fixed-route service it is designed to complement in terms of:

         o    Service area
         o    Response time
         o    Fares
         o    Trip purpose restrictions
         o    Hours and days of service
         o    Capacity constraints

User-Side Subsidy or Taxicab Voucher Programs

The LOTS that operate a user-side subsidy or taxi voucher program should have written
policies and procedures on the following service functions:

    x    Eligibility Determination
         o Age, disability, income and other criteria
         o Required documentation
         o Sliding scale criteria
         o Passenger data to keep on file
         o Frequency of periodic eligibility renewal

    x    Ticket or Voucher Sales
         o Mail order fulfillment
         o Walk-in purchases (including cash handling)

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9    OPERATIONS MANAGEMENT


         o Satellite sales including cash handling (for example, at senior centers)
         o Monthly or annual per-customer limits

    x    Reimbursing Taxi Companies
         o Invoicing procedures
         o Reporting requirements
         o Supporting documentation

    x    Passenger Relations Policies
         o Taxi tipping expectations
         o Identification needed to use vouchers
         o Handling customer complaints

    x    Planning
         o Encouraging and selecting taxi companies to participate in the program
         o Ensuring that service for individuals with disabilities is comparable to the service
            provided other eligible individuals in terms of:
            - Service area
            - Response time
            - Fares
            - Trip purpose restrictions
            - Hours and days of service
            - Capacity constraints

Group Trips

Important: The LOTS that operate group trips (or other special services that could be
construed as charter service) must ensure that they are not operating charter services using
Federally-funded vehicles or facilities unless the LOTS has obtained a special exemption
from the FTA. More information about the charter protection regulations is found earlier in
this chapter.

Important: Any revenues generated through the provision of charter or other special group
trips must be handled as non-fare revenue. Requirements for accounting for non-fare
revenue are specified in Chapter 3.

For allowable group trips and other special services, the LOTS should establish written
policies and procedures for the following:

    x    Limitations on service availability
    x    Advanced reservation requirements
    x    Contract rates
    x    Allowing general public riders
    x    Fare collection procedures (see above regarding non-fare revenue)
    x    Recordkeeping
    x    Dispatching requirements
    x    Publicizing service
    x    Billing procedures


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9    OPERATIONS MANAGEMENT


ADDITIONAL RESOURCES

Motor Carrier Regulations for Commercial Vehicles


              If your Transportation Services
                                                                            If your Transportation Services
           Operate Entirely within the State of
                                                                                   Cross State Lines
                         Maryland
        Maryland State Highway Administration                               Federal Motor Carrier Safety
               (SHA), Motor Carrier Division                                  Administration (FMCSA)
              800-543-4564 or 410-582-5734                                 800-832-5660 or 410-962-2889
       http://www.mdot.maryland.gov/newMDOT/                                 http://www.fmcsa.dot.gov/
                  Motor_Carrier/index.html


    Federal

         x    Federal Motor Carrier Safety Administration (FMCSA) -- www.fmcsa.dot.gov

         x    49 CFR Parts 300-399 - https://www.fmcsa.dot.gov/regulations/title49/b/5/3

         x    CTAA webpage on FMCSA requirements as they pertain to rural public transit
              and community transportation operators –
              http://web1.ctaa.org/webmodules/webarticles/anmviewer.asp?a=344

         x    CTAA “Figuring Out the Federal Motor Carrier Safety Administration (FMCSA)
              Regulations: Do They Apply and What to Do if the Answer Is “Yes” -
              http://web1.ctaa.org/webmodules/webarticles/articlefiles/Texas_FMCSA_issu
              es.pdf

         x    NCHRP Research Results Digest 311: FMCSA Regulations as They Apply to
              FTA Section 5310/5311 Providers: A Handbook (2006) -
              http://www.trb.org/Publications/Blurbs/158558.aspx

         x    FMCSA Small Passenger-Carrying Vehicles web page -
              https://www.fmcsa.dot.gov/registration/small-passenger-carrying-vehicles

         x    FMCSA “Overview of Federal Requirements Interstate 9 to 15 Passenger
              Vehicles” brochure -
              https://www.fmcsa.dot.gov/sites/fmcsa.dot.gov/files/docs/9-15-
              Passenger_Vehicle_Brochure_508.pdf

         x    FMCSA “Licensing and Insurance Requirements for For-Hire Motor Carriers
              of Passengers” brochure -
              https://www.fmcsa.dot.gov/sites/fmcsa.dot.gov/files/docs/365-387-LI-Req-
              PCS-eng.pdf



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    State

         x    Maryland Motor Carrier Program-
              http://www.mdot.maryland.gov/newMDOT/Motor_Carrier/index.html

         x    Maryland Motor Carrier Handbook –
              http://www.sha.maryland.gov/OOTS/motorcarrierhandbook.pdf

         x    Maryland Public Service Commission, Transportation Division -
              http://www.psc.state.md.us/transportation/, 410-767-8000 or 800-492-0474

         x    Maryland Preventive Maintenance Program -
              http://www.mdot.maryland.gov/newMDOT/Motor_Carrier/PM_Program.html

         x    Maryland PM Handbook - Order from the Division of State Documents for a
              nominal fee - Order form:
              http://www.dsd.state.md.us/PDF/InfoSheet.pdf,(410- 974-2486 or 800-633-
              9657 (toll-free within Maryland only)

         x    Maryland PM Inspection Form for Passenger Buses -
              http://www.mdot.maryland.gov/Office%20of%20Maryland%20Motor%20Carri
              er%20Program/Documents/Passenger%20Bus%20Preventive%20Maintenan
              ce%20Report.pdf

         x    COMAR Title 11 - Department of Transportation, Subtitle 21 Motor Vehicle
              Administration - Commercial Motor Vehicles -
              http://www.dsd.state.md.us/COMAR/subtitle_chapters/11_Chapters.aspx

         x    COMAR Title 11 - Department of Transportation, Subtitle 22 Motor Vehicle
              Administration—Preventive Maintenance Program, 11.22.03 Preventive
              Maintenance Standards for Multipurpose Passenger Vehicles and Passenger
              Buses -
              http://www.dsd.state.md.us/COMAR/subtitle_chapters/11_Chapters.aspx

         x    COMAR Title 20 - Public Service Commission, Subtitle 95 Transportation,
              20.95.01 General -
              http://www.dsd.state.md.us/COMAR/SubtitleSearch.aspx?search=20.95.01.*


Charter Service Restrictions

    x    49 CFR Part 604 - http://edocket.access.gpo.gov/2008/pdf/08-86.pdf

    x    Appendix A of 49 CFR Part 604: Federal human service funding programs -
         http://edocket.access.gpo.gov/2008/pdf/08-86.pdf


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    x    Appendix C to 49 CFR Part 604: Charter Service Questions and Answers -
         http://edocket.access.gpo.gov/2008/pdf/08-86.pdf

    x    FTA charter service web page - https://www.transit.dot.gov/regulations-and-
         guidance/access/charter-bus-service/charter-bus-service

    x    FTA charter registration web site -
         http://ftawebprod.fta.dot.gov/CharterRegistration/


School Bus Operations

    x    49 CFR Part 605 - http://www.gpo.gov/fdsys/pkg/CFR-2010-title49-vol7/pdf/CFR-
         2010-title49-vol7-part605.pdf

    x    FTA policy statement regarding “tripper service” -
         https://www.transit.dot.gov/regulations-guidance/rulemaking/E8-21601


Examples of Rural and Small Urban Transit Operating Policies and Procedures

Disclaimer: the following examples do not necessarily reflect current FTA or MTA
requirements or recommendations.

    x    Central Community Transit Operations and Service Policies, MN -
         http://www.cctbus.org/pdfs/CCT%20Operations%20Policies%202014%20112414
         .pdf

    x    Cheyenne River Sioux Tribe Transit / River Cities Public Transit, SD -
         http://www.rcptransit.com/downloads/PandPManualCRST.pdf

    x    Citrus County, FL Transit Standard Operating Procedures -
         http://www.citruscountytransit.com/tdcb/sop.pdf

    x    TransIT-plus Policies and Procedures, Frederick, MD -
         https://frederickcountymd.gov/DocumentCenter/View/271710

    x    A wide array of transit policy examples are available on the Small Urban and
         Rural Transit Center website - http://www.surtc.org/resources/transit_policies.php




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                             CHAPTER 9: SUMMARY CHECKLIST
   Private entities must obtain a U.S. DOT Number (if operating outside of Maryland) or
    a MD DOT number (if operating in-state only).
   Private entities may be required to obtain and update a PSC permit unless granted
    an exemption by Maryland’s General Assembly.
   Comply with FTA Charter Service Restrictions. Petition the FTA Administrator for
    proposed exceptions as appropriate. Submit quarterly reports of exception charters.
   Comply with FTA School Bus regulations.
   Ensure that operations requirements (as stated in other chapters of this manual) are
    met.
   Develop operating policies and procedures for each type of service your system
    operates (demand-response, fixed-route, group trips, etc.)
   Within operating policies and procedures, address the roles of each individual
    involved (including driver, dispatcher, supervisor, and passenger).




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10                 VEHICLE MANAGEMENT AND MAINTENANCE


  This chapter summarizes requirements and recommendations for vehicle fleet
  management and maintenance, including:

        x    Vehicle and Equipment Inventory Records
        x    Maryland Public Service Commission Requirements
        x    Maryland Preventive Maintenance (PM) Program
        x    Motor Carrier Vehicle Requirements
        x    Outsourcing Maintenance and Repairs
        x    Elements of an Effective Maintenance Program
        x    Vehicle Useful Life and Replacement Standards
        x    Property and Equipment Disposition



LOTS grantees must adequately maintain all equipment and facilities purchased with
Federal and State funds. Vehicles must be maintained in good working order. Each
LOTS system must have a documented maintenance policy and plan with goals and
objectives, submit a preventive maintenance (PM) program to the MTA with the ATP,
and implement the planned program.


VEHICLE AND EQUIPMENT INVENTORY RECORDS

FTA defines equipment as all tangible, nonexpendable, personal property that has a
service-life of more than one year and an acquisition cost that exceeds $5,000 per unit.
LOTS agencies are required to maintain the following records on all MTA-funded
vehicles and other equipment with a unit cost of $1,000 or more, as well as desktop or
laptop computers.

    x       Description of the equipment,
    x       Serial number or vehicle identification number,
    x       Entity that holds title to the asset,
    x       Acquisition date,
    x       Cost of the equipment,
    x       Source of funding,
    x       Percentage of Federal/State participation in the cost of the equipment,
    x       MTA grant or project number under which it was procured,
    x       FTA grant agreement number under which it was procured,
    x       Location, use, and condition of the equipment,
    x       Useful life, and
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10       VEHICLE MANAGEMENT AND MAINTENANCE


     x    Any disposition date, including the date of disposal and sale price of the
          equipment.

The FTA requires that a physical inventory of equipment must be taken and the results
reconciled with the property records at least once every two years. To ensure that
these conditions are met, MTA requires that a Fixed Assets Inventory (Form 6a of the
ATP), Vehicle Inventory (Form 6), and Vehicle Utilization (Form 7), for equipment
purchased in whole or in part with the MTA and FTA funds, be submitted to the MTA
annually as part of the ATP.

Under FTA’s recently established Transit Asset Management requirements (described
in Chapter 2), the FTA also requires condition assessment of all service vehicle
equipment and other equipment valued at $50,000 or more.


In addition, all FTA/MTA-funded equipment must be tagged or otherwise identified as
government property, and a control system must be developed to ensure adequate
safeguards to prevent loss, damage, or theft of project property. Any loss, damage, or
theft must be investigated and documented by the LOTS.


MARYLAND PUBLIC SERVICE COMMISSION (PSC) REQUIREMENTS

Historically, under COMAR Title 20: PSC, Subtitle 95, most LOTS in Maryland were
subject to certain requirements of the Maryland PSC, including obtaining a motor carrier
permit for all passenger motor vehicles used in the “transportation of persons for hire.”

In May 2011, the State Legislature signed into law, a bill to exempt those vehicles
operated by “a local public transportation system established under a law enacted by
the local governing body of a county or municipal corporation” as well as any “motor
vehicle used by a privately owned transportation company exclusively to provide
transportation system services under a contract with the governing body of a county or
municipal corporation or with a unit of State government.” However, privately-owned
vehicles that are not used exclusively under contract to a government agency (such as
vehicles used for dedicated human service transportation or charter service when not in
transit operations) may still be subject to the PSC’s motor carrier permit requirements.

For more information about PSC requirements for passenger carriers, contact the PSC
Transportation Division at (410) 767-8000 or (800) 492-0474 or visit the PSC website at
http://www.psc.state.md.us/transportation/.


MARYLAND PREVENTIVE MAINTENANCE (PM) PROGRAM

Under COMAR Title 11: DOT, Subtitle 22: PM, certain commercial vehicles are subject
to the Maryland PM Program. This program requires that commercial vehicles be
systematically inspected, repaired, and maintained every 12 months or 25,000 miles,
whichever occurs first. This requirement applies to:

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10       VEHICLE MANAGEMENT AND MAINTENANCE


     x    Vehicles with a seating capacity for 16 or more passengers including the driver
          (as well as other types of commercial vehicles), and

     x    Any bus designed and used to carry more than ten people owned by the State of
          Maryland or any political subdivision, excluding those subject to school bus
          regulations.

The vehicle owner can perform the inspection, or may have someone else do the
inspection. Meeting the requirements of the law is the responsibility of the vehicle
owner (the LOTS or its operations contractor).

The PM program includes documentation requirements, including carrying on the
vehicle at all times, a MDOT-approved inspection form documenting the most recent
inspection or certification that the vehicle is maintained under a PM plan established by
the MDOT.

The laws and regulations covering the PM Program, as well as the required forms, are
in the Maryland PM Handbook, which can be purchased from the Maryland Division of
State Documents for a nominal fee (410) 974-2486 or (800) 633-9657 (toll-free within
Maryland only).        The Division’s printable order form is online at
http://www.dsd.state.md.us/PDF/InfoSheet.pdf.

For more information about this requirement, contact the SHA Motor Carrier Division or
visit http://www.mdot.maryland.gov/newMDOT/Motor_Carrier/PM_Program.html. LOTS
that need to meet Maryland PM Program requirements should include this element in
their Federally-required maintenance program explained later in this chapter.


MOTOR CARRIER VEHICLE REQUIREMENTS

LOTS that are not units of local government are subject to licensing/permitting
requirements under either the Maryland Motor Carrier Program of the State Highway
Administration or the FMCSA. As noted in Chapter 9, passenger carriers are required
to obtain operating authority under either the MDOT (if operating only within the State)
or U.S. DOT (if crossing State lines), register vehicles under either the Maryland Motor
Carrier Program (intrastate) or the FMCSA (interstate), and label each vehicle with the
MDOT or U.S. DOT number.

Vehicles owned by the State or local government are exempt from this requirement.

All vehicles labeled with the MDOT or U.S. DOT number must meet Maryland Motor
Carrier Program or FMCSA PM requirements. Also, all such vehicles with a gross
vehicle weight or gross vehicle weight rating of greater than 10,000 pounds must stop at
open weigh stations.

Vehicles operating across State lines are also subject to additional insurance
requirements, described in Chapter 11.


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10     VEHICLE MANAGEMENT AND MAINTENANCE


Appendix I provides a summary of many of the non-FTA/non-MTA requirements of
which the LOTS should be aware.

For more information on these requirements, refer to Chapter 9 or contact:

             If Your Transportation Services
                                                                           If Your Transportation Services
            Operate Entirely within the State of
                                                                                  Cross State Lines
                        Maryland
        Maryland State Highway Administration
                                                                            Federal Motor Carrier Safety
               (SHA), Motor Carrier Division
                                                                              Administration (FMCSA)
            1-800-543-4564 or 410-582-5734
                                                                          1-800-832-5660 or 410-962-2889
       http://www.mdot.maryland.gov/newMDOT/
                                                                             http://www.fmcsa.dot.gov/
                 Motor_Carrier/index.html


OUTSOURCING MAINTENANCE AND REPAIRS

If the LOTS contracts for maintenance services, you must monitor the contractor to
ensure compliance with FTA/MTA requirements. You must record all work and assess
costs to ensure cost effectiveness.

Outsourced maintenance must also comply with procurement and purchasing
requirements as described in Chapter 4 (Procurement and Contracting), with the
appropriate methodology followed to select the vendor(s) depending on the dollar
amounts involved.

If you are part of city or county government, and the city/county contracts out
maintenance of all of its vehicles (fire department, police, etc.), the overall city/county
contract must include required FTA clauses (described in Chapter 4). This standard
applies if the vehicle was purchased with grant funds and/or if you are using grant funds
to pay for the maintenance service (either capital or operating funds).


ELEMENTS OF AN EFFECTIVE MAINTENANCE PROGRAM

Any LOTS that operates Federal- and State-funded vehicles must perform vehicle
maintenance involving two major components: PM and the repair function, both of
which must be monitored and evaluated to meet Federal and State requirements.
These components may be provided in-house by the LOTS agency, the local
government motor pool or fleet maintenance office, or outsourced to a private
contractor. Regardless of who performs the maintenance services, all LOTS must have
a written maintenance plan that meets Federal and State requirements and are
responsible for monitoring and managing the maintenance plan with the providing
maintenance agency or firm. The LOTS written maintenance plan must be submitted to
the MTA with their ATP and updated when any changes occur to the plan (such as
acquiring new vehicles, disposing of old ones, changes in the maintenance provider or

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10     VEHICLE MANAGEMENT AND MAINTENANCE


staff,). All LOTS maintenance programs must be signed by an authorized agent of the
LOTS, and must track changes and updates that the LOTS makes to the maintenance
program. Requirements for providing a maintenance program are described below.

Goals and Objectives

LOTS maintenance programs must have enumerated goals and objectives that can
be measured and monitored. Examples of goals and objectives include performance
measures such as: vehicle life, frequency of road calls, maintenance costs compared to
system total costs, costs per vehicle, and major component failures. The maintenance
program should establish the means that the LOTS will utilize to achieve the goals and
objectives.

Preventive Maintenance

All LOTS grantees must establish a PM program that provides thorough, periodic
inspections at intervals that meet or exceed the manufacturer’s minimum standards for
each vehicle type and/or model given the terrain and operating conditions experienced
by your service. A mileage-based or time-based series of intervals for servicing that is
strictly followed is the approach recommended by the MTA. Inspection and servicing of
ADA-mandated accessibility equipment (including wheelchair lifts and ramps,
securement equipment, and public announcement systems) must be part of your PM
program.

At a minimum, the LOTS are required to adhere to the frequencies and schedule
identified in their plan. MTA will monitor and measure adherence to this schedule.
Current MTA standards allow for a ten percent deviation from the schedule (i.e., if the
interval for an oil change is every 3,000 miles, the actual interval for which the oil
change would be considered “on time” is 2,700 to 3,300 miles), and at least 80 percent
of scheduled services need to be within the ten percent window (i.e., eight out of ten oil
changes need to be conducted at intervals of 2,700 to 3,300 miles). Grantees are
subject to random and quarterly maintenance record checks and must have accessible
and well maintained files available at all times.

PM expenses are eligible for reimbursement as a capital expense under the Section
5307 and 5311 programs. LOTS receiving these grants may find this advantageous as
capital funding under these programs requires a smaller local match than operating
funding. (As described in Chapter 3, if the capital grant is $100,000 or more, a force
account plan may be required.)

Repairs

When repairs are needed, a repair order (or work order) must be used to record and
track all repair work and be included in your recordkeeping (described under
“Management Information System”) for the vehicle. If you contract out repair work, it is
critical that your contractor be responsive to your scheduling needs to ensure that you
have enough vehicles to continue normal operations. Warranty work should be handled
by an authorized representative of the manufacturer.

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10     VEHICLE MANAGEMENT AND MAINTENANCE


Management Information System

Each LOTS should establish and describe a process for recording the performance of
individual vehicles and a method for analyzing overall maintenance performance and
costs. Such a process, usually called a Management Information System (MIS), tracks
maintenance information, including PMs, repairs, costs by vehicle, fuel use and
efficiency by vehicle, road calls, parts/labor cost breakouts, and per-mile cost. MIS
systems can be elaborate electronic software or simple written procedures explaining
how well the maintenance staff and senior management are informed and kept abreast
of PM and the upkeep of all Federal assets. The reporting system should also describe
maintenance reports utilized and explain how they are reviewed and acted upon by
senior management and staff. Maintenance forms and checklists utilized in the
maintenance program must be regularly updated to be consistent with the LOTS current
rolling stock and/or equipment inventory and the manufacturers’ maintenance and PM
requirements for that rolling stock and/or equipment. The LOTS will be required to
submit updated rolling stock and equipment inventories annually.

Driver Pre-Trip and Post-Trip Inspections

Daily inspection of vehicles by drivers prior to putting vehicles into service (pre-trip) is
an important element of PM. Inspections at the end of the service day (post-trip) are
also recommended. Drivers should be trained in how to conduct these inspections and
be required to complete inspection forms appropriate for their vehicle. If the vehicle is
equipped with a wheelchair lift, the pre-trip inspection must include cycling of the lift.

Any deficiencies noted during the inspection should be reported. The pre-trip inspection
is the first step in the repair process. If a driver finds a significant deficiency during the
inspection (such as a headlight or brake light out), the deficiency must be repaired
before the vehicle is placed back into service.

Vehicle Warranty Requirements

The LOTS must provide a warranty system in their maintenance program to account for
any vehicles or equipment under warranty. The LOTS must have a system and process
in place to be able to identify warranty claims, record warranty claims, and enforce
claims against the manufacturer. The warranty system must be able to document the
LOTS pursuit of warranty recovery and ensure that the costs of covered defects is
borne properly by the equipment and/or vehicle manufacturer. The LOTS must
document warranty recovery by vehicle and/or equipment.

Maintenance of ADA Equipment

Accessibility equipment on your vehicles must be maintained in good working order.
This includes performing PM according to equipment manufacturer’s specifications,
cycling lifts as part of every pre-trip inspection, and performing repairs on a timely basis.
Maintenance of accessibility features should be included in your written maintenance
plan.


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10     VEHICLE MANAGEMENT AND MAINTENANCE


Vehicles with nonfunctional accessibility equipment must be taken out of service and
promptly repaired. As described in Chapter 12, under U.S. DOT ADA regulations, if
there is no spare vehicle to replace a fixed-route vehicle with an inoperable lift, that
vehicle may be kept in service with the inoperable lift for a maximum of three days in
areas with populations above 50,000 individuals, and five days in areas with populations
of 50,000 or less.

Maintenance of Other Equipment

The LOTS are required to include all other equipment used in their system to support
rolling stock or system operations in their maintenance programs. LOTS must maintain
this equipment according to manufacturer’s recommended standards and are required
to document this maintenance as part of their program. Equipment (in either an
automated or manual application) can include, but is not limited to: fare box systems,
service display signage, passenger counting systems, video recording systems, voice
annunciator systems, and stop request systems.

Vehicle Cleaning

All MTA-funded vehicles should be washed and their interiors cleaned on a regular
basis. Vehicles should be swept out and trash disposed of at the end of each service
day or driver shift. Cleaning efforts/cycles must be recorded and tracked.

Spare Vehicles

The fleet of each LOTS should include enough spare (backup) vehicles to provide
coverage for PM, repairs, breakdowns, and accidents. The number of spares needed
will vary according to the size and make-up of your fleet, the maximum number of
revenue vehicles placed into service each day, the age and condition of vehicles, the
capacity and quality of your maintenance program, and your ability to obtain
unscheduled repairs when needed. The number of spare vehicles allowed in your fleet
is expressed as a ratio called your “spare vehicle ratio.” The total size of your fleet is
used to determine your spare ratio and includes all revenue vehicles used to operate
your services (inclusive of the LOTS demand-response, fixed-route, and deviated fixed-
route services). The MTA has established a 20 percent maximum spare ratio. The
table below shows the most common number of spare vehicles the LOTS can have
based on the total number of revenue vehicles operated.


           If the Maximum Number of Vehicles                          The Number of Spare Vehicles
          Needed to Provide Regular Service Is:                          Your System Needs Is:
                          1-5                                                      1
                          6-10                                                     2
                         11-15                                                     3
                         16-20                                                     4
                         21-25                                                     5


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10     VEHICLE MANAGEMENT AND MAINTENANCE


Your fleet’s spare ratio is the ratio of spare vehicles to the total number of vehicles
needed to provide maximum (peak) service. Peak is defined as the time when the
greatest numbers of vehicles are in operation. To calculate your current spare ratio,
divide the number of spare vehicles in your fleet by the total number of vehicles
operated in peak service. In other words,

Spare   (Total No. of revenue vehicles – No. of vehicles needed for peak service)
Ratio = __________________________________________________________

                No. of vehicles needed for peak service

For example, if you have 30 total vehicles, and your peak operations require 25
vehicles, you have 30 - 25 = 5 spare vehicles and your spare ratio is 5 / 25 = 20
percent.

Rarely will a LOTS be allowed to exceed the 20 percent spare ratio. LOTS with over 50
total revenue vehicles must not exceed a 20 percent spare ratio. The MTA will require
any LOTS who exceed the 20 percent spare ratio to provide a fleet management plan
explaining, in detail, how it reached an excessive spare ratio and how and when it will
bring its spare ratio back into acceptable limits. The LOTS that do not maintain an
acceptable spare ratio can have grants payments suspended and/or may not be
allowed to procure additional grant funded vehicles.

Vehicle Storage

LOTS vehicles must be stored in secure and safe locations. A control system must be
developed to ensure adequate safeguards to prevent loss, damage, or theft of vehicles
and other equipment when stored and not in use. The LOTS vehicle storage system
should also consider such factors as ease of accessing vehicles for start-up, travel
lanes for movement of vehicles for PM/repairs and pull-out, parking arrangements, and
inclement weather operations, including snow removal.

All Maryland LOTS are required to spend one percent of these funds for transit security
projects or certify that expenditures for such security systems are not necessary.

Commercial Drivers Licensing Requirements for Mechanics

If a vehicle is designed to carry 16 or more passengers including the driver, or has a
gross vehicle weight rating or gross vehicle weight of 26,001 pounds or more, a valid
CDL is required to drive it. Mechanics that test-drive CDL vehicles are also required to
possess valid CDLs. CDL-related requirements and the responsibilities of employers of
CDL-required employees are addressed in Chapter 8.

If a LOTS contracts for maintenance from a private garage, this provision should be
included in the contract as the LOTS is responsible for ensuring that this requirement is
met.



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10     VEHICLE MANAGEMENT AND MAINTENANCE


Drug and Alcohol Program Requirements for Mechanics

Mechanics and their supervisors are among the safety-sensitive positions subject to
FTA Drug and Alcohol testing requirements (described in Chapter 8). This includes
both contracted maintenance employees as well as LOTS employees.

Maintenance Facilities

The LOTS must maintain maintenance facilities and equipment in accordance with their
facilities and equipment maintenance plans. The MTA conducts periodic inspections of
LOTS facilities, including maintenance facilities. The facilities inspection checklist is
provided as Attachment 7.B. Requirements related to facilities maintenance are
addressed in Chapter 7.


VEHICLE USEFUL-LIFE AND REPLACEMENT STANDARDS

This section is related to the transit asset management requirements described in
Chapter 2.

To ensure that vehicles are adequately maintained and remain in service for their
normal service-life, the MTA has established minimum useful-life standards for vehicles
funded with State or Federal funds. These standards apply to all vehicles purchased
with Sections 5307, former 5309, 5310, 5311, former 5316, former 5317, 5339,
American Disabilities Act (ADA), or Statewide Special Transportation Assistance
Program (SSTAP) funds, and to all vehicles that will be replaced with vehicles funded
from these programs, regardless of the initial funding source.

Service-life begins on the date the vehicle was placed in service and continues until it is
removed from service (Note: This information must be contained in your vehicle
maintenance program). The FTA and MTA require tracking of vehicle useful-life by
either years of active service or mileage, whichever comes first.


                       Classification                                      Years Miles       Length
        Revenue Specialized Vehicles (Accessible                             4   100,000      N/A
        Minivans, Vans, Accessible Taxicabs &
        Sedans)
        Light Duty Bus                                                         5   150,000   25’ - 35’
        Medium Duty Bus                                                        7   200,000   25’ - 35’
        Heavy Duty Bus-Medium Size                                            10   350,000   30’ - 35’
        Heavy Duty Bus-Large Size                                             12   500,000   Over 35’
        Non-Revenue Specialized/ Fleet Support                                10   200,000     N/A
        Vehicles (Pick-Up Trucks, Utility Vehicles &
        Sedans)




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If there is ever a question about what a certain vehicle’s classification might be the
Altoona Test used for that vehicle is always the substantiating documentation as to its
classification.   FTA     Altoona    Bus     Test   Reports    can    be    found    at
http://altoonabustest.psu.edu/test-reports.htm. Additional requirements related to the
Altoona Test are contained in Chapter 4.

Although a minimum standard for useful-life is provided, additional information about the
condition of the vehicle is necessary for all replacement requests. Vehicles will not be
replaced based solely on age and accumulated mileage. Therefore, details such as
repair records or estimated repair costs must be provided to the MTA with the
replacement request.

Replacement Prior to Meeting Minimum Useful-Life Criteria

Under extraordinary circumstances, vehicles may need replacement prior to the end of
their normal useful lives. In these situations, the LOTS must justify the need for early
replacement, including a detailed description of the condition of the vehicle. The MTA is
extremely reluctant to replace vehicles prior to the end of their normal service-life and
only under extenuating circumstances will this be approved.

If a replacement vehicle is being requested for a vehicle which has not, or will not, meet
the established useful-life criteria, the LOTS must describe the circumstances
necessitating the replacement of the vehicle. The LOTS would need to complete the
information above, in addition to providing the following information:

     •    A list of repairs that will be required to keep the vehicle in service, and an
          estimated cost of each repair, and

     •    A description and cost of repairs made to the vehicle to date (attach the repair
          and PM records, if available).

The FTA classifies this as early asset replacement.

The FTA/MTA considers the value of vehicles prior to the end of a normal useful life to
be based on a straight-line depreciation value calculation and that removal of an
FTA/MTA funded vehicle before the end of its normal service-life, for any reason,
requires notification to the MTA. Upon notification, the MTA will determine whether it
and/or the FTA retains further interest (value) in the vehicle and whether reimbursement
of the Federal/State share of its remaining value must take place. For FTA/MTA-funded
vehicles, after the normal service-life is met, the MTA no longer retains a financial
interest in the vehicle.


PROPERTY AND EQUIPMENT DISPOSITION

The LOTS need a written policy on property and equipment disposition that meets
MTA/FTA requirements. Local government disposition requirements must also be
followed. Property disposition policies and procedures are generally considered a

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10       VEHICLE MANAGEMENT AND MAINTENANCE


standard business practice for local governments. Counties are likely to have a county-
wide process in place, and LOTS that are part of county government are encouraged to
use their local process. Non-profit organizations and private companies may need to
develop a written policy on property and equipment disposition to meet MTA and FTA
requirements. The LOTS property disposition policy must also be contained in the
LOTS maintenance program described earlier.)

A LOTS may dispose of vehicles and other equipment at the end of their useful life
following its locally adopted process after notifying and receiving disposition instructions
from the MTA. Following their locally established disposal process, the LOTS should
strive to obtain maximum value for the vehicle, property or equipment to be disposed of.
If necessary, the MTA may require the LOTS to obtain appraisals in writing by qualified
individuals to determine the fair-market value of the equipment to be sold. LOTS must
obtain MTA concurrence prior to disposing of any State or Federal funded vehicles,
equipment or assets at the end of their useful life.

Request for approval to dispose of capital equipment assets purchased with State or
Federal funds prior to reaching their useful life criteria require prior MTA approval.
These requests are handled on a case-by-case basis, and are subject to straight-line
depreciation value calculation used for vehicles discussed under “Replacement Prior to
Meeting Minimum Useful-Life Criteria.” LOTS will be responsible for reimbursing the
FTA/MTA for any retained Federal or State value that is determined.

Proceeds from Sale of a Vehicle or Equipment

Use of proceeds from the sale of Federal/State funded vehicles and/or equipment must
be included in the LOTS disposition policy. Also, proceeds must be added to the LOTS
transportation capital budget, utilized for the transportation project, be recorded, and
must not be considered local match in any future request for payment. A sample Non-
Fare Revenue Tracking Form (Vehicle/Equipment Proceeds Form) is provided as
Attachment 3.B (see Chapter 3). The first $100 of the proceeds can be retained to
cover administrative expenses incurred.

     •    Equipment with a unit market value that exceeds $5,000 requires reimbursement
          to the FTA of the proportionate share of the fair market value or the net proceeds
          of the sale.

     •    Equipment with a unit market value of $5,000 or less that has reached the end of
          its service-life requires no FTA reimbursement. However, the MTA requires that
          upon completion of the sale, the LOTS provide the sales receipt information and
          indicate on what capital item(s) they intend to spend the auction proceeds.
          These funds may be applied to the LOTS transportation capital budget but may
          not be used as local match in any future grant or request for payment. If the
          original purchase price was $1,000 or more, the MTA may request that the LOTS
          remit back to MTA a proportional amount of the sale based upon the original
          grant ratio, deducting from this amount if necessary to ensure that the LOTS
          retains at least $100 from the proceeds to cover handling expenses.


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10     VEHICLE MANAGEMENT AND MAINTENANCE


Disposing of a “Total Loss” Vehicle

For vehicles/equipment involved in a serious accident or other loss where the insurance
company determines the accident vehicle/equipment to be a total loss, the following
applies. (General vehicle insurance requirements are described in Chapter 11.)

     If the Vehicle has Remaining Service-Life

     Vehicles that have remaining service-life must be disposed of in accordance with
     Federal regulations. The LOTS must notify the MTA of the insurance company's
     determination, the amount to be paid, and the intended disposition of the vehicle
     prior to accepting the insurance payout. If the payout does not cover the residual
     value of the vehicle (e.g. the vehicle’s remaining straight-line depreciated value), the
     LOTS will be responsible for paying the remaining Federal and/or State interest on
     the vehicle.

     When the insurance payout is accepted by the LOTS for the totaled vehicle, the
     LOTS must reinvest the funds in their transportation services and advise the MTA of
     how the funds will be reinvested in capital equipment.

     If the totaled vehicle is not removed by the insurance company, the LOTS must
     notify the MTA of what will be done with the vehicle. The vehicle may be kept for
     spare parts, sold, or otherwise disposed of. If the vehicle is sold, any proceeds must
     be reinvested in the LOTS’ transportation capital program.

     If the Vehicle has No Remaining Service-Life

     Vehicles that are a total loss and have no remaining service-life may be disposed of
     as noted in the beginning of the Property and Equipment Disposition section.
     However, the LOTS must provide a written statement of its intentions, with
     documentation of the vehicle’s “useful life” to the MTA.




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ADDITIONAL RESOURCES

Maryland Motor Carrier Regulations for Commercial Vehicles

     x    Maryland Motor Carrier Program-
          http://www.mdot.maryland.gov/newMDOT/Motor_Carrier/index.html

     x    Maryland Motor Carrier Handbook –
          http://www.sha.maryland.gov/OOTS/motorcarrierhandbook.pdf

     x    Maryland Public Service Commission, Transportation Division -
          http://www.psc.state.md.us/transportation/, (410) 767-8000 or (800) 492-0474
     x    Maryland Preventive Maintenance Program -
          http://www.mdot.maryland.gov/newMDOT/Motor_Carrier/PM_Program.html

     x    Maryland PM Handbook - Order from the Division of State Documents for a
          nominal fee - Order form- http://www.dsd.state.md.us/PDF/InfoSheet.pdf, (410)
          974-2486 or (800) 633-9657 (toll-free within Maryland only)

     x    Maryland PM Inspection Form for Passenger Buses -
          http://www.mdot.maryland.gov/Office%20of%20Maryland%20Motor%20Carrier%
          20Program/Documents/Passenger%20Bus%20Preventive%20Maintenance%20
          Report.pdf

     x    COMAR Title 11 - Department of Transportation, Subtitle 21 Motor Vehicle
          Administration - Commercial Motor Vehicles -
          http://www.dsd.state.md.us/COMAR/subtitle_chapters/11_Chapters.aspx

     x    COMAR Title 11 - Department of Transportation, Subtitle 22 Motor Vehicle
          Administration — Preventive Maintenance Program, 11.22.03 Preventive
          Maintenance Standards for Multipurpose Passenger Vehicles and Passenger
          Buses - http://www.dsd.state.md.us/COMAR/subtitle_chapters/11_Chapters.aspx

     x    COMAR Title 20 - Public Service Commission, Subtitle 95 Transportation,
          20.95.01 General -
          http://www.dsd.state.md.us/COMAR/SubtitleSearch.aspx?search=20.95.01.*

Preventive Maintenance Guidance and Sample Programs

     x    CTAA’s Vehicle Maintenance Management and Inspection (VMMI) certification
          program -
          http://web1.ctaa.org/webmodules/webarticles/anmviewer.asp?a=37&z=36

     x    Maintenance Management and Safety Guide, Texas Department of
          Transportation, Public Transportation Division (2003) -
          https://www.dot.state.tx.us/PTN/documents/mgmtguide.pdf


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     x    Washington State Vehicle Maintenance Planning Guide –
          http://www.wsdot.wa.gov/Transit/Grants/VMP.htm

     x    Introduction to Preventive Maintenance: An Investment that Pays Off. U.S.
          DOT/National RTAP -
          http://demopro.nationalrtap.org/emailResource.aspx?fileid=185&design=1&org=a
          2GSpnDbruI

     x    Transit Vehicle Inspections: Delivery, Pre-Trip and Annual Inspection
          Procedures, A Handbook for Rural Transit Providers. Prepared by Kansas
          University Transportation Center for Kansas DOT and U.S. DOT/FTA (1997) -
          http://www3.cutr.usf.edu/bussafety/documents/tvi-handbook.pdf




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10     VEHICLE MANAGEMENT AND MAINTENANCE


                            CHAPTER 10: SUMMARY CHECKLIST

    Establish a PM program and perform scheduled maintenance.
    Use work orders to track vehicle repairs.
    Maintain a management information system (MIS) to track vehicle maintenance and
     performance.
    Maintain vehicle inventory records for all MTA-funded vehicles that include
     serial/VIN numbers, MTA grant/project numbers, and FTA grant agreement
     numbers, and other details.
    For nongovernmental organizations operating commercial vehicles entirely within
     Maryland, comply with the requirements of the Maryland Motor Carrier Program.
    Comply with Maryland PM program requirements for all vehicles requiring a CDL as
     well as publicly-owned buses with at least ten seats.
    For nongovernmental organizations operating commercial vehicles across State
     lines, comply with the requirements of the FMCSA.
    If outsourcing maintenance, comply with procurement and purchasing requirements
     as described in Chapter 4 and monitor the contractor to ensure compliance with
     FTA/MTA requirements. Cross-departmental city or county government contracts
     must include required FTA clauses.
    If maintenance is provided in-house under a capital grant project of at least
     $100,000, comply with force account requirements.
    Ensure that mechanics that drive vehicles designed to carry 16 or more passengers,
     including the driver, possess valid CDLs.
    Include mechanics and supervisors in the FTA Drug and Alcohol program.
    Ensure that drivers conduct daily pre-trip inspections of vehicles.
    Maintain an adequate number of spare vehicles to provide coverage for
     maintenance, repairs, and breakdowns/accidents.
    Clean vehicle interiors and exteriors on a regular basis.
    Ensure that vehicles and equipment are securely stored.
    Plan and apply for replacement of vehicles that have met MTA useful life criteria.
     Annually update your asset management plan.
    Establish a written policy for disposition of property and equipment.
    Dispose of vehicles and equipment only after receiving MTA concurrence. Comply
     with local disposition requirements.



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11                 SAFETY, SECURITY, AND RISK MANAGEMENT



   Each LOTS needs to have safety, security, and risk management
   programs in effect to ensure the safest possible services and minimize
   the possibility of accidents and potential impacts on the agency and its
   customers. This chapter includes:

        x     Safety and Security Program Requirements
        x     Operational Safety
        x     Shop Safety
        x     Environmental Hazards and Occupational Safety and Health
              Administration (OSHA) Standards
        x     Risk Management




SAFETY AND SECURITY PROGRAM REQUIREMENTS

All LOTS are required to develop and implement a Safety and Security Program that
meets the requirements described in this chapter. At a minimum,

    x       The transit manager will have a working relationship with local emergency
            management staff.
    x       The LOTS will have an active and implemented FTA-compliant Drug and Alcohol
            program (described in Chapter 8).
    x       The LOTS will adhere to all applicable CDL and FMCSA rules and regulations.

It is suggested that all supervisors and managers are National Incident Management
System (NIMS) 100 certified. This can be accomplished by taking a free on-line course
offered through FEMA (IS-100.B: Introduction to Incident Command System, ICS-100) -
https://training.fema.gov/is/courseoverview .aspx?code=IS-100.b.

All LOTS must annually certify that they are spending one percent of Federal funds for
transit security projects. You will be required to itemize these projects in your annual
application.




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Introduction to Forthcoming FTA Requirements

The passage of MAP-21 in 2012 and the FAST Act in 2015 established new
requirements for transit safety and oversight. Among these new requirements,
recipients of FTA/MTA funding must develop an agency safety plan and certify that the
plan meets FTA requirements. The FTA is in the process of determining requirements
for Public Transportation Agency Safety Plans. The FTA issued a Notice of Proposed
Rulemaking for 49 CFR Part 673 in February 2016. Once the final rule is published, the
MTA will require the LOTS to develop Public Transportation Agency Safety Plans that
comply with 49 CFR Part 673.

LOTS can follow FTA rulemaking through documents posted on this page:
https://www.transit.dot.gov/regulations-guidance/rulemaking

The FTA also published a final rule on the National Public Transportation Safety
Program in August 2016 (49 CFR Part 670), which lays out the framework FTA intends
to use for all transit safety programs. The framework is called Safety Management
Systems (SMS). SMS is a management system, similar to financial management, IT
management and asset management. SMS is defined as “the formal, top-down, data-
driven, organization-wide approach to managing safety risk and assuring effectiveness
of safety risk mitigations.”

Although the Public Transportation Agency Safety Plan rule is not yet final, FTA expects
all transit agencies to begin implementing SMS at their organizations. The OLTS is
assisting LOTS in this process. The initial step in this process is for the LOTS to
complete the Safety Documents Checklist and upload the checklist to the ProjectWise
Safety Management folder. Three LOTS agencies are also participating in a SMS
Implementation Pilot Program hosted by the FTA. These efforts, among others, will
assist LOTS in building a strong and successful SMS culture at their agencies.

The National Public Transportation Safety Plan was published by the FTA in final form
in January 2017. This document describes the SMS framework and lays out the
required safety performance measures that transit agencies will need to include in their
agency safety plans. Transit agencies are also required to set performance targets for
state of good repair as part of the Transit Asset Management Plan. These parallel
processes, Safety Management and Asset Management, are intended to support each
other, for the mutual benefit of both safety and a commitment to maintaining a state of
good repair.

LOTS can access the final National Public Transportation Safety Plan here:
https://www.transit.dot.gov/regulations-and-guidance/safety/national-public-
transportation-safety-plan

The FTA SMS framework is comprised of four components and 12 subcomponents, as
listed in the following table.




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11     SAFETY, SECURITY, AND RISK MANAGEMENT


                              Safety Management System Components


Safety Management Policy                                       Safety Assurance

1. Safety Management Policy Statement                          8. Safety Performance Monitoring and
2. Safety Accountabilities and                                     Measurement
   Responsibilities                                            9. Management of Change
3. Integration with Public Safety and                          10. Continuous Improvement
   Emergency Management
4. SMS Documentation and Records

Safety Risk Management                                         Safety Promotion

5. Safety Hazard Identification                                11. Safety Communication
6. Safety Risk Assessment                                      12. Competencies and Training
7. Safety Risk Mitigation


To prepare for the establishment and implementation of SMS, LOTS should begin
development of Safety Management Policy subcomponent activities. OLTS will assist
LOTS agencies with developing Safety Management Policy activities through
workshops and webinars over the coming year. Initial focus will be on: designating an
Accountable Executive, developing an agency SMS Policy Statement, delineating clear
safety management responsibilities and accountabilities, and developing or maintaining
an employee safety reporting system.

FTA’s Model Bus Safety and Security Program

In July 2001, the FTA developed a Model Bus Safety and Security Program for local
transit systems to implement, including the definition of a number of core elements and
enhancements to be addressed. The core elements are to be addressed by all modes
and sizes of transit systems, with additional enhancements for larger all-bus systems
and “fixed guideway” systems. This program followed an earlier requirement for Safety
and Security Plans for all rail transit systems.

The events of September 11, 2001 brought into focus the vulnerability of our nation’s
transportation system to acts of terrorism, with safety and security implications for local
bus providers. Public transit is also faced with a variety of non-catastrophic security
concerns, such as the potential for theft, malicious acts by disgruntled employees,
vandalism, and arson. Planning and implementing system security measures can deter
the more minor and commonplace threats, as well as mitigate the unlikely catastrophic
level of threat.

Local transit systems can minimize the risk associated with all types of safety and
security threats through proactive planning. Under a joint effort, the FTA, the American

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11     SAFETY, SECURITY, AND RISK MANAGEMENT


Association of State Highway and Transportation Officials (AASHTO), the American
Public Transportation Association (APTA), and the Community Transportation
Association of America (CTAA) developed specific guidelines for the elements to be
included in the Safety and Security Program for transit systems of different sizes and
service types. Based on the recommendations detailed in the April 2003 Model Bus
Safety and Security Program Memorandum of Understanding (MOU) (Appendix J), the
MTA requires the LOTS to develop their own plan that addresses each of the core
elements as appropriate for their systems.

Program Development Guidelines

The following checklist provides suggested steps for developing a LOTS safety and
security program.

     1. Determine what safety hazards and security threats your system needs to
        prevent or be prepared to manage, based on a risk-based assessment process.

     2. Develop an outline of the contents of your program based on your local needs,
        including the core elements, as well as any enhanced elements that pertain to
        your system. Set up a large three-ring binder with tab dividers for all major
        categories.

     3. Gather all existing written policies and procedures related to safety and security
        and organize them according to your program outline. The Safety Documents
        Checklist provided to the LOTS in the November 2016 workshop is a helpful
        checklist. Determine what items still need to be developed, as well as what (if
        any) existing materials need to be updated.

     4. Develop new items and update existing items if needed, drawing from existing
        examples and templates available to use – see list of additional resources at the
        end of this chapter, as well as specific items referred to in the context of each
        core element description. Document all items in writing, including policies and
        procedures, checklists, and forms. Include references to stand-alone documents
        that are too large to incorporate.

     5. Involve your staff in the development and update of items. It may be helpful to
        form a task force of drivers, dispatchers, trainers, supervisors, maintenance
        personnel, and other staff to ensure the program adequately addresses safety
        and security concerns of staff throughout your organization and provides
        emergency procedures in sufficient detail.

     6. Consult with the experts outside of your organization. Security and emergency
        response plans should be developed in coordination with community first
        responders, including police, fire, emergency medical, and other entities
        appropriate for your service area (which may include State or Federal agencies).
        It is recommended these agencies review and comment on the transit agency’s
        emergency response program.


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     7. Date all items as they are finalized or updated, and place them in the binder.

     8. Provide written information to employees and train them in all procedures.

Core Elements

This section provides guidelines for the FTA-defined core elements of the Safety and
Security Program. All LOTS must address each of the core elements. However,
recognizing that “one size does not fit all,” the MTA encourages each LOTS to tailor its
Safety and Security Program to local conditions, with the complexity of the plan
reflecting the size of the community, the size of the transit system, and the use of
contracted service operators.

The core elements are:

     1.   Security Program
     2.   Driver/Employee Selection
     3.   Driver/Employee Training
     4.   Vehicle Maintenance
     5.   Drug and Alcohol Abuse Programs
     6.   Safety Data Acquisition and Analysis

These core elements are summarized below, with cross-references to more detailed
recommendations found in other chapters of the LOTS Manual.

     Core Element 1: Security Program

     The MOU calls for a basic security program as a part of the core elements for all
     transit systems, with enhanced security elements for transit systems operating in
     urbanized areas. Security risks encompass a variety of threats to normal operations
     of transit services, including natural disasters and weather-related events,
     technological events (such as a power outage or hazmat spill), crime, and acts of
     terrorism. A successful security program assesses and mitigates for security risks
     based on the threat, vulnerability, likelihood, and severity of the risk. OLTS provides
     a resource for performing security risk assessments in the ProjectWise Safety
     Management folder, as part of the November 2016 LOTS workshop presentation.

          Security and Emergency Preparedness Plans

          Each LOTS should develop plans and procedures to deal with security threats
          and emergency management. APTA has published a template Security and
          Emergency Preparedness Plan that provides a framework for key considerations
          in preparing a security/emergency management plan (see Additional Resources
          at the end of this chapter).

          Suggested security areas to address in the Security and Emergency
          Preparedness Plan:


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              x    Facilities Including administration, operations, maintenance, and
                   passenger facilities, addressing such items as access control, lighting,
                   monitoring, and procedures for graffiti removal.
              x    Vehicles - Including checking for unusual items during pre- and post-trip
                   inspections, procedures for shutting down and securement during driver
                   breaks, key control, and storage.
              x    Cash handling - Including procedures for fare collection, ticket sales,
                   money counting, and deposits.
              x    Information - Including computer security, regular back-up of data, and
                   protection of confidential information (such as personnel files).
              x    Training - To recognize and report suspicious or illegal activity, which the
                   FTA recommends for operating personnel, non-operating personnel, and
                   customers.
              x    Violence in the Workplace - Including prevention of and response to
                   violence from internal and external sources.
              x    Security Incident Procedures - Including follow-up and documentation.

         Suggested emergency management areas to address in the Security and
         Emergency Management Plan:

              x    Accidents/incidents
              x    Medical emergencies
              x    Severe weather operations
              x    Vehicle fire
              x    Bomb threat

         If appropriate for your community, plans should also be developed for response
         to emergencies involving hazardous materials, industrial accidents, chemical or
         biological threats, and other potential natural disasters or terrorist actions.

         Security and emergency response plans should be developed in coordination
         with community first responders, including police, fire, emergency medical, and
         other entities appropriate for your service area (which may include State or
         Federal agencies). It is recommended these agencies review and comment on
         the transit agency’s plan. The LOTS should also be involved in community
         emergency response planning since transit can play a critical role in evacuating
         individuals to a safe area, as well as providing temporary shelter.

         It is also recommended that the LOTS agencies participate in coordinated
         emergency response drills and exercises with community first responders, based
         on the Homeland Security Exercise and Evaluation Program (HSEEP).

         One Percent Rule

         All LOTS are required to spend one percent of grants funds annually for transit
         security projects. You will be required to itemize these projects in your annual

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         application. Such projects include surveillance cameras, building security
         systems, and lighting. Federal grantees are encouraged to perform crime
         prevention reviews during the design phase of all FTA-funded transit facilities
         with particular focus on crime prevention through environmental design
         techniques.

         Security Measures

         Passenger and employee security is a foremost priority for a transit agency.
         Efficient transportation of passengers is limited when employees and passengers
         feel unsafe in their ridership environment. Utilizing common sense crime
         prevention methods can help to mitigate breaches in transit security.

              x    Fare Collection – Transit vehicles should be equipped with a reliable
                   method of fare collection. Bus fares should be collected in a systematic
                   manner and deposited into a farebox or other unit easily visible to the
                   driver. Instituting a method of fare collection reduces the risks involved in
                   carrying sums of money in a concentrated area.

              x    Vehicle and Facility Security – A secure transit facility and vehicle storage
                   area reflect an agency’s commitment to safety from the ground level up.
                   Storing buses in a fenced sector and installing surveillance cameras can
                   help to prevent desecration of property and employee injury. In addition,
                   locking bus doors and removing fare collection devices decrease the
                   opportunities for vandalism. The transit facility itself should be regularly
                   inspected for maintenance and equipment problems. An inspection might
                   look at the overall cleanliness of the facility, the proper storage of tools,
                   materials, and portable equipment, the compliance with health and safety
                   regulations, and other safety matters.

              x    Bus Stop Conditions – Placement and visibility of bus stops are key
                   factors in increasing passenger security, reducing injuries, and increasing
                   ridership. Placing bus stops in areas that are well trafficked and visible to
                   other businesses is a simple method of providing natural surveillance.
                   Bus stops that are well-lit whether naturally or electrically help to deter
                   individuals from criminal activity. If a bus shelter is incorporated into the
                   stop, it should be constructed of materials that allow the passengers an
                   unobstructed view of the activity that surrounds them. Other methods of
                   security enhancement might include the removal of pay phones, clear
                   signage, and the prompt removal of graffiti and repairs of vandalism.
                   APTA has published recommended practices for bus stop design and
                   placement (see Additional Resources at the end of this chapter).

     Core Element 2: Driver/Employee Selection

     The Safety and Security Program needs to define driver qualifications and
     background requirements, which should apply to all safety-critical employees, both
     paid and volunteer. At a minimum, these requirements should detail licensing,

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     driving record, and physical requirements (CDL and non-CDL). It may also be
     appropriate for your system to conduct criminal background checks on potential
     drivers. In addition to defining basic requirements, the Safety and Security Program
     should address record-keeping and any status checks conducted periodically. All
     systems should take advantage of MVA’s license flagging system. Requirements
     and recommendations related to hiring practices and fitness for duty are described in
     Chapter 8.

     Core Element 3: Driver/Employee Training

     This element should define initial and ongoing (refresher) training requirements for
     safety-critical employees. Recommendations for minimum driver training topics are
     outlined in Chapter 8. The Safety and Security Program should identify when each
     type of training is conducted (hiring vs. refresher), how much time is spent on each
     topic, how successful completion is determined (are drivers tested for proficiency?),
     how any certifications are kept up-to-date, and recordkeeping. It should also identify
     who conducts the training, define the minimum qualifications of trainers, and give
     procedures for updating training.

     Core Element 4: Vehicle Maintenance

     The Safety and Security Program should outline how vehicles are maintained,
     including PM (daily servicing needs, periodic inspection, and interval-related) and
     repairs (failure maintenance). Recommendations for a basic PM plan are provided
     in Chapter 10. The Safety and Security Program should outline the transit agency’s
     PM plan, the responsible parties, and recordkeeping. It should also address shop
     safety (covered later in this chapter).

     Core Element 5: Drug and Alcohol Abuse Programs

     The Safety and Security Program should describe the agency’s Drug and Alcohol
     Program, including policies and procedures, testing, and training. FTA Drug and
     Alcohol Program requirements are outlined in Chapter 8 of this manual. The transit
     provider’s safety program should outline the specific policies, procedures, and
     responsibilities, or reference the appropriate master document containing that
     information.

     Core Element 6: Safety Data Acquisition/Analysis

     This element involves the gathering and analyzing of data related to the safety
     program in order to meet MTA/FTA reporting requirements and to internally evaluate
     the effectiveness of the safety program. These data include information gathered
     from within the system on safety-related events such as passenger injuries or
     claims, employee injuries, accidents, incidents, and preventability. Driver reports or
     logs can be an important source of safety problems, such as dangerous stop
     locations, problems with bus equipment, and safety problems with the route. The
     data may also help improve system performance, not only in respect to safety, but
     also in overall delivery of service to the riding public. In addition, trend analyses of

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     safety data can help determine the effectiveness of safety initiatives that have been
     implemented.

         NTD Safety Data Reporting

         Recipients of Section 5307 are required to report safety data to the FTA for the
         NTD. Section 5311 recipients are required to submit an abbreviated rural NTD
         report to the MTA, who in turn submits a statewide report to the FTA for the NTD
         Rural Data Reporting System. The LOTS reporting requirements are discussed
         in Chapter 3.

         The NTD requires the following annual safety data be reported for rural systems:

              x    Number of fatalities
              x    Number of major events
              x    Number of injuries

         In addition to the three safety performance measures now submitted by all LOTS,
         the FTA has included a new measure in the National Public Transportation
         Safety Plan that is meant to capture the relationship between asset management
         and safety/reliability: mean distance between major mechanical failures. The
         FTA describes the new measure as, “revenue miles operated divided by the
         number of major mechanical failures” (i.e., breakdowns of brakes, doors, engine
         cooling systems, steering, axles and suspension). LOTS that do not currently
         track major mechanical failures as part of their NTD reporting or maintenance
         program will need to develop the means to collect data for this newly-required
         performance measure.

         All safety data measures should be calculated and tracked each year by both the
         total number and on the basis of number of occurrences per revenue vehicle
         mile.

         Accidents and incidents that involve fatalities must be reported to MTA
         immediately. The LOTS are also advised to report any accidents or
         incidents in which the vehicle has been totaled and/or removed from
         service to MTA as soon as possible.

         Lagging vs. Leading Indicators

         The FTA-required safety data reported to the NTD measures events that have
         already occurred, otherwise known as “lagging” indicators. In addition to lagging
         indicators, The LOTS should also attempt to internally track data that can be
         used as “leading” indicators, in order to determine trends in the LOTS safety
         record and identify common causes of safety hazards, or observe whether
         improvements made to the transit system safety programs result in
         corresponding improvements to the safety record. Some potential leading
         indicators are:


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              x    Number of traffic tickets issued to bus operators
              x    Percent of buses that exceeded the speed limit
              x    Number of road calls
              x    Incidents of vandalism of bus stops, system facilities, or vehicles
              x    Employee work days lost to injury
              x    Customer complaint or compliment rate
              x    Number of vehicles with specific safety devices or equipment (e.g., AVL,
                   security cameras)
              x    Number and rate of operator safety training and refresher courses

Enhanced Elements

In addition to the six core elements outlined above, all Section 5307 recipients
(including those in small urbanized areas) should develop a comprehensive system
safety program with procedures to address elements listed below as applicable to the
type of services operated. The comprehensive safety program element activities are
organized into three groups: safety process-centric, human-centric, and infrastructure
and equipment-centric elements.

         Safety Process-centric Elements

         These elements represent processes and procedures that provide an important
         foundation for building and expanding a safety program. They focus on
         understanding the safety issues within the transit bus operations (accidents,
         incidents, and hazards) so that safety resources can be properly directed. OLTS
         provides a resource guide for performing safety hazard identification,
         assessment, and mitigation in the ProjectWise Safety Management folder, as
         part of the November 2016 LOTS workshop presentation.

         The safety process-centric elements include:

         x    Accident/incident reporting and investigation
         x    Hazard identification/resolution process
         x    Emergency response planning, coordination, and training
         x    Internal safety audit process

         Human-centric Elements

         These elements focus on processes or procedures that are directed toward
         driver and employee safety issues. These include:

         x    Employee safety program
         x    Fitness for Duty (FFD) (additional requirements beyond the drug and alcohol
              FFD requirements)
         x    Rules/procedures review
         x    Contractor safety coordination


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         Infrastructure and Equipment-centric Elements

         These elements address safety issues related to the transit system vehicles and
         general infrastructure and include:

         x    Vehicle acquisition
         x    Facilities inspections
         x    Maintenance audits/Inspections
         x    Hazardous materials program
         x    Alternative fuels and safety
         x    System modification review/approval process
         x    Interdepartmental/interagency coordination
         x    Configuration management
         x    Procurement
         x    Operating environment and passenger facility management
         x    Dedicated busway or roadway inspection and maintenance (for fixed-
              guideway systems)

         It must be stressed that the FTA and the MTA do not expect all Section 5307
         recipients to include all of the enhanced elements. Large transit bus providers
         typically have a need for all or most of these enhanced elements in their Safety
         and Security Programs. Smaller transit bus providers should incorporate these
         enhanced elements as their size and/or responsibilities grow, or as the need is
         indicated by operational safety and security experience to further improve their
         safety program.

Civil Rights and Emergency Preparedness

Safety and security need to be viewed through the lens of Title VI of the Civil Rights Act
of 1964 and the ADA. As LOTS work to improve their ability to respond and recover
from emergencies and disasters, you have a responsibility to ensure that individuals will
not be denied the benefits of, be excluded from participation in, or be subject to
discrimination under these essential transportation programs. Recipients of FTA funds
should ensure that their emergency preparedness, disaster response, and disaster
recovery planning and operations comply with Federal civil rights laws. Refer to
Chapter 13 for more information.

Program Documentation Requirements

The Safety and Security Program must be documented in written format, adopted by the
local governing board, and made available for inspection by the MTA upon request.
The written program should include written policies and procedures, copies of any forms
used for documentation, and summary reports with the results of the data acquisition
and analysis element. It must be organized so that MTA staff can clearly determine that
all minimum requirements have been met. As such, there should be a section
addressing each of the six core elements, plus any enhanced elements developed by
Section 5307 recipients.

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For portions of the security and emergency response plans, the LOTS may find it
appropriate to refer to plans which have already been developed by community first
response agencies rather than “reinventing the wheel,” particularly if the LOTS is part of
local government. However, it is critical that the LOTS have copies of and be familiar
with the referred-to plans.

The written Safety and Security Program should be reviewed at least annually and
updated on an ongoing basis as needed.


OPERATIONAL SAFETY

Well-trained and motivated employees are in an optimum position to provide safe and
efficient transportation services.    Some common-sense personnel management
practices that can help promote safety and minimize exposure or risk in your agency are
outlined below. More information on personnel requirements and regulations are found
in Chapter 8. Many of the practices introduced below are required elements of your
Safety and Security Program.

Hiring Employees Who Will Provide Safe Services

Hiring qualified individuals is an important first step in ensuring a transit agency’s
success. Transit agencies should review each potential employee’s past driving record.
If applicable, out-of-state records should also be checked. Any available safety,
accident, and criminal records (if necessary) should be investigated. Interviews are also
an informative method of determining an employee’s qualifications. See Chapter 8 for
more information on conducting background checks and requiring road tests as part of
the hiring process.

Drug and Alcohol Testing

Employees who perform safety sensitive job functions are responsible for the lives of
the passengers who use your system as well as other drivers. Drivers and maintenance
workers who are alert and functional are an agency’s best defense against passenger
injury or death. Transit agencies should ensure that they fully understand and
implement the required drug and alcohol testing procedures. For more information
concerning drug and alcohol testing program requirements, see Chapter 8.

Safety Handbook

Both newly hired and veteran employees often find it helpful to have a set of
employment guidelines that they can reference for safety information. A safety
handbook is one manner of presenting this information. The handbook should include
safety policies and procedures and directions to where additional information can be
found.




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Training

Training and continuous learning programs are an essential part of any transit agency’s
effort to provide a safe working environment. Courses in maintenance, management,
driver operations, safety, and supervision should be directed toward the appropriate
individuals. All vehicle operators and supervisors should be trained in defensive driving,
CPR, First Aid, and safety needs assistance and awareness. Employees who work with
hazardous materials require proper training on safe handling practices, health effects,
cleanup procedures, material safety data sheets, and the toxic chemicals. Employees
should sign a statement acknowledging their training and employers should also keep
their own log. Refresher training courses conducted approximately three to six months
after an initial training session are a helpful reinforcement mechanism. Review
programs that track a new employee’s progress are also advantageous in determining
the amount of training required. Remember, there are many required training elements
discussed throughout this manual. Refer to chapters 5, 8, 12 and 13 for required
training elements with which LOTS must comply. Chapter 9 lists policies and
procedures in which LOTS should train their employees.

Safety issues should be addressed in the following types of training:

     x    Defensive driving
     x    Passenger assistance techniques, including self-protection
     x    Conducting pre-trip inspections
     x    Vehicle maintenance
     x    Accident/incident procedures, including recordkeeping and reporting
     x    Emergency procedures, including:
          - Vehicle evacuation
          - Facilities evacuation
          - Evacuation of individuals in wheelchairs
          - Fire-fighting
          - CPR/first aid
          - Bodily fluid cleanup

     x    Inclement weather operations

     x    Good work practices, including:
          - Being fully present, aware of, and engaged with the job at hand
          - Taking care of their health, including ergonomic work habits (such as driving
            posture and proper moving and lifting techniques for any equipment drivers
            may operate or move) and taking adequate restroom breaks
          - Stress reduction (should address keeping calm in traffic, dealing with difficult
            customers, and general stress reduction techniques)
          - Hand-washing and other disease-prevention techniques
          - Appropriate and safe use of mobile phones
          - Handling potentially hazardous materials

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     Defensive Driving Programs

     A number of excellent programs have been developed on defensive driving
     techniques, including the National Safety Council Defensive Driving courses, Smith
     System for Defensive Driving, and the Identify, Predict, Decide, and Execute (IPDE)
     System.     U.S. DOT’s Transportation Safety Institute (TSI) offers a five-day
     Instructors Course for Transit Trainers which addresses defensive driving as well as
     other transit-specific topics. For the rural transit industry, the National RTAP Safety
     Training and Rural Transit (START) course includes defensive driving and vehicle
     and passenger safety modules, with instructor’s and learner’s guides.

     All drivers should receive training in defensive driving before they are allowed to
     drive LOTS vehicles, and should receive refresher training on a periodic basis.
     Whatever program your agency uses, it is critical that drivers are trained in the
     differences between driving a bus and driving a car.

Distracted Driving/Cell Phone/Portable Electronic Device Policy

Maryland law prohibits all Maryland drivers from:

     x    Using a cell phone without a hands-free device while operating a motor vehicle,
          and
     x    Using a text messaging device to write or send a text message while operating a
          motor vehicle in motion or in the travel portion of the roadway with some
          exceptions such as the use of a global positioning system, or text messaging to
          contact a 9-1-1 system.

All LOTS are required to establish a policy regarding the safe use of cell phones and
other portable electronic devices for your employees and subcontractors. A copy of this
policy must be submitted with each ATP.

Passenger Safety

Your agency should establish safety policies that passengers are responsible for
observing, including those relating to:

     x    Smoking on vehicles (illegal under State law),
     x    Standing in restricted areas of the vehicle while it is in motion,
     x    Talking to the driver while the vehicle is in motion,
     x    Remaining seated while the vehicle is in motion,
     x    Use of seat belts in vehicles equipped with them,
     x    Folding strollers before boarding the vehicle,
     x    Priority seating for seniors and individuals with disabilities
     x    Carrying weapons,
     x    Traveling with pets, and
     x    Aggressive behavior.


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Passenger Loads

Your agency should establish operating policies on the maximum number of
passengers permitted on each type of vehicle in your fleet, including standees if allowed
based upon the manufacturer’s recommendations and the weight the vehicle is
designed to safely carry. Drivers should be informed of these maximum loads, and be
made aware of the increased stopping time needed for a fully loaded bus, as well as the
risk of standee passenger injury because of sudden starts and stops.

Note that the maximum load allowable for safety reasons may exceed the acceptable
load standard established as part of the Title VI program for fixed-route services
(discussed in Chapter 2).

Location and Design of Bus Stops

The location and design of bus stops in your system should take safety into
consideration, both in terms of safe vehicle operations (street side) and safety of
customers waiting to board the bus (curb side). More guidance on bus stop design is
provided in Chapter 7.

Emergency Procedures

Although a rare occurrence, it is important that transit employees are prepared to
effectively negotiate emergency incidents within their bus system. Such incidents might
include fires, bomb threats, natural disasters, and suicides. Employees should know
how to report and evaluate the emergency, notify and dispatch the required personnel,
evacuate and protect the passengers, establish clear modes of communication between
the parties involved, and restore normal operations. More information on emergency
preparedness planning requirements is found earlier in this chapter.

Emergency exits in vehicles must be clearly marked with instructions as needed, free
from obstructions and well-maintained to ensure that latches are in good working order.

Your agency should also have a public information plan for emergencies, including
providing updates to your customers on service disruptions and limiting sensitive
information that is made public (i.e., through a designated spokesperson).

Accident/Incident Procedures

Your agency should establish policies and procedures for accidents and incidents,
including:

     x    Reporting and record-keeping requirements,
     x    Communications protocol,
     x    Interfacing with the police, the other involved parties, and insurance companies,
     x    Internal investigation procedures/preventability determination,
     x    Disciplinary actions, including an appeals process, and


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     x    Retraining policies.

          Reporting Accidents and Incidents to the MTA

          The following types of accidents and incidents must be reported to the MTA as
          soon as possible after the occurrence (regardless of vehicle funding source) and
          must also be included with the LOTS quarterly or monthly report to the MTA:

          x   Reportable Event - A safety or security incident occurring on transit property
              or involving a transit revenue vehicle that results in one or more of the
              following conditions: a fatality confirmed within 30 days of the incident, an
              injury requiring immediate medical attention away from the scene for one or
              more individuals, property damage equal to or exceeding $25,000, a collision
              involving a transit revenue vehicle that requires towing the transit vehicle or
              other non-transit vehicle, and/or an evacuation for life safety reasons.

              Fatality - A death or suicide confirmed within 30 days of a reported incident;
              does not include deaths in or on transit property that are a result of illness or
              other natural causes.

              Injury - Any physical damage or harm to individuals as a result of an incident
              that requires immediate medical attention away from the scene.

Employee Incentive Programs

To promote safe transit operations, an employee incentive program that recognizes
employees for accident-free and incident-free driving (based upon miles and/or years of
service) is recommended. All employees have the potential to earn these awards
through conscientious driving.

The MTA and TAM host an annual “Roadeo” for the LOTS and human service agency
drivers across the State. This friendly competition tests the safety skills of drivers in two
classes of vehicles. Your agency may want to start its own internal or county-wide
Roadeo. For more information on setting up a local Roadeo or participating in the State
Roadeo, contact TAM or your Regional Planner.


SHOP SAFETY

To operate a safe maintenance shop, LOTS managers should be aware of all the
environmental and occupational safety hazards that are present (explained in the next
section), and to create and enforce policies to protect those that work in the
environment. The following policies and procedures pertain to shop safety:

     x    Access to the shop area should be limited to only those employees who have
          business to tend to in the shop.



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     x    All shop employees must have protective shoes and eyewear, that should worn
          at all times. Visitors to the shop should also be required to wear protective
          eyewear.

     x    Shop personnel must undergo training on the use of new equipment and should
          receive refresher training periodically.

     x    Shop personnel should be aware of manufacturer’s suggestions regarding
          towing, lifting, and securing each particular type of vehicle.

     x    Personnel must be trained in accident response and use of protective equipment,
          such as eyewashes.

     x    Regular shop safety audits and shop staff meetings provide good opportunities
          for identifying and addressing safety concerns.

     x    Shop equipment, including lifts, jacks, and jackstands, must undergo a PM
          according to manufacturers’ specifications and must be regularly inspected for
          proper operation by staff. Periodic inspections by manufacturer’s representatives
          will ensure that equipment is in proper and safe working order.

     x    Any broken or obsolete equipment must be repaired or removed so as to
          eliminate potential hazards caused by misuse or malfunctioning equipment.

     x    Warning signs must be posted at each work station where there are potential
          hazards such as caustic chemicals and/or moving equipment. Safe handling and
          operating procedures must be posted as well.

     x    Staff should be cautious about the location of storage areas in proximity to
          chemicals, gases, and other equipment such as grinders and welders.

     x    The shop should be well-lit, free of debris, and cleaned regularly, including floors.

     x    Disposal and storage containers must be clearly marked to decrease the
          possibility of chemical mixing.

     x    Any overhead storage areas must be inspected and weight rated prior to use.

     x    Electrical cords and outlets must be inspected regularly for fraying or other
          damage, and replaced as necessary. They should also have permanent storage
          locations that keep them off the shop floor and reduce the risk of being tripped
          over.

     x    All shop accidents, regardless of severity, must be investigated to determine
          cause and preventability, much like any vehicular accident.



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ENVIRONMENTAL HAZARDS AND OCCUPATIONAL SAFETY AND HEALTH
ADMINISTRATION STANDARDS

The potentially hazardous materials that transit maintenance and storage facilities utilize
make them particularly susceptible to environmental accidents. These facilities should
be considered “restricted” areas and the personnel given the appropriate safety
equipment. If your transit agency utilizes underground or above ground fuel tanks, they
must be installed and maintained according to regulatory standards. Levels of fluid
should be checked daily and comprehensive records kept regarding fluid use. Any
leakage of fluid is the financial responsibility of the transit agency. Furthermore, the
prompt cleanup of all environmental damage is necessary.                 Not only does
environmental damage pose a threat to employee health, fines may be imposed if the
problem is neglected.

While an office environment is generally considered safer than a maintenance facility,
accidents still occur. Good housekeeping practices, the installation of the proper fire
equipment, and well-marked emergency routes help to improve safety standards.

The LOTS should be aware of OSHA standards that impact their facilities. Matters such
as employee exposure to flammable/toxic materials and blood-borne pathogens should
be thoroughly addressed.

Additional legislation and regulation include OSHA standards for Hazard
Communication (http://www.osha.gov/dsg/hazcom/standards.html), the Emergency
Planning and Community Right-to-Know Act        (https://www.epa.gov/epcra), the
Resource Conservation and Recovery Act (https://www.epa.gov/rcra), and the
Maryland           Occupational        Safety  and         Health       (MOSH)
(http://www.dllr.state.md.us/labor/mosh/).

OSHA (http://www.osha.gov/) offers a free consultation service, separate from its
inspection program, to assist employers in identifying potential hazards without
enforcing citations or penalties. Though primarily targeted at small businesses, this
service can also be used by the private-sector LOTS. The OSHA consultant conducts a
walk-through inspection with management and appraises the safety of the workplace.
Hazards identified during the inspection must be rectified. This is an excellent
preventive safety measure that can save your agency money; if an OSHA inspector
identified the problems, your agency would be cited and substantial financial penalties
would likely be imposed. Public sector employers can request a survey from MOSH.
For more information on OSHA consultation and survey programs in Maryland, see
http://www.dllr.state.md.us/labor/mosh/volc.shtml.

Reporting Hazardous Waste

Transit providers and other public and private organizations that use MSDS (material
safety data sheets) are required to submit reports concerning their use of hazardous
chemicals to the local Emergency Planning Committee, the State Emergency Response
Commission, and the local fire department if they exceed the EPA designated minimum


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threshold for that chemical. For more information refer to the Federal Emergency
Planning and Community Right-to-Know Act (https://www.epa.gov/epcra).

Disposing of Hazardous Waste

The most common hazardous waste products that transit facilities produce are solvents,
acids/bases, heavy metal/inorganics, and lead/acid batteries. The disposal of these
wastes is regulated by Federal and State public health and environmental safety laws.
The numerous requirements that an agency must follow include, but are by no means
limited to:

     x    Determining whether your transit agency is a small, medium, or large generator,
     x    Inventorying the chemicals in your possession as listed under the Resource
          Conservation and Recovery Act,
     x    Shipping only to hazardous waste facilities,
     x    Keeping accurate records of all test reports and shipments,
     x    Filing an annual report with the EPA,
     x    Reporting shipping problems to the EPA,
     x    Only using transports that have EPA identification numbers, and
     x    Obtaining your own generator identification number from the EPA.


RISK MANAGEMENT

Forming a Risk Management Policy: The First Steps

An effective risk management policy requires the active participation of all transit
employees. Every individual, whether in management, operations, maintenance, or
finance, has the responsibility of ensuring the safest possible operation of a transit
system. The key steps involved in creating a risk management policy include risk
identification, measurement, and evaluation. Risk identification concerns identifying the
types of risk that your transit system is likely to encounter. Measurement and
evaluation asks the transit system to look at the potential risks and determine their
frequency and seriousness.
Assessing the loss history of your own transit system, the losses of similar systems,
transit industry risk management data, and projections by risk management
professionals is an invaluable method for executing these steps.

While types of loss and liability will obviously vary from system to system, those most
commonly encountered in transit operation include:

     x    Automobile liability
     x    General liability
     x    Property losses
     x    Director and officer liability
     x    Employee liability and worker’s compensation
     x    Environmental losses

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     x    Contractual liability
     x    Business interruption
     x    Less common losses, but also those that deserve attention are violations of EPA,
          ADA, Civil Rights, OSHA, sexual harassment, environmental, procurement, and
          grant regulations.

Finding the Best Method for Coping with Your Risks

Through risk avoidance and loss prevention, LOTS will be able to either avoid or
significantly minimize certain types of losses that occur. For example, by offering
training/retraining programs, the LOTS may significantly reduce the number of accidents
that are driver related. Also, by paying careful attention to inclement weather conditions
and altering transit routes accordingly, LOTS may completely avoid weather-related
accidents/injuries.

A second method for coping with risks involves either risk retention or risk transfer.
Both of these methods rest on the assumption that in operating a transit system, some
risks are unavoidable. As a result, steps must be taken to effectively mitigate these
losses.

     x    Risk retention is the theory that it is more cost effective for transit systems to take
          direct responsibility for specified losses at a particular dollar amount. Three
          techniques of risk retention are deductibles, self-insured retentions (SIR), and
          self-insurance. The best technique(s) depend upon the size of the LOTS and the
          amount of the anticipated loss. As a general guideline, the set dollar amount for
          a deductible ranges from $500 to $5,000, and the set dollar amount for SIRs
          ranges from $15,000 to several million dollars. Self-insurance simply means
          choosing to retain loss costs at any level.

     x    Risk Transfer involves transferring financial responsibility for loss to another
          individual or company. “Hold Harmless” and indemnity in contracts clauses and
          purchasing insurance are the most effective methods of transferring risk.

Insurance

Insurance is the primary form of risk transfer utilized by both companies and individuals.
As you probably already know, insurance coverage rests on the premise that a
purchaser agrees to a set premium payment and the insurance company accepts the
purchaser’s liability and monetary loss. There are three layers of insurance coverage:

     1. Primary coverage,
     2. Excess coverage, and
     3. Umbrella coverage.

LOTS should follow their local procurement policies (see Chapter 4) when purchasing
insurance.   Specifications including the miles of vehicle operation, number of
passengers carried, loss history, and vehicle information should be given to a number of
companies to obtain comparable price quotes.
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LOTS usually focus on the following insurance categories:

     x    General Liability (accident/personal liability insurance) - Covers liability expenses
          resulting from personal injury and property damage that was incurred as a result
          of a transit vehicle.

     x    Automobile Liability – Provides protection against property damage or bodily
          injury liability as a result of operating a motor vehicle.

     x    Uninsured/Underinsured Motorist Coverage – Protects against bodily injury and
          physical damage loss from uninsured/underinsured vehicles.

     x    Automobile Physical Damage – Provides coverage for owned or leased vehicles
          that are damaged or lost as a result of collision or comprehensive risks.

     x    Building and Contents – Covers losses incurred against the structure itself and its
          contents. Agencies may need to purchase special property coverage that
          includes computers or other valuable equipment. These coverages may extend
          to loss of revenue.

     x    Director’s and Officer’s Liability – Protects directors and officers from possible
          personal monetary loss as a result of claims that are filed in reaction to their
          duties and responsibilities.

     x    Worker’s Compensation – Provides employee, job related injury coverage. State
          specifications should be followed.

     x    Professional Insurance – Protects against problems that occur as a result of
          professional advice and related service.


     Minimum Insurance Levels

     The LOTS that are part of a local municipal or county government must follow their
     locally established insurance standards and any applicable State insurance
     requirements. Many LOTS that are part of a local municipal or county government
     are part of a self-insurance program with a wide range of local government-imposed
     minimum insurance levels.

     The LOTS that own Federally-funded vehicles and other equipment must meet their
     own and the State’s minimum insurance levels which must be adequate to protect
     the Federal interest in the vehicle/equipment within the useful life for such
     vehicle/equipment as determined by State and/or Federal requirements. The
     Federal interest is not dependent on the extent of the LOTS insurance coverage or
     on the insurance adjustment received. Therefore, LOTS that maintain only minimum
     levels of insurance coverage will likely be responsible for the out-of-pocket costs to
     pay for any remaining Federal interest in the event of the “total loss” of the

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     vehicle/equipment. LOTS that are private entities and private sector operators under
     contract to public sector LOTS may be subject to additional insurance requirements,
     as described below.

         Minimum Insurance Requirements for LOTS that are Private Entities and
         Subject to the Maryland Public Service Commission Requirements

         The LOTS that are private entities and subject to PSC Operating Authority
         requirements (see Chapter 9) must meet minimum PSC-required insurance
         levels, currently:

         x    For seating capacity of 7 passengers or less:
                 o $50,000 for injury to any one person, $100,000 for injuries to two or
                    more individuals, and $20,000 for property damage; or
                 o $120,000 combined single limit.

         x    For seating capacity of 8 to 15 passengers:
                 o $75,000 for injury to any one person, $200,000 for injuries to two or
                    more individuals, and $50,000 for property damage; or
                 o $250,000 combined single limit.

         x    For seating capacity of 16 or more passengers:
                 o $75,000 for injury to any one person, $400,000 for injuries to two or
                    more individuals, and $100,000 for property damage; or
                 o $500,000 combined single limit.

         Minimum Insurance Requirements for LOTS that are Private Entities and
         that Cross State Lines

         LOTS that are private entities are required to maintain liability insurance at least
         at the highest level required for any of the States in which the transit service area
         is located. Contact information for the State agencies that regulate public motor
         carriers in the States surrounding Maryland is provided in Appendix I. Private
         operators must identify a retained legal entity or “process agent” in each State
         where operations are to be authorized (a location where legal papers can be
         served in the event that the transit agency faces legal action). The U.S. DOT
         provides a list of some of the companies providing this service at
         https://www.fmcsa.dot.gov/registration/process-agents.

         LOTS that cross State lines with vehicles seating nine or more passengers
         including the driver must meet the following minimum insurance levels as
         required under FMCSA:

              x    Interstate operators of vehicles with a seating capacity of nine-15
                   passengers (including the driver) must carry a minimum of $1.5 million
                   coverage.



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              x    Interstate operators of vehicles with a seating capacity of 16 passengers
                   (including the driver) or more must carry a minimum level of $5 million
                   coverage.

         While recipients of Sections 5307, 5310, and 5311 funds are exempted from the
         $1.5 million and $5 million insurance coverage, under 42 U.S.C. § 31138(e), you
         still must obtain insurance in the highest amount required in the States in
         which the vehicles travel, and it is recommended that you carry
         documentation of your FTA funding and this exemption granted by FMCSA on
         board all vehicles engaged in interstate travel, since State police in other States
         may be unfamiliar with this exemption.

         Medical Assistance transportation providers may also need special coverage for
         long-distance trips. Check with your insurance carrier to determine your geographic
         coverage ranges.

     Volunteers

     Individuals who volunteer their time to a transit agency should be covered under an
     insurance policy. Insurance for volunteers becomes important if a volunteer is not
     covered by worker’s compensation or if she/he injures another individual and is not
     covered by a personal automobile or liability policy.

Risk Retention Pool

Risk retention pools are based upon the cooperative effort of multiple transit agencies.
Essentially, transit agencies form a group where each participant contributes to a fund that
pays for the losses of any of the partners. During the early years of formation, participants
contribute to both a general fund and a capital fund. When the capital fund is valued at a
level that can cover the anticipated losses, then the premium is reduced and the losses can
be paid from both yearly premiums and the capital fund. As with liability coverage, losses
are paid up to a certain specified amount and excess insurance is purchased to cover the
losses that exceed that level. If losses are particularly high for one year, members may be
assessed an additional fee to cover those expenses. Participants in a risk retention pool
must be willing to make a minimum time commitment, usually five years, and must also be
responsible for the administrative/management functions.

Program Monitoring and Review

In order to maintain an effective risk management policy, it is important that your transit
agency establish a monitoring and review program. Agencies should keep summaries of
accident losses, the financial impact, and the projected financial impact. For example, a
monthly loss review can track the total number of accidents and losses that occur during the
month as well as summarize the damages and costs. An important reference tool that
should be included in the monitor and review process is an insurance summary. Easy
accessibility to a file which lists your policy carrier, policy number, areas of coverage, policy
limits, deductibles or SIRs, policy effective dates, premium amounts and payment terms and
insurance agents can be invaluable in the midst of a risk management crisis.



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ADDITIONAL RESOURCES

FTA

     x    Notice of Proposed Rulemaking for 49 CFR Part 673, Public Transportation
          Agency Safety Plan - https://www.transit.dot.gov/regulations-
          guidance/rulemaking/2016-02017 (Docket ID: FTA-2015-0021 -
          https://www.regulations.gov/docket?D=FTA-2015-0021)

     x    National Public Transportation Safety Plan, January 2017 -
          https://www.transit.dot.gov/regulations-and-guidance/safety/national-public-
          transportation-safety-plan

     x    FTA rulemaking web page - https://www.transit.dot.gov/regulations-
          guidance/rulemaking

     x    FTA Safety and Oversight website - https://safety.fta.dot.gov/

Safety, Security and Emergency Preparedness Resources

     x    National Transit Institute (NTI):
             o Safety and security courses - http://www.ntionline.com/courses/
             o Safety and security educational resources -
                http://www.ntionline.com/educational-resources/

     x    Center for Urban Transportation Research (CUTR) at the University of South
          Florida (CUTR) transit security library, includes best practices --
          http://www3.cutr.usf.edu/security/

     x    Paratransit Emergency Preparedness and Operations Handbook, TCRP Report
          160 (2013) - http://www.trb.org/Main/Blurbs/168321.aspx

     x    Communication with Vulnerable Populations: A Transportation and Emergency
          Management Toolkit, TCRP Report 150 (2011) -
          http://www.trb.org/Publications/Blurbs/166060.aspx

     x    National RTAP – Technical briefs, webinars, and other resources available
          through the resource library – http://nationalrtap.org

     x    National RTAP Training Module: Emergency Procedures for Rural Transit Drivers
          (1990):
          o Instructors Guide –
             http://demopro.nationalrtap.org/emailResource.aspx?design=1&fileid=553
          o Learners Module –
             http://demopro.nationalrtap.org/emailResource.aspx?design=1&fileid=552




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     x    Your Ticket to Safety - Bloodborne Pathogen Awareness, Iowa DOT
          o Video (1993) - https://vimeo.com/26325921
          o Handbook (2001) - http://www.iowadot.gov/transit/training/bb_pathogens.pdf

     x    Development and Implementation of a Security and Emergency Preparedness
          Plan (APTA Security Risk Mgt. Recommended Practice RP-001-09 Rev 1)
          www.apta.com/resources/standards/Documents/APTA-SS-SRM-RP-001-09.pdf

     x    Bus Stop Design and Placement Security Considerations (APTA Security
          Recommended Practice RP-008-10) -
          www.apta.com/resources/standards/Documents/APTA-SS-SIS-RP-008-10.pdf

     x    Security & Emergency Management Aspects of Special Event Service (APTA
          Emergency Management Standard SEM-S-003-08 Rev 1) -
          www.apta.com/resources/standards/Documents/APTA-SS-SEM-S-003-08.pdf

     x    Continuity of Operations Plan (APTA Emergency Management Standard SEM-S-
          001-08 Rev 1) - www.apta.com/resources/standards/Documents/APTA-SS-SEM-
          S-001-08.pdf

     x    Transit Incident Drills and Exercises (APTA Emergency Management Standard
          SEM-S-004-09 Rev 1) - www.apta.com/resources/standards/Documents/APTA-
          SS-SEM-S-004-09.pdf

     x    Additional APTA Standards related to security and emergency management can
          be found at -
          http://www.apta.com/resources/standards/security/Pages/default.aspx

Defensive Driving and Train-the-Trainer Courses

     x    Transportation Safety Institute (TSI) Instructor's Course for Transit Trainers -
          https://tsi-dot.csod.com/LMS/catalog/Welcome.aspx?tab_page_id=-
          67&tab_id=20000325

     x    National RTAP Training Module: Safety Training and Rural Transit (START)
          (2015):
             o Instructors Guide –
                http://demopro.nationalrtap.org/emailResource.aspx?design=1&fileid=171
             o Learners Module –
                http://demopro.nationalrtap.org/emailResource.aspx?design=1&fileid=184
          There is also an interactive online version of this course.

     x    National Safety Council Defensive Driving courses - http://www.nsc.org/




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Shop Safety and Environmental Hazards

     x    National RTAP Training Module: Top Shops: Emergency Management in Vehicle
          Maintenance Facilities (2015):
          o Instructors Guide –
             http://demopro.nationalrtap.org/emailResource.aspx?design=1&fileid=1218
          o Learners Module –
             http://demopro.nationalrtap.org/emailResource.aspx?design=1&fileid=1217
          o Emergency Management Resources –
             http://demopro.nationalrtap.org/emailResource.aspx?design=1&fileid=1219
          o Managers’ Emergency Management Resources –
             http://demopro.nationalrtap.org/emailResource.aspx?design=1&fileid=1220
          There is also an interactive online version of this course.

     x    Occupational Safety and Health Administration (OSHA) – http://www.osha.gov/

     x    Maryland Occupational Safety and Health (MOSH) -
          http://www.dllr.state.md.us/labor/mosh/

     x    OSHA standards for Hazard Communication -
          http://www.osha.gov/dsg/hazcom/standards.html

     x    Emergency Planning and Community Right-to-Know Act -
          https://www.epa.gov/epcra

     x    Resource Conservation and Recovery Act- https://www.epa.gov/rcra

FMCSA

     Federal Motor Carrier Safety Administration (FMCSA) -- www.fmcsa.dot.gov
     Also see lists of FMCSA links at the end of Chapters 8 and 9.

Risk Management

     x    National RTAP Technical Brief: “Risk Management for Rural Transit Systems”
          (updated 2009) - http://demopro.nationalrtap.org/emailResource.aspx?fileid=48

     x    National RTAP Training Module: Risk Management for Rural Transit Managers
          (1993):
          o Training Guide –
             http://demopro.nationalrtap.org/emailResource.aspx?design=1&fileid=193
          o Resource Handbook –
             http://demopro.nationalrtap.org/emailResource.aspx?design=1&fileid=194

     x    A Manual on Risk Management for the Public Transit Industry, APTA (1996) -
          http://ntl.bts.gov/lib/12000/12700/12757/12757.pdf


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                            CHAPTER 11: SUMMARY CHECKLIST

    Develop and implement a safety and security program that complies with FTA and
     MTA requirements.
    Hire employees who will provide safe services.
    Conduct Federally-required drug and alcohol testing of employees and volunteers
     who perform safety-sensitive job functions.
    Develop a safety handbook and distribute to all employees.
    Ensure that all employees are performing their jobs and handling accidents,
     incidents, and emergency situations as safely as possible. Provide training for new
     hires as well as periodic refresher training.
    Ensure a safe workplace by complying with OSHA standards. If you are unsure of
     how well your workplace complies, consider requesting an OSHA consultation.
    If you maintain your vehicles, establish safe maintenance shop policies and
     practices.
    Be prepared for emergencies by developing an emergency plan, training all staff in
     proper response techniques, ensuring that all emergency exits are clearly signed
     and free from obstructions, and establishing procedures for public and customer
     information.
    Ensure that emergency plans do not discriminate against populations protected
     under Title VI or the ADA.
    Establish accident/incident procedures. Report any fatalities and other reportable
     accidents/incidents to the MTA immediately.
    Develop an employee incentive program to promote safe driving.
    Require CDL holders to report violations.
    Establish and inform customers of passenger safety policies.
    Avoid overloading vehicles. Determine maximum standee capacity for each type of
     vehicle in your fleet.
    Locate and design bus stops to minimize risks for vehicles and pedestrians.
    Establish fare collection and cash handling procedures that minimize security risks.
    Ensure that administrative, operating, and vehicle storage areas have an appropriate
     level of security and surveillance given conditions in your community.
    Locate bus stops with security issues in mind. Whenever feasible, choose areas
     which are well-lit (or consider installing lighting) and near activity centers.

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    Section 5307 recipients must spend one percent of these funds annually for transit
     security projects or certify that this is not necessary.
    Establish a comprehensive risk management plan for your agency. Decide how
     much risk is worth retaining and how much financial responsibility you can transfer.
    Meet MTA minimum insurance requirements.
    If you are a private entity, insure your agency to a level that meets or exceeds PSC
     requirements.
    If you are a private operator and operate out-of-state, ensure that your agency is
     insured adequately to meet the minimum requirements of the other State(s).
    Establish a loss monitoring and review program.
    If volunteers are used, insure them.




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  The Americans with Disabilities Act (ADA) is a Federal civil rights law that
  protects individuals with disabilities from discrimination.    This chapter
  summarizes the public transportation requirements that are relevant for
  Maryland’s LOTS. These requirements apply to public entities as well as to
  private entities considered to be “standing in the shoes” of public entities
  (including private operators of LOTS-funded service). The requirements are
  organized as follows:

        x    Introduction
        x    Documentation
        x    Vehicles
        x    General Service Requirements
        x    Fixed-Route Service Requirements
        x    Complementary Paratransit Requirements
        x    Other Demand-Response Transportation
        x    Employment Practices
        x    Facilities Accessibility

  Note that accessibility in Emergency Preparedness practices is addressed in
  Chapter 13 of this manual.




INTRODUCTION

The ADA prohibits discrimination against individuals with disabilities in the areas of
employment, public services including transportation, public accommodations including
services operated by private entities, and telecommunications. This Federal law sets
forth specific requirements for public transportation services, vehicle and facility
accessibility and the provision of complementary paratransit service. The regulations
were codified by the U.S. DOT in:

    x       49 CFR Part 37--Transportation Services for Individuals with Disabilities --
            http://www.ecfr.gov/cgi-bin/text-idx?tpl=/ecfrbrowse/Title49/49cfr37_main_02.tpl

    x       49 CFR Part 38--Accessibility Specifications for Transportation Vehicles --
            http://www.ecfr.gov/cgi-bin/text-idx?tpl=/ecfrbrowse/Title49/49cfr38_main_02.tpl

Recipients of Federal funding are also subject to the requirements of Section 504,
codified in 49 CFR Part 27--Nondiscrimination on the Basis of Disability in Programs

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and Activities Receiving or Benefitting from Federal Financial Assistance --
http://www.ecfr.gov/cgi-bin/text-idx?tpl=/ecfrbrowse/Title49/49cfr27_main_02.tpl

In October 2015, FTA published circular 4710.1, “Americans with Disabilities Act (ADA):
Guidance,” which provides FTA grantees and subrecipients with comprehensive
guidance on all 49 CFR Parts 27, 37, and 38 (as well as Part 39, which covers
passenger vessels such as ferries).           https://www.transit.dot.gov/regulations-and-
guidance/fta-circulars/americans-disabilities-act-guidance-pdf

Links to each of the above regulations and FTA guidance can be found on the FTA
website at https://www.transit.dot.gov/ada.

The U.S. Architectural and Transportation Barriers Compliance Board (commonly
known as the Access Board), develops and maintains the accessibility design criteria on
which the U.S. DOT regulations are based, including:

     x    The ADA Accessibility Guidelines (ADAAG) for Vehicles -- https://www.access-
          board.gov/guidelines-and-standards/transportation/vehicles/about-adaag-for-
          transportation-vehicles (codified by the U.S. DOT as 49 CFR Part 38)

     x    The ADA and Architectural Barrier Acts (ABA) Accessibility Guidelines (ADA-
          ABA Guidelines) for Buildings and Facilities -- https://www.access-
          board.gov/guidelines-and-standards/buildings-and-sites. Guidelines specific to
          transit facilities are found here: https://www.access-board.gov/guidelines-and-
          standards/buildings-and-sites/about-the-ada-standards/ada-standards/chapter-8-
          special-rooms,-spaces,-and-elements#810 Transportation Facilities.

     x    Proposed Guidelines for Public Rights-of-Way are still under development by the
          Access Board. The 2011 Draft Guidelines are recommended for the pedestrian
          environment around bus stops. https://www.access-board.gov/guidelines-and-
          standards/streets-sidewalks/public-rights-of-way

The fundamental requirements of these regulations that apply to the LOTS are
summarized in this chapter.


DOCUMENTATION OF COMPLIANCE: WRITTEN POLICIES, PROCEDURES, AND
RECORDKEEPING REQUIREMENTS

Written Policies and Procedures

Federal ADA/Section 504 policies must be included in your organization’s written
policies, and staff must be informed and trained to ensure the policies are followed. The
following templates of ADA policies tailored to the different kinds of LOTS services are
attached at the end of this document:




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     x    Attachment 12.A.1 is for the LOTS that operate fixed-route services and
          paratransit services, as well as the Section 5311(f) ICB subrecipients (LOTS that
          operate intercity bus service)
     x    Attachment 12.A.2 is for the LOTS that operate route-deviation service
     x    Attachment 12.A.3 is for the LOTS that operate demand-response service that is
          open to the public

Note that when MTA conducts compliance reviews of its subrecipients, the reviewer
looks at the organization’s written ADA policies for documentation of compliance with
Federal and State requirements, as well as documentation that verifies the LOTS is
following its established written ADA policies.

Compliance Documentation Requirements

The LOTS are obligated to document their compliance with the ADA through written
policies and procedures, tracking methods and recordkeeping related to specific areas
of the regulations, public outreach activities, and other documentation.

There are two checklists of required documentation materials and recordkeeping
activities attached to the end of this chapter:

     x    Attachment 12.B: ADA Service Provision Compliance Documentation
          Requirements - These requirements apply to ALL fixed-route and demand-
          response services (unless otherwise noted). The requirements listed in this
          checklist are described throughout this chapter, within the sections named
          “Vehicles,”   “General   Service   Requirements,”    “Fixed-Route    Service
          Requirements,” and “Other Demand-Response Transportation.”

     x    Attachment 12.C: ADA Complementary Paratransit Scheduling Practices
          and Capacity Constraints Compliance Documentation Requirements -
          These requirements apply ONLY to ADA complementary paratransit service
          (which is defined later in this chapter). The requirements listed in this checklist
          are described within the section named “Complementary Paratransit
          Requirements,” specifically under “Service Requirements.”

The LOTS are required to maintain this documentation in their grant files and to compile
and make this documentation available to MTA or FTA upon request for quarterly site
visits, compliance reviews, ADA paratransit reviews, and investigation of any ADA-
related complaints.


VEHICLES

Minimum vehicle accessibility specifications for LOTS vehicles are defined in 49 CFR
Part 38, Accessibility Specifications for Transportation Vehicles, based on the ADAAG,
as noted above. Accessibility features for buses and vans are briefly summarized
below; for complete requirements and details, consult the regulations and FTA Circular


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4710.1. MTA can assist LOTS in developing vehicle specifications that meet ADA
accessibility requirements.

Summary of Accessibility Features in Buses and Vans

This summary addresses the physical features to be installed in vehicles. Following the
summary of accessibility features, ADA requirements on how to use accessible vehicles
in specific types of service are described, as well as ADA requirements to keep lifts in
working order.

     x    Accommodation of Wheelchairs – A transportation provider must carry the
          wheelchair and occupant if the lift and vehicle can accommodate the wheelchair
          and occupant. The U.S. DOT defines a wheelchair as “a mobility aid belonging
          to any class of three- or more-wheeled devices, usable indoors, designed or
          modified for and used by individuals with mobility impairments, whether operated
          manually or powered.”
     x    Accessible Entry – A lift or ramp is needed to enable someone who cannot
          climb stairs in getting from the sidewalk to the interior of the vehicle. For lifts, the
          platform dimensions and load must accommodate an individual seated in a
          wheelchair. Based on the current Federal guidelines and standards, the lift or
          ramp must be able to accommodate at least 600 pounds and wheelchairs that
          are 30 inches in width and 48 inches in length measured two inches above the
          ground. For ramps, the dimensions must meet maximum slope and minimum
          load specifications. Both lifts and ramps have requirements for surface
          materials, handrails, and raised edges for safety as well as threshold clearances.
     x    Doors, Steps, and Thresholds – Doors, steps, and thresholds also have
          requirements for slip resistance, color contrast, and door height.
     x    Space for Maneuvering – There must be adequate clearances at the boarding
          location and through the aisle for an individual using a wheelchair to get to the
          securement locations. This includes positioning the farebox so that it does not
          obstruct traffic in the vestibule.
     x    Securement Areas – There must be at least one securement area for vehicles
          less than 22 feet in length and at least two securement areas in larger vehicles.
          Securement locations must meet minimum dimensions, and in vehicles 22 feet or
          greater, at least one must be forward-facing. Securement areas may have fold-
          down seats to accommodate other passengers when a wheelchair or mobility aid
          is not occupying the area.
     x    Securement Device – The regulations specify minimum design load based on
          the gross vehicle weight rating of the vehicle, and the securement device must
          limit movement of the mobility aid to two inches or less under normal operating
          conditions.
     x    Seat Belt and Shoulder Harness – In addition to the securement system for the
          wheelchair, each securement must have a seatbelt and shoulder harness to
          secure to an individual. The seatbelt is to be used in addition to, never in lieu of,
          the securement device.

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     x    Priority Seating – Vehicles must contain signage indicating that seats in the
          front of the vehicle, including at least one set of forward-facing seats, are priority
          seats for individuals with disabilities, and that other passengers should make
          such seats available to those who wish to use them. Such signage must be
          posted at the securement location.           This signage must meet character
          accessibility standards as designated in 49 CFR Part 38.
     x    Interior Circulation, Handrails, and Stanchions – The regulations indicate
          design standards for interior clearances as well as support rails and poles.
     x    Lighting – Lighting standards are indicated for stairways and doorways.

In addition, FTA/MTA requires that LOTS include the following additional equipment on
their vehicle procurements:

     x    Public Address (PA) System – All vehicles longer than 22 feet to be used in
          fixed-route or route-deviation service must have an onboard public address
          system for stop announcements (required for fixed-route services, as explained
          on page 12-13) and provide other passenger information within the vehicle.
          (Required for multiple-stop, fixed-route service).
     x    Automated Announcement Systems – Large fixed-route buses operated by
          providers of public transportation that operate 100 or more buses in annual
          maximum service for all fixed-route bus modes must have automated
          announcement systems with both audible and visible components.
     x    Stop Request System – All vehicles longer than 22 feet to be used in multiple
          stop fixed-route services must provide controls adjacent to the securement area
          for requesting stops and alerting the driver that a mobility aid user wishes to
          disembark. Auditory and visual indications that the request has been made are
          also recommended.
     x    Destination and Route Signs – All vehicles procured which display exterior
          route and designation information (e.g. all vehicles to be used in fixed-route, or
          route-deviation service) must meet accessibility requirements for lighting and
          character dimensions as detailed in the ADA regulations and must have
          illuminated signs on the front and boarding side of the vehicle.

Vehicles for Use in Fixed-Route and Route-Deviation Service

All new vehicles procured for fixed-route operations must meet ADA accessibility
requirements. Procurement of used or leased vehicles operated in fixed-route service
should also meet these accessibility requirements. This rule must also be followed for
vehicles procured for route-deviation service that includes fixed stops and timepoints at
which the vehicle can be boarded without advanced request. Should any LOTS seek to
procure non-accessible used or leased vehicles, extensive good faith efforts must be
made by the LOTS to demonstrate that the non-ADA-compliant used or leased vehicle
procurement is warranted. MTA approval must also be obtained before non-ADA-
compliant used or leased vehicles can be purchased or placed in service.


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New routes may not be introduced into the system unless they are operated using
accessible vehicles.

Vehicles for Use in Demand-Response Service

All new vehicles procured by LOTS for their demand-response services, using any
Federal or State ADA or SSTAP funding, must be ADA accessible. LOTS may use non-
ADA accessible vehicles in their demand-response service fleet; however, each LOTS
must certify annually in their ATP, that their system, when viewed in its entirety,
provides a level of service to customers with disabilities equivalent to the level of service
available to customers without disabilities. This certification must be reviewed and
approved by the MTA before you will be allowed to purchase a non-lift-equipped vehicle
with FTA/MTA grant funds

Maintenance of Accessibility Features in Good Working Order

Accessibility equipment on your vehicles must be maintained in good working order.
This includes vehicle lift and/or ramps and any other accessibility equipment such as
tie-down and securement area systems, annunciator and /or PA systems, etc. Each
LOTS must perform and document their preventive maintenance (PM) according to the
equipment manufacturer’s specifications, training drivers in proper use, cycling lifts as
part of every pre-trip inspection, removing vehicles from service when accessibility
equipment is not working properly, and performing repairs on a timely basis. If there is
no spare vehicle to replace a vehicle with an inoperable lift, that vehicle may be kept in
service with the inoperable lift for a maximum of:

     x    Three days in areas with populations above 50,000 individuals, and
     x    Five days in areas with populations of 50,000 or less.


GENERAL SERVICE REQUIREMENTS

Following are some requirements of ADA that apply to your service regardless of
whether you are providing fixed-route, route-deviation, or demand-response service.

Written Policies

As discussed earlier in this chapter, ADA policies need to be included in your
organization’s written policies, and staff need to be informed and trained to ensure the
policies are followed. Sample policies are provided in Attachments 12.A.1 through
12.A.3 and required ADA policies are discussed below.
Use of Lift

Drivers must deploy the lift to allow customers using wheelchairs to board, as well as
upon request by other customers who cannot board using the stairs (such as customers
who use walkers and other mobility aids) due to their disability. This includes permitting
standees on the lift. A transportation provider cannot require that an individual back his
or her wheelchair onto the lift if the individual prefers to board it facing forward.

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Accommodating Wheelchairs and Other Mobility Devices

If your vehicle lift/ramp and securement areas can accommodate a mobility device, you
are generally obligated to transport the device (and its user).

         Non-Traditional Mobility Device Accommodation

         When the U.S. DOT ADA accessibility guidelines for vehicles (49 CFR Part 38)
         were first issued, they required that vehicles be designed to accommodate, at a
         minimum, what were previously referred to as “common wheelchairs” (defined
         earlier in this chapter under “Summary of Accessibility Features in Buses and
         Vans” in footnote 2).

         The design of wheelchairs and other mobility devices has evolved over time and
         there are many more variations in use than there were in 1990. Today,
         individuals with disabilities use a wide variety of non-traditional mobility devices,
         including scooters, wheelchairs with as many as six wheels, larger and heavier
         wheelchairs, and wheeled walkers. Transportation providers are obligated to
         accommodate them if they fit on the vehicle and do not obstruct the aisle or pose
         a “direct threat”1 to the safety of others on the vehicle.

         Amendments to the ADA (49 CFR, Parts 37 and 38), issued in 2011,2 now define
         a wheelchair as “a mobility aid belonging to any class of three- or more-wheeled
         devices, usable indoors, designed or modified for and used by individuals with
         mobility impairments, whether operated manually or powered.” This definition
         recognizes the evolution of mobility devices that may exceed the dimensions of
         what was previously referred to in the regulations as a “common wheelchair.”
         These amendments further eliminate the operational role of the “common
         wheelchair,” and require transportation providers to carry a wheelchair and its
         user, as long as the lift can accommodate the size and weight of the wheelchair
         and its user, and there is space for the wheelchair on the vehicle.

         The amendments note that many vehicle lifts and ramps are manufactured to
         accommodate mobility devices that are heavier and/or larger than what was
         originally defined as a “common wheelchair.”3

1
 Defined in 49 CFR Part 37 as “a significant risk to the health or safety of others that cannot be eliminated by a
modification of policies, practices or procedures, or by the provision of auxiliary aids or services.”
2
  U.S. DOT Transportation for Individuals with Disabilities at Intercity, Commuter, and High Speed Passenger
Railroad Station Platforms; Miscellaneous Amendments -- http://www.gpo.gov/fdsys/pkg/FR-2011-09-19/pdf/2011-
23576.pdf, § 37.165 Lift and Securement Use.
3
  According to the amendments, the DOT continues to believe that the standards, based on Access Board guidelines,
for the design and construction of transportation vehicles are appropriate. However, for operational purposes, the
ADA amendments, effective October 19, 2011, require transportation providers to accommodate larger or heavier
wheelchairs and mobility devices than the minimum “common wheelchair,” where vehicle equipment is designed to
accommodate larger or heavier wheelchairs and mobility devices. The Access Board recently updated the design
guidelines for buses and vans (36 CFR Part 1192) which now simply reference the FMVSS specification for public
use lifts (49 CFR 571.403 and 571.404). The FMVSS requires lifts to accommodate a minimum of 600 pounds and
have minimum dimensions of 30 by 48 inches.

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         U.S. DOT has also issued disability law guidance concerning use of Segways
         (two-wheeled devices) on transportation vehicles. This guidance is posted on
         the FTA website as https://www.transit.dot.gov/regulations-and-guidance/civil-
         rights-ada/use-segways-transportation-vehicles.    While not considered
         wheelchairs, U.S. DOT indicates that in some cases Segways need to be
         accommodated.

         For guidance on specific situations and mobility devices, LOTS are encouraged
         to contact the FTA Office of Civil Rights at 1-888-446-4511 (toll-free). Technical
         assistance on accommodating mobility devices is also available through the
         National Aging and Disability Transportation Center (http://www.nadtc.org/ - toll-
         free: 1-866-983-3222).

         Wheelchair Securement

         Transportation providers may require that wheelchairs be secured on board the
         vehicle; however, customers may not be denied service for the reason that their
         wheelchair or scooter cannot be secured.

         On the other hand, if the transportation provider has a policy that wheelchairs be
         secured, and a customer refuses to permit his or her chair be secured, the
         transportation provider may deny service under this circumstance.

         In the event a customer is willing to have his or her wheelchair secured, but the
         wheelchair cannot be secured (but can fit within the securement location), it is
         recommended that the driver explain to the customer that the wheelchair is not
         able to be secured and allow the customer to make the choice as to whether or
         not to ride.

         Further, it is recommended that LOTS offer to work with the customer to identify
         and mark possible securement points and/or provide tether straps to attach to the
         wheelchair frame that can then be secured using the vehicle’s securement
         system. See the list of Additional Resources at the end of this chapter for links to
         examples.

         For ADA compliance and complaint tracking purposes, LOTS are required to
         document any instances when a customer refuses to permit his or her wheelchair
         to be secured, as well as when securement of a customer’s wheelchair is not
         possible, and whether or not the passenger trip was provided. Documentation of
         any efforts to work with the customer to find a securement solution could also be
         helpful in the event of an accident in which the customer’s unsecured wheelchair
         results in an injury.

         Seatbelts

         Customers using wheelchairs cannot be required to wear seatbelts unless other
         customers are subject to the same requirement. Under no circumstances should
         a vehicle-installed seatbelt be secured on a customer in a wheelchair or scooter

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         that has not been properly secured to the vehicle, due to the risk of injury to the
         passenger.

Use of Accessibility Equipment and Passenger Assistance

Transportation providers are required to make use of accessibility-related equipment on
vehicles, including deployment of the lift or ramp and use of the securement system
(under 49 CFR Part 37, § 37.167(e)). Also, personnel must be trained to proficiency to
operate vehicles and equipment safely and properly assist and treat individuals with
disabilities who use the service in a respectful and courteous way, with appropriate
attention given to the difference among individuals with disabilities (§ 37.173). This
training must be documented.

Further, drivers of ADA Complementary Paratransit (described later in this chapter),
which is “origin-to-destination” service, may at times need to offer assistance that goes
beyond the curb (i.e., door-to-door). However, the regulations do not require drivers to
take actions that would be clearly unsafe, fundamentally alter the nature of the service,
or create undue burdens.4

Service Animals

Service animals must be permitted to accompany individuals with disabilities on
vehicles.

The U.S. DOT ADA regulations define service animals as “any guide dog, signal dog, or
other animal individually trained to work or perform tasks for an individual with a
disability, including, but not limited to, guiding individuals with impaired vision, alerting
individuals with impaired hearing to intruders or sounds, providing minimal protection or
rescue work, pulling a wheelchair, or fetching dropped items.”

Service animals are usually dogs, although other types of animals are sometimes
trained to assist individuals with disabilities. A transit provider may ask if an animal is a
service animal or ask what tasks the animal has been trained to perform, but cannot
require special ID cards or harnesses for the animal or ask about the individual’s
disability.

FTA has stated that individuals are responsible for maintaining control over their
animals and caring for them at all times, and that a transportation provider does not
have to transport an animal that is not under control or poses a direct threat to the
health or safety of others. For example, any service animal that displays vicious
behavior towards other passengers may be denied service. However, you may not
make assumptions about how a particular animal is likely to behave based on past
experience with other animals. Each situation must be considered individually.



4
    U.S. DOT Disability Law Guidance, “Origin-to-Destination Service,” issued September             1,   2005,
https://www.transit.dot.gov/regulations-and-guidance/civil-rights-ada/origin-destination-service.

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A good resource on accommodating service animals is ESPA’s “Frequently Asked
Questions about Service Animals,” downloadable at http://www.nadtc.org/wp-
content/uploads/NADTC-Frequently-Asked-Questions-about-Service-Animals.pdf.

Portable Oxygen

Individuals with disabilities must be permitted to travel with a respirator, concentrator, or
portable oxygen supply.

Making Reasonable Accommodations

In addition to specific transportation requirements detailed in 49 CFR Part 37, the       ADA
has other, more general requirements in the U.S. Department of Justice (DOJ)              ADA
regulation for public entities under Title II, Subpart A, and for private entities that   offer
places of public accommodation (including social service agencies and health              care
providers, but excluding religious organizations) under Title III.

Effective July 13, 2015, the U.S. DOT issued a final rule for 49 CFR Parts 27 and 37 on
reasonable modification of policies and practices, specifically requiring public entities
providing designated public transportation services (including fixed-route, demand-
response,     and    ADA      complementary     paratransit)    to   make      reasonable
modifications/accommodations to policies and practices to ensure program accessibility.
Exceptions are allowed only under certain conditions, including when the
modification/accommodation would cause a direct threat to the health or safety of
others, would result in a fundamental alteration of the service, would not actually be
necessary in order for the individual with a disability to access the entity’s service, or
(for recipients of Federal financial assistance) would result in an undue financial and
administrative burden.

Both public and private entities are required to make reasonable modifications to
policies, practices, and procedures when such modifications are necessary to avoid
discrimination on the basis of disability, unless the entity can demonstrate that making
the modifications would fundamentally alter the nature of the service, program, or
activity. For example, a transportation service with a “no eating on the bus” policy must
allow a modification of the policy in the case of an individual with diabetes who needs to
eat on a particular schedule.

Complaint Procedures

All LOTS must have a procedure for responding to and tracking ADA-related
complaints, including identification of a responsible party and written documentation of
complaints and their resolution. Passengers should also be made aware of the
complaint procedures for ADA-related complaints. A log of AA complaints must be
submitted to the OLTS on a quarterly basis.




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Public Information Requirements

Adequate information about transportation services must be made available to
individuals with disabilities in formats that they are able to understand. All LOTS must
make their public transportation service information available to individuals with
disabilities in readily accessible formats that are easy to use and understand. This can
be accomplished through any number of means including the agency’s web site and
service brochures. This includes the provision of audio and large print formats for
individuals with vision impairments, or electronic formats that can be made accessible
by screen reader technology. The availability of braille is not specifically required,
although it may be recommended if requested by customers.


FIXED-ROUTE SERVICE REQUIREMENTS

The following requirements apply to fixed-route service, and should also be addressed
for route-deviation service that includes fixed stops and timepoints at which the vehicle
can be boarded without advanced request.

Distinguishing Between Fixed-Route and Route-Deviation Services

Fixed-route services operate along a prescribed path on a fixed schedule, serving pre-
established stops. Some fixed-route services also make flag stops (stopping along the
fixed route upon request).

Route-deviation service, also referred to as deviated fixed-route or flex-route, is a hybrid
service which provides demand-response service along a route that operates on a
general fixed schedule, serving a limited number of pre-established stops (timepoints),
with flexibility to deviate off the regular route to pick up and discharge customers within
a limited corridor.

Route-deviation can take many forms depending upon the characteristics of the local
service, such as (but not limited to):

     x    How far off of the regular route it will deviate (for example, one-quarter of a mile
          or three-quarters of a mile),
     x    How far in advance a deviation must be requested,
     x    Additional fare for the deviation,
     x    Who is eligible to request a deviation (i.e., can anyone request or is it limited to
          only individuals with disabilities?), and
     x    Whether or not flag stops are permitted along the regular route.

FTA has determined that service which will deviate for all members of the general
public (i.e., not limited to individuals with disabilities) does not have to be
complemented by ADA paratransit services. However, LOTS which operate this type of
service may be subject to additional scrutiny by FTA and MTA to ensure that their ADA
obligations are being met, and must make route-deviation service information readily
available to the general public and individuals with disabilities.
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Routes which deviate only for individuals with disabilities - for which all other riders must
board along the regular route - are regarded by FTA/MTA as fixed-route services, and
are obligated to provide ADA paratransit services in addition to the fixed-route service.

Vehicle Accessibility

As previously stated, all new vehicles purchased with Federal and/or State funds for
fixed-route services, deviated fixed-route services (including commuter services), and
demand-response services must be accessible.

It is MTA’s expectation that no public transit providers in Maryland are operating an
inaccessible vehicle on their fixed-route or deviated fixed-route service.

If for some reason you find your organization operating an inaccessible vehicle on your
fixed-route or deviated fixed-route service, contact your MTA Regional Planner
immediately.

New routes may not be introduced into the system unless they are operated using
accessible vehicles.

Bus Stop Accessibility

Each bus stop location should be chosen such that, to the maximum extent practicable,
the area where lift or ramp is to be deployed is accessible. Further, any bus stop
improvements (i.e., installation of a shelter, landing pad/sidewalk) must meet ADA
standards for accessibility and comply with ADA requirements. ADA bus stop
accessibility is summarized below. Bus stop location and design characteristics are
covered in more detail in Chapter 7 (Facilities Development).

In order for a bus stop to be accessible to a customer in a wheelchair, it must have a
firm, stable, level landing surface at least eight feet deep (measured from the curb
perpendicular to the street) and five feet wide (measured along the curb parallel to the
street). In addition, accessible pedestrian connections (including sidewalks and curb
cuts) between the bus stop and nearby destinations are essential for full customer
access.

LOTS which undertake any physical improvements to a stop location (such as the
construction of a boarding area or sidewalk, or installation of a shelter) must ensure that
the improved bus stop meets these minimum standards.
If a LOTS desires simply to post a bus stop sign to an existing pole, or place a pole in
the ground on which to affix a bus stop sign (i.e., establish a new stop that does not
involve construction of a sidewalk, shelter, landing pad, etc.), then the stop does not
need to be made accessible.

However, it is cautioned that placing a bus stop pole in the ground could create an
additional paratransit obligation if the lift or ramp cannot be deployed at that stop. For
LOTS operating fixed-route service, this means that ADA paratransit must be provided
to riders that desire to board/alight the bus at any stop where the lift cannot be

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deployed. (The riders cannot simply be directed to the next accessible bus stop.) This
may increase the demand for ADA paratransit service by customers with disabilities
who would be able to use fixed-route service if the stop was accessible, which would
result in increased paratransit operating costs.

It is strongly recommended that, to the extent possible given existing pedestrian
infrastructure, an accessible location should be chosen for any newly established stops
that do not involve construction. If after exhausting all efforts to identify an accessible
stop location, an accessible location is not available for a new stop due to sidewalk
deficiencies, a basic stop (i.e., simple placement of pole and sign) may be established.
However, if any physical improvements are made to the stop (such as installation of a
shelter or landing pad), the stop must then be made accessible.

Stop Identification Announcements

Announcements must be made to customers on board fixed and deviated routes to help
orient individuals with visual impairments and other disabilities as to their location along
the route. These announcements must be made at least at transfer points, other major
intersections and destinations, and any stop upon request. Technology exists to
provide this service automatically; if the cost of such technology is prohibitive, drivers
need to make these announcements. Your agency should have a written policy and
develop lists of stops which drivers are required to announce on board each route.

As noted on page 12-5, MTA requires that vehicles purchased for use in fixed and
deviated routes be equipped with an on-board public address system to ensure that
interior stop announcements are audible throughout the vehicle.

Route Identification at Shared Stops

At stops served by more than one route, individuals with visual impairments or other
disabilities must be provided with a means to identify the proper vehicle to enter or be
identified to the vehicle operator as an individual seeking a particular route. Technology
exists to automatically provide exterior announcements; however, the cost of such
technology can be prohibitive. For many small systems, the simplest method for
meeting this requirement is for drivers to announce their route to passengers waiting at
any shared stop. Your agency should have a written policy and develop lists of stops at
which drivers are required to announce their route to waiting customers.
Another “low-tech” alternative in use in some communities is to provide customers with
a set of cards or small signs that they can use to identify themselves to drivers. This
method works well in some communities; in others, it has been controversial in that it
requires individuals with disabilities to draw attention to themselves. Decisions on using
this type of approach should be made with input from the local disability community.

Travel Training

Though not a requirement, travel training is recommended for all fixed-route systems.
Educating customers to use your fixed-route service can substantially reduce your
complementary paratransit requirements, which will now be described.

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For more information on travel training, contact:

     x    Maryland TRIP/The Center for Mobility Equity - http://www.mdtrip.org/learn-to-
          ride/travel-training/
     x    Association of Travel Instruction – www.travelinstruction.org
     x    National Aging and Disability Resource Center – http://www.nadtc.org/
     x    Easterseals Project Action Consulting - http://www.projectaction.com/


COMPLEMENTARY PARATRANSIT REQUIREMENTS

LOTS systems that provide fixed-route services must also provide a paratransit service
that complements the fixed-route service for individuals with disabilities who are unable
to independently use the fixed-route service because their disability prevents it. The
ADA regulations specifically define a narrow population of customers who are entitled to
this service, as well as the minimum service characteristics that must be met for this
service to be considered equivalent to the fixed-route service it is intended to
complement.

Fixed-route services that are considered commuter services are exempt from ADA
complementary paratransit requirements. Commuter routes are characterized by
service predominantly in one direction during peak periods, limited stops, use of multi-
ride tickets, and routes of extended length, usually between a central business district
(or employment center) and outlying suburbs or other residential areas. Any LOTS
planning to provide commuter bus routes utilizing Federal and State funding must
receive MTA approval for this exemption.

Paratransit Planning Requirements

Changes to your fixed-route services may well result in changes to your complementary
paratransit requirements. Each time you plan a fixed-route service change, be sure to
revise the service characteristics described below to determine any corresponding
changes that must be made to your complementary paratransit services. Plans for and
changes to your complementary paratransit services and policies must be developed in
consultation with individuals with disabilities.

Eligibility

The ADA defines a very narrow population of individuals with disabilities who are
entitled to this service. This population includes individuals who are functionally unable
to use your fixed-route service due to their disability combined with accessibility barriers
that impede their access to a bus stop they could otherwise use. The ADA defines
three categories of eligible individuals:

     1. Individuals who are unable to board, ride, or disembark from a fully accessible
        vehicle as a result of their disability, including:



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          x   Individuals with intellectual, cognitive, or visual disabilities who cannot
              navigate the system (although some customers may learn to navigate parts of
              the system),

          x   Individuals with physical disabilities who cannot stand on a crowded bus
              when seats are not available, and

          x   Individuals with significant psychiatric disabilities who cannot complete the
              tasks necessary to ride fixed-route service independently.

     2. Individuals who could use the service if a wheelchair lift or ramp were available
        on the route they wished to ride and the bus stops at both ends of their trip were
        accessible. If your system is 100 percent accessible with lifts or ramps that meet
        ADA specifications, and the lifts and ramps are maintained in good working
        order, this category will only apply at bus stops at which the lift or ramp cannot be
        deployed.

     3. Individuals who have specific impairment-related conditions that prevent them
        from traveling to and from a bus stop. This category is related to environmental
        conditions including lack of curb cuts and other physical barriers, steep terrain,
        snow or ice, temperature extremes, and severe air pollution. These conditions
        must prevent the individual from using the service, and may not come into play
        around all bus stops.

Your agency’s eligibility determination process should be rigorous enough to screen out
individuals who are not entitled to this service under the ADA. The reason for this is
two-fold:

     x    Your system is mandated by Federal law to provide this service without capacity
          constraints to those individuals who under Federal law are entitled to the service.
          If capacity is constrained (that is, trip requests are repeatedly denied) as a result
          of also providing the service to other individuals who are not Federally entitled to
          it, your system is essentially discriminating against those Federally-protected
          individuals and is at risk for a Civil Rights complaint or lawsuit.

     x    Limiting this service to individuals who meet the Federal guidelines will allow you
          to better control the demand, and thus the cost, for this service. Although the
          State of Maryland provides some funding for ADA paratransit services, this
          funding is constrained. However, your obligation to provide ADA complementary
          paratransit, and meet the demand, is not constrained.

If your community has a local policy for providing paratransit services for other
individuals who do not meet the Federal complementary paratransit requirements (such
as senior citizens, which some local governments may require), you may need to have
different service policies for those served under local policy, to control costs and ensure
capacity for ADA-entitled individuals.



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Like other elements of this service, your certification program must be developed in
consultation with individuals with disabilities.

ADA Eligibility Application Process Requirements

In addition to each LOTS defining their conditions of eligibility as described above, your
agency must also incorporate the following conditions of enrollment into its eligibility
process:

     x    The LOTS eligibility process and application form must be in writing, accessible
          to individuals with disabilities and provide for documentation of eligibility.

     x    Eligibility decisions must be made within 21 days of receipt of a complete
          application and for those applications not processed within 21 days of receipt,
          presumptive eligibility for service must be provided on the 22 nd day which will last
          until such time as the written determination is issued.

     x    Individuals who are denied eligibility or who are given conditional or temporary
          eligibility must be given written notice with specific reasons for your agency’s
          decision and must also be informed of their right to appeal the decision.

     x    The appeals process must adhere to ADA regulations and contain the following
          rights of appeal:

              o Applicants have 60 days to inform the LOTS of their intent to appeal,
              o The LOTS may require the applicant to submit a form indicating their
                intent to appeal;
              o The LOTS may not require lengthy narrative from the applicant justifying
                their appeal,
              o The applicant must have the opportunity to be heard; the LOTS must
                provide for separation of functions,
              o An appeal decision must be made within 30 days, and
              o Written notification of the decision, with reasons provided, must be made
                to the applicant.

     x    If an appeal decision takes longer than 30 days, transportation must be provided
          to the applicant until and unless the LOTS’ decision to deny the appeal is issued.

More guidance on Federal requirements for ADA paratransit eligibility can be found in
Chapter 9 of FTA circular 4710.1.

Guidelines for an effective ADA complementary paratransit certification program are
provided in Determining ADA Paratransit Eligibility: An Approach, Guidance and
Training Materials, prepared for Easter Seals Project ACTION by TranSystems, Inc. and
Access Transportation Systems, Inc. (updated December 2014), available through the
National Aging and Disability Transportation Center (http://www.nadtc.org/resources-
publications/determining-ada-paratransit-eligibility-an-approach-recommendations-and-
training-materials/).
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Service Requirements

ADA regulations define equivalent service for complementary paratransit according to
the following six service characteristics:

     1. Service Area: The complementary paratransit must be provided within three-
        quarters of a mile on either side of the fixed-route. “Pockets” of land contained
        within the three-quarter mile corridors must also be covered. Depending on the
        size of the community and characteristics of the transit service, some transit
        agencies define their ADA paratransit service areas more broadly than the
        corridors along routes. However, you may want to consider if serving a broader
        than required service area might create capacity constraints on the minimum
        required service. Also, this “extra” service may not be eligible for State ADA
        funding.

         It is also important to note that an eligible rider does not have to live inside the
         three-quarter mile corridor, as eligibility is not related to where the rider lives, but
         rather where the travel occurs.

     2. Response Time: Customers cannot be required to call more than one day in
        advance of the day service is requested. Customers must be allowed to place
        their requests until the close of business on the day preceding service. This
        means that if your normal business hours are 8:00 a.m. to 4:00 p.m. on
        weekdays, then reservation services must be provided during that time frame,
        until 4:00 p.m. Next-day service does not mean 24 hours advance reservation.
        If your offices are closed on weekends, then you must ensure that reservation
        services are available on Sundays for Monday service. A method (such as an
        answering service) for accepting trip requests on Sunday for Monday service and
        on Saturday for Sunday service (if applicable to your agency) must be provided.

         The original regulations also stipulated that trips must be accepted up to 14 days
         in advance. This requirement was changed, and transit agencies are allowed to
         determine their advance reservation period, in consultation with users, with a
         maximum of 14 days. If appropriate for your community, you may determine that
         your ADA paratransit services accept trips only on a next-day basis.

         The response time regulations allow transit systems to “negotiate” trip times with
         eligible riders up to one hour before and one hour after the requested trip time,
         as long as the alternative times do not conflict with any time-sensitive needs of
         the rider. For example, if a rider requests a 9:00 a.m. trip, but your vehicles are
         full at that time, you can offer the rider a trip within one hour earlier or one hour
         later than 9:00 a.m. (i.e., as early as 8:00 a.m. or as late as 10:00 a.m.). But if a
         rider requests a 5:00 p.m. pick-up to return home at the end of her work day, you
         may not offer a pick-up at 4:00 p.m., because that would mean the rider would
         have to leave work before the end of her workday. However, it would be
         allowable to negotiate a time within one hour after 5:00 p.m..



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     3. Fares: Complementary paratransit fares can be no more than twice the regular
        (i.e., general public, not reduced fare) fixed-route fare for the equivalent trip on
        fixed-route service. A personal care attendant (PCA) accompanying the eligible
        individual cannot be charged a fare.

     4. Trip Purpose Restrictions: No trip purpose restrictions may be imposed on the
        complementary paratransit service.

     5. Hours and Days of Service: The complementary paratransit service must be
        available during all days and hours that your fixed-route service is available. If
        days and hours of service vary among your fixed-routes, the paratransit service
        area may also change according to these time variations in the same geographic
        areas as the fixed-route service.

     6. Capacity Constraints: No capacity constraints may be placed on eligible
        individuals. This means that eligible customers cannot be denied service for
        eligible trip requests. Adequate capacity must be available so that eligible trip
        denials are uncommon.

          Scheduling service on a “standing order” or subscription basis is allowed so long
          as it does not result in capacity constraints for eligible individuals. If capacity
          constraints do occur, subscription trips can only be allowed for up to 50 percent
          of the total paratransit service capacity.

          A LOTS must be able to demonstrate that they do not engage in a pattern or
          practice of capacity constraints that limit service. Therefore, at a minimum, the
          LOTS should have a definition of ADA trip denials, missed trips, on-time
          performance and excessively long trips and should have a mechanism in place
          for monitoring, tracking and verifying such service characteristics. While there is
          no regulatory requirement that the LOTS maintain any particular record-keeping
          and/or monitoring system for measuring capacity constraints, the LOTS must be
          able to demonstrate that the trip denials, missed trips, late pickups and
          excessively long trips it does have do not show a pattern or practice that limits
          the availability of its ADA paratransit service.

Recommendations for recordkeeping and documentation related to scheduling practices
and capacity constraints of ADA complementary paratransit are provided in Attachment
12.C.

Other Individuals Permitted to Accompany the ADA Eligible Individual

     x    Personal Care Attendants (PCA): A PCA is someone designated or employed
          to help an individual meet his or her personal needs. The type of assistance
          provided by a PCA is often unrelated to using transit, such as assisting with
          grocery shopping or assisting the customer with a medical condition at their
          destination.



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          A PCA must always be permitted to ride with an ADA paratransit-eligible
          individual. You can require, as part of the initial eligibility certification, that the
          individual indicate whether he or she travels with a PCA.

          The PCA must not be charged a fare to ride ADA paratransit with the ADA-
          eligible individual.

     x    Guest or Companion Riders: The U.S. DOT ADA regulations consider
          companion (or guest) riders, such as friends or family members, separately from
          PCAs.

          If an ADA paratransit eligible individual wishes to travel with a companion, that
          companion must be permitted to accompany the ADA paratransit eligible-
          individual (in addition to a PCA, if that individual needs a PCA). Also, additional
          companions accompanying the ADA paratransit rider must be provided service if
          space is available on the vehicle.

          Fares for companions accompanying the ADA eligible rider can be no higher
          than the fare for the individual they are accompanying.

Requirement for a Visitors Policy

All LOTS that operate a complementary paratransit system must have a visitors’ policy
that meets the following requirements:

     x    Complementary paratransit service must be provided to visitors with a disability,
          and a visitor can become eligible to use the LOTS’s system in one of two ways.

     x    The visitor can present documentation from his or her “home” jurisdiction’s ADA
          complementary paratransit system that he or she is eligible. The local provider
          will give “full faith and credit” to the visitor’s identification card or other
          documentation provided.

     x    The visitor can present, if the visitor’s disability is not apparent, proof of their
          disability (e.g., a letter from their doctor or a rehabilitation professional) and, if
          required, by the local provider, proof of the visitor’s status (i.e., proof of the
          visitor’s residence elsewhere).

     x    Once the necessary documentation is provided, the LOTS must provide service.
          The LOTS cannot require functional testing of the visitor for the visitor to be able
          to use the LOTS’s system.

     x    The LOTS is not required to provide more than 21 days of service within a 365-
          day period to the visitor. After the 21-day limit is reached, the LOTS can require
          that the visitor apply for eligibility to receive additional service.




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     x    Granting visitor eligibility should be a quick and easy process. FTA envisions that
          it can take place the same day of request or no more than one day after the
          request.

No-Show and Late Cancellation/No-Show Policies

All LOTS that operate a complementary paratransit system may develop and implement
a no-show or late cancellation/no-show policy. The following requirements apply:

     x    LOTS are not required to have a no-show or late cancellation/no-show policy.
          However, if they choose not to have such a policy, they may not penalize or
          suspend riders for failure to show for their rides or for late cancellations.

     x    LOTS no-show policies must be in writing and available to their patrons. Such
          policies need to be established in an administrative procedure allowing for the
          suspension, for a reasonable amount of time, of the provision of ADA
          complementary paratransit services to an eligible individual who establishes a
          “pattern or practice” of missing scheduled trips. The written policies must define
          what constitutes a “no-show” (and “late cancellation” if appropriate).

     x    LOTS definition of a “pattern or practice” must be narrowly tailored to include
          intentional, repeated, or regular actions on the patron’s part and not isolated,
          accidental, or singular incidents. The LOTS will need to develop standards to
          document this, taking into account the frequency of a patron’s rides and no-
          shows. Simple numeric thresholds are not allowed. Only no-shows that are within
          the patron’s control can be counted against the patron.

     x    LOTS can include late cancellations as part of their no-show policy but only to
          the extent that the late cancellation has the same effect on the LOTS as a no-
          show, and then, only for late cancellations under the patron’s control.

     x    LOTS may not impose a financial penalty on the patron, including charging a
          fare, as part of their no-show policy. The policy may only impose a reasonable
          suspension of service.

     x    LOTS must provide for written notification that the service is to be suspended,
          and a “rights of appeal” for any patron subject to a proposed suspension. Such
          rights of appeal should be consistent with the LOTS appeal process and policy,
          and must include providing the individual with an opportunity to be heard and to
          present information and arguments, as well as written notification of the decision
          and the reasons for it..

Origin-to-Destination Service

ADA paratransit service must be operated on an “origin-to-destination” basis, providing
service from a passenger’s origin to the passenger’s destination. LOTS may have a
policy of providing curb-to-curb or door-to-door service. If the policy is curb-to-curb, for

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some individuals and locations it might be necessary to provide service to or from the
door, as a reasonable modification of policy. The requirement does not, however,
require transit providers “to take actions to accommodate individual passengers’ needs
that would fundamentally alter the nature of the service or create undue burdens,” such
as the provision of “personal services” or leaving the vehicle for an extended period of
time. Nor are transit providers required to take actions that are clearly unsafe. For
more information on the nuances of this requirement, see the 2005 U.S. DOT legal
guidance on origin-to-destination service (https://www.transit.dot.gov/regulations-and-
guidance/civil-rights-ada/origin-destination-service), the March 2015 final rule on
Reasonable Modification of Policies and Practices under 49 CFR Parts 27 and 37
(https://www.gpo.gov/fdsys/pkg/FR-2015-03-13/pdf/2015-05646.pdf), and Chapter 2,
section 2.10 of FTA circular 4710.1.


OTHER DEMAND-RESPONSE TRANSPORTATION

Other types of demand-response services, including rural general public and agency-
contracted service, have the following accessibility requirements under the ADA.

Equivalent Level of Service and Vehicle Accessibility

LOTS demand-response systems, when viewed in their entirety, must provide an
equivalent level of service for individuals with disabilities (including customers who use
wheelchairs) as for individuals without disabilities.

As previously stated, vehicles procured for use in demand-response services must be
accessible unless that agency already has an adequate number and percentage of
accessible vehicles in their demand-response fleet to ensure this equivalency.

Equivalent service means that individuals with disabilities, including individuals who use
wheelchairs, are provided the same level of service provided to other individuals with
respect to the following service characteristics:

     x    Response time,
     x    Fares,
     x    Geographic area of service,
     x    Hours and days of service,
     x    Availability of information,
     x    Reservations capability,
     x    Any constraints on capacity or service availability, and
     x    Restrictions or priorities based on trip purpose.

User-side subsidy programs need to ensure their programs meet the equivalency
standards, including reservations response time.




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Coordination with ADA Paratransit

Agencies that are required to provide complementary paratransit services are encouraged
to coordinate those services with other demand-response services including SSTAP.
However, the Federally-mandated eligibility for complementary paratransit should be
determined separately from the other demand-response services to ensure that the agency
is able to meet the capacity requirements of the complementary paratransit.


EMPLOYMENT PRACTICES

Titles I and V of the ADA prohibit employment discrimination against qualified individuals
with disabilities in the private sector, as well as in State and local governments. As a basic
civil right, you must ensure that no individual has been discriminated against in employment
based on his or her disability. Employers with 15 or more employees are required to make
reasonable accommodation for qualified candidates with disabilities that you have hired.
Refer to Chapters 8 and 13 for more information on how to ensure that your hiring and
employment practices are non-discriminatory.


FACILITIES ACCESSIBILITY

Any new transportation facility constructed (since January 26, 1992) must be accessible
according to the standards in 49 CFR Part 37, Subpart C. If you alter an existing facility, the
altered portions also must be accessible (although an exception can be made if the cost of
making the facility accessible is disproportionate).

Facilities accessibility standards can be found on the Access Board website at:
https://www.access-board.gov/guidelines-and-standards/buildings-and-sites.

Guidelines specific to transportation facilities are found at:
https://www.access-board.gov/guidelines-and-standards/buildings-and-sites/about-the-ada-
standards/ada-standards/chapter-8-special-rooms,-spaces,-and-elements#810
Transportation Facilities

Documentation and certification that facility improvements comply with ADA standards need
to be obtained (e.g., from an architect and engineer) and kept on file.

Additional information is also provided in Chapter 7, as well as earlier in this chapter under
“Fixed-Route Service Requirements,” “Bus Stop Accessibility.”




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ADDITIONAL RESOURCES


General

     FTA Circular 4710.1, “Americans with Disabilities Act (ADA): Guidance” –
     https://www.transit.dot.gov/regulations-and-guidance/fta-circulars/americans-
     disabilities-act-guidance-pdf

     FTA Office of Civil Rights / ADA – https://www.transit.dot.gov/ada

     FTA Office of Civil Rights / ADA, Frequently Asked Questions –
     https://www.transit.dot.gov/regulations-and-guidance/civil-rights-ada/frequently-
     asked-questions

     FTA Office of Civil Rights / ADA, Training Materials –
     https://www.transit.dot.gov/regulations-and-guidance/civil-rights-ada/ada-training

     U.S. Access Board -- http://www.access-board.gov/

     National Aging and Disability Transportation Center - http://www.nadtc.org/

     49 CFR Part 37--Transportation Services for Individuals with Disabilities --
     http://www.ecfr.gov/cgi-bin/text-idx?tpl=/ecfrbrowse/Title49/49cfr37_main_02.tpl

     49 CFR Part 27--Nondiscrimination on the Basis of Disability in Programs and
     Activities Receiving or Benefitting from Federal Financial Assistance –
     http://www.ecfr.gov/cgi-bin/text-idx?tpl=/ecfrbrowse/Title49/49cfr27_main_02.tpl

     The Americans with Disabilities Act of 1990 -- http://www.ada.gov/pubs/ada.htm

Vehicles

     49 CFR Part 38--Accessibility Specifications for Transportation Vehicles –
     http://www.ecfr.gov/cgi-bin/text-idx?tpl=/ecfrbrowse/Title49/49cfr38_main_02.tpl

     ADA Accessibility Guidelines (ADAAG) for Vehicles – https://www.access-
     board.gov/guidelines-and-standards/transportation/vehicles/about-adaag-for-
     transportation-vehicles

     Updated ADA Accessibility Guidelines for Buses and Vans (2016)                           -
     https://www.access-board.gov/guidelines-and-
     standards/transportation/vehicles/update-of-the-guidelines-for-transportation-
     vehicles/final-updated-guidelines-for-buses-and-vans

Driver Training Programs

     x    Resources available through National RTAP (www.nationalrtap.org) include:

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              o Securing Motorized Wheelchairs and Scooters (START Insert)
              o Serving Riders with Disabilities: ADA and Beyond

     x    Resources are available through the National Aging and Disability Transportation
          Center (http://www.nadtc.org/) include:
            o A.C.C.E.S.S. Matters driver training program
            o Transit Operator’s Pocket Guide

     x    CTAA’s Passenger Assistance Sensitivity and Safety (PASS) Trainer and Driver
          Certification program –
          http://web1.ctaa.org/webmodules/webarticles/anmviewer.asp?a=35&z=116

Wheelchair and Mobility Aid Accommodation

     x    FTA Questions and Answers Concerning Wheelchairs and Bus and Rail Service
          - https://www.transit.dot.gov/regulations-and-guidance/civil-rights-ada/questions-
          and-answers-concerning-wheelchairs-and-bus-and

     x    National RTAP’s Securing Motorized Wheelchairs and Scooters (START Insert) -
          http://demopro.nationalrtap.org/emailResource.aspx?fileid=1256

     x    National RTAP's Oversized Wheeled Mobility Devices Technical Brief -
          http://demopro.nationalrtap.org/emailResource.aspx?fileid=1205

     x    Easter Seals Project ACTION’s Status Report on the Use of Wheelchairs and
          Other Mobility Devices on Public and Private Transportation -
          http://demopro.nationalrtap.org/emailResource.aspx?fileid=155

     x    AC Transit (Oakland, CA) wheelchair marking and tether strap program
          brochure: http://www.actransit.org/wp-content/uploads/securement.pdf

     x    Capital Metro (Austin, TX) wheelchair marking and tether strap program
          brochure:
          https://www.capmetro.org/uploadedFiles/Capmetroorg/Riders_Guide/Accessible_
          Services/tether-strap-brochure.pdf

Fixed-Route Service

     x    Transit Cooperative Research Program (TCRP) Report 163: Strategy Guide to
          Enable and Promote the Use of Fixed-Route Transit by People with Disabilities –
          http://www.tcrponline.org/PDFDocuments/tcrp_rpt_163.pdf

     x    Resources available through the National Aging and Disability Transportation
          Center (http://www.nadtc.org/) include:
            o Resource Guide to Effective Approaches for Increasing Stop
                Announcements and Route Identification
            o Toolkit for the Assessment of Bus Stop Accessibility and Safety

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              o Effective Snow Removal for Pathways and Transit Stops

     x    Disability Rights Education & Defense Fund (DREDF) Topic Guides on ADA
          Transportation – Stop Announcements - https://dredf.org/ADAtg/stop.shtml

ADA Paratransit

     x    FTA Office of Civil Rights / ADA, Frequently Asked Questions –
          https://www.transit.dot.gov/regulations-and-guidance/civil-rights-ada/frequently-
          asked-questions

     x    U.S. DOT legal guidance on Origin-to-Destination Service (2005) –
          https://www.transit.dot.gov/regulations-and-guidance/civil-rights-ada/origin-
          destination-service

     x    Resources available through the National Aging and Disability Transportation
          Center (http://www.nadtc.org/) include:
            o Determining ADA Paratransit Eligibility: An Approach, Guidance and
                Training Materials
            o Innovative Practices in Paratransit Service

     x    DREDF’s Topic Guides on ADA Transportation -
          https://dredf.org/ADAtg/index.shtml

     x    FTA’s ADA Paratransit Eligibility Manual (1993) --
          http://ntl.bts.gov/DOCS/ada.html

     x    FTA’s ADA Paratransit Handbook: Implementing the Complementary Paratransit
          Service Requirements of the ADA of 1990 (1991) -- available through the
          Maryland RTAP library

Demand-Response Service

     x    ADA Guide for Rural Demand-Response Transportation Service Providers -
          http://www.nadtc.org/resources-publications/ada-guide-for-rural-demand-
          response-transportation-service-providers/

Facilities Accessibility

     x    U.S. Access Board’s Guidelines and Standards for Transportation Facilities --
          http://www.access-board.gov/guidelines-and-
          standards/transportation/facilities/about-the-ada-standards-for-transportation-
          facilities

     x    U.S. Access Board’s Proposed Guidelines for Public Rights-of-Way (2011 Draft)
          – https://www.access-board.gov/guidelines-and-standards/streets-
          sidewalks/public-rights-of-way

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                            CHAPTER 12: SUMMARY CHECKLIST

    Include accessibility policies in your organization’s written policies and ensure staff
     implement these policies.
    Procure fixed-route and route-deviation vehicles (including those to be used in
     commuter bus service) that meet ADA accessibility standards.
    Procure State- or Federally-funded demand-response vehicles that meet ADA
     accessibility standards. Procure locally-funded demand-response vehicles that meet
     ADA accessibility standards unless your demand-response system provides an
     equivalent level of service to customers with disabilities as they do to customers
     without disabilities.
    Maintain lifts and other accessibility features in good working order.
    Permit lift usage by all individuals with disabilities upon request (including standees).
    Provide service to customers using wheelchairs or scooters even if the mobility
     device cannot be secured on your vehicle.
    Require seat belt usage of individuals with disabilities only if required of all riders.
    Upon request, assist passengers in using the lift or ramp and securing mobility
     devices.
    Train operations staff in passenger assistance techniques as well as sensitivity.
    Permit service animals accompanying individuals with disabilities on board your
     vehicles.
    Permit portable oxygen or respirators on board your vehicles.
    Provide information in accessible formats upon request.
    Have a procedure for passengers to file ADA-related complaints.
    New fixed-routes or deviated fixed-routes (including commuter routes) may not be
     added into your service without operating accessible vehicles to provide this service.
    Ensure that all bus stop construction or improvements meet ADA standards,
     providing a solid, level passenger boarding area at least eight feet back from the
     curb and five feet parallel to the curb.
    Choose an accessible location for a new or relocated bus stop that does not involve
     construction, to the extent possible given existing pedestrian infrastructure.
    Ensure that interior stop announcements are made along all fixed-routes at key
     stops and transfer points.



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    Establish a route identification mechanism to ensure that passengers waiting at bus
     stops served by more than one route can identify which bus to board, or be identified
     to the bus driver as wishing to board.
    Optional: provide travel training for customers with disabilities to help them transition
     from paratransit service to fixed-route service.
    Public agencies that provide fixed-route service must provide complementary
     paratransit service that meets the ADA service criteria.
    Establish a functional disability eligibility screening process for ADA paratransit.
    Permit PCAs to accompany eligible individuals on ADA paratransit at no additional
     charge, and permit fare-paying companions (at least one and more on a space-
     available basis).
    Permit visitors presenting appropriate documentation to use the paratransit service
     for up to 21 days within a 365 day period.

    If you establish a no-show/late cancellation policy, this must be in writing and
     provide for due process with opportunity for appeal.
    If you operate route-deviation service, permit deviations by all riders or you must
     provide ADA paratransit.
    If you operate route-deviation service, you must include information on how to
     request deviations with route and schedule information.
    Other demand-response services, including SSTAP services, should be coordinated
     with ADA paratransit service when feasible, but should not result in capacity
     constraints for ADA-eligible individuals.
    Ensure that individuals with disabilities are not discriminated against in employment
     decisions, and make reasonable accommodations to enable qualified individuals
     with disabilities to work for your organization.
    Ensure that all newly constructed and renovated facilities meet ADA accessibility
     standards.




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13                 NON-DISCRIMINATION


  Federal civil rights laws protect individuals from discrimination under Federal
  transit programs in a variety of ways. This chapter summarizes the non-
  discrimination requirements that are relevant for Maryland’s LOTS. These
  requirements apply to public entities as well as to private entities considered to
  be “standing in the shoes” of public entities (including private non-profit LOTS
  operators). The requirements are organized as follows:

        x     Introduction to Civil Rights Requirements
        x     Title VI of the Civil Rights Act of 1964 [including providing meaningful
              access for individuals with Limited English Proficiency (LEP), as well as
              aspects of Environmental Justice]
        x     Equal Employment Opportunity (EEO) program
        x     Disadvantaged Business Enterprise (DBE) program
        x     Non-discrimination in Emergency Preparedness

  Another civil rights law that is relevant for the LOTS is the Americans with
  Disabilities Act (ADA). The requirements under the ADA are addressed in
  Chapter 12.

  Note that public outreach is a significant component of the Title VI regulations.
  More guidelines and recommendations on public notice and participation
  requirements are provided in Chapter 14.




INTRODUCTION TO CIVIL RIGHTS REQUIREMENTS FOR TRANSIT

LOTS must ensure that no individual, on the grounds of race, color, national origin,
religion, sex, disability, or age, is excluded from participating in, denied the benefits of, or
subjected to discrimination under any project, program, or activity funded in whole or in
part through public transit programs.

Federal Civil Rights Laws and Regulations

The Federal enabling legislation for transit funding includes the requirement that
recipients of those funds, including the MTA and the LOTS, not engage in discriminatory
practices . The specific Federal requirements regarding non-discrimination include:

    x       Title VI – Non-Discrimination in Service Delivery – Title VI of the Civil Rights
            Act of 1964 prohibits discrimination on the basis of race, color, or national origin in
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13       NON-DISCRIMINATION


          programs and activities receiving Federal financial assistance. Specifically, the
          Federal Transit Laws, 49 U.S.C. 5332(b), provide that "no person in the United
          States shall on the grounds of race, color, religion, national origin, sex, or age be
          excluded from the participation in, be denied the benefits of, or be subjected to
          discrimination under any project, program or activity funded in whole or in part
          through financial assistance under this Act." While Title VI provides the basis for
          all civil rights requirements, including EEO, ADA, and DBE, this term often is used
          to denote actions that are required of transit systems to ensure that they plan and
          operate services in a non-discriminatory manner.

          The Title VI requirements include public notice requirements as well as
          requirements for ensuring meaningful access to services for LEP Individuals
          through both public information and participation, and environmental justice (which
          are primarily applicable to facilities development).

     x    Equal Employment Opportunity (EEO) – The Civil Rights Act of 1964 (Title VI
          and Title VII) and Federal Transit Laws also apply to employment. Grantees of
          Federal transit funding must ensure that no individual shall be subject to
          discrimination in employment under any project, program, or activity receiving
          Federal financial assistance from the Federal Transit Laws. Other Federal laws
          protecting workers from discrimination include the ADA of 1990, the Equal Pay Act
          of 1963, the Age Discrimination in Employment Act of 1967, Title II of the Genetic
          Information Nondiscrimination Act of 2008, Section 504 of the Rehabilitation Act of
          1973, and the Uniformed Services Employment and Reemployment Rights Act of
          1994.

     x    Disadvantaged Business Enterprise (DBE) – Non-Discrimination in
          Contracting Practices – The U.S. DOT DBE program requirements (49 CFR Part
          26) seek to ensure non-discrimination in the award and administration of U.S.
          DOT-assisted contracts in the U.S. DOT’s highway, transit, and airport financial
          assistance programs, and to create a level playing field on which DBEs can
          compete fairly for U.S. DOT-assisted contracts.

Links to the relevant regulations and circulars have been provided for your reference at
the end of this chapter.

The MDOT/MTA Role in Ensuring Non-Discrimination

The MDOT/MTA monitors non-discrimination of the LOTS implementation of required civil
rights regulations and policies. The MTA Office of Equal Opportunity Compliance
Programs is charged with fulfilling this requirement and oversees the LOTS efforts to
comply with Title VI requirements of the Civil Rights Act of 1964 (including aspects of
Environmental Justice) and EEO and DBE program requirements.




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13       NON-DISCRIMINATION


TITLE VI REQUIREMENTS - PERTAINING TO SERVICE PROVISION

Title VI of the Civil Rights Act of 1964 (42 U.S.C. Section 2000d), requires that all Federal
grantees, including the LOTS, must ensure that Federally-supported transit services and
related benefits are distributed in an equitable manner.

Title VI is the overriding basis for all civil rights requirements. This chapter addresses the
need for LOTS to ensure that they plan and operate services in a non-discriminatory
manner. Planned changes in services, facilities, and policy must not result in
discrimination against any segment of the community. Service and facilities planning
must take into consideration the potential impact on minority populations. Minority
communities and non-minority communities should be served with relative equity.
Service cuts should not result in a relatively higher loss of service for minority
communities, and service expansions should serve minority communities as well as non-
minority communities.

It is important to note that Title VI applies to “individuals;” Title VI protections are not
limited to citizens.

An entity is subject to Title VI if it receives any amount or form of Federal financial
assistance. This includes primary grant recipients and subrecipients (the LOTS). Also,
Title VI applies institution-wide, not just to the services or programs for which the Federal
funding is received.

Basic Title VI Regulations

FTA circular 4702.1B, “Title VI Requirements and Guidelines for Federal Transit
Administration Recipients” (https://www.transit.dot.gov/regulations-and-guidance/fta-
circulars/title-vi-requirements-and-guidelines-federal-transit)      provides      detailed
information on the Title VI requirements for FTA grantees and subgrantees. The LOTS
should familiarize themselves with the information in this circular since it provides the
guidance and instructions needed to carry out the Title VI regulations (49 CFR Part 21)
and to integrate into their programs and activities considerations in the U.S. DOT’s Policy
Guidance Concerning Recipients Responsibilities to Limited English Proficiency (LEP)
Persons (70 FR 74087 based on Executive Order 13166).

Title VI seeks to:

     x    Ensure that the level and quality of transportation services provided by the LOTS
          is provided without regard to race, color, or national origin (other Federal laws and
          regulations also prohibit discrimination on the basis of religion, sex, age, or
          disability, while Title VI specifically addresses race, color, or national origin),
     x    Identify and address any disproportionately high or adverse human health and
          environmental effects of LOTS programs, including the social and economic effect
          of those programs and activities on minority and low-income populations,
     x    Promote the full and fair participation of all affected populations in transportation
          decision-making,

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     x     Prevent the denial, reduction, or delay of benefits related to LOTS programs and
           activities that benefit minority or low-income populations, and
     x     Ensure meaningful access to programs and activities by individuals with limited
           English proficiency.

The MTA requirements mirror the Federal requirements.

All LOTS need to take some actions in order to ensure compliance with Title VI. All
systems need a written Title VI policy and program. There are additional requirements
for the LOTS operating fixed-route services. Title VI program requirements are even
more extensive for LOTS operating at least 50 vehicles in peak fixed-route service in
areas with populations of at least 200,000. All LOTS are required to submit a written Title
VI program to the MTA (and the FTA) for review as well as provide periodic updates and
additional reporting to the FTA (through the MTA) as part of their Title VI program. Table
13-1 summarizes what characteristics trigger the more extensive requirements.

Table 13-1: Summary of What Title VI Requirement Thresholds

                                                               Requirements for Fixed-Route Providers
                                                                                                  Conduct
                                                         Set System-
                                           General                       Collect                  Service
                                                             wide                      Monitor
          System Size and Type             Require-                    and Report                   and
                                                          Services                     Transit
                                            ments                     Demographic                   Fare
                                                             and                      Services
                                                                          Data                     Equity
                                                           Policies
                                                                                                 Analyses
         Rural/Small Urban
         (<200,000)
         x No Fixed-Route                     yes              no                 no    no         no
         x Fixed-Route (at least              yes              yes                no    no         no
           some)
         Large Urban (200,000+)
         x No Fixed-Route                     yes               no                no    no         no
         x Fixed-Route / Number
           of Buses in Peak
           Service:
            o <50                             yes              yes                no    no         no
            o 50+                             yes              yes                yes   yes        yes

Title VI Requirements for All LOTS - General Requirements

All LOTS, regardless of size or type of operation, must have the following Title VI program
elements in place:

     x     Certifications and Assurances – All LOTS must sign annual certifications and
           assurances as part of their annual ATP submission. By signing their annual
           certifications and assurances, the LOTS agree to comply with the provisions of
           Title VI. In addition to reporting complaints and lawsuits in the ATP, grantees must
           inform MTA immediately when lawsuit/complaints are received.


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     x    Title VI Policy – All LOTS must develop and follow a written Title VI policy that
          includes:

          o Investigation/Complaint/Lawsuits Procedures – Providing a written process
            for receiving, recording, responding to, and resolving Title VI investigations,
            complaints, and lawsuits. This process should include notification of MTA
            immediately when any investigation, complaint, or lawsuit is initiated.

          o LEP Plan – Developing a written plan for providing access to meaningful
            activities and programs for individuals with limited English proficiency based on
            the DOT LEP guidance (or copy of the agency’s alternative framework for
            providing access to activities and programs). Certain LOTS that serve very few
            LEP individuals may choose not to develop a written LEP plan; however,
            absence of a written LEP plan does not prevent the underlying obligation to
            ensure meaningful access by LEP individuals to your programs or activities.

          o Public Notification – Notifying the public of Title VI rights and procedures the
            public may follow to file a complaint. This notice should be disseminated to the
            public through measures that can include, but cannot be limited to the agency’s
            website. Refer to Chapter III (page III-4) of FTA circular 4702.1B and Chapter
            14 of this manual for additional information on the required contents of the
            notice and effective practices for dissemination to the public.

          o Public Participation – Establishing and conducting public outreach and
            involvement activities and undertaking steps to ensure that minority persons
            have meaningful access to these activities.

     x    Reporting – LOTS are required to immediately report any Title VI complaints to
          MTA. Also, LOTS must report Title VI complaints annually as part of the ATP
          certification and assurances process and quarterly as part of the quarterly review
          process. Quarterly reporting also requires submittal of the LOTS Title VI complaint
          log. Attachment 13.A provides an example of a civil rights complaint log that the
          LOTS can use for this purpose.

     x    First Time Applicants – In addition to the assurances, entities receiving FTA
          funding for the first time must provide information regarding their Title VI
          compliance history if they have previously received funding from another Federal
          agency (refer to Chapter III, page III-1 of the circular for a description of
          requirements).

     x    Compliance Review – In addition to annual certifications and assurances and the
          reporting associated with the ATP, the LOTS should expect the MTA to review
          their Title VI policy during periodic compliance monitoring visits.

     x    Title VI Program Submissions – The FTA requires that all recipients document
          their compliance by submitting a Title VI program to FTA’s regional Civil Rights
          Officer (via MTA’s Office of Equal Opportunity Compliance Programs) once every
          three years. To meet this requirement, the LOTS prepare and submit certain
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         general information. The collection and reporting of this information constitutes
         their Title VI program. The Title VI program submission must include the following:

         o A copy of the LOTS Title VI notice to the public that indicates the LOTS
           complies with Title VI, and informs members of the public of the protections
           against discrimination afforded to them by Title VI. The LOTS must include a
           list of locations where the notice is posted which, at a minimum, includes
           postings on their web site, at their service facilities and on their buses.

         o A copy of the LOTS instructions to the public regarding how to file a Title
           VI discrimination complaint, including a copy of the complaint form and the
           LOTS complaints process.

         o A list or log of any public transportation-related Title VI investigations,
           complaints, or lawsuits filed with the LOTS since the last triennial submission
           to the MTA. This list should include only those that pertain to the transit agency.

         o A public participation plan that includes early and continuous opportunities
           and activities to engage minority and LEP populations in planning
           transportation services and making decisions. The LOTS must be able to
           demonstrate that it has implemented the public outreach activities it includes in
           its public outreach plan as well as documenting new outreach efforts/activities
           it will make since the last Title VI Program submission.

         o A copy of the LOTS’ plan for providing language assistance to individuals
           with limited English proficiency, based on the U.S. DOT LEP Guidance.

         o LOTS that have transportation-related, non-elected planning boards, advisory
           councils or committees, or similar bodies, for which the LOTS select the
           membership, have an additional requirement. Such LOTS must provide a table
           depicting the racial breakdown of the membership of the non-elected
           board, council, or committee, and a description of efforts made to
           encourage the participation of minorities in the group.

         o If the LOTS constructs a facility, such as a vehicle storage facility, maintenance
           facility, operation center, etc., the LOTS is required to conduct a Title VI equity
           analysis with regard to the location of the facility during the planning stage of
           the facility, and must include a copy of the facility Title VI equity analysis as
           part of their Title VI program submission to the MTA. If in the future, a LOTS
           plans to construct a facility, regardless of the funding source for the facility, they
           should contact the MTA as early as possible in the planning stage for guidance
           on conducting the Title VI analysis for the facility location.

The LOTS that do not exceed the 50-peak hour fixed-route vehicle threshold can use the
Title VI Plan template, Attachment 13.B, to meet their Title VI program obligations.
Attachment 13.B.1 provides county-level data on LEP individuals and languages spoken
at home, from the American Community Survey of the U.S. Census, for use in the LOTS
Language Assistance Plan portion of their Title VI Plan.


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Additional Requirements for LOTS that Operate Fixed-Route Services

The LOTS that operate fixed-route service are required to establish the following system-
wide standards and policies in accordance with FTA Circular 4702.1B:

     x    System-wide service standards – Quantitative standards must be established
          for each mode (for example, local bus and commuter bus service would be two
          different modes) for the following indicators:
              o Vehicle load – The ratio of passengers to the total number of seats on a
                vehicle, which indicates what the transit agency considers to be an
                acceptable number of standees.
              o Vehicle headway – The amount of time between two vehicles traveling in
                the same direction on a given route, which indicates service frequency (for
                example, every 30 minutes).
              o On-time performance – A measure of runs completed as scheduled,
                including a local definition of what is considered to be “on time” (for
                example, up to five minutes behind schedule).
              o Service availability -- A general measure of the distribution of routes within
                a transit provider’s service area (for example, the percentage of all residents
                in the service area that are within a quarter-mile walk of bus service, or the
                maximum distance between stops).

     x    System-wide service policies – Policies must be established for each mode for
          the following service quality indicators:
              o Distribution of transit amenities. Transit amenities refers to items of comfort,
                convenience, and safety that are available to the general riding public, such
                as shelters, benches, and service information. Fixed-route transit providers
                must set a policy to ensure equitable distribution of transit amenities across
                the system (to the extent that they have decision-making authority over the
                siting of such amenities).
              o Vehicle assignment for each mode. Vehicle assignment refers to the
                process by which transit vehicles are placed into service throughout the
                transit provider’s system. Policies for vehicle assignment may be based on
                characteristics such as the age, condition, and capacity of the vehicle.

The LOTS must take care to fully define and describe its system-wide service standards
and policies. The LOTS must be able to demonstrate that the service standards and
policies are part of the agency’s overall policies and that they do not result in
discrimination or an inequitable distribution of services. In short, the LOTS must develop,
measure, and track its service standards and policies to ensure an equitable distribution
of services to all its citizens. More information about the required indicators can be found
in Chapter IV, pages IV-4 to IV-7, of FTA Circular 4702.1B. TCRP Report 165 - Transit
Capacity and Quality of Service Manual (http://www.trb.org/Main/Blurbs/169437.aspx)
provides detailed information on developing and understanding appropriate measures for
each of the required service standards.

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Additional Requirements for LOTS in Areas with a Population of 200,000 or More
Operating at Least 50 Fixed-Route Vehicles in Peak Service

In addition to the requirements outlined above for all LOTS and for LOTS operating fixed-
route services, the FTA requires all grantees that operate 50 or more vehicles in peak
fixed-route service in large urbanized areas (population 200,000 or more) to also:

     x    Collect and analyze demographic data – Collect and analyze racial and ethnic
          data to show the extent to which members of minority groups are beneficiaries of
          the LOTS programs and services. The FTA requires:
              o Demographic and service profile maps and charts - After each decennial
                census and prior to proposed service reductions or eliminations, including:
                   -   A base map of the LOTS service area that overlays census tract, census
                       block or block group, traffic analysis zone (TAZ), or other locally
                       available geographic data with transit facilities, transit routes, major
                       activity centers or transit trip generators, and major streets and
                       highways.
                   -   A demographic map that plots the information listed in the base map and
                       shades those census tracts, blocks, block groups, TAZs, or other
                       geographic zones where the percentage of the total minority population
                       residing in these areas exceeds the average percentage of minority
                       populations for the service area as a whole.
                   -   A demographic map that similarly shows where the percentage of the
                       total low income population residing in these areas exceeds the average
                       percentage of low income populations for the service area as a whole.
              o Demographic ridership and travel patterns – Develop a demographic profile
                comparing minority riders and non-minority riders, and trips taken by
                minority riders and non-minority riders. To do this the LOTS must collect
                information on the race, color, national origin, English proficiency, language
                spoken at home, household income and travel patterns of their riders using
                customer surveys. Demographic information must also be collected on fare
                usage by fare type among minority users and low-income users, in order to
                assist with fare equity analyses.
                   A detailed description of these requirements can be found in Chapter IV,
                   pages IV-7 to IV-9, of FTA Circular 4702.1B.

     x    Monitor transit service – Conduct periodic (at least every three years) self-
          assessments to determine whether transit service and related benefits provided to
          minority communities and minority users is consistent with Title VI objectives in
          FTA C 4702.1B. Grantees must compare the quality and level of service provided
          to minority and non-minority users to assess equity relative to their system-wide
          service standards and service policies. Monitoring requirements are detailed on
          pages IV-9 and IV-10 of FTA Circular 4702.1B.


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     x    Evaluate service and fare changes – Evaluate significant system-wide service
          and fare changes and proposed improvements at the planning and programming
          stages to determine whether the proposed changes would have a disparate
          (discriminatory) impact on minority or low income populations. For service
          changes, this is for major changes only and the recipient should have established
          guidelines of thresholds for what it considers a major change (e.g., a change that
          affects 25 percent of the service hours of a route).

          A detailed description of the requirements for conducting equity analyses can be
          found in Chapter IV, pages IV-10 to IV-21, of FTA Circular 4702.1B.

Additional FTA guidance materials can be found through the FTA Title VI Training
webpage at https://www.transit.dot.gov/regulations-and-guidance/civil-rights-ada/title-vi-
training.

Federal Requirements Regarding Providing Meaningful Access to those with
Limited English Proficiency (LEP)

Consistent with Title VI, DOT implementing regulations, and Executive Order 13166,
“Improving Access to Services for Persons with Limited English Proficiency” (65 FR
50121, Aug. 11, 2000), FTA grantees and subgrantees or LOTS must take reasonable
steps to ensure meaningful access to benefits, services, information, and other important
portions of their programs and activities for individuals who are LEP.

As part of your Title VI program/plan submissions to the MTA, all LOTS must develop an
LEP Plan (also called a Language Assistance Plan) to address the identified needs of the
LEP populations it serves. As summarized in FTA circular C 4702.1B (Chapter III, pages
III-6 to III-9) the LEP/Language Assistance Plan should:

     x    Identify the LEP individuals in the LOTS service area who need language
          assistance and the languages they speak. This is accomplished through a four-
          factor analysis that identifies:

          1. The number or proportion of LEP individuals eligible to be served or likely to be
             encountered by the program or LOTS—using census data on language spoken
             at home and individuals who speak English less than “very well.”
          2. The frequency with which LEP individuals encounter the LOTS program(s).
          3. The nature and importance of the program, activity, or service provided by the
             LOTS program to people’s lives.
          4. The resources available to the recipient or the LOTS for LEP outreach, as well
             as the costs associated with that outreach.

          As noted earlier, Attachment 13.B.1 provides county-level data on LEP individuals
          and languages spoken at home, for use in the LOTS Language Assistance Plan
          portion of their Title VI Plan.

     x    Describe how the LOTS provides language assistance services by language,
          including translating “vital documents” such as consent and complaint forms;

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          intake and application forms with the potential for important consequences; written
          notices of rights; notices of denials, losses, or decreases in benefits or services
          (e.g., proposed fare increases or major service changes); and other documents
          that provide access to essential services.

     x    Describe how the LOTS provides notice to LEP individuals about the availability of
          language assistance.

     x    Describe how the LOTS monitors, evaluates, and updates the language access
          plan.

     x    Describe how the LOTS trains employees to provide timely and reasonable
          language assistance to LEP populations.

In addition to preparing the LEP Plan, the LOTS are expected to follow their plans by
providing language assistance including translating vital documents into the appropriate
languages, training staff in providing language assistance, and providing notice to LEP
individuals of the availability of language assistance.

As described in FTA circular C 4702.1B, the U.S. DOT considers an LEP language group
that constitutes five percent or 1,000 individuals, whichever is less, of the total population
of individuals eligible to be served or likely to be affected or encountered, to be a “safe
harbor” threshold for the requirement to translate written vital documents. If there are
fewer than 50 individuals in a language group that reaches the five percent trigger,
translation of vital written materials is not required for that language; however, written
notice must be provided in this language of the right to receive competent oral
interpretation of vital documents, free of cost.

Appropriate language assistance measures will vary from community to community, but
may include oral language services (spoken translation) as well as written translation of
documents that are vital for accessing services (such as schedule brochures, “how to
ride” guides, applications for reduced fare or paratransit services, passenger policies,
notices about service changes and public hearings, emergency evacuation instructions,
and facilities signage).

For detailed guidance on complying with LEP requirements, consult the U.S. DOT LEP
policy   guidance    (https://www.gpo.gov/fdsys/pkg/FR-2005-12-14/pdf/05-23972.pdf).
Additional resources are listed at the end of this chapter. LOTS public outreach
requirements are also included in Chapter 14.
Federal Environmental Justice Requirements (All Construction Projects)

The U.S. Environmental Protection Agency (EPA) defines environmental justice as “the
fair treatment and meaningful involvement of all people regardless of race, color, national
origin, or income, with respect to the development, implementation, and enforcement of
environmental laws, regulations, and policies.” U.S. DOT Order 5610.2, 77 FR 27534, is
based on Executive Order 12898, “Federal Actions to Address Environmental Justice in
Minority Populations and Low-Income Populations.” For FTA grantees and LOTS,
environmental justice requirements are tied to the distribution of benefits and burdens

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associated with transit projects. Environmental justice requirements are addressed in
FTA circular 4703.1, “Environmental Justice Policy Guidance for FTA Recipients”
(https://www.transit.dot.gov/regulations-and-guidance/fta-circulars/environmental-
justice-policy-guidance-federal-transit).

The FTA expects grantees and subgrantees to consider these goals in planning, project
development, and all public outreach and participation efforts conducted.

For new construction and major rehabilitation or renovation projects, an environmental
justice analysis must be submitted. Recipients should integrate an environmental justice
analysis into the National Environmental Policy Act (NEPA) documentation of
construction projects. Recipients are not required to conduct environmental justice
analyses of projects where NEPA documentation is not required.

Any LOTS undertaking new construction and major rehabilitation or renovation projects
must work closely with their Regional Planner throughout this process to ensure that
environmental justice requirements are met.


EQUAL EMPLOYMENT OPPORTUNITY (EEO)

LOTS, as employers, may not discriminate in any aspect of employment, including but
not limited to, hiring and firing, testing, recruitment, and promotion. As an employer,
LOTS may not discriminate against any individual on the basis of race, color, religion,
national origin, sex (including gender identity, sexual orientation, and pregnancy), age,
genetic information, disability, or veteran status. There are numerous steps that LOTS
must take to assure authorities that EEO policies are actively practiced. It is the
responsibility of every LOTS to ensure that their agency is in compliance with the Federal
and State EEO guidelines concerning discrimination in the workplace. The FTA
requirements are detailed in FTA circular 4704.1A, “Equal Employment Opportunity
(EEO) Requirements and Guidelines for Federal Transit Administration Recipients,”
which was updated in 2016 (https://www.transit.dot.gov/regulations-and-guidance/civil-
rights-ada/eeo-circular).

Non-discrimination in Employment under the Civil Rights Act of 1964

Title VII of the Civil Rights Act of 1964 prohibits employment discrimination based on race,
color, religion, sex, and national origin or retaliation. Employment discrimination is also
covered by Title VI if Federal financial assistance is provided for the purpose of
employment, or if employment discrimination results in discrimination against program
beneficiaries.

To avoid discrimination against LEP individuals on the grounds of national origin, Title VI
regulations require Federal funding recipients to take reasonable steps to ensure that
LEP individuals receive the language assistance necessary to afford them meaningful
access to their programs and activities.



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Non-discrimination in Employment under the ADA

LOTS grantees cannot discriminate against individuals with disabilities when hiring or in
the workplace when an individual with a disability has been hired. Titles I and V of the
ADA prohibit employment discrimination against qualified individuals with disabilities in
the private sector, as well as in State and local governments. Employers with 15 or more
employees are required to provide reasonable accommodation for individuals with
disabilities, unless it would cause undue hardship. Undue hardship means that an
accommodation would be unduly costly, extensive, substantial or disruptive, or would
fundamentally alter the nature or operation of the business.

A reasonable accommodation is any change in the work environment or in the way a job
is performed that enables an individual with a disability to enjoy equal employment
opportunities. Examples of reasonable accommodation include making existing facilities
used by employees readily accessible to and usable by an individual with a disability;
restructuring a job; modifying work schedules; acquiring or modifying equipment;
providing qualified readers or interpreters; or appropriately modifying examinations,
training, or other programs. Reasonable accommodation also may include reassigning a
current employee to a vacant position for which the individual is qualified, if the individual
becomes disabled and is unable to do the original job. However, there is no obligation to
find a position for an applicant who is not qualified for the position sought. Employers are
not required to lower quality or quantity standards in order to make an accommodation,
nor are they obligated to provide personal use items such as glasses or hearing aids.
(Source: The U.S. Equal Employment Opportunity Commission, “The ADA: Questions
and Answers” http://www.eeoc.gov/facts/adaqa1.html).

For assistance with accommodating individuals with disabilities as employees, the Job
Accommodation Network, a service provided by the U.S. Department of Labor's Office of
Disability Employment Policy (ODEP), facilitates employment and retention of workers
with disabilities. Job Accommodation Network provides free consulting services for
employers, including one-on-one consultation about all aspects of job accommodations,
including the accommodation process, accommodation ideas, product vendors, referral
to other resources, and ADA compliance assistance. The website, http://askjan.org/,
provides accommodation ideas for employees with many different types of disabilities at
http://askjan.org/media/atoz.htm.

EEO Requirements for All LOTS

All LOTS, regardless of size, are required to include the following policies and procedures
in their basic EEO program.

     x    Responsible party – Identify the office or individual responsible for ensuring
          compliance with EEO requirements. Include this information in the ATP. The EEO
          officer should be an executive and must have direct access to the LOTS Chief
          Executive Officer.

     x    Written policy statement – Develop a formal EEO policy not to discriminate
          against any employee or applicant and take affirmative action to ensure that

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          applicants are employed and employees treated without regard to race, color,
          religion, national origin, sex (including gender identity, sexual orientation, and
          pregnancy), age, genetic information, disability, veteran status, or any other
          protected class. Those LOTS systems that do not meet the Federal thresholds for
          a formal EEO program (described below) are still required to ensure that their
          hiring and employment practices are not discriminatory by developing and
          publicizing their policy to comply with EEO.

     x    Complaint procedure – Establish a procedure for handling EEO employment
          complaints. All employees and applicants have the right to file complaints alleging
          discrimination on the basis of race, color, creed, national origin, sex, age or
          disability, regardless of whether the transit system has a formal EEO program (as
          required for larger organizations). The LOTS should have procedures in place for
          receiving, processing, and handling EEO complaints. The LOTS are required to
          immediately report any EEO complaints to the MTA.

     x    Internal and External Dissemination (Notice to employees and applicants) –
          Post notices setting forth your EEO policy in conspicuous places and make them
          available to employees and applicants for employment. Employees should be
          made aware of the fact that the EEOC has established a grievance process that
          can     be   accessed       at   the  Federal,    State,   and    local levels:
          https://www.eeoc.gov/employees/charge.cfm.

     x    Annual certification and assurances – Certify annually in the ATP certifications
          and assurances that EEO requirements are being met.

     x    Complaint reports – Notify the MTA immediately of any EEO complaints. Also,
          the LOTS must report EEO complaints annually as part of the ATP certification and
          assurances process and quarterly as part of the quarterly review process. The
          LOTS must also submit their EEO Complaint Log as part of the quarterly review
          process. Attachment 13.A provides an example of a civil rights complaint log that
          the LOTS can use for this purpose.

     x    Status report – Indicate as part of the annual ATP grant application process
          whether or not the organization has 50 or more transportation-related employees,
          received more than $1 million in FTA capital or operating assistance or more than
          $250,000 in FTA planning assistance in the fiscal year preceding the application
          year, and, if yes, whether or not the organization has an FTA-approved EEO
          program (described below).

In addition, LOTS with 15 or more employees must have:

     x    Policy and procedures for making reasonable accommodations – For
          individuals with disabilities upon request.    For more information on this
          requirement, see https://www.eeoc.gov/facts/accommodation.html.

A sample EEO program, for any LOTS that does not exceed the threshold for a formal
FTA-approved program, is provided as Attachment 13.C. All LOTS that meet the

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minimum EEO program threshold are required to maintain a written, documented copy of
their EEO Program on file and must be able to provide such to the FTA or MTA upon
request. LOTS must also update their EEO Program as changes occur.

EEO Requirements for LOTS that Meet Federal Thresholds for a Formal EEO
Program

The requirements are more formal for any LOTS grantee that both:

     1. Directly employs 50 or more transit-related employees (including temporary, full-
        time, or part-time employees) or indirectly employs them through a contractor or
        contractors,1 and
     2. Received in excess of $1 million in capital or operating assistance or in excess of
        $250,000 in planning assistance in the previous Federal fiscal year.

A LOTS status could change year-to-year, depending on funding awards and size of staff.
The MTA Office of Local Transit Support and/or Office of Equal Opportunity Compliance
Programs will contact the LOTS that meet these thresholds when grant awards are made
and work with you to ensure compliance.

In addition to the above minimum EEO Program requirements specified for all LOTS,
those LOTS that meet the thresholds for a formal EEO Program are also required to
establish the following formal EEO Program policies and procedures:

     x    EEO Officer – All transit systems or their jurisdictional governments that meet the
          Federal thresholds must designate an EEO Officer who is responsible for ensuring
          that EEO obligations are fulfilled. This officer should report directly to the grantee’s
          Chief Executive Officer. Care should be taken to make sure there is no conflict of
          interest for the individual in this position or among the staff administering the
          program (for example, a personnel officer).

     x    Policy statement – A statement of policy regarding non-discrimination in the
          workplace. This must be dated and signed by the agency’s CEO/GM covering all
          employment and personnel practices, including recruitment, hiring, promotions,
          terminations, transfers, layoffs, classification, compensation, training, benefits,
          complaints, and other terms and conditions of employment.

     x    Plan for Dissemination (both internally and externally) – The FTA requires
          agencies to publicize and disseminate their EEO policy statement by posting it in
          conspicuous locations so that employees, applicants, and potential applicants are
          aware of the agency’s commitment to the EEO. Agencies are required to
          disseminate their EEO policy internally and externally (see Attachment 13.C for

1 For example, if a city (receiving over $1 million in FTA funds) with ten transit-related employee contracts
with a private provider who employs 40 transit-related employees, then neither the city nor the contractor
is required to have and submit the formal EEO Program. However, if the city (the grantee) exceeds both
thresholds, then the grantee would be required to submit a formal EEO Program to the FTA. If the
contractor employs 50 or more transit-related employees, the grantee must ensure that the contractor
submits a formal EEO Program to the grantee for MTA’s review and approval.

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          more detail). LOTS need to be aware of and address employment barriers that can
          include having employment material only available in English and not available for
          individuals with LEP. LOTS also need to address outreach efforts to populations
          that are underrepresented in their workforce.

     x    Designation of Personnel Responsibility – The FTA requires agencies to
          designate an executive as the EEO Officer who will report to and is directly
          responsible to the agency’s CEO/GM. Since managing the EEO Program requires
          a commitment of time and resources, the FTA requires agencies and their senior
          managers to give the EEO Officer support and assign sufficient staff to
          successfully carry out the EEO Program, as appropriate. The FTA requires
          agencies to name the EEO Officer and publicize the individual’s contact
          information in all internal and external communications regarding the agency’s
          EEO Program. This will include publishing the EEO Officer’s contact information
          prominently in both print and electronic communications.

     x    Assessment of Employment Practices – An assessment of past employment
          practices (include hiring, recruiting, training, discipline and dismissal) and
          proposed remedies for problem areas, with a detailed assessment of present
          employment practices (broken down by employee classification, race and sex) to
          identify those practices that operate as employment barriers and unjustifiably
          contribute to underutilization. The FTA requires agencies to identify all problem
          areas and propose a program of corrective actions as part of their EEO Program
          (see Attachment 13.C for more detail). LOTS need to address the.

     x    Monitoring and Reporting System – The LOTS monitoring and reporting system
          must assess EEO accomplishments, enabling the agency to evaluate the EEO
          Program during the year and to take any necessary corrective action, where goals
          were not met, and provide a precise and factual database for future projections
          (see Attachment 13.C for more detail).

EEO Requirements for LOTS that Employ 100 or More Transit-Related Employees

In addition to the above formal EEO Program requirements, LOTS that employ 100 or
more transit-related employees must meet the following two additional formal EEO
Program requirements:
    1. Workforce Utilization Analysis – A workforce analysis consisting of an
       identification of areas of underutilization. The FTA now only requires this for
       grantees with 100 or more transit-related employees. A workforce utilization
       analysis will include the following minimum analysis:
           o A statistical breakdown of the LOTS’ work force by job
               classification/category cross-referenced by race and sex,
           o A percentage breakdown of the current workforce cross-referenced by
               group, and
           o An availability percentage and underutilization by classification/category
               cross-referenced by group.



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     2. EEO Goals and Timetables – There are goals and timetables set to correct any
        underutilization of specific classes of individuals identified in the workforce
        utilization analysis. The FTA only now requires this for grantees with 100 or
        more transit-related employees. LOTS Goals and timetables must contain
        specific and detailed percentages and numerical goals within an established
        timeframe (the next four-year period) for any categories of underutilization. The
        LOTS that fail to meet their goals for the prior reporting period must justify why the
        goal was not reached and will include narrative of the efforts the LOTS have made
        to reach the goals and any new efforts to be used based upon the results of the
        latest utilization analysis.

 Each year as part of the ATP grant application process, the MTA Office of Local Transit
 Support will review those LOTS that meet the Federal thresholds requiring a formal EEO
 Program (100 or more employees) or an abbreviated Program (50-99 employees) . The
 MTA will work with the LOTS directly to ensure they comply with the applicable EEO
 requirements for that year and have the appropriate EEO Program on file. Those LOTS
 that meet the Federal thresholds, but do not have an EEO Program on file, will be
 required to send their EEO Programs and updates to the MTA Offices of Local Transit
 Support and Equal Opportunity Compliance Programs for review and approval prior to
 or as part of their ATP grant award process.

 The MTA will send these EEO Programs to the FTA for review. The FTA must approve
 EEO Programs.

 FTA requires that an EEO Program update be conducted at least every four years (note,
 this formal update may occur sooner as part of the ATP process if major changes occur
 in the LOTS work force or in employment conditions). MTA will annually notify those
 LOTS that need to conduct a formal EEO Program update.


DISADVANTAGED BUSINESS ENTERPRISE (DBE)

The U.S. DOT Disadvantaged Business Enterprise (DBE) Program seeks to ensure non-
discrimination in the award and administration of U.S. DOT-assisted contracts in the
Department's highway, transit, and airport financial assistance programs and to create a
level playing field on which DBEs can compete fairly for U.S. DOT-assisted contracts.
The DBE regulations are contained in 49 CFR Part 26 - Participation by Disadvantaged
Business Enterprises in Department of Transportation Financial Assistance Programs.

Under this rule, a DBE is defined as “a for-profit small business concern” when:

     (1) At least 51 percent is owned by one or more individuals who are both socially and
         economically disadvantaged or, in the case of a corporation, in which 51 percent
         of the stock is owned by one or more such individuals, and

     (2) The management and daily business operations are controlled by one or more of
         the socially and economically disadvantaged individuals who own it.”


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All LOTS must ensure that they do not discriminate against DBEs in the awarding and
administration of FTA- and MTA-assisted contracts. Grantees must also create a level
playing field on which DBEs can compete fairly for U.S. DOT-assisted contracts, ensure
that only firms that fully meet eligibility standards are permitted to participate as DBEs,
help remove barriers to the participation of DBEs, and assist the development of firms
that can compete successfully in the marketplace outside the DBE program. FTA DBE
requirements and guidance can be found on the FTA website at
https://www.transit.dot.gov/regulations-and-guidance/civil-rights-ada/disadvantaged-
business-enterprise.

DBE Requirements for All LOTS

It is the responsibility of every LOTS to ensure that their agency is in compliance with the
Federal and State DBE guidelines. All LOTS are required to:

     x    Designate a DBE Officer. All transit systems or their jurisdictions should have a
          designated DBE Officer who is responsible for ensuring that DBE obligations are
          fulfilled.

     x    Develop a formal DBE policy statement that prohibits discrimination against
          DBEs in the award of contracts. The requirements for this statement are described
          later in this chapter.

     x    Establish a procedure for handling DBE complaints. Any individual who
          believes that the DBE regulations have been violated may file a written complaint.
          The LOTS must have a procedure in place to receive, handle and resolve any DBE
          complaints, including reporting them immediately to the MTA.

     x    Certify annually that DBE requirements are being met. The LOTS certify that
          they comply with DBE regulations as part of the ATP annual certifications and
          assurances.

     x    Report any DBE complaints to the MTA. The MTA should be notified
          immediately of any complaints. In addition, DBE complaints must be reported
          annually as part of the ATP certification and assurances and quarterly as part of
          the quarterly review process. The LOTS must submit their DBE Complaint Log as
          part of the quarterly review process. Attachment 13.A provides an example of a
          civil rights complaint log that the LOTS can use for this purpose.

     x    Identify in ATP the current status of DBE Program indicating whether the
          system has an official FTA approved program.

     x    Develop and submit a formal DBE Program. The State of Maryland requires all
          LOTS to develop and follow a formal DBE program. The required elements of the
          DBE program and submission requirements and procedures are outlined on page
          13-18. An FTA template for a DBE program is provided as Attachment 13.D.




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      x    Establish DBE goals. The State of Maryland requires all LOTS to establish
           individual DBE goals for all procurements over $25,000 that have subcontracting
           possibilities. The MTA submits these goals to the FTA as part of its annual
           submittal to the FTA. The goal-setting requirements are outlined on page 13-19.

      x    Report to the MTA. As part of the ATP application process, all LOTS are required
           to submit a statement indicating the previous year’s DBE goal and the results of
           their efforts to achieve this goal. Additionally, each applicant will need to submit a
           new goal for the upcoming year. Further, all LOTS that have DBE goals
           established for procurements exceeding $25,000 must submit quarterly
           statements to MTA’s Office of Equal Opportunity Compliance Programs that
           include a running tally of DBE attainments. Reporting requirements are described
           below.

The Formal DBE Program Requirement

The State of Maryland requires that all LOTS develop and follow a formal DBE program
and establish individual DBE goals for all procurements over $25,000 with subcontracting
possibilities. This requirement is designed to ensure that businesses owned and
controlled by socially and economically disadvantaged individuals are given fair
opportunity to participate in Federally-funded contracts.

All LOTS or their governmental units (county, city, regional council) are required to have
a formal DBE program and to send it to the MTA as part of their annual ATP process. The
LOTS will be required to update and provide their DBE programs every three years (or
sooner if needed) to the MTA for review. If the LOTS is part of a county or city government
that has a DBE program, and the transit program is using that program, the local
government’s program must be submitted to the MTA, and the LOTS must attest to the
fact that the transit system follows the county/city DBE program/goals.

The MTA will review the LOTS DBE programs to ensure that they comply with Federal
and State requirements.

If your agency has $250,000 or more in U.S. DOT-assisted prime contracting
opportunities from FTA planning, capital (excluding transit vehicles), and/or operating
assistance in a Federal fiscal year,2 you must have an FTA- or FHWA-approved DBE
program as a precondition for receiving U.S. DOT financial assistance. Attachment 13.D
provides a template for a DBE program meeting U.S. DOT requirements. If the LOTS
meets Federal thresholds, MTA will send these formal DBE programs to FTA for review
and approval. This is a one-time submission to the FTA, and only needs to be resubmitted
when significant changes in the program occur. However, the U.S. DOT DBE Program
requirement continues until all U.S. DOT funds are expended.




249  CFR 26 states prime contracting opportunities include “DOT-assisted contract means any contract
between a recipient and a contractor (at any tier) funded in whole or in part with DOT financial assistance,
including letters of credit or loan guarantees, except a contract solely for the purchase of land.”

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If needed, assistance in developing a DBE program is available through MTA’s Office of
Equal Opportunity Compliance Programs. Developing and following a formal DBE
program includes:

     x    Identifying contracting opportunities,
     x    Analyzing DBE availability to provide products or services identified for contracting,
     x    Establishing DBE goals for annual contract participation by disadvantaged
          businesses. Goals must be based on demonstrable evidence of the availability of
          ready, willing, and able DBEs relative to all businesses that are ready, willing, and
          able,
     x    Using good faith efforts to achieve contract goals,
     x    Using only certified DBE firms by developing a directory of DBE-certified firms to
          be notified when competitive procurements are advertised (the LOTS are allowed
          to use the MDOT list of certified DBEs), and
     x    Maintaining a record of steps taken and participation achieved.

The MTA will review contracting activity records during periodic compliance review site
visits as part of their monitoring obligations to FTA.

          DBE Goals

          Your overall/annual DBE goal must be based on demonstrable evidence of the
          availability of ready, willing and able DBEs relative to all businesses ready, willing,
          and able to participate on U.S. DOT-assisted contracts ("relative availability of
          DBEs").
          A contract goal is the percentage of participation in a specific contract for which
          your organization proposes to achieve with the assistance of certified DBE firms.
          You may use contract goals only on those U.S. DOT-assisted contracts that have
          subcontracting possibilities. You are not required to set a goal on every U.S. DOT-
          assisted contract. Goals are set on a contract-by-contract basis, depending on
          such factors as the type of work involved, the location of the work, and the
          availability of DBE firms. A contract goal is a means used to meet the overall goal.
          Local grantees are expected to develop their own goals based on analysis of
          available DBE firms to perform the type of work to be contracted. U.S. DOT does
          not approve your goal and recipients are not required to achieve a minimum goal.
          However, U.S. DOT does review and approve the methodology used to establish
          the overall goal. A description of the LOTS methodology used to reach the LOTS
          overall goal is a requirement of the DBE program. U.S. DOT guidance on goal-
          setting is available online at: http://www.osdbu.dot.gov/DBEProgram/tips.cfm.

          Overall goals should be calculated as a percentage of all FTA funds (exclusive of
          funds to be used for the purchase of transit vehicles, which have separate DBE
          requirements as described below) that the grantee will expend in FTA-assisted
          contracts in the forthcoming fiscal year. Grantees may also be permitted to



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         express an overall goal as a percentage of funds for a particular grant and/or
         project.

         DBE goal setting requirements are different for procurements involving $25,000 or
         more in Federal/State funds for operating or capital purchases than they are for
         procurements involving less Federal/State funding.

         x    Procurements involving over $25,000 in Federal/State funds operating or
              capital, excluding vehicle purchases. Since the State requires that these
              procurements are competitively bid, LOTS must undertake a competitive
              bidding process that includes individual DBE project goal setting and FTA DBE
              language in the contract. All procurements over $25,000 in Federal/State funds
              must be pre-approved by the MTA OLTS and LOTS must obtain a concurrence
              letter from the MTA. The LOTS must report quarterly on any contractor
              achievement goals set to MTA’s Office of Equal Opportunity Compliance
              Programs. Standard report forms can be obtained by contacting the MTA
              Office of Equal Opportunity Compliance Programs. If the procurement is over
              $50,000, the project-specific goal must be reviewed and approved by the Office
              of Equal Opportunity Compliance Programs and MTA Procurement Review
              Group (PRG).

         x    Purchases involving $25,000 or under in Federal/State funds operating or
              capital, excluding vehicle purchases. A local systemwide DBE goal will have
              been set for those purchases under $25,000 in Federal/State funding. DBE
              compliance on these purchases is achieved through use of the LOTS DBE
              plan. Each purchase would not be subject to individual DBE goals, but could
              be part of the overall annual LOTS DBE goal. The DBE goal for this type of
              purchase could be for the LOTS system itself or may be for the overall DBE
              program for the jurisdiction.

              As with purchases over $25,000, capital grant purchases $25,000 or less still
              must be pre-approved by the MTA OLTS and a concurrence letter obtained by
              the LOTS.

         Required Elements

         The DBE program must include:

         x    Policy Statement – Your DBE program must include a signed and dated policy
              statement that is circulated throughout your organization as well as to the
              business community regarding non-discrimination in the awarding of contracts.
              Grantees must distribute a signed and dated policy statement that expresses
              a commitment to the DBE program, states its objectives, and outlines
              responsibilities for its implementation. The statement must be circulated
              throughout the organization and to the DBE and non-DBE business
              communities that perform work on FTA-assisted contracts. This requirement
              can be met for the outside business community by including the policy
              statement in all procurements involving FTA funds.

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         x    DBE Goals and Goal Setting – Described above.

         x    Public Participation – Grantees must provide for public participation that
              includes:

              o Consultation with minority business groups, women’s business groups,
                general contractor groups, community organizations, and other officials or
                organizations that could be expected to have information concerning the
                availability of disadvantaged and non-disadvantaged businesses, the
                effects of discrimination on opportunities for DBEs, and a grantee’s efforts
                to establish participation of DBEs.
              o
              o A published notice announcing proposed overall goals, informing the public
                that the proposed goal and its rationale are available for inspection during
                normal business hours at the principal office for 30 days following the date
                of the notice, and informing the public that comments on the goals will be
                accepted for 45 days from the date of the notice. The notice must include
                addresses to which comments may be sent. The notice must be published
                in general circulation media and be available in minority-focused media and
                trade association publications.

         Reporting Requirements

         x    Annual Submittals – The LOTS must submit overall DBE goals to the MTA for
              review each year as part of their ATP process. Grantees required to have a
              written program that are part of a local government (county or incorporated
              municipality) may be allowed to submit a single plan to FHWA if the local
              government receives more funding from FHWA than from the FTA. If this
              situation occurs, the MTA OLTS should be contacted to confirm that a separate
              FTA program is not required. The grantee must still submit transit-specific
              goals to the MTA on an annual basis.

         x    Good Faith Efforts – If a recipient awards a contract to a firm that does not meet
              the specific DBE contract goal, it must demonstrate that it made a sufficient
              “good faith effort.” Refer to 49 CFR Part 26, Section 26.53 for a detailed
              description of good faith efforts. The grantee should require contractors to
              obtain approval from its DBE Officer prior to substituting a DBE firm after a
              contract is awarded.

         x    Uniform Report of DBE Awards or Commitments and Payments – The MTA is
              required to submit a Uniform Report of DBE Awards or Commitments or
              Payments. The LOTS are required to report on DBE activity quarterly to the
              MTA for inclusion in these reports. Prime Contractor and DBE subcontractors
              should submit their reports to the MTA Office of Equal Opportunity Compliance
              Programs. Standard Report forms can be obtained from MTA Office of Equal
              Opportunity Compliance Programs.



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         Certification of DBEs – Non-Vehicle Procurements

         Each LOTS must ensure that only firms certified as eligible DBEs consistent with
         the Federal standards participate as DBEs in their program. The Federal
         regulations give specific guidance on determining eligibility based on group
         membership or individual disadvantage, business size, ownership, and control.
         The application form to be used for certification of DBEs is Appendix F of 49 CFR
         Part 26.

         Divisions within MDOT participate in a Unified Certification Program (UCP) which
         is intended to provide “one stop” shopping for DBE firms and contractors
         competing on U.S. DOT-assisted contracts. The LOTS must use the MDOT list of
         eligible DBEs if they do not have their own list of certified DBEs or if they are
         concerned that their list does not accurately reflect the potential DBEs in their area.
         The MDOT list can be found online at https://mbe.mdot.maryland.gov/directory/.

         Certification of Transit Vehicle Manufacturers (TVMs)

         FTA assistance used to procure vehicles for public transportation purposes is not
         included in the base amount from which the organization’s overall DBE goal is
         calculated.

         FTA grantees (and LOTS for their vehicle procurements) must require that each
         TVM, as a condition of being authorized to bid on transit vehicle procurements
         funded by the FTA, certify that it has complied with the requirements of 49 CFR
         26.49.

         Only those TVMs listed on FTA's certified TVM list, or that have submitted a goal
         methodology to FTA that has been approved or has not been disapproved at the
         time of solicitation, are eligible to bid.

         After receiving MTA concurrence, but prior to making award of a transit vehicle
         procurement, the LOTS must notify the MTA of the name of the successful bidder
         and the total dollar value of the contract.

         More information is available at https://www.transit.dot.gov/regulations-and-
         guidance/civil-rights-ada/transit-vehicle-manufacturers-tvms.

         Requirements for Contracts with Third-Party Vendors

         Contracts which involve subcontractors must also include an overall contract goal.
         The grant recipient must implement appropriate mechanisms to ensure
         compliance by all participants with all DBE program requirements.

         The LOTS are required to include language in the contract that ensures prompt
         payment of DBE subcontractors and return of retainage.



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          The LOTS must also monitor DBE compliance of third party vendors. Individual
          vendor contracts will identify a DBE goal for the vendor to achieve. The LOTS
          must report quarterly on contractor achievement of goals to MTA Office of Equal
          Opportunity Compliance Programs.

          The U.S. DOT takes DBE fraud very seriously and expects funding recipients to
          monitor third party vendors, including conducting site reviews, to ensure that
          subcontractors are actually performing the work for which they were included in
          the project proposal/bid.

          The U.S. DOT requires recipients to search the System for Awards Management
          (SAM), at www.sam.gov to verify that contractors and subcontractors have not
          been excluded from participating on Federally-funded projects before entering any
          agreement with a contractor.


EMERGENCY PREPAREDNESS AND CIVIL RIGHTS

As LOTS work to improve their ability to respond and recover from emergencies and
disasters, they have a responsibility to ensure that individuals will not be denied the
benefits of, be excluded from participation in, or subject to discrimination under these
essential transportation programs. Recipients of FTA funds should ensure that their
emergency preparedness, disaster response, and disaster recovery planning and
operations comply with Federal civil rights laws.

Consideration of this aspect during emergency preparedness is especially important for
the LOTS that operate in areas vulnerable to natural or man-made disasters and that also
have populations with relatively high numbers and proportions of minorities, low income
individuals, seniors, individuals with disabilities, and individuals with LEP.

Executive Order 13347, Individuals with Disabilities in Emergency Preparedness (July
2004), states the Federal government’s policy to ensure safety and security of individuals
with disabilities in emergency situations and in emergency preparedness planning.

While there are no FTA regulations or requirements that specifically address the
relationship between non-discrimination requirements and planning for transit emergency
preparedness, civil rights laws clearly require that evacuation assistance of special needs
populations be considered. The expression “special needs populations” is broad and can
mean different things in different contexts. It has been used in FTA and U.S. DOT reports
to include a wide range of people, including:

     x    Individuals with disabilities,
     x    Racial and ethnic minority groups,
     x    Individuals who do not speak English,
     x    Children,
     x    Seniors,
     x    People who live in poverty,

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     x    People without private transportation,
     x    People who rely on caregivers for assistance, and
     x    People who live in facilities (such nursing homes or assisted living facilities), as
          well as people who live independently.

MTA Requirements

The MTA requires that each LOTS prepare a Safety, Security, and Emergency
Preparation Plan (SSEPP). During the development of the SSEPPs, LOTS should
consider special populations that are vulnerable in the event of an emergency.

Planning Guidelines

Some key areas to address in planning for emergencies include:

     x    Public involvement in the emergency preparedness planning – Affording
          opportunities for minority, low-income, LEP individuals, seniors, individuals with
          disabilities, and households without vehicles to actively participate in the process.
          This includes providing opportunities for public participation through means other
          than written communication, such as personal interviews or use of recording
          devices. (See Chapter 14 for recommendations on inclusive and accessible public
          participation in planning.)

     x    Identifying the needs of the targeted populations – Identifying the vulnerable
          populations in your area and planning for the unique needs of these populations.
          This may include demographic profiles to understand the location of transportation-
          disadvantaged populations during an emergency.

     x    Communicating with the general public and the focus populations – Creating
          processes and procedures for communicating emergency preparedness
          information and instructions to the targeted populations. This includes providing
          emergency instructions in alternate languages and accessible formats and using
          dissemination media that is targeted to special needs populations.

     x    Working with intermediary organizations – Partnering with local faith-based
          organizations, cultural organizations, social service agencies, and other non-profit
          organizations that work with special needs populations and have credibility with
          the people they serve.

     x    Evacuation planning – Making provision for evacuation and sheltering of
          individuals in emergency situations, in particular evacuation procedures that
          address the needs of the targeted populations. Prepare internal staffing fleet
          management and train staff in plan implementation procedures. Identify staff
          members who are bilingual and who could aid LEP individuals in an emergency.

     x    Use of public transit – Making provisions for the use of the area’s public transit
          system for coordinated human service transportation to assist in the evacuation or
          to return people to their communities when the emergency has ended.

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     x    Interagency coordination – Making provisions to coordinate with other agencies
          during the emergency, particularly the jurisdiction’s emergency management
          agencies and first responders, as well as local human service transportation
          providers and assisted living facilities.

Additional resources are listed on the next pages.




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ADDITIONAL RESOURCES

General

     x    MTA Equal Opportunity Compliance Programs -
          https://mta.maryland.gov/fair-practices

     x    FTA Office of Civil Rights -
          https://www.transit.dot.gov/regulations-and-guidance/civil-rights-ada/civil-
          rightsada

Title VI

     x    FTA Circular 4702.1B, “Title VI Requirements and Guidelines for FTA Recipients”
          (2012) - https://www.transit.dot.gov/regulations-and-guidance/fta-circulars/title-vi-
          requirements-and-guidelines-federal-transit
     x    FTA Title VI web page - https://www.transit.dot.gov/regulations-and-
          guidance/civil-rights-ada/title-vi-civil-rights-act-1964

     x    FTA’s Title VI Training webpage - https://www.transit.dot.gov/regulations-and-
          guidance/civil-rights-ada/title-vi-training

     x    49 CFR Part 21 - Nondiscrimination in Federally-Assisted Programs Of The
          Department of Transportation—Effectuation of Title VI of the Civil Rights Act of
          1964 - http://www.ecfr.gov/cgi-bin/text-
          idx?tpl=/ecfrbrowse/Title49/49cfr21_main_02.tpl

Limited English Proficiency (LEP)

     x    U.S. DOT “Policy Guidance Concerning Recipients' Responsibilities to Limited
          English Proficient (LEP) Persons” (2005) - https://www.gpo.gov/fdsys/pkg/FR-
          2005-12-14/pdf/05-23972.pdf

     x    Implementing the Department of Transportation’s Policy Guidance Concerning
          Recipients’ Responsibilities to Limited English Proficient (LEP) Persons: A
          Handbook for Public Transportation Providers, prepared by the Federal Transit
          Administration Office of Civil Rights (2007) -
          http://www.sddot.com/services/civil/docs/LEP_Handbook.pdf

     x    How to Engage Low-Literacy and Limited English Proficient Populations in
          Transportation Decision Making, prepared by PBS&J for the Federal Highway
          Administration (2006) -
          http://www.fhwa.dot.gov/planning/publications/low_limited/index.cfm

     x    Federal Interagency LEP website - www.lep.gov




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Environmental Justice

     x    FTA circular 4703.1, “Environmental Justice Policy Guidance for Federal Transit
          Administration Recipients” (2012) - https://www.transit.dot.gov/regulations-and-
          guidance/fta-circulars/environmental-justice-policy-guidance-federal-transit

     x    Federal Highway Administration’s (FHWA) Environmental Justice website -
          http://www.fhwa.dot.gov/environment/environmental_justice/index.cfm

Equal Employment Opportunity (EEO)

     x    FTA circular 4704.1A, “Equal Employment Opportunity (EEO) Requirements and
          Guidelines for Federal Transit Administration Recipients” (2016) -
          https://www.transit.dot.gov/regulations-and-guidance/civil-rights-ada/eeo-circular

     x    FTA Office of Civil Rights EEO web page -
          https://www.transit.dot.gov/regulations-and-guidance/civil-rights-ada/equal-
          employment-opportunity

     x    U.S. Equal Employment Opportunity Commission - http://www.eeoc.gov/

     x    EEOC grievance process - https://www.eeoc.gov/employees/charge.cfm

     x    EEOC ADA FAQs - https://www.eeoc.gov/facts/adaqa1.html

     x    Job Accommodation Network - http://askjan.org/

Disadvantaged Business Enterprise (DBE)

     x    FTA Office of Civil Rights DBE web page -
          https://www.transit.dot.gov/regulations-and-guidance/civil-rights-
          ada/disadvantaged-business-enterprise

     x    49 CFR Part 26, “Participation by Disadvantaged Business Enterprises in
          Department of Transportation Financial Assistance Programs” -
          http://www.ecfr.gov/cgi-bin/text-idx?tpl=/ecfrbrowse/Title49/49cfr26_main_02.tpl

     x    U.S. DOT Tips for Goal-Setting in the Disadvantaged Business Enterprise (DBE)
          Program - http://www.osdbu.dot.gov/DBEProgram/tips.cfm

     x    FTA Best Practices Procurement Manual, DBE chapter -
          https://www.transit.dot.gov/funding/procurement/bppm-disadvantaged-business-
          enterprise (Note: an update is under way to this manual; the LOTS are cautioned
          that the most current requirements may not be reflected.)




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Emergency Preparedness

In addition to the emergency preparedness resources listed at the end of Chapter 11, the
following resources focus specifically on preparedness for vulnerable populations:

     x    Inclusiveness Preparedness Center - http://inclusivepreparedness.org/

     x    U.S. DOT’s Departmental Guidelines on Emergency Preparedness and
          Individuals with Disabilities - https://www.transportation.gov/civil-rights/civil-rights-
          awareness-enforcement/departmental-guidelines-emergency-preparedness-and

     x    National Council on Disability Emergency Management web page -
          http://www.ncd.gov/policy/emergency-management

     x    “Promising Practices for Fixed-Route & Paratransit Agencies: Communicating
          with Older Adults Before, During & After Emergencies, National Center on Senior
          Transportation” Information Brief (2015) - http://www.nadtc.org/resources-
          publications/promising-practices-for-fixed-route-paratransit-agencies-
          communicating-with-older-adults-before-during-after-emergencies/

     x    Effective Communications for People with Disabilities: Before, During, and After
          Emergencies, National Council on Disability (2014) -
          http://www.ncd.gov/publications/2014/05272014

     x    Paratransit Emergency Preparedness and Operations Handbook, TCRP Report
          160 (2013) - http://www.trb.org/Publications/Blurbs/168321.aspx

     x    Communication with Vulnerable Populations: A Transportation and Emergency
          Management Toolkit, TCRP Report 150 (2011)
          http://www.trb.org/Publications/Blurbs/168321.aspx

     x    Routes to Effective Evacuation Planning Primer Series: Evacuating Populations
          with Special Needs, FHWA (2009) –
          http://www.ops.fhwa.dot.gov/publications/fhwahop09022/

     x    Transportation Equity in Emergencies: A Review of the Practices of State
          Departments of Transportation, Metropolitan Planning Organizations, and Transit
          Agencies in 20 Metropolitan Areas, FTA (2007) -
          https://www.transit.dot.gov/regulations-and-guidance/civil-rights-
          ada/transportation-equity-emergencies

     x    U.S. DOT’s Civil Rights Strategy Paper and Checklist for Communities on
          Addressing the Needs of Transportation Dependent Populations During an
          Emergency – https://www.transportation.gov/civil-rights/emergency-
          preparedness/strategy-paper-checklist




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     x    An ADA Guide for Local Governments: Making Community Emergency
          Preparedness and Response Programs Accessible to People with Disabilities,
          USDOJ - http://www.ada.gov/emergencyprepguide.htm

     x    Functional Needs of People with Disabilities: A Guide for Emergency Managers,
          Planners & Responders, National Organization on Disability -
          http://205.186.160.39/assets/downloads/Guide-Emergency-Planners.html




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                            CHAPTER 13: SUMMARY CHECKLIST

    Immediately report any Title VI, EEO, or DBE complaints to the MTA.
    Develop and submit to the MTA Office of Equal Opportunity Compliance Programs a
     written Title VI program that includes procedures for investigations, complaints, and
     lawsuits, a language assistance plan for individuals with limited English proficiency
     (LEP), and public notification procedures.
    Submit a copy of the Title VI program, list of investigations, complaints or lawsuits and
     the Title VI contact person with your annual ATP.
    Prepare triennial updates to the Title VI program and submit to the MTA Office of
     Equal Opportunity Compliance Programs, unless certain requirements are met.
    If you operate fixed-route services, set system-wide service standards and policies for
     each mode.
    If you operate 50 or more peak fixed-route vehicles in an area with a population of
     200,000 or more, collect and analyze demographic data, evaluate service and fare
     changes, monitor transit service, and prepare and submit a Title VI program to the
     FTA.
    Develop and submit an environmental justice analysis for new construction and major
     rehabilitation or renovation projects.
    Ensure that hiring practices do not discriminate against any individual on the basis of
     race, color, religion, national origin, sex (including gender identity, sexual orientation,
     and pregnancy), age, genetic information, disability, or veteran status.
    Identify the office or individual responsible for ensuring compliance with EEO
     requirements in ATP.
    Develop a written EEO policy statement.
    Establish an EEO complaint procedure.
    Post EEO notices for employees and applicants.
    If you have 15 or more employees, develop policy and procedures for making
     reasonable accommodations for individuals with disabilities upon request.
    Establish a formal EEO program if your organization both: employs 100 or more
     transit-related employees (including temporary, full-time or part-time employees either
     directly employed and/or through contractors), and received in excess of $1 million in
     capital or operating assistance or in excess of $250,000 in planning assistance in the
     previous Federal fiscal year.
    Establish an abbreviated EEO Program if \our organization both: employs 50-99
     transit-related employees (including temporary, full-time or part-time employees
     either directly employed and/or through contractors), and received in excess of $1


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     million in capital or operating assistance or in excess of $250,000 in planning
     assistance in the previous Federal fiscal year.
    Designate a DBE Officer in your annual ATP.
    Develop a formal DBE policy statement.
    Establish a procedure for handling DBE complaints.
    Develop and submit a formal DBE program and send it and updates (every three years
     or sooner) to the MTA Office of Equal Opportunity Compliance Programs for review.
    If your agency has $250,000 or more in U.S. DOT-assisted prime contracting
     opportunities from FTA planning, capital (excluding transit vehicles), and/or operating
     assistance in a Federal fiscal year, obtain an FTA- or FHWA-approval of the DBE
     program as a precondition for receiving U.S. DOT financial assistance.
    Establish individual DBE goals for all procurements over $25,000 that have
     subcontracting possibilities. the OLTS reviews for procurements from $25,000 -
     $49,999; and the Office of Equal Opportunity Compliance Programs reviews and
     approves goals for procurements $50,000 and over.
    Report on success in achieving annual DBE goal.
    If you have procurements exceeding $25,000, submit quarterly statements to MTA’s
     Office of Equal Opportunity Compliance Programs that include a running tally of DBE
     attainments.
    Ensure that only firms certified as eligible DBEs consistent with the Federal standards
     participate as DBEs in your program.
    Require that each transit vehicle manufacturer, as a condition of being authorized to
     bid on transit vehicle procurements funded by the FTA, certifies that it has complied
     with the requirements of 49 CFR 26.49.
    Include language in contracts that ensures prompt payment of DBE subcontractors
     and return of retainage.
    Monitor the DBE compliance of third party vendors.
    Ensure that emergency preparedness, disaster response, and disaster recovery
     planning and operations comply with Federal civil rights laws.
    During the development of the safety and security plans, consider special populations
     that are vulnerable in the event of an emergency.




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Many of the planning and policy development requirements for the LOTS include
specific requirements for public notice and consultation. These requirements
are described or summarized in the chapters of this manual for which they
apply, with supplemental information provided in this chapter. LOTS activities
which require a public participation component include:

     x   The Annual Transportation Plan (LOTS Funding Application) (Chapter 2)
     x   Service Reductions and Fare Changes (Chapters 2, 5, and 13)
     x   ADA Paratransit Service and Policy Changes (Chapter 12)
     x   Other Service Changes (Chapters 2 and 13)
     x   Facilities Development (Chapters 7 and 13)

This chapter presents an overview of the public notice and participation
requirements of each of the following Federal and State compliance areas:

     x   Title VI - Nondiscrimination
     x   Americans with Disabilities Act (ADA)
     x   Half Fare
     x   Public Notice Regarding Fare Changes and Major Service Reductions
     x   Equal Employment Opportunity (EEO) Statement
     x   Public Notice for the Program of Projects (POP)

This chapter is organized into the following major sections:
   x Minimum Requirements for LOTS Public Outreach when Changing Fares
      or Services
   x Other Public Notice and Outreach Requirements for Specific Compliance
      Areas
   x Frequently Asked Questions
   x Additional Resources

Note: Outreach requirements for procurements are not included in this chapter,
but are addressed in Chapter 4 of this manual.




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MINIMUM REQUIREMENTS FOR LOTS PUBLIC OUTREACH WHEN CHANGING
FARES OR SERVICES

Each LOTS is required to develop and maintain a written public notice, public comment,
and public hearing process for considering fare and/or service changes to their transit or
paratransit programs. The MTA must be notified in advance of all proposed fare and
service changes. At a minimum, proposed fare and service changes may be submitted
to the MTA concurrently with the public notice process. This notice must be in writing
and applies to changes in the LOTS’ routes, schedules, service times, bus stop
locations, and/or fares.

Formal Public Comment Process for All Fare Changes and Major Service
Reductions

Prior to implementing any fare change or a major service reduction, a LOTS must
provide a formal opportunity for public comment containing the following elements:

         Written Policies and Procedures

         Each LOTS must have a locally-developed written policy that describes the
         public comment process. The LOTS written policy must include a definition of
         what the LOTS considers a “major service change.” The process must provide
         for an opportunity for a public hearing or public meeting for any fare change or
         major service reduction. The policy must describe how such meetings will be
         conducted and how the results will be considered. The procedures must
         describe how the LOTS will solicit and consider public comments, both during the
         public hearing/meeting as well as those submitted in writing or otherwise. Finally,
         the policy must include a discussion on what strategies will be used to ensure
         adequate public outreach is conducted during the public comment period.

         The locally-developed process must establish guidelines or thresholds for what
         the LOTS considers a “major” change and in particular, a “major service
         reduction.” Often, this is defined as a numerical standard, such as a change that
         impacts (reduces) 25 percent of service hours of a route, or eliminates ten
         percent of the stops along a route. It might also include changes such as a
         reduction in the span of service (e.g., Sunday service or evening service) or
         elimination of service to any geographic area (e.g., cutting service to an outlying
         area or off the end of a route).

         While minor service changes do not require a public comment process, all LOTS
         are strongly encouraged to include all minor service changes in their public
         comment process even if the changes do not fit into the “major service reduction”
         classification. The public and their elected officials generally want to know of any
         major service change, even if they are positive and result in more service.

         Attachment 14.A provides an example of written policies and procedures for
         soliciting public comments on proposed transit service and fare changes.


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         Attachment 14.B provides a checklist of recommended steps to address the
         public notice requirements for fare and service changes.

         Public Comment Period

         LOTS are required to provide a 30-day public comment period for all fare
         changes and major service reductions, and all comments received must be
         considered before a final decision is made to implement the proposed changes.
         An opportunity for a public hearing or meeting must also be provided as part of
         the public comment period, and the public must be allowed at least three weeks
         to request the hearing or meeting.

         The details of the proposed changes must be fully developed and available for
         public review at the onset of the public comment period. Notice of the fare or
         service change must be conspicuously posted in all affected passenger facilities,
         as well as vehicles operating the affected service. Details of the planned
         changes must be fully developed and available to the public at the onset of the
         30-day notification period. Availability of details (e.g., online, print version in
         office, brochure) needs to be included in the announcements of the proposed
         change. Once the details of the proposed change are established, the LOTS can
         open the public comment period and must publicly announce the opportunity to
         comment upon the proposed changes.

         If the LOTS intends to implement the changes immediately following the public
         comment period (i.e., this notice will also serve as the announcement of
         impending changes), the date the changes are planned to take effect must also
         be indicated in the announcement.

         How to Announce the Proposed Change and Opportunity to Comment

         The announcement for any fare change or major service reduction needs to
         include:

              x    Where to find the detailed proposal (for example, on your website, at your
                   administrative offices, etc.),
              x    The arrangements for the public hearing (described below), and
              x    How to submit either electronic or written comments. (All comments must
                   be accepted, recorded, or filed and considered.)

         The announcement should be, at a minimum, published in a newspaper of major
         circulation in your community. A newspaper advertisement is required unless an
         alternate approach is approved in advance by MTA. LOTS wishing to pursue an
         outreach approach that does not include a paid advertisement must submit a
         written request to MTA outlining what they propose to do to notify the public of
         the opportunity to comment on the proposed fare changes or service reduction.

         Other strongly recommended announcement strategies include news releases,
         public service announcements sent to the media, a prominent announcement on

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         your website, flyers on board your vehicles and at your passenger facilities, an
         agenda item for your advisory group, and emailed announcements to your
         customers, community partners and other stakeholders. When deciding how and
         where to announce a proposed change and opportunity to comment on it, you
         must make special efforts to reach out to low income populations, minorities, and
         individuals with limited English proficiency (LEP) to ensure that they are included
         in the process. LOTS requirements under Title VI are described below and in
         more detail in Chapter 13.

         Public Hearing/Meeting

         An opportunity for a public hearing or public meeting is required for any fare
         change or major service reduction. LOTS have the option of either:

              x    Conducting a public meeting or hearing without requiring a request, or

              x    Offering an opportunity for a public meeting or hearing that is
                   conducted only upon request. Under this scenario, the LOTS would
                   announce the opportunity for the hearing/meeting, including the tentative
                   place and time, and the procedures and deadline for requesting the
                   hearing/meeting. The announcement must allow a window of at least
                   three weeks to request the hearing/meeting. If no requests are
                   received by the deadline, the hearing/meeting can be cancelled.

         The approach taken should be in accordance with the LOTS own locally adopted
         policy.

         In either case, the LOTS is required to publish notice of the public
         hearing/meeting (or opportunity to request one) at least 30 days in advance
         of the meeting date.

         The notice needs to include the following:

              x    Summary of the proposed changes,
              x    Where the details of the proposed changes are available for review,
              x    Time, date, and place for the public hearing,
              x    Procedures for submitting written or electronic public comment,
              x    Procedures for requesting special accessibility accommodations at the
                   public hearing as well as of the written information, and
              x    If publishing an opportunity for a hearing upon request, instructions on
                   how to request a hearing must be included in the notice.

         Conducting the Public Hearing/Meeting

         The public hearing must be held at a place and time generally convenient for
         individuals affected by the project. The facility should be located within your
         transit service area and should be held at a time that is served by your transit

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         services so that customers are able to get to and from the hearing using your
         transportation services.

         The meeting must be held in a facility that is accessible to individuals who use
         wheelchairs.

         Meeting communications must also be accessible to individuals with disabilities,
         including individuals with sight and hearing impairments. This means that a sign
         language interpreter must be provided upon request by a deaf individual, and any
         printed materials to be distributed must be prepared in appropriate accessible
         formats (such as large print, audiotape, or braille if feasible) if requested by an
         individual who is blind or has low vision. The published announcement should
         indicate that individuals requiring special accommodations indicate this at the
         time they request the hearing.

         LOTS should follow local policies and procedures for protocol in conducting the
         meeting. Public entities and some private entities are subject to the Maryland
         Open Meetings Act requirements. Guidance on these requirements is found on
         the Maryland Attorney General website:
         http://www.marylandattorneygeneral.gov/Pages/OpenGov/Openmeetings/default.
         aspx

         Consideration of Public Comments

         Once the public comment period closes, the LOTS must consider the comments
         received before determining the final plan of action.

         The LOTS is required to document any feedback received during the public
         review period which includes the public hearing or meeting and document how
         each comment was considered and addressed.

         If, upon consideration of comments, the LOTS decides to pursue a different
         course of action than originally proposed, they may wish to provide further
         opportunity for public comment.

         Documentation

         A copy of the public notice publication, public hearing minutes, a list of attendees,
         copies of written statements submitted during the 30-day period, how comments
         were considered, and the final decision on how comments will be addressed
         must be documented and maintained on file as part of the grant records.

Summary Checklist of the Public Comment Process

As noted above, a detailed checklist of steps in the public notice process is provided in
Attachment 14.B. The minimum timeline is outlined below for the required steps of the
public notice requirements for fare and major service reductions or changes:


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     1. Develop proposal of specific changes to be implemented.

     2. Day 1 - Notify public that material regarding changes is available for the public to
        review, where it is located, and details on any public meeting/hearing.

     3. Days 1-30 - Accept written comments.

     4. Day 30 - Hold public meeting/hearing if required and close the public comment
        period.

     5. Day 30 (post hearing/meeting) - Make final decision on what changes will be
        implemented. This step must be documented in writing.

     6. Day 30 - Announce to the public the results of public consultation process
        including, but not limited to, final decisions and implementation schedule.

     7. Implement changes as appropriate.

Unless there is significant public comment received that necessitates further
deliberation, the proposed change can go into effect 30 days from the date of the notice.
However, since a final decision cannot be made until all public comments are
considered (at the end of the 30 days), you may want to allow some additional time to
inform the public of the change, make changes to your public information materials, and
train drivers and staff.


OTHER PUBLIC NOTICE AND OUTREACH REQUIREMENTS FOR SPECIFIC
COMPLIANCE AREAS

Americans with Disabilities Act

The ADA requires that information be made available in accessible formats (at least
upon request by individuals with disabilities). LOTS requirements under the ADA are
described in Chapter 12. Three areas of these requirements are of particular
importance to LOTS public outreach efforts:

     x    Consulting with individuals with disabilities in developing and planning for
          changes to ADA complementary paratransit services and policies,
     x    Ensuring that public information materials are made available in formats which
          are accessible to individuals with disabilities, and
     x    Ensuring that all public participation activities in the planning process are
          accessible to individuals with disabilities.

     Consultation with Individuals with Disabilities in Developing ADA Paratransit
     Services and Policies

     ADA complementary paratransit services and policies must be developed in
     consultation with individuals with disabilities. Further, such consultation is required

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     when planning any changes to ADA paratransit services, policies, or plans. This
     includes changes to service characteristics and policies as well as eligibility
     determination procedures.

     Accessible Formats

     Adequate information concerning transportation services must be available in
     accessible formats upon request. This obligation under the ADA includes making
     adequate communications capacity available, through accessible formats and
     technology, to enable users to obtain information and schedule service.

     Generally, large print, electronic and audio formats will meet the need for most
     individuals with vision disabilities. However, if there is a demand for braille format by
     blind members of your local community, you may also need to arrange for braille
     printing of some documents as well. Your print materials should indicate that
     accessible formats are available upon request.

     Website Accessibility

     Your website also needs to be accessible to people who use assistive technology,
     such as screen readers used by individuals who are blind or have low vision. Many
     transit systems rely on their websites as a way to provide important information to
     the public, as well as to meet public comment and notice requirements. If your
     website is inaccessible, individuals with vision disabilities will not be able to access
     the information through your website, and are in effect being subject to
     discrimination.

     Website accessibility standards were developed by the U.S. Access Board. Often
     referred to as Section 508 standards (because they are mandated for Federal
     agencies under the Section 508 of the Rehabilitation Act), these standards can be
     found on the Access Board website at http://www.access-board.gov/508.htm.

     Here are some resources and guidelines on Section 508 requirements:

         x    “Accessibility of State and Local Government Websites” published by the U.S.
              Department        of    Justice   Civil  Rights    Division,   online    at:
              http://www.ada.gov/websites2.htm

         x    The Web Accessibility Initiative (WAI) of the World Wide Web Consortium
              (W3C) provides an introduction as well as detailed guidelines for website
              designers through: http://www.w3.org/WAI/gettingstarted/Overview.html

         x    Section 508 of the Rehabilitation Act requires access to electronic and
              information technology procured by Federal agencies. Although they are only
              required for Federal agencies, Section 508 guidelines developed by the U.S.
              Access Board can be a useful resource even at the local level. The Access
              Board guidelines (for which an update is currently underway) can be found at
              http://www.access-board.gov/508.htm.        FTA posted a PowerPoint

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              presentation on creating Section 508 compliant documents on its site at:
              https://www.transit.dot.gov/fta-web-policies/accessibility/508-compliance

     Accessible Telephone Communications

     Ensure that deaf customers have telephone access to your agency by training all
     employees who interact with the public over the phone in using the Maryland Relay
     Service. If you receive a significant number of calls from deaf individuals, equipping
     your office with a TDD/TTY and training staff in its use is recommended. If you have
     a separate TDD/TTY line, be sure to include this telephone number on your printed
     materials.

     Accessible Customer Information within the Service Environment

     Informational accessibility requirements also apply to your bus stop and facility
     wayfinding signage (see Chapter 7) and fixed-route operations (stop announcement
     requirements are described in Chapter 12).

     Accessible Public Participation

     Public participation activities including public meetings must be accessible to
     individuals with disabilities. This includes both physical access of the facility and
     access to information before, during, and after the meeting. This means that a sign
     language interpreter must be provided upon request by a deaf individual, and any
     printed materials to be distributed must be prepared in appropriate accessible
     formats (such as large print, audiotape, or braille if feasible) if requested by an
     individual who is blind or has low vision. Meeting notices should include instructions
     for requesting special accommodations at the meeting (such as sign language
     interpretation).

     In addition to being physically accessible, the meeting facility should be accessible
     via public transit (i.e., located on an accessible fixed-route or within the geographic
     area of demand-response service, conducted during transit hours of operation). If
     regular public transit is not available to the site, offering special service to those who
     need it in order to attend the meeting is strongly recommended. This is important
     not only for individuals with disabilities, but also for people who rely on public transit
     who may be covered under Title VI.

     The following guidance resources may be helpful:

         x    “Coordinated Transportation Planning Information Brief: Requirements,
              Strategies, and Tools for Meaningful Engagement for Older Adults and
              People with Disabilities” Information Brief, National Aging and Disability
              Transportation         Center         -       http://www.nadtc.org/resources-
              publications/coordinated-transportation-planning-information-brief-
              requirements-strategies-and-tools-for-meaningful-engagement-for-older-
              adults-and-people-with-disabilities/


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          x   Expanding Your Market: Accessible Information Exchange: Meeting on a
              Level Playing Field, U.S. Dept. of Justice, provides guidelines for hosting
              meetings that are accessible to individuals with disabilities –
                 http://www.ada.gov/business/accessiblemtg.htm

          x   Expanding Your Market: Gathering Input from Customers with Disabilities,
              U.S. Dept. of Justice, provides guidelines for accessible means for gathering
              customer feedback - http://www.ada.gov/custinfo.htm

Half Fare Notice

As described in Chapter 5, Maryland LOTS may charge no higher than one-half of the
rates generally charged other passengers (i.e., the general public fare) for seniors,
individuals with disabilities, and individuals with valid Medicare cards. This State
requirement applies to fixed-route, route deviation, and commuter bus service, but does
not apply to demand-response service or ADA paratransit service.

This reduced fare must be included with your fare policy wherever it is published or
posted, including route and schedule brochures, fare brochures, and other public
information related to fares.

Public Notice for the Program of Projects of the Annual Transportation Plan

As described in detail in Chapter 2, each jurisdiction that requests operating and capital
assistance from MTA must hold a public hearing or have an opportunity for a public
hearing (which must be conducted if requested) about their ATP/POP.

The public must be notified about the availability of the ATP/POP and provided with an
opportunity to provide comment for a minimum of 30 days. If the opportunity for a public
hearing approach is used, the notice must provide at least three weeks in which to
request the hearing.

Title VI - Nondiscrimination

LOTS requirements under Title VI are described in Chapter 13. Three areas of these
requirements are of particular importance to LOTS public outreach efforts:

     x    Notifying the public of the LOTS’ obligations under Title VI,
     x    Ensuring that public participation activities in the planning process are
          nondiscriminatory, and
     x    Ensuring that individuals with limited English proficiency (LEP) have meaningful
          access to programs and activities.

For more information on Title VI program requirements specific to transit operations,
see Chapter 13 and FTA Circular C 4702.1B, “Title VI Requirements and Guidelines for
FTA Recipients” (https://www.transit.dot.gov/regulations-and-guidance/fta-circulars/title-
vi-requirements-and-guidelines-federal-transit).


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         Notification of Nondiscrimination in the Provision of Services

         The public must be notified of their rights under Title VI as well as procedures for
         filing a complaint. The notice must include:

              x    A statement that the agency operates programs without regard to race,
                   color, and national origin.

              x    A description of the procedures that one should follow to request
                   additional information on the LOTS’ nondiscrimination obligations.

              x    A description of the procedures that one should follow to file a
                   discrimination complaint against the LOTS.

         The FTA has provided the following guidance for complying with the above
         requirements:

              x    Dissemination. Agencies may inform the public of their rights under Title
                   VI through such measures as posters, comment cards, or flyers placed at
                   stations and in transit vehicles, as well as through the agency’s website.

              x    General notification.        Agencies may include a statement of
                   nondiscrimination on the basis of race, color, and national origin as part of
                   a broader statement of its commitment to nondiscriminatory service. This
                   broader statement can also include a commitment to nondiscrimination on
                   the basis of characteristics not covered by Title VI, such as age, gender,
                   and disability.

              x    Document translation. Notices detailing the Title VI obligations and
                   complaint procedures should be translated into languages other than
                   English, as needed according to U.S. DOT LEP requirements. More
                   information about LEP requirements is found below and in Chapter 13 as
                   well as within this chapter.

         Public Participation Activities in the Planning Process

         Under Title VI, LOTS must also undertake steps to ensure that minority
         individuals have meaningful access to public outreach and involvement activities,
         including those conducted as part of the planning process (as described earlier in
         this chapter). Efforts to involve minority and low-income people in public
         involvement activities can include both comprehensive measures, such as
         placing public notices at transit facilities or bus stops and in all vehicles, and
         measures targeted to overcome linguistic, institutional, cultural, economic,
         historical, or other barriers that may prevent minority and low-income people and
         populations from effectively participating in a recipient’s decision-making
         process. Effective practices include:



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              x    Coordinating with individuals, institutions, or organizations and
                   implementing community-based public involvement strategies to reach out
                   to members in the affected minority and/or low-income communities.

              x    Providing opportunities for public participation through means other than
                   written communication, such as personal interviews or use of audio or
                   video recording devices to capture oral comments.

              x    Using locations, facilities, and meeting times that are convenient and
                   accessible to low-income and minority communities.

              x    Using different meeting sizes or formats, or varying the type and number
                   of news media used to announce public participation opportunities, so that
                   communications are tailored to the particular community or population.

         Ensuring Meaningful Access to Programs and Activities by LEP Individuals

         LOTS must ensure that LEP populations in their community are afforded
         meaningful access to programs and activities.           This includes providing
         translations of vital documents, including brochures that provide information
         about transit services, policies, ADA paratransit services, etc. necessary to
         effectively utilize these services.     Vital information provided through the
         organization’s website, as well as by phone and email, should also be translated.

         As outlined in Chapter 13, LOTS are required to develop an LEP implementation
         plan to address the identified needs of the LEP populations it serves. The Title
         VI-required nondiscrimination notification is vital information.

         Title VI also includes ensuring the public participation activities are accessible to
         LEP populations. This means that public notices related to planning activities
         need to be translated into appropriate languages and published in newspapers
         read by the LEP populations in the LOTS service area, vital planning documents
         need to be translated, and translation needs to be made available if needed for
         public meetings and hearings. For some LEP populations, especially for
         planning efforts around services used by the particular population, the LOTS may
         wish to conduct public meetings specifically targeted at this population.

         The following resources provide guidance and promising practices on engaging
         LEP populations in public participation activities:

              x    How to Engage Low-Literacy and Limited English Proficient Populations in
                   Transportation Decision Making, prepared by PBS&J for the Federal
                   Highway Administration (2006) -
                   http://www.fhwa.dot.gov/planning/publications/low_limited/index.cfm

              x    Implementing the Department of Transportation’s Policy Guidance
                   Concerning Recipients’ Responsibilities to Limited English Proficient (LEP)


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                   Persons: A Handbook for Public Transportation Providers, prepared by
                   the Federal Transit Administration Office of Civil Rights (2007) -
                   http://www.sddot.com/services/civil/docs/LEP_Handbook.pdf

         Equal Employment Opportunity Statement

         All employment applications, recruitment brochures, advertising and employment
         correspondences should include the statement “(name of the LOTS) is an Equal
         Opportunity Employer” as well as an equal opportunity statement clause to the
         effect that they do not discriminate on the basis of race, color, religion, national
         origin, sex (including gender identity, sexual orientation, and pregnancy), age,
         genetic information, disability, veteran status, or any other protected class. More
         information on EEO requirements is included in Chapter 13.


FREQUENTLY ASKED QUESTIONS

What is the difference between a public hearing and a public meeting?

A public hearing is a formal process for 1) providing the public with notice about a
proposed plan or project, and 2) affording the public an opportunity to review and
comment upon the proposal, with each comment received considered and addressed
before the final plan or project is voted on by the decision-making board.

A public meeting can be more informal and interactive, and can be used to educate and
consult with the public.

Public meetings are often used when a transit system is exploring several alternatives
for consideration and wants feedback from the community before selecting the preferred
alternative for further planning. In contrast, a public hearing is often a “last chance”
opportunity to express an opinion on a plan which is already well-defined.

What are the protocol requirements for conducting public hearings?

The FTA requires grantees to adopt their own local policies and procedures for soliciting
public comments, and follow these requirements in conducting their hearings. Public
entities (and some private entities) are subject to the Maryland Open Meetings Act
requirements. Guidance on these requirements is found on the Maryland Attorney
General website at:
http://www.marylandattorneygeneral.gov/Pages/OpenGov/Openmeetings/default.aspx.

Under what circumstances is a public hearing required?

Maryland LOTS are required to provide a public hearing, or an opportunity for a public
hearing (and therefore the hearing if requested) prior to submitting their ATP.

LOTS are required to provide a public hearing or a public meeting, or an opportunity for
one, prior to changing fares or implementing a major service reduction. Whether a

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hearing or a meeting is required depends on the LOTS locally developed process to
solicit comments regarding fare changes and major service reductions.

What are the requirements for announcing a public hearing?

Prior to submitting the ATP, the LOTS must publish a notice at least 30 days in advance
of the date of the hearing in a newspaper of general circulation. This is required for the
ATP, as well as part of the public comment process required for changing fares or
reducing services, unless the LOTS has requested in writing and received approval
from the MTA for an alternate approach.

If the community has a large minority of non-English speaking Individuals, the notice
should also be published in a non-English publication following the LOTS’ LEP plan, as
also described in Chapter 13.

The announcement needs to include:

     x    The date, time, and location of the public hearing,

     x    Procedures for submitting written comments about the POP or proposed change,

     x    Procedures for requesting accessibility accommodations, and

     x    If you are publishing an opportunity for a hearing upon request, instructions to
          request a hearing, which must allow at least three weeks to submit the request.

In the case of a public hearing for a POP, the following additional items also need to be
included in the announcement:

     x    Name of applicant,

     x    Area to be served,

     x    Proposed POP - Description of the proposed services and projects for which
          funding will be requested,

     x    Budget and financing information - Notice must identify specific dollar amounts of
          State and/or Federal funds for each project and clearly state that these funds are
          being applied for from the MTA and the FTA,

     x    An itemized list of all current capital requests, and

     x    Where the POP and budget are available for review.

What is considered “adequate public notice” for the public comment period?

At a minimum, an announcement must be published in a newspaper of major circulation
in your community, unless an alternate approach is approved in advance by MTA.

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Other strongly recommended announcement strategies include news releases, public
service announcements sent to the media, a prominent announcement on your website,
flyers on board your vehicles and at your passenger facilities, an agenda item for your
advisory group, and emailed announcements to your customers, community partners,
and other stakeholders, including media with targeted audiences identified in your Title
VI and LEP analyses.

What steps should be taken to ensure that a public meeting or hearing is
accessible to as many members of the community as possible?

     Required:

     x    Choose a location which is accessible to individuals with disabilities, including
          those who use wheelchairs and other mobility devices.

     x    Make all printed information available in accessible formats (e.g., large print,
          audio, electronic, and/or braille) upon request.

     x    Arrange for ASL interpretation, assisted                 listening   devices,   or   other
          accommodations at the meeting upon request.

     x    Ensure that LEP individuals are notified and are provided appropriate language
          assistance.

     Recommended:

     x    Choose a location which is accessible using public transit (both by location and
          time).

     x    Offer alternative transportation for community members unable to get to the
          meeting using public transportation because of time or location.

     x    Hold the meeting at a time when people who use the affected services are likely
          to be able to attend. For example, if the service which transports people to and
          from weekday jobs will be affected, holding the meeting in the early evening (as
          opposed to earlier in the day) is less likely to conflict with the work hours of your
          affected customers.

How should public information and participation accommodate those members of
the community with limited English proficiency (LEP)?

Significant LEP populations (as identified by the LOTS’ LEP plan; see Chapter 13)
should be notified of public outreach and participation opportunities, and be provided
with language assistance measures as identified in the LEP plan.

     x    Notice of Opportunities to Participate – Announcements about public hearings
          and public meetings should be published in local news media targeted at the
          population groups identified in the LEP plan. For public participation in the

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          planning process,             additional        outreach   to   community    organizations     is
          recommended.

     x    Language Assistance Measures – Approaches to providing language assistance
          include arrangements with qualified community volunteers, telephonic and video
          conferencing interpretation services, translating vital documents posted on
          websites, interpreter and translator services (which could be consolidated with
          those needed by other organizations in your community to achieve economies of
          scale).

What is the suggested role of a consumer advisory committee or board?

A standing advisory committee or board of consumers can help the LOTS identify and
address community concerns as they arise as well as in regard to specific planning
projects. With adequate representation of the diversity of the local community, a
consumer advisory group can play a significant role in sounding out proposed service or
fare changes through the planning process, reaching out to different populations within
the community, and identifying potential solutions to challenges. Members of the
committee or board can also become advocates for the transit system in the community.

Consulting the consumer advisory committee is recommended when considering any
service or fare changes as well as policy changes which could affect transit customers.

What are some meaningful approaches to engaging the public in the planning
process?

     x    Community-based meetings hosted by community groups or organizations that
          work with different populations in the community
     x    Hosting an info table at a community resource fair or special event
     x    Brainstorming sessions
     x    Surveys (in person, online, telephone, written)
     x    Focus groups
     x    Working groups/advisory groups
     x    Public meetings/open houses
     x    “Pop-up” events at transfer centers, shopping centers, farmers markets, etc.
     x    Online dialogue
     x    Promoting public involvement activities via social media
     x    Involve school students (also engaging their teachers and parents)
     x    Increase attendance to meetings by providing food at meetings

Additional ideas and guidance can be found in these resources:

     x    Public Participation Strategies for Transit, TCRP                           Synthesis     89     -
          http://www.tcrponline.org/PDFDocuments/tsyn89.pdf




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     x    Community Tools to Improve Transportation Options for Veterans, Military
          Service Members, and Their Families, TCRP Report 160, Chapter 4, Outreach:
          “Getting the Right People to the Table” -
          http://www.tcrponline.org/PDFDocuments/tcrp_rpt_164.pdf

     x    Public Involvement Techniques for Transportation Decision-making -
          http://www.fhwa.dot.gov/planning/public_involvement/publications/pi_techniques/

     x    “Social Media and Inclusive Transportation Planning,” TransitPlanning4All
          webinar slides -
          http://web1.ctaa.org/webmodules/webarticles/articlefiles/socialmediainclusiveplan
          ning.pdf

Why is public outreach important?

As providers of community services funded with public dollars, the LOTS have a
responsibility to:

     x    Educate the public about available services and programs,

     x    Involve the community in planning new services as well as planning changes to
          existing services and programs, and

     x    Inform the public of upcoming changes to services and programs.

Good faith efforts to educate, involve, and inform the public include reaching out to all
members of the community who could benefit from the services, particularly members of
the community who historically have been at a disadvantage in reaching the benefits.
Such groups include:

     x    Low income individuals (who may have lower literacy rates and reduced access
          to information),

     x    People who are not fluent in English (e.g., immigrants from other nations), and

     x    Individuals with disabilities (who may have reduced access to information
          because of available formats).

These community members are also likely to be among the groups most dependent
upon public transit services, and thus it is particularly important to keep them both
informed, as well as engaged, in planning efforts.

What is the difference between public notice and public consultation?

Public outreach activities which public transportation providers need to conduct are
intended to inform and educate the public, consult with the public, or both (as with the
case of a public hearing or meeting).


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x    Notification and Education – The purpose of notification is to provide information
     to the public. Notification that service changes are impending, planning is underway,
     services are provided without discrimination, etc., can take such forms as a memo
     posted on the vehicle or distributed to customers, an advertisement in the paper, a
     public service announcement on the radio, a service advisory posted on the website,
     or a written letter to individual customers.

     Education is a more in-depth form of notification about services and programs, and
     can include a ride guide of instructions on riding the bus, presentations to community
     groups, group travel training, and public meetings or open houses. The purpose of
     education is not only to provide information to the public, but also to help interested
     individuals better understand how to access your services and programs, or how
     planned service changes will affect their travel choices.

x    Consultation – Outreach activities can also be used to request information from the
     public as part of planning service changes, use of funding, etc. Consultation can be
     conducted through surveys, focus groups, advisory committees, meetings with
     stakeholders, and public meetings in which participants are invited to provide
     suggestions and feedback.

     The formal public comment period, required for proposed fare changes and major
     service reductions as described earlier in this chapter, is a form of consultation.
     Since public hearings are typically conducted near the end of the planning process,
     and if not solicited earlier, last-minute feedback could potentially result in surprises
     which delay implementation, earlier consultation activities are recommended,
     particularly for significant service changes or development of new service.

Table 14.1 indicates requirements and recommendations for notification/education and
consultation, different types of planning activities, and other activities with a public
notice requirement.




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Table 14-1: SUMMARY OF PUBLIC OUTREACH REQUIREMENTS AND
RECOMMENDATIONS

     Activity with                                                                               Requires
   Public Outreach                Notification/Education                  Consultation             Public
      Component                                                                                  Hearing?
  Annual                    Required:                              Required:                        Yes
  Transportation Plan       • Notify public of public hearing      • Accept comments at              (or
  (ATP) (see Chapter           or opportunity for public              hearing or in writing;    opportunity
  2 of this manual)            hearing and intended funding           address before              for one)
                               request                                submitting application
  Fare changes and          Recommended:                           Recommended:                     Yes
  major service             • Notify public that planning is       • Invite suggestions early        (or
  reductions                   under way                              in the planning process    meeting,
                                                                   • Consult advisory group           or
                            Required:                                                           opportunity
                            • Follow locally-developed             Required:                     for either
                               process                             • Accept comments at          per local
                            • Notify public of public                 hearing or in writing;     process)
                               hearing/meeting/opportunity            address before
                               and intended change                    implementation
                            • Notify public of the details of
                               the proposed changes at
                               least 30 days prior to
                               implementation
  Changes to ADA            Required:                              Required:                       For
  paratransit               • Notify public that planning is       • Consult with individuals    revised
  services, policies,          under way                              with disabilities         paratransit
  and application           • For notifying public of fare         • Ongoing mechanism for      plan: yes;
  process                      changes and service                    consultation for future
                               reductions if applicable, see          changes                    For fare
                               above; follow locally-                                           change or
                               developed process                                                  service
                            • If revising paratransit plan,                                     reduction,
                               notify public of public hearing                                  see above
                               opportunity
  Other service             Recommended:                           Recommended:                     No
  changes                   • Notify public that planning is       • Invite suggestions early
  (expansions, new             under way                              in the planning process
  services, significant     • Notify public prior to               • Consult advisory group
  changes to routes            implementation
  or schedules)
                            Required:
                            • Notify public of changes at
                               least 30 days prior to
                               implementation




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ADDITIONAL RESOURCES

General

     x    Guidance on Maryland Open Meetings Act requirements:
          http://www.marylandattorneygeneral.gov/Pages/OpenGov/Openmeetings/default.
          aspx

     x    Public Participation Strategies for Transit, TCRP Synthesis 89
          http://www.tcrponline.org/PDFDocuments/tsyn89.pdf

     x    Community Tools to Improve Transportation Options for Veterans, Military
          Service Members, and Their Families, TCRP Report 160, Chapter 4, Outreach:
          “Getting the Right People to the Table”
          http://www.tcrponline.org/PDFDocuments/tcrp_rpt_164.pdf

     x    Public Involvement Techniques for Transportation Decision-making
          http://www.fhwa.dot.gov/planning/public_involvement/publications/pi_techniques/

     x    “Social Media and Inclusive Transportation Planning,” TransitPlanning4All
          webinar slides:
          http://web1.ctaa.org/webmodules/webarticles/articlefiles/socialmediainclusiveplan
          ning.pdf

Engaging Specific Populations

     x    How to Engage Low-Literacy and Limited English Proficient Populations in
          Transportation Decision Making, prepared by PBS&J for the Federal Highway
          Administration (2006) -
          http://www.fhwa.dot.gov/planning/publications/low_limited/index.cfm

     x    Implementing the Department of Transportation’s Policy Guidance Concerning
          Recipients’ Responsibilities to Limited English Proficient (LEP) Persons: A
          Handbook for Public Transportation Providers, FTA (2007) -
          http://www.sddot.com/services/civil/docs/LEP_Handbook.pdf

     x    “Coordinated Transportation Planning Information Brief: Requirements,
          Strategies, and Tools for Meaningful Engagement for Older Adults and People
          with Disabilities” Information Brief, National Aging and Disability Transportation
          Center - http://www.nadtc.org/resources-publications/coordinated-transportation-
          planning-information-brief-requirements-strategies-and-tools-for-meaningful-
          engagement-for-older-adults-and-people-with-disabilities/

     x    Expanding Your Market: Accessible Information Exchange: Meeting on a Level
          Playing Field, US DOJ: http://www.ada.gov/business/accessiblemtg.htm




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     x    Expanding Your Market: Gathering Input from Customers with Disabilities, US
          DOJ: http://www.ada.gov/custinfo.htm

     x    Community Tools to Improve Transportation Options for Veterans, Military
          Service Members, and Their Families, TCRP Report 160, Chapter 4, Outreach:
          “Getting the Right People to the Table”:
          http://www.tcrponline.org/PDFDocuments/tcrp_rpt_164.pdf

Website Accessibility

     x    “Accessibility of State and Local Government Websites,” US DOJ:
          http://www.ada.gov/websites2.htm

     x    The Web Accessibility Initiative (WAI):
          http://www.w3.org/WAI/gettingstarted/Overview.html

     x    Section 508 guidelines, US Access Board: http://www.access-board.gov/508.htm

     x    FTA training on creating Section 508-compliant documents:
          https://www.transit.dot.gov/fta-web-policies/accessibility/508-compliance




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                           CHAPTER 14: SUMMARY CHECKLIST


    LOTS public outreach activities should educate the community as well as engage
     community participation in planning service changes.
    A formal public hearing (or an offer to provide one upon request) is required as part
     of the LOTS grant application (ATP) process as well as before changing a fare or
     carrying out a major service reduction.
    The public must be notified of their rights under Title VI as well as procedures for
     filing a complaint.
    Under Title VI, LOTS must also undertake steps to ensure that low income and
     minority individuals have meaningful access to public outreach and involvement
     activities, including those conducted as part of the planning process (as described in
     this chapter).
    LOTS must ensure that LEP populations in their community are afforded meaningful
     access to programs and activities.
    The reduced fare for seniors, individuals with disabilities, and Medicare cardholders
     must be included with your fare policy wherever it is published or posted, including
     route and schedule brochures, fare brochures, and other public information related
     to fares.
    Maryland LOTS must have a locally developed process to solicit and consider public
     comment before changing a fare or carrying out a major reduction of transportation.
     This should include a written policy that describes the public comment process on
     changes in the basic fare structure and on major service reductions.
    All employment applications, recruitment brochures, advertising and employment
     correspondences should include the statement “_(name of the LOTS)_ is an Equal
     Opportunity Employer” as well as an equal opportunity statement clause to the effect
     that they do not discriminate on the basis of race, color, religion, national origin, sex
     (including gender identity, sexual orientation, and pregnancy), age, genetic
     information, disability, veteran status, or other protected class.
    LOTS must hold a public hearing or have an opportunity for a public hearing (which
     must be conducted if requested) about their ATP/POP.
    Public transit providers must notify customers and MTA in writing at least 30 days in
     advance of changing service (including changes in routes, schedules, service times,
     and bus stop locations) or fares.




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15                INTERCITY BUS PROGRAM REQUIREMENTS


Although Section 5311(f) is a program within the FTA Section 5311 program,
subrecipients that only receive Section 5311(f) funds, and no other funds from
the FTA, have a different set of requirements from other LOTS. Many of the
requirements for the LOTS programs, as detailed in Chapters 2 through 14, also
apply to private operator subrecipients of Section 5311(f) Intercity Bus Program
funds in Maryland. However, there are some notable exceptions.

This chapter indicates which LOTS requirements apply to Section 5311(f)
Intercity Bus Program subrecipients and which do not apply, and details
additional requirements that are unique to Maryland’s Section 5311(f) Intercity
Bus Program.

This chapter is organized into the following major sections:
   x Outline of LOTS program requirements and when they apply to the
      Section 5311(f) Intercity Bus Program
   x Requirements that are specific to the Section 5311(f) Intercity Bus
      Program
   x Additional Resources




APPLICABILITY OF LOTS REQUIREMENTS TO SECTION 5311(f) PROJECTS

Table 15-1 summarizes which Maryland LOTS requirements apply to Section 5311(f)
Intercity Bus Projects, and which do not.


Table 15-1: Applicability of LOTS Requirements to Section 5311(f) Projects

Ch     Name of Requirement                         Applicability to Section 5311(f) Intercity Bus
.                                                  Program Private Operator Subrecipients
1      Compliance Monitoring                       5311(f) subrecipients will be subject to MTA compliance
                                                   reviews. 5311(f) subrecipients that subcontract any
                                                   portion of their 5311(f) services are responsible for
                                                   ensuring that their contractors comply with all applicable
                                                   program requirements, including monitoring.




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15     INTERCITY BUS PROGRAM REQUIREMENTS


Table 15-1: Applicability of LOTS Requirements to Section 5311(f) Projects

Ch     Name of Requirement                         Applicability to Section 5311(f) Intercity Bus
.                                                  Program Private Operator Subrecipients
2      Transportation Development                  5311(f) subrecipients are not required to develop a
       Plan (TDP)                                  TDP. However, their services should be included in the
                                                   TDPs of the Maryland jurisdictions in which they
                                                   operate, the 5311(f)-funded services should be
                                                   specifically identified, and the subrecipient should be
                                                   involved in the TDP planning process.
2      Local Coordinated Human                     The services that 5311(f) subrecipients operate should
       Service Transportation                      be included in the regional coordinated public transit-
       Planning                                    human service transportation plan for each region they
                                                   serve, and the 5311(f)-funded services should be
                                                   specifically identified. 5311(f) subrecipients should also
                                                   be involved in the coordinated planning process.
2      Ongoing Participation in Local              5311(f) subrecipients serving a metropolitan area
       and Regional Transportation                 should be included by the Metropolitan Planning
       Planning                                    Organization (MPO) in the metropolitan planning
                                                   process. MPOs are required to provide opportunities for
                                                   private providers to be involved in the planning process.
2      Inclusion in the TIP/STIP                   Applies to 5311(f) projects.
2      Annual Transportation Plan                  Does not apply to 5311(f); a different application
       (ATP)                                       package is used.
2      Transit Asset Management                    Does not apply to 5311(f). The FTA TAM rule applies
       (TAM) Planning                              to public transportation assets used to provide public
                                                   transportation. The FTA definition of “public
                                                   transportation” under 49 U.S.C. 5302 specifically
                                                   excludes intercity bus.
2      Planning for Specific Service               Applies to 5311(f)-funded services.
       Changes – MTA Notification
2      Planning for Specific Service               Applies to 5311(f)-funded services.
       Changes – Public Comment                    Additionally, private 5311(f) subrecipients are subject to
       and Notice Regarding Service                Public Service Commission requirements for fare and
       and Fare Changes                            service changes.
2      Title VI of the Civil Rights Act of         Applies in general.
       1964                                        See Chapter 13 for detailed requirements.
2      Amendments to the Grant                     Applies.
       Agreement
2      Planning Requirements                       Applies if ITS is part of the 5311(f) project.
       Pertaining to ITS Projects
3      Accounting and Recordkeeping                Applies. In addition, new 5311(f) subrecipients are
                                                   required to undergo a pre-award audit.
3      Budget Development                          Applies, but using budget forms specific to 5311(f)
                                                   application.
3      Cost Allocation                             Applies. 5311(f) subrecipient must document allocation
                                                   of operating costs specific to the 5311(f)-funded service.
                                                   MTA must approve this allocation plan.




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15     INTERCITY BUS PROGRAM REQUIREMENTS


Table 15-1: Applicability of LOTS Requirements to Section 5311(f) Projects

Ch     Name of Requirement                         Applicability to Section 5311(f) Intercity Bus
.                                                  Program Private Operator Subrecipients
3      Local Match                                 Applies in general. However, 5311(f) projects can also
                                                   use the unsubsidized segment of connecting intercity
                                                   bus service as an in-kind match under the 5311(f)
                                                   program (explained in this chapter).
3      Non-Fare Revenue                            Applies to the extent that non-fare revenues are
       Requirements                                derived from a 5311(f)-funded project.
3      Force Account Plan                          Applies, but unlikely to be triggered by a 5311(f)
                                                   project.
3      Reimbursement Process                       Applies.
3      Reporting Requirements                      Applies, but S.5311(f) projects have reduced reporting
                                                   requirements (explained in this chapter).
3      Budget Monitoring and                       Applies.
       Adjustments
3      Performance Monitoring                      Does not apply. However, S.5311(f) projects are
                                                   subject to program-specific farebox recovery targets
                                                   (described later in this chapter).
3      Audits                                      Applies.
3      Grant Closeout                              Applies.
4      General Procurement                         Applies to items and services procured for 5311(f)-
       Requirements                                funded service.
4      Federal & State Competitive                 Applies to items and services procured for 5311(f)-
       Procurement Practices                       funded service.
4      Alternative Approaches                      Applies to items and services procured for 5311(f)-
                                                   funded service.
4      Providing for Full and Open                 Applies to items and services procured for 5311(f)-
       Competition                                 funded service.
4      Requirements Pertaining to                  Applies to items and services procured for 5311(f)-
       Vehicle and Equipment                       funded service.
       Purchases
4      Requirements Pertaining to                  Applies to items and services procured for 5311(f)-
       Other Types of Purchases                    funded service.
4      Requirements Pertaining to                  Applies to revenue contracts procured for 5311(f)-
       Revenue Contracts                           funded service.
4      Disadvantaged Business                      Applies to items and services procured for 5311(f)-
       Enterprise                                  funded service. See Chapter 13 for detailed
                                                   requirements.
4      Contract Management                         Applies to items and services procured for 5311(f)-
                                                   funded service.
5      Requirements Associated with                Applies to 5311(f)-funded services. Additionally,
       Changing Your Fares                         private 5311(f) subrecipients are subject to Public
                                                   Service Commission requirements for fare and service
                                                   changes.
5      Half Fare for Certain                       Does not apply.
       Populations
6      Requirements Related to                     Applies to 5311(f)-funded services. Additional
       Marketing and Community                     requirements for schedule publication are described in
       Relations                                   this chapter.

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15     INTERCITY BUS PROGRAM REQUIREMENTS


Table 15-1: Applicability of LOTS Requirements to Section 5311(f) Projects

Ch     Name of Requirement                         Applicability to Section 5311(f) Intercity Bus
.                                                  Program Private Operator Subrecipients
7      General Requirements for                    Applies to 5311(f)-funded facilities.
       Existing Facilities
7      Planning for a New Facility                 Applies to 5311(f)-funded facilities.
7      Design, Engineering, and                    Applies to 5311(f)-funded facilities.
       Construction
7      Bus Stops                                   Applies.
8      Personnel Policies for                      Applies.
       Employees Required to Have
       Commercial Driver’s Licenses
       (CDLs) and Other Drivers
8      General Personnel Policies                  Applies.
8      Drug-Free Workplace                         Applies only to 5311(f) subrecipients for which FTA
                                                   financial assistance supports most of their
                                                   operations.
8      Federal Drug and Alcohol                    FTA requirements apply to 5311(f) subrecipients for
       Testing Regulations                         which FTA financial assistance supports most of
                                                   their operations.

                                                   Other 5311(f) subrecipients are subject to FMCSA
                                                   regulations.
8      Collective Bargaining                       Applies.
       Protections
9      Operating Permits and                       Applies.
       Authority Related to
       Commercial Vehicles
9      Charter Service Restrictions                Applies.
9      School Bus Operations                       Applies.
10     Vehicle and Equipment                       Applies to 5311(f)-funded vehicles and equipment.
       Inventory Records
10     Maryland Public Service                     Applies.
       Commission (PSC)
       Requirements
10     Maryland Preventive                         Applies.
       Maintenance (PM) Program
10     Motor Carrier Vehicle                       Applies.
       Requirements
10     Outsourcing Maintenance and                 Applies to 5311(f)-funded vehicles and equipment,
       Repairs                                     and other vehicles used to operate 5311(f)-funded
                                                   service.
10     Providing Maintenance with In-              Applies to 5311(f)-funded services.
       House Personnel
10     Elements of an Effective                    Applies to 5311(f)-funded vehicles and other
       Maintenance Program                         vehicles used to operate 5311(f)-funded service.
10     Vehicle Useful Life and                     Applies to 5311(f)-funded vehicles.
       Replacement Standards
10     Property and Equipment                      Applies to 5311(f)-funded vehicles and equipment.
       Disposition

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15     INTERCITY BUS PROGRAM REQUIREMENTS


Table 15-1: Applicability of LOTS Requirements to Section 5311(f) Projects

Ch     Name of Requirement                         Applicability to Section 5311(f) Intercity Bus
.                                                  Program Private Operator Subrecipients
11     Safety and Security Program                 Applies to 5311(f)-funded services and vehicles.
       Requirements
11     Distracted Driving/Cell                     Applies.
       Phone/Portable Electronic
       Device Policy
11     Reporting Accidents and                     Applies to 5311(f)-funded services and vehicles.
       Incidents to MTA
11     Reporting and Disposing of                  Applies.
       Hazardous Waste
11     Security 1% Rule                            Applies.
11     Minimum Insurance Levels                    Applies.
12     ADA - Documentation of                      Applies.
       Compliance
12     ADA - Vehicles                              Applies to 5311(f)-funded services and vehicles.
12     ADA - General Service                       Applies.
       Requirements
12     ADA - Fixed-Route Service                   Applies.
       Requirements
12     Complementary Paratransit                   Does not apply. Intercity bus transportation is
       Requirements                                specifically excluded from the FTA definition of “public
                                                   transportation” under 49 U.S.C. 5302.
12     ADA - Employment Practices                  Applies.
12     ADA - Facilities Accessibility              Applies.
13     Title VI Requirements for All               Applies.
       LOTS - General Requirements
13     Title VI - Additional                       Applies.
       Requirements for LOTS that
       Operate Fixed Route Services
13     Additional Requirements for                 Applies.
       LOTS in Areas with 200,000 or
       More Populations Operating at
       Least 50 Fixed Route Vehicles
       in Peak Service
13     Federal Requirements                        Applies.
       Regarding Providing
       Meaningful Access to those
       with Limited English Proficiency
       (LEP)
13     Federal Environmental Justice               Applies to 5311(f)-funded facilities.
       Requirements (All Construction
       Projects)
13     Equal Employment Opportunity                Applies.
       (EEO)
13     Disadvantaged Business                      Applies to 5311(f)-funded procurements.
       Enterprise (DBE)
13     Emergency Preparedness and                  Applies.
       Civil Rights

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15       INTERCITY BUS PROGRAM REQUIREMENTS


Table 15-1: Applicability of LOTS Requirements to Section 5311(f) Projects

Ch       Name of Requirement                       Applicability to Section 5311(f) Intercity Bus
.                                                  Program Private Operator Subrecipients
14       Minimum Requirements for                  Applies to 5311(f)-funded services.
         LOTS Public Outreach When
         Changing Fares or Services
14       ADA - Accessible Formats                  Applies.
14       Half-Fare Notice                          Does not apply.
14       Title VI                                  Applies.


SECTION 5311(f) INTERCITY BUS PROGRAM-SPECIFIC REQUIREMENTS

Projects Linked to Service along Specific Corridors

Based on the need for intercity transit identified in MTA’s statewide intercity bus
assessment, the MTA Intercity Bus Program prioritizes the sponsorship of intercity bus
services in the following corridors:

     x    Morgantown, WV/Grantsville, MD to Baltimore (via I-68 and I-70); however, the
          MTA Intercity Bus Program will also consider service from western Maryland to
          the Maryland suburbs of the Washington, D.C. metro area,
     x    Salisbury to Baltimore, via US-50, and
     x    Elkton to Baltimore, via US-40 and connecting rural portions of Cecil County.

Other corridors or “feeder service” may also be funded under Maryland’s Section
5311(f) Program.

Section 5311(f) subrecipients must use their grant funding to serve the specific corridor
for which their grant was awarded.

Service Schedules

Section 5311(f)-funded services must be designed to provide for a meaningful
connection with the national intercity bus network, including service to connecting points
at times when passengers may make convenient connections. The basic service
requirements for these corridors include one daily (Monday through Sunday) round-trip
connecting with the national intercity bus network.

Services must be scheduled fixed-route services (other than feeder services) open to
the general public. Feeder services may be demand-response services.




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15     INTERCITY BUS PROGRAM REQUIREMENTS


Publishing and Interlining Service Schedules

Section 5311(f)-funded service schedules should be published in Russell’s Motor Coach
Guide (http://russellsguides.com/) and registered in Google Transit through their
website: http://www.google.com/transit.

It is strongly encouraged that Section 5311(f) subrecipients enter into an Interline
agreement with a carrier member of the National Bus Traffic Association (NBTA) at
http://bustraffic.org/index.aspx, which is the revenue clearinghouse for member carriers
allowing them to share revenue on tickets that include transportation on one or more
carriers. Greyhound supports the development of Section 5311(f) projects that connect
to its services.             The Greyhound Rural Feeder Service Handbook
(http://www.dot.ca.gov/hq/MassTrans/Docs-Pdfs/5311/5311f-Greyghnd-Fdr.pdf) is a
somewhat outdated overview of its programs, but current information can be obtained
by contacting:
                   Greyhound Lines State and Local Programs
                   Randy Isaacs (615-338-0847) or
                   Stephanie Gonterman (972-239-4401)

If interlining with Greyhound Lines, Inc., there are a number of requirements including a
Bus Terminal License which is required to allow the applicant access to a Greyhound
Lines, Inc. facility.

In-Kind Match for Intercity Bus

See Chapter 3 for information on local match requirements on an operating project.

In addition to the local match options described in Chapter 3, operating assistance
projects under the 5311(f) Intercity Bus Program may be eligible for participation in the
“In-Kind Match for Intercity Bus” program as detailed on pages VIII-4 through VIII-5 of
the FTA circular 9040.1G. It allows for an expanded project definition for rural intercity
operating projects that includes both the subsidized segment of a route and a
connecting unsubsidized segment of intercity bus service. Under this funding
arrangement, the local match “may be derived from the costs of a private operator for
the unsubsidized segment of intercity bus service as an in-kind match for the operating
costs of connecting rural intercity bus feeder service funded under 5311(f).” Through
careful planning of routes and schedules this funding arrangement may allow for the
use of Federal funds to cover the entire operating deficit of the subsidized segment.
The carrier providing the value of in-kind connecting services must agree in writing to
participation in the project, providing details on the connecting service and its in-kind
value.

If a subrecipient is interested in utilizing this in-kind funding method, they should contact
MTA directly for guidance.




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Reporting Requirements

Subrecipients are required to submit, at least, quarterly report information, using
Attachment 15.A, documenting expenses by cost category, revenues by source,
passenger trips, days of operation, total miles, the calculated performance measures of
farebox recovery and subsidy per passenger for the route. Additionally, ridership by
stop must be reported using the form in Attachment 15.B.

Subrecipients are also required to report 5311(f) Intercity Bus Program activities
annually to the National Transit Database (NTD) - https://www.transit.dot.gov/ntd) using
reduced reporting forms for Rural Intercity Bus subrecipients. The reporting period is
from July to June, with the report due to the MTA by September. Items to include are:

     x    Bus vehicle revenue miles,
     x    Bus unlinked passenger trips,
     x    5311 grants for planning and capital expenses, and
     x    5311 grants for operating and provision of trips.

Performance Targets

Section 5311(f) projects are expected to attain at least 15 percent farebox recovery. If
this target cannot be reached, the MTA will work with the subrecipient to achieve this
target.

MTA will periodically evaluate a route’s effectiveness, and make decisions on the
continued funding eligibility based on operational performance trends and continued
funding availability. MTA intends that projects will be reviewed considering the following
farebox recovery targets: five percent after six months of operations; ten percent after
12 months of operations; and 15 percent after 18 months of operations.

Compliance with FMCSA Regulations

Subrecipients crossing State lines are required to be in compliance with Federal Motor
Carrier Safety Administration (FMCSA) regulations, as summarized in Chapters 8, 10,
and 11. Also, providers of intrastate service that interline with services to provide
interstate trips must meet FMCSA regulations.




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ADDITIONAL RESOURCES

     x    FTA Circular 9040.1G 8100.1C, “Formula Grants for Rural Areas: Program
          Guidance and Application Instructions,” particularly Chapter VIII -
          https://www.transit.dot.gov/regulations-and-guidance/fta-circulars/formula-grants-
          rural-areas-program-guidance-and-application

     x    MTA Intercity Bus Program - Federal Transit Administration 49 U.S.C. 5311(f) -
          Program Overview and Application Package - http://taminc.org/Office-of-Local-
          Transit-Support/Intercity-Bus-Information

     x    Maryland Intercity Bus Study (2009) -
          http://taminc.org/Portals/35/Maryland_Intercity_Bus_Study_reduced_revised.pdf

     x    Federal Motor Carrier Safety Administration - https://www.fmcsa.dot.gov/




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15     INTERCITY BUS PROGRAM REQUIREMENTS


                           CHAPTER 15: SUMMARY CHECKLIST


    Comply with requirements outlined in other chapters of this manual, to the extent
     that they apply to Section 5311(f) subrecipients as summarized in Table 15-1.
    Use Section 5311(f) funds to operate only those services for which the grant was
     awarded.
    Publish Section 5311(f)-funded service schedules in Russell’s Motor Coach Guide.
    Register Section 5311(f)-funded service schedules in Google Transit.
    Enter into an Interline agreement with a carrier member of the National Bus Traffic
     Association (strongly encouraged).
    Contact MTA if interested in using the in-kind local match approach.
    Submit quarterly reports to MTA using the forms in Attachments 15.A and 15.B.
    Submit annual National Transit Database reports to MTA.
    Strive to attain at least 15 percent farebox recovery after 18 months of operation.
    Comply with Federal Motor Carrier Safety Administration regulations as described in
     other chapters in this manual.




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Appendix A: The Annual Certifications and
Assurances: What Do They Mean?
(Based on FTA Fiscal Year 2018 Certifications and Assurances)

The assurances and certifications that you sign with your annual MTA LOTS grant application
and grant agreement confirm your organization’s commitment to complying with a host of
Federal and State regulations and requirements. This appendix summarizes each certification
and assurance in plain (or at least less legalese) English. Note that FTA typically updates the
certifications and assurances that apply to FTA grants each year. This appendix is based on
the FY 2018 version. Also, this appendix doesn’t attempt to cover details. You and your
organization’s attorney should review the actual certifications and assurance each year before
signing.


CATEGORY 01. REQUIRED CERTIFICATIONS AND ASSURANCES
FOR EACH APPLICANT
01.A. Certifications and Assurances of Authority of the Applicant and Its
Authorized Representative
This section affirms that you and your organization’s attorney are legally authorized to represent
the organization, sign the application and various binding agreements that come with the grant,
and comply with the applicable law, regulations and requirements that come with the grant.

01.B. Standard Assurances
This section affirms that you understand what you are signing and agree to comply with the
applicable law, regulations and requirements that come with the grant, you understand that
Federal requirements may change, and you agree to comply with the most recent requirements.

01.C. Intergovernmental Review Assurance
This section affirms that you are submitting the application to the appropriate state and local
agencies for intergovernmental review. For the LOTS, this means you are submitting your
application to the MTA. MTA then submits the application to other organizations that may need
to review them (for example, from LOTS in urbanized areas, to the applicable metropolitan
planning organization).

01.D. Nondiscrimination Assurance
This section affirms that your organization will not discriminate on the basis of race, color,
national origin, religion, sex (including gender identity and sexual orientation), disability, or age.
Your organization will comply with Title VI, EEO, ADA, and other Federal nondiscrimination
laws, regulations, requirements and guidance. This assurance applies to your organization’s
services and programs, employment practices, facilities, vehicles, and contracts and other third-
party agreements.

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01.E. Procurement Certification
This section affirms that your organization has adequate resources to successfully comply with
Federal laws, regulations, and requirements applicable to FTA procurements.

01.F. Suspension and Debarment, Tax Liability, and Felony Convictions
Certifications
01.F.1 Suspension and Debarment
This section certifies that you, your organization, your organization’s principals, and any
subrecipients have not been disqualified from participating in a Federally-funded project, and
you will not use Federal funds to contract with an individual organization that has been
disqualified. Disqualification includes being debarred, suspended, and other actions which may
be the consequence of committing fraud or other criminal offense.

01.F.2.Tax Liability
This section certifies that your organization (and any subrecipients) is not in arrears in paying
Federal taxes.

01.F.3. Felony Convictions
This section certifies that your organization (and any subrecipients) has not been convicted of a
felony criminal violation within the past two years.

01.G. U.S. OMB Assurances in SF-424B and SF-424D
This section affirms that your organization has adequate resources to successfully carry out the
project that will be funded under the grant. In addition to having the legal authority, your
organization has the competence and capacity necessary to manage and complete the project
in a timely manner, adequate cash flow (including local match), and a proper accounting
system. Your organization will prevent personal and organizational conflicts of interest. You will
submit reports and other information required by MTA or FTA. If it is a construction project, your
organization will comply with a host of requirements specific to these types of projects. For all
projects, you agree to comply with the numerous Federal requirements that are listed on pages
9-13 of the FY 2018 Certifications and Assurances. Some of these (such as those regarding
nondiscrimination) appear elsewhere in the certifications and assurances, but many others only
appear here. Some are relevant to public transportation projects and others are not likely to be,
or are only relevant to construction projects. The assurance to conduct a Federally-compliant
audit is also included in this section.


CATEGORY 02. LOBBYING
If your grant will exceed $100,000, you must certify that no Federal funds have been or will be
used to attempt to influence a Federal employee or member of Congress regarding a Federal
funding award (i.e., to pay a lobbyist). If your organization (or its principals or subrecipients)
uses non-Federal money for lobbying purposes, you must disclose this by submitting a special
form for this purpose. You affirm that your organization will include this certification language in



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any third-party agreement involving Federal funds, and understands that there are financial
penalties for failing to submit required certifications under this section.


CATEGORY 03. PRIVATE SECTOR PROTECTIONS
The three assurances in this category affirm that FTA funding will not be used to compete with
private sector transportation providers.

03.A. Private Property Protections
This section applies to LOTS that are local governments. It essentially affirms that your grant
will not be used to compete with or replace a private provider’s existing public transportation
service without just compensation, and that your organization will make an effort to work with
private providers. The private sector notification letters you send out as part of the ATP process
are part of complying with this requirement.

More specifically, it affirms that your organization has determined that the Federal funding
request is essential to conducting the projects to be funded, and that it has involved (or will
involve), to the maximum extent feasible, the participation of private companies that provide
public transportation. It also certified that these actions were or will be completed before
operating public transportation that compete with, or in addition to, an existing public
transportation operator. Further, if your organization acquires a private provider’s property (or
interest in their property) you will first pay them just compensation.

03.B. Charter Service Agreement
This section affirms that your organization and any third party participant (i.e., your contractor or
grant subrecipient) complies with FTA Charter Service regulations, which are described in detail
in Chapter 9 of the LOTS Manual. It also affirms that your agreement that if your organization or
your third party participant violate these regulation, FTA impose corrective measures that could
include barring your organization from receiving FTA assistance or withholding assistance.

03.C. School Bus Agreement.
This section affirms that your organization and any third party participant (i.e., your contractor or
grant subrecipient) complies with FTA School Bus regulations, which are described in detail in
Chapter 9 of the LOTS Manual. It also affirms that your agreement that if your organization or
your third party participant violate these regulation, FTA impose corrective measures that could
include barring your organization from receiving FTA assistance.


CATEGORY 04. ROLLING STOCK REVIEWS AND BUS TESTING
04.A. Rolling Stock Reviews
This section certifies that when buying vehicles, your organization complies with the Pre-Award
and Post-Delivery Audit requirements which are described in Chapter 4 of the LOTS Manual.
Compliance with these requirements helps ensure that the vehicles you purchase meet your
specifications, Federal safety standards, and Buy America requirements.

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04.B. Bus Testing
This section certifies that when buying new buses, your organization will make sure the bus has
been tested at FTA’s bus testing facility and meets FTA’s performance standards for safety,
reliability, fuel economy, and other criteria.


CATEGORY 05. DEMAND RESPONSIVE SERVICE
This section certifies that, if your organization is applying for funding for a vehicle that is not
wheelchair-accessible to operate in demand-responsive service, your organization does not
provide a lower level of service to people with disabilities. Your organization’s demand
responsive services have the same availability and cost to people with disabilities as to people
without disabilities, and people who use wheelchairs do not experience more limited service. (If
they do, you should be acquiring accessible vehicles until service levels are equivalent.)


CATEGORY 06. INTELLIGENT TRANSPORTATION SYSTEMS
This section certifies that, if your organization is applying for funding for an Intelligent
Transportation System (ITS) project (including such things as real-time transit information
technology and mobile data terminals), the project will conform to the ITS architecture
requirements established for your region. This requirement is explained in Chapter 2 of the
LOTS Manual.


CATEGORY 07. INTEREST AND FINANCING COSTS AND
ACQUISITION OF CAPITAL ASSETS BY LEASE
This section applies only to Section 5307 Urbanized Area grants and other grants subject to
Section 5307 program requirements.

07.A. Interest and Financing Costs
This section certifies that, if your organization needs financing for a project, it will try to obtain
the most favorable financing terms (and document this) and will only seek reimbursement for
interest or other financing costs when they are eligible for federal assistance.

07.B. Acquisition of Capital Assets by Lease
This section certifies that, if your organization seeks to federal funds lease a facility or other
non-vehicle capital asset, it will only do so if it can afford to cover the entire lease if federal
assistance is not available.




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CATEGORY 08. TRANSIT ASSET MANAGEMENT PLAN, PUBLIC
TRANSPORTATION AGENCY SAFETY PLAN, AND STATE SAFETY
OVERSIGHT REQUIREMENTS
08.A. Transit Asset Management Plan
This section certifies that your organization will comply with FTA Transit Asset Management
requirements, which are described in Chapter 2 of the LOTS Manual.

08.B. Public Transportation Safety Program
This section certifies that your organization will comply with FTA Public Transportation Safety
Program requirements, which at the time of publication were still being developed, and are
introduced in Chapter 11 of the LOTS Manual.

08.C. State Safety Oversight Requirements
This section only applies to rail services. Applicants with rail services agree that FTA
regulations regarding safety oversight apply, with differences depending on whether or not the
State’s Safety Oversight Program meets FTA requirements.


CATEGORY 09. ALCOHOL AND CONTROLLED SUBSTANCES
TESTING
This section certifies that your organization will meet its obligations to comply with FTA drug and
alcohol testing requirements. Organizations located in states in which marijuana use is legal
must still test for this substance and follow Federal requirements.


CATEGORY 10. FIXED GUIDEWAY CAPITAL INVESTMENT GRANTS
PROGRAM (NEW STARTS, SMALL STARTS, AND CORE CAPACITY
IMPROVEMENT)
This section does not apply LOTS grants; it only applies for funding under the post-FAST Act
Section 5309 program. It certifies that you your organization has the authority and capability to
complete the project and meet Federal requirements related to safety, security, control over use
of equipment and facilities, transit asset management, and planning.


CATEGORY 11. STATE OF GOOD REPAIR PROGRAM
This section applies only to grants funded under the Section 5337 State of Good Repair
program. It certifies that you your organization has the authority and capability to complete the
project and meet Federal requirements related to safety, security, control over use of equipment
and facilities, transit asset management, and planning.




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CATEGORY 12. GRANTS FOR BUSES AND BUS FACILITIES AND
LOW OR NO EMISSION VEHICLE DEPLOYMENT GRANT PROGRAMS
12.A. Grants for Buses and Bus Facilities Program
This section applies only to grants funded under the post-FAST-Act Section 5339 Bus and Bus
Facilities program, which is subject to the same requirements as the Section 5307 program for
organizations in urbanized areas and Section 5311 for organizations in rural areas.

If your organization is in an urbanized area, you are certifying that it has the authority and
capability to complete the project and meet Federal requirements. These include requirements
related to safety, security, control over use of equipment and facilities, transit asset
management, reduced fares for seniors, individuals with disabilities, and Medicare cardholders,
procurement, local match, planning, and public comment before raising fares or significantly
reducing services.

If your organization is in a rural area, you are certifying that it has the authority and capability to
complete the project and meet Federal requirements. These include requirements related to
safety, security, control over use of equipment and facilities, transit asset management, fair
distribution of funds across the state, coordination of public transportation with other Federally-
funded transportation services, planning, local match, and transferring facilities or equipment to
other eligible grantees.

12.B. Low or No Emission Vehicle Deployment
This section applies only to grants funded under the former (pre-FAST-Act) Section 5312 Low or
No Emission Vehicle Development Program. It certifies that your organization has the authority
and capability to complete the project and meet Federal requirements. These include
requirements related to safety, security, control over use of equipment and facilities, transit
asset management, reduced fares for seniors, individuals with disabilities, and Medicare
cardholders, procurement, public notice about the proposed program of projects, local match,
planning, and public comment before raising fares or significantly reducing services.


CATEGORY 13. URBANIZED AREA FORMULA GRANTS PROGRAMS
AND PASSENGER FERRY GRANT PROGRAM
13.A. Urbanized Area Formula Grants Program under the FAST Act
This section applies only to grants funded under the Section 5307 program. It certifies that your
organization has the authority and capability to complete the project and meet Federal
requirements under this program. These include requirements related to safety, security
(including spending 1% of the funding on security projects), control over use of equipment and
facilities, transit asset management, reduced fares for seniors, individuals with disabilities, and
Medicare cardholders, procurement, public notice about the proposed program of projects, local
match, planning, and public comment before raising fares or significantly reducing services.



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13.B. Passenger Ferry Grant Program
This section applies only to grants funded under the Section 5307(f) Passenger Ferry Grant
Program. It certifies that your organization has the authority and capability to complete the
project and meet Federal requirements. These include requirements related to safety, security,
control over use of equipment and facilities, transit asset management, reduced fares for
seniors, individuals with disabilities, and Medicare cardholders, procurement, local match,
planning, and public comment before raising fares or significantly reducing services.


CATEGORY 14. ENHANCED MOBILITY OF SENIORS AND
INDIVIDUALS WITH DISABILITIES PROGRAMS
This section applies only to grants funded under the Section 5310 Formula Grants for the
Enhanced Mobility of Seniors and Individuals with Disabilities Program. It certifies that your
organization is a private nonprofit organization or a state or local government authority approved
by the state or is in an area with no private nonprofits readily available to provide transportation
services for seniors and people with disabilities. It also certifies that the project, which assists in
providing transportation services to seniors and individuals with disabilities, is included in a
locally-developed, coordinated public transit-human service transportation plan developed
through a collaborative process, and will be coordinated to the maximum extent feasible with
other Federally-funded transportation services. If awarding funds to subrecipients, you will fairly
and equitably distribute assistance, with at least 55% used for capital projects, and you will not
transfer 5310-funded facilities or equipment unless the original subrecipient consents and the
facility or equipment will still be used to provide transportation services for seniors and people
with disabilities. This section also certifies that your organization (and its subrecipients if
appropriate) has the authority and capability to complete the project and meet Federal
requirements. These include requirements related to safety, security, control over use of
equipment and facilities, transit asset management, local match, and planning.


CATEGORY 15. RURAL AREAS AND APPALACHIAN DEVELOPMENT
PROGRAMS
15.A. Formula Grants for Rural Areas Program
This section applies only to grants funded under the Section 5311 Formula Grants for Rural
Areas Program. It certifies that your organization has the authority and capability to complete
the project and meet Federal requirements. These include requirements related to safety,
security, control over use of equipment and facilities, transit asset management, fair distribution
of funds across the state, coordination of public transportation with other Federally-funded
transportation services, planning, local match, and transferring facilities or equipment to other
eligible grantees. States also certify that they will spend at least 15% of Section 5311 funding
on intercity bus projects or that the state’s intercity bus service needs are being met adequately,
in consultation with intercity bus service providers



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15.B. Appalachian Development Public Transportation Assistance Program
This section applies only to grants funded under the Section 5311(c)(2) Appalachian
Development Public Transportation Assistance Program. It certifies that your organization will
only use these funds for a highway project only if affected public transportation providers are
notified and approve. It also certifies that your organization will comply with requirements related
to safety and transit asset management.


CATEGORY 16. TRIBAL TRANSIT PROGRAMS (PUBLIC
TRANSPORTATION ON INDIAN RESERVATIONS PROGRAMS)
This section applies only to grants funded under the Section 5311(c)(1) Public Transportation on
Indian Reservations Formula or Discretionary Programs. It certifies that your organization has
the authority and capability to complete the project and meet Federal requirements. These
include requirements related to safety, security, control over use of equipment and facilities,
transit asset management, procurement, charter bus, school bus, bus testing, ITS, and drug and
alcohol testing.


CATEGORY 17. STATE SAFETY OVERSIGHT GRANT PROGRAM
This section applies only to grants funded under the Section 5329(e)(6) State Safety Oversight
Grant Program. This is not a LOTS grant program.


CATEGORY 18. PUBLIC TRANSPORTATION EMERGENCY RELIEF
PROGRAM
This section applies only to grants funded under the Section 5324 Transportation Emergency
Relief Program. This is not a LOTS grant program.


CATEGORY 19. EXPEDITED PROJECT DELIVERY PILOT PROGRAM
This section applies only to grants funded under the Section 3005(b) Expedited Project Delivery
Pilot Program. This is not a LOTS grant program.


CATEGORY 20. INFRASTRUCTURE FINANCE PROGRAMS
This section applies only to grants funded under the Transportation Infrastructure Finance and
Innovation Act (TIFIA) and State Infrastructure Banks (SIB) Programs. These are not LOTS
grant programs.




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CATEGORY 21. CONSTRUCTION HIRING PREFERENCES
This section applies only to grants that fund construction projects. It certifies that your
organization in connection with any U.S. DOT-funded third-party construction contract, will only
use a non-allowable geographic, economic, or any other hiring preference under very specific
circumstances that include a pool of unemployed, readily-available, qualified employees live in
the jurisdiction where the work will be performed, bid document provisions that protect bidder’s
existing employees, and not impacting other planned projects in the state or region.




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 CONTACT INFORMATION FOR ADDITIONAL INFORMATION
                                   Updated March 2017

MARYLAND RESOURCES:

Maryland Transit Administration
Office of Local Transit Support
Maryland Department of Transportation
6 St. Paul Street
Baltimore, MD 21202-1614
http://www.mtamaryland.com/

Regional Planners:
Regional Planner                     Region
Bruce Hojnacki - 410-767-3758        Counties of Anne Arundel, Baltimore, Carroll, and
BHojnacki@mta.maryland.gov           Harford; Cities of Annapolis and Baltimore
Chris Taylor - 410-767-3142          Frederick County
CTaylor7@mtamaryland.gov
George Thornes - 410-767-8356        Counties of Allegany, Calvert, Charles, Garrett, St.
GThornes@mta.maryland.gov            Mary’s, and Washington
Jason Kepple - 410-767-7330          Counties of Caroline, Cecil, Dorchester, Howard,
JKepple@mta.maryland.gov             Kent, Montgomery, Prince George’s, Queen
                                     Anne’s, Somerset, Talbot, Wicomico, and
                                     Worcester; Town of Ocean City; Delmarva
                                     Community Services, Regional Transit Authority,
                                     and Shore Transit

Other OLTS Contacts:
Beverly Walenga – 410-767-3777          Financial Analyst
Elizabeth Kreider – 410-464-3433        Director
Glenn Hoge – 410-767-3762               Chief of Statewide Transit Development
Jeannie Fazio – 410-767-3781            Deputy Director
Jennifer Vickery – 410-767-4598         Program Manager
Jim Raszewski – 410-767-2948            Program Manager/Compliance
Linda Smith – 410-767-3790              Administrative Assistance
Monica White – 410-767-3906             Program Manager/Human Services, 5310
Nonni Stermer – 410-767-3696            Special Assistance

Transportation Association of Maryland (TAM)
939 Elkridge Landing Road, Suite 195
Linthicum, MD 21090
(410) 553-4245
Email: tam@taminc.org
Website: http://taminc.org/




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Maryland State Highway Administration (SHA), Motor Carrier Division
Toll-free: (800) 543-4564
410-582-5734
http://www.mdot.maryland.gov/newMDOT/Motor_Carrier/index.html

NATIONAL RESOURCES:

Federal Government Agencies:                   Taxi, Limousine & Paratransit Association
                                               (TLPA)
Federal Motor Carrier Safety Administration    (301) 984-5700
(FMCSA)                                        http://www.tlpa.org/
Toll-free: (800) 832-5660
(410) 962-2889
http://www.fmcsa.dot.gov/                      Research and Technical Assistance
                                               Centers:
Federal Transit Administration (FTA)
https://www.transit.dot.gov/                   Center for Urban Transportation Research
FTA Region 3 Office:                           (CUTR)
1760 Market Street, Suite 500                  Research center administered by University of South Florida
Philadelphia, PA 19103-4124                    (813) 974-3120
(215) 656-7100                                 http://www.cutr.usf.edu/
Fax: (215) 656-7260
                                               National Aging and Disability Transportation
United States Access Board                     Center (NADTC)
(202) 272-0080                                 Administered by Easterseals & the National Association of
                                               Area Agencies on Aging (n4a)
Toll-free: (800) 872-2253
http://www.access-board.gov/                   Toll-free: (866) 983-3222
                                               http://www.nadtc.org/

                                               National Center for Mobility Management
Professional Associations:                     Administered by CTAA
                                               Toll-free: (866) 846-6400
American Bus Association (ABA)                 http://nationalcenterformobilitymanagement.org/
Toll-free: (800) 283-2877
(202) 842-1645                                 National Rural Transit Assistance Program
https://www.buses.org/                         (RTAP)
                                               Administered by the Neponset Valley Transportation
American Public Transportation Association     Management Association
(APTA)                                         Toll-free: (888) 589-6821
(202) 496-4800                                 http://www.nationalrtap.org/
http://www.apta.com/
                                               National Transit Institute
                                               Administered by Rutgers University
Association for Commuter Transportation
(ACT)                                          (732) 932-1700
(202) 792-5801                                 http://ntionline.com/
http://actweb.org/
                                               Small Urban and Rural Transit Center
Community Transportation Association of        (SURTC)
                                               Research center administered by Upper Great Plains
America (CTAA)                                 Transportation Institute at North Dakota State University
Toll-free: (800) 891-0590                      (701) 231-1064
(202) 628-1480                                 http://www.surtc.org/
http://www.ctaa.org/
                                               Transit Cooperative Research Program
                                               (TCRP) of the Transportation Research Board
                                               http://www.trb.org/TCRP/TCRP.aspx


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Publications available through:
http://www.tcrponline.org/SitePages/Home.aspx


Labor Unions:
Amalgamated Transit Union
(301) 431-7100
http://www.atu.org/




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      ACRONYMS AND GLOSSARY OF RURAL AND
        SMALL URBAN TRANSIT TERMINOLOGY
                                              Acronyms

AAA:       Area Agency on Aging
AASHTO:    American Association of State Highway and Transportation Officials
ABA:       American Bus Association/Architectural Barrier Acts
ACS:       American Community Survey
ACT:       Association for Community Transportation
ADAAG:     ADA Accessibility Guidelines
ADA:       Americans with Disabilities Act
A&E:       Architectural & Engineering
APTA:      American Public Transportation Association
APTS:      Advanced Public Transportation System.
APWA:      American Public Works Association
ARRA:      American Recovery and Reinvestment Act
ATI:       Association of Travel Instruction
ATP:       Annual Transportation Plan
AVL:       Automatic Vehicle Location
BAT:         Breath Alcohol Technicians
BRT:       Bus Rapid Transit
CCR:       Central Contractor Registration
CDL:       Commercial Driver’s License
CFR:       Code of Federal Regulations
CIG:       Capital Investment Grant
CMAQ:      Congestion Mitigation and Air Quality Project
CMSA:      Consolidated Metropolitan Statistical Area
COG:       Council of Governments
COMAR:     Code of Maryland Regulations
CTAA:      Community Transportation Association of America
CTAP:      Community Transportation Assistance Project
CUTR:      Center for Urban Transportation Research
DAPM:      Drug & Alcohol Program Manager
D&B:       Dun & Bradstreet
DBE:       Disadvantaged Business Enterprise
DER:       Designated Employer Representative
DFWA:      Drug-Free Workplace Act
DHHS:      U.S. Department of Health and Human Services
DOE:       U.S. Department of Energy
DOJ:       U.S. Department of Justice
DOL:       U.S. Department of Labor
DOT:       U.S. Department of Transportation
DREDF:     Disability Rights Education & Defense Fund
DRT:       Demand Response Transit
DUNS or
D-U-N-S:   Data Universal Numbering System
EA:        Environmental Assessment
EAP:       Employee Assistance Program
ECFR:      Electronic Code of Federal Regulations
EEO:       Equal Employment Opportunity
EIS:       Environmental Impact Statement
EJ:        Environmental Justice
EPA:       Environmental Protection Agency
FAST:      Fixing America's Surface Transportation Act
FCC:       Federal Communications Commission
FFD:       Fitness for Duty
FHWA:      Federal Highway Administration



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FLSA:     Fair Labor Standards Act
FMCSA:    Federal Motor Carrier Safety Administration
FMCSR:    Federal Motor Carrier Safety Regulations
FTA:      Federal Transit Administration
GIS:      Geographic Information System
GPS:      Global Positioning System
GSA:      Government Services Administration
GVWR:     Gross Vehicle Weight Ration
HOV:      High Occupancy Vehicle
ICB:      Intercity Bus Program
ICE:      Independent Cost Estimate
IFB:      Invitation for Bids
IPDE:     Identify, Predict, Decide, and Execute
ISTEA:    Intermodal Surface Transportation Efficiency Act
ITMS:     Intelligent Transportation Management Systems
ITS:      Intelligent Transportation Systems (also Information Technology Service)
JARC:     Job Access and Reverse Commute program
LAP:      Language Assistance Plan
LEP:      Limited English Proficiency
LOTS:     Locally Operated Transit System
MAP-21:   Moving Ahead for Progress in the 21st Century Act
MBE:      Minority Business Enterprise
MCTP:     Maryland Comprehensive Plan
MDOT:     Maryland Department of Transportation
MDP:      Maryland Department of Planning
MDT:      Mobile Data Terminal
MIS:      Management Information System
MMCP:     Maryland Motor Carrier Program
MOSH:     Maryland Occupational Safety & Health
MOU:      Memorandum of Understanding
MPO:      Metropolitan Planning Organization
MRO:      Medical Review Officer
MSA:      Metropolitan Statistical Area
MSDS:     Material Safety Data Sheets
MTA:      Maryland Transit Administration
MTAP:     Multi-State Technical Assistance Program
MVA:      Motor Vehicle Administration
NADTC:    National Aging and Disability Transportation Center
NBTA:     National Bu Traffic Association
NCHRP:    National Cooperative Highway Research Program
NEPA:     National Environmental Policy Act
NIMS:     National Incident Management System
NPTS:     National Personal Transportation Survey
NTD:      National Transit Database
NTI:      National Transit Institute
NTSB:     National Transportation Safety Board
ODEP:     Office of Disability Employment Policy
OLTS:     Office of Local Transit Support
OSHA:     Occupational Safety and Health Administration
OTRB:     Over-the-Road Bus
PA:       Public Address
PASS:     Passenger Service & Safety/Passenger Sensitivity & Safety
PCA:      Personal Care Attendant
PCP:      Phencyclidine
PM:       Preventive Maintenance
POP:      Program of Projects
PSC:      Public Service Commission
PTP:      Public Transportation Programs
QHSO:     Qualified Human Service Organizations
RFP:      Request for Proposals
RTAP:     Rural Transit Assistance Program




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SAFETEA-
LU:         The Safe, Accountable, Flexible, Efficient Transportation Equity Act: A Legacy for Users
SAM:        System for Award Management
SAP:        Substance Abuse Professions
SCATA:      State Coordination and Technical Assistance Program
SGR:        State of Good Repair
SHA:        State Highway Administration
SIR:        Self Insured Retentions
SMS:        State Management Plan
SOV:        Single Occupant Vehicle
SSEPP:      Safety, Security and Emergency Preparation Plan
SSTAP:      Statewide Special Transportation Assistance Program
STIP:       Statewide Transportation Improvement Program
START:      Safety Training & Rural Transit
STT:        Screen Test Technician
SURTC:      Small Urban and Rural Transit Center
TAM:        Transportation Association of Maryland (also Transit Asset Management)
TAMP:       Transit Asset Management Plan
TAZ:        Traffic Analysis Zone
TCRP:       Transit Cooperative Research Program
TDM:        Transportation Demand Management
TDP:        Transportation Development Plan
TEA 21:     Transportation Equity Act for the 21st Century
TIP:        Transportation Improvement Program
TLPA:       Taxicab, Limousine & Paratransit Association
TMA:        Transportation Management Association or Transportation Management Area
TMD:        Transportation Management Division
TNC:        Transportation Network Company
TPD:        Transit Planning Division
TQM:        Total Quality Management.
TRB:        Transportation Research Board
TRIS:       Transportation Research Information Services
TSI:        Transportation Safety Institute
TSM:        Transportation System Management
TVM:        Transit Vehicle Manufacturer
UCP:        United Certification Program
ULB:        Urban Life Benchmark
UMTA:       Urban Mass Transportation Act
UZA:        Urbanized Area
UPWP:       Unified Planning Work Program
WAI:        Web Accessibility Initiative
WBE:        Women’s Business Enterprise
WMATA:      Washington Metropolitan Area Transit Authority


                                               Definitions

ACCESSIBILITY: A concept used in transportation planning to describe the ease with which an individual
has an opportunity to participate in an activity. The more accessible the activity, the fewer barriers must
be overcome to reach the activity.

ACCESSIBLE TRANSIT SYSTEM: A transit system that can transport any mobile person, including persons
with disabilities, and in which the vehicles and stops or stations are designed to accommodate patrons
with disabilities, including persons who use wheelchairs. Transit accessibility also calls for accessible
customer information. In addition to standard print and signage, audio, Braille, large print, pictorial, and
tactile formats can make information more accessible to customers with vision, hearing, and cognitive
disabilities.
ACCIDENT: An unforeseen, unintended event, caused by an unsafe act, an unsafe condition, or a
combination of the two.


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ACTIVE VEHICLE: A transit passenger vehicle licensed and maintained for regular use. This includes
spare vehicles and vehicles out of service for maintenance, but excludes vehicles leased to other
operators, permanently unavailable or unusable for transit service, and new vehicles not yet prepared for
transit service.
ADMINISTRATIVE EXPENSES: Costs of the functions that are necessary to support vehicle operations and
maintenance, including supervision, information and referral, billing and program accountability, record
keeping, planning and marketing, driver training, and purchasing.
ADULT CASH FARE: Basic full fare paid by one person for one ride, excluding transfer and zone charges.
ADVANCE-NOTICE SERVICE: A demand-responsive transportation service by which clients make their trip
requests at a designated period, usually at least 2 hours prior to their actual service need.
ADVISORY COMMITTEE: An organized group of local people who supply their ideas and input to, for
example, a particular transportation study or plan, or a transit or paratransit operation.
ALIGHT: To get off or out of a transportation vehicle.
ALLOCATION: An administrative distribution of funds.
ALTERNATIVE FUEL: A liquid or gaseous non-petroleum fuel.
ALTERNATIVES ANALYSIS: A detailed study and assessment of the various options available for the
purpose of selecting one for implementation.
AMALGAMATED TRANSIT UNION – A labor union representing transit and allied workers in the U.S. and
Canada.
AMERICAN COMMUNITY SURVEY (ACS): An ongoing statistical survey by the U.S. Census Bureau that
includes demographic, social, economic, and housing characteristics.
AMERICAN ASSOCIATION OF STATE HIGHWAY AND TRANSPORTATION OFFICIALS (AASHTO): Made up of
state and highway officials, along with transportation departments and agencies, and the U.S. DOT to
study transportation problems, advise Congress on legislation, and develop standards and policies.
AMERICAN BUS ASSOCIATION (ABA): A trade association representing motorcoach and tour companies,
travel and tourism organizations, and suppliers of bus products and services in the U.S. and Canada.
AMERICAN PUBLIC TRANSPORTATION ASSOCIATION (APTA): A nonprofit international industry which
performs a variety of services for the industry, along with promoting transit interests, information
exchange, research, and policy development.
AMERICAN PUBLIC WORKS ASSOCIATION (APWA): Conducts historical research on public works subjects,
sponsors research and educational foundations, and operates a computerized local government
information network.
AMERICAN RECOVERY AND REINVESTMENT ACT (ARRA): An economic stimulus package, signed into law
on February 17, 2009, by President Barack Obama, that includes funding for transit.
AMERICANS WITH DISABILITIES ACT (ADA): Passed by Congress in 1990, this act mandates equal
opportunities for persons with disabilities in the areas of employment, transportation, housing and public
accommodations.
ANNUAL ELEMENT: A list of those transportation improvement projects contained in an area’s
Transportation Improvement Program (TIP) that are proposed for implementation in the first year of the
TIP and that are submitted to the U.S. Department of Transportation as part of the required planning
process.
APPROPRIATION: Annual federal, state, or local funding, by the respective elected officials, which provides
the funding for transportation programs.


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AREA AGENCY ON AGING (AAA): The local entity that plans for services and advocated for the elderly
within their communities administering provisions of the Older American Act.
ARTICULATED BUS: An extra-long, high-capacity bus that has the rear body section or sections flexible
but permanently connected to the forward section.
ASSOCIATION FOR COMMUTER TRANSPORTATION (ACT): An international trade association and advocate
for commuter transportation and Transportation Demand Management (TDM).
ASSOCIATION OF TRAVEL INSTRUCTION (ATI): A national nonprofit professional association which supports
providers of travel instruction for the purpose of teaching people with disabilities and seniors to travel
safely and independently.
AUTOMATIC FARE COLLECTION SYSTEM: The controls and equipment that automatically admit passengers
on insertion of the correct fare in an acceptable form.
AUTOMATIC VEHICLE LOCATION (AVL): A system that tracks the current location of fleet vehicles
determines the geographic location of vehicles having communication equipment to transmit a signal
back to a central receiver. It is used to assist in dispatching, maintaining schedules, and reporting
vehicle activities.
AUTOMATIC VEHICLE MONITORING SYSTEM: A system in which signals are sent from the vehicle to a
central control facility, locating the vehicle and providing other information about its operations or about
its mechanical condition.
AVERAGE FARE: The arithmetic average of all fares paid by all revenue passengers.

BAD ORDER: A notice that a transit vehicle needs repaired and should be removed from service until
such repairs have been completed.
BASE FARE: The price charged to an adult for regular local service, usually given for a one-way trip.
BASE PERIOD: Also known as off-peak period, the time of day between morning and afternoon peak
periods. The BASE PERIOD FLEET is the number of vehicles required to maintain base period schedules.

BASE PERIOD HEADWAY: Refers to the scheduled time between transit vehicle trips during this period.

BICYCLE AMENITIES: Bicycle racks, storage lockers and on-bus securement equipment make transit more
convenient to cyclists. The most common on-bus securement equipment is a rack mounted on the front
of the outside of the vehicle which folds up against the bus when not in use.
BID: To offer a proposal to secure a contract.

BIDDER: An individual, partnership, firm, corporation, or any acceptable combination thereof, or joint
venture that is submitting a bit.
BLOCK GRANTS: Aid directed at broadly or functionally defined purposes.
BODY-ON-CHASSIS SMALL BUS: The chassis and partial cab is obtained from the truck manufacturer, and
the specialist body builders place a bus body on the chassis, typically integrating the bus body with the
front of the cab retaining the short hood. There is a wide variety of such vehicles, varying in size, body
materials and design, etc. They are available with and without wheelchair lifts and tie-down positions.
Sometimes referred to as cutaway vehicles.
BROCHURE: A written communications tool that offers an effective means of presenting system services,
routes, and policies to the public.
BROKERAGE: A method of providing transportation where riders are matched with a variety of
transportation providers through use of central dispatching and administrative facilities.




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BUS: A self-propelled, rubber-tired road vehicle designed to carry a substantial number of passengers
(i.e., 10 or more) and typically has enough head room to allow passengers to stand upright after
entering. Propulsion is typically by gasoline, diesel fuel, compressed natural gas (CNG), or electricity.
BUS BAY: A specially designed location that permits buses to stop, without obstructing traffic, while
laying over or while passengers board and alight.
BUS LANE: A street lane reserved primarily for buses, either all day or during specified periods.
BUS MILE: One bus operated for one mile.

BUS PRIORITY SYSTEM: A system of traffic controls in which buses are given special treatment over the
general vehicular traffic. Also known as signal priority.
BUS RAPID TRANSIT (BRT): An enhanced bus system that operates on bus lanes or other transitways in
order to combine the flexibility of buses with the efficiency of rail. BRT typically utilizes a combination of
advanced technologies, infrastructure and operational investments that provide significantly better
service than traditional bus service.
BUS STOP: Pre-defined location for passengers to board and/or alight the transit vehicle, typically on-
street, at the curb, or in a median, sometimes with a shelter, sign, or lighting.
BUSPOOL: A group of people who share the use and cost of bus transportation between designated
origins and destinations on a regular basis.
BUSWAY: a special roadway designed for exclusive use by buses.
BUY AMERICA: Federal transportation law requires that all purchases of vehicles, equipment or any other
manufactured item be US made and assembled components, unless the purchase price is less than the
dollar threshold established by the U.S. DOT, or the DOT has given the purchaser a Buy America
waiver.
CAB: A taxicab.

CAPITAL COSTS: The costs of a public transit system’s long-term assets such as property, buildings,
vehicles, and other long-lived equipment. FTA has also designated preventive maintenance and mobility
management projects to be eligible capital costs. Not to be confused with operating costs, which refer to
recurring expenses to maintain equipment and services.
CARPOOL: An arrangement where two or more people share the use and cost of privately owned
automobiles in traveling to and from prearranged destinations together.
CARPOOL LANE: A lane intended primarily for carpools, vanpools, and other high-occupancy vehicles,
either all day or during a specified period. Also known as High Occupancy Vehicle (HOV) lane.
CATALOG OF FEDERAL DOMESTIC ASSISTANCE: A comprehensive listing and description of federal
assistance programs administered by different federal departments, agencies, commissions, and
councils, published annually by the U.S. Office of Management and Budget.
CHARTER SERVICE: Any transportation of a group of persons for a common purpose, under a single
contract, at a fixed charge for the vehicle or service. FTA recipients may only operate charter services
under very specific circumstances.
CHARTER SERVICE REVENUE: Revenue earned by operating vehicles under charter contracts.
CHOICE RIDER: A transit passenger who has at least two modes of travel available and selected transit
for that trip.
CIRCULATOR SERVICE: Bus service confined to a specific locale, such as a downtown area or a suburban
neighborhood, with connections to major traffic corridors. Also known as shuttle service.



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CITIZEN ADVISORY COMMITTEE: An organized group of local people who meet regularly and supply their
ideas and input to an organization.
CLEAN AIR ACT: Federal regulations which detail acceptable levels of airborne pollution and spell out the
transit industry’s role in maintaining clean air.
CLIENT SHEDDING. An expression used to describe when a human service agency discontinues provision
of transportation services for its clients, instead expecting the public transportation provider to meet the
agency transportation of its clients without providing funding for this service. This term is typically used
in the context of discussing demand for ADA paratransit services.
CODE OF FEDERAL REGULATIONS (CFR): An annual publication that contains all federal regulations
currently in effect. Updates are published in the Federal Register.
COMMERCIAL DRIVER’S LICENSE (CDL): The standardized driver’s license required of passenger bus and
heavy truck drivers in every state. CDLs were mandated by the federal government in the Commercial
Motor Vehicle Safety Act of 1986.
COMMUNITY TRANSPORTATION ASSISTANCE PROJECT (CTAP): This project of the U. S. Department of
Health and Human Services (DHHS) offers training material, technical assistance and other support
services for community transportation providers across the country.
COMMUNITY TRANSPORTATION ASSOCIATION OF AMERICA (CTAA): A national, professional membership
association of organizations and individuals committed to removing barriers to isolation and to improving
mobility for all people. CTAA conducts research, provides technical assistance, offers educational
programs and serves as an advocate in order to make coordinated community transportation available,
affordable and accessible. Historically, CTAA has focused on rural, small urban, and human service
transportation services.
COMMUTE: Regular travel between home and a fixed location such as work or school.

COMMUTER: A person who travels regularly between home and a fixed location.

COMMUTER SERVICE: Transportation provided on a regularly scheduled basis during peak travel periods
for users commuting to work, school, and similar destinations.
COMPLEMENTARY PARATRANSIT SERVICES: Transportation service required by the Americans with
Disabilities Act (ADA) for individuals with disabilities who are unable to use fixed route transportation
systems. This service must be comparable to the level of service provided to individuals without
disabilities who use the fixed route system and meet the requirements specified in 49 CFR Part 37. The
complementary paratransit services must be origin-to-destination service or on-call demand response
service to an accessible fixed route where such service enables the individual to use the fixed route bus
system for his or her trip.
COMPUTER SCHEDULING AND DISPATCHING SOFTWARE: Software used in demand-response transportation
to make reservations for clients, schedule trips vehicles, provide drivers with lists of riders, and compile
and complete billing and performance reports. Semi-automated computer scheduling and dispatching
software requires that the scheduler know in what area a rider’s trip is beginning and ending in order to
book the trip on a specific vehicle. Fully-automated computer scheduling and dispatching software will
book a rider’s trip on a specific vehicle by using a GIS system to geocode the rider’s beginning and
ending points.
CONGESTION MITIGATION AND AIR QUALITY PROJECT (CMAQ): A flexible funding program administered by
the Federal Highway Administration (FHWA) and established by ISTEA that obligates funds to projects
and programs that reduce harmful vehicle emissions.
CONNECTOR OR FEEDER SERVICE: Service in which a transfer to or from another transit system or mode is
the focal point.




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CONSOLIDATED METROPOLITAN STATISTICAL AREA (CMSA): A metropolitan statistical area that has more
than one million population and meets other specified requirements.
CONSOLIDATION: An arrangement in which all of a community’s transportation services for human service
agency clients are managed by one organization and provided to the core human service agencies in
their service area. Consolidation a transportation coordination alternative.
CONTRACTING: A procedure followed by many organizations to hire private contractors to perform certain
parts of the operation, instead of having their own employees perform the work. Also known as
privatization.
COORDINATION: A cooperative arrangement between transportation providers and organizations needing
transportation services. Coordination models can range in scope from shared use of facilities, training,
or maintenance to integrated transportation brokerages or consolidation of services.
CORRIDOR: A broad geographical band that follows a general directional flow or connects major sources
of trips.
COST ALLOCATION: Dividing costs among the various purposes or categories involved.
COST-BENEFIT ANALYSIS: Identifying all negative aspects (costs) and positive impacts (benefits) of a
proposal, then subtracting one from the other to arrive at a net benefit. Both quantifiable and subjective
factors may be identified and evaluated. While subjective factors should not be easily quantified, those
factors should be given relative values and evaluated along with quantifiable factors. Both cost and
benefit values should be discounted to present values to reflect the time value of money.
COST EFFECTIVENESS ANALYSIS: an analytical technique used to choose the most effective method for
achieving a program or policy goal. The analysis of costs is similar to that performed in a cost- benefit
analysis.
COST EFFICIENCY: A quantitative measure of efficiency or how well something contributes to the
attainment of goals and objectives measured against its cost. For transportation systems, cost efficiency
is usually measured as the ratio of the cost of a system to the level of service. Examples of four major
unit cost measures that might be used (either separately or together) to determine cost efficiency are
total operating cost per vehicle hour, total operating cost per vehicle mile, total operating cost per
passenger trip, and total operating cost per passenger mile.
COST RECOVERY RATIO: The ratio of total revenues to total costs.

COVERAGE AREA: The geographical area that a transit system is considered to serve, normally based on
acceptable walking distances (e.g., 1/4 mile) from loading points.
CROSSTOWN SERVICE: Nonradial transit service that does not enter the central business district.
CRUSH LOAD: The maximum feasible passenger capacity of a vehicle, that is, the capacity at which one
more passenger cannot enter without causing serious discomfort to the others.
CURB-TO-CURB SERVICE: A service that picks up and delivers passengers at the curb or roadside, as
distinguished from door-to-door service. Passenger assistance is not rendered other than for actual
boarding and alighting.
CUSTOMER: The recipient or beneficiary of the outputs of your work efforts or the purchase of your
products or services. May be either internal or external to the organization, and must be satisfied with
the outputs of your work efforts. The customers of a transit system include passengers, the community
at large, the local governing board, and funding agencies such as the Federal Transit Administration,
state DOT, and contracting human service agencies.
CUSTOMER FOCUS: The principle that decisions should be made based on the effect of those decisions
on customers of an organization.




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CUTAWAY: A vehicle in which a bus body is mounted on the chassis of a van or light-duty truck. The
original van or light-duty truck chassis may be reinforced or extended. Sometimes referred to as a body-
on-chassis vehicle.
DASH SIGN: A large card placed on top of the dashboard and visible through the bus windshield, in
addition to or instead of a head sign, usually denoting the type of service or destination.
DATA UNIVERSAL NUMBERING SYSTEM (DUNS OR D-U-N-S) NUMBER: The nine-digit number established
and assigned by Dun and Bradstreet, Inc. (D&B) to uniquely identify business entities.
DEADHEAD TRAVEL TIME AND MILEAGE: The movement of a transit vehicle when it is not operating
revenue service. In fixed route service, this is before the first stop at which passengers may board and
after the last regular fixed stop. In demand-responsive service, deadheading is often defined as
whenever the vehicle is in operation without passengers on board. However, for NTD reporting for
demand-responsive service, revenue service begins when a vehicle pulls out to go into revenue service
to the time it pulls in from revenue service, regardless of whether or not passengers are on board.
DEMAND: The quantity of transportation that will be consumed at a particular price given service
characteristics such as frequency, coverage, etc.
DEMAND ANALYSIS: A study of the factors that affect demand, performed by collecting data and using
various analytical techniques to understand demand.
DEMAND MODEL: A model that relates the amount of travel to the level and price of the transportation
service and the socioeconomic characteristics of the potential traveler.
DEMAND-RESPONSIVE SERVICE: Transit service where individual passengers can request door-to-door or
curb-to-curb transportation from a specific location to another specific location at a certain time. These
services may require advance reservations. Also referred to as Dial-a-Ride, Paratransit, or Demand-
Response Transit or DRT.
DEMOGRAPHIC DATA: Statistics related to the size, density, distribution, vital statistics, social structure,
and related characteristics of human populations.
DESTINATION: A place at which a passenger ultimately disembarks from a transit vehicle; the point at
which a trip terminates. This term typically refers to places outside of a passenger’s home, even though
these places become origins of a return trip which may be destined to the passenger’s home.
DESTINATION SIGN: A sign on a transit vehicle indicating the route or line number, direction, destination of
the vehicle, or any combination thereof.
DEVIATED FIXED-ROUTE SERVICE: Fixed-route service that allows deviations from the general route path
to provide direct transportation access to passengers who live in the vicinity of the route path.
DIFFERENTIAL FARE: A method of travel pricing that varies fares according to the time of day, direction,
distance, or other characteristics of the ride or pertinent circumstances.
DIAL-A-RIDE TRANSIT: See Demand-Responsive Service.

DIRECT COSTS: The costs incurred by the transportation program resulting from vehicle operations and
maintenance.
DISABILITY: With respect to an individual, a physical or mental impairment that substantially limits one or
more major life activities of the individual.
DISADVANTAGED BUSINESS ENTERPRISE (DBE): Small businesses owned and controlled by economically
and socially disadvantaged individuals, including women. Recipients of federal funds are required to
establish goals that will contribute to the Department of Transportation’s attainment of participation by
disadvantaged business enterprises in project-sponsored contracts. Currently, any transit system




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receiving more than $250,000 in federal assistance is required to submit a Disadvantaged Business
Enterprise Plan as a condition for the awarding of any federal grants.
DISCRETIONARY FUNDS: Funds granted at the discretion of the funding agency in the amount it desires
(as opposed to funding levels determined by a mathematical formula).
DISPATCHER: The individual who assigns buses to runs, makes up work assignments to fill runs, directs
the operators at the start of their assignments.
DISPATCHING: The process of relaying or providing service instructions to vehicle drivers or vehicle
operators. Includes assigning customers to vehicles, notifying drivers of assignments and monitoring the
operation of drivers.
DISTANCE-BASED FARE: A fare that is proportional to the distance traveled to complete the trip.

DONATED SERVICE: An arrangement with a local business for that business to donate services such as
schedule printing to the transit system. Also called in-kind service.
DOOR-TO-DOOR: A service that picks up passengers at the door of their place of origin and delivers them
to the door of their destination. This service may necessitate passenger assistance between the vehicle
and the doors.
DRIVER LOG: A record of vehicle trip information, such as passenger names, trip origin and destination
points, and trip mileage, maintained by the driver of each vehicle.
DROP-OFF: Vehicle stop to allow a passenger to disembark.
DRUG AND ALCOHOL TESTING REGULATION: Federal Transit Administration (FTA) regulation that requires
drug and alcohol tests for all safety-sensitive employees of agencies receiving Section 5309, 5307, or
5311 funding, including drivers, maintenance workers, dispatchers and supervisors.
DWELL TIME: The time a transit vehicle spends at a station or stop.
DYNAMIC ROUTING: In demand-responsive transportation systems, the process of constantly modifying
vehicle routes to accommodate service requests received after the vehicle began operations, as
distinguished from predetermined routes assigned to a vehicle.
EFFECTIVENESS: The degree to which the provided level of service meets stated goals and objectives;
for example, the percentage of a given service area that is within the desired quarter mile of a transit
stop. Effectiveness can also be measured in terms of passengers per mile or passengers per hour.
EFFICIENCY: The ratio of output (level of service provided) to input (cost or resource provided). Providing
the desired result with a minimum of effort, expense, and waste. Transit system efficiency is typically
measured in terms of cost per mile or cost per hour.
ELASTICITY: In economics, the term refers to the relationship between two associated variables. Price-
demand elasticity, the most common elasticity concept, is simply the ratio of a percentage in quantity
purchased to a corresponding percentage change in price (e.g., transit fares).
ELDERLY: According the Older Americans Act, this term describes persons age 60 and older.

ELECTRIC BUS: A bus that is propelled by electric motors. The source of electric power is typically a
battery or battery pack located on the vehicle or a connection to a system of wires suspended overhead.
EMPLOYEE RECOGNITION PROGRAM: Incentive program to acknowledge special contributions of certain
employees or groups to the organization.
EMPLOYER’S LIABILITY INSURANCE: Protects an employer against claims for damages that arise from the
injuries employees sustain in the course of their work. A workers’ compensation policy insures the
employer against liability under state compensation laws. Employer’s liability insurance provides
protection in cases not covered by the compensation law.


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EMPLOYMENT TRANSPORTATION: Transportation specifically designed to take passengers to and from
work or work-related training.
ENVIRONMENTAL IMPACT STATEMENT (EIS): A comprehensive study of likely environmental impacts
resulting from major federally-assisted projects; statements are required by the National Environmental
Policy Act (NEPA). If impacts are deemed to be severe enough, mitigation is usually required.
ENVIRONMENTAL JUSTICE: The fair treatment and meaningful involvement of all people regardless of race,
color, national origin, or income with respect to the development, implementation, and enforcement of
environmental laws, regulations, and policies.
ENVIRONMENTAL PROTECTION AGENCY (EPA): Independent federal agency responsible for the
development and enforcement of national air quality emission standards.
EQUITY: A normative measure of fairness among transportation users.

EXACT FARE: Policy that precludes the making of change for passengers.

EXCLUSIVE TRANSIT FACILITIES: Transportation system infrastructure elements that are set aside for the
use of transit vehicles only.
EXPRESS SERVICE: Service that has fewer stops and a higher operating speed than regular (local)
service.
FARE: Fee charged to the general public to ride transportation.

FARE BOX: Device for the collection of fares. Also refers to the total revenue a transportation system
obtains from passenger fares and local services.
FARE BOX RECOVERY: Measure of the proportion of operating expenses covered by passenger fares;
found by dividing fare box revenue by total operating costs. Also known as fare recovery ratio.
FARE BOX REVENUE: The money or tickets collected as payments for rides. Can be cash, tickets,
tokens, transfers and pass receipts.
FARE COLLECTION SYSTEM: The procedures and devices used to collect fares and to accumulate and
account for fares paid.
FARE ELASTICITY: A measure of the change in ridership in response to a change in fare.
FARE POLICY: Policies developed by the transportation agency to regulate fares in accordance with the
need for local revenues.
FARE STRUCTURE: The system set up to determine how much is to be paid by various categories of
passengers using a transit vehicle at any given time.
FAR-SIDE STOP: A transit stop located beyond an intersection.
FEASIBILITY STUDY: A study to determine the suitability of a proposed action, such as establishment of
transit service in a given area.
FEDERAL COMMUNICATIONS COMMISSION (FCC): A U.S. agency whose responsibilities include licensing
and regulation whose responsibilities include licensing and regulation of radio communications, including
those used in transportation facilities and vehicles.
FEDERAL HIGHWAY ADMINISTRATION (FHWA): The division of the U.S. Department of Transportation,
established to ensure development of an effective national road and highway transportation system.
FEDERAL TRANSIT ADMINISTRATION (FTA): The division of the U.S. Department of Transportation that is
responsible for regulating public transportation funding within local communities. The FTA provides
funding for capital costs and operating costs, as well as for training, technical assistance and research.



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FEEDER BUS: A bus service that provides passengers with connections with a major transportation
service.
FISCAL YEAR (FY): The yearly accounting period for a government or business. The Federal Fiscal Year
begins October 1 and ends the following September 30. State and local government fiscal years often
begin July 1 and end the following June 30.
FIXED COST: An indirect cost that remains relatively constant, irrespective of the level of operational
activity. Compare to variable cost.
FIXED GUIDEWAY: A public transportation facility—using and occupying a separate right-of-way for the
exclusive use of public transportation; using rail; using a fixed catenary system; for a passenger ferry
system; or for a bus rapid transit system.
FIXED-ROUTE SERVICE: Service provide on a repetitive, fixed schedule basis along a specific route with
vehicles stopping to pick up and deliver passengers to specific locations. Each fixed-route trip serves the
same origins and destinations, unlike demand-responsive. Typically, fixed-route service is characterized
by features such as printed schedules or timetables, designated bus stops where passengers board and
disembark and the use of larger transit vehicles.
FIXING AMERICA'S SURFACE TRANSPORTATION ACT (FAST ACT): The most recent funding and
authorization bill to govern United States federal surface transportation spending, signed into law by
President Obama on December 4, 2015.
FLAG STOP: A service accessed by a person hailing for the transit vehicle at a point along a regular route
which is not designated as a fixed stop.
FLAT FARE: A method of travel pricing that uses a single fare for the entire service area regardless of the
trips distance, time of day, area of travel, or other characteristics.
FLEET: The vehicles in a transit system.
FLEET CAPACITY: The total number of passenger spaces in all vehicles of a transit fleet.

FLEXIBLE FUNDING SOURCE: A source of federal or state money the specific use of which can be
determined by the lower level of government that receives it. The Surface Transportation Program (STP)
is an example.
FORMULA FUNDS: Funds for which the funding levels for individual recipients are determined by a
mathematical formula. For transit funding, such formulas are typically based upon population
characteristics of the service area as well as annual performance statistics for the transit system.
Compare to discretionary funds.
FORWARD CONTROL BUS: This bus is up to 30 feet in length. These vehicles have no hood in front of the
driver, but may be based on a commercial vehicle chassis or built as a bus. The engine may be in front,
alongside the driver, or in the rear. A wide variety of capacities, costs and life expectancies is available
in this category. These vehicles are typically used in fixed-route services.
FRINGE BENEFIT: An employment-related entitlement provided in addition to a worker’s wages or salary
that is paid for in part or wholly by the employer.
FRINGE PARKING: A parking facility located immediately outside the central business district.
FUEL: A material or combination of materials that burned with air produces mechanical energy.
FULLY ALLOCATED COSTS: Total costs of providing transportation, including services that are purchased
through transportation operators or provided through service coordination contracts.
FUNDING FORMULA: A formula based on percentages that is used to calculate the amount of funding
provided by each level of government (federal, state, and local).



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GARAGE: The location in which buses are stored and serviced and where operators report for work and
receive supplies and assignments. Can also refer to the building in which transit vehicles are serviced.
GEOCODING: Coding of spatial information, such as a street address, with geographic coordinate
information that unambiguously defines the location in a system to allow determination of distances
among points.
GEOGRAPHIC INFORMATION SYSTEM (GIS): An information system capable of processing and displaying
geographic descriptions, a map, or nodes and links of a network.
GLOBAL POSITIONING SYSTEM (GPS): A geographic positioning satellite system, which is a constellation
of 24 satellites orbiting the Earth. The satellites transmit radio signals containing precise satellite time
and position information. A user equipped with a GPS receiver (a radio receiver capable of receiving the
satellite signals) may use four of these signals (which provide distance measurements from each
satellite) to compute the location of the receivers antenna.
GRANT: An award of government or private funds to an entity. Typically federal funds are awarded
wither by formula (where a pre-determined process establishes the level of funding available to an entity)
or by discretion (where the funding agency is free to determine how much (if any) funding an entity will
receive based on the relative merits of the entity’s proposal.
GRANTOR: The agency making a grant.
GROUP TRIP: A service to bring individuals to one common destination, such as Head Start or sheltered
workshop employment, usually on a regularly scheduled basis.
GUARANTEED RIDE HOME: An incentive offered to vanpool and other rideshare program participants. In
the event of a family emergency for which an individual cannot wait for their regular carpool, vanpool, or
transit trip to return home, this incentive provides an alternate method, such as a loaner car or taxicab
ride.
HEAD SIGN: A sign indicating the destination of the transit vehicle, usually located above the above the
windshield.
HEAD START: A program of comprehensive services for economically disadvantaged preschool age
children.
HEADWAY: Time interval between vehicles moving in the same direction on a fixed route.
HEADWAY M ANAGEMENT: A technique for managing the operation of transit vehicles that focuses on
maintaining a consistent spacing between units on the same line, instead of adhering to a timetable.
HIGH OCCUPANCY VEHICLE (HOV) LANE: A lane intended primarily for carpools, vanpools, transit, and
other high-occupancy vehicles, either all day or during a specified period.
HIGHWAY TRUST FUND: The federal account established by law to hold receipts collected by the
government and earmarked for highway programs and a portion of the federal mass transit program.
HUB MILES: Actual logged miles of vehicle operation, usually read from a hubometer or odometer.

HUMAN SERVICE TRANSPORTATION SYSTEM: A transportation system that provides services only to those
receiving assistance from human service agencies.
IMMEDIATE-RESPONSE SERVICE: A demand-responsive transportation system by which service is provided
immediately upon request.
INBOUND TRIP: A trip toward the central urban area.
INCIDENT: An action or occurrence likely to have future ramifications or consequences, especially in the
area of damages or liability.



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INCREMENTAL COST: The net change in dollar costs that is directly attributable to a given decision or
proposal when compared with some other alternative.
INDIVIDUAL TRIP: A one-way vehicle trip providing service to one individual client. Compare to group trip.
INFRASTRUCTURE: All the relevant elements of the environment in which a transportation system
operates.
IN-KIND M ATCH: Capital or human resources provided by a local transportation system in return for
resources provided by another level of government. Allows a local government to substitute labor or
equipment rather than cash for transportation services provided by state or federal agencies.
INTELLIGENT TRANSPORTATION SYSTEMS (ITS):            ITS uses new technologies to better manage
transportation and provide travel information to the public. By more efficiently using existing roadways
and transit systems, ITS can be an alternative to infrastructure expansion. In transit, examples of ITS
include computer scheduling and dispatching systems, use of Automatic Vehicle Location, Mobile Data
Terminals, and transit signal priority.
INTERCITY BUS PROGRAM (ICB) - Section 5311(f) of SAFETEA-LU that authorizes grants to support rural
intercity bus transportation and coordination of rural connections between small transit operations and
intercity bus carriers. Eligible applicants include public and private providers of intercity bus or feeder
service.

INTERCITY BUS SERVICE: Regularly scheduled bus service for the general public that operates with limited
stops over fixed routes connecting two or more urban areas not in close proximity, that has the capacity
for transporting baggage carried by passengers, and that makes meaningful connections with scheduled
intercity bus service to more distant points, if such service is available.

INTERLINE: A term denoting the interchange of passengers between one or more bus lines. Can also
refer to overlapping portions of fixed routes.
INTERMODAL: Between or including more than one means or mode of transportation.
INTERMODAL FACILITY: A building that serves more than one form of transportation. For example, an
intermodal building might provide include facilities for a local transportation system, an intercity bus line
and a passenger rail line.
INTERMODAL INTEGRATION: Service coordination between two or more different transportation modes.
INTERMODAL SURFACE TRANSPORTATION EFFICIENCY ACT (ISTEA): The 1991 law that reauthorized the
federal surface transportation program for six years. ISTEA heralded a new era in surface transportation
because of the emphasis on "intermodalism," the unprecedented increases in authorized spending for
transit, the ability to use some highway funds for transit (and vice versa) and the increased reliance on
regional planning agencies to weigh transportation options and make decisions utilizing public
participation.
INTERNATIONAL TAXICAB ASSOCIATION (ITA): Disseminates information to its members and others
concerned with taxicab operations, and conducts research and studies relevant to the problems of the
taxi service industry.
JITNEY: A privately owned vehicle operated on a fixed route but not on a fixed schedule.
JOB ACCESS AND REVERSE COMMUTE PROGRAM: Section 5316 of SAFETEA-LU, a former program that
authorized grants to support transportation services to employment and employment related activities for
welfare recipients and eligible low-income individuals, and to transport residents of urbanized areas and
nonurbanized areas to suburban employment opportunities. This program was eliminated with the
passage of MAP-21.
JOINT DEVELOPMENT: Coordinated development of an area by the public sector and private enterprise.



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JOINT USE ARRANGEMENT: A form of coordination where one or more of the resources belonging to one
participant are available to other participants according to agreed upon terms and conditions.
KISS AND RIDE: An access mode to transit in which commuters are driven and dropped off at a transit
station or stop in a private vehicle and left to board a public transportation vehicle. Compare to park and
ride.
KNEELING BUS: A bus which is equipped with a kneeling feature. This feature enables the passenger
entrance to be lowered closer to the ground for easier boarding by customers with mobility disabilities.
LAND USE: The purpose for which land or the structure on the land is being is used.

LAYOVER TIME (RECOVERY TIME): Time built into a fixed schedule between arrival at the end of a route
and the departure for the return trip, used for the recovery of delays and preparation for the return trip.
LEVEL OF SERVICE: Set of characteristics that indicate the quality and quantity of transportation service
provided.
LIFE CYCLE COSTING: Method of evaluation of alternative choices on the basis of comparative total costs
for purchase and operations over the expected useful life of the asset.
LIMITED ENGLISH PROFICIENT (LEP) persons refers to persons for whom English is not their primary
language and who have a limited ability to read, write, speak, or understand English. It includes people
who reported to the U.S. Census that they speak English less than very well, not well, or not at all.
LIMITED SERVICE: Transportation service that operates only during a certain period of the day, or that
serves only specific stops or in a specified area.
LIMOUSINE SERVICE: Demand-responsive public transportation service on an exclusive basis.
LINE: A transit service operated over a specified route or combination or routes.

LINE HAUL SERVICE: Transportation service along a single corridor, without branches, with stops along
the way.
LINKED TRIP: A trip from the point of origin to the final destination, regardless of the number of vehicles
used or transfers made.
LOAD FACTOR: The ratio of passengers actually carried verses the total passenger capacity of a vehicle.
LOADING ISLAND: Also known as a pedestrian island. A protected spot for the loading and unloading of
passengers.
LOAD SHEDDING: Reducing the need for a particular transportation service by encouraging passengers to
use other operators. Known as client shedding when in reference to human service transportation.
LOCAL ACCESS: A street that provides access for pedestrians and vehicles but is not intended for through
traffic.
LOCAL SERVICE: Transit service in a city or its immediate vicinity, typically with frequent stops. Compare
to Express Service.
LOCALLY DEVELOPED, PUBLIC TRANSIT-HUMAN SERVICES TRANSPORTATION PLAN: A coordinated planning
requirement established under SAFETEA-LU. All projects funded under FTA Section 5310 (as well as
the former 5316 and 5317) must be derived from such a plan, and local public transportation providers
are expected to participate in the planning process.
LONG-RANGE ELEMENT: Part of a transportation plan provides for the long-range transportation needs of
the urbanized area and identifies new transportation policies and facilities or major changes in existing
facilities.




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LOOP: A transit route layout that is of a closed continuous form, such as a circle. May be operated in one
or both directions.
LOSS: The basis for a claim for indemnity or damages under the terms of an insurance policy. A loss is
any unintentional diminution of quantity, quality or value of property. With references to policies of
indemnity, this term is used to mean a valid claim for recovery under those policies.
LOSS CONTROL: Revising and organizing the patterns of preventive, productive and administrative
activities to minimize loss.
LOW BID PROCUREMENT: A form of competitive procurement in which the contract is awarded on the
basis of the lowest price bid for the services or goods rendered.
LOW FLOOR BUS: A bus with low floor and ramps allowing wheelchair access without the need for a lift.
M AINTENANCE: The functions that are related to taking care of the vehicles and keeping them in proper
condition, including storage, routine and preventive maintenance, major repairs, and maintenance-
related parts purchasing.
M ANAGEMENT INFORMATION SYSTEM (MIS): A systematic approach to providing transportation decision
makers with relevant financial and operating data on a continuing basis.
M ANIFEST: A form on which all transportation services for a day are recorded.
M ARGINAL COST: The cost of producing one more unit of output.
M ARKET: The potential riders of a transportation system.

M ARKET ANALYSIS: Measurement of the extent of present transportation needs, the determination of their
characteristics, and the projection of future trends.
M ARKETING: A process of attracting greater usage of transportation services.
M ARKETING M ANAGEMENT: The planning, organizing, direction, and control of the entire marketing activity
of a transportation service.
M ARYLAND TRANSIT ADMINISTRATION (MTA): The division of the Maryland Department of Transportation
that administers statewide LOTS and specialized transportation funding and operates the mass transit
system in the Baltimore region.
M ASS TRANSPORTATION: Transportation either publicly or privately owned, that provides general or
special service to the public on a regular and continuing basis (not including school bus, charter, or
sightseeing service).
M ATCH: State and or local funds required by the federal government to complement federal funds for a
project. A match may also be required by states in funding projects which are joint state/local efforts.
M AXIMUM LOAD POINT: The point on a transit line or route that carries the highest total number of
passengers for that line or route and direction.
M AXIMUM LOAD SECTION: The section of a transit line or route that carries the highest total number of
passengers for that line or route and direction.
MEDICAID: A health care program for the elderly, persons with disabilities and the poor. The Medicaid
program pays for non-emergency transportation for medical purposes for recipients. Also known as Title
XIX (19).
METROPOLITAN PLANNING ORGANIZATION (MPO): The organization that is charged with planning a
metropolitan area’s mass transportation program and comprehensive highway program. An MPO is
recognized by FTA and FHWA for transportation planning programs in metropolitan areas with
populations of 50,000 or more.



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METROPOLITAN STATISTICAL AREA (MSA): Consists of the central county or counties containing a city or
an urbanized area with a population of at least 50,000 and the adjacent or outlying counties that have
close economic and social relationships with the central counties, with a total metropolitan population of
at least 100,000.
MIDBLOCK STOP: A transit stop located at a point away from intersections.
MINIBUS: A small bus, typically capable of carrying 20 passengers or fewer.

MINIVAN: Refers to the smaller van size offered by the U.S. auto industry, with varying lengths between
113 and 119 inches. All manufacturers offer unit-body vehicles with front models. These vehicles vary
in costs and capacity, but can be used in fixed-route, demand-responsive, or even intercity/commuter
services.
MINORITY BUSINESS ENTERPRISE (MBE): A business owned by one or more individuals who are defined
as minorities under the U.S. Department of Transportation regulations for federally financed projects or
by the appropriate state agency for state financed projects.
MOBILE DATA TERMINAL (MDT): An in-vehicle piece of equipment that receives and sends digital
messages and displays the messages on a screen.
MOBILITY DEVICE: A device designed to improve the mobility of people with mobility disabilities.
Examples include wheelchairs, scooters and walkers.
MOBILITY M ANAGEMENT: A strategic approach to service coordination and customer service which
enhances the ease of use and accessibility of transportation networks.
MOBILITY M ANAGERS: Transit systems which expand their role to include services and approaches
beyond traditional public transportation to include carpools or vanpools, high occupancy vehicle
programs, public education on transit’s benefits and integration of land-use, air-quality and transportation
decisions. Advanced technologies are often used to manage expanded roles efficiently.
MODAL SPLIT: A term which describes how many people use alternative forms of transportation.
Frequently used to describe the percentage of people using private automobiles as opposed to the
percentage using public transportation.
MODE: A particular form of travel.

MODEL: A mathematical or conceptual presentation of relationships and actions within a system.

MONTHLY PASS: A pass valid for unlimited riding within certain designated zones for a 1-month period.

MOVING AHEAD FOR PROGRESS IN THE 21ST CENTURY ACT (MAP-21): A funding and authorization bill to
govern United States federal surface transportation spending, signed into law by President Obama on
July 6, 2012.
MULTIMODAL: Involving more than one transportation mode.

NATIONAL HOUSEHOLD TRAVEL SURVEY (NHTS): Conducted by the Bureau of Census, and is the primary
source of national data on travel patterns and frequency, transit use for all purposes, and the
characteristics of transit users versus all travelers.
NATIONAL TRANSIT DATABASE (NTD): Reports presenting statistical information about the financing and
operations of public transportation systems. Systems providing service in urbanized areas over 50,000
in population report directly to the FTA, while rural systems report to the State which in turns submits a
statewide report to the FTA. NTD reports are required by the FTA as a condition of receiving Federal
transit funds.
NATIONAL TRANSPORTATION SAFETY BOARD (NTSB): An independent agency of the federal government
whose responsibilities include conducting transportation studies and making recommendations on



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transportation safety measures and practices to government agencies, the transportation industry, and
others.
NEAR-SIDE STOP: A transit stop located on the approach side of an intersection.
NEEDS ASSESSMENT: Estimation of services and facilities needed to satisfy the potential demand for
transportation service.
NEW FREEDOM PROGRAM: Section 5317 of SAFETEA-LU, a former program that authorized grants to
expand the transportation mobility options available to persons with disabilities beyond the requirements
of the Americans with Disabilities Act of 1990. This program was eliminated with the passage of MAP-
21.
NODE: A point that represents an intersection of two or more transit lines or routes.

NON-AMBULATORY: Refers to a condition of a person with disability who is unable to move about without
assistance of a wheelchair or scooter.
NON-TRANSPORTATION REVENUE: Revenue earned by activities not associated with the provision of the
system’s transit service, such as lease of advertising space on a vehicle.
NO-SHOW: A passenger scheduled for a demand-responsive trip does not appear at the designated
pickup point and time and does not cancel the trip in advance.
OFF-PEAK HOURS: Hours when passenger demand and vehicle use is low, usually in the middle of the
day and in the evening.
ONE-WAY TRIP: The movement of a person or a vehicle from a point of origin to a destination. The return
trip is considered a second one-way trip. Together, these two one-way trips comprise one round trip.
ON-TIME PERFORMANCE: The percentage of the trips on which a transit system adheres to its published
schedule times within stated tolerances.
OPEN-DOOR SERVICE: Transportation service available to the general public, as opposed to service
restricted to certain persons, or restricted in other ways.
OPERATING COSTS: Refers to all recurring costs associated with operating and maintaining a transit
system. Not to be confused with capital costs, which refer to one-time expenses to purchase equipment
or facilities. Note that vehicle maintenance, while technically an operating cost, can be funded as a
capital expense under some FTA programs.
OPERATING DEFICIT: The sum of all operating costs minus operating revenues.
OPERATING EMPLOYEES: Employees whose major function is operating the service, including drivers
(operators) and dispatchers.
OPERATING RATIO: The ratio of operating expenses to operating revenue.
OPERATING REVENUE: Receipts derived from or for the provision of transit service, include fare box
revenue, revenue from advertising, interest, charter service and operating assistance from governments.
OPERATING SYSTEM: A master software program that allows the computer to run software applications
and controls the flow of data within the computer and between the computer and its peripherals.
Examples are DOS, UNIX, Mac OS, and Windows XT.
OPERATOR: An employee of a transit system whose work day is spent in the operation of a transit
vehicle.
ORIGIN: The point at which a trip begins.
OUTBOUND TRIP: A trip away from the central urban area.



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OUTREACH: Activities that promote awareness of your system in your community, such as making
presentations to local organizations, clubs, and associations; participating in and providing transportation
to community activities like festivals and fairs; and adopting a section of highway for litter cleanup.
OVER-THE ROAD BUS: A bus characterized by an elevated passenger deck located over a baggage
compartment, often used to operate charter or intercity bus service.
OWL SERVICE: Transit service that operates during the late night through early morning hours.
PACKAGE DELIVERY SERVICE: Prepaid packages are picked up at a central location or from local
businesses and delivered as the driver transports passengers, usually during off-peak hours.
PARATRANSIT: Passenger transportation that, on a regular basis, provides a more flexible service than
fixed route service but is more structured than the use of private automobiles. Paratransit includes ADA
complementary paratransit, demand-response transportation services, subscription service, shared-ride
taxis, carpools, and vanpools.
PARK-AND-RIDE: A means to access transit in which patrons drive private automobiles or ride bicycles to
a transit station, stop, or carpool/vanpool waiting area and park the vehicle in the area provided for that
purpose (e.g., park-and-ride lot). They then ride the transit system or a parking shuttle, or take a carpool
or vanpool to their destination.
PARKING SHUTTLE: A parking shuttle is a shuttle service which links a parking lot(s) or a destination(s)
such as a shopping mall, tourist attraction, or medical center.
PASS: A means of transit prepayment, usually a card, which a transit passenger displays to the operator
when boarding. Passes typically provide for an unlimited number of passenger trips during a designated
period of time (such as a day, week, or month).
PASSENGER TRIP: One passenger making a one-way trip from origin to destination.

PASSENGER LOAD: The number of passengers on board a transit vehicle at a particular point in time or
along a route.
PASSENGER MILES: The total number of miles traveled by passengers on transit vehicles; determined by
multiplying the number of passenger trips times the average length of their trips.
PASSENGERS PER HOUR (OR REVENUE HOUR): Total passengers divided by total hours (or revenue hours)
of service provided.
PASSENGERS PER MILE (OR REVENUE MILE): Total passengers divided by total miles (or revenue miles) of
service provided.
PEAK HOURS: The hours of highest demand for service, usually in the early morning and late afternoon.

PEAK-HOUR PRICING: Charging higher prices for peak-period service than for off-peak service.
PEAK VEHICLES: Maximum number of vehicles required to provide transportation service during peak
hours, usually in the early morning and late afternoon.
PERFORMANCE AUDIT: A comprehensive evaluation of a transit system’s efficiency and effectiveness.
PERFORMANCE INDICATOR: Relating a measure of service output or use to a measure of service input or
cost.
PICKUP: Vehicle stop to allow a passenger to board.
PLATFORM TIME: The time a transit vehicle is in revenue service. Also known as revenue hours.




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POINT DEVIATION: A routing pattern in which the vehicle passes through pre-specified points in
accordance with a prearranged schedule but is not given a specific route to follow between these points.
It may offer door-to-door or curb-to-curb service.
PRE-AWARD/POST-DELIVERY AUDIT REQUIREMENTS: The requirement from FTA to carry out audits of
vehicles and other rolling stock purchased with FTA funds, to ensure vehicles are manufactured to
specifications
PRESCHEDULED SERVICE: A general category of advance notice trip scheduling. The term implies service
that is regularly scheduled and whose demand is known well in advance.
PRE-TRIP INSPECTION: An inspection conducted by a driver of the vehicle he or she will operate that day,
in which the functionality and condition of the vehicle are inspected and tested to ensure that it is
roadworthy. Also known as circle check or walk-around.
PREVENTATIVE (OR PREVENTIVE) MAINTENANCE: Routine servicing and maintenance procedures required
to ensure the continued operation of a vehicle.
PRIVATE TRANSPORTATION: Owned or operated by an individual or group, not by a governmental entity,
for his or its own purposes or benefit.
PRIVATIZATION: Use of nongovernmental agencies to provide goods and services previously provided by
government.
PRODUCTIVITY: The ratio of units of transportation output to units of input (for example, passenger
boardings per revenue hour).
PUBLIC TRANSPORTATION: Regular, continuing shared-ride surface transportation services that are open
to the general public or open to a segment of the general public defined by age, disability, or low income.
49 U.S.C. Chapter 53 excludes intercity passenger rail transportation provided by Amtrak, intercity bus
service, charter bus service, school bus service, sightseeing service, courtesy shuttle service for patrons
of one or more specific establishments, and intra-terminal or intra-facility shuttle services from this
definition.
PUBLIC SERVICE COMMISSION (PSC): A state agency responsible for the regulation of for-hire carriers of
passengers and goods within a state.
PUBLICLY OWNED TRANSIT SYSTEM: A transit system owned by any municipality, county, regional
authority, state, or other governmental agency, including a system operated or managed by a private
company under contract to the government agency owner.
PULSE SYSTEM: A fixed-route system (usually involving a radial network) in which all routes arrive at and
depart from the central transfer point at the same times. This timing facilitates transferring, but
necessitates a transfer facility where all buses can simultaneously drop off passengers safely, wait, and
passengers can easily and safely get to the bus to which they are transferring.
PURCHASE OF SERVICE AGREEMENT: A legal contract between a public transportation agency and a
private firm for the firm to operate public transit services.
RADIAL NETWORK: A service pattern in which most routes converge into and diverge from a central hub
or activity center.
REAL-TIME SCHEDULING: Refers to scheduling methods where users call for trips at the actual time they
wish to be picked up and the actual pickup is made as close as possible to the requested time without
advance reservations.
REDUCED FARE: A special fare for children, students, persons with disabilities, senior citizens, or others
that is less than the regular fare.




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REGIONAL TRANSIT: Primarily serves long trips within metropolitan regions, crossing jurisdictional
boundaries.
REHABILITATION: The reconstructing or rebuilding of a high-mileage vehicle in order to extend the
vehicle’s useful life.
REMOTE PARKING: A parking facility located a more significant distance from the central business district
than fringe parking.
REQUEST FOR PROPOSAL (RFP): A document used to notify private firms of the opportunity to bid to
provide professional or operational services for a public transportation system. An RFP may be used to
notify bidders for services such as operations, drug testing, maintenance, planning, facilities design and
construction, ADA certification, and computer software.
REROUTE: To divert to a route other than the scheduled route.

RESPONSE TIME: In demand-responsive operations, the time between a passenger’s request for service
and the passenger pickup.
REVENUE HOURS: The number of hours operated by vehicles which are available for passenger
boardings; does not include deadhead time. Also known as revenue vehicle hours.
REVENUE MILES: Miles operated by vehicles available for passenger boardings; does not include
deadhead miles. Also known as revenue vehicle miles.
REVENUE PASSENGER: A passenger from whom a fare is collected, either by cash or through a
passenger’s sponsoring agency.
REVENUE PASSENGER MILES: The movement of one passenger over one mile.
REVENUE RECOVERY: The amount of money that is recovered in the form of fares and/or contract
revenues towards off-setting the costs of operating transportation service.
REVENUE SEAT MILE: The movement of one transit passenger seat over one mile. The ratio of revenue
passenger miles to revenue seat miles is the load factor.
REVENUE SERVICE: A vehicle is in revenue service when it is operating along a route at which passengers
may board, or when passengers are on board. Compare to deadhead service.
REVENUE VEHICLE: A vehicle used to provide passenger transit service for which remuneration is
normally required.
REVENUE VEHICLE MILES: The distance in miles that a revenue vehicle is operated while it is available for
passenger service.
REVERSE COMMUTE: A commute in the direction opposite to the main flow of traffic, for example, from the
central city to a suburb during the morning peak.
RIDER PROFILE: The demographic characteristics, transit system use characteristics and relative transit
dependency of your current customers.
RIDERSHIP: The number of passenger boardings on a transit system within any given period.
RIDERSHIP SURVEY:       In transportation studies, data collected from individuals concerning their
judgements, views, and perceptions of existing and proposed transportation services and other
transportation issues. A ridership survey can also be a tally of boardings and alightings along a route on
a stop-by-stop basis, used to determine productivity of route segments and individual stops, as well as to
determine passenger miles.




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RIDESHARING: A form of transportation, other than public transportation, in which more than one person
shares in the use of the vehicle. Carpooling, vanpooling, shared-ride taxi, and transit are all ridesharing
modes.
RISK M ANAGEMENT: The process of planning, organizing, directing, and controlling the resources and
activities of an organization to minimize the adverse effect of accidental losses on that organization and
keep those losses to the least possible cost.
ROAD CALL: A mechanical failure of a bus in revenue service that necessities removing the bus from
service until repairs are made.
ROUND TRIP: The movement of a person or a vehicle from a point of origin to a destination and then back
to the same point of origin. One round trip is composed of two one-way trips.
ROUTE: Fixed path traversed by a transit vehicle in accordance with a predetermined schedule.

ROUTE DEVIATION: Transportation service that operates along a public way on a fixed route but which
may deviate from the route occasionally in response to take a passenger to a destination or pick one up
from an origin, after which it returns to its route. Sometimes called flexible-route service.
ROUTE STRUCTURE: The pattern of transit routes. Examples are radial routes, loops, grids, or a centers-
based network.
ROUTING AND SCHEDULING: The process by which trips are assigned to specific vehicles such that routes
and time schedules can be developed in advance of service delivery.
RUN CUTTING: The process of organizing all scheduled trips operated by the transit system into runs for
the assignment of operating personnel and vehicles.
RUNNING TIME: The actual time required for a transit vehicle to move from one point to another, excluding
time for stops.
RURAL AREA: An area, village, town, or community that is not part of a designated urban area. An area
that has a population of less than 50,000.
RURAL TRANSIT: Transportation services operated in rural areas. Typical paratransit, rather than fixed
route transit, is more commonly operated in rural areas due to the low population density.
RURAL TRANSIT ASSISTANCE PROGRAM (RTAP): This program of the Federal Transit Administration (FTA)
offers training materials, technical assistance and other support services for rural transit systems across
the country.
SAFE, ACCOUNTABLE, FLEXIBLE, EFFICIENT TRANSPORTATION EQUITY ACT: A LEGACY FOR USERS
(SAFETEA-LU): The 2005 law that reauthorized the federal surface transportation program for five
years.
SAME-DAY SERVICE: Demand-responsive system that responds to a request for service within the same
service day but not a s quickly as immediate service. For example, a system that responds in two to four
hours.
SCHEDULE: A published table of departure and arrival times for arranged service over a transit route.
SCHEDULING: Preparing an operating schedule for transit vehicles on the basis of passenger demand,
level of service and other operating elements such as travel times or equipment availability.
SCHOOL BUS: A vehicle operated by a public or private school or by a private contractor for the purpose
of transporting children (through grade 12) to and from school or to and from other school-sponsored
activities. Most states require that school buses be equipped with special safety equipment and signals.
SEATING CAPACITY: The number of passenger seats in a vehicle.



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SECTION 504: Refers the Rehabilitation Act of 1973 in which people with disabilities cannot be
discriminated against in any federal or federally assisted program.
SECTION 5307: Refers to the section of 49 U.S.C. Chapter 53 that authorizes grants to public transit
systems in urban areas. Funds authorized through Section 5307 are awarded to states to provided
capital and operation assistance to transit systems in urban areas with populations between 50,000 and
200,000. Transit systems in urban areas with populations greater than 200,000 receive their Section
5307 funds directly from FTA.
SECTION 5309: Refers to the section of 49 U.S.C. Chapter 53 that authorizes grants for major transit
capital investments, including heavy rail, commuter rail, light rail, streetcars, and bus rapid transit,
Previously, it referred to the section of SAFETEA-LU that authorized discretionary grants to public transit
agencies for capital projects such as buses and bus facilities (which became funded under Section 5339
under MAP-21 and the FAST Act).
SECTION 5310: Refers to the section of 49 U.S.C. Chapter 53 that authorizes capital assistance to private
non-profit organizations for the provision of specialized transportation for seniors and individuals with
disabilities.
SECTION 5311: Refers to the section of 49 U.S.C. Chapter 53 that authorizes grants for public
transportation services rural areas. Through the states, Section 5311 offers both capital and operating
assistance.
SECTION 5311(F) INTERCITY BUS PROGRAM (ICB) - Refers to the section of 49 U.S.C. Chapter 53 that
authorizes grants to support rural intercity bus transportation and coordination of rural connections
between small transit operations and intercity bus carriers.

SECTION 5316 - JOB ACCESS AND REVERSE COMMUTE PROGRAM: Refers to the section of SAFETEA-LU
that authorized grants to support transportation services to employment and employment related
activities for welfare recipients and eligible low-income individuals, and to transport residents of
urbanized areas and nonurbanized areas to suburban employment opportunities. This program was
eliminated with the passage of MAP-21.
SECTION 5317 - NEW FREEDOM PROGRAM: Refers to the section of SAFETEA-LU that authorized grants
to expand the transportation mobility options available to individuals with disabilities beyond the
requirements of the Americans with Disabilities Act of 1990. This program was eliminated with the
passage of MAP-21.
SECTION 5333(B) (FORMERLY SECTION 13(C)): Refers to the section of 49 U.S.C. Chapter 53 in which as a
condition of any assistance under the act, fair and equitable arrangements must be made to protect the
interests of employees affected by such assistance.
SECTION 5339: Refers to the section of 49 U.S.C. Chapter 53 that authorizes grants for transit capital
projects such as buses and bus facilities (previously funded under Section 5309).
SENIOR: An older individual, defined under 49 U.S.C. Chapter 49 as 65 years of age or older.
SERVICE ANIMAL: As defined in 49 CFR part 37, any guide dog, signal dog, or other animal individually
trained to work or perform tasks for an individual with a disability, including, but not limited to, guiding
individuals with impaired vision, alerting individuals with impaired hearing to intruders or sounds,
providing minimal protection or rescue work, pulling a wheelchair, or fetching dropped items.
SERVICE AREA: The geographic region in which a transit system provides service or that a transit system
is required to serve. Under the requirements of the ADA, the service area for complementary paratransit
includes a three quarter mile radius from the fixed route service.
SERVICE ATTRIBUTES: Those aspects of a transportation system that affect potential customers’ travel
decisions about its use, such as travel time, reliability, comfort, cost, ease of use, and safety.




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SERVICE FREQUENCY: The number of transit vehicles on a given route that passes a given stop within a
specified interval of time. Peak service has a higher service frequency than off-peak service.
SERVICE PROVIDER: An agency that provides all or part of the transportation service under contract by the
transportation system.
SERVICE QUALITY: The conditions of cleanliness of vehicles, on-time performance, response time, route
and schedule convenience, the size of the service area, the courtesy of the drivers, and the availability of
information for passengers.
SERVICE ROUTE: Routes which are tailored to meet the needs of a specific market segment (such as
elderly or disabled passengers) in a community, often evolving out of a pattern of demand-responsive
travel within a community. Characteristics of a service route include stops at high-density residential
complexes or group homes, shopping areas, medical facilities, and destinations specific to the target
population such as senior centers or sheltered work sites. Stops are usually positioned near an
accessible entrance of a building instead of on the street, and the ride times are typically longer than on
a conventional fixed-route covering the same general area.
SHARED-RIDE TAXI: A type of demand-responsive service in which taxis are allowed by the regulating
authorities to carry at any one time several unrelated passengers with different origins and destinations.
SHUTTLE: A public or private vehicle that travels back and forth over a particular route, especially a short
route or one that provides connections between transportation systems, employment centers, etc.
SMART CARD: A type of fare media on which an available balance and other data are stored. Upon
boarding (or alighting) the vehicle, the card is read electronically and the appropriate fare is deducted for
the trip.
SPARE RATIO: The number of spare vehicles (vehicles in excess of peak demand requirements) divided
by the total number of vehicles needed to provide maximum (peak) service.
STANDING CAPACITY: The number of standing passengers that can be accommodated in a vehicle under
specified comfort standards.
STATEWIDE TRANSPORTATION IMPROVEMENT PROGRAM (STIP): A prioritized statewide program of
transportation projects to be implemented in appropriate stages over several years. Inclusion of a project
in the STIP is usually a required condition for a locality to receive federal transit and highway grants.
SUBCONTRACT: A secondary contract undertaking some or all of the obligations of the primary contract.

SUBRECIPIENT: an entity that receives Federal financial assistance from FTA through a primary recipient.
In terms of the Maryland LOTS grant programs, the LOTS are subrecipients to the State (MTA).
SUBSCRIPTION SERVICE: A service in which routes and schedules are pre-arranged to meet the ongoing
travel needs of riders who sign up for the service in advance.
SUBSIDY: In transportation, a grant, usually provided by a government agency, that makes up all or part
of the difference between the cost of providing a transportation service and the revenues generated by
the service.
SUBURBAN TRANSIT BUS: a motor bus designed for a seated passenger load and longer journey times.
Typically it has high-back, forward-facing seats, and a single door at the front.
SUPER CIRCULAR: Published by the Office of Management and Budget (OMB) on December 26, 2013, a
set of Federal requirements governing grants which replaced a series of former OMB grant-related
circulars into one set of uniform regulations at 2 CFR Part 200 - Uniform Administrative Requirements,
Cost Principles, and Audit Requirements for Federal Awards.




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SUPPORT COSTS: Those costs incurred by a transportation program that do not result from vehicle
maintenance or operations, including administrative salaries or office rentals. Also known as
administrative or overhead costs.
SYNTHETIC FUEL: Usually refers to liquified or gaseous fuels derived from mineral feedstocks.

SYSTEM FOR AWARD M ANAGEMENT: an official website of the U.S. government used to identify
organizations and individuals who have been debarred or suspended from participating in Federally-
funded projects.
TAXI: Demand-responsive public transportation on an exclusive basis, in a vehicle licenses to render that
service, usually operated by a private for-profit company. Fares are usually charged on a per-mile or per
hour (or both) basis on top of a base fare charged for all trips. Passengers may call the dispatcher to
request a trip (real time scheduling) or hail a passing unoccupied taxi (usually only in urban areas).
TAXICAB, LIMOUSINE & PARATRANSIT ASSOCIATION (TLPA): A non-profit trade association of and for the
private passenger transportation industry. Members include taxicab companies, executive sedan and
limousine services, airport shuttle fleets, non-emergency medical transportation companies, and
paratransit services.
TECHNICAL ASSISTANCE: Hands-on assistance to transit system for purposes of problem-solving,
planning, development, expansion, training or refinement of services.
TERMINAL STOP: A transit stop located at either end of a transit route.

THIRD-PARTY CONTRACT: A contract between the local transportation agency and a private firm for
products or services.
THROUGH ROUTING: The joining of the ends of radial transit routes to travel through downtown instead of
having each route turn back in the downtown and return to its origin.
TIME-BASED FARE: A fare that varies by time of day. It is usually higher during peak travel periods and
lower during nonpeak travel periods.
TIME SHARING: A mode of transportation in which a vehicles time is shared by two or more agencies.
Each agency utilizes the amount of service it requires, allowing its unutilized vehicle time to be
purchased by another agency. This system reduces the service costs incurred by unutilized vehicles.
TIMETABLE: A listing of the times at which transit vehicles are due at specified time points.
TITLE VI OF THE CIVIL RIGHTS ACT OF 1964: A statute that protects people from discrimination based on
race, color, and national origin in programs and activities receiving federal financial assistance.
TOTAL PROJECT COST: Total administration expenses and operating expenses.

TOTAL QUALITY M ANAGEMENT (TQM): Management theory in which every decision made by an
organization is analyzed by the employees making the decision for its impact on the quality of the
product delivered to customers. In TQM, quality and management techniques, concepts and beliefs are
integrated into the organizations culture and methodology to bring about continuous improvement
through the empowerment of employees to make decisions regarding quality. The objective of a TQM
strategy is to consistently meet customer expectations through first-time delivery of quality products.
TRANSFER: Service provided on a second transportation route to a passenger who has already paid a
fare for transportation on an initial route. Transferring usually involves a change of vehicles, and may be
free or incur an additional (typically small) charge.
TRANSFER PASSENGER: A passenger who changes from one route or line to another route or line.
TRANSFER TIME: The time required to effect a change of mode or to transfer between routes.




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TRANSIT ASSET M ANAGEMENT PLAN (TAMP): a model that uses asset condition to help prioritize funding
to achieve or maintain transit networks in a state of good repair.
TRANSIT BUS: A motor bus designed for a maximum number of seated and standing passengers in short
ride, frequent stop service. Typically 33 to 40 feet long.
TRANSIT CENTER: A transit stop or station at the meeting point of several routes.
TRANSIT COOPERATIVE RESEARCH PROGRAM (TCRP): Established under FTA in 1992 and as a part of the
Intermodal Surface Transportation Efficiency Act (ISTEA), serves as one of the principal means by which
the transit industry can develop innovative solutions to meet demands placed on it. It is administered by
the Transportation Research Board for the FTA.
TRANSIT DEPENDENT PERSON: A person who must rely on transit services instead of the private
automobile to meet his or her travel needs due to an inability to drive or lack of access to an auto.
TRANSIT DISTRICT: A geographically-based political jurisdiction division created specifically for the single
purpose of providing transportation services. It is a separate legal entity and usually possesses the
authority to impose a property tax.
TRANSIT MODE: Examples include regular fixed-route bus service, express bus service, light rail transit,
rail rapid transit, and commuter rail.
TRANSIT SHELTER: A structure constructed at a transit stop which provides shelter from inclement
weather. Also called a passenger or bus shelter.
TRANSIT STATION: An off-street facility where passengers wait for, board, alight, or transfer between
transit vehicles. Transit stations are often multimodal and may include facilities for parking, kiss and
ride, bicycle securement, taxi standing, and paratransit operations.
TRANSIT STOP: An area where passengers wait for, board, and alight from transit vehicles.
TRANSIT SYSTEM: The organization, facilities, equipment, personnel, and procedures needed to provide
and maintain public transit service.
TRANSIT UNIT: A single transportation vehicle. Compare to fleet.
TRANSPORTATION ADVERTISING: Advertising on transit vehicles (inside or outside) or in transit facilities.
Systems can either contract with a local sales agent or allow system employees to sell space and earn a
commission. Advertising space can also be used to promote the system itself.
TRANSPORTATION BROKERAGE: Coordination of transportation services provided by multiple agencies in
a defined area. The transportation broker often centralizes vehicle reservations and provides some
dispatch and record keeping, under contractual agreement with agencies, municipalities and service
providers. The broker may or may not be providing service directly and the agencies and municipalities
who provide the system with riders may be also provide service through the brokerage. The broker
provides a single point of access (information and trip reservations) for all customers.
TRANSPORTATION DEMAND M ANAGEMENT (TDM): A program designed to maximize the people-moving
capability of a transportation system (including private autos, public transit, and other modes) by
increasing the number of persons in a vehicle or by changing the time of, or need to, travel. TDM
systems typically rely on incentives to businesses and individuals to encourage them to change their
behavior. For example, tax deductions might be given to businesses which stagger their workers’ hours
to relieve congestion during peak hours.
TRANSPORTATION DEVELOPMENT PLAN (TDP): A plan that identifies an area’s transportation goals and
objectives, the current status of its transportation services, and the proper course to implement those
objectives in the short-range future, typically 3-5 years. Also may be known as a short-range transit
plan, or by other similar names.




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TRANSPORTATION DISADVANTAGED: People whose range of transportation alternatives is limited.

TRANSPORTATION EQUITY ACT FOR THE 21ST CENTURY (TEA 21): The ISTEA reauthorization act for Fiscal
Years (FY) 1998-2003. TEA 21 authorizes $42 billion for transit and at least $175 billion in highway
money.
TRANSPORTATION IMPROVEMENT PROGRAM (TIP): A prioritized program of transportation projects to be
implemented in appropriate stages over several years, and is usually a required condition for a locality to
receive federal transit and highway grants.
TRANSPORTATION M ANAGEMENT AREA (TMA): An urbanized area with a population more than 200,000
(as determined by the most recent decennial census) or other area when TMA-designation is requested
by the Governor and the MPO (or affected local officials), and officially designated by the Federal
Highway Administration and the Federal Transit Administration. TMA designation applies to the entire
metropolitan planning area(s).
TRANSPORTATION M ANAGEMENT ASSOCIATION (TMA): a voluntary association of public and private
agencies and firms which develop, fund, or implement transportation programs or services in a given
area.
TRANSPORTATION NETWORK COMPANY (TNC): A company that connects paying passengers with drivers who
provide the transportation on their own non-commercial vehicles via website and mobile applications.

TRANSPORTATION RESEARCH BOARD (TRB): A unit of the National Research Council responsible for
advancing knowledge concerning the nature and performance of transportation systems by stimulating
research and disseminating the information derived therefrom.
TRANSPORTATION RESEARCH INFORMATION SERVICES (TRIS): A national network of transportation
research information services developed by the Transportation Research Board
TRANSPORTATION SYSTEM M ANAGEMENT (TSM): That part of the urban transportation planning process
undertaken to improve the efficiency of the existing transportation system.
TRAVEL TRAINING: Instruction in how to use a transit system, covering such aspects as trip planning,
getting to and from bus stops, boarding, and alighting. This type of training can improve the accessibility
of a transit system for people with disabilities.
TRIP: A one-way movement of a person or vehicle between two points. Many transit statistics are based
on unlinked passenger trips, usually counted as passenger boardings.
TRIP GENERATOR: A land use from which creates a need or demand for travel, such as a dwelling unit, a
store, a factory, or an office.
TRIP PURPOSE: The primary reason for making a trip, such as work, shopping, or medical purposes.

TRIPPER: A transit service that operates on only a portion of a route.

UNIFIED PLANNING WORK PROGRAM (UPWP): An annual document describing all transportation related
planning activities that will be carried out during the next year.
UNLINKED PASSENGER TRIP: A one-way trip made by an individual rider in a single vehicle. A person who
leaves home on one vehicle, transfers to a second vehicle to arrive at a destination, leaves the
destination and has to transfer to yet another vehicle to complete the journey home has made 4 unlinked
passenger trips.
UNUTILIZED VEHICLE HOURS: The hours when vehicles are not carrying passengers but a driver is on duty.
URBAN M ASS TRANSPORTATION ACT OF 1964 (UMTA): Refers to the establishment of the Federal Mass
Transportation Program in 1964.




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URBAN TRANSPORTATION MODELING SYSTEM: A system of models used in transportation planning as an
approach to urban travel demand modeling.
URBAN TRANSPORTATION PLANNING PROCESS: Federally required planning process for urbanized areas
that is aimed at developing programs to meet a region’s transportation needs.
URBANIZED AREA: As defined by the Bureau of the Census, a population concentration of at least 50,000
inhabitants.
U.S. DEPARTMENT OF ENERGY (DOE): Federal agency whose responsibilities include improving the
energy efficiency of transportation.
U.S. DEPARTMENT OF HEALTH AND HUMAN SERVICES (DHHS): Federal agency that provides funds for
many specialized transportation services in urbanized and rural areas as part of its social service
programs.
U.S. DEPARTMENT OF JUSTICE (DOJ): Federal agency whose responsibilities include enforcing the
provisions of the ADA which apply to private transportation providers.
U.S. DEPARTMENT OF LABOR (DOL): Federal agency responsible for waivers of the labor protection
provisions of Section 138 of the Urban Mass Transportation Act of 1964, as amended.
U.S. DEPARTMENT OF TRANSPORTATION (DOT): Federal agency responsible for transportation.
USEFUL LIFE: The total productive time span of a piece of equipment, usually used with reference to
vehicles.
USEFUL LIFE BENCHMARK: The expected lifecycle of a capital asset for a particular Transit Provider’s
operating environment, or the acceptable period of use in service for a particular Transit Provider’s
operating environment.
USER INFORMATION (SERVICE INFORMATION): Information on routes, fares, stopping places, schedules,
and other aspects of service essential to the efficient use of public transit.
USER SIDE SUBSIDY: A subsidy in the form of a sum or a discount paid or applied directly to riders of a
transportation system. For example, riders purchase taxi vouchers at a reduced cost from an entity
which has purchased them at full value from a taxi system, and redeem the vouchers for full face value
with the taxi system.
VANS (RAISED-ROOF): These vans are a version of the standard van, in which the original roof is removed
and replaced by a raised-roof with a taller door unit, and modified seating. Such vehicles are usually
equipped with a wheelchair lift, either side or rear entry. The tall roof and door permit easier access.
VANS (STANDARD): These vans are larger vans seating up to 14 ambulatory passengers. They are front-
engine, read-drive vehicles, with the driver’s seat and front passenger seat alongside the engine,
resulting in a short hood. Most have a separate body and frame and they are built on to chassis
intended for commercial use. They can be equipped with a lift or ramp for wheelchair access, but
typically the roof is then too low to permit easy access.
VANPOOL: A prearranged ridesharing service in which a number of people travel together on a regular
basis (typically to and from work) in a van and share operating expenses and sometimes the driving role.
Vanpools may be publicly operated, employer operated, individually owned or leased.
VEHICLE CAPACITY: The maximum number of passengers that the vehicle is designed to accommodate
comfortably, seated and standing, including wheelchair spaces.
VEHICLE HOUR: The operation of one vehicle for a period of one hour.
VEHICLE MILE: The movement of one vehicle over a distance of one mile.




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VEHICLE MILES TRAVELED (VMT): The total number of miles traveled by transit vehicles in a given period
of time.
VEHICLE OCCUPANCY: The number of people aboard a vehicle at a given time.
VEHICLE SERVICE HOURS: The number of hours that each vehicle is available and ready to respond to trip
requests, including layover time.
VOLUNTEER NETWORK: An organization that matches requests for transportation with a volunteer driver
who is typically reimbursed on a per mile basis for providing the trip. Persons requesting service call the
network; the network calls the driver and schedules the trip. Volunteer networks are frequently used in
rural areas where resources are scarce, persons needing transportation may live in remote areas, and a
sense of community is not uncommon.
WHEELCHAIR: A mobility aid belonging to any class of three- or more-wheeled devices, usable indoors,
designed or modified for and used by individuals with mobility impairments, whether operated manually
or powered.
WHEELCHAIR-ACCESSIBLE VEHICLE: A vehicle that a person using a wheelchair can enter, either using an
on-board retractable lift or ramp or directly from a station platform.
WHEELCHAIR LIFT: A device used to raise and lower a platform that facilitates transit vehicle accessibility
for wheelchair users and other handicapped individuals.
WOMEN’S BUSINESS ENTERPRISE (WBE): A business owned and controlled by one or more women, and
requires certification by the appropriate agency to receive preferential treatment for state or federal
projects.
ZONE: A defined geographic area. Zones are used in demand-responsive service for dispatching
purposes and in fixed-route and demand-responsive service for fare determination. In zonal demand-
responsive service, each vehicle travels only within a particular zone. Trips that originate in one zone
and end in another involve a transfer at the zone boundary or a central transfer point. In a zonal fare
structure, the service area is divided into zones, and the fare is determined according to the number of
zones traveled (the higher the number of zones, the higher the fare). Zone can also be used to refer to
the area in which a bus stops to serve a bus stop.
ZONE FARE: A method of pricing that is based on the geographical partitioning of the service area.
Typically, and additional charge is incurred for each zone traveled.




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Systems Engineering Analysis Process
Prescribed in the FTA ITS Architecture Policy
FTA grantees are required to follow a systems engineering analysis in implementing an
ITS project. Systems engineering reduces the risk of schedule and cost overruns and
increases the likelihood that the implementation will meet the user’s needs. If there are
changes to the scope of the project, such changes must be reflected in the systems
engineering analysis for it to be effective. The systems engineering analysis process is
intended to address the risk associated with an ITS project because ITS projects often
are not fully successful. This is especially true of ITS projects that include new
technology, new software, new communications, or joint efforts with external partners.

FTA’s ITS Architecture Policy (http://ops.fhwa.dot.gov/its_arch_imp/policy_2.htm)
prescribes a seven step systems engineering analysis process that identifies the
following:

      1. Portions of the Regional ITS Architecture being implemented; show where the
         elements of the ITS project are in the Regional ITS Architecture.
      2. Participating agency’s roles and responsibilities; define for each participating
         agency.
      3. Requirements definition. What functions will the ITS system need to perform?
      4. Analysis of alternative system configurations and technology options to meet
         the requirements. What other options were examined?
      5. Financing and procurement analysis. How will the ITS project be funded,
         procured and maintained?
      6. ITS standards and testing; identify applicable ITS standards and testing
         procedures.
      7. Procedures and resources necessary for operations and management. How
         will the ITS project be operated and maintained?

Risk Assessment
To determine whether or not an ITS project is low- or high-risk, FTA recommends
assessing the following eight characteristics:

      1. Jurisdiction. Does the ITS project include a single or multiple jurisdictions?
      2. Software, commercial-off-the-shelf. Does the project require software
         development or can it rely entirely on existing and proven software?
      3. Hardware. Does the project require development of hardware or does proven
         hardware exist?




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       4. Interfaces. Does the project require new interfaces or will it rely entirely on
          existing interfaces?
       5. Requirements. Will the project’s requirements be well defined and fully
          documented prior to procuring the system?
       6. Procedures. Will the project’s operating procedures be well documented prior
          to procuring the system?
       7. Technologies. Does the project only use proven and stable technologies?
       8. Staff experience. Does the staff implementing the project have prior
          experience with ITS procurement, implementation and operations?



Links to Additional            Information       about     FTA     ITS    Architecture
Requirements
   x   Federal Highway Administration 23 CFR Parts 655 and 940, Intelligent
       Transportation System Architecture and Standards; Final Rule and FTA National
       ITS Architecture Policy on Transit Projects; Notice, January 8, 2001:

       http://ops.fhwa.dot.gov/its_arch_imp/archrule_final_1.htm

   x   FTA’s National ITS Architecture Consistency Policy for Transit Projects web
       page:

       https://www.transit.dot.gov/research-innovation/national-its-architecture-
       consistency-policy-transit-projects




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Guidance for Developing a Cost Allocation Plan
This appendix is based on guidance developed by Sue Knapp, of KFH Group, Inc., for
presentation to subrecipients of Maryland’s Locally Operation Transit System (LOTS)
funding programs at the 2003 conference of the Transportation Association of Maryland.
It has been updated and is organized into the following major sections:

   1. Cost Allocation Concepts and Methodologies
   2. Allocating Transportation Costs to Various Funding Programs and/or Individual
      Routes or Services
   3. Cost Allocation “Model”
   4. Allocating “Local Share” to Multiple Jurisdictions
   5. Recap of Procedures for Allocating Costs to Individual Routes
   6. Additional Resources

1. COST ALLOCATION CONCEPTS AND METHODOLOGIES

Types of Cost Allocation Challenges

   •     Multi-purpose agency – allocating shared agency (administrative) costs to
         transportation.

   •     Allocating transportation costs to various funding programs (S.5311, S.5307,
         ADA, or other transportation funding programs).

   •     Allocating transportation costs to individual routes or services.

   •     Allocating “local share” to multiple jurisdictions.

Basic Principles

   •     Generally, the process should include all costs but may vary depending on
         purpose and grant rules.

   •     “Fully allocated costs” include vehicle and capital costs (depreciation).

   •     However, LOTS cannot include depreciation of federally/state-funded vehicles
         in costs charged against federal/state grants.

   •     Objectives: The process should:
         o fairly represent the actual cost of providing the service.
         o be relatively easy to apply and understand.
         o be based on available data.




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Multi-Purpose Agency – Allocating Shared Agency (Administrative) Costs to
Transportation

   •       Often referred to as agency “overhead” and is generally expressed as a
           percentage of direct costs.

   •       Used by agencies with grants from multiple funding sources to cover shared
           administrative costs (e.g., salary of the director, and costs of the
           administrative facility, agency-wide audit and accounting, and legal).

   •       Used to allocate “non-direct” agency costs that are not directly attributable to
           the delivery of services to the various grants or funding sources (e.g., Aging,
           Transportation, Head Start).

   •       Generally Federal funding programs require grantees to develop an approved
           “cost allocation” plan before charging these costs.

Example:

       Total Agency Costs                 $550,000

              Direct Costs                $500,000

              Nutrition program           $175,000
              Head Start                  $200,000
              Transportation              $125,000

              Indirect Costs              $ 50,000

       Indirect Cost Rate          Indirect Costs / Direct Costs
                                   $50,000 / $500,000 = 10%


       Allocated Costs                    Direct Costs plus 10%

           Nutrition program       $175,000 + $17,500 indirect        =      $192,500
           Head Start              $200,000 + $20,000 indirect        =      $220,000
           Transportation          $125,000 + $12,500 indirect        =      $137,500

2. ALLOCATING TRANSPORTATION COSTS           TO   VARIOUS FUNDING PROGRAMS         AND/OR
INDIVIDUAL ROUTES OR SERVICES

There are two basic methods:

   1. Directly Charge Costs

   In order to directly charge costs to a particular program or service, agencies must
   have a mechanism in place to track actual costs for each program, service, or route.


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   2. Allocate Costs

   In order to allocate costs to various programs or services, agencies must have a
   mechanism in place to track miles and hours by program, service, or route (should
   already be tracking for performance).

   x      Agencies often use a combination of directly charging some costs and
          “allocating” other costs.
   x      Which method is appropriate (and practical) can depend on whether the
          services/routes are distinct or divisible (so costs can be tracked easily).

3. COST ALLOCATION “MODEL”

If it is not possible to directly charge costs against services or grants, you can “allocate”
costs based on the amount of resources needed to operate the services.

   x      Miles only – based on overall cost per mile
   x      Hours only – based on overall cost per hour
   x      Combination of miles and hours – MOST ACCURATE

Inputs

   •      Expenses by cost category
   •      Miles and hours of each route or service (total or revenue – just be
          consistent)

Process

   1. Group costs into three categories:
          o Fixed Costs are constant over large increments of service (such as most
            administrative costs).
          o Variable Costs dependent on Hours of Service - vary with the hours of
            service provided (such as driver wages).
          o Variable Costs dependent on Miles of Service - vary with the miles of
            service provided (such as fuel and maintenance)
   2. Calculate a Fixed Cost Percentage by dividing fixed costs by total direct
      variable costs (expressed as a percent).
   3. Calculate Hourly-Related Unit Cost Factor by dividing hourly-related costs by
      number of hours.
   4. Calculate Mileage-Related Unit Cost Factor by dividing mileage-related costs
      by number of miles.
   5. Use the following “model” to allocate costs to various routes/service/grants. The
      allocated costs are the sum of the hourly-related costs, mileage-related costs and
      the fixed costs.


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Model

This analysis uses a typical three variable cost model:

Allocated Costs = (1+Fixed Cost Percentage) x [(No. of Miles x Unit Cost Factor for
                  Mileage-Based Variable Costs) + (No. of Hours x Unit Cost Factor
                  for Hourly-Based Variable Cost)]

4. ALLOCATING “LOCAL SHARE” TO MULTIPLE JURISDICTIONS

   •        Used to determine contributions required by local jurisdictions to cover the
            “local share” of transportation costs.

   •        Generally allocate net costs (costs minus operating revenues). These costs
            include the local share of capital items.

   •        Sometimes possible to allocate costs directly (particularly for new services or
            services distinct to a particular jurisdiction).

   •        If cannot allocate costs directly, systems often allocate costs to jurisdictions
            based on relative miles or hours of service (e.g., if 20% of the system’s miles
            are in a jurisdiction, 20% of the costs are allocated to that jurisdiction).

   •        If routes/services are assigned to specific jurisdictions, can use any method
            above.

   •        Implies some control by jurisdictions over services operated on their behalf
            (elected officials may feel that they should specify the services operated in
            their areas because they are paying the local share on that service.

5. RECAP OF PROCEDURES FOR ALLOCATING COSTS TO INDIVIDUAL ROUTES

The following steps provide instructions on allocating your transportation costs using the
“combination of miles and hours” cost allocation model.

   1. Group transportation costs into three categories:

        x   Fixed costs are constant over large increments of service (such as most
            administrative costs).
        x   Variable costs dependent on hours of service - vary with the hours of
            service provided (such as driver wages).
        x   Variable costs dependent on miles of service - vary with the miles of
            service provided (such as fuel and maintenance).

   2. Add variable costs dependent on hours and miles of service to determine total
      direct variable costs.


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   3. Calculate a fixed cost percentage by dividing fixed costs by total direct variable
      costs (expressed as a percent).

   4. Calculate hourly-related unit cost factor by dividing hourly-related costs by
      number of hours.

   5. Calculate mileage-related unit cost factor by dividing mileage-related costs by
      number of miles.

   6. Multiply the hourly-related unit cost by the number of hours attributed to each
      service or route.

   7. Multiply the mileage-related unit cost by the number of miles attributed to each
      service or route.

   8. Add the results of Steps 6 and 7 to determine the direct variable costs for each
      service or route.

   9. Add the fixed cost percentage to 1 (for example, if the fixed cost percentage is 10
      percent, adding this to 1 results in 1.10 percent, or 110 percent).

   10. Multiply the results of Step 9 with the result of Step 8 to determine the allocated
      costs for each route. The allocated costs are the sum of the hourly-related costs,
      mileage-related costs, and the fixed costs.




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An example of the use of this model is shown in the flowing table.

 COST ALLOCATION MODEL USED:
   Fixed administrative costs are allocated as a percentage of overall transportation costs.
   Hourly-related costs (salaries, wages, and fringe benefits) are allocated by the number of hours.
   Mileage-related costs (fuel, oil, maintenance, repairs) are allocated by the number of miles.

 1. CALCULATION OF SYSTEM-WIDE UNIT COSTS

                                                                       Hourly-                          Mileage-
                                                                       related                           related
                    Annual          Fixed Cost         Vehicle        cost unit        Vehicle          cost unit
                    Costs           Percentage         Hours            factor          Miles             factor
 Direct Variable Costs
 Hourly-related
 costs            $1,100,000                              50,000         $22.00
 Mileage-
 related costs         $276,000                                                     684,000                $0.404
 Subtotal            $1,376,000
 Fixed Costs           $264,000        19.2%
 Total               $1,640,000

 2. CALCULATION OF COSTS ALLOCATED TO EACH ROUTE OR SERVICE COMPONENT


                      1 + Fixed                        Hourly-                       Mileage-
                        Cost           Vehicle         related         Vehicle       related           Allocated
                     Percentage        Hours            costs           Miles         costs              Costs
 Route 1                1.19              9,000        $198,000         126,000       $50,842           $296,585
 Route 2                1.19              9,000        $198,000         126,000       $50,842           $296,585
 Route 3                1.19              7,000        $154,000          98,000       $39,544           $230,677
 Route 4                1.19              7,000        $154,000          98,000       $39,544           $230,677
 Route 5                1.19              4,000         $88,000          56,000       $22,596           $131,816
 Demand-
 response
 service                 1.19             14,000       $308,000         180,000         $72,632         $453,660
 Total                   1.19             50,000     $1,100,000         684,000       $276,000         $1,640,000




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6. ADDITIONAL RESOURCES

Comprehensive Financial Management Guidelines for Rural and Small Urban Public
Transportation Providers, prepared for AASHTO/MTAP (1992), Chapters 12 and 13:
http://www.fdot.gov/ctd/docs/DoingBusinessDocs/MTAP19920921.pdf

Toolkit for Rural Transit Planning: Five-Year Operations and Financial Plan, Texas
Transportation Institute (2012), Chapter 6 (pp. 98-112):
https://tti.tamu.edu/group/transit-mobility/files/2012/11/Toolkit-with-Appendix-for-Rural-
Transit-Operations-and-Financial-Planning-Final.pdf
“Transit System Cost Allocation and Pricing,” Small Urban & Rural Transit Center,
Technical Assistance Workshop presentation slides (2004):
http://www.surtc.org/cctm/sect2/downloads/FinalCost.pdf

Transportation By the Numbers, a self-study workbook for human service transportation
providers, downloadable through:
http://www.nadtc.org/resources-publications/transportation-by-the-numbers/




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                          PERFORMANCE INDICATOR DATA REQUIREMENTS AND INTERPRETATION

Performance                    Required Data                                            Interpretation/Possible Actions
  Indicator
Operating       x   Total operating cost – from accounting       High operating cost per hour may result from a number of factors, including high
Cost per Hour       function.                                    costs for operations (e.g., high administrative overhead; high maintenance
                x   Total service hours – service hours          costs from an older fleet, problem vehicles; high labor costs due to driver
                    calculated as the time from when the         absenteeism, pay scales, etc.) and/or an inefficient number of service hours
                    driver pulls out for service until the       resulting from, for example, scheduling practices that result in excessive
                    driver returns from service; data            deadhead, misplaced break/lunch times for drivers requiring excess relief
                    obtained from computerized                   drivers, etc.
                    scheduling/dispatch system reports or
                    driver trip sheets.                          Possible actions to improve performance might include:
                                                                 x Lowering operating costs (e.g., reduce maintenance costs through improved
                                                                    preventive practices; coordination of maintenance with other local
                                                                    transportation providers; using more part-time drivers; streamlining
                                                                    administrative tasks with computer applications).
                                                                 x Improve labor productivity, e.g., through greater supervision, more part-time
                                                                    labor particularly drivers;
                                                                 x Improve scheduling to reduce deadhead, minimize need for relief drivers.
Operating       x   Total operating cost – from accounting       High operating cost per mile may result from various factors, including similar
Cost per Mile       function.                                    reasons as listed above for high costs for operations, and low operating speeds.
                x   Total service miles – calculated as
                    miles from driver pull-out to driver pull-   Possible actions to improve performance might include:
                    in, which includes deadhead mileage;         x Lowering operating costs (as above).
                    data from computerized                       x Increase operating speed (e.g., assess bus stop placement to ensure low-
                    scheduling/dispatch system reports or           use stops consolidated with others; review policies to reduce dwell times,
                    driver trip sheets, maintenance data.           such as fare payment schemes for fixed-route service, waiting time policy
                                                                    for demand-response services).




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Performance                  Required Data                                            Interpretation/Possible Actions
  Indicator
Operating      x   Total operating cost – from accounting      High operating cost per passenger trip may result from high costs for operations
Cost per           function.                                   and/or low ridership levels.
Passenger      x   Total passenger trips (also called “total   Possible actions to improve performance might include:
Trip               ridership”; each passenger boarding is      x Lowering operating costs (as outlined above).
                   counted as one passenger trip) – data       x Increase ridership through such actions as fare incentives, marketing
                   obtained from computerized                     activities, targeted efforts to employers to increase work trip transit use,
                   scheduling/dispatch system reports or          improve service (greater on-time performance, improved reliability, cleaner
                   driver logs, dispatch records.                 vehicles, etc.), assess routing structure for new options to improve ridership
                                                                  potential, better grouping of passengers for demand-response services, etc.
Local          x   Total farebox receipts – obtained from      A low local operating revenue ratio 7can stem from high operating costs and
Operating          computerized scheduling/dispatch            low farebox receipts and limited other local financial support for transit.
Revenue            system reports or driver trip sheets
Ratio              and accounting.                             Actions to improve performance could include:
               x   Other local revenue including, for          x Lowering operating costs (as outlined above).
                   example, contract revenues,                 x Increasing ridership to improve farebox recovery (as outlined above).
                   advertising revenues, fare buy-down         x Assess fare structure to ensure fares are adequate, not too low.
                   programs from local organizations,          x Driver training to ensure drivers collect all required fares.
                   local government support or                 x Consider bus advertising, e.g., interior, exterior, bus “wraps.”
                   contributions.                              x Look for increased opportunities for contract work.
               x   Total operating cost – from accounting      x Network in community for possible public-private partnerships, so local
                   function.                                       organizations might provide financial support for transit in exchange for
                                                                   direct benefits (e.g., advertisement on transit brochure, routing that serves
                                                                   new shopping area, etc.).
                                                               x Work with local government and decision-makers to ensure they understand
                                                                   benefits of public transit and encourage financial support.
Farebox        x   Total farebox receipts – data from          Low farebox recovery is related to high operating costs and low farebox receipts
Recovery           computerized scheduling/dispatch            and ridership.
Ratio              system reports or driver trip sheets,
                   accounting.                                 Actions to improve performance are similar to those listed above for local
               x   Total operating cost – from accounting      operating revenue ratio that relate to operating costs and farebox receipts.
                   function.



    MTA 2017 LOTS Manual Appendix G – Performance Indicator Data Requirements and Interpretation                                              2
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Performance                    Required Data                                        Interpretation/Possible Actions
  Indicator
Passenger        x   Total passenger trips – from            Low passenger trips per mile may result from low ridership levels and/or high
Trips per Mile       computerized scheduling/dispatch        vehicle mileage in service that is not productive.
                     system reports or driver trip sheets,
                     dispatch records.                       Actions to improve performance include:
                 x   Total service miles – from              x Actions listed above to increase ridership.
                     computerized scheduling/dispatch        x Assess deadhead mileage for possible reductions.
                     system reports or driver trip sheets,   x Review route structures to consider elimination of segments that are not
                     maintenance records.                        carrying riders.
                                                             x Review trips to consider elimination of trips that are not carrying riders.
Passenger        x   Total passenger trips - from            Low passenger trips per hour may result from low ridership levels and /or high
Trips per            computerized scheduling/dispatch        number of service hours that are not productive.
Hour                 system reports or driver trip sheets,
                     dispatch records.                       Actions to improve performance include:
                 x   Total service hours – from              x Actions listed above to increase ridership.
                     computerized scheduling/dispatch        x Assess possible reductions in deadhead time.
                     system reports or driver trip sheets.   x Review ridership levels during lower ridership times of the day or week
                                                                 (e.g., evening trips; Saturday/Sunday trips) for possible elimination to
                                                                 reduce service hours.




    MTA 2017 LOTS Manual Appendix G – Performance Indicator Data Requirements and Interpretation                                            3
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Maryland State Highway Administration (SHA)
Standards for Signs Pertaining to Bus Stops

The following sign standards are from the Maryland Standard Sign Book, as accessed
on the SHA website in October 2016. The Standard Sign Book provides design details
for standard signs to be used along Maryland highways in a format that is user friendly
to fabricators, technicians and engineers. All signs used along Maryland roadways open
to the public must conform to the Standard Sign Book. The standards are provided in
PDF format and can be found through:

http://apps.roads.maryland.gov/BusinessWithSHA/bizStdsSpecs/desManualStdPub/pub
licationsonline/oots/internet_signbook.asp



The following SHA bus stop-related sign standards are included in this appendix:

   x   Sign Number R3-5(3) – “Except Transit Vehicles”
   x   Sign Number R7-107 – “No Parking”
   x   Sign Number R7-107a – “No Parking (With Transit Logo)”
   x   Sign Number R7-3(2) – “No Parking (Symbol) Bus Stop”
   x   Sign Number R7-4(9) - “Bus Stop (Symbol) - No Standing Anytime”




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Sign Number R3-5(3) – “Except Transit Vehicles”




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Sign Number R7-107 – “No Parking” and

Sign Number R7-107a – “No Parking (With Transit Logo)”




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Sign Number R7-3(2) – “No Parking (Symbol) Bus Stop”




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Sign Number R7-4(9) - “Bus Stop (Symbol) - No Standing Anytime”




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Selected FMCSA and Maryland Motor Carrier
Requirements that May Apply to Your
Organization
The information in the following table is provided by MTA as technical assistance to
Maryland’s Locally Operated Transit Systems (LOTS). These requirements are under
the purview of the Federal Motor Carrier Safety Administration (FMCSA), the Maryland
Motor Carrier Division of the Maryland State Highway Administration (SHA), the
Maryland Public Service Commission (PSC), and the Motor Vehicle Administration
(MVA), and enforced by the Maryland State Police, not FTA or MTA. These
requirements are not imposed through the MTA funding programs. However, MTA
advises all LOTS, as well as their operations contractors, that they have a responsibility
to learn the FMCSA, Maryland Motor Carrier, MVA, and PSC requirements that may
apply to their particular operations and vehicles. The requirements introduced below
are not exhaustive, and organizations with commercial vehicles should contact the
Maryland SHA Motor Carrier Division and/or the FMCSA to obtain guidance:

          If your transportation services               If your transportation services
   operate entirely within the State of Maryland                 cross state lines
 Maryland State Highway Administration (SHA),            Federal Motor Carrier Safety
               Motor Carrier Division                       Administration (FMCSA)
        1-800-543-4564 or 410-582-5734                1-800-832-5660 or 410-962-2889
http://www.mdot.maryland.gov/newMDOT/Motor_                http://www.fmcsa.dot.gov/
                Carrier/index.html


Disclaimer: The following information, provided as a technical assistance
courtesy, was compiled based on the careful review of the FMCSA and Maryland
Motor Carrier/MVA/PSC regulations as of December 2016, as well as FMCSA and
Maryland Motor Carrier Division technical assistance resources. This information
should only be used as an introduction, and the extent to which each requirement
may apply to your organization will depend on the specific circumstances of your
organization, transportation funding sources, vehicles, and operating
characteristics. The MTA advises its subrecipients to contact the Maryland Motor
Carrier Division directly to obtain complete and up-to-date information and to
determine applicability to your organization’s transportation program.




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Selected FMCSA and Maryland Motor Carrier Requirements that May Apply to
Your Organization

Requirement                   Vehicles with       Vehicles designed            Vehicles
                               GVWR over            to seat 9 – 15         designed to seat
                               10,000 lbs           including the            16 or more
                                                        driver              including the
                                                                                driver
Operating Authority/ US                            Yes if operating for
DOT Number if                                         compensation
interstate or MD DOT                               (direct or indirect –
Number if intrastate                                  includes grant
                                    Yes                                          Yes
only – organization must                                funding for
have (49 CFR Part 365)                              transportation) or
                                                     over 10,000 lbs
                                                          GVWR
Commercial Driver’s
                               Only if GVWR
License – driver must                               Only if GVWR
                              exceeds 26,000                                     Yes
have, employer must                               exceeds 26,000 lbs
                                     lbs
verify (49 CFR Part 383)
US DOT Physical –                                 Only if operating for
driver must have,                                 direct compensation,
                                    Yes                                          Yes
employer must verify (49                           or over 10,000 lbs
CFR Part 391)                                             GVWR
Pre-Employment
Checks for Drivers –                              Only if operating for
employer must conduct                             direct compensation,
                                    Yes                                          Yes
x Background checks                                or over 10,000 lbs
x Road test                                               GVWR
(49 CFR Part 391)
Pre-Employment and
Annual D&A Queries for           Applies to all  Applies to all safety-
Drivers – employer must        safety-sensitive   sensitive functions
query drug and alcohol       functions for LOTS      for LOTS that
safety violations at other    that receive 5307,  receive 5307, 5309
employers (in the future,       5309 or 5311*;         or 5311*;                 Yes
via federal clearinghouse;   otherwise, only for   otherwise, only for
currently, only required        CDL drivers (if      CDL drivers (if
pre-employment via past        GVWR exceeds         GVWR exceeds
employer inquiries)               26,000 lbs)         26,000 lbs)
(Docket No. 2016-27398)




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Requirement                    Vehicles with       Vehicles designed           Vehicles
                                GVWR over            to seat 9 – 15        designed to seat
                                10,000 lbs           including the           16 or more
                                                         driver             including the
                                                                                driver
Drug & Alcohol Testing
Program – employer
                                  Applies to all  Applies to all safety-
must conduct pre-
                                safety-sensitive   sensitive functions
employment, post-
                              functions for LOTS      for LOTS that
accident, random,
                               that receive 5307,  receive 5307, 5309
reasonable cause, and
                                 5309 or 5311*;         or 5311*;                  Yes
return-to-duty testing (49
                              otherwise, only for   otherwise, only for
CFR Parts 40 and 382-
                                 CDL drivers (if      CDL drivers (if
unless subject to more
                                GVWR exceeds         GVWR exceeds
rigorous FTA program
                                   26,000 lbs)         26,000 lbs)
requirements under Part
655*)
Driver Training – drivers
with under 1 year of
operating a CDL vehicle
in interstate commerce          Only if GVWR         Only if GVWR
must have entry-level          exceeds 26,000      exceeds 26,000 lbs            Only if
driver training; beginning     lbs and crossing    and crossing state      crossing state lines
in 2020, this training must       state lines            lines
be provided by a FMCSA-
registered trainer (49 CFR
Part 380)
Maximum Driving Time                               Only if operating for
for Drivers of                                     direct compensation,
                                     Yes                                           Yes
Commercial Vehicles                                 or over 10,000 lbs
(49 CFR Part 395)                                          GVWR
Commercial Vehicle                                 Only if operating for
Inspection, Repair, and                            direct compensation,
                                     Yes                                           Yes
Maintenance (49 CFR                                 or over 10,000 lbs
Part 396)                                                  GVWR
Preventive
Maintenance
                                                    Only if owned by
Standards for
                                Depends on           the State or ant
Multipurpose
                              seating capacity     political subdivision          Yes
Passenger Vehicles
                               and ownership        and seats 10 or
and Passenger Buses
                                                           more
(COMAR Title 11,
11.22.03)

*If your organization also receives FTA funding under Sections 5307, 5309, 5311, or
5339 program, you are subject to the more rigorous FTA Drug and Alcohol Testing
requirements under 49 CFR Part 655).



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Minimum Insurance Levels that May Be Required for Your Organization

Requirement               Vehicles designed       Vehicles designed       Vehicles designed
                          to seat 7 or fewer        to seat 8 – 15        to seat 16 or more
                            including the           including the            including the
                                driver                  driver                   driver

Minimum Levels of           If funded by FTA        If funded by FTA
Financial                 Section 5307, 5310,     Section 5307, 5310,
Responsibility for         or 5311 grant, the      or 5311 grant, the       If funded by FTA
Motor Carriers (49             highest level           highest level      Section 5307, 5310,
CFR Part 387),               required for any        required for any      or 5311 grant, the
Subpart B—Motor            States operated in      States operated in          highest level
Carriers of               (per 49 U.S. Code §     (per 49 U.S. Code §        required for any
Passengers - If                   31138).                 31138).          States operated in
crossing state lines                                                      (per 49 U.S. Code §
and operating for             If none of these        If none of these            31138).
compensation (direct            grants apply:           grants apply:
or indirect – includes                                                        If none of these
grant funding for                minimum                 minimum                grants apply:
transportation)                 $1,500,000              $1,500,000
                                                                                 minimum
                           Exception: single       Exception: single            $5,000,000
                          daily round trip work   daily round trip work
                                commute                 commute

Minimum Insurance         x   $50,000 for         x   $75,000 for         x   $75,000 for injury
Requirements for              injury to one           injury to one           to one person,
Maryland Intrastate           person,                 person,             x $400,000 for
Only Operations           x $100,000 for              $200,000 for            injuries to 2+
(COMAR Title 20,              injuries to 2+          injuries to 2+          persons, and
20.95.01.18 – applies         persons, and            persons, and        x $100,000 for
to carriers requiring a   x $20,000 for           x $50,000 for               property damage
PSC permit)                   property damage         property damage     OR $500,000
                          OR $120,000             OR $250,000             combined single
                          combined single         combined single         limit.
                          limit.                  limit.




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ADDITIONAL RESOURCES

Federal Requirements

FMCSA Small Passenger-Carrying Vehicles web page
https://www.fmcsa.dot.gov/registration/small-passenger-carrying-vehicles

FMCSA “Overview of Federal Requirements Interstate 9 to 15 Passenger
Vehicles” brochure
https://www.fmcsa.dot.gov/sites/fmcsa.dot.gov/files/docs/9-15-
Passenger_Vehicle_Brochure_508.pdf

FMCSA “Licensing and Insurance Requirements for For-Hire Motor Carriers of
Passengers” brochure
https://www.fmcsa.dot.gov/sites/fmcsa.dot.gov/files/docs/365-387-LI-Req-PCS-eng.pdf

49 CFR, Subtitle B, Chapter III—Federal Motor Carrier Safety Administration,
Department of Transportation
http://www.ecfr.gov/cgi-bin/text-
idx?SID=7ef7f713def1d71cd970806fa5e59172&mc=true&tpl=/ecfrbrowse/Title49/49CIII
subchapB.tpl

Amendment to 49 CFR Part 387, §387.33             Financial responsibility, minimum
levels that applies state-level insurance minimums instead of interstate minimums for
interstate services funded by Section 5307, 5310 and 5311:
http://www.ecfr.gov/cgi-bin/text-
idx?SID=acd1d2a81e17d429d94f0a72956139df&mc=true&node=20130823y1.64
(See also 49 U.S. Code § 31138)

CTAA’s FMCSA Resource Webpage:
http://web1.ctaa.org/webmodules/webarticles/anmviewer.asp?a=344

CTAA’s “Figuring Out the Federal Motor Carrier Safety Administration (FMCSA)
Regulations: Do They Apply and What to Do if the Answer Is “Yes””:
http://web1.ctaa.org/webmodules/webarticles/articlefiles/Texas_FMCSA_issues.pdf

National Cooperative Highway Research Program (NCHRP) Research Results
Digest 311: FMCSA Regulations as They Apply to FTA Section 5310/5311
Providers:                      A                  Handbook     (2006):
http://onlinepubs.trb.org/onlinepubs/nchrp/nchrp_rrd_311.pdf


State Requirements

COMAR Title 11 - Department of Transportation


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Subtitle 21 Motor Vehicle Administration - Commercial Motor Vehicles
http://www.dsd.state.md.us/COMAR/subtitle_chapters/11_Chapters.aspx
Incorporates FMCSA requirements by reference, extends some federal requirements for
interstate operations to intrastate operations.

Maryland Motor Carrier Handbook
http://www.sha.maryland.gov/OOTS/motorcarrierhandbook.pdf

Title 11 - Department of Transportation
Subtitle 22 Motor Vehicle Administration—Preventive Maintenance Program
11.22.03 Preventive Maintenance Standards for Multipurpose Passenger Vehicles
and Passenger Buses
http://www.dsd.state.md.us/COMAR/subtitle_chapters/11_Chapters.aspx

Maryland Preventive Maintenance Program
http://www.mdot.maryland.gov/newMDOT/Motor_Carrier/PM_Program.html

Maryland PM Inspection Form for Passenger Buses
http://www.mdot.maryland.gov/Office%20of%20Maryland%20Motor%20Carrier%20Pro
gram/Documents/Passenger%20Bus%20Preventive%20Maintenance%20Report.pdf

Maryland PM Handbook
Order from the Division of State Documents for a nominal fee
(410) 974-2486 or (800) 633-9657 (toll-free within Maryland only)
Order form: http://www.dsd.state.md.us/PDF/InfoSheet.pdf

Maryland Public Service Commission, Transportation Division
http://www.psc.state.md.us/transportation/
(410) 767-8000 or (800) 492-0474

COMAR Title 20 - Public Service Commission
Subtitle 95 Transportation
20.95.01 General
http://www.dsd.state.md.us/COMAR/SubtitleSearch.aspx?search=20.95.01.*




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                                   0HPRUDQGXPRI8QGHUVWDQGLQJ
                                                       %HWZHHQWKH

                               )HGHUDO7UDQVLW$GPLQLVWUDWLRQ
              $PHULFDQ$VVRFLDWLRQRI6WDWH+LJKZD\DQG7UDQVSRUWDWLRQ2IILFLDOV
                        $PHULFDQ3XEOLF7UDQVSRUWDWLRQ$VVRFLDWLRQ
                     &RPPXQLW\7UDQVSRUWDWLRQ$VVRFLDWLRQRI$PHULFD
                                                    ,Q5HJDUGWRWKH

                       )7$0RGHO7UDQVLW%XV6DIHW\DQG6HFXULW\3URJUDP


      ,QWURGXFWLRQ

      7KH)HGHUDO7UDQVLW$GPLQLVWUDWLRQ )7$ KDVGHYHORSHGD0RGHO7UDQVLW%XV6DIHW\DQG6HFXULW\
      3URJUDPLQFRRSHUDWLRQZLWKWKH$PHULFDQ3XEOLF7UDQVSRUWDWLRQ$VVRFLDWLRQ $37$ WKH&RPPXQLW\
      7UDQVSRUWDWLRQ$VVRFLDWLRQRI$PHULFD &7$$ WKH$PHULFDQ$VVRFLDWLRQRI6WDWH+LJKZD\DQG
      7UDQVSRUWDWLRQ2IILFLDOV $$6+72 DQGRWKHUUHSUHVHQWDWLYHVIURPWKHWUDQVLWEXVLQGXVWU\7KLVHIIRUW
      KDVFXOPLQDWHGLQDGUDIW3URJUDPWKDWKDVEHHQDFFHSWHGLQSULQFLSOHE\WKH)7$DQGLWVLQGXVWU\
      SDUWQHUV

      7KLV0HPRUDQGXPRI8QGHUVWDQGLQJLVDQDJUHHPHQWLQSULQFLSOHWR

          x    3URPRWHWKH0RGHO7UDQVLW%XV6DIHW\DQG6HFXULW\3URJUDP
          x    3URYLGHVXSSRUWWRIXUWKHUWKH3URJUDP
          x    $VVHVVWKHDFWLYLWLHVRIWKHVLJQLQJSDUWLHV¶FRQVWLWXHQWVLQLPSOHPHQWLQJWKH3URJUDP

      7KHIRXUSDUWQHURUJDQL]DWLRQV¶UHSUHVHQWDWLYHVVLJQLI\WKHDFFHSWDQFHRIWKH0RGHO3URJUDPDQG
      GHPRQVWUDWHWKHFRPPLWPHQWRIWKHLURUJDQL]DWLRQVWRLWVREMHFWLYHVE\WKHLUVLJQDWXUHVWRWKLV
      0HPRUDQGXPRI8QGHUVWDQGLQJ


      0RGHO7UDQVLW%XV6DIHW\DQG6HFXULW\3URJUDP(OHPHQWV

      7KH0RGHO3URJUDPFRQWDLQVWZRJHQHUDOFDWHJRULHVRI3URJUDPHOHPHQWVCore Safety Program
      ElementsDQGEnhanced Safety Program Elements&ROOHFWLYHO\WKHVHHOHPHQWVGHILQHWKH
      FRPSUHKHQVLYH)7$0RGHO7UDQVLW%XV6DIHW\DQG6HFXULW\3URJUDP




      
        7KH0RGHO3URJUDPZLOOEHSXEOLVKHGDVDQ)7$UHSRUWLQUHVSRQVHWR1DWLRQDO7UDQVSRUWDWLRQ6DIHW\%RDUG
      UHFRPPHQGDWLRQV 3%176%6,5 

      )LQDO9HUVLRQ$SULO                                                                              3DJH
      0HPRUDQGXPRI8QGHUVWDQGLQJ±)7$±$$6+72±$37$±&7$$                                         $SULO

07$/2760DQXDO$SSHQGL[-0RGHO%XV3URJUDP028
                                                                                                           $33(1',;-
      Core Safety Program ElementsDUHWKHVDIHW\SURJUDPHOHPHQWVWKDWDOOWUDQVLWSURYLGHUVVKRXOG
      LPSOHPHQW&RUHHOHPHQWVDSSO\WRDOO6HFWLRQDQGWUDQVLWSURYLGHUV$VWKHVL]HDQGUHVRXUFHV
      RIWKHWUDQVLWSURYLGHULQFUHDVHRUDVRSHUDWLRQDOH[SHULHQFHLQGLFDWHVDGGLWLRQDOQHHGVWKHWUDQVLWSURYLGHU
      VKRXOGLPSOHPHQWDSSOLFDEOH(QKDQFHG6DIHW\3URJUDP(OHPHQWV,QFDVHVZKHUHVHUYLFHLVFRQWUDFWHG
      ZLWKRUIXQGVWKHJUDQWHHVKDOOHQVXUHWKDWWKHFRQWUDFWRUZRXOGLPSOHPHQWWKHFRUHDQG
      HQKDQFHGVDIHW\SURJUDPHOHPHQWVDVDSSOLFDEOH6HFWLRQSURYLGHUSDUWLFLSDWLRQLQDVDIHW\DQG
      VHFXULW\SURJUDPLVVXEMHFWWRVWDWHGLVFUHWLRQKRZHYHU6HFWLRQSURYLGHUSDUWLFLSDWLRQLVHQFRXUDJHG

      7KHGHJUHHRIDSSOLFDELOLW\LVODUJHO\GHSHQGHQWRQRSHUDWLRQV7KHVFRSHRIDSSOLFDELOLW\ZLOOEH
      GHILQHGLQWKHLQGLYLGXDOWHFKQLFDODVVLVWDQFHPDWHULDOV

      The Core Safety Program Elements include:

          x   6HFXULW\                                            x   9HKLFOH0DLQWHQDQFH
          x   'ULYHU(PSOR\HH6HOHFWLRQ                           x   'UXJDQG$OFRKRO$EXVH3URJUDPV
          x   'ULYHU(PSOR\HH7UDLQLQJ                            x   6DIHW\'DWD$FTXLVLWLRQDQG$QDO\VLV


      Enhanced Safety Program Elements LPSURYHWKHWUDQVLWSURYLGHU¶VVDIHW\SURJUDPEH\RQGWKH&RUH
      6DIHW\3URJUDP(OHPHQWV7UDQVLWSURYLGHUVLQXUEDQDUHDVW\SLFDOO\LQFOXGHWKHVHHOHPHQWV2WKHUWUDQVLW
      SURYLGHUVVKRXOGH[SDQGWKHLUVDIHW\SURJUDPDVWKHLUVHUYLFHVUHVRXUFHVDQGLQIUDVWUXFWXUHVJURZWR
      LQFOXGH(QKDQFHG6DIHW\3URJUDP(OHPHQWVDVDSDUWRIDFRQWLQXRXVLPSURYHPHQWDSSURDFKWRWUDQVLWEXV
      VDIHW\DQGVHFXULW\7KH(QKDQFHG6DIHW\3URJUDP(OHPHQWVDUHJURXSHGLQWRWKUHHJHQHUDOFDWHJRULHV

          x   6DIHW\3URFHVV&HQWULF(OHPHQWV±7KHVHHOHPHQWVIRFXVRQXQGHUVWDQGLQJWKHVDIHW\LVVXHV
              ZLWKLQWKHWUDQVLWEXVRSHUDWLRQV DFFLGHQWVLQFLGHQWVDQGKD]DUGV VRWKDWUHVRXUFHVFDQEH
              SURSHUO\GLUHFWHG

          x   +XPDQ&HQWULF(OHPHQWV±7KHVHHOHPHQWVIRFXVRQSURFHVVHVRUSURFHGXUHVWKDWDUHGLUHFWHG
              WRZDUGGULYHUDQGHPSOR\HHVDIHW\LVVXHV

          x   ,QIUDVWUXFWXUHDQG(TXLSPHQW&HQWULF(OHPHQWV±7KHVHHOHPHQWVDGGUHVVVDIHW\LVVXHV
              UHODWHGWRWKHWUDQVLWV\VWHPYHKLFOHVDQGJHQHUDOLQIUDVWUXFWXUH

      $WWDFKPHQW$WRWKLV0HPRUDQGXPFRQWDLQVDGGLWLRQDOGHILQLWLRQVRIWKH&RUH6DIHW\3URJUDP(OHPHQWV
      DQGDGGLWLRQDOLQIRUPDWLRQDERXWWKH(QKDQFHG6DIHW\3URJUDP(OHPHQWFDWHJRULHV


      ,PSOHPHQWDWLRQ$SSURDFK

      7KH3DUWQHUVDJUHHWKDWWKHYROXQWDU\DSSURDFKWRLPSOHPHQWDWLRQZLOOEHXVHGWRDVVHVVWUDQVLWSURYLGHU
      LPSOHPHQWDWLRQRIWKH0RGHO3URJUDPUHTXLUHPHQWV7KHYROXQWDU\DSSURDFKWRLPSOHPHQWDWLRQUHTXLUHV
      JRRGIDLWKHIIRUWVRQWKHSDUWRIJUDQWHHVDQGWKHQDWLRQDOSDUWQHURUJDQL]DWLRQVZLWKDQH[SHFWDWLRQWKDW
      WKHDEVHQFHRIDPRUHIRUPDOUHJXODWRU\VWUXFWXUHZLOOQRWEHGHWULPHQWDOWRRYHUDOO0RGHO3URJUDP
      REMHFWLYHV

      8QGHUWKHYROXQWDU\DSSURDFKLPSOHPHQWDWLRQLVH[SHFWHGRQDYROXQWDU\EDVLV±DUHJXODWRU\RU
      FRQWUDFWXDOGLUHFWLYHIRULPSOHPHQWDWLRQRIWKH0RGHO3URJUDPIRUWUDQVLWV\VWHPJUDQWHHV DQGVXE
      UHFLSLHQWV LVQRWSURSRVHGE\)7$+RZHYHULIWKH)7$GHWHUPLQHVWKDWWKLVDSSURDFKWR
      LPSOHPHQWDWLRQLVQRWVDWLVIDFWRU\IRUHQVXULQJLPSOHPHQWDWLRQWKH)7$UHVHUYHVWKHULJKWWRUHYLVLWWKH

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      ([DPSOHVRIDFFHSWDEOHDSSURDFKHVLQFOXGHWKRVHGHYHORSHGE\WKHSDUWQHUVLQGLYLGXDO'27VLQVXUDQFH
      SRROVDQGRWKHULQGXVWU\JURXSV
              6RPHRIWKHVHSURJUDPVLQFOXGHWKHIROORZLQJ
              x $37$ V%XV6DIHW\0DQDJHPHQW3URJUDP
              x &7$$ V&RPPXQLW\7UDQVSRUWDWLRQ7UDLQLQJDQG6DIHW\5HYLHZ3URJUDP
              x %XV6DIHW\SURJUDPVGHYHORSHGE\VWDWHWUDQVSRUWDWLRQGHSDUWPHQWV
              x 6DIHW\SURJUDPVRILQVXUDQFHSRROV
              x )OHHWVDIHW\SURJUDPRIWKH1DWLRQDO6DIHW\&RXQFLO
              x 6DIHW\SURJUDPJXLGHOLQHVRIWUDQVLWPDQDJHPHQWWUDLQLQJSURJUDPV
              x /RFDOWUDQVLWRSHUDWLQJDJHQF\VDIHW\SURJUDPVDQGSURFHGXUHV


      )7$DQGLWV3DUWQHUVUHFRJQL]HWKDWXQGHUWKHYROXQWDU\DSSURDFKWKHUHLVQRVLQJOHVDIHW\PRGHOZLWKLQ
      WKHLQGXVWU\ZKLFKPXVWEHDGRSWHGE\WUDQVLWV\VWHPVRUVWDWHVRYHUVHHLQJVXFKV\VWHPV7KHNH\
      DJUHHPHQWLQWKLVXQGHUVWDQGLQJLVWKDWWKHDSSURSULDWHVDIHW\HOHPHQWVIRUWKHW\SHRIWUDQVLWV\VWHPEH
      GHYHORSHGDQGLPSOHPHQWHG,QRWKHUZRUGVDQ\PRGHOZKLFKHPEUDFHVWKHDSSURSULDWHFRUHHOHPHQWV
      ZLOOFRPSO\ZLWKWKHLQWHQWRIWKH)7$DSSURDFK([DPSOHVRIDFFHSWDEOHDSSURDFKHVFRXOGLQFOXGHWKRVH
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      ,QUHJDUGVWREXVVDIHW\DQGVHFXULW\SURJUDPV)7$7ULHQQLDO5HYLHZVDQG6WDWH0DQDJHPHQW5HYLHZV
      ZLOOLGHQWLI\DUHDVRIFRQFHUQUHODWLYHWRWKHYROXQWDU\FRPSOLDQFHSUDFWLFHVDQGVSHFLI\UHFRPPHQGHG
      LPSURYHPHQWVUDWKHUWKDQDXGLWFRPSOLDQFHRQD³FRPSO\QRWFRPSO\´EDVLV

      5ROHRIWKH)7$DQGWKH6WDWHVLQ$VVHVVLQJ7UDQVLW3URYLGHU

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      LWVGLUHFWJUDQWHHVWKURXJKWKH7ULHQQLDO5HYLHZ3URJUDPRUDQRWKHUVLPLODUDSSURDFK

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      6HFWLRQVXEUHFLSLHQWVLQDPDQQHUVLPLODUWRWKDWZKLFKWKH6WDWHVXVHIRUDVVHVVLQJVXEUHFLSLHQW
      FRPSOLDQFHZLWKRWKHU)7$UHTXLUHPHQWV6HFWLRQJUDQWHHVZRXOGEHH[HPSWIURPWKH0RGHO
      3URJUDPUHTXLUHPHQWVEXWHQFRXUDJHGWRLPSOHPHQWWKH&RUH6DIHW\3URJUDP(OHPHQWV

      )7$DQGWKH6WDWHVZLOOFRQGXFWWKHVHDVVHVVPHQWVLQDFRRSHUDWLYHDQGSRVLWLYHPDQQHUZLWKWKH
      JUDQWHHVSURPRWLQJDSURDFWLYHHQYLURQPHQWWRDVVLVWWUDQVLWV\VWHPVLQPHHWLQJWKH0RGHO3URJUDP
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      )7$7HFKQLFDO$VVLVWDQFHDQG2XWUHDFK

      7KH)7$LQFRRSHUDWLRQZLWKWKH3DUWQHUVZLOOGHYHORSDQGGLVVHPLQDWHDSSURSULDWHWHFKQLFDODVVLVWDQFH
      DQGRXWUHDFKPDWHULDOVWREHXVHGE\WKH)7$VWDIIWKH3DUWQHUVDQGWKHWUDQVLWV\VWHPJUDQWHHVLQ
      LPSOHPHQWLQJWKH0RGHO3URJUDP)7$HIIRUWVZLOOLQFOXGHWUDLQLQJWKURXJKWKH7UDQVSRUWDWLRQ6DIHW\
      ,QVWLWXWH 76, WKH1DWLRQDO7UDQVLW,QVWLWXWH 17, DQGRWKHUDFWLYLWLHVWRWKHH[WHQWSRVVLEOH$WWDFKPHQW
      %FRQWDLQVDGGLWLRQDOGHVFULSWLRQVRIDQWLFLSDWHG)7$WHFKQLFDODVVLVWDQFHDQGRXWUHDFK



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      VXSSRUWWRIXUWKHUWKH3URJUDPDQGZLOODVVHVVWKHDFWLYLWLHVDQGSHUIRUPDQFHRIWKHLUFRQVWLWXHQWVLQ
      LPSOHPHQWLQJWKH0RGHO3URJUDP7KHVHHIIRUWVZLOOLQFRUSRUDWHDOOUHDVRQDEOHDFWLRQVQHFHVVDU\WR
      HQVXUHJRRGIDLWKHIIRUWVE\WUDQVLWSURYLGHUVLQGHYHORSLQJDQGPDLQWDLQLQJWKHLURZQ7UDQVLW%XV6DIHW\
      DQG6HFXULW\3URJUDPV

      &RPPLWPHQWWR3URJUDP,PSURYHPHQW(IIRUWV

      7KH3DUWQHUVZLOOUHYLHZWKH0RGHO3URJUDPRQDUHJXODUEDVLVDQGUHYLVHLWDVDSSURSULDWHWRPHHWWKH
      REMHFWLYHVRIIXUWKHULQJWUDQVLWEXVVDIHW\DQGVHFXULW\7KH3DUWQHUVDJUHHWRPHHWRQDUHJXODUEDVLVWR
      GLVFXVVSRVLWLYHDVSHFWVRIWKH3URJUDPDORQJZLWKDUHDVQHHGLQJLPSURYHPHQW7KH3DUWQHUVDOVRDJUHH
      WRLPSOHPHQWWKRVHFKDQJHVWRWKH3URJUDPDVDSSURSULDWHWRFRQWLQXHWRHQKDQFHWUDQVLWEXVVDIHW\DQG
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      WZRSDUWV  WKHFRUHVDIHW\SURJUDPHOHPHQWVDQG  HQKDQFHGVDIHW\SURJUDPHOHPHQWV

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      VKRXOGEHGRLQJDVSDUWRIDPLQLPXPVDIHW\DQGVHFXULW\SURJUDP&RUHVDIHW\SURJUDPHOHPHQWVVKRXOG
      UHFHLYHDGHTXDWHUHVRXUFHVWRVXSSRUWWKHVHFRUHDFWLYLWLHV:KLOHDOODFWLYLWLHVDUHVXEMHFWWRUHVRXUFH
      OLPLWDWLRQVWKHVHFRUHVDIHW\DQGVHFXULW\DFWLYLWLHVVKRXOGEHDKLJKSULRULW\LQUHVRXUFHDOORFDWLRQ

      $OOWUDQVLWSURYLGHUVVKRXOGLPSOHPHQWWKHFRUHVDIHW\SURJUDPHOHPHQWVDVWKHPLQLPXPDFFHSWDEOH
      DSSURDFKWRWUDQVLWEXVVDIHW\7KHUHPDLQLQJ³HQKDQFHG´HOHPHQWVRIWKHFRPSUHKHQVLYHVDIHW\DQG
      VHFXULW\SURJUDPVKRXOGEHLQFRUSRUDWHGLQWRVDIHW\HIIRUWVDVQHHGVDUHLGHQWLILHGDQGUHVRXUFHVDUH
      DYDLODEOH

      7KHFRQFHSWRIDQHQKDQFHGVDIHW\SURJUDPHOHPHQWLVXVHGWRGHVFULEHVDIHW\DQGVHFXULW\DFWLYLWLHVWKDW
      JREH\RQGWKHVFRSHRIWKHFRUHUHTXLUHPHQWV(QKDQFHGSURJUDPHOHPHQWVDUHWKRVHVDIHW\DQGVHFXULW\
      DFWLYLWLHVWKDWZLOOHQKDQFHVDIHW\DQGVHFXULW\SURJUDPHIIHFWLYHQHVVIRUWKHODUJHUDQGPRUHFRPSOH[
      WUDQVLWEXVSURYLGHUV7KHWUDQVLWSURYLGHU¶VVDIHW\DQGVHFXULW\SURJUDPVKRXOGJURZZLWKWKHWUDQVLW
      SURYLGHU¶VVHUYLFHVUHVRXUFHVDQGLQIUDVWUXFWXUHWRFRQWLQXRXVO\DQGSURDFWLYHO\PDQDJHVDIHW\
      WKURXJKRXWWKHLURSHUDWLRQV

      /DUJHWUDQVLWEXVSURYLGHUVZLWKDGHTXDWHUHVRXUFHVW\SLFDOO\KDYHDQHHGIRUDOORUPRVWRIWKHVH
      HQKDQFHGHOHPHQWVLQWKHLUVDIHW\DQGVHFXULW\SURJUDPV6PDOOHUWUDQVLWEXVSURYLGHUVVKRXOGLQFRUSRUDWH
      WKHVHHQKDQFHGHOHPHQWVDVWKHLUVL]HDQGRUUHVSRQVLELOLWLHVJURZRUDVWKHQHHGLVLQGLFDWHGE\
      RSHUDWLRQDOVDIHW\DQGVHFXULW\H[SHULHQFHWRIXUWKHULPSURYHWKHLUVDIHW\SURJUDP

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      6HFXULW\3URJUDP&RUHSURJUDPHOHPHQWVDUHLGHQWLILHGLQWKHWDEOHDQGDUHIXUWKHUGHILQHGLQWKH
      SDUDJUDSKVIROORZLQJWKHWDEOH(QKDQFHGHOHPHQWVDUHIXUWKHUGHVFULEHGLQWKH)7$UHSRUWGHILQLQJWKH
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        UHTXLUHPHQWV                                         0DLQWHQDQFH

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      )7$DQGLWVSDUWQHURUJDQL]DWLRQVLQGHYHORSLQJD0RGHO3URJUDP7UDQVLWSURYLGHUVPXVWWDNHDOO
      UHDVRQDEOHDQGSUXGHQWDFWLRQVWRPLQLPL]HWKHULVNDVVRFLDWHGZLWKLQWHQWLRQDODFWVDJDLQVWSDVVHQJHUV
      HPSOR\HHVDQGHTXLSPHQWIDFLOLWLHV7RIXUWKHUWKLVREMHFWLYHWUDQVLWSURYLGHUVZLOOQHHGWRGHYHORS
      VHFXULW\SODQVDQGSURFHGXUHVDQGHPHUJHQF\UHVSRQVHSODQVDQGSURFHGXUHV7KHSODQVPXVWLQFOXGH
      FRRUGLQDWLRQZLWKORFDOODZHQIRUFHPHQWDQGZLWKRWKHUUHJLRQDOWUDQVLWSURYLGHUVWKHFRQGXFWRI
      H[HUFLVHVIRUWKHLUHPHUJHQF\SODQVDQGDVVHVVPHQWRIFULWLFDODVVHWVDQGPHDVXUHVWRSURWHFWWKHVHDVVHWV


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      YHKLFOHLVGLUHFWO\UHVSRQVLEOHIRUWKHVDIHW\RIWKHLUSDVVHQJHUVDQGRWKHUPRWRULVWVWKDWVKDUHWKHURDG
      ZLWKWUDQVLWEXVHV7KHWUDQVLWSURYLGHUVKRXOGKDYHDFOHDUGHILQLWLRQRIGULYHUTXDOLILFDWLRQVDQG
      EDFNJURXQG7KLVDSSOLHVWRDOOVDIHW\FULWLFDOHPSOR\HHVERWKSDLGDQGYROXQWHHU

      'ULYHU(PSOR\HH7UDLQLQJ2QFHTXDOLILHGFDQGLGDWHVDUHLGHQWLILHGDQGKLUHGLQLWLDODQGRQJRLQJ
      WUDLQLQJLVFULWLFDOWRLQVXUHSURSHURSHUDWLRQVDQGDGKHUHQFHWRWKHWUDQVLWSURYLGHUV¶UXOHVDQGUHJXODWLRQV
      3URSHUTXDOLILFDWLRQRIRSHUDWLQJDQGPDLQWHQDQFHSHUVRQQHOLVDYLWDOSDUWRIDVDIHWUDQVLWHQYLURQPHQW
      'ULYHUWUDLQLQJVKRXOGDGGUHVVVSHFLILFVDIHW\UHODWHGLVVXHVDSSURSULDWHWRWKHW\SHRIYHKLFOHDQGGULYLQJ
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      RSHUDWLRQRIWKHWUDQVLWV\VWHP8QVDIHYHKLFOHVSUHVHQWXQQHFHVVDU\KD]DUGVWRWKHGULYHUSDVVHQJHUV
      DQGRWKHUYHKLFOHVRQWKHURDG%DVLFYHKLFOHPDLQWHQDQFHSUDFWLFHVPXVWUHJXODUO\DGGUHVVVDIHW\UHODWHG
      YHKLFOHHTXLSPHQWWRHQVXUHWKDWQRXQVDIHYHKLFOHVDUHGLVSDWFKHGIRUVHUYLFH

      'UXJDQG$OFRKRO$EXVH3URJUDPV6LQFHPDQ\WUDQVLWSURYLGHUVUHFHLYH)7$RSHUDWLQJDQGFDSLWDO
      IXQGVWKH)7$'UXJ7HVWLQJ5HTXLUHPHQWVIRUPWKHEDVLVIRUGUXJDEXVHSURJUDPV$QDOFRKRODEXVH
      SURJUDPLVDOVRUHTXLUHG7KHERWWRPOLQHLVSURWHFWLRQRIWKHULGLQJSXEOLFDQGWUDQVLWHPSOR\HHVDQGDOO
      HIIRUWVVKRXOGEHJHDUHGWRZDUGWKLVHQG7KHWUDQVLWSURYLGHU¶VVDIHW\SURJUDPVKRXOGRXWOLQHWKHVSHFLILF
      SROLFLHVSURFHGXUHVDQGUHVSRQVLELOLWLHVRUUHIHUHQFHWKHDSSURSULDWHPDVWHUGRFXPHQWFRQWDLQLQJWKDW
      LQIRUPDWLRQ

      6DIHW\'DWD$FTXLVLWLRQ$QDO\VLV8QGHUVWDQGLQJVDIHW\GDWDLVDQLPSRUWDQWVWHSWRZDUGDOORFDWLQJ
      LPSRUWDQW DQGRIWHQVFDUFH UHVRXUFHVWRLPSOHPHQWVDIHW\SURJUDPHOHPHQWV6DIHW\GDWDUHODWLYHWR
      WUDQVLWSURYLGHURSHUDWLRQVFDQEHXVHGWRGHWHUPLQHVDIHW\WUHQGVLQV\VWHPRSHUDWLRQ7KHVHGDWDLQFOXGH
      LQIRUPDWLRQJDWKHUHGIURPZLWKLQWKHV\VWHPRQVDIHW\UHODWHGHYHQWVVXFKDVSDVVHQJHULQMXULHVRUFODLPV
      HPSOR\HHLQMXULHVDFFLGHQWVLQFLGHQWVDQGSUHYHQWDELOLW\'ULYHUUHSRUWV VRPHWLPHVFDOOHGORJV FDQEH
      DQLPSRUWDQWVRXUFHRIVDIHW\SUREOHPVVXFKDVGDQJHURXVVWRSORFDWLRQVSUREOHPVZLWKEXVHTXLSPHQW
      VDIHW\SUREOHPVZLWKWKHURXWHDQGRWKHULVVXHV7KHGDWDDUHXVHIXOLQDIRUPDOKD]DUGLGHQWLILFDWLRQDQG
      UHVROXWLRQSURFHVVWRKHOSLGHQWLI\KD]DUGVEHIRUHWKH\FDXVHDFFLGHQWV7KHGDWDPD\DOVRKHOSLPSURYH
      V\VWHPSHUIRUPDQFHQRWRQO\LQUHVSHFWWRVDIHW\EXWDOVRLQRYHUDOOGHOLYHU\RIVHUYLFHWRWKHULGLQJ
      SXEOLF,QDGGLWLRQWUHQGDQDO\VHVRIVDIHW\GDWDFDQKHOSGHWHUPLQHWKHHIIHFWLYHQHVVRIVDIHW\LQLWLDWLYHV
      WKDWKDYHEHHQLPSOHPHQWHG




      )LQDO9HUVLRQ$SULO                                                                            3DJH
      0HPRUDQGXPRI8QGHUVWDQGLQJ±)7$±$$6+72±$37$±&7$$                                        $SULO

07$/2760DQXDO$SSHQGL[-0RGHO%XV3URJUDP028
                                                                                                           APPENDIX J
                                                   $WWDFKPHQW%

                        )7$7HFKQLFDO$VVLVWDQFHDQG2XWUHDFK$FWLYLWLHV
                       )7$0RGHO7UDQVLW%XV6DIHW\DQG6HFXULW\3URJUDP

      7KH)7$LQFRQFHUWZLWKLWV3DUWQHUVLVFRPPLWWHGWRGHYHORSDQGGLVVHPLQDWHDSSURSULDWHWHFKQLFDO
      DVVLVWDQFHDQGRXWUHDFKPDWHULDOVWREHXVHGE\LWVVWDIILWV3DUWQHUV $$6+72$37$DQGWKH&7$$ 
      DQGWKHWUDQVLWV\VWHPJUDQWHHVLQLPSOHPHQWLQJWKH0RGHO3URJUDP7KHVHWHFKQLFDODVVLVWDQFHDFWLYLWLHV
      ZLOOLQFOXGHWUDLQLQJWKURXJK76,17,DQGRWKHU3DUWQHUDQGLQGXVWU\VRXUFHVDVUHVRXUFHVSHUPLW7KH
      IROORZLQJOLVWSURYLGHVH[DPSOHVRIWHFKQLFDODVVLVWDQFHDFWLYLWLHVDQGSURGXFWVWKDWWRWKHH[WHQWSRVVLEOH
      )7$ZLOOSURYLGHDVSDUWRIWKHLUFRQWLQXLQJSURPRWLRQDQGVXSSRUWRIWKH0RGHO3URJUDP


          x   7HFKQLFDOJXLGDQFHRQFULWHULDWREHXVHGIRUGHWHUPLQLQJDSSURSULDWHQHVVRI³(QKDQFHG´6DIHW\
              3URJUDP(OHPHQWV
          x   0DQXDOVIRUWKHGHYHORSPHQWRIPRGHO7UDQVLW%XV6DIHW\DQG6HFXULW\3URJUDPV
          x   0DQXDOVIRUDVVLVWLQJWKHVWDWHVLQFRQGXFWLQJDVVHVVPHQWVRIVXEUHFLSLHQWV
          x   7UDLQLQJSURJUDPVIRUWUDQVLWSURYLGHUVDQGVWDWHV
          x   7UDLQLQJFODVVHVIRUWUDQVLWSURYLGHUVDQGVWDWHUHSUHVHQWDWLYHV
          x   0DQXDOVIRUGHYHORSLQJ6\VWHP6DIHW\3URJUDP3ODQVDQG6HFXULW\3URJUDP3ODQV
          x   ,GHQWLILFDWLRQDQGGLVVHPLQDWLRQRIWUDQVLWEXVVDIHW\³EHVWSUDFWLFHV´
          x   3UHVHQWDWLRQVIDFLOLWDWLRQRIGLVFXVVLRQVDWFRQIHUHQFHVDQGZRUNVKRSV
          x   ,QIRUPDWLRQDOEURFKXUHVDQGSURJUDPVXPPDULHV
          x   3URJUDPDZDUHQHVVPDUNHWLQJSURGXFWV
          x   *XLGHOLQHVIRUGDWDFROOHFWLRQDQDO\VLVWKDWDGGUHVVERWKUXUDODQGVXEXUEDQV\VWHPV
          x   ,GHQWLILFDWLRQRIIXQGLQJUHVRXUFHVWKDWPD\EHXVHGE\VWDWHVWRSHUIRUPYROXQWDU\DVVHVVPHQWV
              RIVXEUHFLSLHQWV¶LPSOHPHQWDWLRQRIWKHPRGHOSURJUDP
          x   ,GHQWLILFDWLRQRILQIRUPDWLRQUHVRXUFHVVXFKDVZHEVLWHVGHYHORSHGE\LWV3DUWQHUVRQWKH
              HOHPHQWVRIWKHPRGHOSURJUDPDQGKRZWKRVHHOHPHQWVPD\EHDSSOLHG




      )LQDO9HUVLRQ$SULO                                                                            3DJH
      0HPRUDQGXPRI8QGHUVWDQGLQJ±)7$±$$6+72±$37$±&7$$                                        $SULO

07$/2760DQXDO$SSHQGL[-0RGHO%XV3URJUDP028
                                                                     ATTACHMENT 2.A

           CHECKLIST OF PUBLIC COMMENT PERIOD REQUIREMENTS
                    FOR PROGRAM OF PROJECTS (POP)
               IN THE ANNUAL TRANSPORTATION PLAN (ATP)
                           (REQUIRED STEPS)



This checklist is organized into three phases, with two possible approaches for the
second phase:

      x   Phase I: Prepare ATP/POP

      x   Phase II: Solicit Public Comment

          o Approach A: Public Hearing
          o Approach B: Opportunity for a Public Hearing

      x   Phase III: Address Comments Received and Submit ATP to MTA

Phase I: Prepare POP and Grant Application

          1. Determine services and projects for which funding will be requested in the
             next grant cycle
          2. Prepare the Annual Transportation Plan including application budget,
             which becomes the Program of Projects
          3. Summarize the proposed services and projects in a format appropriate for
             public review.

Phase II: Solicit Public Comment

For this phase, choose from the following two approaches based on your local process
and policies:

             x   II.A. If public hearing (i.e., no request needed)

                                                    or

             x   II.B. If opportunity for public hearing/meeting (i.e., public hearing
                 provided only in response to advanced request)

      II.A. If public hearing (i.e., no request needed)

          1. Schedule public hearing. Select a location which is accessible to people
             with disabilities as well as a time and location accessible by public transit
             services.



MTA 2017 LOTS Manual Attachment 2.A, Checklist – Public Notice for the POP
                                                               ATTACHMENT 2.A

          2. Ensure written POP is ready and available for public review upon request
             by the time notice is published.

          3. Publish advertisement of public comment period at least 30 days before
             the hearing. This advertisement must include:

             x   Date, time, and place of public hearing.
             x   Name of the applicant.
             x   Area to be served.
             x   Proposed POP - description of the proposed services and projects for
                 which funding will be requested.
             x   Budget and financing information. Project financing must state that
                 funds are being applied for from the MTA and the FTA.
             x   Where the POP and budget are available for review.
             x   Procedures for requesting special accessibility accommodations at the
                 public hearing as well as of the written information.
             x   Procedures for soliciting written public comment.

          4. Make written POP available for public review upon request (including
             accessible formats if requested).

          5. Accept written comments for at least a 30-day period (for example, until
             the date of the public hearing).

          6. Conduct public hearing.

      II.B. If opportunity for public hearing

          1. Tentatively schedule public hearing. Select a location which is accessible
             to people with disabilities as well as a time and location accessible by
             public transit services.

          2. Ensure written POP is ready and available for public review upon request
             by the time notice is published.

          3. Publish advertisement of public comment period at least 30 days before
             the tentative hearing. This advertisement must include:

             x   Announcement of the opportunity for a public hearing if requested
             x   Date, time, and place of potential public hearing (if requested)
             x   Name of the applicant.
             x   Area to be served.
             x   Proposed POP - description of the proposed services and projects for
                 which funding will be requested.



MTA 2017 LOTS Manual Attachment 2.A, Checklist – Public Notice for the POP
                                                                ATTACHMENT 2.A

             x   Budget and financing information. Project financing must state that
                 funds are being applied for from the MTA and the FTA.
             x   Where the POP and budget are available for review.
             x   Procedures for requesting the public hearing. This must include the
                 deadline requesting the hearing, which must provide for at least a 3-
                 week time window from the date of publication of the advertisement.
             x   Procedures for requesting special accessibility accommodations at the
                 public hearing as well as of the written information.
             x   Procedures for soliciting written public comment.

          4. Make written POP available for public review upon request (including
             accessible formats if requested).

          5. Accept requests for the public hearing for a window of time at least 3
             weeks long.

          6. Accept written comments for at least a 30-day period (for example, until
             the date of the tentative public hearing).

          7. If requested, conduct public hearing.

Phase III: Address Comments Received and Submit ATP to MTA

          1. If any comments are received in writing or during the public hearing, you
             must respond to them. Depending upon the nature of the comments and
             the seriousness of the concerns expressed, this may be as simple as
             sending a written response to the commenter, or may require revising the
             ATP/POP.

          2. Submit documentation steps taken in public comment period to MTA as
             part of the ATP, including how comments were addressed.

          3. If substantive comments are received, and result in significant revisions to
             the proposed change, Phase II must be repeated.




MTA 2017 LOTS Manual Attachment 2.A, Checklist – Public Notice for the POP
                                                                          ATTACHMENT 2.B
                   Grant Revision Form AE-1
      REQUEST FOR CAPITAL/OPERATING GRANT REVISION
Person requesting revision:

Position:

Agency:

Address:

Regional Planner: _______________________________________________________________
*********************************************************
GRANT AWARD NO. ______________________________________________________________

REVISION REQUESTED:

JUSTIFICATION OF NEED:




DOLLAR AMOUNT REQUESTED: $_             _________ LOTS Signature:_________________________

                       Original Award   Revision Total           % of Total Cost
                                                            Capital          Operating
                                                         LOTS     5310     LOTS     5310
 Fed/State Share:  $               $                      90%      80%      75%      50%
 Local Share:      $               $                      10%      20%      25%      50%
 Local Overmatch: $                $
 Total             $               $
CHANGE IN AWARD:
Fed/State Share:  $___________________
Local Share:      $___________________
Local Overmatch:  $___________________
Total             $___________________

PROCUREMENT TIMELINE:                                             (Project Advertising Date)

                                                                  (Project Award Date)

                                         (Project Delivery Date)
****************************************************
FOR MTA USE ONLY:

Approved: ______ Disapproved:               ___________________________     ______________
                                            Director/Deputy Director         Date
cc: H. Martin
    B. Walenga


MTA 2017 LOTS Manual Attachment 2.B, Form AE-1 Request for Capital/Operating Grant Revision
                                                      ATTACHMENT 2.C
                           Maryland ITS Architecture Conformity Form

Submission Date
1. Submission date:
Organizational Information
2. Legal name of submitting agency:
Point of Contact Information
3. Point of contact submitting form:
4. Phone:                                           5. Fax:
6. E-mail:
7. Mailing address:


General Project Information
8. ITS project name/title:

9. Project type:                                10. Project scope (select all that apply):
    New                                             Software installation/upgrade
    Replacement                                     Hardware installation/upgrade
    Expansion                                       Operations/Maintenance
                                                    Systems Integration
                                                    Planning
                                                    Other (provide more detail below)


11. Summarize the project (including how this project relates to existing ITS
projects/systems):


12. Describe the needs this project will satisfy:


13. List the users of the project when complete:


14. Describe how the users will benefit from the project:


15. Describe the geographic areas to be served:




                                  Version: December, 2009
                                      Conformity Form
MTA 2017 LOTS Manual Attachment 2.C, Maryland ITS Conformity Form
                                                      ATTACHMENT 2.C
                           Maryland ITS Architecture Conformity Form

Architecture-Specific Information
16. Summarize the current status of the project (including where it stands in terms of the
Systems Engineering process diagram shown in the accompanying Conformity Guide):



17. List stakeholder agencies and their roles/responsibilities for this project:


18. Identify the functional requirements for this project:

19. Show how your project aligns with the Interconnect and Information Flow Diagrams
in the MD ITS Architecture: See Below

20. Describe the configuration & technology options considered for this project and
indicate which were selected:

21. Describe the procurement options considered for this project and indicate which were
selected:

22. Identify applicable ITS standards to be used in support of this project:
Transit Agency to Transit Vehiles

23. Describe your plan for ensuring adequate operations and maintenance of this project
after implementation:

Other Information
24. Please provide any other relevant information:

Project Schedule
25. Estimated start date:              26. Estimated completion date:
Estimated Capital Budget
27. Total capital budget:
28. Percent federal funding & sources:
29. Percent state funding & sources:
30. Percent local funding & sources:
31. Percent other funding & sources:
Estimated Annual Operations & Maintenance Budget
32. Total annual O&M budget:
33. Percent federal funding & sources:
34. Percent state funding & sources:
35. Percent local funding & sources:
36. Percent other funding & sources:
                                   Version: December, 2009
                                       Conformity Form
MTA 2017 LOTS Manual Attachment 2.C, Maryland ITS Conformity Form
                                                 ATTACHMENT 2.C
                      Maryland ITS Architecture Conformity Form




                            Version: December, 2009
                                Conformity Form
MTA 2017 LOTS Manual Attachment 2.C, Maryland ITS Conformity Form
                                                                 Annual Trans portation Plan for Fis c al Year 2018                                           ATTACHMENT 3.A
      J uris dic tion Name:                                                     #REF!
      Legal Name:                                                               #REF!

                                                          Form B-2: OPERATING BUDGET SUMMARY

                                                                                                                                            (2) Thes e programs will not appear
                                                                                                                                                  in your budget for public
                                                                                                                                            trans portation. This applic ation is
                                                                                                                                             not intended to be us ed for thes e
                                                                                                                                                         programs .

                                                         SSTAP                                  Sec tion 5311                                                            Other (3)
                                     Total Program                        Large Urban                           Sec tion 5307     ADA           Senior Ride



      VEHICLE OPERATIONS                                                                                                        (Form B-4
      EXPENSES                                                                                                                  column H)
      Driver Salaries                   #REF!                                                                                    #REF!
      Dispatcher Salaries               #REF!                                                                                    #REF!
      Fringe Benefits                   #REF!                                                                                    #REF!
      Fuel & Oil                        #REF!                                                                                    #REF!
      Vehicle Insurance                 #REF!                                                                                    #REF!
      Vehicle Depreciation (1)          #REF!                                                                                    #REF!
      Vehicle Lease                     #REF!                                                                                    #REF!
      Vehicle License                   #REF!                                                                                    #REF!
      Vehicle Storage Facility          #REF!                                                                                    #REF!
      Operations Training               #REF!                                                                                    #REF!
      Other                             #REF!                                                                                    #REF!
      Subtotal Operations               #REF!        $             -     $            -        $            -   $           -    #REF!      $                 -      $               -



      PURCHASED SERVICE                 #REF!            #REF!               #REF!                  #REF!           #REF!        #REF!




Maryland Transit Administration
Office of Local Transit Support

                                                                                                                                                Attachment 3.A Form B-2 from FY18 ATP-Op Budget
MTA 2017 LOTS Manual Attachment 3-A, Form B-2                                           3/17/2017                                                                                      Form B-2
                                                                 Annual Trans portation Plan for Fis c al Year 2018                                       ATTACHMENT 3.A
      J uris dic tion Name:                                                     #REF!
      Legal Name:                                                               #REF!

                                                          Form B-2: OPERATING BUDGET SUMMARY

                                                                                                                                        (2) Thes e programs will not appear
                                                                                                                                              in your budget for public
                                                                                                                                        trans portation. This applic ation is
                                                                                                                                         not intended to be us ed for thes e
                                                                                                                                                     programs .

                                                         SSTAP                                  Sec tion 5311                                                        Other (3)
                                     Total Program                        Large Urban                           Sec tion 5307   ADA         Senior Ride




      MAINTENANCE EXPENSES

      Mechanics Salaries                #REF!                                                                                   #REF!
      Mechanics Aids Salaries           #REF!                                                                                   #REF!
      PM-Capital Expense                #REF!                                                                                   #REF!
      Tubes & Tires                     #REF!                                                                                   #REF!
      Fringe Benefits                   #REF!                                                                                   #REF!
      Maintenance Contract              #REF!                                                                                   #REF!
      Materials & Supplies (parts)      #REF!                                                                                   #REF!
      Maintenance Facility Rental       #REF!                                                                                   #REF!
      Equipment Rental                  #REF!                                                                                   #REF!
      Utilities                         #REF!                                                                                   #REF!
      Maintenance Training              #REF!                                                                                   #REF!
      Other                             #REF!                                                                                   #REF!
      Subtotal Maintenanc e             #REF!        $             -     $            -        $            -   $           -   #REF!   $                 -      $               -




Maryland Transit Administration
Office of Local Transit Support

                                                                                                                                            Attachment 3.A Form B-2 from FY18 ATP-Op Budget
MTA 2017 LOTS Manual Attachment 3-A, Form B-2                                           3/17/2017                                                                                  Form B-2
                                                                                    Annual Trans portation Plan for Fis c al Year 2018                                            ATTACHMENT 3.A
      J uris dic tion Name:                                                                        #REF!
      Legal Name:                                                                                  #REF!

                                                                              Form B-2: OPERATING BUDGET SUMMARY

                                                                                                                                                                (2) Thes e programs will not appear
                                                                                                                                                                      in your budget for public
                                                                                                                                                                trans portation. This applic ation is
                                                                                                                                                                 not intended to be us ed for thes e
                                                                                                                                                                             programs .

                                                                            SSTAP                                       Sec tion 5311                                                        Other (3)
                                                Total Program                                  Large Urban                              Sec tion 5307   ADA         Senior Ride



      ADMINISTRATIVE
      EXPENSES

      Administrator Salary                          #REF!                                                                                               #REF!
      Manager Salary                                #REF!                                                                                               #REF!
      Secretary Salary                              #REF!                                                                                               #REF!
      Bookkeeper Salary                             #REF!                                                                                               #REF!
      Other Salary                                  #REF!                                                                                               #REF!
      Fringe Benefits                               #REF!                                                                                               #REF!
      Materials & Supplies                          #REF!                                                                                               #REF!
      Telephone                                     #REF!                                                                                               #REF!
      Office Rental                                 #REF!                                                                                               #REF!
      Utilities                                     #REF!                                                                                               #REF!
      Office Equipment Rental                       #REF!                                                                                               #REF!
      Administrative Training                       #REF!                                                                                               #REF!
      Safety & Security                             #REF!                                                                                               #REF!
      Other                                         #REF!                                                                                               #REF!
      Subtotal Adminis tration                      #REF!               $              -      $              -      $               -   $           -   #REF!   $                 -      $               -


      TOTAL EXPENSES                                 #REF!                  #REF!                 #REF!                    #REF!            #REF!       #REF!   $                 -      $               -




                                                                                                                                                                 (3) Include Medical Assistance
      (1) Depreciation is not an eligible expense for vehicles/equipment purchased with State or Federal funds.                                                 and other transportation contracts
      (2) While these funds are not requested in this application, it is important to indicate your estimated budget.


Maryland Transit Administration
Office of Local Transit Support

                                                                                                                                                                    Attachment 3.A Form B-2 from FY18 ATP-Op Budget
MTA 2017 LOTS Manual Attachment 3-A, Form B-2                                                                3/17/2017                                                                                     Form B-2
                                                                          Annual Trans portation Plan for Fis c al Year 2018                                       ATTACHMENT 3.A
      J uris dic tion Name:                                                              #REF!
      Legal Name:                                                                        #REF!

                                                                   Form B-2: OPERATING BUDGET SUMMARY

                                                                                                                                                 (2) Thes e programs will not appear
                                                                                                                                                       in your budget for public
                                                                                                                                                 trans portation. This applic ation is
                                                                                                                                                  not intended to be us ed for thes e
                                                                                                                                                              programs .

                                                                  SSTAP                                  Sec tion 5311                                                        Other (3)
                                          Total Program                            Large Urban                           Sec tion 5307   ADA         Senior Ride




      FAREBOX AND OTHER REVENUE NOT INCLUDED AS LOCAL SHARE
      Passenger Fares              #REF!                                                                                                 #REF!
      Passenger Donations          #REF!                                                                                                 #REF!
      Charter Revenue              #REF!                                                                                                 #REF!
      Advertising                  #REF!                                                                                                 #REF!
      Contracts Revenue (itemize):
                                   #REF!                                                                                                 #REF!
                                   #REF!                                                                                                 #REF!
                                   #REF!                                                                                                 #REF!
                                   #REF!                                                                                                 #REF!
                                   #REF!                                                                                                 #REF!
      TOTAL REVENUE                #REF!       $        -   $                                  -        $            -   $           -   #REF!   $                 -      $               -

      NET PROJ ECT COST                      #REF!                #REF!               #REF!                  #REF!           #REF!       #REF!   $                 -      $               -
      (net expenses minus revenue for 5307; total expenses minus revenue for all others)
      LOCAL FUNDS (itemize):
                                                                                                                                         #REF!
                                             #REF!                                                                                       #REF!
                                             #REF!                                                                                       #REF!
                                             #REF!                                                                                       #REF!
                                             #REF!                                                                                       #REF!
      TOTAL LOCAL FUNDS                      #REF!            $             -     $            -        $            -   $           -   #REF!   $                 -      $               -



      FEDERAL/STATE
      FUNDS REQUESTED                        #REF!                #REF!               #REF!                  #REF!           #REF!       #REF!   $                 -      $               -




Maryland Transit Administration
Office of Local Transit Support

                                                                                                                                                     Attachment 3.A Form B-2 from FY18 ATP-Op Budget
MTA 2017 LOTS Manual Attachment 3-A, Form B-2                                                    3/17/2017                                                                                  Form B-2
                                                                                ATTACHMENT 3.B



                                    Maryland Transit Administration
                                 Locally Operated Transit System (LOTS)
                            NON FARE REVENUE QUARTERLY REPORTING FORM
                                                  blank form


       Name of grantee




       Dates covered by report

                                                Program Income
Date                         Transaction                     Income   Expense       Balance
                           Starting Balance                                     $          -
                                                                                $          -
                                                                                $          -
                                                                                $          -
                                                                                $          -
                                                                                $          -
                                                                                $          -
                                                                                $          -
                                                                                $          -
                                                                                $          -


                                                Capital Income
Date                         Transaction                     Income   Expense       Balance
                           Starting Balance                                     $          -
                                                                                $          -
                                                                                $          -
                                                                                $          -
                                                                                $          -
                                                                                $          -
                                                                                $          -
                                                                                $          -
                                                                                $          -
                                                                                $          -



                         Submitted by (print)
       Date

                         Submitted by (sign)

       MTA 2017 LOTS Manual Attachment 3.B, Non-Fare Revenue Tracking Form
                                                                                               ATTACHMENT 3.B

                                         Maryland Transit Administration
                                         Locally Operated Transit Systems
                                  NON FARE REVENUE QUARTERLY REPORTING FORM
                                                            sample form


             Name of grantee

                                                                          sample-April 1, 2011 thru June 30, 2011

             Dates covered by report

                                                           Program Income
    Date                           Transaction                          Expense           Income            Balance
 4/1/2012                        Starting Balance                                     $        5,000    $        5,000
 4/15/2012            Grey Hound rent/ticket sales payment                            $          800    $        5,800
 4/26/2012           Aging Dept payment for trip on 3/12/12                           $        1,000    $        6,800
 5/21/2012            Bought new uniform tee shirts for staff       $           948                     $        5,852
 6/30/2012            local match for FY 2013 -5311 op grant        $         2,500                     $        3,352
 6/30/2012          Operational Cost buy down 4th qtr.-FY 2012      $         2,000                     $        1,352
 6/30/2012            received payment for ads on schedules                           $           525   $        1,877
                                                                                                        $        1,877
                                                                                                        $        1,877
                           Starting balance next quarter                                                $        1,877


                                                           Capital Income
    Date                         Transaction                            Expense           Income            Balance
 4/1/2012                     Starting Balance                                        $       12,000    $       12,000
 5/6/2012                       sold bus # 345                                        $        5,680    $       17,680
 5/12/2012            insurance proceeds from bus #401                                $       15,655    $       33,335
 5/12/2012       purchased bus stop shelter replacement glass       $         5,500                     $       27,835
 6/1/2012            paid body shop invoice for bus #401            $        22,300                     $        5,535
                                                                                                        $        5,535
                                                                                                        $        5,535
                                                                                                        $        5,535
                                                                                                        $        5,535
                           Starting balance next quarter                                                $        5,535



                               Submitted by (print)
             Date

                               Submitted by (sign)



MTA 2017 LOTS Manual Attachment 3.B, Non-Fare Revenue Reporting Form
                                                                                         ATTACHMENT 3.C
                                      MARYLAND DEPARTMENT OF TRANSPORTATION
                                         MARYLAND TRANSIT ADMINISTRATION
                                     OPERATING ASSISTANCE REQUEST FOR PAYMENT

GRANTEE:                             _________________________________________________
FEDERAL I.D. NUMBER:                 _______________________________
PROJECT NUMBER(S):                   _______________________________
ADDRESS:                             _________________________________________________


PCA: ____________________                    AOBJ: _________________________

                                                                        Current             Cumulative
I.          OPERATING REVENUE AND EXPENSE SUMMARY                       Period               This FY

       A. Eligible Operating Expenses
          Actual from:     ________________ to _________________        $_______________    $_______________

            Total Expenses ……………………………………………………                         $_______________    $_______________

       B. Operating & Other Revenue Not Includable as Local Share
          Actual from:    ________________ to _________________         $_______________    $_______________

            Total Revenue ……………………………………………………..                        $_______________    $_______________

       C. Total Net Project Cost (Section I, Line A – Line B)           $_______________    $_______________


II.         FINANCING OF NET PROJECT COST

       A.   Total Federal Share
                    .0000% x Net Project Cost                           $_______________    $_______________

       B.   Total State Share
                    .0000% x Net Project Cost                           $_______________    $_______________

       C.   Total Local Share
                    .0000% x Net Project Cost                           $_______________    $_______________

       D. Local Overmatch                                               $_______________    $_______________
          Itemize Local Share by Source

            __________________________________________________          $_______________
            __________________________________________________          $_______________
            __________________________________________________          $_______________


III.        REQUEST FOR PAYMENT

            Total Federal, State & Local Shares……………………………...           $_______________
            (Section II, Line A + Line B + Line C + Line D)

            Total Payment Now Requested                                 $_______________
            Submitted by: ___________________________________
            Signature: ______________________________________
            Title: __________________________________________
            Date: _________________________________________

MTA 2017 LOTS Manual Attachment 3.C, Request for Payment – Operating 2017
                                                                                             ATTACHMENT 3.D
                                        MARYLAND DEPARTMENT OF TRANSPORTATION
                                           MARYLAND TRANSIT ADMINISTRATION
                                        CAPITAL ASSISTANCE REQUEST FOR PAYMENT


          GRANTEE:                                      _________________________________________________
          FEDERAL ID NO.                                _______________________________
          PROJECT NUMBER:                               _______________________________


          PCA: ____________________                     AOBJ: _________________________



          PAYMENT PERIOD:                               __________________________________________________

          CHECK PAYABLE TO:                             __________________________________________________

          PAYMENT TO BE FORWARDED TO:                   __________________________________________________
                                                        Agency/County

                                                        __________________________________________________
                                                        Street

                                                        __________________________________________________
                                                        City                    State              Zip Code



   I.          CAPITAL PROGRAM OUTLAYS

               Project Budget
               Line Item Code                                    Project Expenditures       Cumulative


               00.00.00 – Description                            $____________________      $__________________


   II.         FINANCING OF PROJECT COST

          A.   Total Federal Share
                  .0000 x Project Expenditure                    $_____________________     $___________________

          B.   Total State Share
                  .0000 x Project Expenditure                    $_____________________     $___________________

          C.   Total Local Share
                  .0000 x Project Expenditure                    $______________________    $___________________


   III.        REQUEST FOR PAYMENT

               Total Federal, State & Local Shares
               (Section II, Line A + Line B + Line C)            $_______________________

               Total Payment Now Requested                       $_______________________

Submitted by: ____________________________________ Title: ____________________________________________
Signature: _______________________________________ Date: ___________________________________________



MTA 2017 LOTS Manual Attachment 3.D, Request for Payment – Capital
-XULVGLFWLRQ1DPH                                                                                                                                                                                                                                                                                                                                                                            4XDUWHU VWQGUGWK                                 VWWK
2UJDQL]DWLRQ1DPH                                                                                                                                                                                                                                    ATTACHMENT 3.E.1                                                                                                            %HJLQQLQJ'DWH 00''<<<<                                              
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                                                                                                                                                                                                                                                                                                                                                                                                                                  'LVWULEXWLRQ'DWH7%'




    )XQGLQJ3URJUDP
                         6HUYLFH7\SH
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                         '5 'HPDQG
                         5HVSRQVH' 'HYLDWHG
                                                                5RXWH1DPH1XPEHU
                                                                                       7RWDO3DVVHQJHU7ULSV
                                                                                                                       7RWDO6HUYLFH0LOHV
                                                                                                                                                 7RWDO6HUYLFH+RXUV
                                                                                                                                                                           7RWDO2SHUDWLQJ&RVWV
                                                                                                                                                                                                        7RWDO)DUHER[5HFHLSWV
                                                                                                                                                                                                                                      2WKHU/RFDO2SHUDWLQJ
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3XEOLF7UDQVSRUWDWLRQ3URJUDPV                                                                                                                                                                                                                                    $FFHSWDEOH                                                                                                        

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6DIHW\,QIRUPDWLRQ                                                                                                 'LVDEOHG QRQHOGHUO\ DPEXODWRU\ (able to walk)
          5HSRUWDEOH,QFLGHQWV                                                                                     'LVDEOHG QRQHOGHUO\ QRQDPEXODWRU\ (use wheelchair or scooter)
          )DWDOLWLHV                                                                                               (OGHUO\QRQDPEXODWRU\(use wheelchair or scooter)
          ,QMXULHV                                                                                                 (OGHUO\DPEXODWRU\(able to walk)

                                                           *5$1'727$/                                                                                                                                                                                                                 ',9                  ',9                        ',9                ',9             ',9                     ',9                  ',9


                                   MTA 2017 LOTS Manual Attachment 3.E.1-3, Form 2a
-XULVGLFWLRQ1DPH                                                                                                                                                                                                                                                                                                                                                                        4XDUWHU VWQGUGWK                                  VWWK
2UJDQL]DWLRQ1DPH                                                                                                                                                                                                                                ATTACHMENT 3.E.2                                                                                                            %HJLQQLQJ'DWH 00''<<<<                                               
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                                                                                    7RWDO3DVVHQJHU7ULSV
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6DIHW\,QIRUPDWLRQ                                                                                              'LVDEOHG QRQHOGHUO\ DPEXODWRU\ (able to walk)
          5HSRUWDEOH,QFLGHQWV                                                                                  'LVDEOHG QRQHOGHUO\ QRQDPEXODWRU\ (use wheelchair or scooter)
          )DWDOLWLHV                                                                                            (OGHUO\QRQDPEXODWRU\(use wheelchair or scooter)
          ,QMXULHV                                                                                              (OGHUO\DPEXODWRU\(able to walk)

                                                           *5$1'727$/                                                                                                                                                                                                              ',9                  ',9                       ',9                ',9             ',9                      ',9                  ',9


                                   MTA 2017 LOTS Manual Attachment 3.E.1-3, Form 2a
-XULVGLFWLRQ1DPH                                                                                                                                                                                                                                                                                                                                                                4XDUWHU VWQGUGWK                               VWWK
2UJDQL]DWLRQ1DPH                                                                                                                                                                                                                                ATTACHMENT 3.E.3                                                                                                     %HJLQQLQJ'DWH 00''<<<<                                           
)XQGLQJ)LVFDO<HDU                                                                                                                                                                                                                                                                                                                                                          (QGLQJ'DWH 00''<<<< 

                                                                                                             )RUPD6(59,&(3(5)250$1&(6800$5< 5XUDO
                                                                                                            5HPHPEHUWRLQFOXGH$//6HUYLFH7\SHVLQWR*UDQG7RWDO
                                                                                                                                                                                                                                                                                                                                                                                                                     'LVWULEXWLRQ'DWH7%'




    )XQGLQJ3URJUDP
                         6HUYLFH7\SH
                         ) )L[HG5RXWH
                         '5 'HPDQG
                         5HVSRQVH' 'HYLDWHG
                                                                5RXWH1DPH1XPEHU
                                                                                    7RWDO3DVVHQJHU7ULSV
                                                                                                                    7RWDO6HUYLFH0LOHV
                                                                                                                                              7RWDO6HUYLFH+RXUV
                                                                                                                                                                        7RWDO2SHUDWLQJ&RVWV
                                                                                                                                                                                                     7RWDO)DUHER[5HFHLSWV
                                                                                                                                                                                                                                   2WKHU/RFDO2SHUDWLQJ
                                                                                                                                                                                                                                   5HYHQXH UHEDWHV
                                                                                                                                                                                                                                   ZDUUDQW\
                                                                                                                                                                                                                                                                  $GYHUWLVLQJ5HYHQXH
                                                                                                                                                                                                                                                                                             2SHUDWLQJ&RVWSHU
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                                                                                                                                                                                                                                                                                                                                                 2SHUDWLQJ&RVWSHU
                                                                                                                                                                                                                                                                                                                                                 3DVVHQJHU7ULS
                                                                                                                                                                                                                                                                                                                                                                       /RFDO2SHUDWLQJ
                                                                                                                                                                                                                                                                                                                                                                       5HYHQXH5DWLR
                                                                                                                                                                                                                                                                                                                                                                                            )DUHER[5HFRYHU\5DWLR
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3XEOLF7UDQVSRUWDWLRQ3URJUDPV                                                                                                                                                                                                                                 $FFHSWDEOH                                                                                               

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                      6XEWRWDO/DUJH8UEDQRU6                                                                                                                                                                                                                         ',9                 ',9                     ',9               ',9            ',9                    ',9                 ',9
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6                                                                                                                                                                                                                                                                                      ',9                 ',9                     ',9               ',9            ',9                    ',9                 ',9
6                                                                                                                                                                                                                                                                                      ',9                 ',9                     ',9               ',9            ',9                    ',9                 ',9
6                                                                                                                                                                                                                                                                                      ',9                 ',9                     ',9               ',9            ',9                    ',9                 ',9
6                                                                                                                                                                                                                                                                                      ',9                 ',9                     ',9               ',9            ',9                    ',9                 ',9
6                                                                                                                                                                                                                                                                                      ',9                 ',9                     ',9               ',9            ',9                    ',9                 ',9
                                     6XEWRWDO6                                                                                                                                                                                                                         ',9                 ',9                     ',9               ',9            ',9                    ',9                 ',9


   2YHUDOO3XEOLF7UDQVSRUWDWLRQ3URJUDPV                                                                                                                                                                                                                                            ',9                 ',9                     ',9                 ',9          ',9                    ',9                 ',9
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                      6XEWRWDO-$5&1HZ)UHHGRP                                                                                                                                                                                                                                        ',9                 ',9                     ',9                 ',9          ',9                    ',9                 ',9
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                         6XEWRWDO$'$3DUDWUDQVLW                                                                                                                                                                                                                                        ',9                 ',9                     ',9                 ',9          ',9                    ',9                 ',9
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                         6XEWRWDO667$33URJUDP                                                                                                                                                                                                                                          ',9                 ',9                     ',9                 ',9          ',9                    ',9                 ',9
6DIHW\,QIRUPDWLRQ                                                                                              'LVDEOHG QRQHOGHUO\ DPEXODWRU\ (able to walk)
          5HSRUWDEOH,QFLGHQWV                                                                                  'LVDEOHG QRQHOGHUO\ QRQDPEXODWRU\ (use wheelchair or scooter)
          )DWDOLWLHV                                                                                            (OGHUO\QRQDPEXODWRU\(use wheelchair or scooter)
          ,QMXULHV                                                                                              (OGHUO\DPEXODWRU\(able to walk)

                                                           *5$1'727$/                                                                                                                                                                                                           ',9                 ',9                     ',9               ',9            ',9                    ',9                 ',9


                                   MTA 2017 LOTS Manual Attachment 3.E.1-3, Form 2a
                                                                                                                                                                      ATTACHMENT 3.F




RecommendedRevisedPerformanceStandardsforMTALOTS                                                                                                                  Mar28,2016
                                                                                                                                                              Using2015CPIchange
CostͲbasedStandardstobeupdatedanuallyusingprioryearasbaseofCPI(seefootnote*)




                                            RevisedLOTSPerformanceStandards               UrbanDemandͲResponse                      RevisedLOTSPerformanceStandards
UrbanFixedͲRouteBus
                                       Successful       Acceptable        NeedsReview       Service                                 Successful       Acceptable        NeedsReview
OperatingCostperHour                 < $91.53     $91.53 Ͳ $111.87       > $111.87        OperatingCostperHour                  < $71.19     $71.19 Ͳ $91.53        > $91.53

OperatingCostperMile                 < $7.12       $7.12 Ͳ $8.14         > $8.14          OperatingCostperMile                  < $4.07       $4.07 Ͳ $8.14         > $8.14

OperatingCostperPassengerTrip       < $3.81       $3.81 Ͳ $4.58         > $4.58          OperatingCostperPassengerTrip        < $20.34     $20.34 Ͳ $30.51        > $30.51

LocalOperatingRevenueRatio           > 70%          60% Ͳ 70%            < 60%            LocalOperatingRevenueRatio            > 60%          40% Ͳ 60%            < 40%

FareboxRecoveryRatio                  > 25%          20% Ͳ 25%            < 20%            FareboxRecoveryRatio                   > 12%            6% Ͳ 12%           < 6%

PassengerTripsperMile                > 2.25         1.75 Ͳ 2.00          < 1.75           PassengerTripsperMile                 > 0.25         0.15 Ͳ 0.25          < 0.15

PassengerTripsperHour                > 30.0         20.0 Ͳ 30.0          < 20.0           PassengerTripsperHour                 > 3.0            1.5 Ͳ 3.0          < 1.5
*Basedoncompositeof54nationalpeeragencieswithcomparablyͲsizedoperations            *Basedoncompositeof375nationalpeeragencieswithcomparablyͲsizedoperations




Suburban/SmallUrban                     RevisedLOTSPerformanceStandards               Suburban/SmallUrban                       RevisedLOTSPerformanceStandards
FixedͲRouteBus                        Successful       Acceptable        NeedsReview       DemandͲResponseService                 Successful       Acceptable        NeedsReview
OperatingCostperHour                 < $66.11     $66.11 Ͳ $86.45        > $86.45         OperatingCostperHour                  < $61.02     $61.02 Ͳ $81.36        > $81.36

OperatingCostperMile                 < $4.07       $4.07 Ͳ $6.10         > $6.10          OperatingCostperMile                  < $3.56       $3.56 Ͳ $7.12         > $7.12

OperatingCostperPassengerTrip       < $4.07       $4.07 Ͳ $7.12         > $7.12          OperatingCostperPassengerTrip        < $20.34     $20.34 Ͳ $40.68        > $40.68

LocalOperatingRevenueRatio           > 55%          45% Ͳ 55%            < 45%            LocalOperatingRevenueRatio            > 60%          40% Ͳ 60%            < 40%

FareboxRecoveryRatio                  > 20%          10% Ͳ 20%            < 10%            FareboxRecoveryRatio                   > 12%            6% Ͳ 12%           < 6%

PassengerTripsperMile                > 1.25         0.75 Ͳ 1.25          < 0.75           PassengerTripsperMile                 > 0.20         0.10 Ͳ 0.20          < 0.10

PassengerTripsperHour                > 16.0         12.0 Ͳ 16.0          < 12.0           PassengerTripsperHour                 > 3.0            1.5 Ͳ 3.0          < 1.5
*Basedoncompositeof136nationalpeeragencieswithcomparablyͲsizedoperations           *Basedoncompositeof375nationalpeeragencieswithcomparablyͲsizedoperations




                                            RevisedLOTSPerformanceStandards
RuralTransitService
                                       Successful       Acceptable        NeedsReview
OperatingCostperHour                 < $40.68     $40.68 Ͳ $61.02        > $61.02

OperatingCostperMile                 < $2.03       $2.03 Ͳ $4.07         > $4.07

OperatingCostperPassengerTrip       < $7.12       $7.12 Ͳ $18.31        > $18.31

LocalOperatingRevenueRatio           > 50%          40% Ͳ 50%            < 40%

FareboxRecoveryRatio                  > 15%            7% Ͳ 15%           < 7%

PassengerTripsperMile                > 0.30         0.15 Ͳ 0.30          < 0.15

PassengerTripsperHour                > 5.0            2.5 Ͳ 5.0          < 2.5
*Basedoncompositeof334nationalpeeragencieswithcomparablyͲsizedoperations




*Basedon"AnnualAvg.CPI"asproducedbytheBureauofLaborStatisticsinTable24oftheCPIDetailedReportsavailableathttp://www.bls.gov/cpi/#tables




MTA 2017 LOTS Manual Attachment 3.F, MTA Performance Standards
                                                                                                                                                          ATTACHMENT 3.F




RecommendedRevisedPerformanceStandardsforMTALOTS                                                                                                             Dec18,2015
                                                                                                                                                         Using2014CPIchange
CostͲbasedStandardstobeupdatedanuallyusingCPIfrombaseyear2013(seefootnote*)




                                           RevisedLOTSPerformanceStandards            UrbanDemandͲResponse                      RevisedLOTSPerformanceStandards
UrbanFixedͲRouteBus
                                      Successful       Acceptable        NeedsReview    Service                                Successful       Acceptable        NeedsReview
OperatingCostperHour                < $91.44     $91.44 Ͳ $111.76       > $111.76     OperatingCostperHour                 < $71.12     $71.12 Ͳ $91.44       > $91.44

OperatingCostperMile                < $7.11       $7.11 Ͳ $8.13         > $8.13       OperatingCostperMile                 < $4.06       $4.06 Ͳ $8.13        > $8.13

OperatingCostperPassengerTrip      < $3.81       $3.81 Ͳ $4.57         > $4.57       OperatingCostperPassengerTrip       < $20.32     $20.32 Ͳ $30.48       > $30.48

LocalOperatingRevenueRatio          > 70%           60% Ͳ 70%           < 60%         LocalOperatingRevenueRatio           > 60%           40% Ͳ 60%          < 40%

FareboxRecoveryRatio                 > 25%           20% Ͳ 25%           < 20%         FareboxRecoveryRatio                  > 12%            6% Ͳ 12%          < 6%

PassengerTripsperMile               > 2.25         1.75 Ͳ 2.00          < 1.75        PassengerTripsperMile                > 0.25         0.15 Ͳ 0.25         < 0.15

PassengerTripsperHour               > 30.0         20.0 Ͳ 30.0          < 20.0        PassengerTripsperHour                > 3.0            1.5 Ͳ 3.0         < 1.5
*Basedoncompositeof54nationalpeeragencieswithcomparablyͲsizedoperations        *Basedoncompositeof375nationalpeeragencieswithcomparablyͲsizedoperations




Suburban/SmallUrban                    RevisedLOTSPerformanceStandards            Suburban/SmallUrban                       RevisedLOTSPerformanceStandards
FixedͲRouteBus                       Successful       Acceptable        NeedsReview    DemandͲResponseService                Successful       Acceptable        NeedsReview
OperatingCostperHour                < $66.04     $66.04 Ͳ $86.36        > $86.36      OperatingCostperHour                 < $60.96     $60.96 Ͳ $81.28       > $81.28

OperatingCostperMile                < $4.06       $4.06 Ͳ $6.10         > $6.10       OperatingCostperMile                 < $3.56       $3.56 Ͳ $7.11        > $7.11

OperatingCostperPassengerTrip      < $4.06       $4.06 Ͳ $7.11         > $7.11       OperatingCostperPassengerTrip       < $20.32     $20.32 Ͳ $40.64       > $40.64

LocalOperatingRevenueRatio          > 55%           45% Ͳ 55%           < 45%         LocalOperatingRevenueRatio           > 60%           40% Ͳ 60%          < 40%

FareboxRecoveryRatio                 > 20%           10% Ͳ 20%           < 10%         FareboxRecoveryRatio                  > 12%            6% Ͳ 12%          < 6%

PassengerTripsperMile               > 1.25         0.75 Ͳ 1.25          < 0.75        PassengerTripsperMile                > 0.20         0.10 Ͳ 0.20         < 0.10

PassengerTripsperHour               > 16.0         12.0 Ͳ 16.0          < 12.0        PassengerTripsperHour                > 3.0            1.5 Ͳ 3.0         < 1.5
*Basedoncompositeof136nationalpeeragencieswithcomparablyͲsizedoperations       *Basedoncompositeof375nationalpeeragencieswithcomparablyͲsizedoperations




                                           RevisedLOTSPerformanceStandards
RuralTransitService
                                      Successful       Acceptable        NeedsReview
OperatingCostperHour                < $40.64     $40.64 Ͳ $60.96        > $60.96

OperatingCostperMile                < $2.03       $2.03 Ͳ $4.06         > $4.06

OperatingCostperPassengerTrip      < $7.11       $7.11 Ͳ $18.29        > $18.29

LocalOperatingRevenueRatio          > 50%           40% Ͳ 50%           < 40%

FareboxRecoveryRatio                 > 15%            7% Ͳ 15%           < 7%

PassengerTripsperMile               > 0.30         0.15 Ͳ 0.30          < 0.15

PassengerTripsperHour               > 5.0            2.5 Ͳ 5.0          < 2.5
*Basedoncompositeof334nationalpeeragencieswithcomparablyͲsizedoperations




*Basedon"AnnualAvg.CPI"asproducedbytheBureauofLaborStatisticsinTable24oftheCPIDetailedReportsavailableathttp://www.bls.gov/cpi/#tables




MTA 2017 LOTS Manual Attachment 3.F, MTA Performance Standards
                                                                                                                                                          ATTACHMENT 3.F




RecommendedRevisedPerformanceStandardsforMTALOTS                                                                                                               Dec2,2014


CostͲbasedStandardstobeupdatedanuallyusingCPIfrombaseyear2013(seefootnote*)




                                           RevisedLOTSPerformanceStandards            UrbanDemandͲResponse                      RevisedLOTSPerformanceStandards
UrbanFixedͲRouteBus
                                      Successful       Acceptable        NeedsReview    Service                                Successful       Acceptable        NeedsReview
OperatingCostperHour                < $90.00     $90.00 Ͳ $110.00       > $110.00     OperatingCostperHour                 < $70.00     $70.00 Ͳ $90.00       > $90.00

OperatingCostperMile                < $7.00       $7.00 Ͳ $8.00         > $8.00       OperatingCostperMile                 < $4.00       $4.00 Ͳ $8.00        > $8.00

OperatingCostperPassengerTrip      < $3.75       $3.75 Ͳ $4.50         > $4.50       OperatingCostperPassengerTrip       < $20.00     $20.00 Ͳ $30.00       > $30.00

LocalOperatingRevenueRatio          > 70%           60% Ͳ 70%           < 60%         LocalOperatingRevenueRatio           > 60%           40% Ͳ 60%          < 40%

FareboxRecoveryRatio                 > 25%           20% Ͳ 25%           < 20%         FareboxRecoveryRatio                  > 12%            6% Ͳ 12%          < 6%

PassengerTripsperMile               > 2.25         1.75 Ͳ 2.00          < 1.75        PassengerTripsperMile                > 0.25         0.15 Ͳ 0.25         < 0.15

PassengerTripsperHour               > 30.0         20.0 Ͳ 30.0          < 20.0        PassengerTripsperHour                > 3.0            1.5 Ͳ 3.0         < 1.5
*Basedoncompositeof54nationalpeeragencieswithcomparablyͲsizedoperations        *Basedoncompositeof375nationalpeeragencieswithcomparablyͲsizedoperations




Suburban/SmallUrban                    RevisedLOTSPerformanceStandards            Suburban/SmallUrban                       RevisedLOTSPerformanceStandards
FixedͲRouteBus                       Successful       Acceptable        NeedsReview    DemandͲResponseService                Successful       Acceptable        NeedsReview
OperatingCostperHour                < $65.00     $65.00 Ͳ $85.00        > $85.00      OperatingCostperHour                 < $60.00     $60.00 Ͳ $80.00       > $80.00

OperatingCostperMile                < $4.00       $4.00 Ͳ $6.00         > $6.00       OperatingCostperMile                 < $3.50       $3.50 Ͳ $7.00        > $7.00

OperatingCostperPassengerTrip      < $4.00       $4.00 Ͳ $7.00         > $7.00       OperatingCostperPassengerTrip       < $20.00     $20.00 Ͳ $40.00       > $40.00

LocalOperatingRevenueRatio          > 55%           45% Ͳ 55%           < 45%         LocalOperatingRevenueRatio           > 60%           40% Ͳ 60%          < 40%

FareboxRecoveryRatio                 > 20%           10% Ͳ 20%           < 10%         FareboxRecoveryRatio                  > 12%            6% Ͳ 12%          < 6%

PassengerTripsperMile               > 1.25         0.75 Ͳ 1.25          < 0.75        PassengerTripsperMile                > 0.20         0.10 Ͳ 0.20         < 0.10

PassengerTripsperHour               > 16.0         12.0 Ͳ 16.0          < 12.0        PassengerTripsperHour                > 3.0            1.5 Ͳ 3.0         < 1.5
*Basedoncompositeof136nationalpeeragencieswithcomparablyͲsizedoperations       *Basedoncompositeof375nationalpeeragencieswithcomparablyͲsizedoperations




                                           RevisedLOTSPerformanceStandards
RuralTransitService
                                      Successful       Acceptable        NeedsReview
OperatingCostperHour                < $40.00     $40.00 Ͳ $60.00        > $60.00

OperatingCostperMile                < $2.00       $2.00 Ͳ $4.00         > $4.00

OperatingCostperPassengerTrip      < $7.00       $7.00 Ͳ $18.00        > $18.00

LocalOperatingRevenueRatio          > 50%           40% Ͳ 50%           < 40%

FareboxRecoveryRatio                 > 15%            7% Ͳ 15%           < 7%

PassengerTripsperMile               > 0.30         0.15 Ͳ 0.30          < 0.15

PassengerTripsperHour               > 5.0            2.5 Ͳ 5.0          < 2.5
*Basedoncompositeof334nationalpeeragencieswithcomparablyͲsizedoperations




*Basedon"AnnualAvg.CPI"asproducedbytheBureauofLaborStatisticsinTable24oftheCPIDetailedReportsavailableathttp://www.bls.gov/cpi/#tables




MTA 2017 LOTS Manual Attachment 3.F, MTA Performance Standards
                                                                                                                                                        ATTACHMENT 3.F


2013 Performance standards used as "base" and dated 12-2-14
2014 Performance Standards increased by "percent change from previous" annual average CPI.
Cost-based Standards have been updated to 2014 CPI increase of 1.6% and dated 12-18-15.
2014 Standards will be used as the base for utilizing the 2015 CPI change.
2014 Standards have not been distributed (skipping distribution of these Standards).
2015 Standards will be distributed to the LOTS with the FY17 Grant Agreements.


2014 CPI Change        1.6% increase    used to calculate Form 2a dated 12-18-15
2015 CPI Change        0.1% increase    used to calculate Form 2a dated 3-28-16


Future:
FY2017 ATP will contain the Form 2a using the 2013 CPI base.
                 FY2017 Operations should report using the Form 2a utilizing the 2015 CPI - effective July 1, 2016 - will be sent to LOTS with FY17 Grant Agreements.
FY2018 ATP will contain the Form 2a using the 2015 CPI.
                 FY2018 Operations should report using the Form 2a utilizing the 2016 CPI - effective July 1, 2017 - will be sent to LOTS with FY18 Grant Agreements.
FY2019 ATP will contain the Form 2a using the 2016 CPI.
                 FY2019 Operations should report using the Form 2a utilizing the 2017 CPI - effective July 1, 2018 - will be sent to LOTS with FY18 Grant Agreements.




Source: Bureau of Labor Statistics Table 24 of the CPI Detailed Reports found at http://www.bls.gov/cpi/#tables




MTA 2017 LOTS Manual Attachment 3.F, MTA Performance Standards
                                                                  ATTACHMENT 3.G


                             MTA GRANT CLOSEOUT &
                      FINAL OPERATING BUDGET STATEMENT


DATE______________________
FISCAL YEAR OF GRANT AGREEMENT_________________
PUBLIC BODY__________________________

     This statement is for the close-out of: GRANT NUMBER_________________

                                           Program name ____________________
                                                        (5310, 5311, 5307, SSTAP, ADA, etc.)

PROJECT FINANCING
               APPROVED                                         ACTUAL
               (FROM GRANT AGREEMENT)                           (FROM "Request
                                                                for Payment”)
STATE FUNDS          _______________                            _______________

FEDERAL FUNDS _______________                                   _______________

SUBTOTAL S & F       _______________                            _______________

LOCAL FUNDS          _______________                            _______________

TOTAL PROJECT _______________                                   _______________

This form must be returned within 30 days of issuance date. If this form is not returned,
MTA will consider it correct and grant will be closed.

I concur that the grant funds for this project were spent as indicated and reflect all and
final expenditures for this project related to grant #__________________


Signature __________________________________

Typed or printed name __________________________________

Date _______________________ Title ______________________________




MTA 2017 LOTS Manual Attachment 3.G, Final Operating Budget Statement Template
                        ATTACHMENT 3.H




           SAMPLE



MTA 2017 LOTS Manual Attachment 3.H, Sample Closeout Letter - Operating
                        ATTACHMENT 3.H




           SAMPLE



MTA 2017 LOTS Manual Attachment 3.H, Sample Closeout Letter - Operating
                                                               ATTACHMENT 3.




             SAMPLE



MTA 2017 LOTS Manual Attachment 3. , Sample   rant Closeout Letter - Capital
                                                               ATTACHMENT 3.




             SAMPLE



MTA 2017 LOTS Manual Attachment 3. , Sample   rant Closeout Letter - Capital
                                                               ATTACHMENT 4.A

  CHECKLIST OF REQUIRED STEPS IN THE LOCAL PROCUREMENT PROCESS



For Large (Competitive) Procurements (for projects exceeding State or local small
procurement threshold):



   1. Apply to MTA for funds.

   2. Receive award letter from MTA.

   3. Execute and return grant documents to MTA.

   4. Determine procurement method.

   5. Develop specifications and assemble RFP/bid package.

   6. Submit to MTA Regional Planner for review and approval.

   7. Receive approval from MTA.

   8. Advertise project, to solicit bids/proposals/quotes.

   9. Receive, open, and review responses.

   10. Evaluate responses.

   11. Select best response meeting all local procurement requirements.

   12. Send complete copy of proposed winning offer and list of “losing” offers to MTA
       for concurrence.

   13. Request concurrence/approval from MTA to award contract.

   14. Receive concurrence/approval from MTA.

   15. Award and execute contract.

   16. Submit Request for Payment to MTA within 60 days of receipt of materials,
       equipment, or services procured, attaching all invoices/receipts.




MTA 2017 LOTS Manual Attachment 4.A, Checklist for Large Competitive Procurements
                                                                 ATTACHMENT 4.B

  CHECKLIST OF REQUIRED STEPS IN THE LOCAL PROCUREMENT PROCESS



For Small Procurements (use for projects below State Category I, II or III or local
threshold):



   1. Apply to MTA for funds.

   2. Receive award letter from MTA.

   3. Execute and return grant documents to MTA.

   4. Determine procurement method.

   5. Develop specifications.

   6. Request at least three quotes.

   7. Receive and review quotes.

   8. Select best quote meeting all local procurement requirements.

   9. Send copy of proposed winning offer and list of “losing” offers to MTA for
      concurrence.

   10. Request concurrence/approval from MTA to make purchase.

   11. Receive concurrence/approval before making purchase.

   12. Submit Request for Payment to MTA within 60 days of receipt of materials,
       equipment, or services procured, attaching all invoices/receipts.




MTA 2017 LOTS Manual Attachment 4.B, Checklist for Small Procurements
                                                                               ATTACHMENT 4.C


Place this sample Code of Ethics on your agency letterhead and have signed by the agency official
authorized to sign your grant agreement. The Code of Ethics statements 1–3 highlighted are Federal
requirements and must be in your final Code of Ethics.

                                           Code of Ethics
The (Name of Agency) Code of Ethics contains the following types of prohibitions:

1. Personal Conflicts of Interest. As provided in the Common Grant Rules and in the Federal Transit
   Administration (FTA) Master Agreement, no employee, officer, agent, or board member, or his or her
   immediate family member, partner, or organization that employs or is about to employ any of the
   foregoing individuals may participate in the selection, award, or administration of a contract
   supported with FTA assistance if a conflict of interest, real or apparent, would be involved. Such a
   conflict would arise when any of those individuals previously listed has a financial or other interest in
   the firm selected for award.

2. Gifts. The sub-recipient’s officers, employees, agents, or board members may neither solicit nor
   accept gifts, gratuities, favors, or anything of monetary value from contractors, potential contractors,
   or parties to subcontracts. The sub-recipient may set minimum rules when the financial interest is not
   substantial or the gift is an unsolicited item of nominal intrinsic value.

3. Violations. To the extent permitted by State or local law or regulations, such standards of conduct
   will provide for penalties, sanctions, or other disciplinary action for violation of such standards by the
   sub-recipient’s officers, employees, agents, board members, or by contractors, subcontractors, or sub-
   recipients or their agents. (Subrecipient is to list their disciplinary code for Ethic Code violations.)

The following statements are other common prohibitions your agency may want to use. You may have
other statements/prohibitions you wish to use or already in place which should be reflected below.

4. An employee or official may not intentionally use the prestige of his or her office for personal gain or
   that of another.

5. An employee or official may not assist or represent any party for contingent compensation in any
   matter involving the agency other than in a judicial or quasi-judicial proceeding.

6. An employee or official whose duties include matters substantially relating to the subject matter of
   any contract with the Agency, may not be or become, while an Agency employee, an employee of the
   party contracting with the Agency.

7. A former employee or official may not assist or represent any one other than the Agency for
   compensation in a case, contract, or other specific matter involving the Agency if that matter is one in
   which he or she significantly participated as an official or employee.

8. An employees or official may not disclose or use for personal economic benefit, or that of another,
   confidential information acquired by reason of his or her public position.

9. Persons, entities, employees, or officials that assist the Agency in procurement specifications may not
   be involved in bidding or assisting a bidder in that procurement or be employed by the bidder at the
   time of the bid.



MTA 2017 LOTS Manual, Attachment 4.C, Code of Ethics Template                                               1
                                                                             ATTACHMENT 4.C


10. Agency employees shall act honestly, truthfully and with integrity in all agency business transactions
    and dealings.

11. Agency employees shall be committed to treating our customers and co-workers fairly, equitably and
    with dignity and respect.




______________________________            ___________________                 ______________________
Name of Authorized Agency Official        Title                               Date




MTA 2017 LOTS Manual, Attachment 4.C, Code of Ethics Template                                            2
                                                                            ATTACHMENT 4.D

You may use this form as a template for your agency’s Independent Cost Estimate. Place
this form on your agency letterhead and incorporate into your Procurement Procedures.

                          NAME OF AGENCY
                INDEPENDENT COST ESTIMATE (ICE) FORM
Agency Name:            Project Name and Grant Number:                         Date:


Requisition Number:

Project Description (must include type of good or service, number of units, preliminary
specifications or dimensions, product longevity, warranty and/or product service
requirements and number of purchase options expected to be exercised):
___ New Procurement       ___ Contract Modification (Change Order)    ___ Exercise of Option

Date(s) and number of Estimates (cite each estimate source):


Estimate (cite expected unit price and extended price, including all services and required
components):

Method of Obtaining Estimate (check appropriate section):
Attach additional documentation such as previous pricing documentation, emails, internet screen shots,
estimates on letterhead, etc.
     Obtained direct estimate from vendor(s):
     Published Price List (attach source and date)
     Historical Pricing (attach copy of documentation from previous PO/Contract)
     Comparable Purchases by Other Agencies (attach email correspondence)
     Engineering or Technical Estimate (attach)
     Independent Third-Party Estimate (attach)
     Other (specify) ____________________________(attach documentation)
     Pre-established pricing resulting from competition (Contract Modification only)

Additional Comments:


Rationale for Type of Procurement (explain why the type of procurement and cost estimate was
selected):


Prepared By:                                Date Prepared:

Phone:                                      Email:


MTA 2017 LOTS Manual Attachment 4.D, ICE Template
                                                                                  ATTACHMENT 4.E

              APPLICABILITY OF FEDERAL THIRD-PARTY CONTRACT CLAUSES
       (excluding micro-purchases, except Davis-Bacon and Copeland “Anti-Kickback”
               requirements apply to construction contracts exceeding $2,000)

   Excerpted from FTA Circular 4220.1F and updated for the Super Circular, the FAST Act, and
                the 2016 Best Practices Procurement & Lessons Learned Manual

                                         TYPE OF PROCUREMENT
                                   Professional                        Rolling
                                                   Operations/                                         Materials &
          PROVISION                 Services/                           Stock        Construction
                                                   Management                                           Supplies
                                      A&E                             Purchase
Access to Third Party Contract         All              All              All              All              All
Records
Bonding                                                                               >$150,000
Bus Testing                                                           Purchase or
                                                                     lease of new
                                                                     bus model or
                                                                      model with
                                                                     major change
Buy America                                                           >$150,000       >$150,000         >$150,000
Cargo Preference                                                     Transport by    Transport by      Transport by
                                                                     ocean vessel.   ocean vessel.     ocean vessel.
Changes to Federal Requirements        All              All              All              All              All
Charter Service Operations                              All
Civil Rights (Title VI, ADA, EEO       All              All              All              All              All
except Special DOL EEO clause
for construction projects)
Civil Rights / ADA Access             A&E               All              All              All              All
Civil Rights / Special DOL EEO                                                         >$10,000
clause for construction projects
Clean Air Act and Federal Water     >$150,000       >$150,000         >$150,000       >$150,000         >$150,000
Pollution Control Act
Conformance with ITS National      ITS projects.   ITS projects.     ITS projects.   ITS projects.     ITS projects.
Architecture
Disadvantaged Business                 All              All              All              All              All
Enterprises (DBEs)
Employee Protections / Contract                       >$100,000       >$100,000       >$100,000
Work Hours and Safety Standards                    (transportation                   (also ferries).
Act                                                    services
                                                      excepted).
Employee Protections / Copeland
“Anti-Kickback”                                                                           All
Section 1                                                                            >$2,000 (also
Section 2                                                                              ferries).
Employee Protections / Davis-                                                          >$2,000
Bacon Act (Prevailing Wage                                                           (also ferries).
Requirements)


  MTA 2017 LOTS Manual Attachment 4.E, FTA Clause Applicability Matrix
                                                                                     ATTACHMENT 4.E

                                           TYPE OF PROCUREMENT
                                     Professional                       Rolling
                                                    Operations/                                       Materials &
           PROVISION                  Services/                          Stock        Construction
                                                    Management                                         Supplies
                                        A&E                            Purchase
Energy Conservation                      All              All             All              All            All
Fly America                           Foreign air     Foreign air      Foreign air     Foreign air     Foreign air
                                        transp.     transp. /travel.     transp.         transp.         transp.
                                        /travel.                         /travel.       /travel.         /travel.
Government-Wide Debarment and         >$25,000         >$25,000        >$25,000         >$25,000       >$25,000
Suspension
Incorporation of FTA Terms               All              All             All              All            All
Lobbying Restrictions                 >$100,000       >$100,000        >$100,000       >$100,000       >$100,000
No Federal Government
Obligations to Third Parties             All              All             All              All            All
Notification of Federal               Limited to      Limited to       Limited to      Limited to      Limited to
Participation for States                States.         States.          States.         States.         States.
Patent Rights and Rights in Data –      R&D
Intellectual Property
Pre-Award and Post-Delivery                                               All
Audits
Program Fraud and False or               All              All             All              All            All
Fraudulent Statements and Related
Acts
Public Transportation Employee                         Transit
Protective Arrangements /                             operations
S.5333(b) (formerly 13(c)
Recycled Products                                   EPA-selected                      EPA-selected    EPA-selected
                                                    items $10,000                     items $10,000       items
                                                        or more                           or more      $10,000 or
                                                       annually.                         annually.        more
                                                                                                        annually.
Safe Operation of Motor Vehicles         All              All             All              All            All
School Bus Operations                                  Transit
                                                      operations
Seismic Safety                       A&E for new                                           New
                                     buildings &                                       buildings &
                                      additions.                                        additions.
Substance Abuse / Alcohol Misuse                      Contractors
and Testing                                           performing
                                                    safety-sensitive
                                                       functions
Substance Abuse / Drug Use and                        Contractors
Testing                                               performing
                                                    safety-sensitive
                                                       functions
Termination                           >$10,000         >$10,000        >$10,000         >$10,000       >$10,000
Violation and Breach of Contract      >$150,000       >$150,000        >$150,000       >$150,000       >$150,000


  MTA 2017 LOTS Manual Attachment 4.E, FTA Clause Applicability Matrix
                                                                                       ATTACHMENT 4.F
   Excerpted from FTA’s Best Practices Procurement & Lessons Learned Manual, October 2016, Appendix A

   Federally Required and Other Model Contract Clauses

  A.1     ACCESS TO RECORDS AND REPORTS ............................................................... A-3

  A.2     BONDING REQUIREMENTS ............................................................................. A-5

  A.3     BUS TESTING ................................................................................................ A-14

  A.4     BUY AMERICA REQUIREMENTS .................................................................... A-16

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  A.8     CIVIL RIGHTS LAWS AND REGULATIONS........................................................ A-24

  A.9     DISADVANTAGED BUSINESS ENTERPRISE (DBE) ............................................ A-28

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MTA 2017 LOTS Manual Attachment 4.F, FTA Model Contract Clauses                                                       A-1
                                                                                              ATTACHMENT 4.F
  A.18 PROGRAM FRAUD AND FALSE OR FRAUDULENT STATEMENTS AND RELATED
          ACTS ............................................................................................................ A-54

  A.19 PUBLIC TRANSPORTATION EMPLOYEE PROTECTIVE ARRANGEMENTS ........... A-56

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  A.25 TERMINATION.............................................................................................. A-69

  A.26 VIOLATION AND BREACH OF CONTRACT....................................................... A-75




MTA 2017 LOTS Manual Attachment 4.F, FTA Model Contract Clauses                                                            A-2
                                                                             ATTACHMENT 4.F
                               A.1     ACCESS TO RECORDS AND REPORTS

                                                  49 U.S.C. § 5325(g)
                                                  2 C.F.R. § 200.333
                                                  49 C.F.R. part 633



        Applicability to Contracts

        The record keeping and access requirements apply to all contracts funded in whole or in part
with FTA funds.    Under 49 U.S.C. § 5325(g), FTA has the right to examine and inspect all records,
documents, and papers, including contracts, related to any FTA project financed with Federal assistance
authorized by 49 U.S.C. Chapter 53.

        Flow Down

        The record keeping and access requirements extend to all third party contractors and their
contracts at every tier and subrecipients and their subcontracts at every tier.

        Model Clause/Language

        There is no required language for record keeping and access requirements. Recipients can draw
on the following language for inclusion in their federally funded procurements.


                                          Access to Records and Reports

        a. Record Retention. The Contractor will retain, and will require its subcontractors of all tiers
            to retain, complete and readily accessible records related in whole or in part to the contract,
            including, but not limited to, data, documents, reports, statistics, sub-agreements, leases,
            subcontracts, arrangements, other third party agreements of any type, and supporting
            materials related to those records.
        b. Retention Period. The Contractor agrees to comply with the record retention requirements
            in accordance with 2 C.F.R. § 200.333. The Contractor shall maintain all books, records,
            accounts and reports required under this Contract for a period of at not less than three (3)




MTA 2017 LOTS Manual Attachment 4.F, FTA Model Contract Clauses                                       A-3
                                                                           ATTACHMENT 4.F
      years after the date of termination or expiration of this Contract, except in the event of
      litigation or settlement of claims arising from the performance of this Contract, in which
      case records shall be maintained until the disposition of all such litigation, appeals, claims or
      exceptions related thereto.
  c. Access to Records. The Contractor agrees to provide sufficient access to FTA and its
      contractors to inspect and audit records and information related to performance of this
      contract as reasonably may be required.
  d. Access to the Sites of Performance. The Contractor agrees to permit FTA and its contractors
      access to the sites of performance under this contract as reasonably may be required.




MTA 2017 LOTS Manual Attachment 4.F, FTA Model Contract Clauses                                   A-4
                                                                            ATTACHMENT 4.F
                                     A.2     BONDING REQUIREMENTS

                                                 2 C.F.R. § 200.325
                                                 31 C.F.R. part 223



        Applicability to Contracts

        Bonds are required for all construction or facility improvement contracts and subcontracts
exceeding the simplified acquisition threshold. FTA may accept the bonding policy and requirements of
the recipient if FTA has determined that the Federal interest is adequately protected.            If such a
determination has not been made, the following minimum requirements apply:

        a.   A bid guarantee from each bidder equivalent to five percent of the bid price. The “bid
             guarantee” must consist of a firm commitment such as a bid bond, certified check, or other
             negotiable instrument accompanying a bid as assurance that the bidder will, upon
             acceptance of the bid, execute such contractual documents as may be required within the
             time specified.
        b. A performance bond on the part of the contractor for 100 percent of the contract price. A
             “performance bond” is one executed in connection with a contract to secure fulfillment of
             all the contractor's obligations under such contract.
        c. A payment bond on the part of the contractor for 100 percent of the contract price. A
             “payment bond” is one executed in connection with a contract to assure payment as
             required by law of all persons supplying labor and material in the execution of the work
             provided for in the contract.
        Flow Down

        These requirements extend to all third party contractors and their contracts at every tier and
subrecipients and their subcontracts at every tier that exceed the simplified acquisition threshold.

        Model Clauses/Language

        There is no required language for bonding requirements. Recipients can draw on the following
language for inclusion in their federally funded procurements.




MTA 2017 LOTS Manual Attachment 4.F, FTA Model Contract Clauses                                        A-5
                                                                             ATTACHMENT 4.F
                                                Bond Requirements



                                                   Bid Guarantee

        Bidders shall furnish a bid guaranty in the form of a bid bond, or certified treasurer’s or cashier’s
check issued by a responsible bank or trust company, made payable to the RECIPIENT. The amount of
such guaranty shall be equal to $$$$ or X% of the total bid price.

        In submitting this bid, it is understood and agreed by bidder that the RECIPIENT reserves the
right to reject any and all bids, or part of any bid, and it is agreed that the Bid may not be withdrawn for
a period of [90] days subsequent to the opening of bids, without the written consent of RECIPIENT.

        It is also understood and agreed that if the undersigned bidder should withdraw any part or all
of his bid within [90] days after the bid opening without the written consent of the RECIPIENT, or refuse
or be unable to enter into this Contract as provided above, or refuse or be unable to furnish adequate
and acceptable Performance and Payment Bonds, or refuse or be unable to furnish adequate and
acceptable insurance, as provided above, it shall forfeit its bid guaranty to the extent RECIPIENT’S
damages occasioned by such withdrawal, or refusal, or inability to enter into an agreement, or provide
adequate security thereof.

        It is further understood and agreed that to the extent the defaulting bidder's bid guaranty shall
prove inadequate to fully recompense RECIPIENT for the damages occasioned by default, then the
undersigned bidder agrees to indemnify RECIPIENT and pay over to RECIPIENT the difference between
the bid guarantee and RECIPIENT’S total damages so as to make RECIPIENT whole.

        The undersigned understands that any material alteration of any of the above or any of the
material contained herein, other than that requested will render the bid unresponsive.

                                             Performance Guarantee

        A Performance Guarantee in the amount of 100% of the Contract value is required by the
Recipient to ensure faithful performance of the Contract. Either a Performance Bond or an Irrevocable
Stand-By Letter of Credit shall be provided by the Contractor and shall remain in full force for the term




MTA 2017 LOTS Manual Attachment 4.F, FTA Model Contract Clauses                                          A-6
                                                                            ATTACHMENT 4.F
of the Agreement. The successful Bidder shall certify that it will provide the requisite Performance
Guarantee to the RECIPIENT within ten (10) business days from Contract execution. The RECIPIENT
requires all Performance Bonds to be provided by a fully qualified surety company acceptable to the
RECIPIENT and listed as a company currently authorized under 31 C.F.R. part 22 as possessing a
Certificate of Authority as described hereunder. RECIPIENT may require additional performance bond
protection when the contract price is increased. The increase in protection shall generally equal 100
percent of the increase in contract price. The RECIPIENT may secure additional protection by directing
the Contractor to increase the amount of the existing bond or to obtain an additional bond.

        If the Bidder chooses to provide a Letter of Credit as its Performance Guarantee, the Bidder shall
furnish with its bid, certification that an Irrevocable Stand-By Letter of Credit will be furnished should
the Bidder become the successful Contractor. The Bidder shall also provide a statement from the
banking institution certifying that an Irrevocable Stand-By Letter of Credit for the action will be provided
if the Contract is awarded to the Bidder. The Irrevocable Stand-By Letter of Credit will only be accepted
by the RECIPIENT if:

            1. A bank in good standing issues it. The RECIPIENT will not accept a Letter of Credit from
                an entity other than a bank.
            2. It is in writing and signed by the issuing bank.
            3. It conspicuously states that it is an irrevocable, non-transferable, “standby” Letter of
                Credit.
            4. The RECIPIENT is identified as the Beneficiary.
            5. It is in an amount equal to 100% of the Contract value. This amount must be in U.S.
                dollars.
            6. The effective date of the Letter of Credit is the same as the effective date of the
                Contract
            7. The expiration date of the Letter of Credit coincides with the term of this Agreement.
            8. It indicates that it is being issued in order to support the obligation of the Contractor to
                perform under the Contract. It must specifically reference the Contract between the
                RECIPIENT and the Contractor the work stipulated herein.




MTA 2017 LOTS Manual Attachment 4.F, FTA Model Contract Clauses                                         A-7
                                                                           ATTACHMENT 4.F
        The issuing bank’s obligation to pay will arise upon the presentation of the original Letter of
Credit and a certificate and draft (similar to the attached forms contained in Sections X and Y) to the
issuing bank’s representative at a location and time to be determined by the parties.                This
documentation will indicate that the Contractor is in default under the Contract.

                                                 Payment Bonds

        A Labor and Materials Payment Bond equal to the full value of the contract must be furnished
by the contractor to Recipient as security for payment by the Contractor and subcontractors for labor,
materials, and rental of equipment.     The bond may be issued by a fully qualified surety company
acceptable to (Recipient) and listed as a company currently authorized under 31 C.F.R. part 223 as
possessing a Certificate of Authority as described thereunder.

                                           Sample Bond Certifications




                                      Performance Guarantee Certification

                 The undersigned hereby certifies that the Bidder shall provide a Performance Guarantee
        in accordance with the Specifications.

        Designate below which form of Performance Guarantee shall be provided:

                                                                                     Performance Bond

                                                                   Irrevocable Stand-By-Letter of Credit

        BIDDER'S NAME:

        AUTHORIZED                                                                          SIGNATURE:

        TITLE:

        DATE:




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                                                                             ATTACHMENT 4.F
                                                Performance Bond




        KNOW ALL MEN BY THESE PRESENTS: that




        (Insert full name and address and legal title of Contractor) as Principal, hereinafter called
Contractor, and




                                    (Insert full name and address or legal title of Surety) as Surety,
hereinafter called Surety, are held and firmly bound unto RECIPIENT as Obligee, hereinafter called
Authority, in the amount of         Dollars ($) for the payment whereof Contractor and Surety bind
themselves, their heirs, executors, administrators, successors and assigns, jointly and severally, firmly by
these presents.

        WHEREAS, Contractor has by written agreement dated , 20            , entered into a contract with
the RECIPIENT for Contract No.                            , which contract is by reference made a part
hereof, and is hereinafter referred to as the Contract.

        NOW, THEREFORE, THE CONDITION OF THIS OBLIGATION is such that, if Contractor shall
promptly and faithfully perform said Contract, then this obligation shall be null and void; otherwise it
shall remain in full force and effect.

        The Surety hereby waives notice of any alteration or extension of time made by the RECIPIENT.

        Whenever Contractor shall be, and is declared by the RECIPIENT to be in default under the
Contract, the RECIPIENT having performed RECIPIENT’S obligations thereunder, the Surety may
promptly remedy the default, or shall promptly

        1.        Complete the Contract in accordance with it terms and conditions, or




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                                                                           ATTACHMENT 4.F
        2.      Obtain a bid or bids for completing the Contract in accordance with its terms and
conditions, and upon determination by Surety of the lowest responsible bidder, or, if the RECIPIENT
elects, upon determination by the RECIPIENT and the Surety jointly of the lowest responsible bidder,
arrange for a contract between such bidder and the Authority, and make available as Work progresses
(even though there should be a default or a succession of defaults under the contract or contracts of
completion arranged under this paragraph) sufficient funds to pay the cost of completion less the
balance of the contract price; but not exceeding, the amount set forth in the first paragraph hereof.
The term "balance of the contract price," as used in this paragraph, shall mean the total amount payable
by the RECIPIENT to Contractor under the Contract and any amendments thereto, less the amount
properly paid by the RECIPIENT to Contractor.

        Any suit under this bond must be instituted before the expiration of two (2) years from the date
on which final payment under the Contract falls due.

        No right of action shall accrue on this bond to or for the use of any person or corporation other
than the RECIPIENT or the heirs, executors, administrators or successors of the RECIPIENT.

        Signed and sealed this          day of                          20         .




        WITNESS                                                         PRINCIPAL

                                                           (SEAL)

                                                                         (Title)

        WITNESS                                                         SURETY

                                                                                                (SEAL)

                                                       (Title)

        Attach hereto proof of authority of officers or agents to sign bond.




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                                                                  ATTACHMENT 4.F




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                                                                             ATTACHMENT 4.F
                                 Irrevocable Stand-By Letter Of Credit Certificate



        The undersigned states that he/she is                                                  of the
                                                                 (Title)
                                                         (The "Beneficiary") and hereby
                         (Name of Beneficiary)


        Certifies on behalf of the Beneficiary to                                    (the "Bank), with
                                                         (Name of Issuing Bank)


        Reference to Irrevocable Standby Letter of Credit No.                        Issued by the


        Bank (the "Letter of Credit"), that:
1. The undersigned is duly authorized to execute and deliver this certificate on behalf of the
    Beneficiary.
2. The Beneficiary is making a drawing under the Letter of Credit.
3. An Event of Default has occurred under Contract No.                                                  .
4. The amount of the draft presented with this certificate does not exceed the total maximum amount
    drawable today under the Letter of Credit as provided therein.
        IN WITNESS WHEREOF, this certificate is executed this              day of       , 20       .

        (NAME OF BENEFICIARY)

        By:

        Its:




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                                                                  ATTACHMENT 4.F
                                            Bank Draft

  FOR VALUE RECEIVED

  Pay on presentment to                                    the sum of
                                (Name of Beneficiary)              Dollars ($)


  Charge the Account of                                    Irrevocably Standby Letter of
                                (Name of Issuing Bank)


  Credit No.                              Dated: 20        .


  To
                 (Name of Issuing Bank)


  NAME OF BENEFICIARY


  By




  Its




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                                                                           ATTACHMENT 4.F
                                           A.3     BUS TESTING

                                                 49 U.S.C. § 5318(e)
                                                 49 C.F.R. part 665



        Applicability to Contracts

        The Bus Testing requirements pertain only to the purchase or lease of any new bus model, or
any bus model with a major change in configuration or components to be acquired or leased with funds
obligated by FTA. Recipients are responsible for determining whether a vehicle to be acquired requires
full or partial testing or has already satisfied the bus testing requirements by achieving a passing test
score in accordance with 49 C.F.R. part 665. Recipients must certify compliance with FTA’s bus testing
requirements in all grant applications for FTA funding for bus procurements.

        Flow Down

        There is no flow down requirement for Bus Testing.

        Model Clause/Language

        The operator of the bus testing facility is required to provide the resulting test report to the
entity that submits the bus for testing.    The manufacturer or dealer of a new bus model or a bus
produced with a major change in component or configuration is required to provide a copy of the
corresponding full bus testing report and any applicable partial testing report(s) to the recipient during
the point in the procurement process specified by the recipient, but in all cases before final acceptance
of the first bus by the recipient. The complete bus testing reporting requirements are provided in 49
C.F.R. § 665.11. Although no specific certification and bus testing language in required, recipients can
draw on the following language for inclusion in their federally funded procurements.

                                                    Bus Testing

        The Contractor [Manufacturer] agrees to comply with the Bus Testing requirements under 4 9
U.S.C. 5318(e) and FTA's implementing regulation at 49 C.F.R. part 665 to ensure that the requisite
testing is performed for all new bus models or any bus model with a major change in configuration or



MTA 2017 LOTS Manual Attachment 4.F, FTA Model Contract Clauses                                      A-14
                                                                               ATTACHMENT 4.F
components, and that the bus model has achieved a passing score. Upon completion of the testing, the
contractor shall obtain a copy of the bus testing reports from the operator of the testing facility and
make that report(s) publicly available prior to final acceptance of the first vehicle by the recipient.




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                                                                             ATTACHMENT 4.F
                                 A.4      BUY AMERICA REQUIREMENTS

                                                  49 U.S.C. 5323(j)
                                                 49 C.F.R. part 661

        Applicability to Contracts

        FTA’s Buy America law and regulations apply to projects that involve the purchase of more than
$150,000 of iron, steel, manufactured goods, or rolling stock to be delivered to the recipient to be used
in an FTA assisted project. FTA cautions that its Buy America regulations are complex. Recipients can
obtain detailed information on FTA’s Buy America regulation at: The Federal Transit Administration’s
Buy America website.

        Flow Down

        The Buy America requirements flow down from FTA recipients and subrecipients to first tier
contractors, who are responsible for ensuring that lower tier contractors and subcontractors are in
compliance.

        Model Clause/Language

        The Buy America regulation at 49 C.F.R. § 661.13 requires notification of the Buy America
requirements in a recipients’ bid or request for proposal for FTA funded contracts. Recipients can draw
on the following language for inclusion in their federally funded procurements. Note that recipients are
responsible for including the correct Buy America certification based on what they are acquiring.
Recipients should not include both the rolling stock and steel, iron, or manufactured products
certificates in the documents unless acquiring both in the same procurement.

                                                    Buy America

        The contractor agrees to comply with 49 U.S.C. 5323(j) and 49 C.F.R. part 661, which provide
that Federal funds may not be obligated unless all steel, iron, and manufactured products used in FTA
funded projects are produced in the United States, unless a waiver has been granted by FTA or the
product is subject to a general waiver. General waivers are listed in 49 C.F.R. § 661.7. Separate
requirements for rolling stock are set out at 49 U.S.C. 5323(j)(2)(C) and 49 C.F.R. § 661.11.




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                                                                         ATTACHMENT 4.F
        The [bidder or offeror] must submit to [Recipient] the appropriate Buy America certification
below with its [bid or offer]. Bids or offers that are not accompanied by a completed Buy America
certification will be rejected as nonresponsive.

        In accordance with 49 C.F.R. § 661.6, for the procurement of steel, iron or manufactured
products, use the certifications below.

        Certificate of Compliance with Buy America Requirements

        The bidder or offeror hereby certifies that it will comply with the requirements of 49 U.S.C.
5323(j)(1), and the applicable regulations in 49 C.F.R. part 661.

        Date:

        Signature:

        Company:

        Name:

        Title:

        Certificate of Non-Compliance with Buy America Requirements

        The bidder or offeror hereby certifies that it cannot comply with the requirements of 49 U.S.C.
5323(j), but it may qualify for an exception to the requirement pursuant to 49 U.S.C. 5323(j)(2), as
amended, and the applicable regulations in 49 C.F.R. § 661.7.

        Date:

        Signature:

        Company:

        Name:

        Title:




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                                                                           ATTACHMENT 4.F
        In accordance with 49 C.F.R. § 661.12, for the procurement of rolling stock (including train
control, communication, and traction power equipment) use the following certifications:

        Certificate of Compliance with Buy America Rolling Stock Requirements

        The bidder or offeror hereby certifies that it will comply with the requirements of 49 U.S.C.
5323(j), and the applicable regulations of 49 C.F.R. § 661.11.

        Date:

        Signature:

        Company:

        Name:

        Title:

        Certificate of Non-Compliance with Buy America Rolling Stock Requirements

        The bidder or offeror hereby certifies that it cannot comply with the requirements of 49 U.S.C.
5323(j), but may qualify for an exception to the requirement consistent with 49 U.S.C. 5323(j)(2)(C), and
the applicable regulations in 49 C.F.R. § 661.7.

                 Date:



                 Signature:



                 Company:



        Name:

                 Title:




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                                                                          ATTACHMENT 4.F
                             A.5     CARGO PREFERENCE REQUIREMENTS

                                               46 U.S.C. § 55305
                                               46 C.F.R. part 381



       Applicability to Contracts

       The Cargo Preference Act of 1954 requirements applies to all contracts involving equipment,
materials, or commodities that may be transported by ocean vessels.

       Flow Down

       The Cargo Preference requirements apply to all contracts involved with the transport of
equipment, material, or commodities by ocean vessel.

       Model Clause/Language

       The Maritime Administration (MARAD) regulations at 46 C.F.R. § 381.7 contain
suggested contract clauses. Recipients can draw on the following language for inclusion in their
federally funded
procurements.

                             Cargo Preference - Use of United States-Flag Vessels

       The contractor agrees:

           a. to use privately owned United States-Flag commercial vessels to ship at least 50 percent
                of the gross tonnage (computed separately for dry bulk carriers, dry cargo liners, and
                tankers) involved, whenever shipping any equipment, material, or commodities
                pursuant to the underlying contract to the extent such vessels are available at fair and
                reasonable rates for United States-Flag commercial vessels;
           b. to furnish within 20 working days following the date of loading for shipments originating
                within the United States or within 30 working days following the date of loading for
                shipments originating outside the United States, a legible copy of a rated, "on-board"
                commercial ocean bill-of-lading in English for each shipment of cargo described in the


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                                                                             ATTACHMENT 4.F
         preceding paragraph to the Division of National Cargo, Office of Market Development,
         Maritime Administration, Washington, DC 20590 and to the FTA recipient (through the
         contractor in the case of a subcontractor's bill-of-lading.); and
      c. to include these requirements in all subcontracts issued pursuant to this contract when
         the subcontract may involve the transport of equipment, material, or commodities by
         ocean vessel.




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                                                                          ATTACHMENT 4.F
                                        A.6     CHARTER SERVICE

                                              49 U.S.C. 5323(d) and (r)
                                                 49 C.F.R. part 604



        Applicability to Contracts

        The Charter Bus requirements apply to contracts for operating public transportation service.

        Flow Down Requirements

        The Charter Bus requirements flow down from FTA recipients and subrecipients to first tier
service contractors.

        Model Clause/Language

        The relevant statutes and regulations do not mandate any specific clause or language.
Recipients can draw on the following language for inclusion in their federally funded procurements.

                                                  Charter Service

        The contractor agrees to comply with 49 U.S.C. 5323(d), 5323(r), and 49 C.F.R. part 604, which
provides that recipients and subrecipients of FTA assistance are prohibited from providing charter
service using federally funded equipment or facilities if there is at least one private charter operator
willing and able to provide the service, except as permitted under:

            1. Federal transit laws, specifically 49 U.S.C. § 5323(d);
            2. FTA regulations, “Charter Service,” 49 C.F.R. part 604;
            3. Any other federal Charter Service regulations; or
            4. Federal guidance, except as FTA determines otherwise in writing.
        The contractor agrees that if it engages in a pattern of violations of FTA’s Charter Service
regulations, FTA may require corrective measures or impose remedies on it. These corrective measures
and remedies may include:

            1. Barring it or any subcontractor operating public transportation under its Award that has
                provided prohibited charter service from receiving federal assistance from FTA;




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                                                                       ATTACHMENT 4.F
            2. Withholding an amount of federal assistance as provided by Appendix D to part 604 of
                FTA’s Charter Service regulations; or
            3. Any other appropriate remedy that may apply.
        The contractor should also include the substance of this clause in each subcontract that may
involve operating public transit services.




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                                                                               ATTACHMENT 4.F
                A.7     CLEAN AIR ACT AND FEDERAL WATER POLLUTION CONTROL ACT

                                              42 U.S.C. §§ 7401 – 7671q
                                                33 U.S.C. §§ 1251-1387
                                          2 C.F.R. part 200, Appendix II (G)



        Applicability to Contracts

        The Clean Air and Clean Water Act requirements apply to each contract and subcontract
exceeding $150,000. Each contract and subcontract must contain a provision that requires the recipient
to agree to comply with all applicable standards, orders or regulations issued pursuant to the Clean Air
Act (42 U.S.C. 7401–7671q) and the Federal Water Pollution Control Act as amended (33 U.S.C. 1251–
1387). Violations must be reported to the Federal awarding agency and the Regional Office of the
Environmental Protection Agency (EPA).

        Flow Down

        The Clean Air Act and Federal Water Pollution Control Act requirements extend to all third party
contractors and their contracts at every tier and subrecipients and their subcontracts at every tier.

        Model Clause/Language

        Recipients can draw on the following language for inclusion in their federally funded
procurements.

        The Contractor agrees:

            1) It will not use any violating facilities;
            2) It will report the use of facilities placed on or likely to be placed on the U.S. EPA “List of
                Violating Facilities;”
            3) It will report violations of use of prohibited facilities to FTA; and
            4) It will comply with the inspection and other requirements of the Clean Air Act, as
                amended, (42 U.S.C. §§ 7401 – 7671q); and the Federal Water Pollution Control Act as
                amended, (33 U.S.C. §§ 1251-1387).




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                                                                              ATTACHMENT 4.F
                         A.8     CIVIL RIGHTS LAWS AND REGULATIONS




  Applicability to Contracts

  The following Federal Civil Rights laws and regulations apply to all contracts.

      1. Federal Equal Employment Opportunity (EEO) Requirements. These include, but are not
           limited to:
                  a. Nondiscrimination in Federal Public Transportation Programs. 49 U.S.C. § 5332,
                     covering projects, programs, and activities financed under 49 U.S.C. Chapter 53,
                     prohibits discrimination on the basis of race, color, religion, national origin, sex
                     (including sexual orientation and gender identity), disability, or age, and
                     prohibits discrimination in employment or business opportunity.
                  b. Prohibition against Employment Discrimination. Title VII of the Civil Rights Act
                     of 1964, as amended, 42 U.S.C. § 2000e, and Executive Order No. 11246, “Equal
                     Employment         Opportunity,”   September 24, 1965,   as    amended,    prohibit
                     discrimination in employment on the basis of race, color, religion, sex, or
                     national origin.
      2. Nondiscrimination on the Basis of Sex. Title IX of the Education Amendments of 1972,
           as amended, 20 U.S.C. § 1681 et seq. and implementing Federal regulations,
           “Nondiscrimination on the Basis of Sex in Education Programs or Activities Receiving
           Federal Financial Assistance,” 49 C.F.R. part 25 prohibit discrimination on the basis of
           sex.
      3.    Nondiscrimination based ON Age.             The “Age Discrimination Act of 1975,” as
           amended, 42 U.S.C. § 6101 et seq., and Department of Health and Human Services
           implementing regulations, “Nondiscrimination on the Basis of Age in Programs or
           Activities Receiving Federal Financial Assistance,” 45 C.F.R. part 90, prohibit
           discrimination by participants in federally assisted programs against individuals on the
           basis of age. The Age Discrimination in Employment Act (ADEA), 29 U.S.C. § 621 et seq.,
           and Equal Employment Opportunity Commission (EEOC) implementing regulations, “Age




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                                                                              ATTACHMENT 4.F
                  Discrimination in Employment Act,” 29 C.F.R. part 1625, also prohibit employment
                  discrimination against individuals age 40 and over based on age.
              4. Federal Protections for Individuals with Disabilities. The Americans with Disabilities Act
                  of 1990, as amended (ADA), 42 U.S.C. § 12101 et seq., prohibits discrimination against
                  qualified individuals with disabilities in programs, activities, and services, and imposes
                  specific requirements on public and private entities.       Third party contractors must
                  comply with their responsibilities under Titles I, II, III, IV, and V of the ADA in
                  employment, public services, public accommodations, telecommunications, and other
                  provisions, many of which are subject to regulations issued by other Federal agencies.
        Flow Down

        The Civil Rights requirements flow down to all third party contractors and their contracts at
every tier.

        Model Clause/Language

        Every federally funded contract must include an Equal Opportunity clause. Recipients can draw
on the following language for inclusion in their federally funded procurements.


                                         Civil Rights and Equal Opportunity

                 The AGENCY is an Equal Opportunity Employer. As such, the AGENCY agrees to comply
              with all applicable Federal civil rights laws and implementing regulations.       Apart from
              inconsistent requirements imposed by Federal laws or regulations, the AGENCY agrees to
              comply with the requirements of 49 U.S.C. § 5323(h) (3) by not using any Federal assistance
              awarded by FTA to support procurements using exclusionary or discriminatory specifications.

                 Under this Agreement, the Contractor shall at all times comply with the following
              requirements and shall include these requirements in each subcontract entered into as part
              thereof.

              1. Nondiscrimination. In accordance with Federal transit law at 49 U.S.C. § 5332, the
                  Contractor agrees that it will not discriminate against any employee or applicant for




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                                                                          ATTACHMENT 4.F
         employment because of race, color, religion, national origin, sex, disability, or age. In
         addition, the Contractor agrees to comply with applicable Federal implementing
         regulations and other implementing requirements FTA may issue.
      2. Race, Color, Religion, National Origin, Sex. In accordance with Title VII of the Civil
         Rights Act, as amended, 42 U.S.C. § 2000e et seq., and Federal transit laws at 49 U.S.C. §
         5332, the Contractor agrees to comply with all applicable equal employment
         opportunity requirements of U.S. Department of Labor (U.S. DOL) regulations, "Office of
         Federal Contract Compliance Programs, Equal Employment Opportunity, Department of
         Labor," 41 C.F.R. chapter 60, and Executive Order No. 11246, "Equal Employment
         Opportunity in Federal Employment," September 24, 1965, 42 U.S.C. § 2000e note, as
         amended by any later Executive Order that amends or supersedes it, referenced in 42
         U.S.C. § 2000e note. The Contractor agrees to take affirmative action to ensure that
         applicants are employed, and that employees are treated during employment, without
         regard to their race, color, religion, national origin, or sex (including sexual orientation
         and gender identity). Such action shall include, but not be limited to, the following:
         employment, promotion, demotion or transfer, recruitment or recruitment advertising,
         layoff or termination; rates of pay or other forms of compensation; and selection for
         training, including apprenticeship. In addition, the Contractor agrees to comply with any
         implementing requirements FTA may issue.
      3. Age. In accordance with the Age Discrimination in Employment Act, 29 U.S.C. §§ 621-
         634, U.S. Equal Employment Opportunity Commission (U.S. EECO) regulations, “Age
         Discrimination in Employment Act,” 29 C.F.R. part 1625, the Age Discrimination Act of
         1975, as amended, 42 U.S.C. § 6101 et seq., U.S. Health and Human Services regulations,
         “Nondiscrimination on the Basis of Age in Programs or Activities Receiving Federal
         Financial Assistance,” 45 C.F.R. part 90, and Federal transit law at 49 U.S.C. § 5332, the
         Contractor agrees to refrain from discrimination against present and prospective
         employees for reason of age. In addition, the Contractor agrees to comply with any
         implementing requirements FTA may issue.
      4. Disabilities. In accordance with section 504 of the Rehabilitation Act of 1973, as
         amended, 29 U.S.C. § 794, the Americans with Disabilities Act of 1990, as amended, 42
         U.S.C. § 12101 et seq., the Architectural Barriers Act of 1968, as amended, 42 U.S.C. §



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         4151 et seq., and Federal transit law at 49 U.S.C. § 5332, the Contractor agrees that it
         will not discriminate against individuals on the basis of disability.   In addition, the
         Contractor agrees to comply with any implementing requirements FTA may issue.




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                                                                            ATTACHMENT 4.F
                         A.9     DISADVANTAGED BUSINESS ENTERPRISE (DBE)

                                                 49 C.F.R. part 26

        Background and Applicability

        The Disadvantaged Business Enterprise (DBE) program applies to FTA recipients receiving
planning, capital and/or operating assistance that will award prime contracts (excluding transit vehicle
purchases) exceeding $250,000 in FTA funds in a Federal fiscal year.         All FTA recipients above this
threshold must submit a DBE program and overall triennial goal for DBE participation. The overall goal
reflects the anticipated amount of DBE participation on DOT-assisted contracts.         As part of its DBE
program, FTA recipients must require that each transit vehicle manufacturer (TVM), as a condition of
being authorized to bid or propose on FTA assisted transit vehicle procurements, certify that it has
complied with the requirements of 49 C.F.R. § 26.49. Only those transit vehicle manufacturers listed on
FTA's certified list of Transit Vehicle Manufacturers, or that have submitted a goal methodology to FTA
that has been approved or has not been disapproved at the time of solicitation, are eligible to bid.

        FTA recipients must meet the maximum feasible portion of their overall goal using race-neutral
methods. Where appropriate, however, recipients are responsible for establishing DBE contract goals
on individual DOT-assisted contracts. FTA recipients may use contract goals only on those DOT-assisted
contracts that have subcontracting responsibilities. See 49 C.F.R. § 26.51(e). Furthermore, while FTA
recipients are not required to set a contract goal on every DOT-assisted contract, they are responsible
for achieving their overall program goals by administering their DBE program in good faith.

        FTA recipients and third party contractors can obtain information about the DBE program at the
following website locations:

        Federal Transit Administration website Disadvantaged Business Enterprise page click here

        Department of Transportation website Disadvantaged Business Enterprise Program click here

        Flow Down




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        The DBE contracting requirements flow down to all third party contractors and their contracts at
every tier. It is the recipient’s and prime contractor’s responsibility to ensure the DBE requirements are
applied across the board to all subrecipients/contractors/subcontractors. Should a subcontractor fail to
comply with the DBE regulations, FTA would look to the recipient to make sure it intervenes to monitor
compliance. The onus for compliance is on the recipient.

        Clause Language

        For all DOT-assisted contracts, each FTA recipient must include assurances that third party
contractors will comply with the DBE program requirements of 49 C.F.R. part 26, when applicable. The
following contract clause is required in all DOT-assisted prime and subcontracts:

                        The contractor, subrecipient or subcontractor shall not discriminate on the basis
                of race, color, national origin, or sex in the performance of this contract. The contractor
                shall carry out applicable requirements of 49 C.F.R. part 26 in the award and
                administration of DOT-assisted contracts. Failure by the contractor to carry out these
                requirements is a material breach of this contract, which may result in the termination
                of this contract or such other remedy as the recipient deems appropriate, which may
                include, but is not limited to:

                (1) Withholding monthly progress payments;

                (2) Assessing sanctions;

                (3) Liquidated damages; and/or

                (4) Disqualifying the contractor from future bidding as non-responsible. 49 C.F.R. §
                26.13(b).

        Further, recipients must establish a contract clause to require prime contractors to pay
subcontractors for satisfactory performance of their contracts no later than 30 days from receipt of each
payment the recipient makes to the prime contractor. 49 C.F.R. § 26.29(a). Finally, for contracts with
defined DBE contract goals, each FTA recipient must include in each prime contract a provision stating
that the contractor shall utilize the specific DBEs listed unless the contractor obtains the recipient’s
written consent; and that, unless the recipient’s consent is provided, the contractor shall not be entitled




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to any payment for work or material unless it is performed or supplied by the listed DBE. 49 C.F.R. §
26.53(f) (1).

        As an additional resource, recipients can draw on the following language for inclusion in their
federally funded procurements.

                                                    Overview

        It is the policy of the AGENCY and the United States Department of Transportation (“DOT”) that
Disadvantaged Business Enterprises (“DBE’s”), as defined herein and in the Federal regulations
published at 49 C.F.R. part 26, shall have an equal opportunity to participate in DOT-assisted contracts.
It is also the policy of the AGENCY to:

        1. Ensure nondiscrimination in the award and administration of DOT-assisted contracts;
        2. Create a level playing field on which DBE’s can compete fairly for DOT-assisted contracts;
        3. Ensure that the DBE program is narrowly tailored in accordance with applicable law;
        4. Ensure that only firms that fully meet 49 C.F.R. part 26 eligibility standards are permitted to
                participate as DBE’s;
        5. Help remove barriers to the participation of DBEs in DOT assisted contracts;
        6. To promote the use of DBEs in all types of federally assisted contracts and procurement
                activities; and
        7. Assist in the development of firms that can compete successfully in the marketplace outside
                the DBE program.
        This Contract is subject to 49 C.F.R. part 26.       Therefore, the Contractor must satisfy the
requirements for DBE participation as set forth herein. These requirements are in addition to all other
equal opportunity employment requirements of this Contract.                The AGENCY shall make all
determinations with regard to whether or not a Bidder/Offeror is in compliance with the requirements
stated herein. In assessing compliance, the AGENCY may consider during its review of the
Bidder/Offeror’s submission package, the Bidder/Offeror’s documented history of non-compliance with
DBE requirements on previous contracts with the AGENCY.

                                               Contract Assurance




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        The Contractor, subrecipient or subcontractor shall not discriminate on the basis of race, color,
national origin, or sex in the performance of this Contract. The Contractor shall carry out applicable
requirements of 49 C.F.R. part 26 in the award and administration of DOT-assisted contracts. Failure by
the Contractor to carry out these requirements is a material breach of this Contract, which may result in
the termination of this Contract or such other remedy as the AGENCY deems appropriate.

        DBE Participation

        For the purpose of this Contract, the AGENCY will accept only DBE’s who are:

        1.      Certified, at the time of bid opening or proposal evaluation, by the [certifying agency or
                the Unified Certification Program (UCP)]; or

        2.      An out-of-state firm who has been certified by either a local government, state
                government or Federal government entity authorized to certify DBE status or an agency
                whose DBE certification process has received FTA approval; or

        3.      Certified by another agency approved by the AGENCY.

        DBE Participation Goal

        The DBE participation goal for this Contract is set at            %. This goal represents those
elements of work under this Contract performed by qualified Disadvantaged Business Enterprises for
amounts totaling not less than            % of the total Contract price. Failure to meet the stated goal at
the time of proposal submission may render the Bidder/Offeror non-responsive.

                             Proposed Submission
        Each Bidder/Offeror, as part of its submission, shall supply the following information:

        1.      A completed DBE Utilization Form (see below) that indicates the percentage and dollar
                value of the total bid/contract amount to be supplied by Disadvantaged Business
                Enterprises under this Contract.

        2.      A list of those qualified DBE’s with whom the Bidder/Offeror intends to contract for the
                performance of portions of the work under the Contract, the agreed price to be paid to

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                                                                                 ATTACHMENT 4.F
                each DBE for work, the Contract items or parts to be performed by each DBE, a
                proposed timetable for the performance or delivery of the Contract item, and other
                information as required by the DBE Participation Schedule (see below). No work shall
                be included in the Schedule that the Bidder/Offeror has reason to believe the listed DBE
                will subcontract, at any tier, to other than another DBE. If awarded the Contract, the
                Bidder/Offeror may not deviate from the DBE Participation Schedule submitted in
                response to the bid. Any subsequent changes and/or substitutions of DBE firms will
                require review and written approval by the AGENCY.
        3.      An original DBE Letter of Intent (see below) from each DBE listed in the DBE
                Participation Schedule.

        4.      An original DBE Affidavit (see below) from each DBE stating that there has not been any
                change in its status since the date of its last certification.

        Good Faith Efforts

        If the Bidder/Offeror is unable to meet the goal set forth above (DBE Participation Goal), the
AGENCY will consider the Bidder/Offeror’s documented good faith efforts to meet the goal in
determining responsiveness.       The types of actions that the AGENCY will consider as part of the
Bidder/Offeror’s good faith efforts include, but are not limited to, the following:

        1.      Documented communication with the AGENCY’s DBE Coordinator (questions of IFB or
                RFP requirements, subcontracting opportunities, appropriate certification, will be
                addressed in a timely fashion);
        2.      Pre-bid meeting attendance. At the pre-bid meeting, the AGENCY generally informs
                potential Bidder/Offeror’s of DBE subcontracting opportunities;
        3.      The Bidder/Offeror’s own solicitations to obtain DBE involvement in general circulation
                media, trade association publication, minority-focus media and other reasonable and
                available means within sufficient time to allow DBEs to respond to the solicitation;
        4.      Written notification to DBE’s encouraging participation in the proposed Contract; and
        5.      Efforts made to identify specific portions of the work that might be performed by DBE’s.




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        The Bidder/Offeror shall provide the following details, at a minimum, of the specific efforts it
made to negotiate in good faith with DBE’s for elements of the Contract:

        1.      The names, addresses, and telephone numbers of DBE’s that were contacted;
        2.      A description of the information provided to targeted DBE’s regarding the specifications
                and bid proposals for portions of the work;
        3.      Efforts made to assist DBE’s contacted in obtaining bonding or insurance required by the
                Bidder or the Authority.
        Further, the documentation of good faith efforts must include copies of each DBE and non-DBE
subcontractor quote submitted when a non-DBE subcontractor was selected over a DBE for work on the
contract. 49 C.F.R. § 26.53(b) (2) (VI). In determining whether a Bidder has made good faith efforts, the
Authority may take into account the performance of other Bidders in meeting the Contract goals. For
example, if the apparent successful Bidder failed to meet the goal, but meets or exceeds the average
DBE participation obtained by other Bidders, the Authority may view this as evidence of the Bidder
having made good faith efforts.

        Administrative Reconsideration

        Within five (5) business days of being informed by the AGENCY that it is not responsive or
responsible because it has not documented sufficient good faith efforts, the Bidder/Offeror may request
administrative reconsideration.    The Bidder should make this request in writing to the AGENCY’s
[Contact Name]. The [Contact Name] will forward the Bidder/Offeror’s request to a reconsideration
official who will not have played any role in the original determination that the Bidder/Offeror did not
document sufficient good faith efforts.

        As part of this reconsideration, the Bidder/Offeror will have the opportunity to provide written
documentation or argument concerning the issue of whether it met the goal or made adequate good
faith efforts to do so. The Bidder/Offeror will have the opportunity to meet in person with the assigned
reconsideration official to discuss the issue of whether it met the goal or made adequate good faith
efforts to do so. The AGENCY will send the Bidder/Offeror a written decision on its reconsideration,
explaining the basis for finding that the Bidder/Offeror did or did not meet the goal or make adequate




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good faith efforts to do so. The result of the reconsideration process is not administratively appealable
to the Department of Transportation.

        Termination of DBE Subcontractor

        The Contractor shall not terminate the DBE subcontractor(s) listed in the DBE Participation
Schedule (see below) without the AGENCY’s prior written consent.         The AGENCY may provide such
written consent only if the Contractor has good cause to terminate the DBE firm. Before transmitting a
request to terminate, the Contractor shall give notice in writing to the DBE subcontractor of its intent to
terminate and the reason for the request. The Contractor shall give the DBE five days to respond to the
notice and advise of the reasons why it objects to the proposed termination. When a DBE subcontractor
is terminated or fails to complete its work on the Contract for any reason, the Contractor shall make
good faith efforts to find another DBE subcontractor to substitute for the original DBE and immediately
notify the AGENCY in writing of its efforts to replace the original DBE. These good faith efforts shall be
directed at finding another DBE to perform at least the same amount of work under the Contract as the
DBE that was terminated, to the extent needed to meet the Contract goal established for this
procurement. Failure to comply with these requirements will be in accordance with Section 8 below
(Sanctions for Violations).

        Continued Compliance

        The AGENCY shall monitor the Contractor’s DBE compliance during the life of the Contract. In
the event this procurement exceeds ninety (90) days, it will be the responsibility of the Contractor to
submit quarterly written reports to the AGENCY that summarize the total DBE value for this Contract.
These reports shall provide the following details:


        •       DBE utilization established for the Contract;
        •       Total value of expenditures with DBE firms for the quarter;
        •       The value of expenditures with each DBE firm for the quarter by race and gender;
        •       Total value of expenditures with DBE firms from inception of the Contract; and
        •       The value of expenditures with each DBE firm from the inception of the Contract by race
                and gender.


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        Reports and other correspondence must be submitted to the DBE Coordinator with copies
provided to the [Agency Name1] and [Agency Name2]. Reports shall continue to be submitted quarterly
until final payment is issued or until DBE participation is completed.

               The successful Bidder/Offeror shall permit:


        •       The AGENCY to have access to necessary records to examine information as the AGENCY
                deems appropriate for the purpose of investigating and determining compliance with
                this provision, including, but not limited to, records of expenditures, invoices, and
                contract between the successful Bidder/Offeror and other DBE parties entered into
                during the life of the Contract.


        •       The authorized representative(s) of the AGENCY, the U.S. Department of Transportation,
                the Comptroller General of the United States, to inspect and audit all data and record of
                the Contractor relating to its performance under the Disadvantaged Business Enterprise
                Participation provision of this Contract.


        •       All data/record(s) pertaining to DBE shall be maintained as stated in Section [insert
                reference to record keeping requirements for the Project.]

        Sanctions for Violations

        If at any time the AGENCY has reason to believe that the Contractor is in violation of its
obligations under this Agreement or has otherwise failed to comply with terms of this Section, the
AGENCY may, in addition to pursuing any other available legal remedy, commence proceedings, which
may include but are not limited to, the following:


        •       Suspension of any payment or part due the Contractor until such time as the issues
                concerning the Contractor’s compliance are resolved; and
        •       Termination or cancellation of the Contract, in whole or in part, unless the successful
                Contractor is able to demonstrate within a reasonable time that it is in compliance with
                the DBE terms stated herein.



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                                                                             ATTACHMENT 4.F
                                                DBE UTILIZATION FORM

                     The undersigned Bidder/Offeror has satisfied the requirements of the solicitation in
           the following manner (please check the appropriate space):

                               The Bidder/Offer is committed to a minimum of            _% DBE utilization
           on this contract.

                               The Bidder/Offeror (if unable to meet the DBE goal of       %)           is
           committed to a minimum of                     % DBE utilization on this contract and submits
           documentation demonstrating good faith efforts.




                                             DBE PARTICIPATION SCHEDULE

        The Bidder/Offeror shall complete the following information for all DBE’s participating in the
contract that comprises the DBE Utilization percent stated in the DBE Utilization Form.                The
Bidder/Offeror shall also furnish the name and telephone number of the appropriate contact person
should the Authority have any questions in relation to the information furnished herein.



        DBE IDENTIFICATION AND INFORMATION FORM
                                   Contact           Participation        Description
         Name and                                                                                Race and
                                 Name and        Percent (Of Total     Of Work To Be
           Address                                                                          Gender of Firm
                       Telephone Number           Contract Value)         Performed




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                                      A.10   EMPLOYEE PROTECTIONS

                                                 49 U.S.C. § 5333(a)
                                              40 U.S.C. §§ 3141 – 3148
                                                   29 C.F.R. part 5
                                                   18 U.S.C. § 874
                                                   29 C.F.R. part 3
                                               40 U.S.C. §§3701-3708
                                                 29 C.F.R. part 1926

         Applicability to Contracts

         Certain employee protections apply to all FTA funded contracts with particular emphasis on
construction related projects. The recipient will ensure that each third party contractor complies with
all federal laws, regulations, and requirements, including:

    1. Prevailing Wage Requirements
             a. Federal transit laws, specifically 49 U.S.C. § 5333(a), (FTA’s “Davis-Bacon Related Act”);
             b. The Davis-Bacon Act, 40 U.S.C. §§ 3141 – 3144, 3146, and 3147; and
             c. U.S. DOL regulations, “Labor Standards Provisions Applicable to Contracts Covering
                 Federally Financed and Assisted Construction (also Labor Standards Provisions
                 Applicable to Non-construction Contracts Subject to the Contract Work Hours and
                 Safety Standards Act),” 29 C.F.R. part 5.
    2.   “Anti-Kickback” Prohibitions
             a. Section 1 of the Copeland “Anti-Kickback” Act, as amended, 18 U.S.C. § 874;
             b. Section 2 of the Copeland “Anti-Kickback” Act, as amended, 40 U.S.C. § 3145; and
             c. U.S. DOL regulations, “Contractors and Subcontractors on Public Building or Public Work
                 Financed in Whole or in part by Loans or Grants from the United States,” 29 C.F.R. part
                 3.
    3. Contract Work Hours and Safety Standards
             a. Contract Work Hours and Safety Standards Act, as amended, 40 U.S.C. §§ 3701-3708;
                 and supplemented by Department of Labor (DOL) regulations, 29 C.F.R. part 5; and


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                                                                             ATTACHMENT 4.F
            b. U.S. DOL regulations, “Safety and Health Regulations for Construction,” 29 C.F.R. part
                1926.
        Flow Down

        These requirements extend to all third party contractors and their contracts at every tier and
subrecipients and their subcontracts at every tier.      The Davis-Bacon Act and the Copeland “Anti-
Kickback” Act apply to all prime construction, alteration or repair contracts in excess of $2,000. The
Contract Work Hours and Safety Standards Act apply to all FTA funded contracts in excess of $100,000
that involve the employment of mechanics or laborers.

        Model Clause/Language

        The recipient must place a copy of the current prevailing wage determination issued by the
Department of Labor in each solicitation. The decision to award a contract or subcontract must be
conditioned upon the acceptance of the wage determination. In addition, recipients can draw on the
following language for inclusion in their federally funded procurements.


                                       Prevailing Wage and Anti-Kickback

        For all prime construction, alteration or repair contracts in excess of $2,000 awarded by FTA, the
Contractor shall comply with the Davis-Bacon Act and the Copeland “Anti-Kickback” Act. Under 49
U.S.C. § 5333(a), prevailing wage protections apply to laborers and mechanics employed on FTA assisted
construction, alteration, or repair projects. The Contractor will comply with the Davis-Bacon Act,
40 U.S.C. §§ 3141-3144, and 3146-3148 as supplemented by DOL regulations at 29 C.F.R. part 5, “Labor
Standards Provisions Applicable to Contracts Governing Federally Financed and Assisted Construction.”
In accordance with the statute, the Contractor shall pay wages to laborers and mechanics at a rate not
less than the prevailing wages specified in a wage determination made by the Secretary of Labor. In
addition, the Contractor agrees to pay wages not less than once a week. The Contractor shall also
comply with the Copeland “Anti-Kickback” Act (40 U.S.C. § 3145), as supplemented by DOL regulations
at 29 C.F.R. part 3, “Contractors and Subcontractors on Public Building or Public Work Financed in Whole
or in part by Loans or Grants from the United States.” The Contractor is prohibited from inducing, by any
means, any person employed in the construction, completion, or repair of public work, to give up any
part of the compensation to which he or she is otherwise entitled.

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                                                                              ATTACHMENT 4.F
                                   Contract Work Hours and Safety Standards

        For all contracts in excess of $100,000 that involve the employment of mechanics or laborers,
the Contractor shall comply with the Contract Work Hours and Safety Standards Act (40 U.S.C. §§ 3701-
3708), as supplemented by the DOL regulations at 29 C.F.R. part 5. Under 40 U.S.C. § 3702 of the Act,
the Contractor shall compute the wages of every mechanic and laborer, including watchmen and guards,
on the basis of a standard work week of 40 hours.         Work in excess of the standard work week is
permissible provided that the worker is compensated at a rate of not less than one and a half times the
basic rate of pay for all hours worked in excess of 40 hours in the work week. The requirements of 40
U.S.C. § 3704 are applicable to construction work and provide that no laborer or mechanic be required
to work in surroundings or under working conditions which are unsanitary, hazardous or dangerous.
These requirements do not apply to the purchase of supplies or materials or articles ordinarily available
on the open market, or to contracts for transportation or transmission of intelligence.

        In the event of any violation of the clause set forth herein, the Contractor and any subcontractor
responsible therefor shall be liable for the unpaid wages. In addition, the Contractor and subcontractor
shall be liable to the United States (in the case of work done under contract for the District of Columbia
or a territory, to such District or to such territory), for liquidated damages. Such liquidated damages
shall be computed with respect to each individual laborer or mechanic, including watchmen and guards,
employed in violation of this clause in the sum of $10 for each calendar day on which such individual
was required or permitted to work in excess of the standard workweek of forty hours without payment
of the overtime wages required by this clause.

        The FTA shall upon its own action or upon written request of an authorized representative of
the Department of Labor withhold or cause to be withheld, from any moneys payable on account of
work performed by the Contractor or subcontractor under any such contract or any other Federal
contract with the same prime Contractor, or any other federally-assisted contract subject to the
Contract Work Hours and Safety Standards Act, which is held by the same prime Contractor, such sums
as may be determined to be necessary to satisfy any liabilities of such Contractor or subcontractor for
unpaid wages and liquidated damages as provided in this section.




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                                                                                ATTACHMENT 4.F
         The Contractor or subcontractor shall insert in any subcontracts the clauses set forth in this
section and also a clause requiring the subcontractors to include these clauses in any lower tier
subcontracts. The prime Contractor shall be responsible for compliance by any subcontractor or lower
tier subcontractor with the clauses set forth in this agreement.



               Contract Work Hours and Safety Standards for Awards Not Involving Construction

         The Contractor shall comply with all federal laws, regulations, and requirements providing wage
and hour protections for non-construction employees, in accordance with 40 U.S.C. § 3702, Contract
Work Hours and Safety Standards Act, and other relevant parts of that Act, 40 U.S.C. § 3701 et seq., and
U.S. DOL regulations, “Labor Standards Provisions Applicable to Contracts Covering Federally Financed
and Assisted Construction (also Labor Standards Provisions Applicable to Non-construction Contracts
Subject to the Contract Work Hours and Safety Standards Act),” 29 C.F.R. part 5.

         The Contractor shall maintain payrolls and basic payroll records during the course of the work
and shall preserve them for a period of three (3) years from the completion of the contract for all
laborers and mechanics, including guards and watchmen, working on the contract. Such records shall
contain the name and address of each such employee, social security number, correct classifications,
hourly rates of wages paid, daily and weekly number of hours worked, deductions made, and actual
wages paid.

         Such records maintained under this paragraph shall be made available by the Contractor for
inspection, copying, or transcription by authorized representatives of the FTA and the Department of
Labor, and the Contractor will permit such representatives to interview employees during working hours
on the job.

         The contractor shall require the inclusion of the language of this clause within subcontracts of all
tiers.




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                                                                             ATTACHMENT 4.F
                                      A.11    ENERGY CONSERVATION

                                                42 U.S.C. 6321 et seq.
                                             49 C.F.R. part 622, subpart C



        Applicability to Contracts

        The Energy Policy and Conservation requirements are applicable to all contracts. The Recipient
agrees to, and assures that its subrecipients, if any, will comply with the mandatory energy standards
and policies of its state energy conservation plans under the Energy Policy and Conservation Act, as
amended, 42 U.S.C. § 6201 et seq., and perform an energy assessment for any building constructed,
reconstructed, or modified with federal assistance as required under FTA regulations, “Requirements for
Energy Assessments,” 49 C.F.R. part 622, subpart C.

        Flow Down

        These requirements extend to all third party contractors and their contracts at every tier and
subrecipients and their subcontracts at every tier.

        Model Clause/Language

        No specific clause is recommended in the regulations because the Energy Conservation
requirements are so dependent on the state energy conservation plan. Recipients can draw on the
following language for inclusion in their federally funded procurements.

                                                Energy Conservation

        The contractor agrees to comply with mandatory standards and policies relating to energy
efficiency, which are contained in the state energy conservation plan issued in compliance with the
Energy Policy and Conservation Act.




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                                                                                ATTACHMENT 4.F
                                           A.12     FLY AMERICA

                                                  49 U.S.C. § 40118
                                                41 C.F.R. part 301-10
                                                  48 C.F.R. part 47.4


        Applicability to Contracts

        The Fly America requirements apply to the transportation of persons or property, by air,
between a place in the U.S. and a place outside the U.S., or between places outside the U.S., when the
FTA will participate in the costs of such air transportation. Transportation on a foreign air carrier is
permissible when provided by a foreign air carrier under a code share agreement when the ticket
identifies the U.S. air carrier’s designator code and flight number. Transportation by a foreign air carrier
is also permissible if there is a bilateral or multilateral air transportation agreement to which the U.S.
Government and a foreign government are parties and which the U.S. DOT has determined meets the
requirements of the Fly America Act.

        Flow Down Requirements

        The Fly America requirements flow down from FTA recipients and subrecipients to first tier
contractors who are responsible for ensuring that lower tier contractors and subcontractors are in
compliance.

        Model Clause/Language

        The relevant statutes and regulations do not require any specific clause or language that
recipients use in their third party contracts. A sample clause is provided for Federal contracts at 48 C.F.R.
52.247-63. Recipients can draw on the following language for inclusion in their federally funded
procurements.

        FTA proposes the following language, modified from the Federal clause.

                                             Fly America Requirements

            a) Definitions. As used in this clause--


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                          “International air transportation” means transportation by air between a place
                 in the United States and a place outside the United States or between two places both
                 of which are outside the United States.

                          “United States” means the 50 States, the District of Columbia, and outlying
                 areas.

                          “U.S.-flag air carrier” means an air carrier holding a certificate under 49 U.S.C.
                 Chapter 411.

            b)   When Federal funds are used to fund travel, Section 5 of the International Air
                 Transportation Fair Competitive Practices Act of 1974 (49 U.S.C. 40118) (Fly America
                 Act) requires contractors, recipients, and others use U.S.-flag air carriers for U.S.
                 Government-financed international air transportation of personnel (and their personal
                 effects) or property, to the extent that service by those carriers is available. It requires
                 the Comptroller General of the United States, in the absence of satisfactory proof of the
                 necessity for foreign-flag air transportation, to disallow expenditures from funds,
                 appropriated or otherwise established for the account of the United States, for
                 international air transportation secured aboard a foreign-flag air carrier if a U.S.-flag air
                 carrier is available to provide such services.
            c) If available, the Contractor, in performing work under this contract, shall use U.S.-flag
                 carriers for international air transportation of personnel (and their personal effects) or
                 property.
            d)   In the event that the Contractor selects a carrier other than a U.S.-flag air carrier for
                 international air transportation, the Contractor shall include a statement on vouchers
                 involving such transportation essentially as follows:
                                Statement of Unavailability of U.S.-Flag Air Carriers

        International air transportation of persons (and their personal effects) or property by U.S.-flag
air carrier was not available or it was necessary to use foreign-flag air carrier service for the following
reasons. See FAR § 47.403. [State reasons]:




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                                                                      ATTACHMENT 4.F
                                   (End of statement)




e) The Contractor shall include the substance of this clause, including this paragraph (e), in
    each subcontract or purchase under this contract that may involve international air
    transportation.
                                     (End of Clause)




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                                                                              ATTACHMENT 4.F
                      A.13    GOVERNMENT-WIDE DEBARMENT AND SUSPENSION

                                                 2 C.F.R. part 180
                                                 2 C.F.R part 1200
                                                2 C.F.R. § 200.213
                                          2 C.F.R. part 200 Appendix II (I)
                                              Executive Order 12549
                                              Executive Order 12689



        Background and Applicability

        A contract award (of any tier) in an amount expected to equal or exceed $25,000 or a contract
award at any tier for a federally required audit (irrespective of the contract amount) must not be made
to parties listed on the government-wide exclusions in the System for Award Management (SAM), in
accordance with the OMB guidelines at 2 C.F.R. part 180. The Excluded Parties List System in SAM
contains the names of parties debarred, suspended, or otherwise excluded by agencies, as well as
parties declared ineligible under statutory or regulatory authority other than Executive Order 12549.

        Recipients, contractors, and subcontractors (at any level) that enter into covered transactions
are required to verify that the entity (as well as its principals and affiliates) with which they propose to
contract or subcontract is not excluded or disqualified. This is done by: (a) checking the SAM exclusions;
(b) collecting a certification from that person; or (c) adding a clause or condition to the contract or
subcontract.

        Flow Down

        Recipients, contractors, and subcontractors who enter into covered transactions with a
participant at the next lower level, must require that participant to: (a) comply with subpart C of
2 C.F.R. part 180, as supplemented by 2 C.F.R. part 1200; and (b) pass the requirement to comply with
subpart C of 2 C.F.R. part 180 to each person with whom the participant enters into a covered
transaction at the next lower tier.




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                                                                               ATTACHMENT 4.F
        Model Clause/Language

        There is no required language for the Debarment and Suspension clause. Recipients can draw
on the following language for inclusion in their federally funded procurements.

                         Debarment, Suspension, Ineligibility and Voluntary Exclusion

        The Contractor shall comply and facilitate compliance with U.S. DOT regulations,
“Nonprocurement Suspension and Debarment,” 2 C.F.R. part 1200, which adopts and supplements the
U.S. Office of Management and Budget (U.S. OMB) “Guidelines to Agencies on Governmentwide
Debarment and Suspension (Nonprocurement),” 2 C.F.R. part 180.             These provisions apply to each
contract at any tier of $25,000 or more, and to each contract at any tier for a federally required audit
(irrespective of the contract amount), and to each contract at any tier that must be approved by an FTA
official irrespective of the contract amount.     As such, the Contractor shall verify that its principals,
affiliates, and subcontractors are eligible to participate in this federally funded contract and are not
presently declared by any Federal department or agency to be:

            a) Debarred from participation in any federally assisted Award;
            b) Suspended from participation in any federally assisted Award;
            c) Proposed for debarment from participation in any federally assisted Award;
            d) Declared ineligible to participate in any federally assisted Award;
            e) Voluntarily excluded from participation in any federally assisted Award; or
            f) Disqualified from participation in ay federally assisted Award.
        By signing and submitting its bid or proposal, the bidder or proposer certifies as follows:

        The certification in this clause is a material representation of fact relied upon by the AGENCY. If
it is later determined by the AGENCY that the bidder or proposer knowingly rendered an erroneous
certification, in addition to remedies available to the AGENCY, the Federal Government may pursue
available remedies, including but not limited to suspension and/or debarment. The bidder or proposer
agrees to comply with the requirements of 2 C.F.R. part 180, subpart C, as supplemented by 2 C.F.R. part
1200, while this offer is valid and throughout the period of any contract that may arise from this offer.
The bidder or proposer further agrees to include a provision requiring such compliance in its lower tier
covered transactions.


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                                                                                ATTACHMENT 4.F
                                     A.14     LOBBYING RESTRICTIONS

                                                   31 U.S.C. § 1352
                                                  2 C.F.R. § 200.450
                                            2 C.F.R. part 200 appendix II (J)
                                                   49 C.F.R. part 20



        Applicability to Contracts

        The lobbying requirements apply to all contracts and subcontracts of $100,000 or more at any
tier under a Federal grant. If any funds other than Federal appropriated funds have been paid or will be
paid to any person for influencing or attempting to influence an officer or employee of any agency, a
Member of Congress, an officer or employee of Congress, or an employee of a Member of Congress in
connection with this agreement, the payor must complete and submit the Standard Form-LLL,
“Disclosure Form to Report Lobbying,” in accordance with its instructions.

        Flow Down

        The lobbying requirements mandate the maximum flow down pursuant to Byrd Anti-Lobbying
Amendment, 31 U.S.C. § 1352(b)(5).

        Model Clause/Language

        49 C.F.R. part 20, Appendices A and B provide specific language for inclusion in FTA funded third
party contracts as follows:

                                                Lobbying Restrictions

        The undersigned certifies, to the best of his or her knowledge and belief, that:

            1. No Federal appropriated funds have been paid or will be paid, by or on behalf of the
                undersigned, to any person for influencing or attempting to influence an officer or
                employee of an agency, a Member of Congress, an officer or employee of Congress, or
                an employee of a Member of Congress in connection with the awarding of any Federal
                contract, the making of any Federal grant, the making of any Federal loan, the entering

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                 into of any cooperative agreement, and the extension, continuation, renewal,
                 amendment, or modification of any Federal contract, grant, loan, or cooperative
                 agreement.
            2.   If any funds other than Federal appropriated funds have been paid or will be paid to
                 any person for influencing or attempting to influence an officer or employee of any
                 agency, a Member of Congress, an officer or employee of Congress, or an employee of a
                 Member of Congress in connection with this Federal contract, grant, loan, or
                 cooperative agreement, the undersigned shall complete and submit Standard Form-LLL,
                 “Disclosure Form to Report Lobbying,” in accordance with its instructions.
            3. The undersigned shall require that the language of this certification be included in the
                 award documents for all sub-awards at all tiers (including subcontracts, sub-grants, and
                 contracts under grants, loans, and cooperative agreements) and that all subrecipients
                 shall certify and disclose accordingly.
        This certification is a material representation of fact upon which reliance was placed when this
transaction was made or entered into. Submission of this certification is a prerequisite for making or
entering into this transaction imposed by section 1352, title 31, U.S. Code. Any person who fails to file
the required certification shall be subject to a civil penalty of not less than $10,000 and not more than
$100,000 for each such failure.

                                          Signature of Contractor's Authorized Official

                                          Name and Title of Contractor's Authorized Official

                                           Date




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                      A.15     NO GOVERNMENT OBLIGATION TO THIRD PARTIES



        Applicability to Contracts

        The No Obligation clause applies to all third party contracts that are federally funded.



        Flow Down

        The No Obligation clause extends to all third party contractors and their contracts at every tier
and subrecipients and their subcontracts at every tier.

        Model Clause/Language

        There is no required language for the No Obligations clause.          Recipients can draw on the
following language for inclusion in their federally funded procurements.



                              No Federal Government Obligation to Third Parties.

        The Recipient and Contractor acknowledge and agree that, notwithstanding any concurrence by
the Federal Government in or approval of the solicitation or award of the underlying Contract, absent
the express written consent by the Federal Government, the Federal Government is not a party to this
Contract and shall not be subject to any obligations or liabilities to the Recipient, Contractor or any
other party (whether or not a party to that contract) pertaining to any matter resulting from the
underlying Contract. The Contractor agrees to include the above clause in each subcontract financed in
whole or in part with Federal assistance provided by the FTA. It is further agreed that the clause shall
not be modified, except to identify the subcontractor who will be subject to its provisions.




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                             A.16     PATENT RIGHTS AND RIGHTS IN DATA

                                         2 C.F.R. part 200, Appendix II (F)
                                                 37 C.F.R. part 401

        Applicability to Contracts

        If the recipient or subrecipient wishes to enter into a contract (or subcontract) with a small
business firm or nonprofit organization for the performance of experimental, developmental, or
research work under the FTA award, the recipient or subrecipient must comply with the requirements of
37 C.F.R. part 401, “Rights to Inventions Made by Nonprofit Organizations and Small Business Firms
Under Government Grants, Contracts and Cooperative Agreements,” and any implementing regulations
issued by the awarding agency.       Except in the case of an “other agreement” in which the Federal
Government has agreed to take more limited rights, the Federal Government is entitled to a non-
exclusive, royalty free license to use the resulting invention, or patent the invention for Federal
Government purposes. The FTA has the right to:

            1. Obtain, reproduce, publish, or otherwise use the data produced under a Federal award;
                and
            2. Authorize others to receive, reproduce, publish, or otherwise use such data for Federal

                purposes.
        Flow Down

        The Patent Rights and Rights in Data requirements flow down to all third party contractors and
their contracts at every tier that meet the definition of a research-type project under 37 U.S.C. § 401.2.

        Model Clause/Language

        Recipients can draw on language provided in 37 C.F.R. § 401.3 for appropriate Patent Rights and
Data Rights Clauses for use in their federally funded research, development, demonstration, or special
studies projects.   Recipients should consult legal counsel for guidance in developing an appropriate
Intellectual Property Agreement. At a minimum, recipients can include the following language in their
standard boilerplates.




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                                            Intellectual Property Rights

        This Project is funded through a Federal award with FTA for experimental, developmental, or
research work purposes. As such, certain Patent Rights and Data Rights apply to all subject data first
produced in the performance of this Contract.        The Contractor shall grant the AGENCY intellectual
property access and licenses deemed necessary for the work performed under this Agreement and in
accordance with the requirements of 37 C.F.R. part 401, “Rights to Inventions Made by Nonprofit
Organizations and Small Business Firms Under Government Grants, Contracts and Cooperative
Agreements,” and any implementing regulations issued by FTA or U.S. DOT. The terms of an intellectual
property agreement and software license rights will be finalized prior to execution of this Agreement
and shall, at a minimum, include the following restrictions: Except for its own internal use, the
Contractor may not publish or reproduce subject data in whole or in part, or in any manner or form, nor
may the Contractor authorize others to do so, without the written consent of FTA, until such time as FTA
may have either released or approved the release of such data to the public. This restriction on
publication, however, does not apply to any contract with an academic institution. For purposes of this
agreement, the term “subject data” means recorded information whether or not copyrighted, and that
is delivered or specified to be delivered as required by the Contract. Examples of “subject data” include,
but are not limited to computer software, standards, specifications, engineering drawings and
associated lists, process sheets, manuals, technical reports, catalog item identifications, and related
information, but do not include financial reports, cost analyses, or other similar information used for
performance or administration of the Contract.

            1.   The Federal Government reserves a royalty-free, non-exclusive and irrevocable license
                 to reproduce, publish, or otherwise use, and to authorize others to use for “Federal
                 Government Purposes,” any subject data or copyright described below. For “Federal
                 Government Purposes,” means use only for the direct purposes of the Federal
                 Government. Without the copyright owner’s consent, the Federal Government may not
                 extend its Federal license to any other party.
                     a. Any subject data developed under the Contract, whether or not a copyright has
                         been obtained; and




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         b. Any rights of copyright purchased by the Contractor using Federal assistance in
             whole or in part by the FTA.
2. Unless     FTA     determines   otherwise,   the   Contractor    performing    experimental,
     developmental, or research work required as part of this Contract agrees to permit FTA
     to make available to the public, either FTA’s license in the copyright to any subject data
     developed in the course of the Contract, or a copy of the subject data first produced
     under the Contract for which a copyright has not been obtained. If the experimental,
     developmental, or research work, which is the subject of this Contract, is not completed
     for any reason whatsoever, all data developed under the Contract shall become subject
     data as defined herein and shall be delivered as the Federal Government may direct.
3. Unless prohibited by state law, upon request by the Federal Government, the
     Contractor agrees to indemnify, save, and hold harmless the Federal Government, its
     officers, agents, and employees acting within the scope of their official duties against
     any liability, including costs and expenses, resulting from any willful or intentional
     violation by the Contractor of proprietary rights, copyrights, or right of privacy, arising
     out of the publication, translation, reproduction, delivery, use, or disposition of any data
     furnished under that contract. The Contractor shall be required to indemnify the Federal
     Government for any such liability arising out of the wrongful act of any employee,
     official, or agents of the Federal Government.
4.   Nothing contained in this clause on rights in data shall imply a license to the Federal
     Government under any patent or be construed as affecting the scope of any license or
     other right otherwise granted to the Federal Government under any patent.
5. Data developed by the Contractor and financed entirely without using Federal
     assistance provided by the Federal Government that has been incorporated into work
     required by the underlying Contract is exempt from the requirements herein, provided
     that the Contractor identifies those data in writing at the time of delivery of the
     Contract work.
6.    The Contractor agrees to include these requirements in each subcontract for
     experimental, developmental, or research work financed in whole or in part with
     Federal assistance.



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          A.17    PRE-AWARD AND POST-DELIVERY AUDITS OF ROLLING STOCK PURCHASES

                                              49 U.S.C. 5323(m)
                                               49 C.F.R. part 663



        Applicability to Contracts

       Recipients purchasing revenue service rolling stock with FTA funds must comply with the pre-
award and post-delivery audit requirements set forth in 49 U.S.C. 5323(m) and supplemented by 49
C.F.R. part 663. For more information about pre-award and post-delivery audit requirements, please go
to FTA’s Buy America page on its website.

       Flow Down

       There is no flow down requirement for Pre-Award and Post-Delivery Audits of Rolling Stock.

       Model Clause/Language

       Part 663 of Title 49, Code of Federal Regulations, does not contain specific language to be
included in third party contracts but does contain requirements applicable to subrecipients and third
party contractors. Recipients are advised to use the model certificates and language contained in the
audit handbook.    Additionally, recipients can draw on the following language for inclusion in their
federally funded procurements.
                               Pre-Award and Post-Delivery Audit Requirements

        The Contractor agrees to comply with 49 U.S.C. § 5323(m) and FTA's implementing regulation at
49 C.F.R. part 663. The Contractor shall comply with the Buy America certification(s) submitted with its
proposal/bid. The Contractor agrees to participate and cooperate in any pre-award and post-delivery
audits performed pursuant to 49 C.F.R. part 663 and related FTA guidance.




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                                                                              ATTACHMENT 4.F
       A.18    PROGRAM FRAUD AND FALSE OR FRAUDULENT STATEMENTS AND RELATED ACTS

                                              49 U.S.C. § 5323(l) (1)
                                              31 U.S.C. §§ 3801-3812
                                                 18 U.S.C. § 1001
                                                 49 C.F.R. part 31



        Applicability to Contracts

        The Program Fraud clause applies to all third party contracts that are federally funded.

        Flow Down

        The Program Fraud clause extends to all third party contractors and their contracts at every tier
and subrecipients and their subcontracts at every tier. These requirements flow down to contractors
and subcontractors who make, present, or submit covered claims and statements.

        Model Clause/Language

        There is no required language for the Program Fraud clause.           Recipients can draw on the
following language for inclusion in their federally funded procurements.



                       Program Fraud and False or Fraudulent Statements or Related Acts

        The Contractor acknowledges that the provisions of the Program Fraud Civil Remedies Act of
1986, as amended, 31 U.S.C. § 3801 et seq. and U.S. DOT regulations, "Program Fraud Civil Remedies,"
49 C.F.R. part 31, apply to its actions pertaining to this Project.     Upon execution of the underlying
contract, the Contractor certifies or affirms the truthfulness and accuracy of any statement it has made,
it makes, it may make, or causes to be made, pertaining to the underlying contract or the FTA assisted
project for which this contract work is being performed. In addition to other penalties that may be
applicable, the Contractor further acknowledges that if it makes, or causes to be made, a false, fictitious,
or fraudulent claim, statement, submission, or certification, the Federal Government reserves the right




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to impose the penalties of the Program Fraud Civil Remedies Act of 1986 on the Contractor to the extent
the Federal Government deems appropriate.

        The Contractor also acknowledges that if it makes, or causes to be made, a false, fictitious, or
fraudulent claim, statement, submission, or certification to the Federal Government under a contract
connected with a project that is financed in whole or in part with Federal assistance originally awarded
by FTA under the authority of 49 U.S.C. chapter 53, the Government reserves the right to impose the
penalties of 18 U.S.C. § 1001 and 49 U.S.C. § 5323(l) on the Contractor, to the extent the Federal
Government deems appropriate.

        The Contractor agrees to include the above two clauses in each subcontract financed in whole
or in part with Federal assistance provided by FTA. It is further agreed that the clauses shall not be
modified, except to identify the subcontractor who will be subject to the provisions.




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              A.19     PUBLIC TRANSPORTATION EMPLOYEE PROTECTIVE ARRANGEMENTS

                                               49 U.S.C. § 5333(b) (“13(c)”)
                                                    29 C.F.R. part 215



        Applicability to Contracts

        The Public Transportation Employee Protective Arrangements apply to each contract for transit
operations performed by employees of a Contractor recognized by FTA to be a transit operator.

        Flow Down

        The employee protective arrangements clause flows down to all third party contractors and
their contracts at every tier.

        Model Clause/Language

        There is no required language for the Public Transportation Employee Protective Arrangements
clause. Recipients can draw on the following language for inclusion in their federally funded
procurements.



                             Public Transportation Employee Protective Arrangements

        The Contractor agrees to comply with the following employee protective arrangements of 49
U.S.C. § 5333(b):

             1.   U.S. DOL Certification. Under this Contract or any Amendments thereto that involve
                  public transportation operations that are supported with federal assistance, a
                  certification issued by U.S. DOL is a condition of the Contract.
             2.   Special Warranty. When the Contract involves public transportation operations and is
                  supported with federal assistance appropriated or made available for 49 U.S.C. § 5311,
                  U.S. DOL will provide a Special Warranty for its Award, including its Award of federal
                  assistance under the Tribal Transit Program. The U.S. DOL Special Warranty is a
                  condition of the Contract.

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3. Special Arrangements.      The conditions of 49 U.S.C. § 5333(b) do not apply to
   Contractors providing public transportation operations pursuant to 49 U.S.C. § 5310.
   FTA reserves the right to make case-by-case determinations of the applicability of 49
   U.S.C. § 5333(b) for all transfers of funding authorized under title 23, United States Code
   (flex funds), and make other exceptions as it deems appropriate, and, in those instances,
   any special arrangements required by FTA will be incorporated herein as required.




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                                     A.20    RECYCLED PRODUCTS

                                                42 U.S.C. § 6962
                                               40 C.F.R. part 247
                                             2 C.F.R. part § 200.322



        Applicability to Contracts

        The Resource Conservation and Recovery Act, as amended, (42 U.S.C. § 6962 et seq.), requires
States and local governmental authorities to provide a competitive preference to products and services
that conserve natural resources, protect the environment, and are energy efficient.       Recipients are
required to procure only items designated in guidelines of the Environmental Protection Agency (EPA) at
40 C.F.R. part 247 that contain the highest percentage of recovered materials practicable, consistent
with maintaining a satisfactory level of competition, where the purchase price of the item exceeds
$10,000 or the value of the quantity acquired during the preceding fiscal year exceeded $10,000.

        Flow Down

        These requirements extend to all third party contractors and their contracts at every tier and
subrecipients and their subcontracts at every tier where the value of an EPA designated item exceeds
$10,000.

        Model Clause/Language

        There is no required language for preference for recycled products. Recipients can draw on the
following language for inclusion in their federally funded procurements.


                                             Recovered Materials

        The Contractor agrees to provide a preference for those products and services that conserve
natural resources, protect the environment, and are energy efficient by complying with and facilitating
compliance with Section 6002 of the Resource Conservation and Recovery Act, as amended, 42 U.S.C. §
6962, and U.S. Environmental Protection Agency (U.S. EPA), “Comprehensive Procurement Guideline for
Products Containing Recovered Materials,” 40 C.F.R. part 247.

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                            A.21     SAFE OPERATION OF MOTOR VEHICLES

                                               23 U.S.C. part 402
                                           Executive Order No. 13043
                                           Executive Order No. 13513
                                          U.S. DOT Order No. 3902.10



        Applicability to Contracts

        The Safe Operation of Motor Vehicles requirements apply to all federally funded third party
contracts. In compliance with Federal Executive Order No. 13043, “Increasing Seat Belt Use in the
United States,” April 16, 1997, 23 U.S.C. Section 402 note, FTA encourages each third party contractor to
adopt and promote on-the-job seat belt use policies and programs for its employees and other
personnel that operate company owned, rented, or personally operated vehicles, and to include this
provision in each third party subcontract involving the project. Additionally, recipients are required by
FTA to include a Distracted Driving clause that addresses distracted driving, including text messaging in
each of its third party agreements supported with Federal assistance.

        Flow Down Requirements

        The Safe Operation of Motor Vehicles requirements flow down to all third party contractors at
every tier.

        Model Clause/Language

        There is no required language for the Safe Operation of Motor Vehicles clause. Recipients can
draw on the following language for inclusion in their federally funded procurements.



                                       Safe Operation of Motor Vehicles

        Seat Belt Use

        The Contractor is encouraged to adopt and promote on-the-job seat belt use policies and
programs for its employees and other personnel that operate company-owned vehicles, company-


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rented vehicles, or personally operated vehicles. The terms “company-owned” and “company-leased”
refer to vehicles owned or leased either by the Contractor or AGENCY.

       Distracted Driving

       The Contractor agrees to adopt and enforce workplace safety policies to decrease crashes
caused by distracted drivers, including policies to ban text messaging while using an electronic device
supplied by an employer, and driving a vehicle the driver owns or rents, a vehicle Contactor owns,
leases, or rents, or a privately-owned vehicle when on official business in connection with the work
performed under this agreement.




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                                                                               ATTACHMENT 4.F
                                     A.22   SCHOOL BUS OPERATIONS

                                                  49 U.S.C. 5323(f)
                                                 49 C.F.R. part 605



        Applicability to Contracts

        The School Bus requirements apply to contracts for operating public transportation service.

        Flow Down Requirements

        The School Bus requirements flow down from FTA recipients and subrecipients to first tier
service contractors.

        Model Clause/Language

        The relevant statutes and regulations do not mandate any specific clause or language.
Recipients can draw on the following language for inclusion in their federally funded procurements.

                                              School Bus Operations

        The contractor agrees to comply with 49 U.S.C. 5323(f), and 49 C.F.R. part 604, and not engage
in school bus operations using federally funded equipment or facilities in competition with private
operators of school buses, except as permitted under:

            1. Federal transit laws, specifically 49 U.S.C. § 5323(f);
            2. FTA regulations, “School Bus Operations,” 49 C.F.R. part 605;
            3. Any other Federal School Bus regulations; or
            4. Federal guidance, except as FTA determines otherwise in writing.
        If Contractor violates this School Bus Agreement, FTA may:

            1. Bar the Contractor from receiving Federal assistance for public transportation; or
            2. Require the contractor to take such remedial measures as FTA considers appropriate.
        When operating exclusive school bus service under an allowable exemption, the contractor may
not use federally funded equipment, vehicles, or facilities.


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        The Contractor should include the substance of this clause in each subcontract or purchase
under this contract that may operate public transportation services.




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                                         A.23     SEISMIC SAFETY

                                                42 U.S.C. 7701 et seq.
                                                  49 C.F.R. part 41
                                          Executive Order (E.O.) 12699



        Applicability to Contracts

        The Seismic Safety requirements apply only to contracts for the construction of new buildings or
additions to existing buildings.

        Flow Down

        The Seismic Safety requirements flow down from FTA recipients and subrecipients to first tier
contractors to assure compliance with the applicable building standards for Seismic Safety, including the
work performed by all subcontractors.

        Model Clauses/Language

        The regulations do not provide suggested language for third party contract clauses. Recipients
can draw on the following language for inclusion in their federally funded procurements.

                                                   Seismic Safety

        The contractor agrees that any new building or addition to an existing building will be designed
and constructed in accordance with the standards for Seismic Safety required in Department of
Transportation (DOT) Seismic Safety Regulations 49 C.F.R. part 41 and will certify to compliance to the
extent required by the regulation. The contractor also agrees to ensure that all work performed under
this contract, including work performed by a subcontractor, is in compliance with the standards required
by the Seismic Safety regulations and the certification of compliance issued on the project.




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                               A.24    SUBSTANCE ABUSE REQUIREMENTS

                                                 49 U.S.C. § 5331
                                                 49 C.F.R. part 655
                                                 49 C.F.R. part 40



        Applicability to Contracts

        Third party contractors who perform safety-sensitive functions must comply with FTA’s
substance abuse management program under 49 C.F.R. part 655, “Prevention of Alcohol Misuse and
Prohibited Drug Use in Transit Operations.” Under 49 C.F.R. § 655.4, Safety-sensitive function means
any of the following duties, when performed by employees of recipients, subrecipients, operators, or
contractors:

            1. Operating a revenue service vehicle, including when not in revenue service;
            2. Operating a nonrevenue service vehicle, when required to be operated by a holder of a
                 Commercial Driver's License;
            3. Controlling dispatch or movement of a revenue service vehicle;
            4.   Maintaining (including repairs, overhaul and rebuilding) a revenue service vehicle or
                 equipment used in revenue service. This section does not apply to the following: an
                 employer who receives funding under 49 U.S.C. § 5307 or § 5309, is in an area less than
                 200,000 in population, and contracts out such services; or an employer who receives
                 funding under 49 U.S.C. § 5311 and contracts out such services;
            5. Carrying a firearm for security purposes.
        Additionally, third party contractors providing testing services involving the performance of
safety sensitive activities must also comply with 49 C.F.R. part 40, “Procedures for Transportation
Workplace Drug and Alcohol Testing Programs.”

        Flow Down Requirements

        The Substance Abuse requirements flow down to all third party contractors at every tier who
perform a safety-sensitive function for the recipient or subrecipient.


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         Model Clause/Language

         FTA's drug and alcohol rules, 49 C.F.R. part 655, are unique among the regulations issued by
FTA. First, they require recipients to ensure that any entity performing a safety-sensitive function on the
recipient's behalf (usually subrecipients and/or contractors) implement a complex drug and alcohol
testing program that complies with part 655. Second, the rules condition the receipt of certain kinds of
FTA funding on the recipient's compliance with the rules; thus, the recipient is not in compliance with
the rules unless every entity that performs a safety-sensitive function on the recipient's behalf is in
compliance with the rules. Third, the rules do not specify how a recipient ensures that its subrecipients
and/or contractors comply with them.

         How a recipient does so depends on several factors, including whether the contractor is covered
independently by the drug and alcohol rules of another Department of Transportation operating
administration, the nature of the relationship that the recipient has with the contractor, and the
financial resources available to the recipient to oversee the contractor's drug and alcohol testing
program.      In short, there are a variety of ways a recipient can ensure that its subrecipients and
contractors comply with the rules.

         FTA has developed three model contract provisions for recipients to use "as is" or to modify to
fit their particular situations.

                                     Explanation of Model Contract Clauses

         Option 1

         The recipient ensures the contractor's compliance with the rules by requiring the contractor to
participate in a drug and alcohol program administered by the recipient. The advantages of doing this
are obvious: the recipient maintains total control over its compliance with 49 C.F.R. part 655. The
disadvantage is that the recipient, which may not directly employ any safety-sensitive employees, has to
implement a complex testing program.        Therefore, this may be a practical option for only those
recipients that have a testing program for their employees, and can add the contractor's safety-sensitive
employees to that program.


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        Option 2

        The recipient relies on the contractor to implement a drug and alcohol testing program that
complies with 49 C.F.R. part 655, but retains the ability to monitor the contractor's testing program;
thus, the recipient has less control over its compliance with the drug and alcohol testing rules than it
does under Option 1. The advantage of this approach is that it places the responsibility for complying
with the rules on the entity that is actually performing the safety-sensitive function.    Moreover, it
reserves to the recipient the power to ensure that the contractor complies with the program. The
disadvantage of Option 2 is that, without adequate monitoring of the contractor's program, the
recipient may find itself out of compliance with the rules.

        Option 3

        The recipient specifies some or all of the specific features of a contractor's drug and alcohol
compliance program. Thus, it requires the recipient to decide what it wants to do and how it wants to
do it. The advantage of this option is that the recipient has more control over the contractor's drug and
alcohol testing program, yet it is not actually administering the testing program. The disadvantage is
that the recipient has to specify and understand clearly what it wants to do and why.



                                           SUBSTANCE ABUSE TESTING

                                                     Option 1

        The Contractor agrees to participate in AGENCY’s drug and alcohol program established in
compliance with 49 C.F.R. part 655.

                                           SUBSTANCE ABUSE TESTING
                                                 Option 2

        The Contractor agrees to establish and implement a drug and alcohol testing program that
complies with 49 C.F.R. parts 655, produce any documentation necessary to establish its compliance
with part 655, and permit any authorized representative of the United States Department of
Transportation or its operating administrations, the State Oversight Agency of [name of State], or


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AGENCY, to inspect the facilities and records associated with the implementation of the drug and
alcohol testing program as required under 49 C.F.R. part 655 and review the testing process.            The
Contractor agrees further to certify annually its compliance with parts 655 before [insert date] and to
submit the Management Information System (MIS) reports before [insert date before March 15] to
[insert title and address of person responsible for receiving information]. To certify compliance, the
Contractor shall use the "Substance Abuse Certifications" in the "Annual List of Certifications and
Assurances for Federal Transit Administration Grants and Cooperative Agreements," which is published
annually in the Federal Register.

                                           SUBSTANCE ABUSE TESTING
                                                 Option 3

        The Contractor agrees to establish and implement a drug and alcohol testing program that
complies with 49 C.F.R. part 655, produce any documentation necessary to establish its compliance with
part 655, and permit any authorized representative of the United States Department of Transportation
or its operating administrations, the State Oversight Agency of [name of State], or AGENCY, to inspect
the facilities and records associated with the implementation of the drug and alcohol testing program as
required under 49 C.F.R. part 655 and review the testing process. The Contractor agrees further to
certify annually its compliance with parts 655 before[insert date] and to submit the Management
Information System (MIS) reports before [insert date before March 15] to [insert title and address of
person responsible for receiving information].      To certify compliance the Contractor shall use the
"Substance Abuse Certifications" in the "Annual List of Certifications and Assurances for Federal Transit
Administration Grants and Cooperative Agreements," which is published annually in the Federal
Register. The Contractor agrees further to [Select a, b, or c] (a) submit before [insert date or upon
request] a copy of the Policy Statement developed to implement its drug and alcohol testing program;
OR (b) adopt [insert title of the Policy Statement the recipient wishes the contractor to use] as its policy
statement as required under 49 C.F.R. part 655; OR (c) submit for review and approval before [insert
date or upon request] a copy of its Policy Statement developed to implement its drug and alcohol
testing program. In addition, the Contractor agrees to: [to be determined by the recipient, but may
address areas such as: the selection of the certified laboratory, substance abuse professional, or Medical
Review Officer, or the use of a consortium].


                                                       A-67
       ATTACHMENT 4.F




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                                                                               ATTACHMENT 4.F
                                          A.25    TERMINATION

                                                 2 C.F.R. § 200.339
                                         2 C.F.R. part 200, Appendix II (B)



        Applicability to Contracts

        All contracts in excess of $10,000 must address termination for cause and for convenience,
including the manner by which it will be effected and the basis for settlement.

        Flow Down

        For all contracts in excess of $10,000, the Termination clause extends to all third party
contractors and their contracts at every tier and subrecipients and their subcontracts at every tier.

        Model Clause/Language

        There is no required language for the Terminations clause. Recipients can draw on the following
language for inclusion in their federally funded procurements.


                                Termination for Convenience (General Provision)

        The AGENCY may terminate this contract, in whole or in part, at any time by written notice to
the Contractor when it is in the AGENCY’s best interest. The Contractor shall be paid its costs, including
contract close-out costs, and profit on work performed up to the time of termination. The Contractor
shall promptly submit its termination claim to AGENCY to be paid the Contractor. If the Contractor has
any property in its possession belonging to AGENCY, the Contractor will account for the same, and
dispose of it in the manner AGENCY directs.

                         Termination for Default [Breach or Cause] (General Provision)

        If the Contractor does not deliver supplies in accordance with the contract delivery schedule, or
if the contract is for services, the Contractor fails to perform in the manner called for in the contract, or
if the Contractor fails to comply with any other provisions of the contract, the AGENCY may terminate


                                                       A-69
                                                                              ATTACHMENT 4.F
this contract for default.   Termination shall be effected by serving a Notice of Termination on the
Contractor setting forth the manner in which the Contractor is in default. The Contractor will be paid
only the contract price for supplies delivered and accepted, or services performed in accordance with
the manner of performance set forth in the contract.

        If it is later determined by the AGENCY that the Contractor had an excusable reason for not
performing, such as a strike, fire, or flood, events which are not the fault of or are beyond the control of
the Contractor, the AGENCY, after setting up a new delivery of performance schedule, may allow the
Contractor to continue work, or treat the termination as a Termination for Convenience.

                                     Opportunity to Cure (General Provision)

        The AGENCY, in its sole discretion may, in the case of a termination for breach or default, allow
the Contractor [an appropriately short period of time] in which to cure the defect. In such case, the
Notice of Termination will state the time period in which cure is permitted and other appropriate
conditions

        If Contractor fails to remedy to AGENCY's satisfaction the breach or default of any of the terms,
covenants, or conditions of this Contract within [10 days] after receipt by Contractor of written notice
from AGENCY setting forth the nature of said breach or default, AGENCY shall have the right to
terminate the contract without any further obligation to Contractor. Any such termination for default
shall not in any way operate to preclude AGENCY from also pursuing all available remedies against
Contractor and its sureties for said breach or default.

                                       Waiver of Remedies for any Breach

        In the event that AGENCY elects to waive its remedies for any breach by Contractor of any
covenant, term or condition of this contract, such waiver by AGENCY shall not limit AGENCY’s remedies
for any succeeding breach of that or of any other covenant, term, or condition of this contract.

                    Termination for Convenience (Professional or Transit Service Contracts)




                                                          A-70
                                                                                ATTACHMENT 4.F
        The AGENCY, by written notice, may terminate this contract, in whole or in part, when it is in the
AGENCY’s interest. If this contract is terminated, the AGENCY shall be liable only for payment under the
payment provisions of this contract for services rendered before the effective date of termination.




                                  Termination for Default (Supplies and Service)

        If the Contractor fails to deliver supplies or to perform the services within the time specified in
this contract or any extension, or if the Contractor fails to comply with any other provisions of this
contract, the AGENCY may terminate this contract for default. The AGENCY shall terminate by delivering
to the Contractor a Notice of Termination specifying the nature of the default. The Contractor will only
be paid the contract price for supplies delivered and accepted, or services performed in accordance with
the manner or performance set forth in this contract.

        If, after termination for failure to fulfill contract obligations, it is determined that the Contractor
was not in default, the rights and obligations of the parties shall be the same as if the termination had
been issued for the convenience of the AGENCY.

                                Termination for Default (Transportation Services)

        If the Contractor fails to pick up the commodities or to perform the services, including delivery
services, within the time specified in this contract or any extension, or if the Contractor fails to comply
with any other provisions of this contract, the AGENCY may terminate this contract for default. The
AGENCY shall terminate by delivering to the Contractor a Notice of Termination specifying the nature of
default. The Contractor will only be paid the contract price for services performed in accordance with
the manner of performance set forth in this contract.

        If this contract is terminated while the Contractor has possession of AGENCY goods, the
Contractor shall, upon direction of the AGENCY, protect and preserve the goods until surrendered to the
AGENCY or its agent. The Contractor and AGENCY shall agree on payment for the preservation and
protection of goods. Failure to agree on an amount will be resolved under the Dispute clause.




                                                        A-71
                                                                                 ATTACHMENT 4.F
         If, after termination for failure to fulfill contract obligations, it is determined that the Contractor
was not in default, the rights and obligations of the parties shall be the same as if the termination had
been issued for the convenience of the AGENCY.




                                       Termination for Default (Construction)

         If the Contractor refuses or fails to prosecute the work or any separable part, with the diligence
that will ensure its completion within the time specified in this contract or any extension or fails to
complete the work within this time, or if the Contractor fails to comply with any other provision of this
contract, AGENCY may terminate this contract for default. The AGENCY shall terminate by delivering to
the Contractor a Notice of Termination specifying the nature of the default. In this event, the AGENCY
may take over the work and compete it by contract or otherwise, and may take possession of and use
any materials, appliances, and plant on the work site necessary for completing the work. The Contractor
and its sureties shall be liable for any damage to the AGENCY resulting from the Contractor's refusal or
failure to complete the work within specified time, whether or not the Contractor's right to proceed
with the work is terminated.       This liability includes any increased costs incurred by the AGENCY in
completing the work.

         The Contractor's right to proceed shall not be terminated nor shall the Contractor be charged
with damages under this clause if:

    1.   The delay in completing the work arises from unforeseeable causes beyond the control and
         without the fault or negligence of the Contractor. Examples of such causes include: acts of God,
         acts of AGENCY, acts of another contractor in the performance of a contract with AGENCY,
         epidemics, quarantine restrictions, strikes, freight embargoes; and
    2. The Contractor, within [10] days from the beginning of any delay, notifies AGENCY in writing of
         the causes of delay.      If, in the judgment of AGENCY, the delay is excusable, the time for
         completing the work shall be extended. The judgment of AGENCY shall be final and conclusive
         for the parties, but subject to appeal under the Disputes clause(s) of this contract.




                                                         A-72
                                                                                ATTACHMENT 4.F
        If, after termination of the Contractor's right to proceed, it is determined that the Contractor
was not in default, or that the delay was excusable, the rights and obligations of the parties will be the
same as if the termination had been issued for the convenience of AGENCY.

                      Termination for Convenience or Default (Architect and Engineering)

        The AGENCY may terminate this contract in whole or in part, for the AGENCY’s convenience or
because of the failure of the Contractor to fulfill the contract obligations. The AGENCY shall terminate
by delivering to the Contractor a Notice of Termination specifying the nature, extent, and effective date
of the termination. Upon receipt of the notice, the Contractor shall (1) immediately discontinue all
services affected (unless the notice directs otherwise), and (2) deliver to the AGENCY ‘s Contracting
Officer all data, drawings, specifications, reports, estimates, summaries, and other information and
materials accumulated in performing this contract, whether completed or in process. AGENCY has a
royalty-free, nonexclusive, and irrevocable license to reproduce, publish or otherwise use, all such
data, drawings, specifications, reports, estimates, summaries, and other information and materials.

        If the termination is for the convenience of the AGENCY, the AGENCY’s Contracting Officer shall
make an equitable adjustment in the contract price but shall allow no anticipated profit on unperformed
services.

        If the termination is for failure of the Contractor to fulfill the contract obligations, the AGENCY
may complete the work by contact or otherwise and the Contractor shall be liable for any additional cost
incurred by the AGENCY.

        If, after termination for failure to fulfill contract obligations, it is determined that the Contractor
was not in default, the rights and obligations of the parties shall be the same as if the termination had
been issued for the convenience of AGENCY.

                          Termination for Convenience or Default (Cost-Type Contracts)

        The AGENCY may terminate this contract, or any portion of it, by serving a Notice of Termination
on the Contractor. The notice shall state whether the termination is for convenience of AGENCY or for
the default of the Contractor. If the termination is for default, the notice shall state the manner in


                                                        A-73
                                                                            ATTACHMENT 4.F
which the Contractor has failed to perform the requirements of the contract.        The Contractor shall
account for any property in its possession paid for from funds received from the AGENCY, or property
supplied to the Contractor by the AGENCY. If the termination is for default, the AGENCY may fix the fee,
if the contract provides for a fee, to be paid the Contractor in proportion to the value, if any, of work
performed up to the time of termination. The Contractor shall promptly submit its termination claim to
the AGENCY and the parties shall negotiate the termination settlement to be paid the Contractor.

        If the termination is for the convenience of AGENCY, the Contractor shall be paid its contract
close-out costs, and a fee, if the contract provided for payment of a fee, in proportion to the work
performed up to the time of termination.

        If, after serving a Notice of Termination for Default, the AGENCY determines that the Contractor
has an excusable reason for not performing, the AGENCY, after setting up a new work schedule, may
allow the Contractor to continue work, or treat the termination as a Termination for Convenience.




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                                                                               ATTACHMENT 4.F
                             A.26    VIOLATION AND BREACH OF CONTRACT

                                                2 C.F.R. § 200.326
                                         2 C.F.R. part 200, Appendix II (A)



        Applicability to Contracts

        All contracts in excess of the Simplified Acquisition Threshold (currently set at $150,000) shall
contain administrative, contractual, or legal remedies in instances where contractors violate or breach
contract terms, and provide for such sanctions and penalties as appropriate.

        Flow Down

        The Violations and Breach of Contracts clause flow down to all third party contractors and their
contracts at every tier.

        Model Clauses/Language

        FTA does not prescribe the form or content of such provisions. The provisions developed will
depend on the circumstances and the type of contract.          Recipients should consult legal counsel in
developing appropriate clauses. The following clauses are examples of provisions from various FTA third
party contracts. Recipients can draw on these examples for inclusion in their federally funded
procurements.

                                       Rights and Remedies of the AGENCY

        The AGENCY shall have the following rights in the event that the AGENCY deems the Contractor
guilty of a breach of any term under the Contract.

            1. The right to take over and complete the work or any part thereof as agency for and at
                 the expense of the Contractor, either directly or through other contractors;
            2. The right to cancel this Contract as to any or all of the work yet to be performed;
            3. The right to specific performance, an injunction or any other appropriate equitable
                 remedy; and


                                                       A-75
                                                                             ATTACHMENT 4.F
            4. The right to money damages.
        For purposes of this Contract, breach shall include [AGENCY to define].

                                      Rights and Remedies of Contractor

        Inasmuch as the Contractor can be adequately compensated by money damages for any breach
of this Contract, which may be committed by the AGENCY, the Contractor expressly agrees that no
default, act or omission of the AGENCY shall constitute a material breach of this Contract, entitling
Contractor to cancel or rescind the Contract (unless the AGENCY directs Contractor to do so) or to
suspend or abandon performance.

                                                   Remedies

        Substantial failure of the Contractor to complete the Project in accordance with the terms of
this Agreement will be a default of this Agreement. In the event of a default, the AGENCY will have all
remedies in law and equity, including the right to specific performance, without further assistance, and
the rights to termination or suspension as provided herein. The Contractor recognizes that in the event
of a breach of this Agreement by the Contractor before the AGENCY takes action contemplated herein,
the AGENCY will provide the Contractor with sixty (60) days written notice that the AGENCY considers
that such a breach has occurred and will provide the Contractor a reasonable period of time to respond
and to take necessary corrective action.

                                                    Disputes

            •   Example 1: Disputes arising in the performance of this Contract that are not resolved by
                agreement of the parties shall be decided in writing by the authorized representative of
                AGENCY’s [title of employee]. This decision shall be final and conclusive unless within
                [10] days from the date of receipt of its copy, the Contractor mails or otherwise
                furnishes a written appeal to the [title of employee]. In connection with any such
                appeal, the Contractor shall be afforded an opportunity to be heard and to offer
                evidence in support of its position. The decision of the [title of employee] shall be
                binding upon the Contractor and the Contractor shall abide be the decision.




                                                      A-76
                                                                             ATTACHMENT 4.F
            •   Example 2: The AGENCY and the Contractor intend to resolve all disputes under this
                Agreement to the best of their abilities in an informal manner. To accomplish this end,
                the parties will use an Alternative Dispute Resolution process to resolve disputes in a
                manner designed to avoid litigation.        In general, the parties contemplate that the
                Alternative Dispute Resolution process will include, at a minimum, an attempt to resolve
                disputes through communications between their staffs, and, if resolution is not reached
                at that level, a procedure for review and action on such disputes by appropriate
                management level officials within the AGENCY and the Contractor’s organization.
                        In the event that a resolution of the dispute is not mutually agreed upon, the
                parties can agree to mediate the dispute or proceed with litigation. Notwithstanding
                any provision of this section, or any other provision of this Contract, it is expressly
                agreed and understood that any court proceeding arising out of a dispute under the
                Contract shall be heard by a Court de novo and the court shall not be limited in such
                proceeding to the issue of whether the Authority acted in an arbitrary, capricious or
                grossly erroneous manner.

                        Pending final settlement of any dispute, the parties shall proceed diligently with
                the performance of the Contract, and in accordance with the AGENCY’s direction or
                decisions made thereof.

                                          Performance during Dispute

        Unless otherwise directed by AGENCY, Contractor shall continue performance under this
Contract while matters in dispute are being resolved.

                                               Claims for Damages

        Should either party to the Contract suffer injury or damage to person or property because of
any act or omission of the party or of any of its employees, agents or others for whose acts it is legally
liable, a claim for damages therefor shall be made in writing to such other party within a reasonable
time after the first observance of such injury or damage.




                                                        A-77
                                                                               ATTACHMENT 4.F
                                                     Remedies

        Unless this Contract provides otherwise, all claims, counterclaims, disputes and other matters in
question between the AGENCY and the Contractor arising out of or relating to this agreement or its
breach will be decided by arbitration if the parties mutually agree, or in a court of competent jurisdiction
within the State in which the AGENCY is located.

                                               Rights and Remedies

        The duties and obligations imposed by the Contract documents and the rights and remedies
available thereunder shall be in addition to and not a limitation of any duties, obligations, rights and
remedies otherwise imposed or available by law.          No action or failure to act by the AGENCY or
Contractor shall constitute a waiver of any right or duty afforded any of them under the Contract, nor
shall any such action or failure to act constitute an approval of or acquiescence in any breach
thereunder, except as may be specifically agreed in writing.




                                                       A-78
                                                                   ATTACHMENT 4.G

                            PIGGYBACKING WORKSHEET


                                QUESTION                                         YES   NO
1.   Have you obtained a copy of the contract and the solicitation
     document, including the specifications and any Buy America Pre-
     award or Post-Delivery audits?

2.   Does the solicitation and contract contain an express “assignability”
     clause that provides for the assignment of all or part of the
     specified deliverables?

3.   Did the Contractor submit the certifications required by Federal
     regulations? (such as those required for Buy America and DBE)

4.   Does the contract contain the clauses required by Federal
     regulations? See 2017 LOTS Manual Attachments 4.E and 4.F.

5.   Were the piggybacking quantities included in the original
     solicitation; i.e., were they in the original bid and were they
     evaluated as part of the contract award decision?

6.   If this is an indefinite quantity contract, did the original solicitation
     and resultant contract contain both a minimum and maximum
     quantity, and did these represent the reasonably foreseeable needs
     of the parties to the contract?

7.   If this piggybacking action represents the exercise of an option in
     the contract, is the option provision still valid or has it expired?

8.   Does your State law allow for the procedures used by the original
     contracting agency: e.g., negotiations vs. sealed bids?

9.   Was a cost or price analysis performed by the original contracting
     agency documenting the reasonableness of the price? Obtain a
     copy for your files.

10. If the contract is for rolling stock or replacement parts, does the
    contract term comply with the five-year term limit established by
    FTA? See FTA Circular 4220.1F, Chapter IV, 2 (14) (i).

11. Was there a proper evaluation of the bids or proposals? Include a
    copy of the analysis in your files.

12. If you will require changes to the vehicles (deliverables), are they
    “within the scope” of the contract or are they “cardinal changes”?


MTA 2017 LOTS Manual Attachment 4.G, Piggybacking Worksheet
                                                                 ATTACHMENT 4.H

  CHECKLIST OF REQUIRED STEPS FOR PROCURING REVENUE CONTRACTS

   1. Answer the following questions.

          a. Is the primary purpose of the contract to generate revenue for the LOTS?
             If yes, it is a revenue contract.

          b. Would the proposed revenue contract make use of Federally-funded
             assets or funds? If yes, FTA requirements related to DBE participation
             apply.

          c. Are there several potential competitors for a limited opportunity? (as
             opposed to the LOTS being able to provide contracts or licenses to
             multiple parties similarly situated) If yes, the LOTS must use a
             competitive procurement method, such as an RFP or IFB.

          d. Would Federal funds (not assets) be used to produce revenues? If yes,
             flow-down requirements of FTA clauses apply.

   2. Estimate potential revenue to be derived from revenue contract (comparable to
      preparing an Independent Cost Estimate (ICE) for purchases). For lease of
      advertising space, include value of revenue that contractor is likely to gain in the
      estimate.

   3. Determine appropriate procurement method.

          a. Competitive procurement method (e.g., RFP or IFB) must be used if there
             are several potential competitors for a limited opportunity.

          b. Revenue contracts which for LOTS is able to provide contracts or licenses
             to multiple parties similarly situated are not required by FTA to be
             competitively procured.

   4. Set DBE project-specific goal if revenue is expected to exceed $25,000. If
      expected to be over $50,000, send to MTA for review/approval.

   5. Develop specifications and assemble RFP/bid package.

   6. Submit to MTA Regional Planner for review and approval.

   7. Receive approval from MTA.

   8. Advertise project, to solicit bids/proposals/quotes. This should include sending
      notices of project availability to national vendors.

   9. Receive, open, and review responses.

   10. Evaluate responses.



MTA 2017 LOTS Manual, Attachment 4.H, Revenue Contracting Checklist                          1
                                                               ATTACHMENT 4.H

   11. Select best response meeting all local procurement requirements.

   12. Send complete copy of proposed winning offer and list of “losing” offers to MTA
       for concurrence.

   13. Request concurrence/approval from MTA to award contract.

   14. Receive concurrence/approval from MTA before awarding contract.

   15. Award and execute contract.

   16. Account for all revenues earned and report to MTA on a quarterly basis using the
       Non-Fare Revenue Reporting Form.




MTA 2017 LOTS Manual, Attachment 4.H, Revenue Contracting Checklist                      2
                                                                  ATTACHMENT 6.A

                      Sample Media Release for an Article

                                 (on agency letterhead)

                             FOR IMMEDIATE RELEASE:

 Media Contact: Jane Doe, 301-555-1212, jane.doe@yourcounty.md.us



                                       HEADLINE


 City, State, Date — Opening paragraph (should contain: who, what, when, where,
 why)

 Remainder of body text should include any relevant information to your story and
 services.

 Include quotes from the LOTS director, officials of partnering organizations and other
 officials as appropriate, as well as other staff or customers.

 Be sure to include contact information for the public to get more information about
 your services.

                                          ###

                          (indicates media release is finished)



 (If there is more than 1 page, at the bottom of page one, include:)

                                         -more-

 (Then at the top of the next page:)

 Abbreviated headline (page 2)

 Remainder of text.

 (Restate media contact information after your last paragraph.)

                                          ###




MTA 2017 LOTS Manual Attachment 6.A, Sample Media Release Article
                                                                  ATTACHMENT 6.B

  Sample Media Advisory to Invite the Media to an Upcoming Event



                                  (on agency letterhead)



 MEDIA ADVISORY

 Contact: Jane Doe, 301-555-1212



                  ELECTED OFFICIALS TO PARTICIPATE IN
                      RIBBON-CUTTING CEREMONY
                                Wednesday, May 3, 2017

                                        10:30 a.m.

                                Downtown Transit Center

                        Intersection of This Road and That Street

                                        Yourtown



 Insert a brief description of the upcoming event, including what, where, when, why,
 who, and how.

 Include names of officials to be present, brief facts of about the thing or service to be
 celebrated

 Directions and Parking: Include directions for getting to and parking at the event.



                                           ###




MTA 2017 LOTS Manual Attachment 6.B, Sample Media Advisory
                                                                 ATTACHMENT 6.C

                   Sample Public Service Announcements



                                (on agency letterhead)

                           Public Service Announcement

                             FOR IMMEDIATE RELEASE
                         (or effective date, if not immediate)

 Media Contact: Jane Doe, 301-555-1212, jane.doe@yourcounty.md.us



              PSA Title (e.g., Yourcounty Transit Can Get You There)



 :30 spot

 Looking for transportation around __(name of your community)__? __(Your county

 or other LOTS organization)__ provides public transportation in __(briefly describe

 service area)__. Special services are available to people with disabilities and those

 age __ or more. Call ___-___-____ to get information by phone or mail, or visit the

 website at www.______.com.




 :10 spot

 Looking for transportation around __( name of your community)__? Call __(LOTS

 name)__ ___-___-____ for more information.




                             (Expiration date, if applicable)




MTA 2017 LOTS Manual Attachment 6.C, Sample PSA
                                                                 ATTACHMENT 6.D



                    LOTS Website Checklist Requirements
Transit documents, statements or forms the LOTS need to have on their websites that
are readily available to the casual user with “no more than two clicks” or links:

    A Title VI Policy Statement

    A full copy of the agency’s Title VI complaint process and form

    For fixed-route and deviated fixed-route transit services, a link to each bus route
     map, schedule, and timetable

    For demand-response services, a link to the demand response service
     description and scheduling policies/procedures

    For fixed-route and deviated fixed-route services transit services, a link to the
     fare policy that includes a notice about half-fare for seniors, individuals with
     disabilities, and individuals with valid Medicare cards during off-peak hours (or all
     day if that is the local policy), and what documentation is needed to qualify for the
     reduced fare

    For fixed-route transit services, a direct, readily-apparent link to their ADA
     complementary paratransit service description and scheduling policies and
     procedures

    For deviated fixed-route services, a statement on each route page (link)
     indicating that route deviations are available to all patrons, with instructions on
     how to request a deviation

    A statement that all transit system and paratransit system buses are wheelchair-
     accessible and will transport an individual using any wheelchair or mobility device
     that, when occupied, does not exceed the weight capacity of the vehicle and/or
     its lift or ramp

    A statement that the transit/paratransit system accepts portable oxygen,
     respirators and concentrators

    A statement that the transit/paratransit system accepts service animals
     (acceptance can be subject to the system inquiring what function the service
     animal is trained to do)

    A statement that the wheelchair lift/ramp will be deployed at any fixed stop and
     that individuals with disabilities will be permitted adequate time to
     board/disembark any system vehicle in revenue service




MTA 2017 LOTS Manual, Attachment 6.D, LOTS Website Checklist                               1
                                                                    ATTACHMENT 6.D

    A statement that priority seating is available for seniors and individuals with
     disabilities on each bus and that passengers without visible disabilities will be
     requested to vacate priority seating if needed by an individual with a disability

    A statement that the driver or vehicle announcement system (on vehicles so
     equipped) will announce major stops and transfer points, as well as other stops if
     requested by a passenger

    For ADA complementary paratransit services, a statement that services are
     provided the same days and hours that fixed-route transit services are provided

    For ADA complementary paratransit services, a link to information about a 21
     day (minimum) visitor policy and presumptive eligibility after 21 days for
     applications not processed by the agency within 21 days

    For ADA complementary paratransit services, a link to the agency’s full
     application process, rules of eligibility determination, and eligibility determination
     appeal process

    For ADA complementary paratransit services, provide a statement that a
     Personal Care Attendant can travel with the ADA eligible individual free of
     charge, and at least one companion can travel with the ADA eligible individual at
     the system’s ADA paratransit fare, and that this fare does not exceed more than
     twice the equivalent fixed-route fare

    For ADA complementary paratransit services, provide a statement that the
     system provides origin-to-destination services upon request and that it will
     considerable requests for reasonable accommodations

Checklist reviewed and verified by: ____________________________________
                                                 (Name of LOTS Staff)



Date: _______________




MTA 2017 LOTS Manual, Attachment 6.D, LOTS Website Checklist                                  2
                                                   ATTACHMENT 7.A.1




                        [XYZ TRANSIT AGENCY]
                        Facilities and Equipment
                            Maintenance Plan




                                   Insert Date




                                       1

MTA 2017 LOTS Manual 7.A.1, FEMP Template
                                                                                                               ATTACHMENT 7.A.1

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MTA 2017 LOTS Manual 7.A.1, FEMP Template
                                                                       ATTACHMENT 7.A.1

PURPOSE STATEMENT
The purpose of this [XYZ TRANSIT AGENCY] Facility and Equipment Maintenance Plan (FEMP) is to guide
a high quality maintenance program that meets Federal Transit Administration’s (FTA’s) requirements.
This FEMP outlines standard maintenance procedures, and provide guidance for the inspection routines
and intervals of facility and equipment assets.

As a condition for receiving federal funding, the Maryland Transit Administration (MTA) and FTA require
transit agencies of all sizes to maintain FEMP in accordance with the following regulations:

   x   2 CFR Parts 200.313 and 200.333, "Uniform Administrative Requirements, Cost Principles, and
       Audit Requirements for Federal Awards"
   x   49 CFR Part 18.32(d)(4), “Uniform Administrative Requirements for Grants and Cooperative
       Agreements to State and Local Governments”
   x   49 CFR Part 37.161, “Transportation Services for Individuals With Disabilities (ADA)”
   x   FTA Master Agreement Section 21.c and 21.d, “Use of Real Property, Equipment, and Supplies”
   x   FTA Circular 5010.1D, Ch. II, Section 3.a and Ch. IV Sections 3.k and m, “Grant Management
       Requirements”
   x   FTA Circular 5100.1E, Ch. V, Section 1.a (5), “Bus and Bus Facilities Program: Guidance and
       Application Instructions”
   x   FTA Circular 9030.1E, Ch. VI, Section 1.a (5), “Urbanized Area Formula Program: Program
       Guidance and Application Instructions”
   x   FTA Circular 9070.1G, Ch. VI, Section 4, “Enhanced Mobility of Seniors and Individuals with
       Disabilities Program Guidance and Application Instructions.”

The implementation of an FTA-compliant FEMP also helps to ensure that [XYZ TRANSIT AGENCY]
facilities and facility-related equipment are safe and can reliably support the transit operation. This
FEMP will be updated at least every 2 years in accordance with 2 CFR 200.313, and will be updated more
frequently as agency, state and/or federal needs dictate.




___________________________________            ________________        _____________
Signature                                      Title                   Date




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MTA 2017 LOTS Manual 7.A.1, FEMP Template
                                                                          ATTACHMENT 7.A.1

FACILITY INVENTORY
As a requirement for compliance with FTA and MTA regulations, a general inventory of all of [XYZ
TRANSIT AGENCY]’s facilities must be maintained. Basic facility information can be found below;
detailed information on facility components and equipment can be found in the “Inspections and
Maintenance” section of this document.

[Insert Name of Facility]
(Complete for each agency facility)

Building Information
        Address:

        Phone:

        Lot Size (in acres):

        Building Size (in square feet):

        Date(s) of Original Construction:

        Dates and Description of Additions:

                 1.

                 2.

                 3.

                 4.



Description of Utilities
        1. Water Supply (municipal or well):

        2. Sewage Disposal System (municipal or onsite septic system):

        3. Description of Fire Protection Systems (alarms, sprinklers etc.):



Inspection Information
Date of most recent asbestos inspection:

Date of most recent fire safety inspection:

Date of most recent water test:




                                                    4

MTA 2017 LOTS Manual 7.A.1, FEMP Template
                                                                        ATTACHMENT 7.A.1

Structural Frame Type(s)
(e.g. wood frame, steel frame, block, concrete, masonry)



Roofs
Type (Flat, Pitched etc.)   Surfacing Material      Date Installed          Location




Exterior Cladding
Type (Brick, Vinyl Siding etc.)    Date Installed                    Location




Exterior Doors
Type (e.g. Roll-up, Entry, etc.)   Date Installed                    Location




Windows
Type                               Date Installed                    Location




Miscellaneous Components
Name/Type                          Date Installed                    Location




                                                    5

MTA 2017 LOTS Manual 7.A.1, FEMP Template
                                                                      ATTACHMENT 7.A.1

SAFETY
The safety of [XYZ TRANSIT AGENCY] employees, riders, and the general public is paramount.
Accordingly, [XYZ TRANSIT AGENCY] has instituted a number of rules to minimize safety risk for
employees engaged in the inspection or maintenance of our facilities and equipment. These rules serve
as general guidance for employees and do not supersede the agency safety plan.

General Safety Rules
   1. Wear appropriate PPE for the work being done:
         a. Rubber gloves when using chemicals;
         b. Safety glasses/goggles when working with chemicals, hand tools, or rotating equipment;
         c. Ear plugs when working around sound levels that exceed 85 decibels (power tools, etc.);
         d. An appropriate respirator as dictated by chemical Safety Data Sheets (SDS);
         e. Steel toe shoes/boots when there is a danger of foot injury from falling and rolling
             objects, or danger of any other objects piercing the sole;
         f. Hard hat when working beneath objects that may fall;
         g. Approved apron, helmet and gloves when welding; and
         h. Fall protection when working more than 6 feet above the floor.

   2. Handle chemicals properly:
         a. ALWAYS read the SDS prior to using a chemical or other hazardous material for the first
             time, and refer to the SDS for any future questions;
         b. Use chemical substances only for their intended purpose;
         c. Mix chemicals in a safe location and only in approved combinations and dilutions;
         d. Store chemicals in appropriate sealed containers and in well ventilated areas, away from
             heat and sunshine;
         e. NEVER store chemicals in electrical or mechanical rooms;
         f. Clean-up spills in accordance with the SDS; and
         g. Dispose of chemicals in accordance with the SDS.

   3. Take proper precautions on any tasks involving electricity:
         a. NEVER use electric equipment around liquids unless it was designed for that purpose;
         b. NEVER use equipment with a damaged electric cord;
         c. NEVER daisy chain power strips or overload an electric circuit with too many devices;
         d. NEVER work on electrical systems unless you have been properly trained;
         e. ALWAYS lock-out/tag-out the system when working on an electrical circuit; and
         f. Ensure that electrical equipment is de-energized before beginning inspection or repair.

   4. Take proper precautions to prevent fires:
         a. Avoid excessive build-up of dust in work and storage areas;
         b. NEVER store flammable materials or gas-powered equipment near ignition sources
             (including electric equipment); and
         c. Immediately report any “burning smell” or “gas smell” to your supervisor.



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MTA 2017 LOTS Manual 7.A.1, FEMP Template
                                                                          ATTACHMENT 7.A.1

    5. Always know where the nearest emergency exit, fire extinguisher, chemical spill kit, eye wash
       station, first aid kit, and Automated External Defibrillator (AED) device are located.

    6. NEVER secure exit doors with chains or padlocks; exit doors must be usable by anyone in the
       event of an emergency and clear of obstructions.

    7. Use ladders for hard-to-reach places:
          a. Use a ladder tall enough for the job;
          b. Do not stand or sit on the top two rungs; and
          c. If using an extension ladder, enlist a co-worker to raise, support, and lower the ladder.

    8. Use proper lifting techniques- lift with the legs; ask for assistance when necessary.

    9. Properly use and store equipment:
          a. Handle equipment with care and properly store it when not in use;
          b. Keep storage areas clear of items that could cause tripping hazards; and
          c. Keep storage areas clean to help prevent pest/rodent problems.

Reporting
Employees are required to immediately report accidents, incidents, and injuries to their supervisor. [XYZ
TRANSIT AGENCY] will create and maintain a record for all safety activities and incidents for regular MTA
and FTA review.




                                                    7

MTA 2017 LOTS Manual 7.A.1, FEMP Template
                                                                             ATTACHMENT 7.A.1

ROLES & RESPONSIBILITIES
The maintenance of [XYZ TRANSIT AGENCY] facilities and equipment requires the coordination of
multiple parties. The following section identifies these individuals, and their roles and responsibilities.

Management Staff
Role                      Name                     Responsibilities
Director of Facilities
Maintenance




Maintenance Staff
Role                      Name                     Responsibilities




Major Third Party Contractors
(List major contractors used for ongoing maintenance; list vendors used for ad-hoc repairs in Appendix E)
Company                   Point of Contact      Responsibilities




Standard of Work
As a condition of employment, all [XYZ TRANSIT AGENCY] employees and major contractors are
expected to:

         1. Maintain proper workplace etiquette;
         2. Take general care of the facilities;
         3. Take general care of equipment;
         4. Report needed repairs for facility and equipment components in a timely fashion;
         5. Complete inspections, maintenance, repairs and other duties in a timely fashion;

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MTA 2017 LOTS Manual 7.A.1, FEMP Template
                                                                         ATTACHMENT 7.A.1

        6. Report completion of repairs on equipment and facility components in a timely fashion; and
        7. Return equipment to proper storage areas after use.

Standard Operating Procedures
This FEMP provides general guidance on the inspection and maintenance activities for [XYZ TRANSIT
AGENCY] facilities and equipment. Standard operating procedures (SOPs) for many of these inspection
and maintenance activities are available [insert description of where SOPs can be found]. In cases where
SOPs do not exist for certain activities, employees should follow the procedures provided by the Original
Equipment Manufacturer (OEM).




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MTA 2017 LOTS Manual 7.A.1, FEMP Template
                                                                           ATTACHMENT 7.A.1

INSPECTIONS & MAINTENANCE
This section of the FEMP details all inventoried facility components and equipment, and generally
outlines the inspection and/or maintenance activities associated with these assets. The [Insert title]
identified in the “Roles and Responsibilities” section above is responsible for separately tracking the
warranty of these assets and all associated spare parts.

[XYZ TRANSIT AGENCY] is committed to performing all inspection and maintenance activities in a timely
manner, and utilizes the monthly, quarterly, and annual checklists in Appendices, A, B, and C
respectively to simplify the documentation of these activities.

Inspection and Maintenance Activities by Asset Type


[Insert table of inspection and maintenance activities, and associated time intervals for each activity, by
asset type]



Inspection and Maintenance Activities by Interval


[Insert table of inspection and maintenance activities, and associated time intervals for each activity, by
interval]




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MTA 2017 LOTS Manual 7.A.1, FEMP Template
                                                                           ATTACHMENT 7.A.1

WORK ORDERS
When facility components and equipment are due for inspection, preventive maintenance, found to be
damaged, or otherwise in need of repair, a work order must be enacted using the appropriate form
(Appendix D). The [Insert title] identified in the “Roles and Responsibilities” section above is responsible
for initiating inspection and preventive maintenance work orders. Any employee may submit a work
order for facility or equipment repairs (corrective maintenance).

In the event of an emergency (e.g. broken pipe), employees should notify [insert title(s)] by the fastest
means possible. After the emergency work has been performed, the [insert title] will then retroactively
generate a work order for recordkeeping purposes.

The general process for submitting, completing, and documenting all work orders is outlined below.

Guidelines & Procedures
    1. The reporting employee must complete the top section of the work order form and submit this
       form to the [insert title].

    2. The [insert title] is required to:
           a. Initiate all submitted work orders in a timely manner
           b. Record the work order in [insert name of spreadsheet or software for logging work
               orders]
           c. Assign a technician to the repair work; and
           d. Schedule the work for completion.

    3. The assigned technician is required to:
           a. In the event parts need to be ordered,
                    i. If parts are still under warranty, submit a warranty claim to the OEM or vendor,
                   ii. If parts are not under warranty, submit a purchase request to the [insert title],
                  iii. Notify the [insert title] so the work order can be rescheduled after the parts are
                       expected for delivery;
           b. Complete the inspection/maintenance/repair work in a timely manner;
           c. For scheduled inspection and/or maintenance activities, complete the appropriate
               checklist (See Appendices A, B, and C).
           d. Update the work order form to reflect the date and type of work performed; and
           e. Return the work order and any completed checklist to the [insert title].

    4. The [insert title] is required to log all completed work orders in [insert name of spreadsheet or
       software for logging work orders].

    5. All work orders and related documents will be retained for a minimum of 3 years in accordance
       with 2 CFR Part 200.333.




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MTA 2017 LOTS Manual 7.A.1, FEMP Template
                                                                       ATTACHMENT 7.A.1

CONTRACTED SERVICES
[XYZ TRANSIT AGENCY] relies on a number of contractors and vendors for repair of facilities components
and equipment. A list of preferred vendors and contractors, which has been approved by the [insert
title] can be found in Appendix E.

If [XYZ TRANSIT AGENCY] decides to retain any other contractors in the future for facilities and/or
equipment maintenance purposes, it will ensure that the contractor will be managed in a manner that is
consistent with this FEMP, and MTA and FTA requirements.




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MTA 2017 LOTS Manual 7.A.1, FEMP Template
                                               ATTACHMENT 7.A.1




                                  APPENDICES




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MTA 2017 LOTS Manual 7.A.1, FEMP Template
                                                                           ATTACHMENT 7.A.1

Appendix A - Monthly Checklist


[Insert checklist of monthly inspection/maintenance activities by asset]




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MTA 2017 LOTS Manual 7.A.1, FEMP Template
                                                                             ATTACHMENT 7.A.1

Appendix B – Quarterly Checklist


[Insert checklist of quarterly inspection/maintenance activities by asset]




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MTA 2017 LOTS Manual 7.A.1, FEMP Template
                                                                          ATTACHMENT 7.A.1

Appendix C - Annual Checklist


[Insert checklist of annual inspection/maintenance activities by asset]




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MTA 2017 LOTS Manual 7.A.1, FEMP Template
                                                               ATTACHMENT 7.A.1

Appendix D – Sample Work Order


                          [XYZ TRANSIT AGENCY] FACILITY WORK ORDER
 …………..….………………..Section A- To be completed by individual requesting work………………….……….…..

 DATE REQUESTED: _________________

 REQUESTOR NAME: __________________________________________

 REQUESTOR TITLE: ___________________________________________

 REQUESTOR EMAIL: __________________________________________

 REQUESTOR PHONE: _________________________________________

 PROBLEM OR WORK REQUESTED:




 …………..….……………..Section B- To be completed by [Insert Name of Department]……………….……….…..

 WO#: __________________________          DATE RECEIVED: _________________

 PRIORITY (Circle One):      IMMEDIATE        BY    /   /20    .     WHEN POSSIBLE

 APPROVED BY: ______________________________

 ASSIGNED TO: _______________________________

 PARTS REQUIRED:




 PARTS APPROVED BY: ____________________________________      DATE: _____________

 PARTS ORDERED BY: _____________________________________      DATE: _____________

 WORK COMPLETED BY: ___________________________________       DATE: _____________

 WORK PERFORMED:




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MTA 2017 LOTS Manual 7.A.1, FEMP Template
                                                           ATTACHMENT 7.A.1

Appendix E – Contractor/Vendor List


[Type of Service –e.g. Elevator Service]

Example Company 1
123 Main Street
Sometown, MD 21234
(410) 123-4567

Example Company 2
234 Lesser Street
Othertown, MD 24321
(410) 321-9876



Include the following types of contractors/vendors:

    x   Waste/Trash Removal
    x   Snow Removal
    x   Power Sweeping
    x   Catch Basin Cleaning
    x   Irrigation
    x   Cleaning/Custodial Service
    x   HVAC
    x   Kitchen/Refrigeration
    x   Pest Control
    x   Elevator Service
    x   Security Systems
    x   Fire Protection
    x   Fire & Water Cleanup
    x   Electrician
    x   Plumber
    x   Telephone Systems
    x   Cable TV
    x   Hazardous Material Disposal
    x   Recycling
    x   Sewer/Septic System




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MTA 2017 LOTS Manual 7.A.1, FEMP Template
                                                   ATTACHMENT 7.A.2




                          [XYZTransitAgency]
                        FacilitiesandEquipment
                           MaintenancePlan




                                  May2016




MTA 2017 LOTS Manual Attachment
7.A.2, FEMP Template
                                                                  ATTACHMENT 7.A.2



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  AppendixCͲAnnualChecklist
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     MTA 2017 LOTS Manual Attachment
     7.A.2, FEMP Template
                                                                  FacilitiesandEquipment                                          ATTACHMENT 7.A.2
                                                                     MaintenancePlan
PURPOSESTATEMENT
The purpose of this [XYZ Transit Agency] Facility and Equipment Maintenance Plan (FEMP) is to guide a high
quality maintenance program that meets Federal Transit Administration’s (FTA’s) requirements. This FEMP
outlines standard maintenance procedures, and provide guidance for the inspection routines and intervals of
facilityandequipmentassets.

As a condition for receiving federal funding, the Maryland Transit Administration (MTA) and FTA require transit
agenciesofallsizestomaintainFEMPinaccordancewiththefollowingregulations:

  •2CFRParts200.313and200.333,"UniformAdministrativeRequirements,CostPrinciples,andAudit
  RequirementsforFederalAwards"
  •49CFRPart18.32(d)(4),“UniformAdministrativeRequirementsforGrantsandCooperativeAgreements
  toStateandLocalGovernments”
  •49CFRPart37.161,“TransportationServicesforIndividualsWithDisabilities(ADA)”
  •FTAMasterAgreementSection21.cand21.d,“UseofRealProperty,Equipment,andSupplies”
  •FTACircular5010.1D,Ch.II,Section3.aandCh.IVSections3.kandm,“GrantManagement
  Requirements”
  •FTACircular5100.1E,Ch.V,Section1.a(5),“BusandBusFacilitiesProgram:Guidanceand
  ApplicationInstructions”
  •FTACircular9030.1E,Ch.VI,Section1.a(5),“UrbanizedAreaFormulaProgram:Program
  GuidanceandApplicationInstructions”
  •FTACircular9070.1G,Ch.VI,Section4,“EnhancedMobilityofSeniorsandIndividualswith
  DisabilitiesProgramGuidanceandApplicationInstructions.”


The implementation of an FTAͲcompliant FEMP also helps to ensure that [XYZ Transit Agency] facilities and
facilityͲrelated equipment are safe and can reliably support the transit operation. This FEMP will be updated
at least every 2 years in accordance with 2 CFR 200.313, and will be updated more frequently as agency,
stateand/orfederalneedsdictate.




_________________________________________________________________________________
SignatureTitleDate




           MTA 2017 LOTS Manual Attachment                                              IͲ1
           7.A.2, FEMP Template
                                                        FacilitiesandEquipment             ATTACHMENT 7.A.2
                                                           MaintenancePlan

       FACILITYINVENTORY
       As a requirement for compliance with FTA and MTA regulations, a general inventory of all of [XYZ Transit Agency]’s
       facilities must be maintained. Basic facility information can be found below; detailed information on facility
       componentsandequipmentcanbefoundinthe“InspectionsandMaintenance”sectionofthisdocument.

       [InsertNameofFacility]
       (Completeonepageforeachfacility)

       BuildingInformation
       Address:
       229CharlesBancroftHighway
       Litchfield,NH03052

       Phone:
       603.424.0078

       LotSize(acres):
       15.0acres
       (allocatedfromthe62acresofdistrictland)

       BuildingSize(ft2):
       MainBuilding:57,800squarefeet


                           DateofOriginalConstruction:                1/1/1930

       DatesandDescriptionofAdditions:
       Description                                                  Date
 1.   Classrooms
 2.   Classrooms
 3.   Classroomsandrestrooms
 4.   Offices,gymnasium,andclassrooms
 5.
 6.
 7.
 8.
 9.
10.

     DescriptionofUtilities
 1. WaterSupply(municipalorwell):
     Municipal

 2. SewageDisposalSystem(municipaloronsitesepticsystem):
     OnsiteSeptic

 3. DescriptionofFireProtectionSystems(alarms,sprinklersetc.):
     Alarmsystem
     Hoodsuppressionsystem
     Fireextinguishers


         MTA 2017 LOTS Manual Attachment                          IIͲ1
         7.A.2, FEMP Template
                                                     FacilitiesandEquipment                       ATTACHMENT 7.A.2
                                                        MaintenancePlan
       InspectionInformation
       Dateofmostrecentasbestosinspection:                        9/1/2007
       Dateofmostrecentfiresafetyinspection:
       Dateofmostrecentwatertest:

       GeneralStructuralInformation
       (Completeonepageforeachfacility)

       StructuralFrameTypes

       ZŽŽĨƐ
       Type(Flat,Pitchedetc.)                         SurfacingMaterial    DateInstalled      Location
 1.                                                                                                   Mainbuilding
 2.                                                                                                   Portable1
 3.                                                                                                   Portable2
 4.                                                                                                   Portable3
 5.
 6.
 7.
 8.
 9.
10.

       ǆƚĞƌŝŽƌůĂĚĚŝŶŐ
       Type(Brick,VinylSidingetc.)                   Location                DateInstalled
 1.
 2.
 3.
 4.
 5.
 6.
 7.
 8.
 9.
10.

       ǆƚĞƌŝŽƌŽŽƌƐ
       Type                                               Location                DateInstalled
 1.
 2.
 3.
 4.
 5.
 6.
 7.
 8.
 9.
10.




         MTA 2017 LOTS Manual Attachment                        IIͲ2
         7.A.2, FEMP Template
                                               FacilitiesandEquipment                 ATTACHMENT 7.A.2
                                                  MaintenancePlan
       tŝŶĚŽǁƐ
       Type                                         Location          DateInstalled
 1.
 2.
 3.
 4.
 5.
 6.
 7.
 8.
 9.
10.

       DŝƐĐĞůůĂŶĞŽƵƐ
       Name/Type                                    Location          DateInstalled
 1.
 2.
 3.
 4.
 5.
 6.
 7.
 8.
 9.
10.

Note:DoubleͲclickinthecelltoedittext.




         MTA 2017 LOTS Manual Attachment                  IIͲ3
         7.A.2, FEMP Template
                                                                                                                                                                                                                                                                                                                                                                                ATTACHMENT 7.A.2
                                                                                                                                                                            Annual Transportation Plan for Fiscal Year 2017
                           Report Date                   1/4/2016
                           Jurisdiction:
                           Organization:

                                                                                                                                                                               Form 6a: FIXED ASSET INVENTORY
                                                                                 List all property (equipment, facility, etc.) assigned to or available to the program, regardless of ownership or funding source, as well as property requested in FY15 (that has not yet been purchased) . Insert additional rows and pages as needed.




                                                                    Start
                                         Department                                                                                                                                                                                                                           Funding                                               Estimated       Earliest
                            Inventory                                                                                                                                                                                                             MTA Grant                                                      Minimum
                                           (Ops,                                                                                                                                                                                                                                Ratio         In-Service                            Useful Life     Possible     Date of MTA        Date of
                             Control                            Asset Category                                          Asset Type                                                     Description of Use                       Delivered Price Number or Other                                                  Useful Life
                                          Admin.,                                                                                                                                                                                                                             (Fed/St            Date                               Remaining     Replacement Approval to Dispose   Disposal
                             Number                                                                                                                                                                                                                Source                                                         (Years)
                                         Maint., etc.)                                                                                                                                                                                                                         /Local)                                               (Years)         Year



                           FACILITIES:




                           EQUIPMENT & OTHER FIXED ASSETS:




                           NEW STATIONS & FACILITIES REQUESTED IN FY 2017:




                           NEW EQUIPMENT & OTHER FIXED ASSETS REQUESTED IN FY 2017:




MarylandTransitAdministration                                                                                                                                                                                                                                                                                                                                                      Attachment7.A.2ͲFEMPTemplate
OfficeofLocalTransitSupport                                                                                                                                                                                IIͲ4                                                                                                                                                                                     NEWForm6a
     MTA 2017 LOTS Manual Attachment
     7.A.2, FEMP Template
                                             FacilitiesandEquipment                    ATTACHMENT 7.A.2
                                                MaintenancePlan
SAFETY
The safety of [XYZ Transit Agency] employees, riders, and the general public is paramount. Accordingly, [XYZ
Transit Agency] has instituted a number of rules to minimize safety risk for employees engaged in the
inspection or maintenance of our facilities and equipment. These rules serve as general guidance for
employeesanddonotsupersedetheagencysafetyplan.

GeneralSafetyProcedures
 1. WearappropriatePPEfortheworkbeingdone:
   a.Rubbergloveswhenusingchemicals;
   b.Safetyglasses/goggleswhenworkingwithchemicals,handtools,orrotatingequipment;
   c.Earplugswhenworkingaroundsoundlevelsthatexceed85decibels(powertools,etc.);
   d.AnappropriaterespiratorasdictatedbychemicalSafetyDataSheets(SDS);
   e.Steeltoeshoes/bootswhenthereisadangeroffootinjuryfromfallingandrollingobjects,ordangerofany
   otherobjectspiercingthesole;
   f.Hardhatwhenworkingbeneathobjectsthatmayfall;
   g.Approvedapron,helmetandgloveswhenwelding;and
   h.Fallprotectionwhenworkingmorethan6feetabovethefloor.

 2. Handlechemicalsproperly:
   a. ALWAYSreadtheSDSpriortousingachemicalorotherhazardousmaterialforthefirsttime,andrefertothe
   SDSforanyfuturequestions;
   b. Usechemicalsubstancesonlyfortheirintendedpurpose;
   c. Mixchemicalsinasafelocationandonlyinapprovedcombinationsanddilutions;
   d. Storechemicalsinappropriatesealedcontainersandinwellventilatedareas,awayfromheatandsunshine;
   e. NEVERstorechemicalsinelectricalormechanicalrooms;
   f. CleanͲupspillsinaccordancewiththeSDS;and
   g. DisposeofchemicalsinaccordancewiththeSDS.

 3.     Takeproperprecautionsonanytasksinvolvingelectricity:
   a.    NEVERuseelectricequipmentaroundliquidsunlessitwasdesignedforthatpurpose;
   b.    NEVERuseequipmentwithadamagedelectriccord;
   c.    NEVERdaisychainpowerstripsoroverloadanelectriccircuitwithtoomanydevices;
   d.    NEVERworkonelectricalsystemsunlessyouhavebeenproperlytrained;
   e.    ALWAYSlockͲout/tagͲoutthesystemwhenworkingonanelectricalcircuit;and
   f.    EnsurethatelectricalequipmentisdeͲenergizedbeforebeginninginspectionorrepair.

 4. Takeproperprecautionstopreventfires:
   a. AvoidexcessivebuildͲupofdustinworkandstorageareas;
   b. NEVERstoreflammablematerialsorgasͲpoweredequipmentnearignitionsources(includingelectric
   equipment);and
   c. Immediatelyreportany“burningsmell”or“gassmell”toyoursupervisor.

 5. Alwaysknowwherethenearestemergencyexit,fireextinguisher,chemicalspillkit,eyewashstation,firstaid
 kit,andAutomatedExternalDefibrillator(AED)devicearelocated.

         MTA 2017 LOTS Manual Attachment                  IIIͲ1
         7.A.2, FEMP Template
                                               FacilitiesandEquipment                    ATTACHMENT 7.A.2
                                                  MaintenancePlan

  6. NEVERsecureexitdoorswithchainsorpadlocks;exitdoorsmustbeusablebyanyoneintheeventofan
  emergencyandclearofobstructions.

  7. UseladdersforhardͲtoͲreachplaces:
    a. Usealaddertallenoughforthejob;
    b. Donotstandorsitonthetoptworungs;and
    c. Ifusinganextensionladder,enlistacoͲworkertoraise,support,andlowertheladder.

  8.    UseproperliftingtechniquesͲliftwiththelegs;askforassistancewhennecessary.

  9. Properlyuseandstoreequipment:
    a. Handleequipmentwithcareandproperlystoreitwhennotinuse;
    b. Keepstorageareasclearofitemsthatcouldcausetrippinghazards;and
    c. Keepstorageareascleantohelppreventpest/rodentproblems.

Reporting
Employeesarerequiredtoimmediatelyreportaccidents,incidents,andinjuriestotheirsupervisor.[XYZTransit
Agency]willcreateandmaintainarecordforallsafetyactivitiesandincidentsforregularMTAandFTAreview.

Note:DoubleͲclickinthecelltoedittext.




          MTA 2017 LOTS Manual Attachment                   IIIͲ2
          7.A.2, FEMP Template
                                                            FacilitiesandEquipment                            ATTACHMENT 7.A.2
                                                               MaintenancePlan

ROLES&RESPONSIBILITIES
Themaintenanceof[XYZTransitAgency]facilitiesandequipmentrequiresthecoordinationofmultipleparties.Thefollowingsection
identifiestheseindividuals,andtheirrolesandresponsibilities.

ManagementStaff
Role                                           Name                                Responsibilities
DirectorofFacilitiesManagement




MaintenanceStaff
Role                                           Name                                Responsibilities




MajorThirdPartyContractors
(Listmajorcontractorsusedforongoingmaintenance;listvendorsusedforadͲhocrepairsinAppendixE)
Role                                     Name                                      Responsibilities




StandardofWork

Asaconditionofemployment,all[XYZTransitAgency]employeesandmajorcontractorsareexpectedto:
    1. Maintainproperworkplaceetiquette;
    2. Takegeneralcareofthefacilities;
    3. Takegeneralcareofequipment;
    4. Reportneededrepairsforfacilityandequipmentcomponentsinatimelyfashion;
    5. Completeinspections,maintenance,repairsandotherdutiesinatimelyfashion;
    6. Reportcompletionofrepairsonequipmentandfacilitycomponentsinatimelyfashion;and
    7. Returnequipmenttoproperstorageareasafteruse.

StandardOperatingProcedures
This FEMP provides general guidance on the inspection and maintenance activities for [XYZ Transit Agency] facilities and equipment. Standard
operating procedures (SOPs) for many of these inspection and maintenance activities are available [insert description of where SOPs can be found]. In
caseswhereSOPsdonotexistforcertainactivities,employeesshouldfollowtheproceduresprovidedbytheOriginalEquipmentManufacturer(OEM).



Note:DoubleͲclickinthecelltoedittext.


 MTA 2017 LOTS Manual Attachment                                          IVͲ1
 7.A.2, FEMP Template
                             FacilitiesandEquipment   ATTACHMENT 7.A.2
                                MaintenancePlan



                            Asset/ActivityDetails

           Dock
           BusCanopy
           BusParkingLot
           BusShelter
           BusTransferFacility
           Park&Ride
           BuildingStructure
           BuildingElectrical
           BuildingFireAlarm
           BuildingPlumbing
           BuildingDrainage
           BuildingHVAC
           BuildingBoiler
           BuildingRoof
           BuildingExterior
           BuildingAccess&Parking
           BuildingElevators
           BuildingGenerators
           BuildingInterior
           BuildingFencing
           OtherBuildingComponent
           AirCompressor
           BrakeLathe
           BusWash
           CNGRefuelingStation
           Dynamometer
           FuelIsland
           FuelTank
           Furniture
           Hoist
           Lift(Fixed)
           Lift(Portable)
           MiscMaintenanceEquipment
           PaintBooth
           Scrubber/Sprayer
           WheelPress
           WheelTruingMachine
           CommsͲBaseRadioStation
           CommsͲBusRadio
           CommsͲFax
MTA 2017 LOTS Manual Attachment       VͲ1
7.A.2, FEMP Template
                             FacilitiesandEquipment             ATTACHMENT 7.A.2
                                MaintenancePlan



                             Asset/ActivityDetails

          CommsͲMobileRadio(Handheld)
          CommsͲTelephoneSystem
          ITSͲAPC
          ITSͲAVL
          ITSͲCAD
          ITSͲGPS
          ITSͲOther
          RevenueCollectionͲBillCounter
          RevenueCollectionͲChangeMachines
          RevenueCollectionͲCoinCounter
          RevenueCollectionͲOnVehicleFareCollection
          RevenueCollectionͲInStationFareCollection
          RevenueCollectionͲSoftware
          RevenueCollectionͲVault
          Safety/SecurityͲFireandEmergencyManagementSystem
          Safety/SecurityͲCCTV
          Safety/SecurityͲSCADASystem




MTA 2017 LOTS Manual Attachment        VͲ2
7.A.2, FEMP Template
                                                                               FacilitiesandEquipment
                                                                                  MaintenancePlan                                                                                ATTACHMENT 7.A.2
INSPECTION&MAINTENANCECHECKLIST
                                                                                                       _____________________________________________________________
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                   Activity   Activity
    AssetType                                      Asset/ActivityDetails                                                                                           Notes
                    Type       Interval




                                                                                    Completed?




          MTA 2017 LOTS Manual Attachment                                                        VͲ3
          7.A.2, FEMP Template
                                               FacilitiesandEquipment                  ATTACHMENT 7.A.2
                                                  MaintenancePlan
WORKORDERS
When facility components and equipment are due for inspection, preventive maintenance, found to be damaged, or
otherwise in need of repair, a work order must be enacted using the appropriate form (Appendix D). The [Insert title]
identified in the “Roles and Responsibilities” section above is responsible for initiating inspection and preventive
maintenance work orders. Any employee may submit a work order for facility or equipment repairs (corrective
maintenance).

In the event of an emergency (e.g. broken pipe), employees should notify [insert title(s)] by the fastest means possible.
After the emergency work has been performed, the [insert title] will then retroactively generate a work order for
recordkeepingpurposes.


Thegeneralprocessforsubmitting,completing,anddocumentingallworkordersisoutlinedbelow.

Guidelines&Procedures
  1. Thereportingemployeemustcompletethetopsectionoftheworkorderformandsubmitthisformtothe
  [inserttitle ].

  2. The[inserttitle ]isrequiredto:
    a. Initiateallsubmittedworkordersinatimelymanner
    b. Recordtheworkorderin[insertnameofspreadsheetorsoftwareforloggingworkorders ]
    c. Assignatechniciantotherepairwork;and
    d. Scheduletheworkforcompletion.

  3. Theassignedtechnicianisrequiredto:
    a. Intheeventpartsneedtobeordered,
        i. Ifpartsarestillunderwarranty,submitawarrantyclaimtotheOEMorvendor,
        ii. Ifpartsarenotunderwarranty,submitapurchaserequesttothe[inserttitle ],
        iii. Notifythe[inserttitle ]sotheworkordercanberescheduledafterthepartsareexpectedfordelivery;
    b. Completetheinspection/maintenance/repairworkinatimelymanner;
    c. Forscheduledinspectionand/ormaintenanceactivities,completetheappropriatechecklist(SeeAppendicesA,
    B,andC).
    d. Updatetheworkorderformtoreflectthedateandtypeofworkperformed;and
    e. Returntheworkorderandanycompletedchecklisttothe[inserttitle ].

  4. The[inserttitle ]isrequiredtologallcompletedworkordersin[insertnameofspreadsheetorsoftwarefor
  loggingworkorders ].

  5. Allworkordersandrelateddocumentswillberetainedforaminimumof3yearsinaccordancewith2CFRPart
  200.333.
Note:DoubleͲclickinthecelltoedittext.




          MTA 2017 LOTS Manual Attachment                 VIͲ1
          7.A.2, FEMP Template
                                               FacilitiesandEquipment              ATTACHMENT 7.A.2
                                                  MaintenancePlan
CONTRACTEDSERVICES
[XYZ Transit Agency] relies on a number of contractors and vendors for repair of facilities components and equipment.
Alistofpreferredvendorsandcontractors,whichhasbeenapprovedbythe[inserttitle]canbefoundinAppendixE.



If [XYZ Transit Agency] decides to retain any other contractors in the future for facilities and/or equipment
maintenance purposes, it will ensure that the contractor will be managed in a manner that is consistent with this
FEMP,andMTAandFTArequirements.
Note:DoubleͲclickinthecelltoedittext.




          MTA 2017 LOTS Manual Attachment                VIIͲ1
          7.A.2, FEMP Template
                                                                                 FacilitiesandEquipment
                                                                                    MaintenancePlan                                                                              ATTACHMENT 7.A.2
AppendixAͲMONTHLYINSPECTION&MAINTENANCECHECKLIST
                                                                                                                      ________________________________________________________
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                                                                                                     Physical
                                 Activity
    AssetType   ActivityType                        Asset/ActivityDetails                      ConditionRating                                                       Notes
                                 Interval
                                                                                                       (1Ͳ5)




                                                                                     Completed?




          MTA 2017 LOTS Manual Attachment                                                AppendixAͲ2
          7.A.2, FEMP Template
                                                                                 FacilitiesandEquipment
                                                                                    MaintenancePlan                                                                              ATTACHMENT 7.A.2
AppendixBͲQUARTERLYINSPECTION&MAINTENANCECHECKLIST
                                                                                                                      ________________________________________________________
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                                                                                                     Physical
                                 Activity
    AssetType   ActivityType                        Asset/ActivityDetails                      ConditionRating                                                       Notes
                                 Interval
                                                                                                       (1Ͳ5)




                                                                                     Completed?




          MTA 2017 LOTS Manual Attachment                                                AppendixBͲ4
          7.A.2, FEMP Template
                                                                                 FacilitiesandEquipment
                                                                                    MaintenancePlan                                                                              ATTACHMENT 7.A.2
AppendixCͲANNUALINSPECTION&MAINTENANCECHECKLIST
                                                                                                                      ________________________________________________________
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                                                                                                     Physical
                                 Activity
    AssetType   ActivityType                        Asset/ActivityDetails                      ConditionRating                                                       Notes
                                 Interval
                                                                                                       (1Ͳ5)




                                                                                     Completed?




          MTA 2017 LOTS Manual Attachment                                                AppendixCͲ6
          7.A.2, FEMP Template
                                       Facilities and Equipment           ATTACHMENT 7.A.2
                                          Maintenance Plan

Appendix D – Sample Work Order

[XYZ TRANSIT AGENCY] FACILITY WORK ORDER

…………..….………………..Section A - To be completed by individual requesting work ………………….……….…..
DATE REQUESTED: _________________
REQUESTOR NAME: __________________________________________
REQUESTOR TITLE: ___________________________________________
REQUESTOR EMAIL: __________________________________________
REQUESTOR PHONE: _________________________________________
PROBLEM OR WORK REQUESTED:

…………..….……………..Section B - To be completed by [Insert Name of Department] ……………….……….…..
WO#: __________________________          DATE RECEIVED: _________________
PRIORITY (Circle One):   IMMEDIATE            BY      /   /20     .    WHEN POSSIBLE
APPROVED BY: ______________________________
ASSIGNED TO: _______________________________
PARTS REQUIRED:
PARTS APPROVED BY: ____________________________________ DATE: _____________
PARTS ORDERED BY: _____________________________________ DATE: _____________
WORK COMPLETED BY: ___________________________________ DATE: _____________
WORK PERFORMED:




     MTA 2017 LOTS Manual Attachment        Appendix D-1
     7.A.2, FEMP Template
                                              Facilities and Equipment   ATTACHMENT 7.A.2
                                                 Maintenance Plan

Appendix E – Contractor/Vendor List

[Type of Service –e.g. Elevator Service]

123 Main Street
Sometown, MD 21234
(410) 123-4567

Example Company 2
234 Lesser Street
Othertown, MD 24321
(410) 321-9876

Include the following types of contractors/vendors:
       x Waste/Trash Removal
       x Snow Removal
       x Power Sweeping
       x Catch Basin Cleaning
       x Irrigation
       x Cleaning/Custodial Service
       x HVAC
       x Kitchen/Refrigeration
       x Pest Control
       x Elevator Service
       x Security Systems
       x Fire Protection
       x Fire & Water Cleanup
       x Electrician
       x Plumber
       x Telephone Systems
       x Cable TV
       x Hazardous Material Disposal
       x Recycling
       x Sewer/Septic System




       MTA 2017 LOTS Manual Attachment                Appendix E-1
       7.A.2, FEMP Template
                                                                     ATTACHMENT 7.B

   The following document is provided for the LOTS’ reference as an example of
   the type of checklist that would be used by an auditor conducting a review of
   your facility maintenance plan. Most of the questions were excerpted from the
   FTA State Management Review Workbook, which is the standard by which the
   LOTS are evaluated.

                                                                                     February 2008



                          TRANSIT FACILITY
                       MAINTENANCE CHECKLIST

Public transit requires a considerable investment in buildings, equipment, and machinery.
As with the vehicle maintenance, the proper maintenance of facilities, machinery, and
equipment is the key to protecting the federal investment and prolonging the useful life of
the asset.

The reviewer should determine if the grantee has an effective maintenance plan that
insures that FTA’s investment in facilities and equipment is protected adequately. The
maintenance plan should be written and include an organization and assignment of
responsibility for facility and equipment maintenance, a series of inspections and routine
maintenance actions designed to ensure the proper care and maximum useful service life
of facilities and equipment, and a record-keeping system that maintains adequate
permanent records of maintenance and inspection activity for buildings and equipment.

The review includes consideration of:

   1.   Review of Maintenance plan
   2.   Review of Maintenance Practices
   3.   Facility Inspection
   4.   Review of Warranty Work
   5.   Review of Contractor Monitoring Procedures

Maintenance Plan
Sources of Information - Examine the grantee’s facility and equipment maintenance plan
and/or program, the maintenance checklists, and preventive maintenance program. The
facility/equipment maintenance plan should identify specific items, i.e., buildings, elevators,
escalators, parking lots, electric distribution and control equipment, plumbing systems,
overhead doors, vehicle maintenance lifts, vehicle washers and wash water recycling
systems, heating and/or air conditioning units, power substations, etc. The
facility/equipment maintenance plan should describe a system of periodic inspections and
preventive maintenance to be performed at certain defined intervals. Maintenance intervals
might be measured in terms of days or monthly, annually, or in terms of usage, i.e., hours
of use.

MTA 2017 LOTS Manual Attachment 7.B, Facility Maintenance Checklist                             1
                                                                     ATTACHMENT 7.B

   1. Does the grantee have a current written maintenance plan for its federally
      funded facilities and equipment?

   2. Does the grantee’s facility maintenance plan include a program of inspections
      and preventive maintenance activities to ensure that assets are protected
      from deterioration and reach their maximum useful life?

   3. Does the facility maintenance plan prescribe a record keeping system so that
      the maintenance history of facilities and equipment is permanently recorded?

Determination - If the grantee has a written facility and equipment maintenance plan and
the plan addresses the current FTA funded assets, the grantee is not deficient. If the
grantee does not have a plan, the grantee is deficient. At a minimum, the plan should
identify the facilities and equipment that are to be maintained, define an organization and
assign responsibility for on-going maintenance, and specify a series of maintenance and
inspection activities to be performed at appropriate intervals. The plan should prescribe a
record-keeping system that maintains a permanent history of maintenance and inspection
activity for each building, equipment and/or system. If these elements are not included in
the grantee’s plan, the grantee is deficient. If the plan is out-of-date, the grantee is
deficient.

Maintenance Procedures
Sources of Information - The reviewer should check preventive maintenance inspection
intervals by reviewing a sample of facility and equipment maintenance records or
management reports used by the grantee for monitoring preventive maintenance
inspections. For each item in the sample, examine the equipment/building maintenance
history for the preceding 12 months. Note the date when each inspection was
accomplished and record the interval from the previous inspection. Compare the interval
with the grantees definition of an “on-time” inspection to determine if the inspection was in
accordance with the grantee’s facility and equipment maintenance plan.

   4. What is the grantee’s schedule for facility and equipment preventive
       maintenance (PM) inspections: a) in its maintenance plan? b) in practice?

   5. Does a spot check of the grantee’s facility and equipment maintenance
       records indicate that the grantee is complying with its maintenance plan?

   6. Are facility and equipment PM inspections completed on time?


Determination- The determination of compliance is based on whether the inspections are
performed on time. If 80 percent or more of the inspections sampled were performed on
time (no more than 20 percent late), the grantee is not deficient. If less than 80 percent of
the inspections occurred on time (more than 20 percent late), the grantee is deficient.
Grantees are not penalized for early inspections, only late ones.



MTA 2017 LOTS Manual Attachment 7.B, Facility Maintenance Checklist                             2
                                                                     ATTACHMENT 7.B

The grantee should address the occurrence of late PMs and develop a remediation plan
that will satisfy itself and the FTA that the capital investment is not being jeopardized. The
grantee should implement a program immediately. The grantee can be asked to report on
its results each month for three months to demonstrate it has conducted at least 80
percent of its preventive maintenance on time for this period.

Facility Inspection
Sources of Information – Upon inspection, well-maintained and orderly facilities are good
signs of a well-managed and efficient maintenance program. If parts are strewn around,
floors are covered with grease and oil, lights are out, facilities and vehicles are dirty, and
the entire area in a general state of disrepair, the reviewer has good reason to surmise that
the maintenance program is not receiving sufficient attention.

   7. Does the general condition of the facilities, and equipment show that the
       grantee is maintaining its federally funded facilities, and equipment
       adequately?

During the review, perform a general walk-around inspection of the facility. Ask the grantee
to provide a knowledgeable person to accompany the reviewer who can answer questions
about maintenance of the vehicles and facilities. The grantee’s representative should
explain the purpose of each facility inspected, describe the flow of work, and explain what
type of work is carried out in each location.

During the inspection, the reviewer should look for apparently inoperable or damaged
equipment. Question the grantee’s representative about the cause of the inoperative
equipment and what plans the grantee has to return them to full operational capability.
Look for any old and obviously unused equipment such as engines and transmissions that
are lying about and deteriorating. Make note of the general condition of the buildings,
parking areas, fences, work areas, and pavements. Ask the grantee to explain anything
that seems inconsistent with a judgment that the facility is well managed and well
maintained.

Determination - The inspection should give the reviewer a sense of the complete
maintenance program and should focus the reviewer on the general condition of the
grantee’s facilities and equipment. If the grantee’s facilities, vehicles, and equipment
generally are well maintained, and there is no evidence of vehicles and equipment being
abandoned and allowed to deteriorate, then the grantee is not deficient. If the situation is
other than this, the grantee is deficient. If the grantee has one or more vehicles that are
within the FTA’s definition of useful life and appear to be permanently parked in an
inoperable condition, then the grantee is deficient. If the grantee has retired these vehicles
early, and not notified FTA, this is a deficiency in Satisfactory Continuing Control.

Suggested Corrective Action - The grantee will need to submit a report to the FTA
acknowledging the observations made by the review team and a providing a specific plan
to bring the condition of the facilities, vehicles, and equipment back to an acceptable level
of maintenance.

MTA 2017 LOTS Manual Attachment 7.B, Facility Maintenance Checklist                              3
                                                                    ATTACHMENT 7.B

Warranty Work
Sources of Information - If the grantee has equipment under warranty, the FTA requires
that the grantee have a system for identifying warranty claims, recording claims, and
enforcing claims against the manufacturers. An aggressive warranty recovery program
ensures that the cost of defects is borne properly by the equipment manufacturer and not
the grantee and FTA.

   8. Is any equipment under warranty? If yes, what is the grantee’s system for
       recovering warranty claims? Are claims pursued satisfactorily?

Identify if there are any facilities or equipment currently under warranty and which they are.
Ask the grantee to explain how the preventive maintenance program on equipment meets
or exceeds the manufacturer’s recommended program.

Ask the grantee for a copy of its Warranty Recovery Program on equipment, or, if the
program is not in writing, to describe the warranty recovery system. There should be clear
procedures to identify warranty repairs, record the warranty claim, submit the claim to the
manufacturer, and follow-up on unpaid claims. Review the records and files for the
Warranty Recovery Program to learn how timely and aggressive the grantee has been in
pursuing and collecting warranty claims. Compare the records of claims submitted with
claims settled.

Determination - If the grantee has no equipment or facilities under warranty, these
questions are not applicable. The grantee is not deficient if there is a warranty recovery
program and the records indicate that claims are pursued satisfactorily. If the grantee does
not have a warranty recovery system in place, or if the records of the program are not
available, the grantee is deficient. If the grantee has a written program but is not pursuing
warranty claims diligently, the grantee is deficient. The grantee must submit to FTA a
written system for managing warranty claims and a written assurance that the system will
be followed in the future.

Contractor Monitoring
Federally funded facilities and equipment need to be maintained regardless of who
operates and maintains them. If the grantee uses a third-party contractor to operate all or
part of its service, and the contractor is responsible for this maintenance, the contractor
“stands in the shoes” of the grantee as far as FTA maintenance requirements are
concerned. The reviewer must determine if the grantee has required the contractor to
follow acceptable maintenance standards.

Sources of Information - The grantee should identify any federally funded facilities or
equipment leased to providers or maintained under contract. If the grantee identifies a
service that is operated by a contractor, the reviewer should determine if the contractor is
responsible for the maintenance of the facilities involved. Contracts for service should
include maintenance-related requirements.


MTA 2017 LOTS Manual Attachment 7.B, Facility Maintenance Checklist                            4
                                                                   ATTACHMENT 7.B

   9. Does the grantee have FTA-funded facilities or equipment that are either
      leased to service providers or maintained under contract by other than the
      grantee’s employees? If yes, does the grantee have written maintenance
      standards for the contractor’s maintenance of FTA-funded facilities or
      equipment? How does the grantee ensure that contractors follow the required
      maintenance standards?

When a contractor is responsible for maintaining the grantee’s facilities or equipment, the
previous questions regarding the inspection of a grantee’s facilities or equipment would be
appropriate for a contractor maintenance operation.




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           STEPS INVOLVED IN DEVELOPING A NEW FACILITY

                                                                      Approximate Time
                               Step
                                                                           Required
 1) Contact your MTA Regional Planner to ensure that your            Notify and request
    planner is aware of your need and intent to develop a new        guidance from MTA
    facility and apply for assistance. They can also guide you in    as early as possible
    the process to ensure that Federal and State requirements
    are met, help you develop a project budget, and assist with
    developing specifications for procuring design and
    construction services.
 2) Include a justification for the project in your Transportation   TDPs are updated
    Development Plan (TDP). If your current TDP does not             every five years and
    address the project, and will not be updated within the next     typically take 9
    two years, you will need to prepare a separate needs             months to complete
    assessment and feasibility study (within Step 4). Major
    federally-funded facilities will usually require a separate
    needs assessment and feasibility study anyway, since the
    level of analysis and the environmental review required are
    usually not addressed in a TDP.
 3) Apply for grant funding through the Annual Transportation        Annually per ATP
    Plan (ATP) for each phase of the project. Request funding        timeline; must be
    for:                                                             included in the TIP
    x Planning Assistance – apply for planning and technical         and STIP, and LRTP
         assistance funds for:
         i) needs assessment
         ii) feasibility study
         iii) site analysis
         iv) preliminary concept design
         i) environmental review
    x Capital Assistance - apply for capital funds to finance
         ii) architectural and engineering services
         iii) land acquisition
         iv) construction

    Larger facilities may need to be developed in multiple
    phases that involve funding in more than one grant year,
    and it is important to apply for capital funds as soon as the
    project feasibility has been established.




MTA 2017 LOTS Manual Attachment 7.C, Facility Planning Checklist                            1
                                                               ATTACHMENT 7.C

 4) Conduct appropriate planning studies                            6 to 12 months
    x needs assessment – determines the spatial capacity and
       functional needs for the facility; estimates demand for
       use of passenger facility
    x feasibility study – includes a staging and financing plan
       and may also incorporate the needs assessment.
       Provides justification for applying for Federal and State
       funding for subsequent phases of the project
    x site analysis – evaluates the appropriateness of
       alternative sites to select the most appropriate site
    x preliminary concept design – developed to establish the
       high-level design and major elements of the facility
    x environmental review if required – evaluates and
       documents how the facility and its construction would
       impact the surrounding natural and socio-economic
       environment. Some transit facilities are considered a
       Categorical Exclusion (CE) under federal planning
       requirements. For those that aren’t CEs, an
       Environmental Assessment is required, and, if significant
       environmental impacts would result, an Environmental
       Impact Statement. MTA will determine the level of
       environmental review needed.
 5) Acquire land (if needed)                                     Displaced persons
    x hazardous waste site assessment (to determine soil or      must be provided
       groundwater contamination)                                with 90 days notice
    x relocation notice and assistance for displaced residences
       and businesses
    x appraisal and FTA review of appraisal (also required for
       existing land to be used as local match)
 6) Procure architectural and engineering services. Alternately,     2 to 3 months
    you may procure design-build or design-bid-build services.
    The procurement process and requirements are outlined in
    Section 4 of this manual.
 7) Design facility (architecture and engineering)                   3 to 6 months
 8) Procure construction services. (See Section 4)                   2 to 3 months
 9) Construct facility.                                            12 to 18 months




MTA 2017 LOTS Manual Attachment 7.C, Facility Planning Checklist                       2
                                                                                  ATTACHMENT 8.A
                          Sample Previous Employer Release of Information Form

                                         EMPLOYER NAME/LOGO

           Release of Information Form – 49 CFR Part 40 Drug and Alcohol Testing

Section I: To be completed by the new employer and signed by the employee, and
transmitted to the previous employer.

Employee Name:                                       SS/ID Number:

I hereby authorize release of information from my DOT-regulated drug and alcohol testing records by my previous
employer, listed in Section 1-B to the employer listed in Section I-A. This release is in accordance with DOT
Regulation 49 CFR Part 40, section 40.25.



Employee Signature                                           Date

I-A:
New Employer Name:
Designated Employer Representative:
Address:
Phone #:                                                     Fax #:

I-B:
Previous Employer Name:
Designated Employer Representative:
Address:
Phone #:                                                     Fax #:


Section
S   i IIII: T
            To b
               be completed
                      l db  by the
                                h previous
                                      i    employer
                                              l     and
                                                      d transmitted
                                                              i d to the
                                                                      h new
employer.

II-A:
In the two years prior to the date of the employee’s signature (in Section I), for DOT-regulated testing:
    1. Did the employee have alcohol tests with a result of 0.04 or higher?                      Yes       No
    2. Did the employee have verified positive drug tests?                                       Yes       No
    3. Did the employee refuse to be tested?                                                     Yes       No
    4. Did the employee have other violations of DOT agency drug and alcohol
       testing regulations?                                                                      Yes       No
    5. Did a previous employer report a drug and alcohol rule violation to you?                  Yes       No
    6. If you answered “Yes” to any of the above items, did the employee
        complete the return to duty process?                                                     Yes       No

II-B:
Person providing information in Section II-A:
Name:                                                        Title:
Phone #:                                                     Date:

MTA 2017 LOT Manual Attachment 8.A, Release of Information Form – Former Employers
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07$/2760DQXDO$WWDFKPHQW%4XDUWHUO\'UXJ $OFRKRO7HVWLQJ5HSRUW)RUP
                                                                                                                      ATTACHMENT 8.C

                   The [Name of Subrecipient] has received federal assistance under the Federal Transit statute
                                     and agreed to comply with the terms and conditions of
                                  the protective labor arrangements in 49 CFR Section 5333(b)




                                            TRANSIT EMPLOYEE PROTECTION FACTSHEET
                                                   Formula Grants for Rural Areas

When Federal funds are used to acquire, improve, or operate a transit system, Federal law requires arrangements to protect the rights
of affected transit employees. The terms and conditions of the protective arrangements are included in the grantee's contract with the
Federal Transit Administration (FTA).

The requirement to protect transit employees is contained in Section 5333(b) of Title 49 U.S. Code (formerly Section 13(c) of the
Federal Transit Act). Section 5333(b) specifies that the arrangements must provide for the preservation of rights and benefits of
employees under existing collective bargaining agreements, continuation of collective bargaining rights, protection of individual
employees against a worsening of their positions in relation to their employment, assurances of employment to employees of acquired
transit systems, priority of reemployment, and paid training or retraining programs.

Rural projects funded under Section 5311 of the Federal Transit law (formerly Section 18) projects must satisfy the employee protection
requirements of Section 5333(b). This is accomplished through an expedited procedure administered by the Department of Labor
(Department) which is based on the application of a Special Warranty Arrangement (Warranty) which is posted on the OLMS Web site
and may be updated from time to time to reflect developments in the employee protection program. The FTA will include the current
version of the Warranty in grants of assistance through reference in its Master Agreement.

The Department's procedures for application of the Warranty require that the Grantee or state agencies applying for funds under the
Rural program must incorporate the terms of the Warranty into the contract with each recipient of funds. The grant applications must
include 1) a listing of all transportation providers that are recipients of transportation assistance funded by the project; 2) a listing of all
other transportation providers in the geographic service area of each recipient being funded; and 3) a listing of all labor organizations
representing employees of transportation providers identified in #2 and #3 above. To facilitate inclusion of this information in the grant
application, a sample format is posted on the OLMS website.

Under the terms of the Warranty applicants for OTRB grants must include information in the application identifying labor organizations
representing employees of the grant recipients.

The Department will notify labor organizations representing potentially affected transit employees in the service area when Rural grants
are funded by the FTA.

Additionally, the Warranty requires that the Recipient post, in a prominent and accessible place, the terms and conditions of the
Warranty with a notice stating that the Recipient has received federal assistance under the Federal Transit statute and has agreed to
comply with these terms.

Transportation related employees who believe they have been affected as a result of Federal transit assistance may file claims under
the Warranty, which also requires that the Recipient make the necessary arrangements so that covered employees (or their union
representative) may file such a claim.

For further information contact:
       U.S. Department of Labor
       Office of Labor-Management Standards
       Division of Statutory Programs
       Washington, DC 20210
       Telephone: (202) 693-0126 Fax: (202) 693-1342

The full warranty can be seen on the DOL WEB PAGE and can be reached by going to www.dol.gov. Scroll to the bottom of the page,
and click on “A to Z Index.” Click on “T” and select “Transit Employee Protections.”




MTA 2017 LOTS Manual, Attachment 8.C, LOTS Website Checklist
                                                                         ATTACHMENT 10.A

                       SAMPLE LETTER OF INTENT TO DISPOSE OF A VEHICLE

      Letter must be on Agency Letterhead and all information noted below must be supplied by
      the LOTS requesting the vehicle disposal.


      Date
      MTA
      Address



      Dear (provide Name of current MTA Regional Planner):


      The (Name of Agency) has operated the vehicle(s) listed below since (provide year vehicle(s)
      were placed in service). This (or these) vehicle(s) exceed their useful life criteria either in terms
      of mileage or years of service (chose appropriate criteria), and we are now requesting that the
      Maryland Transit Administration (MTA) concur in our request for disposal; OR

      The (Name of agency) has operated the vehicle(s) identified below since (provide year vehicle
      was placed in service). This vehicle is no longer operable due to (chose description that best
      applies: accident, loss, wear and tear, or systemic failure) even though it has remaining useful
      life based on (chose all that apply: mileage, years of service or both). We are now requesting
      that the Maryland Transit Administration (MTA) concur in our request for disposal for the
      vehicle(s) listed below.

      For each vehicle listed, the LOTS must provide the following information:

          Vehicle Make and Model: For example, Ford/Champion
          Vehicle Model Year: From your vehicle registration
          Vehicle Current Life Mileage: Remember to include mileage from odometer turning over
          Vehicle VIN Number: Self-explanatory
          Agency Fleet Identification Number: Self-explanatory
          Vehicle Current Condition: This information needs to address the current mechanical and
          operability condition of the vehicle in sufficient detail for MTA to render a decision


Name of agency will no longer use the vehicle and will dispose of it according to its adopted vehicle
disposal procedures. Any proceeds from the sale of the vehicle will be reinvested in Name of
Agency’s transportation program. If $5,000 or more in proceeds are realized, Name of Agency will
contact the MTA to determine how the $5,000 will be utilized.

      If you should need any additional information on this request, please contact (Name and Title)
      at phone number or email address.


Sincerely,


Name of Agency Official

cc:



MTA 2017 LOTS Manual Attachment 10.A, Vehicle Lien Release/Disposal Template                                  1
                                                            ATTACHMENT 10.B

                          Template for Maintenance Plan




     The _____________ Bus Company



              Maintenance Plan

                         Document #: _________
                          Revision: _________
                           Date: __________




APPROVED BY:


______________________________                 _____________
General Manager                                Date




______________________________                 _____________
Maintenance Manager                            Date




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                                   Maintenance Plan
                                   Revision History

                                                                        Superseded
Revision    Date                         Description of Change           Document

Original   12/15/13   Original Release




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Company Mission Statement

The _________________________ Bus Company’s mission is to provide safe, clean,
reliable and comfortable transportation to our valued customers.




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Organization Chart

The _________________________ Bus Company’s organization consists of the
following key personnel displayed by position and name. We assign responsibilities and
delegate the authority to carry out those responsibilities.




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Assignment of Responsibility

General Manager: Has the overall responsibility of the Transportation, Maintenance,
Safety and Quality Programs.

Director of Safety and Quality Assurance: Responsible for leading the safety and
quality efforts of the organization to the highest standards.

Director of Maintenance: Has responsibility for developing the maintenance plan to
include scheduled, unscheduled, outsourced and in-house maintenance work that
meets or exceed the vehicle manufacturer’s recommendations. The Director of
Maintenance is also responsible for developing a warranty management plan that
ensures repair costs are borne by the manufacturer.

Maintenance Manager: Has the responsibility for implementing our maintenance plan
and works closely with our Shop Forman, PM Scheduler and Warranty Manager to
assure the plan’s effectiveness.

Shop Forman: Is responsible for ensuring maintenance is completed on time and to the
quality level outlined in the maintenance plan. The Shop Forman assigns the work and
follows-up to assure it was performed correctly.

PM Scheduler: Is responsible for tracking PM activities, removing vehicles from service
and scheduling work through the Maintenance Manager. The PM Scheduler is also
responsible for maintaining both electronic and hard copy maintenance records.

Warranty Manager: Is charged with being familiar with the warranty provisions of
vehicles and equipment, maintaining records of items under warranty, reporting on the
failure of warranted items including the reason for failure, helping the Maintenance
Manager assure that employees do not violate warranty provisions.

Lead Mechanic: Responsible for carrying out the assigned work and documenting any
additional work or irregularities found during the repair / servicing.




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Maintenance Plan

The _______________________ Bus Company’s maintenance plan is based on
preventive, (scheduled) maintenance rather than reactive (unscheduled) maintenance.
The program is intended to reduce overall maintenance costs and inconvenience to our
valued customers resulting from equipment breakdowns.

To achieve this, ________________________ Bus Company follows the maintenance
recommendations of our vehicle and equipment manufacturers in order to maintain a
valid warranty, even if the vehicle or equipment is no longer under the manufacturer’s
warranty.     This includes a graduated maintenance program based on the
manufacturer’s maintenance interval recommendations for climate and type of use for
each individual vehicle that we own.

The maintenance of ADA and accessibility equipment is included in our vehicle
maintenance program and not handled separately. This allows us to perform regular
and frequent checks to keep the equipment in good working order and to promptly
repair it when needed. If ADA and accessibility equipment is found to be inoperable it is
removed from service at the end of the shift and like equipment will be dispatched to
accommodate persons with disabilities.




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Goals and Objectives

The _______________________ Bus Company’s maintenance goals and objectives
support our company’s higher level mission statement.

      Goal: Reduce overall maintenance costs and inconvenience to our customers.
      Objective: Maintain a comprehensive preventive maintenance plan.

      Goal: Adhere to the vehicle and equipment manufacture’s maintenance
      recommendations.
      Objective: Maintain a graduated maintenance program based on intervals
      recommended by the manufacturer in order to maintain a valid warranty.

      Goal: Provide ADA and accessibility equipment that is in good working order.
      Objective: Include ADA and accessibility equipment in all routine maintenance
      inspections including the driver’s pre-trip inspection. Promptly remove inoperable
      equipment from service and dispatch like equipment to accommodate persons
      with disabilities.




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Achieving Goals and Objectives

We maintain a comprehensive Maintenance Plan that is reviewed regularly for
effectiveness and updated at least annually.

Our graduated preventive maintenance program is specific to each of our individual
vehicles and reflects the manufacturer’s recommended maintenance intervals in order
to maintain a valid warranty.

We maintain ADA and accessibility equipment in good working order as part of our
overall vehicle’s routine maintenance requirements.

We maintain records of inoperable ADA and accessibility equipment that include when it
was identified, removed from service, repaired, and how we accommodated persons
with disabilities while it was down.




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Preventive Maintenance Plan

The ________________________ Bus Company continually reviews the effectiveness
of our maintenance program through fluid analysis, road call, unscheduled maintenance
and on time preventive maintenance report summaries prepared by our Director of
Maintenance. These summaries, as well as driver reports from our operations
department, are reviewed in weekly meetings with our General Manager. Minutes of
these meetings are maintained. At a minimum, we update our Maintenance Plan
annually. We are structured to allow a maximum variation of plus or minus 10% of our
mileage based preventive maintenance on all vehicles and equipment.

The _______________________ Bus Company maintains evening and weekend
maintenance staff to assure vehicles are available during peak demands and to help
reduce the size of our reserve fleet requirement. We maintain both electronic and hard
copy records of all maintenance activities for a minimum of three years after
decommissioning of the vehicle or equipment.

If we must outsource a maintenance task, a thorough incoming inspection is performed,
and a record kept, to confirm that the work meets the standards of our maintenance
department.




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Periodic Maintenance

The __________________________ Bus Company maintains each individual vehicle in
accordance with the manufacturer’s recommendations to maintain a valid warranty,
even if the vehicle is no longer under warranty.

Our maintenance management software identifies vehicles approaching a maintenance
interval through daily input of vehicle mileage from our fuel records reports. Our PM
Scheduler flags the vehicle through our Dispatcher and posts the date and type of
maintenance due on our Maintenance Manager’s tracking board. The Maintenance
Manager assigns the work to a technician who records their inspection in hard copy
which is returned to the Maintenance Manager. The Maintenance Manager records the
hard copy and maintains an electronic copy through our maintenance management
software.

Technicians perform minor repairs found during the inspection, recording parts and
labor on work orders that they attach to the completed PM check sheets. Repairs that
will take several hours are scheduled through the Maintenance Manager based on the
effect the defect will have on the vehicle’s operation and the availability of replacement
parts.

Our current fleet of vehicles, with their manufacturer’s maintenance intervals, consists of
the following:

    Vehicle Type           Maintenance Interval (miles)            Maintenance Type
Medium Duty 35’ Bus         5,000                             A (Rev 004 dated 04/12/11)

                           10,000                             B (Rev 004 dated 04/12/11)
                           15,000                             C (Rev 004 dated 04/12/11)

                           60,000                             D (Rev 004 dated 04/12/11)

Light Duty 28’ Bus          3,000                             A (Original 02/15/13)

                            6,000                             B (Original 02/15/13)

                            9.000                             C (Original 02/15/13)
                           12,000                             D (Original 02/15/13)




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PM Inspection Sheets

Each vehicle type has its own PM inspection sheet for each service interval. Electronic
copies of the forms are maintained and printed out for each inspection. This assures
only the latest approved version is used on the shop floor.




MTA 2017 LOTS Manual Attachment 10.B, Maintenance Plan Template

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New Vehicle Commissioning

New vehicle specifications are prepared for bid by our managers. We utilize the best
value approach to our purchases, not necessarily low bidder. Our maintenance
manager monitors the construction and testing of the vehicles at the manufacturer’s
facility. He performs a pre-shipment inspection and maintains a record of his findings
as part of our new vehicle commissioning package. He also performs a post-shipment
inspection when the vehicle arrives at our facility. Discrepancies between the pre and
post inspections must be resolved with the manufacturer. Our specifications grant us a
“shake-down” of ________ round trips in service before final acceptance of the vehicle
and commencement of the warranty provisions. This helps assure all systems function
in the type of environment intended.

As part of our new vehicle commissioning package we visually confirm and then retain
all component serial number documentation provided by the manufacturer. This
documentation is retained in electronic and hard copy. Prior to shake-down we enter all
vehicle and sub component information into our maintenance management software.
Our software also allows us to identify the stored location of vehicle titles, tag
registration and any equipment we install such as EZPass transponders.

We upload each specific vehicle’s maintenance manuals which we require from the
manufacturer in electronic format. We also retain two hard copies of the manuals, one
for shop floor use and one for our technical library. The vehicle manufacturer provides
preventive maintenance checklists that incorporate all systems and components for the
recommended maintenance intervals in order to maintain a valid warranty. Our
Maintenance Manager reviews the checklists and transposes them to our company
letterhead, then assigns a revision number and date. Our software alerts us to perform
early fluid changes after the vehicle’s break-in period as prescribed by the
manufacturer.




MTA 2017 LOTS Manual Attachment 10.B, Maintenance Plan Template

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Oversight of Work Done by Contractors

Our experienced maintenance staff seldom needs to outsource work to contractors. We
have determined that outsourcing for complete engine replacement is not only cost
effective but necessary for the safety of our employees. We have screened and pre-
selected a contractor with the capability to perform engine replacements in a timely
manner. We document our incoming inspection upon receipt of our vehicle from the
contractor after the work is completed.

In the event our facility becomes damaged or otherwise temporarily incapable of
completing vehicle preventive maintenance on time, we have pre-selected a contractor
that will maintain our vehicles in accordance with our maintenance plan. The contractor
will use our PM forms. Our staff will inspect their finished work before the vehicle re-
enters service. Our maintenance management software identifies that the work was
done by contractors thereby tracking all offsite costs. Our maintenance management
software performs daily backups to cloud storage so information can be retrieved if our
facility hardware is damaged.




MTA 2017 LOTS Manual Attachment 10.B, Maintenance Plan Template

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Warranty Management Plan

The ______________________ Bus Company maintains a warranty management plan
to ensure the cost of eligible repairs is borne by the manufacture. Our maintenance
management software has a component to track warranty parts and repairs.

When a part fails our Warranty Manager researches it for date purchased and mileage.
If the part is covered by a warranty it is returned to the manufacturer’s authorized
representative. The representative creates a tracking number which we then use to
provide accompanying work orders for associated labor claims. The warranty claim
tracking number continues to be used by our accounting department for receipt of labor
credit from the manufacturer.

Open tracking numbers are discussed at monthly meetings with the manufacturer’s
representative. Meeting minutes are retained for our records. Replacement parts
receive a documented incoming inspection by our Maintenance Manager. The
Maintenance Manager’s satisfactory incoming inspection and our accounting
departments receipt of associated labor credit closes out the warranty claim.




MTA 2017 LOTS Manual Attachment 10.B, Maintenance Plan Template

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Vehicle Disposal

Vehicles that were grant funded are not disposed of until the end of their useful life in
accordance with the Altoona test report for each vehicle model. Should a vehicle’s
condition require disposal before the end of useful life no action will be taken until the
grantor provides written approval. At that point disposal is carried out in accordance
with our County requirements.

Our maintenance management software allows us to archive vehicle’s records
indefinitely. Our policy is to retain these records for three years after the vehicle’s
disposal.




MTA 2017 LOTS Manual Attachment 10.B, Maintenance Plan Template

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Inventory List

Our maintenance management software allows us to maintain an inventory of our
vehicles. Included in the inventory list are the following identifying characteristics of
each vehicle:


Assigned vehicle number
Description
Seating capacity
Year
Make
Model
Vehicle identification number
Title number
Ownership
Tag number
Fuel type
Acquisition date
Original Cost
Warranty expiration date
Percentage funded by grant
Grant number
Accessories (EZPass transponder, etc.)
Estimated useful life (years / miles)
Condition Code (if used)
Disposition
Disposition date
Disposition price received




MTA 2017 LOTS Manual Attachment 10.B, Maintenance Plan Template

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                         Fixed Route Service (with ADA Paratransit) Sample
  [This template is only appropriate for transit systems that provide fixed route services. Transit
   systems that provide deviated fixed route/route deviation and/or general demand responsive
 services (in addition to, or instead of, fixed route services) should refer to the sample ADA policy
                              and procedures for these types of services.]

                          Americans with Disabilities Act of 1990 (ADA)
                                    Policy and Procedures
                                        Date: _______


INTRODUCTION

Purpose: This policy is written to establish operating and service guidelines and procedures for
the implementation of the requirements of the American with Disabilities Act of 1990 (ADA), the
U.S. Department of Transportation regulations for implementing ADA (49 CFR Parts 27, 37 and
38), and applicable Maryland laws and regulations. The _____ Public Transit System operates
services on a fixed route basis, with complementary paratransit provided to those individuals who
are unable to ride fixed-route due to a disability. The _____ Public Transit System complies with
ADA requirements with respect to such services.


POLICY STATEMENT

It is the policy of ____ Public Transit System to comply with all the legal requirements of Federal
and State laws and regulations as they pertain to individuals with disabilities. The transit system
provides quality transportation services without discrimination to all persons including individuals
with disabilities. Discrimination on the basis of disability against any person by transit system
employees will not be condoned or tolerated.

Goals: Service is provided in a manner that meets these goals to:
1. provide safe, accessible, and dignified services to all persons, including individuals with
   disabilities.
2. ensure that eligible individuals who are unable to board, ride or disembark from the fixed-route
   service are provided complementary paratransit that is comparable in service availability and
   quality to the fixed route service.
3. expedite the safe and efficient boarding, securing, transporting, and alighting of all passengers,
   regardless of mobility status.
4. accommodate the wide range of mobility aids within the confines of available vehicles and
   commercial standard equipment.

Applicability: This policy applies to all transit system employees, services, facilities and vehicles.
It applies equally to all persons needing and/or using the services provided by the system.
Definitions:

Disability: A physical or mental impairment that substantially limits one or more major life activities.



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Fixed Route Service: Vehicle is operated along a prescribed route according to a fixed schedule.

Mobility Aid/Non-Wheelchair Mobility Device: A device used by an individual with a mobility
impairment to assist with mobility but does not meet the requirements of a wheelchair as defined
by ADA. These include but are not limited to canes, crutches, walkers and “Segways” when used
by an individual with a mobility related disability.

Route Deviation Service: A system that permits user-initiated deviations from routes or schedules.
Sometimes referred to as deviated fixed route or flexible route service.

Securement Equipment: Equipment used for securing wheelchairs against uncontrolled movement
during transport.

Securement Station: Space specifically designed to secure and stabilize wheelchairs on transit
vehicles.

Service Animal: An animal individually trained to work or perform tasks for an individual with a
disability, including, but not limited to, guiding individuals with impaired vision, alerting individuals
with impaired hearing to intruders or sounds, providing minimal protection or rescue work, pulling a
wheelchair, or fetching dropped items.

Wheelchair: a mobility aid belonging to any class of three- or more- wheeled devices, usable
indoors, designed or modified for and used by individuals with mobility impairments, whether
operated manually or powered.


GENERAL GUIDELINES AND PROCEDURES FOR IMPLEMENTING POLICY

Recruitment and Employment: As stated in the transit system’s personnel policies, the agency
is an Equal Opportunity Employer and fully complies with ADA in its recruitment, hiring and
continued employment practices.

Facility and Vehicle Accessibility: The transit system administrative facility, passenger facilities
and vehicles shall meet or exceed the requirements of 49 CFR Parts 27, 37 and 38 and the State
of Maryland. All vehicles purchased for fixed-route and deviated fixed-route service will be
accessible. Vehicles purchased for demand-response service will only be non-accessible to the
extent that the demand-response system, when viewed in its entirety, provides the same level of
service for individuals with disabilities as for individuals without disabilities.

Vehicle and Route Assignment: To the extent possible, the assignment of particular types of
vehicles will be based upon rider needs. All vehicles assigned to fixed routes and deviated fixed
routes will be accessible.

For general demand-response service outside the ADA Complementary Paratransit described
below, the transit system will make all reasonable efforts to make an accessible vehicle available
whenever requests are made. Trip denials will be tracked by disability to monitor whether trips are
disproportionately denied to individuals with disabilities because an accessible vehicle is not


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available. Should this be found to be the case, inaccessible vehicles will be replaced with
accessible vehicles until the demand-response system, when viewed in its entirety, is accessible.

Maintenance of Accessible Features: Accessibility features on vehicles, including lifts,
wheelchair securement devices and public address systems, will be maintained in operative
condition. The preventive maintenance program of the _____ Public Transit System provides for
regular and frequent maintenance checks of these features as well as preventive maintenance as
recommended by the equipment manufacturers. In addition, the lift must be cycled as part of each
pre-trip inspection. (Note: lift cycling as part of the pre-trip inspection is not required by ADA but is
recommended by MTA as a way to comply with the federal ADA requirement that transit systems
conduct regular and frequent lift checks, sufficient to determine if lifts are actually operative.)

Drivers are required to report lift failures as soon as possible. Vehicles with inoperative lifts will be
replaced as soon as possible. Additional fixed-route policies related to inoperative lifts are
discussed under “Policies Specific to Fixed Route Service.”

Wheelchair Accommodation: Transportation providers are required to carry a wheelchair and its
user, as long as the lift can accommodate the size and weight of the wheelchair and its user, and
there is space for the wheelchair on the vehicle. If a vehicle lift/ramp and securement area can
accommodate a mobility device, ____ Public Transit System will transport the device (and its user).

Boarding: Drivers and scheduling practices will provide adequate time for a passenger with a
disability to board and/or disembark the vehicle, which includes adjusting the schedule if necessary
to accommodate slower passengers and waiting for passengers to be seated before moving the
vehicle.     It is the responsibility of the driver to determine the safest location for passenger
boarding based on conditions and individual needs upon arrival at the pick-up site. The passenger
and/or their guest, escort or attendant will maneuver the passenger and mobility aid to the vehicle.
Only a properly trained transit system employee can operate the lift, secure the wheelchair on the
lift, and secure the wheelchair in the securement station.

Use of Accessibility Devices by Individuals with Disabilities Not Using a Wheelchair: An
individual with a disability who is not using a wheelchair or other seated mobility aid may use the
lift to board or alight the vehicle upon request.

Priority Seating: With the exception of the wheelchair securement stations, the transit system
does not require any passenger to sit in designated seating. However, this does not supersede
the transit system’s right to require any passenger who has caused a disruption in the safe travel
of other passengers and/or driver to be required to sit in a specific area of the vehicle as a
condition of transportation.

Priority seating for people with disabilities is designated by permanent signage in each vehicle. In
cases where an individual with a disability requests use of priority seating that currently occupied
by another passenger, the driver will ask that passenger to allow the individual with a disability to
use of the seat.

Driver Assistance: Drivers will make themselves available for assistance to individuals with
disabilities and will assist upon request of the passenger. Drivers will leave their seat to assist a


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passenger with using the vehicle ramp, lift and/or securement system. Drivers will use the
accessibility-related equipment and features on their vehicles as described in these policies.

Securement: Securement of wheelchairs is the responsibility of the driver and drivers will be
trained in the proper operation of all securement equipment based on manufacturer specifications.
Drivers should not allow a passenger to ride if they are not secured properly unless the
securement system will not accommodate the wheelchair. If the securement system is not
compatible with the wheelchair the passenger is using, the driver will still make an attempt to safely
secure the wheelchair. If the wheelchair cannot be secured because of the wheelchair design, the
passenger still has the right to ride the vehicle. Drivers cannot deny a passenger a ride based on
the inability to secure the wheelchair. However, drivers must warn the passengers of the danger of
riding in a non-secured wheelchair. Passengers who refuse to allow their wheelchairs to be
secured may be denied service. Drivers must secure wheelchairs in the designated securement
area only, even if the passenger wants their mobility device to be secured in a non-designated
area.

[Note: select one depending on your agency policy. Make sure that all riders are treated the same.]
Seat belts and shoulder harnesses are recommended but not required for passengers riding in
their secured wheelchair. OR: Seat belts and shoulder harnesses are required for ALL
passengers.

Non-Standard Mobility Devices: Mobility devices that are not wheelchairs will be accommodated
to the extent that the ADA-compliant lift and securement areas can safely do so. However, these
devices are the responsibility of the individual passenger, and must be secured in a manner that
does not interfere with the safe operation of the vehicles and the transport of other passengers.

Accommodation of Portable Oxygen: Individuals are allowed to travel with respirators and
portable oxygen supplies on board, consistent with applicable U.S. Department of Transportation
rules on the transportation of hazardous materials.

Transfer to Fixed Seating: All passengers using seated mobility devices have an option of
transferring to fixed seating once on board the vehicles. Drivers may recommend, but never
require, users of seated mobility devices to transfer to fixed seating.

Service Animals: In compliance with 49 CFR Part 37, the transit system allows trained service
animals to accompany passengers with disabilities. The driver will not ask for proof of the
qualifications of the animal, but may ask what tasks the animal has been trained to perform.
However, any animal which is not under the passenger’s control or which becomes a threat to
other passengers may be restricted from riding.

Alighting: It is the responsibility of the driver to determine that the location for passenger alighting
is safe. For fixed route, the driver will allow a passenger who uses the lift to disembark at any stop,
unless the lift cannot be deployed, the lift will be damaged if deployed, or conditions at the stop
would present unsafe conditions for all passengers. Only the driver will unsecure the wheelchair,
secure it on the lift and operate the lift to return the passenger to the ground level.




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Staff Training: All drivers and transit system staff are trained to proficiency in use of accessibility
equipment, the operating policies related to each of the service requirements described, and in
properly assisting and treating individuals with disabilities with sensitivity. Mechanics are also
trained to properly maintain lifts and other accessibility equipment.

Rider Information: All printed informational materials are made available in accessible formats
upon request, for example, large print for individuals with low vision or audio for blind individuals,
as well as accessible electronic formats.

Complaint Procedure: All complaints of discrimination on the basis of disability will be promptly
and objectively investigated and forwarded to the __________________. Corrective or disciplinary
action will be taken for behavior prohibited by this policy, up to and including termination of
employment. [Note: may want to attach complaint form.]

Reasonable Modification of Policy: If a passenger requires modification of any of these policies
to accommodate their disability, they may request such a modification by contacting ______. The
transit system will work with the individual to find an accommodation solution.


GUIDELINES AND PROCEDURES FOR IMPLEMENTING POLICY SPECIFIC TO FIXED ROUTE
SERVICES

Inoperative Lifts: Vehicles with inoperative lifts must be taken out of fixed route service as soon
as possible (no later than the beginning of the vehicle’s next service day) and inoperative
equipment will be replaced promptly with spare vehicle. The inoperative lift will be repaired before
the vehicle returns to service.

If there is no spare vehicle available to take the place of a vehicle with an inoperable lift on a route,
the vehicle with the inoperable lift may be kept in service for no more than three days [maximum if
the entity serves an area of over 50,000 population – or five days if the entity serves an area of
50,000 or less population]. In such cases, complementary paratransit will be provided to
individuals with disabilities who are unable to use the vehicle because its lift does not work. [Note:
Alternative transportation is only required if the headway to the next accessible vehicle on the
route exceeds 30 minutes, but few rural and small urban systems operate on such frequent
headways.]

Route Identification to Passengers Waiting at Shared Stops: Where vehicles for more than
one route serve the same stop, each driver will stop and announce their route to passengers
waiting at the stop. These stops have been listed for each route and the lists are provided to
drivers during training. [Note: You may wish to attach the lists of these stops to your policy.]
[Note: as a supplemental approach, if preferred by the customers in your community, you may
provide customers with route hailing kits (containing numbered cards, for example) to allow
passengers to inform drivers of the route they want to use or to or be identified by the driver as a
potential customer seeking a ride on a particular route.]

Route Orientation Announcements: Fixed route drivers will announce the following stops to
passengers on board the vehicle (using the vehicle’s public address system on larger vehicles if


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such is available): 1) transfer points with other routes, 2) major intersections or destination points,
3) sufficient intervals along a route to orient a passenger with a visual disability to his or her
location, and 4) any stop requested by a passenger with a disability. Stops that fall into the first
three categories are listed for each route and provided to drivers during training. [Note: You may
wish to attach the lists of these stops to your policy.]

Bus Stop Accessibility: When establishing new bus stops, it is the policy of the _____ Public
Transit System to select locations that are accessible to riders using mobility devices, either at the
stop location, or close by if the actual stop is not accessible to a wheelchair user. When installing
improvements at existing bus stops, the improvements will be made accessible in accordance with
ADA Accessibility Guidelines of the U.S. Access Board. In the event that a particular stop is not
accessible, the transit system will provide complementary paratransit to any individual who is
unable to use the fixed route system because that stop is inaccessible. If an individual with a
disability requests that an existing stop be made accessible, the _____ Public Transit System will
work with the jurisdiction that is responsible for the street and sidewalk (if applicable) to include
accessibility improvements to the stop within the jurisdiction’s ADA transition plan for sidewalks.

ADA Complementary Paratransit: Individuals who are unable to use the fixed route service
because of a disability will be provided demand-response service that is comparable to the fixed
route service in service availability and quality. The policies for ADA Complementary Paratransit
are provided in the next section. [Note: ADA Complementary Paratransit is not required for
commuter or intercity service.]


GUIDELINES AND PROCEDURES FOR IMPLEMENTNG POLICY SPECIFIC TO ADA
COMPLEMENTARY PARATRANSIT SERVICES

Introduction: The _____ Public Transit System provides ADA Complementary Paratransit
services for individuals who are unable to use the fixed route service because of a disability. This
is demand-response service that is equivalent to the fixed route service in terms of service
characteristics as described under 49 CFR Part 37, Subpart F.

Eligibility Determination Process: To be eligible to use the ADA Paratransit service, local
residents and long-term visitors must complete an ADA paratransit eligibility determination
process. Eligible individuals will receive documentation of ADA paratransit eligibility, which can be
used in other areas.

   Eligibility Criteria

    The certification process strictly limits ADA paratransit eligibility to the regulatory definition of
eligibility. Only those persons who meet the regulatory definition will be given documentation
indicating that they are “ADA Paratransit Eligible.” A person will be considered eligible for
complementary paratransit if:

   x   The individual is unable, as the result of a physical or mental impairment (including a vision
       impairment), and without assistance of another individual (except the operator of a
       wheelchair lift or other boarding assistance device), to board, ride, or disembark from any


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       vehicle on the system which is readily accessible to and usable by individuals with
       disabilities.

   x   The individual with a disability is capable of using the system with the assistance of a
       wheelchair lift but the route they want to use is not 100% ADA accessible.

   x   The individual with a disability has a specific impairment-related condition, which prevents
       such individual from traveling to a fixed route boarding location or from a disembarking
       location.

   Temporary eligibility for ADA paratransit service will be allowed for those with a disability that is
only temporary in nature. Temporary eligibility is established during the certification process.

    [Note: If your system uses Conditional Eligibility, include the following paragraph.] In addition, if
individuals who are determined to be ADA paratransit eligible can use fixed route service under
certain conditions (for example, trips for which they have been trained to navigate or under variable
conditions that affect an individual’s disability), the eligibility will be considered “Conditional” and
documentation which they are given will indicate the limitations/condition of their eligibility.

   Application Form

    A copy of the application form used for _____ Public Transit System’s ADA paratransit service
is provided at the end of this section. (Attach.) Large print, audio, electronic, and other accessible
formats are available upon request, as well as in Spanish language (or other applicable language
per your system’s Limited English Proficiency / Language Assistance Plan).


   Review Process and Time Frame

   Upon receipt of a completed application, the _____ Public Transit System will review the
application and determine the individual’s eligibility within 21 days of receipt. This responsibility has
been assigned to the ADA Coordinator (or other designated individual).

   [Note: If your system also relies on an in-person assessment, include a description of this
process, responsible parties, and time frame.]

   Notification of Eligibility

   Each applicant will be notified in writing by mail of his or her status within 21 days of submitting
a properly completed application (and completing the in-person assessment if applicable). If
determined eligible, this letter will serve as temporary eligibility documentation as described below.
The procedures for using ADA paratransit will also be mailed with this letter in a format useable by
the individual (such as large print, audiotape).

    Those persons determined to be ineligible will be informed as to why their application was
rejected and provided instructions on how they can appeal the decision (described below). This
information will also be mailed with this letter in a format useable by the individual.

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       Documentation

    The _____ Public Transit System will provide certified individuals with documentation that can
be used as identification for reciprocal service in other areas of the state or in other communities
in the United States that are required to provide ADA complementary paratransit service. This
documentation will include the following information:

   x   Name of eligible individual
   x   Name of certifying transit provider – _____ Public Transit System
   x   Telephone number of the –_____ Public Transit System ADA Coordinator
   x   Whether or not the rider requires use of a lift or ramp
   x   Expiration date
   x   Any conditions or limitations on eligibility
   x   Whether person is authorized to travel with a PCA
   x   Information on the appeal process if the individual is denied eligibility or has conditions
       placed on eligibility.

   Term of Eligibility

    Once determined eligible, a person maintains eligibility for ___ years. Recertification is required
every ____ years. [Note: Fill in the number of years, per your system’s specific eligibility process.
The ADA regulations state that recertification may be required at “reasonable intervals.” Typical
intervals used by many transit systems are three and five years.] Persons given temporary
eligibility remain eligible for the duration of time of the temporary disability, as determined through
the certification process and indicated in the documentation that is to be provided to the applicant.

   Appeals Process

    The appeals process will be explained to all applicants who are rejected or permitted only
partial (conditional or temporary) service. The applicant has 60 days to file a written appeal with
_____ Public Transit System, with the decision to be made by the _____ Public Transit System
Chief Operating Officer. The Chief Operating Officer has 30 days from the date of the appeal to
render a decision concerning the appeal. If a decision is not reached within 30 days, the applicant
will be presumed eligible until a decision has been reached. The ADA regulations require that the
person who makes a determination on an appeal must not be involved in the initial determination
of the individual’s eligibility. [Note: The ADA establishes the right to paratransit as a civil right, and
as such, there is an obligation on the part of the transit system to ensure “due process.”]

   ADA Paratransit Service for Visitors

    ADA paratransit eligible individuals visiting from other localities outside of _____ (your system’s
service area) will also be served when eligible trips are requested. The visiting individual’s local
certification will be honored by the _____ Public Transit System. If a visitor does not have ADA
certification from another jurisdiction, but makes a claim of eligibility, that claim will be honored as
required by the ADA. However, in such cases, the _____ Public Transit System reserves the right
to require proof that the individual is not a resident of the county, and if the individual has a


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disability which is not apparent. If the visitor is planning on staying in the __________ area more
than 21 days, he or she needs to formally apply for eligibility certification.

   Personal Care Attendants

   The _____ Public Transit System will provide paratransit service for a personal care attendant
(PCA) traveling with the eligible rider. The need to travel with a PCA will be determined as part of
the eligibility determination process. It is important to note that the PCA may not directly be
needed for transportation, but may be needed at the individual’s trip destination (for example, to
assist with grocery shopping) and thus need for a PCA will not be limited to those individuals who
require assistance in traveling. Also, an individual who is certified as needing a PCA cannot be
denied service if they chose to travel without a PCA.

Service Characteristics and Operating Policies

   Geographic Service Area

   ADA paratransit is provided within a three-quarter mile radius corridor surrounding each fixed-
route, plus relatively small areas enclosed by fixed routes. (Attach a map of the service area
and/or boundaries of areas covered.)

   Days and Hours of Service

    ADA paratransit is provided within the same days and hours as the fixed-route services.
(Attach the current fixed route operating schedules.)

   Fares

    The one-way trip charge for ADA paratransit is $_____, based on the current fixed route fare.
The fare charged for ADA paratransit will not exceed twice the regular general public cash fare for
the equivalent trip on the fixed-route service. In the event that the regular public cash fare is
increased the transit system may increase the paratransit fare accordingly. (Attach the current
fixed route and paratransit fares.)

    If the eligible individual is certified as needing to travel with a PCA, the PCA will not be charged
a fare for ADA paratransit.

   Trip Purpose

    ADA paratransit is provided for trips of any purpose; no priorities are placed on specific types of
trips.

   Trip Scheduling and Response Time

   Reservations are accepted for ADA paratransit trip reservations with one-day advance notice,
until regular close-of-business hours for trips to be provided at any time the next day. Riders may
schedule trips by calling the _____ Public Transit System office Monday through Friday from


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_____ a.m. to ____ p.m., Saturday from _____ a.m. to ____ p.m., and Sunday ____ a.m. to ____
p.m. (if applicable). For trips on Monday, reservations on Sunday are accepted via [Note: Detail
how your system meets this requirement such as an answering machine/pager, Sunday office
hours, or other means].

   Service Capacity and Scheduling Flexibility

   As required, the _____ Public Transit System will provide adequate capacity to meet all
demand for eligible ADA paratransit trips. In some cases it may be necessary to make use of the
one-hour window of scheduling flexibility allowed by law (that is, a trip requested for 11:00 a.m.
may be scheduled as early as 10:00 a.m. or as late as 12:00 noon).

   In order to meet the ADA requirement for ensuring adequate capacity, the _______ Public
Transit System will monitor the following indicators of capacity to ensure that no patterns or
practices of capacity constraints are found:

   x   On-time performance – _____ Transit System defines on-time performance as [Note the
       timeframe within which you would consider a trip as “on-time.” For example, 30 minutes
       beyond the pick-up time. The ADA prohibits substantial numbers of significantly untimely
       pick-ups for initial or return trips, as this may be a capacity constraint]. The System will try
       to ensure that all trips are on-time but because of the realities of operating conditions (e.g.,
       poor weather, road construction), 100 percent of trips will not be on-time. Should on-time
       performance fall below ___ percent, actions will be taken to address and improve trip
       timeliness.

   x   Trip denials and missed trips – Since ADA prohibits substantial numbers of denied or
       missed trips, the _____ Public Transit System plans to meet all requests for ADA
       paratransit service based on expected demand and to avoid any missed trips. There may
       be insignificant number of trips that may be denied due to unforeseen conditions. There
       may also be an insignificant number of missed trips, defined as a trip where the vehicle
       arrives late and the rider either is no longer there or declines the trip due to lateness,
       because of the realities of operating conditions. These will be monitored to ensure
       compliance with ADA.

   x   Trips with excessive lengths – Since the ADA prohibits substantial numbers of trips with
       excessive lengths (also called travel time or ride time), _____ Public Transit System
       monitors travel times on ADA paratransit to ensure comparability to the same or comparable
       trip if taken on fixed route. [Note: ADA paratransit trips should generally not take much
       longer, for example 15 or 20 minutes longer, than comparable trips on fixed route, which
       include not only the time on the bus but the time to walk to and from the bus stops at either
       end of the trip and the time to wait for the bus to arrive. These will be monitored to ensure
       compliance with ADA.]

   Subscription Trips

  As permitted by the ADA regulations, _____ Public Transit System provides a portion of its
ADA paratransit trips on a subscription basis (also called standing orders). Unlike other ADA

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paratransit trips, trip priorities and waiting lists for subscription trip may be established. [You can
decide to set priorities for subscription trips – if so note here.] Since _____ Public Transit System
does not have capacity constraints, there are no restrictions on the percentage of trips that will be
provided as subscription trips. [Note: The requirements specify that subscription service may not
absorb more than 50 percent of the available trips at any time of the service day, unless there
remain trips available for non-subscription riders. That is, as long as there is capacity available for
non-subscription trips (i.e., no trip denials), trips for subscription riders may exceed 50 percent of
the available trip capacity.]

   Companions

    An ADA paratransit rider is permitted to travel with a companion (and more than one on a
space-available basis). Companion passengers pay the same fare as ADA riders. The eligible
rider shall reserve space for the companion(s) when the rider reserves his or her own ride. Any
companions traveling with the eligible individual must share the same trip origin and destination as
the eligible individual.

   Origin-to-Destination Service and Passenger Assistance

    ADA paratransit services will be provided on a curb-to-curb basis [Note if you do all trips door-
to- door and, if so, adjust the next paragraph]. The _____ Public Transit System drivers will assist
ADA paratransit riders with boarding and disembarking from vehicles and in securing their mobility
devices. All drivers who operate ADA paratransit services will be proficiently trained in passenger
assistance and sensitivity towards individuals with disabilities.

   Riders will be required to travel to the curb outside of their trip origin in time for their scheduled
pick-up. Riders who require additional assistance in the form of door-to-door service in order to
use the paratransit may request a modification of this policy by contacting the ADA coordinator at
_____. In such case, the driver will provide assistance on a door-to-door basis. This ensures that
the _____ Public Transit System meets the ADA requirement to provide service on an “origin to
destination” basis. While limited assistance in guiding a passenger from their door to the curb may
be provided on a case-by-case base, this must be prearranged and indicated when the trip is
scheduled.

    Under no circumstances will staff of the _____ Public Transit System provide weight-bearing
assistance, leave a vehicle unattended with passengers on board, enter a rider’s home, or take
actions that would be clearly unsafe. If more extensive assistance is needed by the individual than
the _____ Public Transit System can provide as provider of public transportation, the individual will
be responsible for arranging for personal assistance. The ADA coordinator will work with the
individual and/or their caregiver/social worker to clarify parameters of the assistance provided by
the driver and formally document this in a letter sent to the individual.

   Wheelchair Accommodation

   Transportation providers are required to carry a wheelchair and its user, as long as the lift can
accommodate the size and weight of the wheelchair and its user, and there is space for the



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wheelchair on the vehicle. If a vehicle lift/ramp and securement area can accommodate a mobility
device, ____ Public Transit System will transport the device (and its user).

   No Show Policy

    If no shows become a problem for ADA paratransit riders, the _____ Public Transit System will
establish an ADA no-show policy with input from the disability community. A no-show policy allows
a transit system to discipline riders who establish a pattern or practice of missing scheduled trips,
which can have a negative effect on paratransit performance.




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                           Deviated Fixed Route Service Sample
   [This template is only appropriate for transit systems that provide deviated fixed route
(sometimes called route deviation or flexible route) services. Transit systems that provide
    fixed route and/or general demand responsive services (in addition to, or instead of,
  deviated fixed route services) should refer to the sample ADA policy and procedures for
                                  these types of services.]

                     Americans with Disabilities Act of 1990 (ADA)
                               Policy and Procedures
                                   Date: _______


INTRODUCTION AND PURPOSE: This ADA policy is written to establish operating and
service guidelines and procedures for the implementation of the requirements of the
American with Disabilities Act of 1990 (ADA), the U.S. Department of Transportation
regulations for implementing ADA (49 CFR Parts 27, 37 and 38), and applicable Maryland
laws and regulations. The _____ Public Transit System operates services on a deviated
fixed route basis. The _____ Public Transit System complies with ADA requirements with
respect to such services.

[Note: If the route deviations are offered to all members of the public, the service is
considered as “demand response” and the system is not required to provide ADA
complementary paratransit. However, if the system deviates only for individuals with
disabilities, FTA requires the system to provide ADA complementary paratransit, which can
be achieved by ensuring that the characteristics of the deviations meet ADA
complementary service requirements, that an eligibility certification process has been
established, and that an ADA paratransit policy/plan is in place. See “Fixed Route Service
with ADA Paratransit Sample” (LOTS Manual Attachment 12.A.1 for the sample ADA
paratransit policy and procedures.]


POLICY STATEMENT: It is the policy of ____ Public Transit System to comply with all
the legal requirements of Federal and State laws and regulations as they pertain to
individuals with disabilities. The transit system provides quality transportation services
without discrimination to all persons including individuals with disabilities. Discrimination
on the basis of disability against any person by transit system employees will not be
condoned or tolerated.

Goals: Service is provided in a manner that meets these goals to:
1. provide safe, accessible, and dignified services to all persons, including individuals with
   disabilities.
2. expedite the safe and efficient boarding, securing, transporting, and alighting of all
   passengers, regardless of mobility status.
3. accommodate the wide range of mobility aids within the confines of available vehicles
   and commercial standard equipment.



MTA 2017 LOTS Manual Attachment 12.A.2, Deviated Fixed Route Service                        1
Sample ADA Policy & Procedures
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Applicability: This policy applies to all transit system employees, services, facilities and
vehicles. It applies equally to all persons needing and/or using the services provided by
the system.

Definitions:

Disability: A physical or mental impairment that substantially limits one or more major life
activities.

Fixed Route Service: Vehicle is operated along a prescribed route according to a fixed
schedule.

Mobility Aid/Non-Wheelchair Mobility Device: A device used by an individual with a mobility
impairment to assist with mobility but does not meet the requirements of a wheelchair as
defined by ADA. These include but are not limited to canes, crutches, walkers and
“Segways” when used by an individual with a mobility related disability.

Route Deviation Service: A system that permits user-initiated deviations from routes or
schedules. Sometimes referred to as deviated fixed route or flexible route service.

Securement Equipment: Equipment used for securing wheelchairs against uncontrolled
movement during transport.

Securement Station: Space specifically designed to secure and stabilize wheelchairs on
transit vehicles.

Service Animal: An animal individually trained to work or perform tasks for an individual
with a disability, including, but not limited to, guiding individuals with impaired vision,
alerting individuals with impaired hearing to intruders or sounds, providing minimal
protection or rescue work, pulling a wheelchair, or fetching dropped items.

Wheelchair: a mobility aid belonging to any class of three- or more- wheeled devices,
usable indoors, designed or modified for and used by individuals with mobility impairments,
whether operated manually or powered.


GENERAL GUIDANCE AND PROCEDURES FOR IMPLEMENTING POLICY

Recruitment and Employment: As stated in the transit system’s personnel policies, the
agency is an Equal Opportunity Employer and fully complies with ADA in its recruitment,
hiring and continued employment practices.

Facility and Vehicle Accessibility: The transit system administrative facility, passenger
facilities and vehicles shall meet or exceed the requirements of 49 CFR Parts 27, 37 and
38 and the State of Maryland. All vehicles purchased for fixed-route and deviated fixed-
route service will be accessible. Vehicles purchased for demand-response service will

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only be non-accessible to the extent that the demand-response system, when viewed in its
entirety, provides the same level of service for individuals with disabilities as for individuals
without disabilities.

Vehicle and Route Assignment: To the extent possible, the assignment of particular
types of vehicles will be based upon rider needs. All vehicles assigned to fixed routes and
deviated fixed routes will be accessible.

For general demand-response service outside the ADA Complementary Paratransit
described below, the transit system will make all reasonable efforts to make an accessible
vehicle available whenever requests are made. Trip denials will be tracked by disability to
monitor whether trips are disproportionately denied to individuals with disabilities because
an accessible vehicle is not available. Should this be found to be the case, inaccessible
vehicles will be replaced with accessible vehicles until the demand-response system, when
viewed in its entirety, is accessible.

Maintenance of Accessible Features: Accessibility features on vehicles, including lifts,
wheelchair securement devices and public address systems, will be maintained in
operative condition. The preventive maintenance program of the _____ Public Transit
System provides for regular and frequent maintenance checks of these features as well as
preventive maintenance as recommended by the equipment manufacturers. In addition,
the lift must be cycled as part of each pre-trip inspection. [Note: Lift cycling as part of the
pre-trip inspection is not required by ADA but is recommended by MTA as a way to comply
with the federal ADA requirement that transit systems have regular and frequent lift
checks, sufficient to determine if lifts are actually operative.]

Drivers are required to report lift failures as soon as possible. Vehicles with inoperative
lifts will be replaced as soon as possible.

Additional fixed-route policies related to inoperative lifts are discussed under “Policies
Specific to Fixed Route Service.”

Wheelchair Accommodation: Transportation providers are required to carry a
wheelchair and its user, as long as the lift can accommodate the size and weight of the
wheelchair and its user, and there is space for the wheelchair on the vehicle. If a vehicle
lift/ramp and securement area can accommodate a mobility device, ____ Public Transit
System will transport the device (and its user).

Boarding: Drivers and scheduling practices will provide adequate time for a passenger
with a disability to board and/or disembark the vehicle, which includes adjusting the
schedule if necessary to accommodate slower passengers and waiting for passengers to
be seated before moving the vehicle. It is the responsibility of the driver to determine the
safest location for passenger boarding based on conditions and individual needs upon
arrival at the pick-up site. The passenger and/or their guest, escort or attendant will
maneuver the passenger and mobility aid to the vehicle. Only a properly trained transit



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system employee can operate the lift, secure the wheelchair on the lift, and secure the
wheelchair in the securement station.

Use of Accessibility Devices by Individuals with Disabilities Not Using a Wheelchair:
An individual with a disability who is not using a wheelchair or other seated mobility aid
may use the lift to board or alight the vehicle upon request.

Priority Seating: With the exception of the wheelchair securement stations, the transit
system does not require any passenger to sit in designated seating. However, this does
not supersede the transit system’s right to require any passenger who has caused a
disruption in the safe travel of other passengers and/or driver to be required to sit in a
specific area of the vehicle as a condition of transportation.

Priority seating for people with disabilities is designated by permanent signage in each
vehicle. In cases where an individual with a disability requests use of priority seating that
currently occupied by another passenger, the driver will ask that passenger to allow the
individual with a disability to use of the seat.

Driver Assistance: Drivers will make themselves available for assistance to individuals
with disabilities and will assist upon request of the passenger. Drivers will leave their seat
to assist a passenger with using the vehicle ramp, lift and/or securement systems. Drivers
will use the accessibility-related equipment and features on their vehicles.

Securement: Securement of wheelchairs is the responsibility of the driver and drivers will
be trained in the proper operation of all securement equipment based on manufacturer
specifications. Drivers should not allow a passenger to ride if they are not secured
properly unless the securement system will not accommodate the wheelchair. If the
securement system is not compatible with the wheelchair the passenger is using, the
driver will still make an attempt to safely secure the wheelchair. If the wheelchair cannot
be secured because of the wheelchair design, the passenger still has the right to ride the
vehicle. Drivers cannot deny a passenger a ride based on the inability to secure the
common wheelchair. However, drivers must warn the passengers of the danger of riding
in a non-secured wheelchair. Passengers who refuse to allow their wheelchairs to be
secured may be denied service. Drivers must secure wheelchairs in the designated
securement area only, even if the passenger wants their mobility device to be secured in a
non-designated area.

[Note: select one depending on your agency policy. Make sure you treat all riders the
same.] Seat belts and shoulder harnesses are recommended but not required for
passengers riding in their secured wheelchair. OR: Seat belts and shoulder harnesses are
required for ALL passengers.

Non-Standard Mobility Devices: Mobility devices that are not wheelchairs will be
accommodated to the extent that the ADA-compliant lift and securement areas can safely
do so. However, these devices are the responsibility of the individual passenger, and must



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be secured in a manner that does not interfere with the safe operation of the vehicles and
the transport of other passengers.

Transfer to Fixed Seating: All passengers using seated mobility devices have an option
of transferring to fixed seating once on board the vehicles. Drivers may recommend, but
never require, users of seated mobility devices to transfer to fixed seating.

Accommodation of Portable Oxygen: Individuals are allowed to travel with respirators
and portable oxygen supplies on board, consistent with applicable U.S. Department of
Transportation rules on the transportation of hazardous materials.

Service Animals: In compliance with 49 CFR Part 37, the transit system allows trained
service animals to accompany passengers with disabilities. The driver will not ask for
proof of the qualifications of the animal, but may ask what tasks the animal has been
trained to perform. However, any animal which is not under the passenger’s control or
which becomes a threat to other passengers may be restricted from riding.

Alighting: It is the responsibility of the driver to determine that the location for passenger
alighting is safe. For fixed route, the driver will allow a passenger who uses the lift to
disembark at any stop, unless the lift cannot be deployed, the lift will be damaged if
deployed, or conditions at the stop would present unsafe conditions for all passengers.
Only the driver will unsecure the wheelchair, secure it on the lift and operate the lift to
return the passenger to the ground level.

Staff Training: All drivers and transit system staff are trained to proficiency in use of
accessibility equipment, the operating policies related to each of the service requirements
described, and in properly assisting and treating individuals with disabilities with sensitivity.
Mechanics are also trained to properly maintain lifts and other accessibility equipment.

Rider Information: All printed informational materials are made available in accessible
formats upon request, for example, large print for individuals with low vision or audio for
blind individuals, as well as accessible electronic formats.

Complaint Procedure: All complaints of discrimination on the basis of disability will be
promptly and objectively investigated and forwarded to the __________________.
Corrective or disciplinary action will be taken for behavior prohibited by this policy, up to
and including termination of employment. [Note: may want to attach complaint form.]

Reasonable Modification of Policy: If a passenger requires modification of any of these
policies to accommodate their disability, they may request such a modification by
contacting ______.   The transit system will work with the individual to find an
accommodation solution.




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GUIDELINES AND PROCEDURES FOR IMPLEMENTING POLICY SPECIFIC TO
DEVIATED FIXED ROUTE SERVICES

Deviation Parameters: Upon request by ___*, the _____ Public Transit System will
deviate up to ___-mile* from any established route. [*Note: if the general public can
request a deviation, there is no minimum deviation distance. If deviations are limited to
individuals with disabilities, the three-quarter (3/4) mile ADA paratransit service criteria
should be used.]

Deviation Request Procedures: Riders may request a route deviation by calling the
_____ Public Transit System at least ___ hours before the desired trip. [Note: if the system
deviates only for individuals with disabilities, at a minimum you must take requests for
deviations until close of business the day before]. The rider will be assigned a pick-up
time. Riders will be required to travel to the curb outside of their trip origin in time for their
scheduled pick-up. Vehicles operating on route deviation service will be unable to wait for
a passenger who is not at the designated stop on time. [Note: if the system deviates only
for individuals with disabilities, you may need to provide some origin-to-destination (door-
to-door) services].

Passenger Assistance: Route deviation services will be provided on a curb-to-curb basis
[Note: if the system deviates only for individuals with disabilities, you may need to provide
some origin-to-destination (door-to-door) services]. The _____ Public Transit System
drivers will assist riders with disabilities in boarding and disembarking from vehicles and in
securing their mobility devices. All drivers who operate _____ Public Transit System
services will be proficiently trained in passenger assistance and sensitivity towards
persons with disabilities.

Under no circumstances will staff of the _____ Public Transit System provide weight-
bearing assistance, leave a vehicle unattended with passengers on board, enter a rider’s
home, or take actions that would be clearly unsafe. If more extensive assistance is
needed by the individual than the _____ Public Transit System can provide as provider of
public transportation, the individual will be responsible for arranging for personal
assistance. Staff of the _____ Public Transit System will work with the individual and/or
their caregiver/social worker to clarify parameters of the assistance provided by the driver
and formally document this in a letter sent to the individual.

Fixed Stop Procedures: Riders can also access route deviation service without
advanced request by boarding or alighting at one of the designated fixed stops.

Fares: The one-way fare for riding the deviated fixed route service without requesting a
deviation is $____. The additional one-way fare per deviation is $_____. If a deviation is
requested for both boarding and alighting, this is considered two deviations. [Note: if the
system deviates only for individuals with disabilities, the total fare including the surcharge
cannot be more than twice the general public base fare].




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Inoperative Lifts: Vehicles with inoperative lifts will be taken out of deviated fixed route
service as soon as possible and inoperative equipment will be replaced promptly with
spare vehicle. The inoperative lift will be repaired before the vehicle returns to service. In
the interim, the _____ Public Transit System will provide demand-response transportation
to passengers who require the use of the lift.

Eligibility Certification: [Note: If the system deviates only for individuals with disabilities,
effectively using its deviation mechanism as its ADA complementary paratransit
requirement, it needs to establish a process for certifying riders as eligible for the
deviations. This can be as simple (e.g., self-certification by the individual) or extensive
(e.g., functional eligibility determination or conditional eligibility).

Capacity Constraints: [Note: If the system deviates only for individuals with disabilities,
effectively using its deviation mechanism as its ADA complementary paratransit
requirement, the policy needs to state that no trip restrictions or constraints on the number
of deviations that individuals with disabilities can request or receive].




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Sample ADA Policy & Procedures
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                                Demand Response Service Sample
 [This template is only appropriate for transit systems that provide general demand responsive
 services. Transit systems that provide fixed route with ADA paratransit and/or deviated fixed
route services (in addition to, or instead of, general demand responsive services) should refer to
              the sample ADA policy and procedures for these types of services.]

                        Americans with Disabilities Act of 1990 (ADA)
                                  Policy and Procedures
                                      Date: _______

Purpose: This policy is written to establish operating and service guidelines and procedures
for the implementation of the requirements of the American with Disabilities Act of 1990 (ADA),
the U.S. Department of Transportation regulations for implementing ADA (49 CFR Parts 27, 37
and 38), and applicable Maryland laws and regulations. The _____ Public Transit System
operates services on a demand response basis. The _____ Public Transit System complies
with ADA requirements with respect to such services.

Policy: It is the policy of ____ Public Transit System to comply with all the legal requirements
of Federal and State laws and regulations as they pertain to individuals with disabilities. The
transit system provides quality transportation services without discrimination to all persons
including individuals with disabilities. Discrimination on the basis of disability against any person
by transit system employees will not be condoned or tolerated.

Goals: Service is provided in a manner that meets these goals to:
1. Provide individual, dignified services to all persons including individuals with disabilities.
2. Expedite the safe and efficient boarding, securing, transporting and alighting of all
   passengers, regardless of mobility status.
3. Accommodate the wide range of mobility aids within the confines of available vehicles and
   commercial standard equipment.

Applicability: This policy applies to all transit system employees, services, facilities and
vehicles. It applies equally to all persons needing and/or using the services provided by the
system.

Definitions:

Disability: A physical or mental impairment that substantially limits one or more major life
activities.

Mobility Aid/Non-Wheelchair Mobility Device: A device used by an individual with a mobility
impairment to assist with mobility but does not meet the requirements of a wheelchair as defined
by ADA. These include but are not limited to canes, crutches, walkers and “Segways” when
used by an individual with a mobility related disability.

Securement Equipment: Equipment used for securing wheelchairs against uncontrolled
movement during transport.


MTA 2017 LOTS Manual Attachment 12.A.3, Demand Response Service                                     1
Sample ADA Policy & Procedures
                                                                       ATTACHMENT 12.A.3

Securement Station: Space specifically designed to secure and stabilize wheelchairs on transit
vehicles.

Service Animal: An animal individually trained to work or perform tasks for an individual with a
disability, including, but not limited to, guiding individuals with impaired vision, alerting
individuals with impaired hearing to intruders or sounds, providing minimal protection or rescue
work, pulling a wheelchair, or fetching dropped items.

Wheelchair: a mobility aid belonging to any class of three- or more-wheeled devices, usable
indoors, designed or modified for and used by individuals with mobility impairments, whether
operated manually or powered.


GENERAL GUIDANCE AND PROCEDURES FOR IMPLEMENTING POLICY

Recruitment and Employment: As stated in the transit system’s personnel policies, the
agency is an Equal Opportunity Employer and fully complies with ADA in its recruitment, hiring
and continued employment practices.

Facility and Vehicle Accessibility: The transit system administrative facility, passenger
facilities and vehicles shall meet or exceed the requirements of 49 CFR Parts 27, 37 and 38 and
the State of Maryland. Vehicles purchased for demand-response service will only be non-
accessible to the extent that the system, when viewed in its entirety, provides the same level of
service to individuals with disabilities as for individuals without disabilities.

Vehicle and Route Assignment: To the extent possible, the assignment of particular types of
vehicles will be based upon rider needs. However, in the interest of preparedness, standard
operating procedures shall be to station accessible vehicles first on runs that operate on a daily
basis and have the potential for accessibility needs on a given day, second on runs that have a
history of higher accessibility needs, and third on all other runs. The transit system will make all
reasonable efforts to make an accessible vehicle available whenever requests are made. Trip
denials will be tracked by disability to monitor whether trips are disproportionately denied to
individuals with disabilities because an accessible vehicle is not available. Should this be found
to be the case, inaccessible vehicles will be replaced with accessible vehicles until the system,
when viewed in its entirety, is accessible.

Maintenance of Accessible Features: Accessibility features on vehicles, including lifts and
wheelchair securement systems, will be maintained in operative condition. The preventive
maintenance program of the _____ Public Transit System provides for regular and frequent
maintenance checks of these features as well as preventive maintenance as recommended by
the equipment manufacturers. In addition, the lift must be cycled as part of each pre-trip
inspection. [Note: Lift cycling as part of the pre-trip inspection is not required by ADA but is
recommended by MTA as a way to comply with the federal ADA requirement that transit
systems have regular and frequent lift checks, sufficient to determine if lifts are actually
operative.]



MTA 2017 LOTS Manual Attachment 12.A.3, Demand Response Service                                    2
Sample ADA Policy & Procedures
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Drivers are required to report lift failures as soon as possible. Vehicles with inoperative lifts will
be replaced as soon as possible.

Wheelchair Accommodation: Transportation providers are required to carry a wheelchair and
its user, as long as the lift can accommodate the size and weight of the wheelchair and its user,
and there is space for the wheelchair on the vehicle. If a vehicle lift/ramp and securement area
can accommodate a mobility device, ____ Public Transit System will transport the device (and
its user).

Boarding: Drivers will provide adequate time for a passenger with a disability to board and/or
disembark the vehicle, which includes adjusting the schedule if necessary to accommodate
slower passengers and waiting for passengers to be seated before moving the vehicle. It is the
responsibility of the driver to determine the safest location for passenger boarding based on
conditions and individual needs upon arrival at the pick-up site. The passenger and/or their
guest, escort or attendant will maneuver the passenger and mobility aid to the vehicle. Only a
properly trained transit system employee can operate the lift, and secure the wheelchair in the
securement station.

Use of Accessibility Devices by Individuals with Disabilities Not Using a Wheelchair: An
individual with a disability who is not using a wheelchair or other seated mobility aid may use the
lift to board or alight the vehicle upon request.

Priority Seating: With the exception of the wheelchair securement stations, the transit system
does not require any passenger to sit in designated seating. However, this does not supersede
the transit system’s right to require any passenger who has caused a disruption in the safe
travel of other passengers and/or driver to be required to sit in a specific area of the vehicle as a
condition of transportation.

Priority seating for people with disabilities is designated by permanent signage in each vehicle.
In cases where an individual with a disability requests use of priority seating that currently
occupied by another passenger, the driver will ask that passenger to allow the individual with a
disability to use of the seat.

Driver Assistance: Drivers will make themselves available for assistance to individuals with
disabilities and will assist upon request of the passenger. Drivers will leave their seat to assist a
passenger with using the vehicle ramp, lift and/or securement systems. Drivers will use the
accessibility-related equipment and features on their vehicles.

Securement: Securement of wheelchairs is the responsibility of the driver and drivers will be
trained in the proper operation of all securement equipment based on manufacturer
specifications. Drivers should not allow a passenger to ride if they are not secured properly
unless the securement system will not accommodate the wheelchair. If the securement system
is not compatible with the wheelchair the passenger is using, the driver will still make an attempt
to safely secure the wheelchair. If the wheelchair cannot be secured because of the wheelchair
design, the passenger still has the right to ride the vehicle. Drivers cannot deny a passenger a
ride based on the inability to secure the common wheelchair. However, drivers must warn the


MTA 2017 LOTS Manual Attachment 12.A.3, Demand Response Service                                          3
Sample ADA Policy & Procedures
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passengers of the danger of riding in a non-secured wheelchair. Passengers who refuse to
allow their wheelchairs to be secured may be denied service. Drivers must secure wheelchairs
in the designated securement area only, even if the passenger wants their mobility device to be
secured in a non-designated area.

[Note: select one depending on your agency policy. Make sure you treat all riders the same.]
Seat belts and shoulder harnesses are recommended but not required for passengers riding in
their secured wheelchair. OR: Seat belts and shoulder harnesses are required for ALL
passengers.

Non-Standard Mobility Devices: Mobility devices that are not wheelchairs will be
accommodated to the extent that the ADA-compliant lift and securement areas can safely do so.
However, these devices are the responsibility of the individual passenger, and must be secured
in a manner that does not interfere with the safe operation of the vehicles and the transport of
other passengers.

Transfer to Fixed Seating: All passengers using seated mobility devices have an option of
transferring to fixed seating once on board the vehicles. Drivers may recommend, but never
require, users of seated mobility devices to transfer to fixed seating.

Accommodation of Portable Oxygen: Individuals are allowed to travel with respirators and
portable oxygen supplies on board, consistent with applicable U.S. Department of
Transportation rules on the transportation of hazardous materials.

Service Animals: In compliance with 49 CFR Part 37, the transit system allows trained service
animals to accompany passengers with disabilities. The driver will not ask for proof of the
qualifications of the animal, but may ask what tasks the animal has been trained to perform.
However, any animal which is not under the passenger’s control or which becomes a threat to
other passengers may be restricted from riding.

Alighting: It is the responsibility of the driver to determine that the location for passenger
alighting is safe. However, the driver will allow a passenger who uses the lift to disembark at
any location, unless the lift cannot be deployed, the lift will be damaged if deployed; or
conditions at the stop would present unsafe conditions for all passengers. Only the driver will
unsecure the wheelchair, secure it on the lift and operate the lift to return the passenger to the
ground level.

Staff Training: All drivers and transit system staff are trained to proficiency in use of
accessibility equipment, the operating policies related to each of the service requirements
described, and in properly assist and treat individuals with disabilities with sensitivity.
Mechanics are also trained to properly maintain lifts and other accessibility equipment.

Rider Information: All printed informational materials are made available in accessible formats
upon request, for example, large print for individuals with low vision or audio for blind
individuals, as well as accessible electronic formats.



MTA 2017 LOTS Manual Attachment 12.A.3, Demand Response Service                                      4
Sample ADA Policy & Procedures
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Complaint Procedure: All complaints of discrimination on the basis of disability will be
promptly and objectively investigated and forwarded to the __________________. Corrective
or disciplinary action will be taken for behavior prohibited by this policy, up to and including
termination of employment. (Note: may want to attach complaint form.)

Reasonable Modification of Policy: If a passenger requires modification of any of these
policies to accommodate their disability, they may request such a modification by contacting
______. The transit system will work with the individual to find an accommodation solution.


GUIDELINES FOR IMPLEMENTING POLICY SPECIFIC TO DEMAND RESPONSE
SERVICES

Service in the Most Integrated Setting

The _____ Public Transit System demand response transportation service is a shared-ride
service. It is the policy of the _____ Public Transit System to provide service for individuals with
disabilities in the most integrated setting appropriate to the needs of the individual, including
providing service to individuals with disabilities on the same vehicles and together with all other
riders.

Service Characteristics

The demand responsive system of the _____ Public Transit System, when viewed in its entirety,
provides an equivalent service to individuals with disabilities, including individuals who use
wheelchairs, with respect to the following service characteristics:

   x   Response time: individuals with disabilities are not required to reserve services further in
       advance than other individuals.

   x   Fares: individuals with disabilities are not charged higher fares than other individuals.

   x   Geographic area of service: individuals with disabilities can use the service to travel to
       and from the same areas as other individuals.
   x   Hours and days of service: individuals with disabilities can use the service during the
       same days and hours as other individuals.

   x   Restrictions or priorities based on trip purpose: travel by individuals with disabilities
       is not restricted by trip purpose any more than travel by other individuals.

   x   Availability of information and reservations capability: individuals with disabilities
       have access to the same information and reservations capability as other individuals.

   x   Any constraints on capacity or service availability: travel by individuals with
       disabilities is not limited by capacity any more than travel by other individuals is.



MTA 2017 LOTS Manual Attachment 12.A.3, Demand Response Service                                     5
Sample ADA Policy & Procedures
                                                                ATTACHMENT 12.B

                 ADA Service Provision Compliance
                   Documentation Requirements

These requirements apply to ALL fixed route and demand response services (unless
otherwise noted).

Maintenance of Accessible Features

FTA Requirement:          Recordkeeping and Documentation:
All providers of          x written policy on maintenance of accessible features
transportation service
                          x   preventative maintenance procedures and checklists that
must maintain in
                              include testing and maintaining accessible features:
operative condition the
features required to             o Pre-trip inspection form:
make facilities and                        cycle lift/ramp and kneeler feature
vehicles accessible to
individuals with                           inspect securement devices and belts
disabilities. These                        test PA system if available
features include lifts,
ramps, securement                o Mileage interval maintenance
devices, elevators,                        lubricate, service hydraulics, etc. per
signage, and systems to                     manufacturer’s recommendations
facilitate
communication. All        x   log of inspections for each vehicle, including any findings
accessibility features        indicative of repair needs
must be repaired          x   documentation of work order and repair, and any
promptly.                     difficulties in obtaining a timely repair




MTA 2017 LOTS Manual Attachment 12.B, Documentation Requirements Regarding                  1
General ADA Service Provision
                                                               ATTACHMENT 12.B

Procedures to Ensure Lift Availability (primarily fixed route)

FTA Requirement:                                             Recordkeeping and
                                                             Documentation:
Public entities operating non-rail vehicles must             x written policies and
establish a system of regular maintenance checks for           procedures for the event
lifts. If a lift is inoperative, the vehicle must be removed   that a vehicles lift/ramp
from service before the next day unless an exception           becomes inoperable
applies. Alternative service to persons with disabilities
                                                             x maintain a log of:
is required if a vehicle with an inoperable lift is used on
a fixed route and the headway to the next accessible               o days an inaccessible
vehicle exceeds 30 minutes. The vehicle must be                       vehicle is operated
removed from service before the beginning of the next                 on a route
service day if the lift or ramp is not repaired. The lift or       o provision of
ramp should be repaired before the vehicle is returned                alternative service
to service. In the event that there is no spare vehicle               during those days an
available and the grantee would be required to reduce                 inaccessible vehicle
service to repair the lift or ramp, the grantee can keep              is operated on a
the vehicle with the inoperable lift or ramp in service               route
for no more than five days (if the grantee serves an
area of 50,000 persons or fewer in population) or three            o efforts to notify
days (if the grantee serves an area of more than                      customers of
50,000 persons in population).                                        availability of
                                                                      alternate service




MTA 2017 LOTS Manual Attachment 12.B, Documentation Requirements Regarding              2
General ADA Service Provision
                                                                ATTACHMENT 12.B

Accommodating Riders Using Wheelchairs

FTA Requirement:                                Recordkeeping and Documentation:
A wheelchair is defined in § 37.3 as “a         x inventory of accessible vehicles with
mobility aid belonging to any class of three-     actual lift/ramp design load and
or more-wheeled devices, usable indoors,          securement area dimensions
designed or modified for and used by              identified
individuals with mobility impairments,
                                                x   written policies and procedures to
whether operated manually or powered.”
                                                    accommodate all wheelchairs that
                                                    vehicle equipment is designed to
With respect to wheelchair/occupant
                                                    accommodate.
combinations that are larger or heavier than
those to which the design standards for         x   written information provided to riders
vehicles and equipment of 49 CFR Part 38            with larger wheelchairs advising them
refer (i.e., what was formerly defined as a         of the maximum weight and
“common wheelchair,” meaning within a 30            dimensions that can be
inch by 48 inch footprint weighing no more          accommodated
than 600 pounds when occupied), the entity
                                                x   maintain a log of:
must carry the wheelchair and occupant if
the lift and vehicle can accommodate the               o requests for service denied
wheelchair and occupant.                                 based on occupied weight or
                                                         dimensions of an individual’s
The entity may decline to carry a                        wheelchair
wheelchair/occupant if the combined weight             o incidents in which an
exceeds that of the lift specifications or if            individual’s wheelchair could
carriage of the wheelchair is demonstrated               not board or fit within the
to be inconsistent with legitimate safety                securement area.
requirements.
                                                       o communications with
                                                         customers regarding size of
                                                         occupied mobility device that
                                                         can be accommodated.
                                                       o efforts to accommodate an
                                                         individual by assigning them to
                                                         a vehicle with a lift/ramp a
                                                         higher load rating and/or larger
                                                         securement area




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Lift and Securement Use
Use of Accessibility Features

FTA Requirement:                    Recordkeeping and Documentation:
Lift and Securement Use:            x written policies and procedures for drivers and
Public and private entities           customers
providing transportation
                                    x   training records documenting driver training in safe
service must have a
                                        use of equipment as well as policies for their use
securement system for
wheelchairs. Grantees may           x   record all instances when
require that wheelchair users
                                           o a driver is unable to secure a customer’s
permit their wheelchairs to be
                                             wheelchair (service may not be denied, but
secured, but may not deny
                                             may be helpful in the event of an accident)
service on the grounds that a
wheelchair cannot be secured.              o a customer refuses to permit his wheelchair
Grantees may not require a                   to be secured (service may be denied if it is
wheelchair user to transfer to               the transit system’s policy that all chairs be
another seat. Staff must                     secured)
provide assistance upon             x   RECOMMENDED: If possible, follow up with
request or as necessary with            customers whose chairs cannot be secured; offer
lifts, ramps, and securement            to work with them to identify and mark possible
systems. Grantees must                  securement points and/or provide tether straps
permit individuals with                 (example developed for AC Transit:
disabilities who do not use             http://www.actransit.org/wp-
wheelchairs to use the                  content/uploads/securement.pdf ). Documentation
vehicle's lift or ramp. Under the       of these efforts could be helpful the event of an
equivalent facilitation                 accident in which the customer’s unsecured
requirements of the ADA,                wheelchair results in an injury.
grantees cannot require
persons in wheelchairs to use       x   document incidences of unaccommodated
a lap belt unless all                   requests to board by customer who use mobility
passengers are required to              devices.
use one.                            x   maintain a count of the instances of use of the
                                        lift/ramp on each route per day. If feasible, note
Use of Accessibility                    locations of use and time of day, which can provide
Features: Vehicle operators             helpful information for schedule planning.
and other personnel must
make use of required                x   track and investigate customer complaints related
accessibility-related equipment         to use of accessibility features. Retrain drivers if
and features.                           appropriate and document. Provide written
                                        responses to customers.




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Adequate Time for Vehicle Boarding/Disembarking

FTA Requirement:       Recordkeeping and Documentation:
Grantees must          x Written policies and procedures for drivers and customers
ensure adequate        x On fixed and flexible routes, documentation of “slack” in the
time for individuals     schedule (e.g., 5-10 minute layovers at major transfer points)
with disabilities to   x In demand-response service, track and investigate driver
board or disembark       reports of inadequate boarding/deboarding time in schedule.
a vehicle.             x Flag the need for additional boarding/deboarding time for
                         appropriate customers for scheduler/dispatcher information.
                       x Track and investigate customer complaints related to boarding
                         and deboarding time. Adjust schedules and retrain drivers if
                         appropriate. Document.




Lift Deployment at Any Designated Stop (fixed routes only)

FTA Requirement:           Recordkeeping and Documentation:
Grantees must not          x written policies and procedures, including procedures for
refuse to permit a           customers to learn locations where the lift cannot be
passenger who uses a         deployed
lift to disembark from     x maintain an inventory of all bus stops
a vehicle at any           x document efforts to assess accessibility characteristics of
designated stop,             bus stops and include findings in the inventory
unless the lift cannot     x maintain a list of stops at which the lift cannot be deployed
be deployed, the lift        at all or without damage. Document efforts to assess the
will be damaged if it is     stop and consideration for re-location or improvement.
deployed, or               x documentation of driver training on policy and problem
temporary conditions         stops
preclude the safe use      x track and investigate customer complaints related to refusal
of the stop by all           of drivers to deploy lifts.
passengers.




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Announcements on Vehicles (fixed routes only)

FTA               Recordkeeping and Documentation:
Requirement:
On fixed route    x   written policies and procedures, including procedures when any
systems,              automated technology is not functioning
grantees must     x   documentation of driver training
announce          x   written lists of stops requiring announcements
stops at          x   document inspection of functioning of PA system as part of pre-trip
transfer          x   if an automated announcements are used, document
points, major             o updates on information,
intersections             o instances of system not functioning
and                       o that manual announcements were made when system was
destination                  not functioning.
points, at                o repair orders when system was not functioning.
adequate          x   documentation of monitoring efforts (such as spot checks by
intervals             supervisors, “secret shopper” monitoring)
along a route,    x   track and investigate customer complaints related to stop
and an                announcements
individual stop
upon request.


Vehicle Identification Mechanisms (fixed routes only)

FTA Requirement:         Recordkeeping and Documentation:
If vehicles for more     x written policies and procedures
than one route serve     x documentation of driver training
the same stop, the       x if external announcements are used,
grantee must                   o written lists of locations requiring external
provide a                          announcements
mechanism for a                o documentation of monitoring efforts (such as spot
person with a visual               checks by supervisors, “secret shopper” monitoring)
impairment or other      x if another mechanism is used, appropriate documentation
disability to identify     (e.g., distribution of route hailing cards)
the proper vehicle to    x track and investigate customer complaints related to vehicle
enter or be identified     identification. Document resolutions.
as a person seeking
a ride on a particular
route.




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Service Animals

FTA Requirement:                                      Recordkeeping and
                                                      Documentation:
Grantees must permit service animals to               x written policies and procedures
accompany individuals with disabilities in            x documentation of driver training
vehicles and facilities. The DOT ADA regulations x RECOMMENDED:
define service animal as any animal individually        documentation of any problems
trained to work or perform tasks for an individual      experienced with specific service
with a disability, including but not limited to         animals (e.g., occasions when an
guiding individuals with impaired vision, alerting      animal is not under control of the
individuals with impaired hearing to intruders or       customer) and efforts to work
sounds, providing minimal protection or rescue          with the customer to solve the
work, pulling a wheelchair, or fetching dropped         problem.
items. It is discriminatory to require a person with x track and investigate customer
a disability to certify or register a service animal.   complaints related to service
                                                        animals. Document resolutions.



Public Information/Communications

FTA                  Recordkeeping and Documentation:
Requirement:
Grantees must        x   written policies and procedures, including which formats are
make service             made available, and how they are to be prepared or updated
information          x   include information about the availability of accessible formats
available in             on all public brochures and web site and where to obtain
accessible format    x   Include the procedures for requesting special accommodations
upon request.            on notices of public meetings.
                     x   RECOMMENDED: include TDD/TTY number or number for
                         statewide relay system on brochures and web site
                     x   documentation of staff training in policies and procedures
                     x   RECOMMENDED: maintain a list of potential vendors for braille
                         transcription and sign language interpreters.
                     x   RECOMMENDED: track customer requests for accessible
                         formats. This information will be helpful in anticipating and
                         budgeting for future requests.
                     x   track and investigate customer complaints related to information
                         formats. Document resolutions.




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Service to Persons Using Respirators or Portable Oxygen

FTA                  Recordkeeping and Documentation:
Requirement:
Grantees may not     x   written policies and procedures
deny service to      x   documentation of driver training
individuals using    x   track and investigate customer complaints related to respirators
respirators or           or portable oxygen. Document resolutions.
portable oxygen.


Training

FTA Requirement:         Recordkeeping and Documentation:
Grantees must            x written policies and procedures to provide training to new
provide training to        drivers and refresher training for veteran drivers
operators of fixed       x develop and maintain a written curriculum for ADA-related
route and demand           training.
responsive service       x develop standards for what constitutes successful
including training for     completion of the training
the safe operation of    x maintain a file copy of each item provided to drivers during
the vehicles and           training
accessibility            x Keep a log of who gets trained, in what, when, by whom.
equipment and the          Note training received within each employee’s file.
proper treatment of      x Document of monitoring efforts (such as spot checks by
persons with               supervisors, “secret shopper” monitoring)
disabilities.            x track and investigate customer complaints related to driver
                           actions and communications. Retrain a driver as needed.
                           Document resolutions.




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Reasonable Modification of Policy

FTA Requirement:                                                    Recordkeeping and
                                                                    Documentation:
A public entity providing designated public transportation, in      x Written policy and
meeting the reasonable modification requirement of                    procedures
§37.5(i)(3) with respect to its fixed route, demand responsive,
and complementary paratransit services, shall respond to            x   Document
requests for reasonable modification to policies and practices          customer requests
consistent with this section.                                           for modification of
                                                                        policy to
The public entity shall make information about how to contact           accommodate their
the public entity to make requests for reasonable                       individual disability
modifications readily available to the public through the same          and outcome.
means it uses to inform the public about its policies and
practices.

Regarding ADA Complementary Paratransit policy, which the
ADA regulations indicate are an “origin-to-destination” service:
When an ADA paratransit operator chooses curb-to-curb as its
primary means of providing service, it must provide assistance
to those passengers who need assistance beyond the curb in
order to use the service unless such assistance would result
in a fundamental alteration or direct threat.

Additional examples of reasonable modification of policy
requests can be found in Appendix E to 49 CFR Part 37.

Other Required Documentation

x   Provide written notice of responses to ADA-related complaints or incident follow-up, and
    keep a copy on file.

x   Document participation of people with disabilities on your consumer advisory board and
    other advisory groups. Document outreach efforts to involve people with disabilities on
    these groups.

x   Include the procedures for requesting special accommodations on notices of public
    meetings.

Other Recommendations

x   Recommendation: Have written policies and procedures for denying service for any
    customer (with or without a disability) who exhibits disruptive behavior.

x   Document any incident when a person with a disability (or any other customer) is denied
    service for reasons not necessarily related to their disability.

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    ADA Complementary Paratransit Scheduling Practices and
  Capacity Constraints Compliance Documentation Requirements
These requirements apply ONLY to ADA complementary paratransit service.

FTA Requirements:                                  Recordkeeping and Documentation:
Next day service: The entity shall                 x written policy with business hours during which
make reservation service available                    scheduling requests are accepted.
during at least all normal business                x written procedures for accepting Monday trip requests on
hours of the entity's administrative                  Sundays
offices, as well as during times,                  x instructions provided to the customer regarding
comparable to normal business hours,                  scheduling next day trips until close of business, including
on a day when the entity's offices are                Monday trips on Sundays
not open before a service day.                     x log any customer complaints and follow-up regarding next
                                                      day scheduling practices
Trips scheduled within one hour of                 x   Written policy, which should address
the request trip time: The entity may                  o desired pick-up time indicated by the customer
negotiate pickup times with the                        o desired arrival time indicated by the customer
individual, but the entity shall not                   o scheduling window (e.g., the customer will be picked up
require an ADA paratransit eligible                        between 8 and 8:30)
individual to schedule a trip to begin             x   Record for all trip requests:
more than one hour before or after the                 o Requested pick-up or drop-off time
individual's desired departure time.                   o Negotiated pick-up time (what the scheduler tells the
                                                           customer on the phone)
The exception to this negotiating window is            o Scheduled pick-up time (what is on the driver's
when it would result in the customer arriving              manifest)
late for work (in scheduling the trip up to an
hour later than the desired departure time), or
                                                       o Actual pick-up time (recorded by the driver)
leaving work early (in scheduling the trip up to       o Estimated time of arrival (provided to the customer on
an hour before than the desired departure                  the phone)
time)                                                  o Actual arrival time (recorded by the driver)
                                                       o Any complaints received from the customer related to
                                                           the trip
                                                   x   log all instances when the offer to negotiate up to an hour
                                                       before or after the requested time is refused by the
                                                       customer, and reason (if indicated by customer) – Not a trip
                                                       denial unless the offered time would make the customer arrive at late
                                                       or leave early for work.
                                                   x   log all instances when capacity is so constrained that the
                                                       trip could not be scheduled even within the allowable
                                                       negotiating window – Trip denial, even if the customer is willing to
                                                       schedule the trip at another time outside of this window, because it is
                                                       still indicative of constrained capacity at the initially requested time.

Subscription service capped at 50                  x   written policy, which clearly defines what trips qualify for
percent unless there is non-                           subscription scheduling
subscription capacity: Unless the                  x   procedures for determining when subscription scheduling
service does not have capacity                         reaches 50 percent of available capacity.
constraints, subscription service may                  Note: For example, if you have capacity for 20 trips an hour, during
not absorb more than fifty percent of                  hours when demand exceeds capacity, no more than 10 trips may be
                                                       scheduled on a subscription basis.
the number of trips available at a

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given time of day.                                        Refer to documentation of incidences of capacity constraints to
                                                          determine times of the day this cap is needed.

No pattern or practice of                             x   written policy, including definitions of what constitutes a:
reservation or service capacity                           o   trip denial (when one leg of a round trip cannot be reserved,
constraints: The entity shall not limit                       and the customer refuses the other leg as a result, should this be
the availability of complementary                             considered one or two trip denials?)
paratransit service to ADA paratransit                    o   late trip (how many minutes late is considered late but not
                                                              missed? If will-call return trips are made, how long should a
eligible individuals by any of the                            customer have to wait for a “will-call” return trip pick-up to be
following:                                                    performed?
    (1) Restrictions on the number of                         Transit system needs to establish standard for on-time
trips an individual will be provided;                         performance, factoring in the pick-up and drop-off windows.
                                                              Sample performance standard, from ESPA’s Innovative Practices
    (2) Waiting lists for access to the
                                                              in Paratransit Services: A trip will be considered to be performed
service; or                                                   on time if the pick-up is made within the pick-up window which is
    (3) Any operational pattern or                            from the negotiated pick-up time until up to 20 minutes after that
practice that significantly limits the                        negotiated time; and the drop-off is made within the drop-off
availability of service to ADA                                window, which is up to 30 minutes before, but no later than, the
                                                              stated appointment time if applicable.)
paratransit eligible persons.
                                                          o   missed trip (how many minutes late is effectively a trip that
    (i) Such patterns or practices                            wasn’t provided e.g. because customer missed his appointment?)
include, but are not limited to, the                      o   trip of excessive length (how long is it acceptable for
following:                                                    customer to be on board to complete their trip? For example, trips
    (A) Substantial numbers of                                that are longer than a set amount of time, e.g.60 or 90 minutes, or
significantly untimely pickups for initial                    trips that are considerably longer than comparable fixed-route
                                                              trips from and to the same origins and destinations at the same
or return trips;
                                                              time of day.
    (B) Substantial numbers of trip                       o   excessive telephone hold times (primary as well as
denials or missed trips;                                      secondary – if placed on hold after talking with a person. Sample
    (C) Substantial numbers of trips                          performance standard, from ESPA’s Innovative Practices in
with excessive trip lengths.                                  Paratransit Services: Answer all calls within 5 rings or less. No
    (ii) Operational problems                                 more than 10 percent of all calls within any 30-minute period on
                                                              hold for more than 2 minutes. No more than 5 percent of all calls
attributable to causes beyond the                             within any 30-minute period on hold for more than 3 minutes. No
control of the entity (including, but not                     calls in any 30-minute period on hold for more than 5 minutes.
limited to, weather or traffic conditions                 o   late cancellation (if a customer cannot get through on the
affecting all vehicular traffic that were                     phone to cancel a trip in the allowable cancellation window, they
not anticipated at the time a trip was                        should not be penalized under the agency’s no-show policy)
scheduled) shall not be a basis for                   x   an absence of stated restrictions placed on eligible
determining that such a pattern or                        individuals for eligible trips in operating policies or
practice exists.                                          information provided to customers
                                                      x   an absence of waiting lists (okay for subscription trips or those
Note: the capacity of phone reservation system            not mandated by the ADA)
is also a concern during an ADA paratransit           x   log of :
compliance review, as it affects the customer’s           o denials for eligible trips (reported by scheduler or
ability to get through to someone to schedule
the trip. Times when customers cannot get
                                                              customer)
through at all (i.e., busy signal) or are placed in       o late trips (reported by driver or customer)
a holding queue of excessive length are both              o missed trips (reported by driver or customer)
problematic.                                              o trips of excessive length (reported by driver,
                                                              dispatcher or customer)
                                                          o total trips scheduled (total per day and by each hour
                                                              of the day), to identify relative percentage of trip
                                                              denials, missed trips, etc.
                                                          o RECOMMENDED: extreme weather, traffic
                                                              disruptions, or other unusual conditions beyond the
                                                              agency’s control which affected operations that day.

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                                       Note: Only a few instances do not constitute a pattern or practice, but
                                       to demonstrate they are few and far between, you need to document
                                       them. However, if they are frequent, this is indicative of a problem that
                                       your system needs to address and makes you vulnerable to
                                       complaints and findings of non-compliance.
                                       Scheduling/dispatching technology and GPS/MDTs can automate
                                       tracking of trips requested, scheduled, denied, missed, provided late,
                                       etc.
                                   x   RECOMMENDED: track hours of the day when:
                                       o trip denials of eligible trips are happening with any
                                         regularity.
                                       o missed trips and delays are happening with any
                                         regularity
                                       o telephone lines are full
                                       o telephone hold times exceed acceptable hold times
                                       o call abandonment rate is high (due to excessive hold
                                         times)
                                       Note: This information will help you target the times in which the
                                       problem needs to be addressed – use it as a planning feedback loop.
                                       If your phone system technology does not track hold times, call
                                       abandonment, etc., ask your reservations staff when the phones are
                                       busiest, and periodically observe operations to assess the extent of
                                       the potential difficult for customers trying to get through the schedule a
                                       ride.

Proper tracking of trip denials    x   See above. It is important to track denials of eligible trips
                                       due to capacity constraints as compared to ineligible trips
                                       (i.e. those requested by customers who are not eligible or
                                       are conditionally eligible, but not for that particular trip,
                                       trips outside of the service area, trips outside of the hours
                                       of service, etc.)
                                   x   RECOMMENDED: log denials of ineligible trip requests
                                       and reason for ineligibility (as defense in case customer
                                       complains)
                                   x   documentation of investigation and resolution (including
                                       written response) of customer complaints related to
                                       scheduling and service delivery




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                                   MONTHLY CIVIL RIGHTS COMPLAINT LOG


Month            COMPLAINANT               ACTION TAKEN         TITLE VI    EEO   ADA   DBE    Date    Initials
                                                                                              Closed      of
                                                                                                       Officer




MTA 2017 LOTS Manual, Attachment 13.A, Monthly Civil Rights Complaint Log
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                                      Title VI

                        2015 – 2017 Implementation Plan

                     Title VI of the Civil Rights Act of 1964




                                  Name of Agency




    [Insert Agency brand, logo here or put this cover page on
                       agency letterhead]




                                   Adopted date

                                  Month __, 20__



Note:        throughout this document Yellow highlighted text represents
             instruction for the agency.

Note:        throughout this document Red highlighted text represents actual
             sample documents and/or material to provide by the agency.




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IX.     APPENDICES

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        E      LAP Plan

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Transit Providers that operate 50 or more fixed route vehicles in peak service and are
located in an Urbanized Area (UZA) of 200,000 or more people must submit:

              Demographic and service profile maps and charts

              Demographic ridership and travel patterns, collected by surveys

              A description of the public engagement process for setting the “major service
              change policy,” disparate impact policy, and disproportionate burden policy

              Results of service and/or fare equity analyses conducted since the last Title VI
              Program submission, including evidence that the board or other governing entity
              or official(s) approved the results of the analysis




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   I.      INTRODUCTION

Title VI of the Civil Rights Act of 1964 prohibits discrimination on the basis of race, color, or
national origin in programs and activities receiving Federal financial assistance. Specifically,
Title VI provides that "no person in the United States shall, on the ground of race, color, or
national origin, be excluded from participation in, be denied the benefits of, or be subjected to
discrimination under any program or activity receiving Federal financial assistance." (42 U.S.C.
Section 2000d).

The Civil Rights Restoration Act of 1987 clarified the intent of Title VI to include all programs
and activities of Federal-aid recipients, sub-recipients, and contractors whether those programs
and activities are federally funded or not.

Recently, the Federal Transit Administration (FTA) has placed renewed emphasis on Title VI
issues, including providing meaningful access to persons with Limited English Proficiency.

 Recipients of public transportation funding from FTA and the Maryland Transit Administration
(MTA) are required to develop policies, programs, and practices that ensure that federal and state
transit dollars are used in a manner that is nondiscriminatory as required under Title VI.

This document details how [Name of Agency] incorporates nondiscrimination policies and
practices in providing services to the public.




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   II.    OVERVIEW OF SERVICES

[Insert brief description about your organization and the transportation services you provide.
Please be mindful to describe your overall agency and mission with emphasis on how your
federally-funded transportation component fits in and serves your clients.]




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    III.    POLICY STATEMENT AND AUTHORITIES

Title VI Policy Statement

[Name of Agency] is committed to ensuring that no person shall, on the grounds of race, color,
national origin, as provided by Title VI of the Civil Rights Act of 1964 and the Civil Rights
Restoration Act of 1987 (PL 100.259), be excluded from participation in, be denied the benefits
of, or be otherwise subjected to discrimination under any program or activity, whether those
programs and activities are federally funded or not.

 [Name of Agency]’s Title VI Manager is responsible for initiating and monitoring Title VI
activities, preparing required reports, and other responsibilities as required by Title 23 Code of
Federal Regulations (CFR) Part 200, and Title 49 CFR Part 21.

__________________________________                                       ________________________

Signature of Authorizing Official                                         Date

Authorities

Title VI of the 1964 Civil Rights Act provides that no person in the United States shall, on the grounds of
race, color, national origin, or sex, be excluded from participation in, be denied the benefits of, or be
otherwise subjected to discrimination under any program or activity receiving federal financial assistance
(refer to 49 CFR Part 21). The Civil Rights Restoration Act of 1987 broadened the scope of Title VI
coverage by expanding the definition of the terms “programs or activities” to include all programs or
activities of Federal Aid recipients, sub recipients, and contractors, whether such programs and activities
are federally assisted or not.

Additional authorities and citations include: Title VI of the Civil Rights Act of 1964 (42 U.S.C. Section
2000d); Federal Transit Laws, as amended (49 U.S.C. Chapter 53 et seq.); Uniform Relocation
Assistance and Real Property Acquisition Policies Act of 1970, as amended (42 U.S.C. 4601, et seq.);
Department of Justice regulation, 28 CFR part 42, Subpart F, “Coordination of Enforcement of
Nondiscrimination in Federally-Assisted Programs” (December 1, 1976, unless otherwise noted); U.S.
DOT regulation, 49 CFR part 21, “Nondiscrimination in Federally-Assisted Programs of the Department
of Transportation—Effectuation of Title VI of the Civil Rights Act of 1964” (June 18, 1970, unless
otherwise noted); Joint FTA/Federal Highway Administration (FHWA) regulation, 23 CFR part 771,
“Environmental Impact and Related Procedures” (August 28, 1987); Joint FTA/FHWA regulation, 23
CFR part 450 and 49 CFR part 613, “Planning Assistance and Standards,” (October 28, 1993, unless
otherwise noted);

U.S. DOT Order 5610.2, “U.S. DOT Order on Environmental Justice to Address Environmental Justice in
Minority Populations and Low-Income Populations,” (April 15, 1997); U.S. DOT Policy Guidance
Concerning Recipients’ Responsibilities to Limited English Proficient Persons, (December 14, 2005), and
Section 12 of FTA’s Master Agreement, FTA MA 13 (October 1, 2006).




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   IV.    NONDISCRIMINATION ASSURANCES TO MTA
In accordance with 49 CFR Section 21.7(a), every application for financial assistance from the
Federal Transit Administration (FTA) must be accompanied by an assurance that the applicant
will carry out the program in compliance with DOT’s Title VI regulations. This requirement is
fulfilled when the Maryland Transit Administration (MTA) submits its annual certifications and
assurances to FTA. The MTA shall collect Title VI assurances from sub recipients prior to
passing through FTA funds.

As part of the Certifications and Assurances submitted to MTA at the time of grant application
and award, [Name of Agency] submits a Nondiscrimination Assurance which addresses
compliance with Title VI as well as nondiscrimination in hiring (EEO) and contracting (DBE),
and nondiscrimination on the basis of disability (ADA).

 In signing and submitting the assurance, [Name of Agency] confirms to MTA our commitment
to nondiscrimination and compliance with federal and state requirements.




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   V.      PLAN APPROVAL DOCUMENT


[The agency’s Title VI Plan must be approved by the agency’s governing body. Below is
sample approval language the agency may use to do so.]



I hereby acknowledge the receipt of the [Name of Agency] Title VI Implementation Plan
2015-2017. I have reviewed and approve the Plan. I am committed to ensuring that no
person is excluded from participation in, or denied the benefits of [Name of Agency’s]
transportation services on the basis of race, color, or national origin, as protected by Title
VI according to C 4702.1B Title VI requirements and guidelines for Federal Transit
Administration sub-recipients.




____________________________                             ____________________________

Signature of Authorizing Official                        DATE

NAME, TITLE

AGENCY NAME




NOTE: **Provide here** a copy of meeting minutes, resolution, or other appropriate
documentation showing that the board of directors or appropriate governing entity of
official(s) responsible for policy decisions has reviewed and approved the Title VI Program.




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   VI.     ORGANIZATION AND TITLE VI PROGRAM
           RESPONSIBILITIES
Under the authority of [Name of Agency], the [Agency Authorizing Official’s title] will serve as
the Title VI Manager and is responsible for ensuring implementation of the agency’s Title VI
program. (Note, more than one official may be designated to serve as the Title VI official). The
specific areas of responsibility are described below.

Overall Organization for Title VI

The Title VI Manager and staff are responsible for coordinating the overall administration of the
Title VI program, plan, and assurances, including complaint handling, data collection and
reporting, annual review and updates, and internal education.

Title VI Manager Responsibilities

The Title VI Manager is charged with the responsibility for implementing, monitoring, and
ensuring compliance with Title VI regulations. Title VI responsibilities are as follows:

   1. Process the disposition of Title VI complaints received.
   2. Collect statistical data (race, color, or national origin) of participants in and beneficiaries
      of agency programs, (e.g., affected citizens, and impacted communities).
   3. Conduct annual Title VI reviews of agency to determine the effectiveness of program
      activities at all levels.
   4. Conduct Title VI reviews of construction contractors, consultant contractors, suppliers,
      and other recipients of federal-aid fund contracts administered through the agency.
   5. Conduct training programs on Title VI and other related statutes for agency employees.
   6. Prepare a yearly report of Title VI accomplishments and goals, as required.
   7. Develop Title VI information for dissemination to the general public and, where
      appropriate, in languages other than English.
   8. Identify and eliminate discrimination.
   9. Establish procedures for promptly resolving deficiency status and writing the remedial
      action necessary, all within a period not to exceed 90 days.

General Title VI Responsibilities of the Agency

The Title VI Manager is responsible for substantiating that these elements of the plan are
appropriately implemented and maintained, and for coordinating with those responsible for
public outreach and involvement and service planning and delivery.




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1. Data Collection

To ensure that Title VI reporting requirements are met, [Name of Agency] will maintain:

       x   A database or log of Title VI complaints received. The investigation of and response
           to each complaint is tracked within the database or log.

       x   A log of the public outreach and involvement activities undertaken to ensure that
           minority and low-income people had a meaningful access to these activities.

2. Annual Report and Updates

As a sub-recipient of FTA funds, [Name of Agency] is required to submit a Quarterly Report
Form to the MTA that documents any Title VI complaints received during the preceding quarter
and for each year. [Name of Agency] will also maintain and provide to the MTA an annual basis,
the log of public outreach and involvement activities undertaken to ensure that minority and low-
income people had a meaningful access to these activities.

Further, we will submit to MTA updates to any of the following items since the previous
submission, or a statement to the effect that these items have not been changed since the previous
submission, indicating date:

       x   A copy of any compliance review report for reviews conducted in the last three years,
           along with the purpose or reason for the review, the name of the organization that
           performed the review, a summary of findings and recommendations, and a report on
           the status or disposition of the findings and recommendations
       x   Public Participation Plan (PPP)
       x   Language Assistance Plan (LAP)
       x   Procedures for tracking and investigating Title VI complaints
       x   A list of Title VI investigations, complaints or lawsuits filed with the agency since the
           last submission
       x   A copy of the agency notice to the public that it complies with Title VI and
           instructions on how to file a discrimination complaint
       x   Minority representation on Committees by race

3. Annual Review of Title VI Program

Each year, in preparing for the Annual Report and Updates, the Title VI Manager will review the
agency’s Title VI program to assure implementation of the Title VI plan. In addition, they will
review agency operational guidelines and publications, including those for contractors, to verify
that Title VI language and provisions are incorporated, as appropriate.




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4. Dissemination of Information Related to the Title VI Program

Information on our Title VI program will be disseminated to agency employees, contractors, and
beneficiaries, as well as to the public, as described in the “public outreach and involvement
“section of this document, and in other languages when needed according to the LEP plan as
well as federal and State laws/regulations.

5. Resolution of Complaints

Any individual may exercise his or her right to file a complaint if that person believes that he,
she, or any other program beneficiaries have been subjected to unequal treatment or
discrimination in the receipt of benefits/services or prohibited by non-discrimination
requirements. [Name of Agency] will report the complaint to MTA within three business days
(per MTA requirements), and make a concerted effort to resolve complaints locally, using the
agency’s Title VI Complaint Procedures. All Title VI complaints and their resolution will be
logged as described under 1. Data Collection and reported annually (in addition to immediately)
to MTA.

6. Written Policies and Procedures

Our Title VI policies and procedures are documented in this plan and its appendices and
attachments. This plan will be updated periodically to incorporate changes and additional
responsibilities that arise. During the Annual Title VI Program Review (item 3 above), the Title
VI Manager will determine if an update is needed.

7. Internal education

Our employees will receive training on Title VI policies and procedures upon hiring and upon
promotion. This training will include requirements of Title VI, our obligations under Title VI
(LEP requirements included), required data that must be gathered and maintained. In addition,
training will be provided when any Title VI-related policies or procedures change (agency-wide
training), or when appropriate in resolving a complaint.

Title VI training is the responsibility of [title of responsible individual(s)].

8. Title VI clauses in Contracts

In all federal procurements requiring a written contract or Purchase Order (PO), [Name of
Agency]’s contract/PO will include appropriate non-discrimination clauses. The Title VI
Manager will work with the [title of individual(s)] who is/are responsible for procurement
contracts and PO’s to ensure appropriate non-discrimination clauses are included.




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    VII.       GENERAL REPORTING REQUIREMENTS

REQUIREMENT TO PROVIDE A TITLE VI PUBLIC NOTICE

Title 49 CFR Section 21.9(d) requires recipients to provide information to the public regarding
the recipient’s obligations under DOT’s Title VI regulations and apprise members of the public
of the protections against discrimination afforded to them by Title VI. At a minimum, [Name of
Agency] shall disseminate this information to the public by posting a Title VI notice on the
agency’s website and in public areas of the agency’s office(s), including the reception desk,
meeting rooms, in federally-funded vehicles, etc. The following Sample Public Notice is to be
included as APPENDIX A- Title VI Notice to the Public; List of Locations, and displayed in
your vehicles and facilities. Place Notice on agency letterhead:

Title VI of the Civil Rights Act of 1964 prohibits discrimination on the basis of race, color, or
national origin in programs and activities receiving Federal financial assistance. Specifically,
Title VI provides that "no person in the United States shall, on the ground of race, color, or
national origin, be excluded from participation in, be denied the benefits of, or be subjected to
discrimination under any program or activity receiving Federal financial assistance" (42 U.S.C.
Section 2000d).

(Agency Name) is committed to ensuring that no person is excluded from participation in, or
denied the benefits of its transportation services on the basis of race, color, or national origin, as
protected by Title VI in Federal Transit Administration (FTA) Circular 4702.1B. If you need
more information or feel you are being denied participation in or being denied benefits of the
transit services provided by (Agency Name), or otherwise being discriminated against because of
your race, color, national origin, gender, age, or disability, our contact information is:

Name
Title
Agency Name
Address
City, State Zip code
Telephone Number
Email address

As part of Title VI requirements, sub-recipients are also required to maintain a list of
locations where their Title VI Notices have been posted or displayed. This list is to be included
as part of APPENDIX A - Title VI Notice to the Public; List of Locations.




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TITLE VI COMPLAINT PROCEDURES


REQUIREMENT TO DEVELOP TITLE VI COMPLAINT PROCEDURES AND
COMPLAINT FORM

To comply with the reporting requirements established in 49 CFR Section 21.9(b), [Name of
Agency] shall develop procedures for investigating and tracking Title VI complaints filed against
us and will make these procedures for filing a complaint available to members of the public.
[Name of Agency] has also developed a Title VI complaint form. The form and procedure for
filing a complaint are available on the [Name of Agency] website and at their facilities.

Sample of Narrative

Any individual may exercise his or her right to file a complaint with [Name of Agency] if that
person believes that he or she have been subjected to unequal treatment or discrimination in the
receipt of benefits or services. We will report the complaint to MTA within three business days
(per MTA requirements), and make a concerted effort to resolve complaints locally, using the
agency’s Nondiscrimination Complaint Procedures. All Title VI complaints and their resolution
will be logged and reported annually (in addition to immediately) to MTA.

A person may also file a complaint directly with the Federal Transit Administration, Office
of Civil Rights, Attention: Title VI Program Coordinator, East Building, 5th floor – TCR,
1200 New Jersey Avenue SE, Washington, DC 20590.

[Name of Agency] includes the following language on all printed information materials, on the
agency’s website, in press releases, in public notices, in published documents, and on posters on
the interior of each vehicle operated in passenger service:

[Name of Agency] is committed to ensuring that no person is excluded from participation in,
or denied the benefits of its transportation services on the basis of race, color, or national
origin, as protected by Title VI in the Federal Transit Administration (FTA) Circular 4702.1B.
For additional information on [Name of Agency]’s nondiscrimination policies and
procedures, or to file a complaint, please visit the website at ________ or contact (name, title
and mailing address of the Title VI Manager).

Instructions for filing Title VI complaints are posted on the agency’s website and in posters on
the interior of each vehicle operated in passenger service and agency’s facilities, and are also
included within [Name of Agency]‘s [passenger policies/ride guide/Other] brochure.

A copy of [Name of Agency’s] Title VI Complaint Form is attached as APPENDIX B.




                              SAMPLE – COMPLAINT FORM

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Procedures for Handling and Reporting Investigations/Complaints and
Lawsuits
Instructions for filing Title VI complaints are posted on the agency’s website and provided
below. Should any Title VI investigations be initiated by FTA or MTA, or any Title VI lawsuits
are filed against [Name of Agency] the agency will follow these procedures:

Procedures
1. Any individual, group of individuals or entity that believes they have been subjected to
   discrimination on the basis of race, color, or national origin may file a written complaint with
   the Title VI Manager.

   The complaint is to be filed in the following manner:

   a. A formal complaint must be filed within 180 calendar days of the alleged occurrence.
   b. The complaint should include:
      x the complainant’s name, address, and contact information (i.e., telephone number,
         email address, etc.)
      x the date(s) of the alleged act of discrimination (if multiple days, include the date
         when the complainant(s) became aware of the alleged discrimination and the date on
         which the alleged discrimination was discontinued or the latest instance)
      x a description of the alleged act of discrimination
      x the location(s) of the alleged act of discrimination (include vehicle number if
         appropriate)
      x an explanation of why the complainant believes the act to have been discriminatory
         on the basis of race, color, and national origin
      x if known, the names and/or job titles of those individuals perceived as parties in the
         incident
      x contact information for any witnesses
      x indication of any related complaint activity (i.e., was the complaint also submitted to
         MTA or FTA?)
   c. The complaint shall be submitted to the Title VI Manager at [insert mailing address] and
      or [email address].
   d. In the case where a complainant is unable or incapable of providing a written statement, a
      verbal complaint of discrimination may be made to the Title VI Manager.

2. Upon receipt of the complaint, the Title VI Manager will immediately:
   a. notify MTA (no later than 3 business days from receipt)
   b. notify [Name of Agency] Authorizing Official
   c. ensure that the complaint is entered in the complaint database.
3. Within 3 business days of receipt of the complaint, the Title VI Manager will contact the
   complainant by telephone to set up an interview.




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4. The complainant will be informed that they have a right to have a witness or representative
   present during the interview and can submit any documentation he/she perceives as relevant
   to proving his/her complaint.
5. If MTA has assigned staff to assist with the investigation, the Title VI Manager will offer an
   opportunity to participate in the interview.
6. The alleged discriminatory service or program official will be given the opportunity to
   respond to all aspects of the complainant's allegations.
7. The Title VI Manager will determine, based on relevancy or duplication of evidence, which
   witnesses will be contacted and questioned.
8. The investigation may also include:
   a. investigating contractor operating records, policies, or procedures
   b. reviewing routes, schedules, and fare policies
   c. reviewing operating policies and procedures
   d. reviewing scheduling and dispatch records
   e. observing behavior of the individual whose actions were cited in the complaint.
9. All steps taken and findings in the investigation will be documented in writing and included
   in the complaint file.
10. The Title VI Manager will contact the complainant after the investigation (but prior to
    writing the final report) and give the complainant an opportunity to give a rebuttal statement
    at the end of the investigation process.
11. After the investigation and within 60 days of the interview with the complainant, the Title
    VI Manager will prepare a report that includes a narrative description of the incident,
    identification of persons interviewed, findings, and recommendations for disposition. This
    report will be provided to the Authorizing Official, the MTA, and if appropriate our legal
    counsel.
12. The Title VI Manager will send a letter to the complainant notifying them of the outcome of
    the investigation. If the complaint was substantiated, the letter will indicate the course of
    action that will be followed to correct the situation. If the complaint is determined to be
    unfounded, the letter will explain the reasoning, and refer the complainant to MTA in the
    event the complainant wishes to appeal the determination. This letter will be copied to MTA.
13. A complaint may be dismissed for the following reasons:
    a. the complainant requests the withdrawal of the complaint
    b. an interview cannot be scheduled with the complainant after reasonable attempts
    c. The complainant fails to respond to repeated requests for additional information needed
       to process the complaint




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TRANSPORTATION-RELATED TITLE VI INVESTIGATIONS,
COMPLAINTS, AND LAWSUITS
Background
All recipients shall prepare and maintain a list of any of the following that allege discrimination
on the basis of race, color, or national origin:

           x     Active investigations conducted by FTA and entities other than FTA;
           x     Lawsuits; and
           x     Complaints naming the recipient.

This list shall include the date that the transportation-related Title VI investigation, lawsuit, or
complaint was filed; a summary of the allegation(s); the status of the investigation, lawsuit, or
complaint; and actions taken by the recipient in response, or final findings related to the
investigation, lawsuit, or complaint. This list shall be included in the Title VI Program submitted
to MTA every three years and information shall be provided to MTA quarterly and annually.

The sample below is provided for the purposes of tracking and documenting your civil rights
(Title VI, EEO and ADA) investigations, lawsuits and/or complaints. It may be modified but
must include all essential elements contained in the sample, and it may b not be used to
replace the agency’s Complaint Form. Provide your list/log as APPENDIX C.

SAMPLE List of Investigations, Lawsuits, and Complaints
                           Date            Summary                Status             Action(s)
                       (Month, Day,      (include basis                               taken
                          Year)          of complaint:
                                         race, color, or
                                            national
                                             origin)

Investigations

1.

Lawsuits

1.

Complaints

1.

         SEE APPENDIX C- Investigations, Lawsuits, and Complaints Document




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PUBLIC OUTREACH AND INVOLVEMENT - Public Participation Plan

Introduction

The Public Participation Plan (PPP) is a guide for ongoing public participation endeavors. Its
purpose is to ensure that [Name of Agency] utilizes effective means of providing information
and receiving public input on transportation decisions from low income, minority and limited
English proficient (LEP) populations, as required by Title VI of the Civil Rights Act of 1964 and
its implementing regulations.

Under federal regulations, transit operators must take reasonable steps to ensure that Limited
English Proficient (LEP) persons have meaningful access to their programs and activities. This
means that public participation opportunities, normally provided in English, should be accessible
to persons who have a limited ability to speak, read, write, or understand English.

In addition to language access measures, other major components of the PPP include: public
participation design factors; a range of public participation methods to provide information, to
invite participation and/or to seek input; examples to demonstrate how population-appropriate
outreach methods can be and were identified and utilized; and performance measures and
objectives to ensure accountability and a means for improving over time.

[Name of Agency] established a public participation plan or process that will determine how,
when, and how often specific public participation activities should take place, and which specific
measures are most appropriate.

[Name of Agency] will make these determinations based on a demographic analysis of the
population(s) affected, the type of plan, program, and/or service under consideration, and the
resources available. Efforts to involve minority and LEP populations in public participation
activities may include both comprehensive measures, such as placing public notices at all transit
stations, stops, and vehicles, as well as targeted measures to address linguistic, institutional,
cultural, economic, historical, or other barriers that may prevent minority and LEP persons from
effectively participating in our decision-making process.

NOTE: FTA has developed a Circular, 4703.1, “Environmental Justice Policy Guidance for
Federal Transit Administration Recipients,” that includes many examples of effective
strategies for engaging minority and low-income populations. FTA Chap. III-5 FTA C
4702.1B encourages recipients to review that Circular for ideas when developing their
public engagement strategy.

A sample of effective public outreach practices follows. It is possible that a private non-
profit agency may not have to employ many or any of these practices, but you must
document this if such is the case.




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A SAMPLE OF EFFECTIVE PUBLIC OUTREACH PRACTICES INCLUDE:

a.     Determining and identifying what meetings and program activities lend themselves
       to client public participation.

b.     Scheduling meetings at times and locations that are convenient and accessible for
       minority and LEP communities.

c.     Employing different meeting sizes and formats.

d.     Coordinating with community and faith-based organizations, educational
       institutions, and other organizations to implement public engagement strategies that
       reach out specifically to members of affected minority and/or LEP communities.

e.     Considering radio, television, or newspaper ads on stations and in publications that
       serve LEP populations. Outreach to LEP populations could also include audio
       programming available on podcasts.

f.     Providing opportunities for public participation through means other than written
       communication, such as personal interviews or use of audio or video recording
       devices to capture oral comments.

       **ADD HERE** ADDITIONAL OUTREACH METHODS TO ENGAGE
       MINORITY AND LEP POPULATIONS


                     SEE APPENDIX D-Summary of Outreach Efforts


You will submit as part of APPENDIX D-Public Participation Plan a summary of the public
outreach activities your organization has participated over the past year(s) which may include
the specific practices above and/or others your agency has been engaged in.




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ACCESS FOR LIMITED ENGLISH PROFICIENT (LEP) PERSONS

LANGUAGE ASSISTANCE PLAN (LAP)

                    THIS LAP IS TO BE INCLUDED AS APPENDIX E

                      LANGUAGE ASSISTANCE PLAN TEMPLATE

                                       AGENCY NAME

    LANGUAGE ASSISTANCE PLAN FOR PERSONS WITH LIMITED
                ENGLISH PROFICIENCY (LEP)


 [If you are part of a city or county government, you may have general procedures in place for
serving LEP persons. The model provided below is designed to address FTA-specific
requirements.]

Introduction and Legal Basis

LEP is a term that defines any individual not proficient in the use of the English language. The
establishment and operation of an LEP program meets objectives set forth in Title VI of the Civil
Rights Act and Executive Order 13116, Improving Access to Services for Persons with Limited
English Proficiency (LEP). This Executive Order requires federal agencies receiving financial
assistance to address the needs of non-English speaking persons. The Executive Order also
establishes compliance standards to ensure that the programs and activities that are provided by a
transportation provider in English are accessible to LEP communities. This includes providing
meaningful access to individuals who are limited in their use of English. The following LEP
language implementation plan, developed by [Name of Agency] is based on FTA guidelines.

As required, [Name of Agency] developed a written LAP Plan (below). Using 2010 and
American Community Survey (ACS) Census data, [Name of Agency] has evaluated data to
determine the extent of need for translation services of its vital documents and materials.

LEP persons can be a significant market for public transit, and reaching out to these individuals
can help increase their utilization of transit. Therefore, it also makes good business sense to
translate vital information into languages that the larger LEP populations in the community can
understand.




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Assessment of Needs and Resources

The need and resources for LEP language assistance were determined through a four-factor
analysis as recommended by FTA guidance.

Factor 1:      Assessment of the Number and Proportion of LEP Persons Likely to be
               Served or Encountered in the Eligible Service Population

The agency has reviewed census data on the number of individuals in its service area that have
limited English Proficiency, as well as the languages they speak.

U.S. Census Data – American Community Survey (2011-2015)

       Data from the U.S. Census Bureau’s American Community Survey (ACS) were obtained
       through www.census.gov by [Name of Agency]’s service area. The agency’s service
       area includes a total of [insert number and percent of total population] persons with
       Limited English Proficiency (those persons who indicated that they spoke English “not
       well,” and “not at all” in the 2011-2015 ACS Census).

       Information from the 2011-2015 ACS also provides more detail on the specific languages
       that are spoken by those who report that they speak English less than very well.
       Languages spoken at home by those with LEP are presented below. These data indicate
       the extent to which translations into other language are needed to meet the needs of LEP
       persons.

       x    Spanish                                       [Number]       [Percent]
       x    Other Indo-European languages                 [Number]       [Percent]
       x    Asian and Pacific Island languages            [Number]       [Percent]
       x    All Other languages                           [Number]       [Percent]

       [Note: if any of these categories represents over 5% or 1,000 persons whichever is less,
       you should explore the individual languages in the category to determine whether any
       specific language meets this threshold]

       It is noted that there are relatively low number of LEP persons in the service area - no
       language is spoken by over 5% or a total of 1,000 persons in the LEP population.




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Factor 2:     Assessment of Frequency with Which LEP Individuals Come into Contact
              with the Transit Services or System

[Name of Agency] reviewed the relevant benefits, services, and information provided by the
agency and determined the extent to which LEP persons have come into contact with these
functions through [one or more of] the following channels:

       x    Contact with transit vehicle operators;
       x    Contact with transit station managers;
       x    Calls to [Name of Agency]’s customer service telephone line;
       x    Visits to the agency’s headquarters;
       x    Access to the agency’s website;
       x    Attendance at community meetings or public hearings hosted by [Name of Agency];
       x    Contact with the agency’s ADA complementary paratransit system (including
            applying for eligibility, making reservations, and communicating with drivers).

[Provide a summary of findings based on relevant (if anecdotal) information from agency
staff, including the LEP persons’ native language, how successful the agency has been in
communicating with LEP persons, and common questions directed to the agency by LEP
persons. Also, review any available records on the number of hits it receives on its non-
English web pages or requests for interpreters at public meetings or results of ridership
surveys that capture the experiences of LEP persons.]

We will continue to identify emerging populations as updated Census and American Community
Survey data become available for our service area. In addition, when LEP persons contact our
agency, we attempt to identify their language and keep records on contacts to accurately assess
the frequency of contact.

To assist in language identification, we use a language identification flashcard based on that
which was developed by the U.S. Census. (http://www.lep.gov/ISpeakCards2004.pdf)

Information from Community Organizations that Serve LEP Persons

To supplement the Census, education, and labor department data, [Name of Agency] conducted
community outreach to the following organizations that work with LEP populations.

[List those contacted, which may include any of the following: School systems; Community
organizations; State and local governments; Religious organizations; Legal aid entities.]

Note: Describe method of contact (telephone interviews, written or online surveys, outreach
      presentation at the organization, community meetings, etc.) and information obtained.



Factor 3:     Assessment of the Nature and Importance of the Transit Services to the LEP
              Population

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[Name of Agency] provides the following programs, activities, and services:

                  [List and describe.]

Based on past experience serving and communicating with LEP persons and interviews with
community agencies, [as well as questionnaires or direct consultations with LEP persons (if
applicable, e.g. through focus groups or individual interviews facilitated/interpreted by a
community agency)], we learned that the following services/routes/programs are currently of
particular importance LEP persons in the community.

                  [List these; identify particular routes, or modes.]

The following are the most critical services provided by [Name of Agency] for all customers,
including LEP persons.

         x       Safety and security awareness instructions
         x       Emergency evacuation procedures
         x       Public transit services, including reduced fare application process
         x       ADA paratransit services (if your agency operates fixed-route), including eligibility
                 certification process
         x       Other paratransit services
         x       Services targeted at low income persons
         x       [any other critical services]
         x

Factor 4: Assessment of the Resources Available to the Agency and Costs

       Costs

The following language assistance measures are currently being provided by [Name of Agency]

             x    [List these along with associated costs. Include costs associated with
                  translating documents, contracting with language interpreters, producing
                  pictographs, installing multilingual technology, and other language assistance
                  measures your agency is taking or plans to implement.
             x    Also, estimate the number of staff and percentage of staff time that is associated
                  with providing language assistance.]



We anticipate that these activities and costs may increase as follows. [Describe.]

Based on the analysis of demographic data and contact with community organizations and LEP
persons, [Name of Agency] has determined that additional services may be needed to provide
meaningful access.


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Resources

The available budget that could be devoted to additional language assistance expenses is [actual
dollars and/or percentage]. This amount is likely to [be stable/decrease/increase] over time.

[Name of Agency] has also requested the following additional grant funding for language
assistance: [Describe if applicable.]

In addition, in-kind assistance may be available through [community organizations, other city or
county departments, other transit agencies who may be able to partner for language assistance
services.

       Your agency may have access to language assistance products that have been
       developed and paid for by local, regional, or state government agencies and may also
       have bilingual staff that could provide language assistance on an ad hoc or regular
       basis. These resources should be inventoried and taken into consideration as part of
       your assessment of total resources available.

       Your agency may already have, or be able to establish arrangements with qualified
       community volunteers to provide written or oral language translation. Although these
       volunteers may be willing to provide their services free of charge, your agency will
       need to verify that they can provide competent interpretation service and train them on
       their role within the agency. These should be inventoried as potential or confirmed
       resources.

       Other potential cost saving measures includes telephonic and video conferencing
       interpretation services, translating vital documents posted on Web sites, pooling
       resources, and standardizing documents to reduce translation needs, centralizing
       interpreter and translator services to achieve economies of scale.]

Feasible and Appropriate Language Assistance Measures

Based on the available resources, the following language assistance measures are feasible and
appropriate for our agency at this time:

            x [List.]




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LEP Implementation Plan

Through the four-factor analysis, [Name of Agency] has determined that the following types of
language assistance are most needed and feasible:

       [List types of assistance. For example:

          x   Translation of vital documents into Spanish. These documents include:
                  o System Map and Ride Guide
                  o Application for reduced fare
                  o All printed materials on ADA Paratransit, including brochure, eligibility
                     application package, and passenger policies and procedures
                  o Emergency preparedness brochure
          x   Attempt to hire bilingual staff with competency in spoken and written (Spanish,
              Vietnamese, etc. as appropriate for your service area).
          x   Language Line Translation Services for telephone contacts.
          x   In-person translation for ADA eligibility assessments.

Staff Access to Language Assistance Services

Agency staffs who come into contact with LEP persons can access language services by
[describe procedures, such as offering the individual a language identification flashcard,
having a supply of translated documents on hand, transferring a call to bilingual staff, having
a telephone menu allowing the customer to pre-select their language]. All staff will be
provided with a list of available language assistance services and additional information and
referral resources (such as community organizations which can assist LEP persons). This list
will be updated at least annually.

Responding to LEP Callers

Staff who answer calls from the public respond to LEP customers as follows: [describe, indicate
language translation line if used, availability of bilingual staff. Include trip scheduling
procedures for LEP persons].

Responding to Written Communications from LEP Persons

The following procedures are followed when responding to written communications from LEP
persons: [describe, indicate language translation services if used, availability of bilingual
staff].




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Responding to LEP Individuals in Person

The following procedures are followed when an LEP person visits our customer service and
administrative office: [describe, indicate use of language identification flashcard if needed,
availability of bilingual staff, use of language translation services if appropriate].

The following procedures are followed by operators when an LEP person has a question on
board a [Name of Agency] vehicle: [describe, indicate use of language identification flashcard
if needed, availability of bilingual operating staff, availability of translated information on
board vehicles, referral to telephone assistance, volunteer translation assistance from fellow
passengers, etc.].

Staff Training

As noted previously, all [Name of Agency] staff is provided with a list of available language
assistance services and additional information and referral resources, updated annually.

All new hires receive training on assisting LEP persons as part of their sensitivity and customer
service training. This includes:

           x     A summary of the transit agency’s responsibilities under the DOT LEP Guidance;
           x     A summary of the agency’s language assistance plan;
           x     A summary of the number and proportion of LEP persons in the agency’s service
                 area, the frequency of contact between the LEP population and the agency’s
                 programs and activities, and the importance of the programs and activities to the
                 population;
           x     A description of the type of language assistance that the agency is currently
                 providing and instructions on how agency staff can access these products and
                 services; and
           x     A description of the agency’s cultural sensitivity policies and practices.

Also, all staff who routinely come into contact with customers, as well as their supervisors and
all management staff, receive [annual] refresher training on policies and procedures related to
assisting LEP persons.

       [Describe addition training courses or resources provided to staff, such as tuition
       assistance for language courses at a local community college, training
       manuals/CDs/DVDs/online courses available to staff, instruction in basic phrases
       needed in the operating environment, etc.]




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Providing Notice to LEP Persons

LEP persons are notified of the availability of language assistance through the following
approaches: [List items such as:

          x   following our Title VI policy statement included on our vital documents.
          x   on our website, with links to translations of vital documents in other languages.
          x   through signs posted on our vehicles and in our customer service and
              administrative offices.
          x   through ongoing outreach efforts to community organizations, schools, and
              religious organizations.
          x   use of an automated telephone menu system in the most common languages
              encountered.
          x   including the LOTS’ language translation line on all materials.
          x   staffing a table with bilingual staff at community service events of interest to
              LEP groups.
          x   sending translated news releases and public service announcements about the
              availability of translated information to newspapers and broadcast media that
              target local LEP communities.]

LEP persons will also be included in all community outreach efforts related to service and fare
changes.

Language Access Complaint Procedure

(Note, your Title VI Complaint Form and Procedure can be used for LEP/LAP complaints as
long as your Title VI Complaint Form and Procedure acknowledges and accepts LEP/LAP
complaints as separate and distinct from Title VI).

(To be included as an attachment to LAP)

You may file a complaint with the Agency Title VI Manager if you believe you have been
denied the benefits of this Plan. You must file your written complaint within _____ of the
alleged denial. Submit the written complaint to:

   x   Name of Title VI Manager:
   x   Agency Name:
   x   Business Address:
   x   City, State Zip:
   x   Email Address:




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Monitoring/Updating the Plan

This plan will be updated on a periodic basis (at least every three years), based on feedback,
updated demographic data, and resource availability.

As part of ongoing outreach to community organizations, [Name of Agency] will solicit
feedback on the effectiveness of language assistance provided and unmet needs. In addition, we
will conduct periodic [surveys, focus groups, community meetings, internal meetings with staff
who assist LEP persons, review of updated Census data, formal studies] of the adequacy and
quality of the language assistance provided, and determine changes to LEP needs.

Based on the feedback received from community members and agency employees, [Name of
Agency] will make incremental changes to the type of written and oral language assistance
provided as well as to their staff training and community outreach programs. The cost of
proposed changes and the available resources will affect the enhancements that can be made, and
therefore [Name of Agency] will attempt to identify the most cost-effective approaches.

As the community grows and new LEP groups emerge, [Name of Agency] will strive to address
the needs for additional language assistance.




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MINORITY REPRESENTATION ON PLANNING AND ADVISORY BODIES


Title 49 CFR Section 21.5(b)(1)(vii) states that a recipient may not, on the grounds of race, color,
or national origin, “deny a person the opportunity to participate as a member of a planning,
advisory, or similar body which is an integral part of the program.”

[Name of Agency] has transit-related, non-elected planning boards, advisory councils or
committees, or similar committees, the membership of which we select.


   1. Please provide a description of your selection process, including recruitment efforts
      made to encourage the participation of minorities on such committee(s)

   2. Please provide a table(s) depicting the racial breakdown of the membership of those
       committees

The Sample below is provided for the purposes of guidance only

   Committee      Black or      White/      Latino/     American     Asian    Native     Other     Totals
                   African                              Indian or            Hawaiian
                  American    Caucasian    Hispanic      Alaska              or other     *Note
                                                         Native               Pacific
                                                                             Islander
    Citizens          7           6            0            0          0         0          2          15
    Advisory
   Committee
     (CAC)
   % of CAC          46.6        40.0          0            0          0         0        13.3         99.9
   Committee
    Citizens          8           5            0            0          0         0          1          14
    Advisory
 Committee on
   Accessible
 Transportation
   (CACAT)
  % of CACAT         57.0        35.7          0            0          0         0         7.0         99.7
   Committee

*Note – Other races reported: Lithuania, Ukrainian, and Polish


 SEE APPENDIX F- TABLE MINORITY REPRESENTATION ON COMMITTEES BY
                               RACE




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VIII. REQUIREMENTS OF TRANSIT PROVIDERS

REQUIREMENTS AND GUIDELINES FOR FIXED ROUTE TRANSIT PROVIDERS
The requirements apply to all providers of fixed route public transportation (also referred to as
transit providers) that receive Federal financial assistance, inclusive of States, local and regional
entities, and public and private entities.

Transit providers that are sub recipients will submit the information to their primary recipient
(the entity from whom they directly receive transit funds) every three years on a schedule
determined by the primary recipient. The requirements are scaled based on the size of the fixed
route transit provider.

REQUIRED: Service Standards and Policies

       x   Service Standards
               o Vehicle load, Vehicle headway, On-time performance, Service availability
       x   Service Policies
               o Transit amenities, Vehicle assignment



[Name of Agency] is required to plan and deliver transportation services in an equitable manner.
This means the distribution of service levels and quality is to be equitable between minority and
low income populations and the overall population. [Name of Agency] has reviewed its services
and policies to ensure that those services and benefits are provided in an equitable manner to all
persons.

       Service Standards

       The agency has set standards and policies that address how services are distributed across
       the transit system service area to ensure that that distribution affords users equitable
       access to these services. As shown in the following maps, the agency’s routes [explain
       how routes service low income and minority areas]. The agency’s demand responsive
       services are available to all callers on a first-come first service basis, without regard for
       race, color or national origin.

       The following system-wide service standards are used to guard against service design or
       operations decisions from having disparate impacts. [sample standards are presented
       below]. All of [Name of Agency]’s services meet the agency’s established standards;
       thus, it is judged that services are provided equitably to all persons in the service area,
       regardless of race, color or national origin.




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      x   Vehicle load -Vehicle load is expressed as the ratio of passengers to the total number
          of seats on a vehicle at its maximum load point. The standard for maximum vehicle
          load is [insert standard], all of [Name of Agency’s] services meet this standard.
      x   Vehicle headway -Vehicle headway is the amount of time between two vehicles
          traveling in the same direction on a given route. A shorter headway corresponds to
          more frequent service. The standard for vehicle headways is [insert standard], all of
          [Name of Agency’s] services meet these standard.
      x   On-time performance -On-time performance is a measure of runs completed as
          scheduled. This criterion first must define what is considered to be “on time.” The
          standard for on-time performance is [insert standard], all of [Name of Agency’s]
          services meet this standard.
      x   Service availability - Service availability is a general measure of the distribution of
          routes within a transit provider’s service area or the span of service. The standard for
          service availability is [insert standard] all of [Name of Agency’s] services meet this
          standard.


      Service and Operating Policies

      The [Name of Agency’]s service and operating policies also ensure that operational
      practices do not result in discrimination on the basis of race, color, or national origin.

      x   Distribution and Siting of Transit Amenities -Transit amenities refer to items of
          comfort, convenience, and safety that are available to the general riding public.
          [Name of Agency] has a policy to ensure the equitable distribution of transit
          amenities across the system. This policy applies to seating (i.e., benches, seats), bus
          shelters and canopies, (c) provision of information, Intelligent Transportation
          Systems (ITS), waste receptacles (including trash and recycling). Passenger
          amenities are sited based on [insert process].

      x   Vehicle assignment - Vehicle assignment refers to the process by which transit
          vehicles are placed into service and on routes throughout the system. [Name of
          Agency] assigns vehicles with the goal of providing equitable benefits to minority and
          low income populations. Vehicles are assigned with regard to service type (fixed-
          route, demand-response, or a hybrid type) and ridership demand patterns (routes with
          greater numbers of passengers need vehicles with larger capacities). For each type of
          assignment, newer vehicles are rotated to ensure that no single route or service always
          has the same vehicle. The [Title of individual(s) responsible for Title VI compliance
          in service delivery] reviews vehicle assignments on a monthly basis to ensure that
          vehicles are indeed being rotated and that no single route or service always has the
          old or new vehicles.
          [Insert your process Note: Policies for vehicle assignment could be based on the
          age of the vehicle, where age would be a proxy for condition. For example, a transit
          provider may set a policy to assign vehicles to routes so that the age of the vehicles
          on each route does not exceed the system-wide average. The policy could also be
          based on the type of vehicle. For example, a transit provider may set a policy to


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           assign vehicles with more capacity to routes with higher ridership and/or during
           peak periods. The policy could also be based on the type of service offered. For
           example, a transit provider may set a policy to assign specific types of vehicles to
           express or commuter service. Transit providers deploying vehicles equipped with
           technology designed to reduce emissions could choose to set a policy for how these
           vehicles will be deployed throughout the service area]


Monitoring Title VI Complaints

As part of the complaint handling procedure, the Title VI Manager investigates possible
inequities in service delivery for the route(s) or service(s) about which the complaint was filed.
Depending on the nature of the complaint, the review examines span of service (days and hours),
frequency, routing directness, interconnectivity with other routes and/or fare policy. If inequities
are discovered during this review, options for reducing the disparity are explored, and service or
fare changes are planned if needed.

In addition to the investigation following an individual complaint, the Title VI Manager
periodically reviews all complaints received to determine if there may be a pattern. At a
minimum, this review is conducted as part of preparing the annual grant application (ATP) for
submission to the MTA.

Fare and Service Changes

[Name of Agency] follows its adopted written policy for the public comment process for major
service reductions and fare increases. With each proposed service or fare change, [Name of
Agency] considers the relative impacts on, and benefits to, minority and low income populations,
including LEP populations. All planning efforts for changes to existing services or fares, as well
as new services, have a goal of providing equitable service. [If you receive S.5311: This
analysis is also conducted for service and fare changes planned for in the agency’s
Transportation Development Plan].




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Reference Guide of Languages Spoken
by LEP Individuals by County
This attachment is based on an appendix the Maryland Department of Transportation
Limited English Proficiency (LEP) Program / Language Assistance Plan (LAP), for which an
update is currently under way.

This attachment includes tables identifying all the languages spoken by limited English
proficiency (LEP) individuals in each county in Maryland, based on American Community
Survey 2011-2015 data.1 Data were updated February 2017 for MDOT. The data in these tables
represent the population ages 5 and over, for which LEP data was available.




1
    Table B16001: LANGUAGE SPOKEN AT HOME BY ABILITY TO SPEAK ENGLISH FOR THE POPULATION 5 YEARS AND OVER.


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                                          Allegany County
                                                                Percent of       Percent of
                                                                  County             LEP
                                                Number of       Population       Population
                                                   LEP           Speaking         Speaking
                      Language                  Population       Language         Language
          Spanish or Spanish Creole                     385           0.55%            45.7%
          Chinese                                       105           0.15%           12.47%
          Russian                                        64           0.09%            7.60%
          Greek                                          54           0.08%            6.41%
          Korean                                         39           0.06%            4.63%
          French (incl. Patois, Cajun)                   37           0.05%            4.39%
          African languages                              32           0.05%            3.80%
          Polish                                         27           0.04%            3.21%
          Serbo-Croatian                                 22           0.03%            2.61%
          Other Asian languages                          14           0.02%            1.66%
          Japanese                                       14           0.02%            1.66%
          Other Pacific Island languages                 11           0.02%            1.31%
          Hebrew                                         11           0.02%            1.31%
          Portuguese or Portuguese Creole                10           0.01%            1.19%
          Other Indic languages                            8          0.01%            0.95%
          Vietnamese                                       6          0.01%            0.71%
          Italian                                          3         0.004%            0.36%
        Total LEP Population                            842           1.20%          100.00%
        Total County Population                      70,132         100.00%

        Safe Harbor Provision threshold is 5% population or 1,000 persons, whichever is less.




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                                     Anne Arundel County
                                                           Percent of    Percent of
                                                             County          LEP
                                            Number of      Population    Population
                                               LEP          Speaking      Speaking
                      Language              Population      Language      Language
          Spanish or Spanish Creole               9,852          1.89%        53.06%
          Korean                                  1,557          0.30%         8.39%
          Tagalog                                   863          0.17%         4.65%
          Other Indic languages                     794          0.15%         4.28%
          Vietnamese                                687          0.13%         3.70%
          Chinese                                   673          0.13%         3.62%
          Other Asian languages                     377          0.07%         2.03%
          African languages                         348          0.07%         1.87%
          Urdu                                      321          0.06%         1.73%
          German                                    317          0.06%         1.71%
          French (incl. Patois, Cajun)              315          0.06%         1.70%
          Arabic                                    280          0.05%         1.51%
          Hindi                                     271          0.05%         1.46%
          Other and unspecified languages           215          0.04%         1.16%
          Russian                                   181          0.03%         0.97%
          Polish                                    156          0.03%         0.84%
          Gujarati                                  151          0.03%         0.81%
          French Creole                             139          0.03%         0.75%
          Portuguese or Portuguese Creole           137          0.03%         0.74%
          Italian                                   129          0.02%         0.69%
          Mon-Khmer, Cambodian                      122          0.02%         0.66%
          Thai                                      108          0.02%         0.58%
          Other Pacific Island languages            108          0.02%         0.58%
          Other Indo-European languages              83          0.02%         0.45%
          Greek                                      78          0.02%         0.42%
          Other Slavic languages                     72          0.01%         0.39%
          Serbo-Croatian                             60          0.01%         0.32%
          Japanese                                   58          0.01%         0.31%
          Persian                                    41          0.01%         0.22%
          Other West Germanic languages              40          0.01%         0.22%
          Hebrew                                     34          0.01%         0.18%
        Total LEP Population                     18,567          3.57%       100.00%
        Total County Population                 519,917        100.00%


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        Safe Harbor Provision threshold is 5% population or 1,000 persons, whichever is less.


                                          Baltimore County
                                                                    Percent of      Percent of
                                                                      County            LEP
                                                    Number of       Population      Population
                                                       LEP           Speaking        Speaking
                        Language                    Population       Language        Language
        Spanish or Spanish Creole                        13,527           1.75%          35.00%
        Russian                                           3,654           0.47%           9.45%
        Chinese                                           3,504           0.45%           9.07%
        Korean                                            2,429           0.31%           6.28%
        African languages                                 1,766           0.23%           4.57%
        Tagalog                                           1,740           0.23%           4.50%
        Other Indic languages                             1,587           0.21%           4.11%
        Urdu                                              1,387           0.18%           3.59%
        Other Asian languages                             1,209           0.16%           3.13%
        Vietnamese                                        1,204           0.16%           3.11%
        French (incl. Patois, Cajun)                        883           0.11%           2.28%
        Arabic                                              816           0.11%           2.11%
        Gujarati                                            756           0.10%           1.96%
        Persian                                             673           0.09%           1.74%
        Hindi                                               482           0.06%           1.25%
        Greek                                               410           0.05%           1.06%
        Italian                                             408           0.05%           1.06%
        Polish                                              291           0.04%           0.75%
        Other Slavic languages                              260           0.03%           0.67%
        Other Indo-European languages                       252           0.03%           0.65%
        Other Pacific Island languages                      208           0.03%           0.54%
        Hebrew                                              192           0.02%           0.50%
        Japanese                                            177           0.02%           0.46%
        German                                              176           0.02%           0.46%
        Portuguese or Portuguese Creole                     139           0.02%           0.36%
        French Creole                                       135           0.02%           0.35%
        Serbo-Croatian                                       95           0.01%           0.25%
        Other and unspecified languages                      65           0.01%           0.17%
        Thai                                                 65           0.01%           0.17%
        Yiddish                                              45           0.01%           0.12%
        Laotian                                              31           0.00%           0.08%



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        Hmong                                                 28          0.00%            0.07%
        Armenian                                              25          0.00%            0.06%
        Other Native North American languages                 14          0.00%            0.04%
        Scandinavian languages                                 8          0.00%            0.02%
        Mon-Khmer, Cambodian                                   7          0.00%            0.02%
        Other West Germanic languages                          4          0.00%            0.01%
      Total LEP Population                                38,652          5.00%          100.00%
      Total County Population                            773,315        100.00%

      Safe Harbor Provision threshold is 5% population or 1,000 persons, whichever is less.




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                                          Baltimore City
                                                              Percent of
                                                                County      Percent of LEP
                                               Number of      Population     Population
                                                  LEP          Speaking       Speaking
                      Language                 Population      Language       Language
        Spanish or Spanish Creole                   10,307          1.77%          51.43%
        Chinese                                      1,136          0.20%           5.67%
        French (incl. Patois, Cajun)                 1,065          0.18%           5.31%
        Other Indic languages                        1,032          0.18%           5.15%
        Korean                                         800          0.14%           3.99%
        African languages                              752          0.13%           3.75%
        Arabic                                         585          0.10%           2.92%
        Urdu                                           569          0.10%           2.84%
        Russian                                        509          0.09%           2.54%
        Tagalog                                        458          0.08%           2.29%
        Greek                                          435          0.07%           2.17%
        Vietnamese                                     272          0.05%           1.36%
        Other Asian languages                          253          0.04%           1.26%
        Italian                                        223          0.04%           1.11%
        Hindi                                          222          0.04%           1.11%
        Other Indo-European languages                  201          0.03%           1.00%
        Portuguese or Portuguese Creole                188          0.03%           0.94%
        Hungarian                                      175          0.03%           0.87%
        Persian                                        166          0.03%           0.83%
        Polish                                         159          0.03%           0.79%
        German                                          84          0.01%           0.42%
        Other Slavic languages                          82          0.01%           0.41%
        Hebrew                                          67          0.01%           0.33%
        Japanese                                        57          0.01%           0.28%
        Laotian                                         46          0.01%           0.23%
        Other and unspecified languages                 45          0.01%           0.22%
        Serbo-Croatian                                  42          0.01%           0.21%
        French Creole                                   23          0.00%           0.11%
        Thai                                            21          0.00%           0.10%
        Gujarati                                        20          0.00%           0.10%
        Yiddish                                         18          0.00%           0.09%
        Mon-Khmer, Cambodian                            12          0.00%           0.06%
        Other Pacific Island languages                    9         0.00%           0.04%
        Other West Germanic languages                     6         0.00%           0.03%


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      Total LEP Population                             20,039            3.45%           100.00%
      Total County Population                         580,907          100.00%

      Safe Harbor Provision threshold is 5% population or 1,000 persons, whichever is less.




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                                          Calvert County
                                                                Percent of       Percent of
                                                                  County             LEP
                                                Number of       Population       Population
                                                   LEP           Speaking         Speaking
                      Language                  Population       Language         Language
          Spanish or Spanish Creole                     544           0.64%           47.55%
          Other Indic languages                         103           0.12%            9.00%
          Other Slavic languages                         85           0.10%            7.43%
          French (incl. Patois, Cajun)                   74           0.09%            6.47%
          Other Indo-European languages                  55           0.06%            4.81%
          Chinese                                        49           0.06%            4.28%
          Russian                                        47           0.06%            4.11%
          German                                         43           0.05%            3.76%
          Greek                                          32           0.04%            2.80%
          Hungarian                                      24           0.03%            2.10%
          Portuguese or Portuguese Creole                21           0.02%            1.84%
          Korean                                         19           0.02%            1.66%
          Japanese                                       17           0.02%            1.49%
          Tagalog                                        12           0.01%            1.05%
          Persian                                        10           0.01%            0.87%
          Italian                                          9          0.01%            0.79%
        Total LEP Population                          1,144           1.35%          100.00%
        Total County Population                      85,049         100.00%

        Safe Harbor Provision threshold is 5% population or 1,000 persons, whichever is less.




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                                          Caroline County
                                                                Percent of       Percent of
                                                                  County             LEP
                                                Number of       Population       Population
                                                   LEP           Speaking         Speaking
                      Language                  Population       Language         Language
          Spanish or Spanish Creole                   1,010           3.30%           79.65%
          French Creole                                  93           0.30%            7.33%
          Italian                                        42           0.14%            3.31%
          Chinese                                        34           0.11%            2.68%
          Gujarati                                       24           0.08%            1.89%
          Portuguese or Portuguese Creole                13           0.04%            1.03%
          French (incl. Patois, Cajun)                   12           0.04%            0.95%
          Other Indic languages                          10           0.03%            0.79%
          Polish                                           9          0.03%            0.71%
          Russian                                          7          0.02%            0.55%
          Korean                                           7          0.02%            0.55%
          Scandinavian languages                           3          0.01%            0.24%
          Greek                                            2          0.01%            0.16%
          Serbo-Croatian                                   2          0.01%            0.16%
        Total LEP Population                          1,268           4.14%          100.00%
        Total County Population                      30,647         100.00%

        Safe Harbor Provision threshold is 5% population or 1,000 persons, whichever is less.




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                                            Carroll County
                                                                Percent of       Percent of
                                                                  County             LEP
                                                Number of       Population       Population
                                                   LEP           Speaking         Speaking
                      Language                  Population       Language         Language
          Spanish or Spanish Creole                   1,070           0.67%           51.74%
          Russian                                       168           0.11%            8.12%
          Tagalog                                       111           0.07%            5.37%
          Other Indic languages                         110           0.07%            5.32%
          Korean                                         92           0.06%            4.45%
          Chinese                                        75           0.05%            3.63%
          German                                         69           0.04%            3.34%
          Gujarati                                       69           0.04%            3.34%
          Other Indo-European languages                  54           0.03%            2.61%
          French (incl. Patois, Cajun)                   47           0.03%            2.27%
          Portuguese or Portuguese Creole                43           0.03%            2.08%
          Vietnamese                                     31           0.02%            1.50%
          Other Asian languages                          26           0.02%            1.26%
          Urdu                                           25           0.02%            1.21%
          Thai                                           18           0.01%            0.87%
          Hindi                                          17           0.01%            0.82%
          Other Slavic languages                         15           0.01%            0.73%
          Persian                                        14           0.01%            0.68%
          Greek                                            9          0.01%            0.44%
          Italian                                          5          0.00%            0.24%
        Total LEP Population                          2,068           1.30%          100.00%
        Total County Population                     159,218         100.00%

        Safe Harbor Provision threshold is 5% population or 1,000 persons, whichever is less.




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                                            Cecil County
                                                               Percent of
                                                                 County        Percent of LEP
                                              Number of        Population       Population
                                                 LEP            Speaking         Speaking
                    Language                  Population        Language         Language
          Spanish or Spanish Creole                   446            0.46%            39.47%
          Russian                                     119            0.12%            10.53%
          Urdu                                        114            0.12%            10.09%
          French (incl. Patois, Cajun)                 54            0.06%             4.78%
          Chinese                                      49            0.05%             4.34%
          Other Asian languages                        44            0.05%             3.89%
          Other Indic languages                        40            0.04%             3.54%
          Tagalog                                      37            0.04%             3.27%
          Other Slavic languages                       36            0.04%             3.19%
          Gujarati                                     34            0.04%             3.01%
          Korean                                       28            0.03%             2.48%
          Thai                                         26            0.03%             2.30%
          Italian                                      23            0.02%             2.04%
          Laotian                                      22            0.02%             1.95%
          Hindi                                        20            0.02%             1.77%
          Other Pacific Island languages               17            0.02%             1.50%
          German                                       10            0.01%             0.88%
          Japanese                                       6           0.01%             0.53%
          Arabic                                         5           0.01%             0.44%
        Total LEP Population                        1,130            1.18%          100.00%
        Total County Population                    96,032          100.00%

        Safe Harbor Provision threshold is 5% population or 1,000 persons, whichever is less.




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                                          Charles County
                                                                Percent of       Percent of
                                                                  County             LEP
                                                Number of       Population       Population
                                                   LEP           Speaking         Speaking
                      Language                  Population       Language         Language
          Spanish or Spanish Creole                   1,385           0.96%           43.65%
          Tagalog                                       266           0.19%            8.38%
          Chinese                                       255           0.18%            8.04%
          African languages                             196           0.14%            6.18%
          Vietnamese                                    173           0.12%            5.45%
          Korean                                        152           0.11%            4.79%
          Gujarati                                      103           0.07%            3.25%
          Russian                                        94           0.07%            2.96%
          Urdu                                           90           0.06%            2.84%
          Japanese                                       69           0.05%            2.17%
          Other West Germanic languages                  59           0.04%            1.86%
          Other Indic languages                          52           0.04%            1.64%
          German                                         50           0.03%            1.58%
          Hindi                                          36           0.03%            1.13%
          Other Pacific Island languages                 35           0.02%            1.10%
          French (incl. Patois, Cajun)                   33           0.02%            1.04%
          French Creole                                  29           0.02%            0.91%
          Other Indo-European languages                  28           0.02%            0.88%
          Portuguese or Portuguese Creole                19           0.01%            0.60%
          Italian                                        12           0.01%            0.38%
          Greek                                          12           0.01%            0.38%
          Other Asian languages                          10           0.01%            0.32%
          Scandinavian languages                           8          0.01%            0.25%
          Other Slavic languages                           7          0.00%            0.22%
        Total LEP Population                          3,173           2.21%          100.00%
        Total County Population                     143,532         100.00%

        Safe Harbor Provision threshold is 5% population or 1,000 persons, whichever is less.




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                                        Dorchester County
                                                              Percent of
                                                                County        Percent of LEP
                                                              Population       Population
                                          Number of LEP        Speaking         Speaking
                   Language                Population          Language         Language
          Spanish or Spanish Creole                 573              1.88%           79.58%
          Tagalog                                    31              0.10%             4.31%
          Vietnamese                                 28              0.09%             3.89%
          Gujarati                                   22              0.07%             3.06%
          Polish                                     18              0.06%             2.50%
          French Creole                              14              0.05%             1.94%
          Japanese                                   10              0.03%             1.39%
          Thai                                        9              0.03%             1.25%
          Greek                                       8              0.03%             1.11%
          Other Asian languages                       7              0.02%             0.97%
        Total LEP Population                        720              2.36%          100.00%
        Total County Population                  30,492            100.00%

        Safe Harbor Provision threshold is 5% population or 1,000 persons, whichever is less.




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                                         Frederick County
                                                                Percent of       Percent of
                                                                  County             LEP
                                                Number of       Population       Population
                                                   LEP           Speaking         Speaking
                      Language                  Population       Language         Language
          Spanish or Spanish Creole                   5,329           2.35%           54.46%
          Other Asian languages                         759           0.33%            7.76%
          Chinese                                       582           0.26%            5.95%
          Vietnamese                                    546           0.24%            5.58%
          Russian                                       393           0.17%            4.02%
          Korean                                        374           0.16%            3.82%
          French (incl. Patois, Cajun)                  189           0.08%            1.93%
          Tagalog                                       183           0.08%            1.87%
          Other Indo-European languages                 138           0.06%            1.41%
          Other Indic languages                         124           0.05%            1.27%
          Laotian                                       119           0.05%            1.22%
          African languages                             106           0.05%            1.08%
          Portuguese or Portuguese Creole               104           0.05%            1.06%
          Persian                                        97           0.04%            0.99%
          Urdu                                           91           0.04%            0.93%
          Thai                                           81           0.04%            0.83%
          Other Slavic languages                         79           0.03%            0.81%
          Gujarati                                       79           0.03%            0.81%
          German                                         59           0.03%            0.60%
          Hindi                                          58           0.03%            0.59%
          French Creole                                  55           0.02%            0.56%
          Other Pacific Island languages                 48           0.02%            0.49%
          Greek                                          42           0.02%            0.43%
          Polish                                         42           0.02%            0.43%
          Arabic                                         41           0.02%            0.42%
          Italian                                        34           0.01%            0.35%
          Hungarian                                      14           0.01%            0.14%
          Japanese                                         8          0.00%            0.08%
          Serbo-Croatian                                   6          0.00%            0.06%
          Other and unspecified languages                  6          0.00%            0.06%
        Total LEP Population                          9,786           4.31%          100.00%
        Total County Population                     226,861         100.00%

        Safe Harbor Provision threshold is 5% population or 1,000 persons, whichever is less.


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                                           Garrett County
                                                                Percent of       Percent of
                                                                  County             LEP
                                                Number of       Population       Population
                                                   LEP           Speaking         Speaking
                     Language                   Population       Language         Language
          Other West Germanic languages                 179           0.63%            76.82%
          Chinese                                        15           0.05%             6.44%
          Spanish or Spanish Creole                      11           0.04%             4.72%
          German                                         11           0.04%             4.72%
          Korean                                         11           0.04%             4.72%
          Greek                                            6          0.02%             2.58%
        Total LEP Population                            233           0.82%          100.00%
        Total County Population                      28,359         100.00%

        Safe Harbor Provision threshold is 5% population or 1,000 persons, whichever is less.




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                                            Harford County
                                                                Percent of       Percent of
                                                                  County             LEP
                                                Number of       Population       Population
                                                   LEP           Speaking         Speaking
                      Language                  Population       Language         Language
          Spanish or Spanish Creole                   1,677           0.71%           37.33%
          Korean                                        417           0.18%            9.28%
          Chinese                                       330           0.14%            7.35%
          Tagalog                                       277           0.12%            6.17%
          Gujarati                                      253           0.11%            5.63%
          Vietnamese                                    184           0.08%            4.10%
          African languages                             181           0.08%            4.03%
          German                                        138           0.06%            3.07%
          Other Asian languages                         121           0.05%            2.69%
          French (incl. Patois, Cajun)                  107           0.05%            2.38%
          Italian                                       107           0.05%            2.38%
          Greek                                          95           0.04%            2.11%
          Urdu                                           95           0.04%            2.11%
          Thai                                           79           0.03%            1.76%
          Polish                                         65           0.03%            1.45%
          Other Indic languages                          63           0.03%            1.40%
          Other Indo-European languages                  57           0.02%            1.27%
          Arabic                                         56           0.02%            1.25%
          Hindi                                          48           0.02%            1.07%
          Portuguese or Portuguese Creole                36           0.02%            0.80%
          Japanese                                       32           0.01%            0.71%
          Persian                                        27           0.01%            0.60%
          Other Slavic languages                         24           0.01%            0.53%
          Other Pacific Island languages                 13           0.01%            0.29%
          French Creole                                  10           0.00%            0.22%
        Total LEP Population                          4,492           1.91%          100.00%
        Total County Population                     234,856         100.00%

        Safe Harbor Provision threshold is 5% population or 1,000 persons, whichever is less.




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                                           Howard County
                                                                     Percent of      Percent of
                                                                       County            LEP
                                                     Number of       Population      Population
                                                        LEP           Speaking        Speaking
                       Language                      Population       Language        Language
        Korean                                             5,613           1.96%          25.66%
        Spanish or Spanish Creole                          4,911           1.72%          22.45%
        Chinese                                            3,169           1.11%          14.49%
        Vietnamese                                           978           0.34%           4.47%
        Other Asian languages                                912           0.32%           4.17%
        African languages                                    899           0.31%           4.11%
        Urdu                                                 721           0.25%           3.30%
        Other Indic languages                                689           0.24%           3.15%
        Hindi                                                594           0.21%           2.72%
        Gujarati                                             496           0.17%           2.27%
        Tagalog                                              412           0.14%           1.88%
        French Creole                                        338           0.12%           1.55%
        Persian                                              312           0.11%           1.43%
        Russian                                              267           0.09%           1.22%
        Portuguese or Portuguese Creole                      209           0.07%           0.96%
        Japanese                                             205           0.07%           0.94%
        French (incl. Patois, Cajun)                         202           0.07%           0.92%
        Armenian                                             138           0.05%           0.63%
        German                                               133           0.05%           0.61%
        Arabic                                               122           0.04%           0.56%
        Thai                                                 112           0.04%           0.51%
        Italian                                              102           0.04%           0.47%
        Other Indo-European languages                         94           0.03%           0.43%
        Other Slavic languages                                70           0.02%           0.32%
        Greek                                                 50           0.02%           0.23%
        Other Pacific Island languages                        37           0.01%           0.17%
        Polish                                                33           0.01%           0.15%
        Other West Germanic languages                         23           0.01%           0.11%
        Other and unspecified languages                       14           0.00%           0.06%
        Yiddish                                               12           0.00%           0.05%
        Other Native North American languages                  6           0.00%           0.03%
      Total LEP Population                                21,873           7.65%         100.00%
      Total County Population                           285,949          100.00%

      Safe Harbor Provision threshold is 5% population or 1,000 persons, whichever is less.


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                                            Kent County
                                                                Percent of       Percent of
                                                                  County             LEP
                                                Number of       Population       Population
                                                   LEP           Speaking         Speaking
                      Language                  Population       Language         Language
          Spanish or Spanish Creole                     315           1.65%           84.45%
          Portuguese or Portuguese Creole                23           0.12%            6.17%
          French (incl. Patois, Cajun)                   18           0.09%            4.83%
          Chinese                                        11           0.06%            2.95%
          Italian                                          6          0.03%            1.61%
        Total LEP Population                            373           1.96%          100.00%
        Total County Population                      19,036         100.00%

        Safe Harbor Provision threshold is 5% population or 1,000 persons, whichever is less.




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                                       Montgomery County
                                                                   Percent of    Percent of
                                                                     County          LEP
                                                     Number of     Population    Population
                                                        LEP         Speaking      Speaking
                        Language                     Population     Language      Language
        Spanish or Spanish Creole                         64,259         6.75%        46.77%
        Chinese                                           16,351         1.72%        11.90%
        African languages                                  8,840         0.93%         6.43%
        Korean                                             7,294         0.77%         5.31%
        Vietnamese                                         6,769         0.71%         4.93%
        French (incl. Patois, Cajun)                       5,752         0.60%         4.19%
        Persian                                            2,963         0.31%         2.16%
        Tagalog                                            2,952         0.31%         2.15%
        Russian                                            2,905         0.31%         2.11%
        Other Indic languages                              2,649         0.28%         1.93%
        Portuguese or Portuguese Creole                    2,231         0.23%         1.62%
        Other Asian languages                              1,846         0.19%         1.34%
        Japanese                                           1,308         0.14%         0.95%
        Hindi                                              1,226         0.13%         0.89%
        Arabic                                             1,079         0.11%         0.79%
        Urdu                                               1,041         0.11%         0.76%
        Greek                                                970         0.10%         0.71%
        Gujarati                                             964         0.10%         0.70%
        French Creole                                        925         0.10%         0.67%
        Other Pacific Island languages                       712         0.07%         0.52%
        Thai                                                 662         0.07%         0.48%
        German                                               628         0.07%         0.46%
        Italian                                              586         0.06%         0.43%
        Other Slavic languages                               345         0.04%         0.25%
        Mon-Khmer, Cambodian                                 330         0.03%         0.24%
        Other Indo-European languages                        320         0.03%         0.23%
        Polish                                               313         0.03%         0.23%
        Armenian                                             307         0.03%         0.22%
        Hebrew                                               241         0.03%         0.18%
        Serbo-Croatian                                       203         0.02%         0.15%
        Other and unspecified languages                       91         0.01%         0.07%
        Laotian                                               76         0.01%         0.06%
        Hungarian                                             71         0.01%         0.05%
        Other West Germanic languages                         56         0.01%         0.04%
        Other Native North American languages                 49         0.01%         0.04%


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        Scandinavian languages                                45          0.00%            0.03%
        Yiddish                                               19          0.00%            0.01%
        Hmong                                                  4        0.0004%           0.003%
      Total LEP Population                               137,382         14.44%          100.00%
      Total County Population                            951,302        100.00%

      Safe Harbor Provision threshold is 5% population or 1,000 persons, whichever is less.




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                                     Prince George's County
                                                                   Percent of    Percent of
                                                                     County          LEP
                                                     Number of     Population    Population
                                                        LEP         Speaking      Speaking
                        Language                     Population     Language      Language
        Spanish or Spanish Creole                         57,388         6.89%        69.81%
        African languages                                  5,277         0.63%         6.42%
        Chinese                                            3,380         0.41%         4.11%
        French (incl. Patois, Cajun)                       2,857         0.34%         3.48%
        Tagalog                                            2,307         0.28%         2.81%
        Korean                                             1,733         0.21%         2.11%
        Vietnamese                                         1,455         0.17%         1.77%
        French Creole                                      1,239         0.15%         1.51%
        Other Indic languages                                876         0.11%         1.07%
        Other Asian languages                                723         0.09%         0.88%
        Other Indo-European languages                        648         0.08%         0.79%
        Urdu                                                 520         0.06%         0.63%
        Arabic                                               515         0.06%         0.63%
        Hindi                                                489         0.06%         0.59%
        Gujarati                                             359         0.04%         0.44%
        Portuguese or Portuguese Creole                      291         0.03%         0.35%
        Other Pacific Island languages                       267         0.03%         0.32%
        German                                               235         0.03%         0.29%
        Persian                                              225         0.03%         0.27%
        Italian                                              212         0.03%         0.26%
        Thai                                                 204         0.02%         0.25%
        Mon-Khmer, Cambodian                                 189         0.02%         0.23%
        Russian                                              155         0.02%         0.19%
        Japanese                                             153         0.02%         0.19%
        Greek                                                 99         0.01%         0.12%
        Laotian                                               72         0.01%         0.09%
        Serbo-Croatian                                        66         0.01%         0.08%
        Hungarian                                             64         0.01%         0.08%
        Polish                                                41         0.00%         0.05%
        Other Slavic languages                                39         0.00%         0.05%
        Other and unspecified languages                       35         0.00%         0.04%
        Other West Germanic languages                         32         0.00%         0.04%
        Armenian                                              22         0.00%         0.03%
        Other Native North American languages                 18         0.00%         0.02%


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        Scandinavian languages                                11          0.00%            0.01%
        Hebrew                                                11          0.00%            0.01%
      Total LEP Population                                82,207          9.87%          100.00%
      Total County Population                            833,068        100.00%

      Safe Harbor Provision threshold is 5% population or 1,000 persons, whichever is less.




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                                         Queen Anne's County
                                                               Percent of
                                                                 County       Percent of LEP
                                                               Population      Population
                                           Number of LEP        Speaking        Speaking
                    Language                Population          Language        Language
          Spanish or Spanish Creole                  509              1.11%          71.29%
          Tagalog                                     61              0.13%            8.54%
          Korean                                      28              0.06%            3.92%
          German                                      27              0.06%            3.78%
          Italian                                     25              0.05%            3.50%
          French (incl. Patois, Cajun)                21              0.05%            2.94%
          Urdu                                        16              0.03%            2.24%
          African languages                           14              0.03%            1.96%
          Chinese                                     12              0.03%            1.68%
          Japanese                                     1              0.00%            0.14%
        Total LEP Population                         714              1.55%         100.00%
        Total County Population                  46,003             100.00%

        Safe Harbor Provision threshold is 5% population or 1,000 persons, whichever is less.




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                                          St. Mary's County
                                                                Percent of       Percent of
                                                                  County             LEP
                                                Number of       Population       Population
                                                   LEP           Speaking         Speaking
                      Language                  Population       Language         Language
          Spanish or Spanish Creole                     825           0.81%           37.65%
          Tagalog                                       344           0.34%           15.70%
          Chinese                                       207           0.20%            9.45%
          Other West Germanic languages                 168           0.16%            7.67%
          Gujarati                                       70           0.07%            3.19%
          French (incl. Patois, Cajun)                   68           0.07%            3.10%
          German                                         56           0.05%            2.56%
          Other Indo-European languages                  56           0.05%            2.56%
          Vietnamese                                     55           0.05%            2.51%
          Japanese                                       45           0.04%            2.05%
          Portuguese or Portuguese Creole                44           0.04%            2.01%
          Hindi                                          42           0.04%            1.92%
          Korean                                         39           0.04%            1.78%
          Russian                                        38           0.04%            1.73%
          Italian                                        32           0.03%            1.46%
          Other Asian languages                          31           0.03%            1.41%
          Thai                                           19           0.02%            0.87%
          Other Pacific Island languages                 14           0.01%            0.64%
          Urdu                                           12           0.01%            0.55%
          African languages                              11           0.01%            0.50%
          Greek                                          10           0.01%            0.46%
          Other Slavic languages                           5          0.00%            0.23%
        Total LEP Population                          2,191           2.14%          100.00%
        Total County Population                     102,192         100.00%

        Safe Harbor Provision threshold is 5% population or 1,000 persons, whichever is less.




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                                          Somerset County
                                                              Percent of
                                                                County        Percent of LEP
                                                              Population       Population
                                          Number of LEP        Speaking         Speaking
                   Language                Population          Language         Language
          Spanish or Spanish Creole                 251              1.02%           40.61%
          Other Asian languages                     169              0.68%           27.35%
          Chinese                                    47              0.19%             7.61%
          Arabic                                     37              0.15%             5.99%
          Vietnamese                                 32              0.13%             5.18%
          Other Indic languages                      18              0.07%             2.91%
          Korean                                     17              0.07%             2.75%
          Tagalog                                    13              0.05%             2.10%
          Urdu                                       12              0.05%             1.94%
          German                                      7              0.03%             1.13%
          French (incl. Patois, Cajun)                6              0.02%             0.97%
          Italian                                     5              0.02%             0.81%
          Other Slavic languages                      4              0.02%             0.65%
        Total LEP Population                        618              2.50%          100.00%
        Total County Population                 24,721             100.00%

        Safe Harbor Provision threshold is 5% population or 1,000 persons, whichever is less.




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                                           Talbot County
                                                                Percent of       Percent of
                                                                  County             LEP
                                                Number of       Population       Population
                                                   LEP           Speaking         Speaking
                     Language                   Population       Language         Language
          Spanish or Spanish Creole                   1,066           2.96%            79.26%
          Chinese                                        71           0.20%             5.28%
          Other Indic languages                          54           0.15%             4.01%
          Gujarati                                       45           0.12%             3.35%
          German                                         35           0.10%             2.60%
          Other Asian languages                          21           0.06%             1.56%
          Urdu                                           17           0.05%             1.26%
          Tagalog                                        14           0.04%             1.04%
          Other West Germanic languages                  12           0.03%             0.89%
          French (incl. Patois, Cajun)                     7          0.02%             0.52%
          Italian                                          3          0.01%             0.22%
        Total LEP Population                          1,345           3.73%          100.00%
        Total County Population                      36,030         100.00%

        Safe Harbor Provision threshold is 5% population or 1,000 persons, whichever is less.




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                                         Washington County
                                                                Percent of       Percent of
                                                                  County             LEP
                                                Number of       Population       Population
                                                   LEP           Speaking         Speaking
                      Language                  Population       Language         Language
          Spanish or Spanish Creole                   1,484           1.06%            48.53%
          Chinese                                       302           0.21%             9.88%
          Russian                                       179           0.13%             5.85%
          French (incl. Patois, Cajun)                  145           0.10%             4.74%
          Other Asian languages                         140           0.10%             4.58%
          Korean                                        128           0.09%             4.19%
          Vietnamese                                    116           0.08%             3.79%
          German                                         97           0.07%             3.17%
          Tagalog                                        65           0.05%             2.13%
          Arabic                                         57           0.04%             1.86%
          African languages                              53           0.04%             1.73%
          Italian                                        51           0.04%             1.67%
          Urdu                                           47           0.03%             1.54%
          Greek                                          41           0.03%             1.34%
          Hindi                                          29           0.02%             0.95%
          Hungarian                                      18           0.01%             0.59%
          Serbo-Croatian                                 17           0.01%             0.56%
          Gujarati                                       16           0.01%             0.52%
          Other Slavic languages                         15           0.01%             0.49%
          Thai                                           15           0.01%             0.49%
          Other and unspecified languages                15           0.01%             0.49%
          Japanese                                       12           0.01%             0.39%
          Persian                                          8          0.01%             0.26%
          Other Pacific Island languages                   6          0.00%             0.20%
          Other West Germanic languages                    2          0.00%             0.07%
        Total LEP Population                          3,058           2.18%          100.00%
        Total County Population                     140,528         100.00%

        Safe Harbor Provision threshold is 5% population or 1,000 persons, whichever is less.




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                                          Wicomico County
                                                                Percent of       Percent of
                                                                  County             LEP
                                                Number of       Population       Population
                                                   LEP           Speaking         Speaking
                      Language                  Population       Language         Language
          Spanish or Spanish Creole                   2,009           2.11%           38.43%
          French Creole                               1,467           1.54%           28.06%
          Korean                                        710           0.75%           13.58%
          Portuguese or Portuguese Creole               219           0.23%            4.19%
          Vietnamese                                    136           0.14%            2.60%
          Arabic                                        134           0.14%            2.56%
          Urdu                                          107           0.11%            2.05%
          Gujarati                                      102           0.11%            1.95%
          Tagalog                                        97           0.10%            1.86%
          Chinese                                        66           0.07%            1.26%
          Russian                                        36           0.04%            0.69%
          Other Asian languages                          33           0.03%            0.63%
          Greek                                          24           0.03%            0.46%
          Other Indic languages                          24           0.03%            0.46%
          Thai                                           23           0.02%            0.44%
          French (incl. Patois, Cajun)                   22           0.02%            0.42%
          German                                         11           0.01%            0.21%
          Polish                                           7          0.01%            0.13%
          Other Slavic languages                           1          0.00%            0.02%
        Total LEP Population                          5,228           5.50%          100.00%
        Total County Population                      95,051         100.00%

        Safe Harbor Provision threshold is 5% population or 1,000 persons, whichever is less.




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                                         Worcester County
                                                              Percent of
                                                                County        Percent of LEP
                                                              Population       Population
                                          Number of LEP        Speaking         Speaking
                   Language                Population          Language         Language
          Spanish or Spanish Creole                 172              0.35%           36.13%
          Italian                                   103              0.21%           21.64%
          Vietnamese                                 41              0.08%             8.61%
          Greek                                      32              0.06%             6.72%
          Chinese                                    28              0.06%             5.88%
          Korean                                     26              0.05%             5.46%
          Russian                                    16              0.03%             3.36%
          Persian                                    15              0.03%             3.15%
          Other Asian languages                      14              0.03%             2.94%
          French (incl. Patois, Cajun)                7              0.01%             1.47%
          German                                      7              0.01%             1.47%
          Armenian                                    6              0.01%             1.26%
          Tagalog                                     5              0.01%             1.05%
          Arabic                                      4              0.01%             0.84%
        Total LEP Population                        476              0.97%          100.00%
        Total County Population                 49,258             100.00%

        Safe Harbor Provision threshold is 5% population or 1,000 persons, whichever is less.




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   EQUAL EMPLOYMENT OPPORTUNITY POLICY
             AND PROCEDURES

  This policy template addresses the basic requirements that all LOTS must
                meet in developing their required EEO policy.

    Organizations which meet FTA thresholds for a formal EEO program have more extensive
    requirements that are not addressed in this template. If your organization has 100 or more
transportation-related employees and requests or receives more than $1 million in FTA capital or
operating assistance or more than $250,000 in FTA planning assistance in the fiscal year, contact
                                  MTA for additional guidance.

                                  Name of Organization
                                 Address of Organization
                                  State of Organization

                                             Date



Name/Signature of EEO Officer                                      Date



Name/Signature of Head of Organization                             Date

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              Required for all LOTS
              A. EEO Policy Statement
              B. Dissemination
              C. Complaint Procedure
              D. Designation of Personnel Responsibilities

              Required only for those LOTS with 50 or more employees that receive more than
              $1 million in FTA capital or operating assistance or more than $250,000 in FTA
              planning assistance in the fiscal year:
              E. Assessment of Employment Practices
              F. Monitoring and Reporting System


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A. EQUAL EMPLOYMENT OPPORTUNITY POLICY STATEMENT

This document:

    ¾ Is a signed and dated EEO policy statement issued by the Chief Executive
      Officer/General Manager, or equivalent (CEO/GM), regarding the organization’s
      commitment to EEO for all persons.
    ¾ Expresses the agency’s commitment that all employment actions, including but not
      limited to recruitment or recruitment advertising, hiring, upgrading, selection for training,
      promotion, transfer, demotion, layoff, termination, rates of pay or other forms of
      compensation, use of facilities, and treatment of employees will be administered without
      regard to race, color, religion, national origin, sex (including gender identity and sexual
      orientation), age, genetic information, disability, veteran status, or other protected class.
    ¾ States that applicants and employees have the right to file complaints alleging
      discrimination with the EEO Officer or office
    ¾ States that all management and supervisory personnel share in the responsibility.
    ¾ Provides the name and contact information for the EEO Officer.



The FTA has developed the following sample EEO Policy Statement for its grantees:

[Agency Name] has a strong commitment to the community we serve and our employees. As an equal
opportunity employer, we strive to have a workforce that reflects the community we serve. No person is
unlawfully excluded from employment opportunities based on race, color, religion, national origin, sex
(including gender identity, sexual orientation, and pregnancy), age, genetic information, disability,
veteran status, or other protected class.

[Agency Name] Equal Employment Opportunity (EEO) policy applies to all employment actions,
including but not limited to, recruitment, hiring, selection for training, promotion, transfer, demotion,
layoff, termination, rates of pay or other forms of compensation.

All applicants and employees have the right to file complaints alleging discrimination. Retaliation against
an individual who files a charge or complaint of discrimination, participates in an employment
discrimination proceeding (such as an investigation or lawsuit), or otherwise engages in protected
activity is strictly prohibited and will not be tolerated.

[Agency Name] is committed to providing reasonable accommodations to applicants and employees who
need them because of a disability or to practice or observe their religion, absent undue hardship.

As [Agency Name]’s [President, General Manager/CEO, Executive Director], I maintain overall
responsibility and accountability for [Agency Name]’s compliance with its EEO Policy and Program. To
ensure day-to-day management, including program preparation, monitoring, and complaint investigation,
I have appointed [Name, title and contact information] as [Agency Name]’s EEO Officer. [Name] will
report directly to me and acts with my authority with all levels of management, labor unions, and
employees.

All [Agency Name] executives, management, and supervisory personnel, however, share in the
responsibility for implementing and monitoring [Agency Name]’s EEO Policy and Program within their
respective areas and will be assigned specific tasks to ensure compliance is achieved. [Agency Name]
will evaluate its managers’ and supervisors’ performance on their successful implementation of [Agency

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Name]’s policies and procedures, in the same way [Agency Name] assesses their performance regarding
other agency’s goals.
[Agency Name] is committed to undertaking and developing a written nondiscrimination program that
sets forth the policies, practices and procedures, with goals and timetables, to which the agency is
committed and make the EEO Program available for inspection by any employee or applicant for
employment upon request.

I am personally committed to a workplace that acts upon its daily responsibility to treat all applicants
and employees with dignity and respect, as well as equitably under the guidelines of our EEO Policy and
Program.
_______________________________                          __________________
Signature                                                Date
[President, General Manager/CEO, Executive Director]




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   A. EEO POLICY DISSEMINATION

   ¾ Internally

   [Agency Name] communicates the existence of its EEO policy to employees, applicants and
   potential applicants by:

          o Providing written communications from the CEO/GM
          o Posting official EEO materials (e.g., Federal and state labor laws poster(s)) and
            the agency’s policy statement on bulletin boards, near time clocks, in employees’
            break rooms, and in the employment/personnel office
          o Including the EEO policy statement in the agency’s personnel and operations
            manual, employee handbooks, reports and manuals
          o Meeting with top management officials (e.g., bus operations, human resources,
            planning, marketing, etc.) at least semiannually to discuss the EEO program and
            its implementation
          o Meeting with employees of protected classes and affinity groups to seek input on
            the program implementation
          o Conducting periodic EEO training for employees and for managers
          o Conducting EEO training for all new supervisors or managers within 90 days of
            their appointment
          o Including the policy statement in employee orientation materials and requiring
            new employees to sign a form acknowledging they have read and understand the
            policy.
          o Documenting dissemination efforts by maintaining agendas and sign-in sheets for
            meetings conducted when the EEO policy and its implementation are explained.

   ¾ Externally

   [Agency Name] communicates the existence of its EEO policy externally by:

          o Including the EEO policy with outreach and/or advertising to recruitment sources,
            local media sources (newspapers, etc.), in agency’s webpage or other electronic
            media (Facebook, etc.)

          o Stating that the agency “is an equal employment opportunity employer” on all
            recruitment ads (e.g., newspapers, magazines, websites, and social media)




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   B. EEO COMPLAINT PROCEDURE

All employees and applicants have the right to file complaints alleging discrimination on the
basis of race, color, creed, national origin, sex, age or disability, regardless of whether the
agency has a formal EEO Program (as required for larger organizations). Subrecipients should
have procedures in place for receiving, processing and handling such complaints. All EEO
complaints must be reported to MTA.

[Agency Name]’s procedure for handling EEO employment complaints is as follows:

Insert details of your Agency’s EEO procedures for receiving, processing and handling EEO
complaints.

Attach a copy of your EEO complaint form (an example is attached).




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             SAMPLE – EMPLOYMENT DISCRIMINATION COMPLAINT FORM


  For Use by [Agency Name] EEO Office                                                   [Agency Logo]
  _______________ vs. ______________                                                   [Agency Name]
                                                       Office of [Human Resources, Employment, etc.]
  Date Received: _______                                         [Contact information for EEO Officer]
  Investigator Assigned: _____________

Contact information*:

Last Name: ______________________ First:_______________________________ M.I.:_____

Home Address: _________________________________________________________________

City:_____________________________ State:_______________ Zip Code:_______________

Home Telephone (___) _______________________________

Office Telephone (___) _______________________________

*Please notify the [Agency Name] EEO Officer of any changes of address and telephone number
during the period of the investigation.

Title: _________________________________ Unit/Dept.: ______________________________

Supervisor/Manager’s Name: _____________________________________________________

Name of person or department you believe discriminated against you: _________________________

______________________________________________________________________________

What is the basis of the alleged discrimination? (Circle only those that apply to your complaint)

Age                  Marital Status         Ancestry                              Genetic Information
Color                Race                   Creed                                 Religion
Disability           Sex (gender)           Disability                            National Origin
Sexual Orientation Retaliation              Gender Identity and Expression        Pregnancy

What issues are associated with your complaint?

Recruitment ____________________                  Sexual Harassment _____________________________
Failure to Hire___________________                Transfer ______________________________________
Performance Evaluation ___________                Promotion _____________________________________
Demotion ______________________                   Working Conditions _____________________________
Discharge ______________________                  Other _________________________________________

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When did the alleged discrimination occur? Date: ______________________________

Where did the alleged discrimination occur? Location:

______________________________________________________________________________

Describe what happened. (Please use extra pages if necessary.)

______________________________________________________________________________

______________________________________________________________________________

______________________________________________________________________________

______________________________________________________________________________

______________________________________________________________________________

______________________________________________________________________________

______________________________________________________________________________

______________________________________________________________________________

______________________________________________________________________________

______________________________________________________________________________

______________________________________________________________________________

______________________________________________________________________________



Were there any witnesses to the alleged discrimination? Yes ___ No ___

If yes, please provide witnesses names and contact numbers.

______________________________________________________________________________

______________________________________________________________________________

______________________________________________________________________________




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Have efforts been made to resolve this complaint? Yes ___ No ___ If yes, what is the status?

______________________________________________________________________________

______________________________________________________________________________

What corrective action do you believe would address your complaint?

______________________________________________________________________________

______________________________________________________________________________

______________________________________________________________________________

______________________________________________________________________________

Have you filed a previous complaint of alleged discrimination? Yes ___ No _____
If so, please describe the incident and when it occurred.

______________________________________________________________________________

______________________________________________________________________________

______________________________________________________________________________

Have you filed a complaint regarding this matter with any other entity? Yes____ No____

If yes, with what agency or organization did you file? _________________________________

Would you like to participate in Mediation? Yes ____ No ____


                                         AFFIRMATION

I affirm under the penalty of perjury that I have read the above complaint and that it is true to the
best of my knowledge, information and belief.


___________________________________                                   _________________
       Signature                                                            Date




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   C. DESIGNATION OF EEO PERSONNEL RESPONSIBILITIES

   ¾ The Agency should appoint an EEO Officer who has sensitivity to, and an awareness of,
     the varied ways discrimination occurs, total commitment to program goals and
     objectives, knowledge of civil rights laws, policies, rules, regulations, and guidelines, and
     sufficient authority and ability to work and communicate with others to achieve EEO
     goals and objectives.

   ¾ Discuss EEO Officer Responsibilities to include:

          o Developing (or updating) the EEO policy statement
          o Reviewing the agency’s nondiscrimination policy with all managers and
            supervisors to ensure that the policy is understood and is followed in all personnel
            activities
          o In conjunction with human resources, periodically reviewing employment
            practices policies (e.g., hiring, promotions, training), complaint policies,
            grievance procedures, and union agreements
          o Serving as liaison between the agency, Federal, state, county, and local
            governments, regulatory agencies, minority, women, disability organizations, and
            other community groups
          o Maintaining awareness of current EEO laws, and ensuring the laws affecting
            nondiscrimination are disseminated to responsible officials
          o Investigating complaints of discrimination
          o Providing EEO training for employees and managers
          o In conjunction with human resources, advising employees and applicants of
            available training programs and professional development opportunities and the
            entrance requirements
          o Auditing postings of the EEO policy statement to ensure compliance information
            is posted and up-to-date

   ¾ Discuss Agency EEO Responsibilities:

      Although the EEO Officer is primarily responsible for implementing an agency’s EEO
      policies and procedures, all officials, managers, and supervisors are responsible for
      carrying out EEO and do not discriminate based on a protected class. All managers—
      from the supervisor of the smallest unit to the Board Chair or CEO/GM—bear
      responsibility for ensuring that agency EEO policies and procedures are carried out.

      EEO responsibilities for agency officials, supervisors and managers include:

          o Participating actively in periodic audits of all aspects of employment to identify
            and to remove barriers obstructing the achievement of specified goals and
            objectives
          o Holding regular discussions with other managers, supervisors, employees, and
            affinity groups to ensure agency policies and procedures are being followed




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         o Cooperating with the EEO Officer in review of information and investigation of
           complaints
         o Encouraging employee participation to support the advancement of EEO (e.g.,
           professional development and career growth opportunities, posting promotional
           opportunities, shadowing, mentoring)
         o A good practice is to establish an advisory committee that reflects all segments of
           the community and the agency’s workforce. Though broader than EEO, another
           good practice is to implement diversity and inclusion strategies. This can include
           work with affinity groups or diversity advisory committee(s) and/or use of
           suggestion boxes (written or electronic).




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   D. ASSESSMENT OF EMPLOYMENT PRACTICES

      This section is not required for LOTS with fewer than 50 transportation-related
      employees.

      The purpose of this assessment is to ascertain whether the employment practices of
      [Agency Name] could be contributing to underutilization and concentration of minorities
      and women in the agency.

      Recruitment and Selection

             Insert a narrative in the EEO Program that describes and analyzes your agency’s
             current recruitment and selection policies and procedures.

             A careful evaluation and review of every step of the employee selection process is
             necessary to ensure that job requirements, hiring standards, and methods of
             selection and placement are nondiscriminatory. It is a good practice for everyone
             in the agency who recruits, interviews, hires, promotes, trains, or takes
             disciplinary actions to have training in the use of objective, job-related standards
             and obtain a solid understanding of recruitment practices that yield pools of
             diverse candidates. It is also a good practice to conduct job analyses to identify
             actual tasks performed and the importance of specific employee skills or traits
             needed for the job. Agencies must ensure that job descriptions and hiring
             standards reflect major job functions and do not require qualifications that are
             higher than needed.

      Testing

             Insert a narrative in the EEO Program that identifies any written, formal, or
             scored tests used in the agency’s employment selection process, and describes
             your agency’s test administration procedures. This includes weighting test scores
             (including setting individual question cut-off scores) and establishing threshold
             scores for passing the test.

             FTA requires agencies to explain whether they have had the test validated to
             predict or measure job performance and, if so, provide an assessment of its
             nondiscriminatory impact with a description of the validation study test and
             selection procedures. A properly-conducted validation study can help an
             employer determine to what extent the information obtained from testing job
             applicants is predictive of future job performance, and accordingly what weight is
             given to the results of such tests. Further testing guidance is available on EEOC’s
             website at https://www.eeoc.gov/policy/docs/factemployment_procedures.html.




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      Promotions and Transfers

             Insert a narrative that describes and analyzes your agency’s current policies and
             standard procedures for promotions and transfers, and explains the criteria for
             advancement and how employees are made aware of the standards to meet.

             Good practices include offering:
                • Training to employees, personnel, and management staff on proper
                   interview techniques
                • Counseling to assist employees in identifying promotional opportunities
                • Training and educational programs to increase promotion and transfer
                   opportunities
                • Leadership training for identified talent

      Seniority Practices

             Insert a narrative that describes your agency’s current seniority policies and
             procedures for union and non-union workers if the seniority policies are different.

             Both agencies and unions are responsible for nondiscrimination under federal
             equal employment opportunity laws and regulations. An agency cannot evade
             nondiscrimination responsibilities on the basis of union contract terms covering
             employees. When agencies are negotiating or amending union agreements, FTA
             requires agencies to review and revise the agreements wherever current
             provisions are identified as barriers to equal employment.

      Training

             Insert a narrative that describes your agency’s training programs that foster
             promotion potential, including descriptions of formal and informal training
             programs and policies and procedures for selection of training candidates. The
             discussion must evaluate the impact of an agency’s training practices on
             promotion opportunities. FTA requires agencies to describe efforts to locate,
             qualify, and train employees in protected classes.
             A good practice is to periodically review employees’ training and promotion
             potential of minority and female employees, and to encourage eligible employees
             to apply when openings are available.

      Compensation and Benefits

             Insert a narrative that describes your agency’s wages, salary levels, and other
             forms of compensation and benefits policies and procedures. The analysis will
             evaluate the impact of the agency’s compensation and benefits practices on any
             protected class.




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            FTA requires agencies to review their wage and salary structure to make sure
            discrimination is not occurring with respect to compensation. Such reviews
            compare job descriptions and actual job functions of jobs held by employees in
            protected classes, the length of service, and other factors affecting pay rates. FTA
            requires agencies to review all benefits (e.g., retirement plans, medical and
            hospital plans) and conditions of employment to see that they are equally
            available to all employees.

            Further compensation guidance is available on EEOC’s website.

      Disciplinary Procedures and Termination Practices

            Insert a narrative that describes and analyzes your agency’s disciplinary
            procedures and termination practices, including progressive discipline
            procedures.

            The standard for determining when a person will be terminated, demoted,
            disciplined, or laid off must be the same for all employees.

            For analysis purposes, place employees in similarly situated groupings (e.g.,
            subject to the same schedule of disciplinary charges or by labor contract). FTA
            requires separate analyses for employees subject to different disciplinary
            processes (e.g., represented employees, non-represented employees, at-will
            employees).

            Many agencies have layoff guidelines or clauses in union contracts that are based
            on “last hired, first fired”. While this practice appears to be neutral, it can have a
            disparate effect on employees within a protected class who were only recently
            employed or were blocked out of seniority due to discrimination.

            Similar to seniority practices, when agencies are negotiating or amending union
            agreements, FTA requires agencies to review and revise the agreements wherever
            current provisions are identified as barriers to equal employment.
            FTA requires agencies to review and chart the various forms of discipline
            imposed on employees, cross-referenced by demographic category. FTA requires
            agencies to maintain personnel action logs (e.g., applicant flow, promotion,
            termination, and training) to be used in completing the required statistical
            employment practices and in evaluating and monitoring any potential disparate
            impact.

      Statistical Impact of Employment Practices on Minorities and Women

            Provide statistical data that show any potential impact of employment practices
            on minorities and women since the last EEO Program submission. This includes:




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                x   The number of applicants for employment in each job category and the
                    number hired, cross-referenced by sex and race
                x   The number of employees in each job category who applied for promotion
                    or transfer and the number in each job category promoted or transferred,
                    cross-referenced by sex and race
                x   The number and types of disciplinary actions (e.g., indefinite suspension,
                    loss of pay, demotion), tailored to the language used in union contracts
                    and agency policies and procedures
                x   The number of voluntary/involuntary terminations, cross-referenced by
                    sex and race
                x   Job category training that fosters promotion potential, cross-referenced
                    by sex and race

             FTA requires agencies to establish privacy protocols that protect self-identifying
             information, including self-identification for veterans and persons with
             disabilities, to keep this information separate from application materials, and to
             clearly explain such protocols to applicants and employees invited to self-identify.
             This includes having procedures that strictly limit access, such as using a
             separate sheet for self-identifying information. For online applications, this
             includes ensuring that the self-identifying section remains separate from the
             application.

             FTA has developed a sample four-fifths rule (or 80 percent) disparate impact
             analysis in a Microsoft Excel workbook available for download from FTA’s
             website. (See Attachment 4 of FTA Circular 4704.1A for a Sample Employment
             Practices Chart - https://www.transit.dot.gov/regulations-and-guidance/civil-
             rights-ada/eeo-circular)

             FTA requires agencies to complete the spreadsheets (or alternate documentation
             containing the same information) by providing current, accurate, and relevant
             data accompanied by a narrative explaining the source of the data and the results
             of the analysis. Raw data is not acceptable. FTA notes that determining disparate
             impact is not a pure arithmetic exercise since other factors contribute to a proper
             analysis of employment practices. In addition, FTA does not require analysis for
             any groups constituting less than 2 percent of the applicable workforce.

      Individuals with Disabilities and Veterans

             Provide statistical data that show any potential impact of an agency’s
             employment practices on persons with disabilities and veterans. This includes the
             number of applicants for employment and promotions in each job category and
             the number hired and promoted, cross-referenced by sex and race.

             Having this data will assist in measuring the effectiveness of outreach and
             recruitment efforts for persons with disabilities and veterans.



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             Example summary tables are included in the sample Microsoft Excel workbook on
             the “Hires” and “Promotions” tabs. (See Attachment 4 for a Sample Employment
             Practices Chart in FTA Circular 4704.1A -
             https://www.transit.dot.gov/regulations-and-guidance/civil-rights-ada/eeo-
             circular.) As the sample chart shows, the agency is not required to conduct a
             four-fifths rule analysis. The agency can set its own specific aspirational goals,
             but FTA asks agencies to track raw numbers; for example, the number applied,
             number hired, number applied for promotion, and number promoted.


   E. MONITORING AND REPORTING

      This section is not required for LOTS with fewer than 50 transportation-related
      employees.

      This section of [Agency Name]’s EEO Program describes [Agency Name]’s internal
      monitoring and reporting system, which is intended to:

         x   Assess the results of action plans taken since the last program submission
         x   Enable [Agency Name] to evaluate the EEO Program at least semiannually (twice
             a year) and to take any necessary corrective actions.
         x   Produce documentation that supports actions to implement the plan for minority
             and female job applicants or employees and informs management of the
             program’s effectiveness.

      Agency Monitoring

             Insert a narrative that describes your agency’s:

                x   Methods to monitor the EEO components identified in the program
                x   Procedures used to determine EEO compliance of subrecipients and
                    contractors such as collection and review of their EEO Programs, visits to
                    facilities to ensure proper posting of the EEO Policy Statement, etc.
                x   Procedures for reviewing union contracts, in conjunction with human
                    resources, to ensure there is not a disparate impact
                x   Process for monitoring complaints (e.g., describe the tracking system,
                    monitoring of trends, timeliness of investigations, resolutions, reporting to
                    management)
                    FTA requires agencies to have a clearly described complaint process that
                    includes employees knowing where and how to file a complaint. FTA
                    requires agencies to maintain a log that documents the name of the
                    complainant, basis of the complaint(s), the protected group, date of initial
                    contact, date of resolution, the resolution reached, and the name of the
                    investigator.
                x   Documentation practices



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                    FTA requires agencies to maintain cumulative records on applicants,
                    hires, transfers, promotions, trainings that foster promotion potential, and
                    terminations.

      Agency Reporting

            Insert a narrative that describes the frequency and results of your agency’s:

                x   Meetings held between the CEO/GM and the EEO Officer to discuss the
                    progress of the EEO Program and the results of the monitoring (including
                    but not limited to, hiring, promotions, status of EEO complaints)
                x   All EEO-related meetings held between the EEO Officer and management,
                    including topics covered and follow-up actions
                x   The EEO Officer’s meetings with human resources and hiring officials to
                    review current EEO statistics, employment practices and policies (e.g.,
                    verifying that job descriptions contain legitimate position requirements
                    and that all testing has been validated)

            FTA requires agencies to maintain records documenting efforts to ensure
            nondiscrimination (e.g., agendas and sign-in sheets for official EEO training or
            meetings with management, job postings published, advertisements placed, a log
            of recruitment locations and dates). This information is not required to be part of
            the EEO Program submission, but the information must be available at FTA’s /
            MTA’s request.

      Documentation of Subrecipient and Contractor Monitoring Activities

            Attach the following documentation:
                x List of subrecipients or contractors the recipient is monitoring and the
                   services they provide
                x Proof of review of subrecipients or contractors’ EEO Program (e.g., letter
                   or memo to the subrecipient)
                x Organizational chart showing reporting relationships of all directors,
                   department heads, and executive leadership (include names and titles)




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                      DEPARTMENT OF TRANSPORTATION
                       DBE PROGRAM – 49 CFR PART 26
                          SAMPLE DBE PROGRAM

The Department of Transportation (DOT) has prepared this sample program to
help recipients comply with 49 CFR Part 26, the DOT DBE rule. We published
Part 26 in the Federal Register on February 2,1999, and it became effective
March 4 (64 F.R. 5096). It made extensive revisions to DOT’s DBE program,
formally administered under 49 CFR Part 23.

This sample program supersedes guidance issued by the operation
administrations under former part 23. It does not address the separate DBE
program for airport concessionaires, which continues to be administered in
accordance with 49 CFR Part 23.

We are providing this sample DBE program for informational purposes, and
recipients are not required to use it or its format. However, recipients may wish
to use it as a guide in preparing their program documents. Recipients may
customize the sample program to fit their circumstances. The three DOT
operating administrations with DBE program responsibilities – the Federal
Highway Administration (FHWA), Federal Transit Administration (FTA), and the
Federal Aviation Administration (FAA) – may provide additional guidance for
program matters that are specific to their programs. This sample program
should, however, lead to greater consistency among recipients’ submissions.

At several points, the sample program refers to provisions of part 26. Recipients
may quote referenced portions of the rule in their program if they wish, but they
are not required to do so. The sample program also provides language for some
documents that are part of the program (e.g. policy statements, contract
clauses). Except where otherwise noted, recipients are not required to use this
language, and may use their own language if it meets regulatory requirements.

In the sample program, we have put instructions and notes in italics. Recipients
would not put this italicized material into their program documents.

You may obtain an electronic version of this document, the DBE regulation
themselves and other DOT guidance from DOT’s website:
http://osdbuweb.dot.gov/business/dbe/index.html


The General Counsel of the Department of Transportation has reviewed this
sample program and approved it as consistent with the language and intent of 49
CFR part 26.



http://osdbuweb.dot.gov/programs/dbe/newkit.html

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                                 SAMPLE DBE PROGRAM

                                    POLICY STATEMENT
Section 26.1, 26.23              Objectives/Policy Statement

The [Recipient’s name] has established a Disadvantaged Business Enterprise (DBE) program in
accordance with regulations of the U.S. Department of Transportation (DOT), 49 CFR Part 26.
The [Recipient] has received Federal financial assistance from the Department of Transportation,
and as a condition of receiving this assistance, the [Recipient] has signed an assurance that it will
comply with 49 CFR Part 26.

It is the policy of the [Recipient] to ensure that DBEs are defined in part 26, have an equal
opportunity to receive and participate in DOT–assisted contracts. It is also our policy:

        1. To ensure nondiscrimination in the award and administration of DOT – assisted
           contracts;
        2. To create a level playing field on which DBEs can compete fairly for DOT-assisted
           contracts;
        3. To ensure that the DBE Program is narrowly tailored in accordance with applicable
           law;
        4. To ensure that only firms that fully meet 49 CFR Part 26 eligibility standards are
           permitted to participate as DBEs;
        5. To help remove barriers to the participation of DBEs in DOT assisted contracts;
        6. To assist the development of firms that can compete successfully in the market place
           outside the DBE Program.

[Name or title of appropriate person or office] has been delegated as the DBE Liaison Officer. In
that capacity, [Name or title] is responsible for implementing all aspects of the DBE program.
Implementation of the DBE program is accorded the same priority as compliance with all other
legal obligations incurred by the [Name Recipient] in its financial assistance agreements with the
Department of Transportation.

[Name Recipient] has disseminated this policy statement to the [identify the governing board or
officials of the recipient] and all the components of our organization. We have distributed this
statement to DBE and non-DBE business communities that perform work for us on DOT-assisted
contracts. [Specify how this distribution is accomplished]

______________________________                                     ________________
[Signature of Recipients Chief Executive Officer]          Date




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                         SUBPART A – GENERAL REQUIREMENTS
Section 26.1              Objectives

The objectives are found in the policy statement on the first page of this program.

Section 26.3              Applicability

The [Recipient] is the recipient of federal airport funds authorized by 49 U.S.C. 47101, et seq.

The [Recipient] is the recipient of federal –aid highway funds authorized under Titles I and V of
the Intermodal Surface Transportation Efficiency Act of 1991 (ISTEA), Pub. L. 102-240, 105 Stat.
1914, Titles I, III, and V of the Transportation Equity Act for the 21 st Century (TEA-21, Pub. L.
105-178, 112 Stat. 107.

The [Recipient] is the recipient of federal transit funds authorized by Titles I, III, V, and VI of
ISTEA, Pub. L. 102-240 or by Federal transit laws in Title 49, U.S. Code, or Titles I, II, and V of
the Teas-21, Pub. L. 105-178.

Section 26.5              Definitions

The [Recipient] will adopt the definitions contained in Section 26.5 for this program.

Section 26.7              Non-discrimination Requirements

The [Recipient] will never exclude any person from participation in, deny any person the benefits
of, or otherwise discriminate against anyone in connection with the award and performance of
any contract covered by 49 CFR part 26 on the basis of race, color, sex, or national origin.

In administering its DBE program, the [Recipient] will not, directly or through contractual or other
arrangements, use criteria or methods of administration that have the effect of defeating or
substantially impairing accomplishment of the objectives of the DBE program with respect to
individuals of a particular race, color, sex, or national origin.

Section 26.11 Record Keeping Requirements

Reporting to DOT: 26.11(b)

We will report DBE participation to DOT as follows:

[FAA Recipients] - We will submit annually DOT Form 4630, as modified for use by FAA
recipients.

[FTA Recipients] – We will report DBE participation on a quarterly basis, using DOT Form 4630.
These reports will reflect payments made to DBEs on DOT-assisted contracts.

[FHWA Recipients] – We will report DBE participation on a quarterly basis, using DOT form 4630.

Bidders List: 26.11(c)

The [Recipient] will create a bidders list, consisting of information about all DBE and non-DBE
firms that bid or quote on DOT-assisted contracts. The purpose of this requirement is to allow
use of the bidders list approach to calculating overall goals. The bidder list will include the name,
address, DBE non-DBE status, age, and annual gross receipts of firms.
http://osdbuweb.dot.gov/programs/dbe/newkit.html

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We will collect this information in the following ways:

[Note-Program should indicate the methods the recipient will use to obtain this
information. The regulation does not mandate a particular method. Options include, but
are not limited to, a contract clause requiring prime bidders to report the
names/addresses, and possibly other information, of all firms who quote to them on
subcontracts; a recipient-directed survey of a statistically sound sample of firms on a
name/address list to get age/size information; a notice in all solicitations, and otherwise
widely disseminated, request to firms quoting on subcontracts to report information
directly to the recipient, etc.]

Section 26.13 Federal Financial Assistance Agreement

[Recipient] has signed the following assurances, applicable to all DOT-assisted contracts and
their administration:

Assurance: 26.13(a)

        [Recipient] shall not discriminate on the basis of race, color, national origin, or
        sex in the award and performance of any DOT assisted contract or in the
        administration of its DBE Program or the requirements of 49 CFR part 26. The
        recipient shall take all necessary and reasonable steps under 49 CFR part 26 to
        ensure nondiscrimination in the award and administration of DOT assisted
        contracts. The recipient’s DBE Program, as required by 49 CFR part 26 and as
        approved by DOT, is incorporated by reference in this agreement.
        Implementation of this program is a legal obligation and failure to carry out its
        terms shall be treated as a violation of this agreement. Upon notification to the
        [Recipient] of its failure to carry out its approved program, the Department may
        impose sanction as provided for under part 26 and may, in appropriate cases,
        refer the matter for enforcement under 18 U.S.C. 1001 and/or the Program Fraud
        Civil Remedies Act of 1986 (31 U.S.C. 3801 et seq.).

This language will appear in financial assistance agreements with sub-recipients.

[Note: This language is to be used verbatim, as it is stated in 26.13(a).]

Contract Assurance: 26.13b

We will ensure that the following clause is placed in every DOT-assisted contract and
subcontract:

        The contractor, sub-recipient, or subcontractor shall not discriminate on the basis of race,
        color, national origin, or sex in the performance of this contract. The contractor shall
        carry out applicable requirements of 49 CFR part 26 in the award and administration of
        DOT assisted contracts. Failure by the contractor to carry out these requirements is a
        material breach of this contract, which may result in the termination of this contract or
        such other remedy as the recipient deems appropriate.

[Note: This language is to be used verbatim, as it is stated in 26.13(b)]

                 SUBPART B - ADMINISTRATIVE REQUIREMENTS
Section 26.21 DBE Program Updates

http://osdbuweb.dot.gov/programs/dbe/newkit.html

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Since the [Recipient] has received a grant of [For FAA Recipients: $250,000 or more for airport
planning or development,] [For FTA recipients: $250,000 or more in FTA planning capital, and or
operating assistance in a federal fiscal year,] [For FHWA recipients: authorized by the statute for
which this part applies,] we will continue to carry out this program until all funds from DOT
financial assistance have been expended. We will provide to DOT updates representing
significant changes in the program.

Section 26.23 Policy Statement

The Policy Statement is elaborated on the first page of this program.

Section 26.25 DBE Liaison Officer (DBELO)

We have designated the following individual as our DBE Liaison Officer:

[Provide the name, address, telephone number, and e-mail address]

In that capacity, the DBELO is responsible for implementing all aspects of the DBE program and
ensuring that the [Recipient] complies with all provision of 49 CFR Part 26. The DBELO has
direct, independent access to the [indicate chief executive officer of recipient] concerning DBE
program matters. An organization chart displaying the DBELO’s position in the organization is
found in Attachment __to this program.

The DBELO is responsible for developing, implementing, and monitoring the DBE program, in
coordination with other appropriate officials. The DBELO has a staff of [indicate the number of
staff] to assist in the administration of the program. The duties and responsibilities include the
following:

        1. Gathers and reports statistical data and other information as required by DOT.
        2. Reviews third party contracts and purchase requisitions for compliance with this
            program.
        3. Works with all departments to set overall annual goals.
        4. Ensures that bid notices and requests for proposals are available to DBEs in a
            timely manner.
        5. Identifies contracts and procurements so that DBE goals are included in solicitations
            (both race-neutral methods and contract specific goals attainment and identifies
            ways to improve progress.
        6. Analyzes [Name Recipient]’s progress toward attainment and identifies ways to
            improve progress.
        7. Participates in pre-bid meetings.
        8. Advises the CEO\governing body on DBE matters and achievement.
        9. Chairs the DBE Advisory Committee.
        10. Participates in pre-bid meetings.
        11. Provides DBEs with information and assistance in preparing bids, obtaining bonding
            and insurance.
        12. Plans and participates in DBE training seminars.
        13. Certifies DBEs according to the criteria set by DOT and acts as liaison to the
            Uniform Certification Process in [name of State].
        14. Provides outreach to DBEs and community organizations to advise them of
            opportunities.
        15. Maintains the [Recipient]’s updated directory on certified DBEs.

[Note: List responsibilities of other personnel responsible for DBE Program implementation].


http://osdbuweb.dot.gov/programs/dbe/newkit.html

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Section 26.27 DBE Financial Institutions

It is the policy of the [Recipient] to investigate the full extent of services offered by financial
institutions owned and controlled by socially and economically disadvantaged individuals in the
community, to make reasonable efforts to use these institutions, and to encourage prime
contractors on DOT-assisted contract to make use of these institutions. We have made the
following efforts to identify and use such institutions: [specify].

To date we have identified the following such institutions: [List]

Information on the availability of such institutions can be obtained from the DBE Liaison Officer.

Section 26.29 Prompt Payment Mechanisms

The [Recipient] will include the following clause in each DOT-assisted prime contract:

        The prime contractor agrees to pay each subcontractor under this prime contract
        for satisfactory performance of its contract no later than [specify number] days
        from the receipt of each payment the prime contract receives from [Recipient].
        The prime contractor agrees further to return retainage payments to each
        subcontractor within [specify same number as above] days after the
        subcontractor’s work is satisfactorily completed. Any delay or postponement of
        payment from the above referenced time frame may occur only for good cause
        following written approval of the [Recipient]. This clause applies to both DBE and
        non-DBE subcontracts.

[Note – This is sample language, and recipients can use existing prompt payment clause or draft
their own, if they meet the substantive requirements of 26.29. This portion of the program must
also state what sanctions/consequences the recipient attaches to noncompliance with the prompt
payment clause and the procedures through which they are enforced. In addition, this portion of
the program may also include other prompt payment – related provisions, such as an alternative
dispute resolution mechanism that the recipient chooses to use.]

Section 26.31 Directory

The [Recipient] maintains a directory identifying all firms eligible to participate as DBEs. The
directory lists the firm’s name, address, phone number, date of the most recent certification, and
the type of work the firm has been certified to perform as a DBE. We revise the Directory [state
interval; must be at least annually.] We make the Directory available as follows: [list address,
phone number, website, or other means by which interested persons can obtain access to the
Directory]. The Directory may be found in Attachment ___ to this program document.

[Note: All recipients are required to participate in a combined statewide directory when the
Uniform Certification Program becomes operational. At that time, this portion of the program will
state how interested persons can obtain access to this combined directory.]

Section 26.33 Overconcentration

[Recipient] has not identified that overconcentration exists in the types of work that DBEs
perform.

Or

[Recipient] has identified that overconcentration exists in [state area].

http://osdbuweb.dot.gov/programs/dbe/newkit.html

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[Note: If a recipient has identified overconcentration, then please describe the rational for having
the program element, the specific provisions of the element (e.g., what is the overconcentration
that has been identified, how does the program element work, and how interested persons would
obtain information about the program element.]

Section 26.35 Business Development Programs

[Recipient] has a business development program. The rational for the program is [describe
rational for having the program element, the specific provisions of the element (e.g., who is
eligible to participate, how does the program element work), and how interested persons would
obtain information about the program element].

Or

[Recipient] has not established a business development program.

Section 26.37 Monitoring and Enforcement Mechanisms

The [Recipient] will take the following monitoring and enforcement mechanisms to ensure
compliance with 49 CFR Part 26.

1. We will bring to the attention of the Department of Transportation any false, fraudulent, or
   dishonest conduct in connection with the program, so that DOT can take the steps (e.g.,
   referral to the Department of Justice for criminal prosecution, referral to the DOT Inspector
   General, action under suspension and debarment or Program Fraud and Civil Penalties
   rules) provided in 26.109.
2. We will consider similar action under out own legal authorities, including responsibility
   determinations in future contracts. Attachment ___ lists the regulation, provisions, and
   contract remedies available to us in the events of non-compliance with the DBE regulation by
   a participant in our procurement activities.
3. We will also provide a monitoring and enforcement mechanism to verify that work committed
   to DBEs at contract award, is performed by the DBEs. This will be accomplished by
   [describe the mechanism].
4. We will keep a running tally of actual payments to DBE firms for work committed to them at
   the time of contract award.

       SUBPART C – GOALS, GOOD FAITH EFFORTS, AND COUNTING
Section 26.43 Set-asides or Quotas

The [Recipient] does not use quotas in any way in the administration of this DBE program.

Section 26.45 Overall Goals

A description of the methodology to calculate the overall goal and the goal calculations can be
found in Attachment ___ to this program. This section of the program will be updated annually.

In accordance with Section 26.45(f) the [Recipient] will submit its overall goal to DOT on August 1
of each year. [If you are a FAA or FTA recipient, or you are submitting a contract goal, the date
of submission will be determined by the operating administration.] Before establishing the overall
goal each year, [Recipient] will consult with the [Note-Program should identify the persons or
groups with whom this consultation normally occurs, without limiting consultation to these persons
or groups.] to obtain information concerning the availability of disadvantaged and non-
disadvantaged businesses, the effects of discrimination on opportunities for DBEs, and the
[Recipients] efforts to establish a level playing field for the participation of DBEs.
http://osdbuweb.dot.gov/programs/dbe/newkit.html

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[Note: The consultation should include, but not necessarily be limited to, minority, women’s and
general contractor groups, community organizations, and other officials or organizations.]

Following this consultation, we will publish a notice of the proposed overall goals, informing the
public that the proposed goal and its rational are available for inspection during normal business
hours at your principal office for 30 days following the date of the notice, and informing the public
that you and DOT will accept comments on the goals for 45 days from the date of the notice.
[Program should state the media in which this notice was issued: e.g. newspapers, available
minority- focus media, trade publications, websites.] Normally, we will issue this notice by June 1
or each year. The notice must include addresses to which comments may be sent and
addresses (including offices and websites) where the proposal may be reviewed.

Our overall goal submission to DOT will include a summary of information and comments
received during this public participation process and our responses.

We will begin using our overall goal on October 1 of each year, unless we have received other
instructions from DOT. If we establish a goal on a project basis, we will begin using our goal by
the time of the first solicitation for a DOT-assisted contract for the project.

Section 26.49 Transit Vehicle Manufacturers Goals

[Recipient] will require each transit vehicle manufacturer, as a condition of being authorized to bid
or propose on FTA-assisted transit vehicle procurements, to certify that it has complied with the
requirements of this section. Alternatively, [Recipient] may, at its discretion and with FTA
approval, establish project-specific goals for DBE participation in the procurement of transit
vehicles in lieu of the TVM complying with this element of the program.

[Note: this element applies only to FTA recipients’ programs. If an FAA or FHWA recipient uses
this approach to purchases of equipment, it would add a similar element to its program.]

Section 26.51(a-c)       Breakout of Estimated Race-Neutral & Race-Conscious
                               Participation

The breakout of estimated race-neutral and race-conscious participation can be found in
Attachment ___ to this program. This section of the program will be updated annually when the
goal calculation is updated.

[Note: If the recipient intends to use any race-conscious means of obtaining DBE participation
other than contract goals it should describe them here.]

Section 26.51(d-g)       Contract Goals

The [Recipient] will use contract goals to meet any portion of the overall goal [Recipient] does not
project being able to meet using race-neutral means. Contract goals are established so that, over
the period to which the overall goal applies, they will cumulatively result in meeting any portion of
our overall goal that is not projected to be met using race-neutral means.

We will establish contract goals only on those DOT-assisted contracts that have subcontracting
possibilities. We need not establish a contract goal on every such contract, and the size of
contract goals will be adapted to the circumstances of each such contract (e.g., type and location
of work, and availability of DBEs to perform the work).

We will express our contract goals as a percentage of [total amount of a DOT-assisted contract]
or [the Federal share of a DOT-assisted contract].
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[Note: Recipients can choose either approach; program should mention which choice the
recipient made].

Section 26.53 Good Faith Efforts Procedures

Demonstration of good faith efforts (26.53(a) & (c))

The obligation of the bidder/offeror is to make good faith efforts. The bidder/offeror can
demonstrate that it has done so either by meeting the contract goal or documenting good faith
efforts. Examples of good faith efforts are found in Appendix A to Part 26.

The following personnel are responsible for determining whether a bidder/offeror who has not met
the contract goal has documented sufficient good faith efforts to be regarded as [responsive or
responsible] [Note: Recipients can choose either approach].

We will ensure that all information is complete and accurate and adequately documents the
bidder/offer’s good faith efforts before we commit to the performance of the contract by the
bidder/offeror.

Information to be submitted (26.53(b))

[Recipient] treats bidder/offers’ compliance with good faith efforts' requirements as a matter of
[responsiveness] or [responsibility].

Each solicitation for which a contract goal has been established will require the bidders/offerors to
submit the following information:

        1. The names and addresses of DBE firms that will participate in the contract;
        2. A description of the work that each DBE will perform;
        3. The dollar amount of the participation of each DBE firm participating;
        4. Written and signed documentation of commitment to use a DBE subcontractor whose
           participation it submits to meet a contract goal;
        5. Written and signed confirmation from the DBE that it is participating in the contract as
           provided in the prime contractors’ commitment and
        6. If the contract goal is not met, evidence of good faith efforts.

Administrative reconsideration (26.53(d))

Within __ days of being informed by [Recipient] that it is not [responsive or responsible] because
it has not documented sufficient good faith efforts, a bidder/offeror may request administrative
reconsideration. Bidder/offerors should make this request in writing to the following
reconsideration official: [provide name, address, phone number, e-mail address.] The
reconsideration official will not have played any role in the original determination that the
bidder/offeror did not document sufficient good faith efforts.

As part of this reconsideration, the bidder/offeror will have the opportunity to provide written
documentation or argument concerning the issue of whether it met the goal or made adequate
good faith efforts to do so. The bidder/offeror will have the opportunity to meet in person with our
reconsideration official to discuss the issue of whether it met the goal or made adequate good
faith efforts to do. We will send the bidder/offeror a written decision on reconsideration,
explaining the basis for finding that the bidder did or did not meet the goal or make adequate
good faith efforts to do so. The result of the reconsideration process is not administratively
appealable to the Department of Transpiration.

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[Note – If there are more detailed reconsideration procedures, the recipient can include them here
or in an attachment reference here.]

Good Faith Efforts when a DBE is replaced on a contract (26.53(f))

[Recipient] will require a contractor to make good faith efforts to replace a DBE that is terminated
or has otherwise failed to complete its work on a contract with another certified DBE, to the extent
needed to meet the contract goal. We will require the prime contractor to notify the DBE Liaison
officer immediately of the DBE’s inability or unwillingness to perform and provide reasonable
documentation.

In this situation, we will require the prime contractor to obtain our prior approval of the substitute
DBE and to provide copies of new or amended subcontracts, or documentation of good faith
efforts.

[Note: Include the administrate remedies you will use for noncompliance (see 26.53(f)(3)). The
following two sentences are examples of such remedies]

If the contractor fails or refuses to comply in the time specified, our contracting office will issue an
order stopping all or part of payment/work until satisfactory action has been taken. If the
contractor still fails to comply, the contracting officer may issue a termination for default
proceeding.

Sample Bid Specification:

        The requirements of 49 CFR Part 26, Regulations of the U.S. Department of
        Transportation, apply to this contract. It is the policy of the [Name of Recipient] to
        practice nondiscrimination based on race, color, sex, or national origin in the award or
        performance of this contract. All firms qualifying under this solicitation are encouraged to
        submit bids/proposals. Award of this contract will be conditioned upon satisfying the
        requirements of this bid specification. These requirements apply to all bidders/offerors,
        including those who qualify as a DBE. A DBE contract goal of ____ percent has been
        established for this contract. The bidder/offeror shall make good faith efforts, as defined
        in Appendix A, 49 CFR Part 26 (Attachment 1), to meet the contract goal for DBE
        participation in the performance of this contract.

        The bidder/offeror will be required to submit the following information: (1) the names and
        addresses of DBE firms that will participate in the contract; (2) a description of the work
        that each DBE firm will perform; (3) the dollar amount of the participation of each DBE
        firm participating; (4) Written documentation of the bidder/offeror’s commitment to use a
        DBE subcontractor whose participation it submits to meet the contract goal; (5) Written
        confirmation from the DBE that it is participating in the contract as provided in the
        commitment made under (4); and (5) if the contract goal is not met, evidence of good
        faith efforts.

[Note: When a contract goal is established pursuant to the recipient’s DBE program, the sample
bid specification can be used to notify bidders/offerors of the requirements to make good faith
efforts. The forms found at Attachment___ can be used to collect information necessary to
determine whether the bidder/offeror has satisfied these requirements. The sample specification
is intended for use in both non-construction and construction contracts for which a contract goal
has been established. Thus, it can be included in invitations for bid for construction, in requests
for proposals for architectural/engineering and other professional services, and in other covered
solicitation documents. A bid specification is required only when a contract goal is established.]


http://osdbuweb.dot.gov/programs/dbe/newkit.html

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Section 26.55 Counting DBE Participation

We will count DBE participation toward overall and contract goals as provided in 49 CFR 26.55.




                     SUBPART D – CERTIFICATION STANDARDS
Section 26.61 – 26.73 Certification Process

[Recipient] will use the certification standards of Subpart D of Part 26 to determine the eligibility of
firms to participate as DBEs in DOT-assisted contracts. To be certified as a DBE, a firm must
meet all certification eligibility standards. We will make our certification decisions based on the
facts.

For information about the certification process or to apply for certification, firms should contact:
          [Provide name, address, phone number, and e-mail address of contact person]

Our certification application forms and documentation requirements are found in Attachment __ to
this program.

                    SUBPART E – CERTIFICATION PROCEDURES
Section 26.81 Unified Certification Programs

[Recipient] is the member of a Unified Certification Program (UCP) administered by [Name]. The
UPC will meet all the requirements of this section. The following is a description of the UCP:
[describe UCP]

Or

[Recipient] is not a member of a UCP at this time. We intend to have a program established by
[state date]. The steps we have taken to help create an UCP in our state are: [describe steps].

[Note: This is also the place in the program to describe certification reciprocity or coordination
mechanisms that exist with other recipients (e.g. a regional certification consortium).]

Section 26.83 Procedures for Certification Decisions

Re-certifications 26.83(a) & (c)

We will review the eligibility of DBEs that we certified under former part 23, to make sure that they
will meet the standards of Subpart E of Part 26. We will complete this review no later than three
years from the most recent certification date of each firm. Our schedule for this review process
will be: [Include milestones; e.g., our {number} most active firms by {date}, our {number} next
most active firms by {date}, etc.]

For firms that we have certified or reviewed and found eligible under part 26, we will again review
their eligibility [state interval at which you intend such reviews. Part 26 says you may not conduct
such reviews more often than every three years, but you are not required to conduct them at any
specific interval.] These reviews will include the following components: [List elements of review;
e.g., will an on-site review or a filling out a new application be mandated, or will recipient make
these determinations on a case-by-case basis?]
http://osdbuweb.dot.gov/programs/dbe/newkit.html

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                                                                                         Page 11 of 22
49 CFR Part 26                                                        ATTACHMENT 13.D


“No Change” Affidavits and Notices of Change (26.83(j))

We require all DBEs to inform us, in a written affidavit, of any change in its circumstances
affecting its ability to meet size, disadvantaged status, ownership, or control criteria of 49 CFR
Part 26 or of any material changes in the information provided with [Recipients] application for
certification.

We also require all owners of all DBEs we have certified to submit, on the anniversary date of
their certification, a “no change” affidavit meeting the requirements of 26.83(j). The test of this
affidavit is the following: [This is sample language consistent with the regulatory provision. You
may substitute other language consistent with the rule.]:

        I swear (or affirm) that there have been no changes in the circumstances of
        [name of DBE firm] affecting its ability to meet the size, disadvantaged status,
        ownership, or control requirements of 49 CFR part 26. There have been no
        material changes in the information provided with [name of DBE]’s application for
        certification, except for any changes about which you have provided written
        notice to the [Recipient] under 26.83(j). [Name of firm] meets Small Business
        Administration (SBA) criteria for being a small business concern and its average
        annual gross receipts (as defined by SBA rules) over the firm’s previous three
        fiscal years do not exceed $16.6 million.

We require DBEs to submit with this affidavit documentation of the firm’s size and gross receipts.

We will notify all currently certified DBE firms of these obligations [program should state how and
when]. This notification will inform DBEs that to submit the “no change” affidavit, their owners
must swear or affirm that they meet all regulatory requirements of part 26, including personal net
worth. Likewise, if a firm’s owner knows or should know that he or she, or the firm, fails to meet a
part 26 eligibility requirement (e.g. personal net worth), the obligation to submit a notice of change
applies.

Section 26.85 Denials of Initial Requests for Certification

If we deny a firm’s application or decertify it, it may not reapply until [select number of months up
to 12] have passed from our action.

Section 26.87 Removal of a DBE’s Eligibility

In the event we propose to remove a DBE’s certification, we will follow procedures consistent with
26.87. Attachment___ to this program sets forth these procedures in detail. [Note – Recipients
should create and append such a procedural attachment.] To ensure separation of functions in a
de-certification, we have determined that [name of official or office] will serve as the decision-
maker in de-certification proceedings. We have established an administrative “firewall” to ensure
that [same official or office named in previous sentence] will not have participated in any way in
the de-certification proceeding against the firm (including in the decision to initiate such a
proceeding).

Section 26.89 Certification Appeals

Any firm or complainant may appeal our decision in a certification matter to DOT. Such appeals
may be sent to:

         Department of Transportation
         Office of Civil Rights Certification Appeals Branch
http://osdbuweb.dot.gov/programs/dbe/newkit.html

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        400 7th Street, SW
        Room 2104
        Washington, D.C. 20590

We will promptly implement any DOT certification appeal decisions affecting the eligibility of
DBEs for our DOT-assisted contracting (e.g., certify a firm if DOT has determined that our denial
of its application was erroneous).

[Note: If a recipient has a system for administrative appeals of certification decision, it should
mention it here and provide details of the procedure in an Attachment. The program should inform
the public that resort to this system is not a remedy a firm need exhaust before making a
certification appeal to DOT under 26.89].

                 SUBPART F – COMPLIANCE AND ENFORCEMENT
Section 26.109 Information, Confidentiality, Cooperation

We will safeguard from disclose to third parties’ information that may reasonably be regarded as
confidential business information, consistent with Federal, state, and local law. [Program should
summarize applicable state and local law, such as state FOIA laws and how they apply.]

Notwithstanding any contrary provisions of state or local law, we will not release personal
financial information submitted in response to the personal net worth requirement to a third party
(other than DOT) without the written consent of the submitter.

Monitoring Payments to DBEs

We will require prime contractors to maintain records and documents of payments to DBEs for
three years following the performance of the contract. These records will be make available for
inspection upon request by any authorized representative of the [Recipient] or DOT. This
reporting requirement also extends to any certified DBE subcontractor.

We will perform interim audits of contract payments to DBEs. The audit will review payments to
DBE subcontractors to ensure that the actual amount paid to DBE subcontractors equals or
exceeds the dollar amounts states in the schedule of DBE participation.

ATTACHMENTS

[List and append; we recommend that a copy of part 26 be attached to the program so that public
users to whom we send copies can have it handy]

Attachment 1            Organizational Chart
Attachment 2            DBE Directory
Attachment 3            Monitoring and Enforcement Mechanisms
Attachment 4            Overall Goal Calculation
Attachment 5            Breakout of Estimated Race-Neutral & Race-Conscious Participation
Attachment 6            Form 1 & 2 for Demonstration of Good Faith Efforts
Attachment 7            Certification Application Forms
Attachment 8            Procedures for Removal of DBE’s Eligibility
Attachment 9            Regulations: 49 CRR part 26




http://osdbuweb.dot.gov/programs/dbe/newkit.html

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49 CFR Part 26                                                      ATTACHMENT 13.D

                                       Attachment 1

                                   Organizational Chart


                               Airport Board of Commissioners

                                     Executive Director

                                       Airport Director

Airport Operations Division                               Airport Grant Administration


                                                                DBE Liaison Officer




http://osdbuweb.dot.gov/programs/dbe/newkit.html

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49 CFR Part 26                                              ATTACHMENT 13.D


                                       Attachment 2

                                       DBE Directory

ABC Mechanical Services, Inc                  Sheet Metal
123 Airport Drive
Anywhere, Anystate 12345
(123) 555-1111

ABC Electrical                                Electrical
567 Plug Drive
Circuit City, Anystate 12345
(123) 555-2222




http://osdbuweb.dot.gov/programs/dbe/newkit.html

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                                          Attachment 3

                          Monitoring and Enforcement Mechanisms

The Airport Authority has available several remedies to enforce the DBE requirements contained
in its contracts, including, but not limited to, the following:

        1. Breach of contract action, pursuant to the terms of the contract;
        2. Breach of contract action, pursuant to [State Code Section X];
        3. [List the other laws, statutes, regulations, etc. that are available to enforce the DBE
           requirements.]

In addition, the federal government has available several enforcement mechanisms that it may
apply to firms participating in the DBE problem, including, but not limited to, the following:

        1. Suspension or debarment proceedings pursuant to 49 CFR part 26
        2. Enforcement action pursuant to 49 CFR part 31
        3. Prosecution pursuant to 18 USC 1001.




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MTA 2017 LOTS Manual Attachment 13.D, DOT DBE Program
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49 CFR Part 26                                                        ATTACHMENT 13.D


                                           Attachment 4

                             Section 26.45: Overall Goal Calculation

Amount of Goal

1. [Recipient]’s overall goal for FY 20__is the following: ___% of the Federal Financial
assistance we will expend in DOT-assisted contracts. [FTA recipients add: exclusive of FTA
funds to be used for the purchase of transit vehicles.]

or

1. [Recipient]’s overall goal for the following time period 20__-20__ is the following: __% of the
Federal financial assistance we will expend in DOT-assisted contracts. [FTA recipients add:
exclusive of FTA funds to be used for the purchase of transit vehicles.]

2. $_____ is the dollar amount of DOT-assisted contracts that [Recipient] expects to award
during FFY20__. This means that [Recipient] has set a goal of expending $____ with DBEs
during this fiscal year/project.


Methodology used to Calculate Overall Goal

Step 1: 26.45(c)

Determine the base figure for the relative availability of DBEs.

The base figure for the relative availability of DBE’s was calculated as follows:

                                 Ready, willing, and able DBEs
        Base figure      =       ________________________

                                 All firms ready, willing, and able

The data source or demonstrable evidence used to derive the numerator was:

The data source or demonstrable evidence used to derive the denominator was:

When we divided the numerator by the denominator we arrived at the base figure for our overall
goal and that number was

Step 2: 26.45(d)

After calculating a base figure of the relative availability of DBEs, evidence was examined to
determine what adjustment was needed to the base figure in order to arrive at the overall goal.

To reflect as accurately as possible, the DBE participation we would expect in the absence of
discrimination we have adjusted our base figure by __%.

The data used to determine the adjustment to the base figure was:

The reason we chose to adjust our figure using this data was because:

From this data, we have adjusted our base figure to:
http://osdbuweb.dot.gov/programs/dbe/newkit.html

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49 CFR Part 26                                                  ATTACHMENT 13.D


Public Participation

We published our goal information in these publications:

We received comments from these individuals or organizations:

Summaries of these comments are as follows:

Our responses to these comments are:




http://osdbuweb.dot.gov/programs/dbe/newkit.html

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49 CFR Part 26                                                        ATTACHMENT 13.D


                                           Attachment 5

                            Section 26.51: Breakout of Estimated
                         Race-Neutral & Race Conscious Participation

[Recipient] will meet the maximum feasible portion of its overall goal by using race-neutral means
of facilitating DBE participation. The [Recipient] uses the following race-neutral means to
increase DBE participation: [List the things that you actually do. See Section 26.51(b) for
examples]

We estimate that, in meeting our overall goal of ___%, we will obtain __% from race-neutral
participation and __% through race-conscious measures.

The following is a summary of the basis of our estimated breakout of race-neutral and race-
conscious DBE participation: [summarize how the estimate was derived: from private sector
MBE/WBE participation, DBE participation of DBEs in local procurement programs in which there
are no DBE contract goals, extend of your race-neutral business assistance efforts.]

To ensure that our DBE program will be narrowly tailored to overcome the effects of
discrimination, if we use contract goals we will adjust the estimated breakout of race-neutral and
race-conscious participation as needed to reflect actual DBE participation (see 26.51(f)) and we
will track and report race-neutral and race conscious participation separately. For reporting
purposes, race-neutral DBE participation includes, but is not necessarily limited to, the following:
DBE participation through a prime contract a DBE obtains through customary competitive
procurement procedures; DBE participation through a subcontract on a prime contract that does
not carry DBE goal; DBE participation on a prime contract exceeding a contract goal; and DBE
participation through a subcontract from a prime contractor that did not consider a firm’s DBE
status in making the award.

We will maintain data separately on DBE achievements in those contracts with and without
contract goals, respectively.




http://osdbuweb.dot.gov/programs/dbe/newkit.html

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                                          Attachment 6

                     Forms 1 & 2 for Demonstration of Good Faith Efforts

[Forms 1 and 2 should be provided as part of the solicitation documents.]



FORM 1: DISADVANTAGED BUSINESS ENTERPRISE (DBE) UTILIZATION

The undersigned bidder/offeror has satisfied the requirements of the bid specification in the
following manner (please check the appropriate space):

        _____ The bidder/offeror is committed to a minimum of ____ % DBE utilization on this
        contract.

        _____ The bidder/offeror (if unable to meet the DBE goal of ____%) is committed to a
        minimum of ____% DBE utilization on this contract a submits documentation
        demonstrating good faith efforts.

Name of bidder/offeror’s firm: ______________________________________

State Registration No. ____________________

By ___________________________________            ______________________
      (Signature)                                   Title




http://osdbuweb.dot.gov/programs/dbe/newkit.html

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49 CFR Part 26                                                      ATTACHMENT 13.D

FORM 2: LETTER OF INTENT

Name of bidder/offeror’s firm: _______________________________

Address: ________________________________________________

City: _____________________________ State: _______ Zip: ______


Name of DBE firm: ________________________________________

Address: _________________________________________________

City: ________________________________State: _______ Zip: _____

Telephone: ___________________

Description of work to be performed by DBE firm:

-----------------------------------------------------------

-----------------------------------------------------------

-----------------------------------------------------------

-----------------------------------------------------------

The bidder/offeror is committed to utilizing the above-named DBE firm for the work described
above. The estimated dollar value of this work is $ ___________.

Affirmation

The above-named DBE firm affirms that it will perform the portion of the contract for the estimated
dollar value as stated above.

By __________________________________________________________
     (Signature)                (Title)

If the bidder/offeror does not receive award of the prime contract, any and all
representations in this Letter of Intent and Affirmation shall be null and void.

(Submit this page for each DBE subcontractor.)




http://osdbuweb.dot.gov/programs/dbe/newkit.html

MTA 2017 LOTS Manual Attachment 13.D, DOT DBE Program
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49 CFR Part 26                                                         ATTACHMENT 13.D

                                            Attachment 7

                                  Certification Application Forms

[Include in this attachment a copy of the certification forms that you require the DBE to fill out.
Also, make sure to include the affidavit of personal net worth.]

                                            Attachment 8

                           Procedures for Removal of DBE’s Eligibility

[Set out the procedures in 26.87 for the removal of DBE’s eligibility in this attachment.]

                                            Attachment 9

                                   Regulations: 49 CFR Part 26

[ We recommend that you attach a copy of the regulations to your program so that the public
users to whom you send copies can have it handy.]

[You may attach other documents as you see necessary to make your program as complete as
possible. The current list of attachments is an example and can be modified at your
convenience.]




http://osdbuweb.dot.gov/programs/dbe/newkit.html

MTA 2017 LOTS Manual Attachment 13.D, DOT DBE Program
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                                                                ATTACHMENT 14.A

EXAMPLE OF WRITTEN POLICIES AND PROCEDURES FOR SOLICITING PUBLIC
   COMMENTS ON PROPOSED TRANSIT SERVICE AND FARE CHANGES

POLICY

(County or Transit System Name) will provide opportunity for public comment before
changing a fare or carrying out a major reduction of transportation services, according
to the procedures outlined. (Note: MTA encourages you to apply this to service
expansions as well.)

A major reduction in service is defined as a change that impacts 25 percent of service
hours of any route or demand-responsive service, including the deletion of a route or
major alteration of a portion thereof. (Note: this definition is only one example -
your locally-determined definition may be different.)

(County or Transit System Name) will notify the Maryland Transit Administration (MTA)
concurrently with announcing proposed fare changes to the public.

PROCEDURES

The purpose of these procedures is to ensure adequate and reasonable opportunity for
public input with regard to proposed fare and service changes. In addition, these
procedures are intended to ensure that no segment of the population suffers any
adverse impacts of such changes disproportionately.

General Requirements

A public hearing shall be conducted on the proposed change(s). At a minimum, notice
of the proposed change(s) shall be given by the (County or Transit System Name) 30
days in advance of the public hearing. Such notice shall be distributed and/or posted
as follows:

   •   Notices distributed to the       County Public Library for posting at branches.
   •   Notices distributed to the (applicable MPO) for posting in their offices, posting on
       their web site, and distribution to their Public Advisory Committee members.
   •   Notices distributed to (any connecting transit service that may be impacted by
       the proposed changes) for posting on some of its vehicles.
   •   Notices posted in the County Court House, the Commissioners Offices,
       Community College, and the (Department of Aging and/or other human service
       agencies whose clients rely on the services).
   •   Notices, in the form of press releases, distributed to electronic and print media.
   •   Notices posted on all transit vehicles operated by the (County or Transit System
       Name).
   •   Notice posted on the (County or Transit System Name)' s web site.

MTA 2017 LOTS Manual Attachment 14.A, Example of Written Policies and Procedures for        1
Soliciting Public Comments on Proposed Transit Service and Fare Changes
                                                              ATTACHMENT 14.A


Such notices shall contain the following information:

   •   The proposed effective date.
   •   A detailed description of the proposed change, and, if applicable, the area(s) to
       be affected.
   •   Date and place where more details on the proposed change can be viewed.
   •   A telephone contact number to ask questions or register comments.
   •   E-mail and street addresses to which to submit questions and comments.
   •   The date, time, and location of the public hearing before the Board of County
       Commissioners (if appropriate).

A log of all comments shall be kept, made available to the public, and presented at
the public hearing. Such service changes as may be proposed shall not be
effectuated until after the public hearing and consideration of any comments
received.

If significant public comment is received, which differs from the proposed changes,
the comment period will be extended for an additional 30 days in order to solicit
further public input. Notification of the extension will also be advertised and posted.
During the extension, the (County or Transit System Name) will review all additional
public comment, and following consultation with MTA, it will present its final
recommendation at another scheduled public hearing. After the public has
concluded its second 30-day commenting period, the (County or Transit System
Name) will render a final decision on implementation of proposed service and/or
fare changes following the completion of the hearing process.

MTA Notification

MTA will be informed of proposed fare or service changes concurrently with the
public notice process. Following this notification, the (County or Transit System
Name) will present the proposed service schedule change(s) at a scheduled public
hearing.




MTA 2017 LOTS Manual Attachment 14.A, Example of Written Policies and Procedures       2
for Soliciting Public Comments on Proposed Transit Service and Fare Changes
                                                                    ATTACHMENT 14.B

                   CHECKLIST OF PUBLIC NOTICE REQUIREMENTS
                       FOR FARE AND SERVICE CHANGES
                               (REQUIRED STEPS)

This checklist is organized into five phases, with a minimum of 31 days needed for the
following seven-step public comment and notice process as summarized:

   1. Develop proposal of specific changes to be implemented.

   2. Day 1 - Notify public that material regarding changes is available for the public to
      review as well as details on any public meeting/hearing.

   3. Days 1-30 - Accept written comments.

   4. Day 30 - Hold public meeting/hearing if required and close the public comment
      period.

   5. Day 30 - Make final decision on what changes will be implemented. This step must
      be documented in writing

   6. Day 30 - Announce results of public consultation process including, but not limited
      to, final decisions and implementation schedule.

   7. Day 31 - Implement changes if appropriate.

Phase I: Prepare Proposal of Changes

          1. Determine details of proposed change and put in writing, in a format
             appropriate for public review.

          2. Submit proposed change to MTA Regional Planner.

Phase II: Solicit Public Comment

For this phase, choose from the following two approaches based on your local process and
policies:

              x   II.A. If public hearing/meeting (i.e., no request needed.)

                                                      or

              x   II.B. If opportunity for public hearing/meeting

       II.A. If public hearing/meeting (i.e., no request needed.)

          1. Schedule public hearing.




MTA 2017 LOTS Manual Attachment 14.B, Public Comment Steps Checklist                         1
                                                                  ATTACHMENT 14.B

         2. Ensure written proposal is ready and available for public review upon request
            by the time notice is published.

         3. Publish advertisement of public comment period at least 30 days before the
            hearing. This advertisement must include:

             x   Date, time, and place of public hearing
             x   Description of the proposed change
             x   How to obtain or where to review details of the proposed change
             x   Procedures for soliciting written public comment
             x   Procedures for requesting special accessibility accommodations at the
                 public hearing

         4. Submit written proposal to MTA Regional Planner.

         5. Make written proposal available for public review upon request.

         6. Accept written comments for at least a 30-day period (for example, until the
            date of the public hearing).

         7. Conduct public hearing.

      II.B. If opportunity for public hearing/meeting

         1. Tentatively schedule public hearing.

         2. Ensure written proposal is ready and available for public review upon request.

         3. Publish advertisement of public comment period at least 30 days before the
            tentative hearing. This advertisement must include:

             x   Announcement of the opportunity for a public hearing if requested
             x   Date, time, and place of potential public hearing (if requested)
             x   Procedures for requesting the public hearing. This must include the
                 deadline requesting the hearing, which must provide for at least a 3-week
                 time window from the date of publication of the advertisement
             x   Description of the proposed change
             x   How to obtain or where to review details of the proposed change
             x   Procedures for soliciting written public comment
             x   Procedures for requesting special accessibility accommodations at the
                 public hearing

         4. Submit written proposal to MTA Regional Planner.


MTA 2017 LOTS Manual Attachment 14.B, Public Comment Steps Checklist                       2
                                                                  ATTACHMENT 14.B

         5. Make written proposal available for public review upon request.

         6. Accept requests for the public hearing for a window of time at least 3 weeks
            long.

         7. Accept written comments for at least a 30-day period (for example, until the
            date of the tentative public hearing).

         8. If requested, conduct public hearing.

Phase III: Address Comments Received, Make Final Decision and Notify MTA

         1. If any comments are received in writing or during the public hearing, you must
            respond to them. Depending upon the nature of the comments and the
            seriousness of the concerns expressed, this may be as simple as
            summarizing why they are do not impact the proposal, or this may require
            revising the proposal.

         2. Make final determination regarding the proposal and document this decision
            in writing (along with response to public comments received).

         3. Submit documentation steps taken in public comment period to MTA,
            including how comments were addressed.

         4. If substantive comments are received, and result in revisions to the proposed
            change, Phase II must be repeated.

Phase IV: Public Notice of Approved Changes

         1. Notify your customers of the impending change in advance (at least 30 days
            in advance is recommended). This should include:

             x   Posting information about the change on board your vehicles and at
                 passenger facilities,

             x   Providing your passengers with printed “rider alerts,”

             x   Sending news releases and public service announcements,

             x   Sending notice to organizations whose clientele or employees use the
                 affected service, and

             x   Revising and reprinting your map and schedule brochures, or providing a
                 printed insert of the change.

         2. Provide copies of the notification to your MTA Regional Planner.

Phase V: Implement Changes


MTA 2017 LOTS Manual Attachment 14.B, Public Comment Steps Checklist                       3
                                                                                                                                                                                                                                   ATTACHMENT 15.A



Maryland Intercity Bus Section 5311(f) Monthly Report
Legal Name:

Operating Assistance--New or Existing Route
                                                                                                                            FY 2017
                                   Jul            Aug            Sep            Oct            Sep            Nov             Dec          Jan            Feb            Mar            Apr            May           Jun       Project Total         Budget
   EXPENSES
Administration                                                                                                                                                                                                                 $        -
Maintenance                                                                                                                                                                                                                    $        -
Fuel and Lubricants                                                                                                                                                                                                            $        -
Fleet Administration                                                                                                                                                                                                           $        -
Station Costs                                                                                                                                                                                                                  $        -
Insurance                                                                                                                                                                                                                      $        -
Other                                                                                                                                                                                                                          $        -
   TOTAL                     $           -   $          -   $          -   $          -   $          -   $          -   $        -    $          -   $          -   $          -   $          -   $        -    $          -   $        -
   REVENUES
Farebox Receipts                                                                                                                                                                                                                        -
Packages Revenue                                                                                                                                                                                                                        -
Terminal Revenue                                                                                                                                                                                                                        -
Storage Locker Revenue                                                                                                                                                                                                                  -
Other                                                                                                                                                                                                                                   -
   TOTAL                     $           -   $          -   $          -   $          -   $          -   $          -   $        -    $          -   $          -   $          -   $          -   $        -    $          -   $        -
OPERATING DEFICIT            $           -   $          -   $          -   $          -   $          -   $          -   $        -    $          -   $          -   $          -   $          -   $        -    $          -   $        -
OPERATING SUBSIDY            $           -   $          -   $          -   $          -   $          -   $          -   $        -    $          -   $          -   $          -   $          -   $        -    $          -   $        -

SERVICE STATISTICS
Total Passenger Trips                                                                                                                                                                                                                        -
No. Days Operation                                                                                                                                                                                                                           -
Total Service Miles                                                                                                                                                                                                                          -
Total Service Hours                                                                                                                                                                                                                          -
Cost per Passenger               #DIV/0!         #DIV/0!        #DIV/0!        #DIV/0!        #DIV/0!        #DIV/0!        #DIV/0!       #DIV/0!        #DIV/0!        #DIV/0!        #DIV/0!        #DIV/0!       #DIV/0!        #DIV/0!
Cost per Mile                    #DIV/0!         #DIV/0!        #DIV/0!        #DIV/0!        #DIV/0!        #DIV/0!        #DIV/0!       #DIV/0!        #DIV/0!        #DIV/0!        #DIV/0!        #DIV/0!       #DIV/0!        #DIV/0!
Cost per Hour                    #DIV/0!         #DIV/0!        #DIV/0!        #DIV/0!        #DIV/0!        #DIV/0!        #DIV/0!       #DIV/0!        #DIV/0!        #DIV/0!        #DIV/0!        #DIV/0!       #DIV/0!        #DIV/0!
Passengers per Mile              #DIV/0!         #DIV/0!        #DIV/0!        #DIV/0!        #DIV/0!        #DIV/0!        #DIV/0!       #DIV/0!        #DIV/0!        #DIV/0!        #DIV/0!        #DIV/0!       #DIV/0!        #DIV/0!
Passengers per Hour              #DIV/0!         #DIV/0!        #DIV/0!        #DIV/0!        #DIV/0!        #DIV/0!        #DIV/0!       #DIV/0!        #DIV/0!        #DIV/0!        #DIV/0!        #DIV/0!       #DIV/0!        #DIV/0!
Revenue per Passenger            #DIV/0!         #DIV/0!        #DIV/0!        #DIV/0!        #DIV/0!        #DIV/0!        #DIV/0!       #DIV/0!        #DIV/0!        #DIV/0!        #DIV/0!        #DIV/0!       #DIV/0!        #DIV/0!
Subsidy per Passenger            #DIV/0!         #DIV/0!        #DIV/0!        #DIV/0!        #DIV/0!        #DIV/0!        #DIV/0!       #DIV/0!        #DIV/0!        #DIV/0!        #DIV/0!        #DIV/0!       #DIV/0!        #DIV/0!

EXPENSES/MILESTONES
Capital: Multi-Modal/Public Facilities/Vehicle Retrofits/Other
                         1                                                                                                                                                                                                              -
                         2                                                                                                                                                                                                              -
                         3                                                                                                                                                                                                              -
                         4                                                                                                                                                                                                              -
                         5                                                                                                                                                                                                              -
                         6                                                                                                                                                                                                              -
    TOTAL                   $        -    $      -     $       -           $          -   $          -   $          -   $        -    $          -   $          -   $          -   $          -   $        -    $          -   $        -
Marketing Project
                         1
                         2
                         3
                         4
                         5
                         6
    TOTAL                   $        -    $      -     $       -           $          -   $          -   $          -   $        -    $          -   $          -   $          -   $          -   $        -    $          -   $        -        $       -




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                                                                 ATTACHMENT 15.B                                          ATTACHMENT 15.B

                                  Maryland Interc ity Bus : Monthly Reporting - FY 2017 - FY 2018
J uris dic tion/Program:
Legal Applic ant:
Month/Year:
                                     FY 2017-FY2018 MONTHLY RIDERSHIP SUMMARY




                                                                          Passenger Trips -




                                                                                                  Passenger Trips -




                                                                                                                          Passenger Trips -




                                                                                                                                                  Passenger Trips -
                                               Stop - Location
                  Stop - Number




                                                                                                                                                  ADA Off
                                                                                                                          ADA On
                                                                                                  Off
                                                                          On
Maryland Interc ity Bus

                      1

                      2

                      3
   Route Name:




                      4

                      5

                      6

                      7

                      9

                   10

                   11

                   12

                                            Total Pas s enger Trips                           0                       0

                                       Total ADA Pas s enger Trips                                                                            0                       0




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